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                                                                                           OUR FILE NUMBER
  July 11, 2011                                                                                 905900-321

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                   Re:     DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Counsel:

         We write pursuant to Local Rule 37 concerning counsel’s persistent instructions to
  defendant Mark Peary not to respond to key lines of questioning during his June 29, 2011,
  deposition. For the reasons discussed below, there was no basis for these objections and
  Mr. Peary’s wholesale refusal to testify on these topics. As a result, DC wrongfully has been
  denied critical evidence to support its claims and refute the factual assertions in defendants’ Rule
  12 and SLAPP briefing. Unless defendants agree to allow Mr. Peary to testify on these topics,
  DC will file a motion to compel the relevant testimony.

  I.         CONSENT AGREEMENT

         Defense counsel instructed Mr. Peary “not to answer any questions regarding the
  substance of the consent agreement” between the Siegel and Shuster heirs that prohibits either
  family from entering into an agreement with DC without the consent of the other. See Rough Tr.
  of June 29, 2011, Peary Dep. (“Tr.”) at 62. The lines of inquiry blocked included:

       •     why Mr. Peary entered into the consent agreement, see id. at 58-651;


       1
       Appendix A to this letter highlights deposition questions and answers to which DC would
  seek to compel answers, as well as the right to ask related follow-up questions.



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       •   whether Mr. Peary believes the consent agreement harms or benefits the Shuster heirs,
           see id. at 78;

       •   Mr. Peary’s understanding of how the consent provision works, see id. at 79-81; and

       •   whether any other side deal exists by which the Shuster heirs may claim a share of
           profits the Siegel heirs receive from DC, see id. at 167-68.2

  Defense counsel objected that the consent agreement “has been [held] to be privileged and off
  limits” by Magistrate Zarefsky, and also asserted attorney-client and work-product privilege. See
  id. at 62-65. These objections are overbroad and not well taken.

           A.      Magistrate Zarefsky’s Ruling

          Magistrate Zarefsky denied DC’s motion to compel production of the consent agreement
  based on his application of law-of-the-case doctrine to the Siegel court’s ruling that the
  agreement was entered into in connection with mediation. Docket No. 209 at 2-10. While this
  ruling (which DC has disputed) prevented DC from obtaining the document itself, it in no way
  bars DC from acquiring independent evidence of the nature and substance of the consent
  agreement. Courts have established that parties can pursue alternative sources of discovery to
  prove the existence of facts disclosed during mediation—parties must be given an opportunity to
  “uncover new, admissible evidence … not protected by the confidentiality statutes.” Benesch v.
  Green, 2009 U.S. Dist. LEXIS 117641, at *12-13 (N.D. Cal. Dec. 17, 2009); see also Foxgate v.
  Homeowners’ Assoc., 26 Cal. 4th 1, 17-18 (2001) (allowing plaintiff to seek sanctions based on
  “assertion and evidence” other than “communications made during the mediation”); Cassel v.
  Super. Ct., 2011 WL 102710 (Cal. Jan. 13, 2011) (citing Benesch and Foxgate favorably).

           Moreover, Mr. Peary’s testimony is new evidence confirming that the consent agreement
  is itself discoverable because it exists separate and apart from any mediation or settlement
  discussions. Mr. Peary admitted that the consent agreement remains in effect to this day, Tr. at
  64—and therefore continues to violate DC’s rights long after the parties’ 2008 mediation in
  Siegel was terminated. Mr. Peary also testified that the “consent agreement,” e.g., Tr. at 47—his

      2
        Notably, Mr. Toberoff allowed Mr. Peary to answer a similar question during his 2006
  deposition in the Siegel case without objection. Compare Tr. of Nov. 11, 2006 Peary Dep.
  (“2006 Tr.”) at 47 (Question: “And if [the Siegels] were to settle and receive money from DC
  Comics, is there any arrangement by which you would receive any of that money?” Response:
  “No.”), with Tr. at 167 (Question: “Do you have any agreement to share in any accounting
  recovery that the Siegels might obtain in their case against DC or Warner Bros.?” Mr. Toberoff:
  “I instruct you not to answer because that delves into the potential substance of the consent
  agreement.”). He also allowed Laura Siegel Larson to answer a similar question in 2006—again
  with no objection. Tr. of Aug. 1, 2006 Larson Dep. at 20 (Question: “Is there any agreement
  you’re aware of between your mother and yourself on the one hand and any representative or
  heir of Joseph Shuster on the other hand?” Response: “No.”).



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  word for the document—is titled “Superman agreement,” id. at 59—not “Mediation Agreement,”
  “Settlement Strategy,” or the like. Federal Rule of Evidence 408 confirms that the consent
  agreement is discoverable as evidence of independently wrongful acts that are the subject of
  DC’s claims in this case. The “Superman agreement” is not a mediation communication; it is an
  illicit and unlawful contractual restraint.3 Defendants cannot shield such evidence from
  discovery “through the pretense of disclosing it during compromise negotiations.” FED. R. EVID.
  408, Advisory Comm. Note; see also Carney v. Am. Univ., 151 F.3d 1090, 1095-96 (D.C. Cir.
  1998); Uforma/Shelby Bus. Forms, Inc. v. NLRB, 111 F.3d 1284, 1293-94 (6th Cir. 1997); Athey
  v. Farmers Ins. Exch., 234 F.3d 357, 362 (8th Cir. 2000); Rhoades v. Avon Prods., Inc., 504 F.3d
  1151, 1161 (9th Cir. 2007); Munoz v. J.C. Penney Corp., Inc., 2009 U.S. Dist. LEXIS 36362, at
  *8-10 (C.D. Cal. Apr. 9, 2009) (Wright, J.); Bd. of Trs. v. Tyco Int’l, Ltd., 253 F.R.D. 521, 523
  (C.D. Cal. 2008); FDIC v. White, 76 F. Supp. 2d 736, 738 (N.D. Tex. 1999); accord CAL. EVID.
  CODE § 1120 (“Evidence otherwise admissible or subject to discovery outside of a mediation or a
  mediation consultation shall not be or become inadmissible or protected from disclosure solely
  by reason of its introduction or use in a mediation.”); Rojas v. Super. Ct., 33 Cal. 4th 407, 423
  n.8 (2004); Kullar v. Foot Locker Retail, Inc., 168 Cal. App. 4th 116, 132-33 (2008). Moreover,
  Mr. Peary’s Rule 12 motion asserts—incorrectly—that the consent agreement was entered into
  “solely for purposes of the parties’ settlement mediation, which commenced on May 8, 2008.”
  Docket No. 148 at 20. Mr. Peary cannot make such an assertion in briefing but cut off a
  complete inquiry in discovery.

          B.       Attorney-Client And Work-Product Privilege

         Mr. Peary refused to answer DC’s questions on the ground that his understanding of the
  consent agreement was “bound up” with privileged communications with Mr. Toberoff. E.g., Tr.

      3
        To be clear, DC is entitled to discovery regarding the consent agreement without first
  having to prove its unlawfulness—an ultimate fact for trial. Cf. Munoz v. J.C. Penney Corp.,
  2009 U.S. Dist. LEXIS 36362, at *7-10 (C.D. Cal. Apr. 9, 2009) (mediation communication
  discoverable so long as it pertains to facts other than an admission of fault or liability in
  underlying case). In any event, the agreement is unlawful under section 304(c)(6)(D) of the
  Copyright Act, which gives DC a “competitive advantage” and requires that the Shuster heirs
  remain free to enter into copyright agreements with DC until the effective termination date in
  2013. See 17 U.S.C. § 304(c)(6)(D); Milne v. Stephen Slesinger, Inc., 430 F.3d 1036, 1047 (9th
  Cir. 2005). Moreover, Mr. Toberoff’s involvement in the consent agreement appears to violate
  state law and public policy. See Calvert v. Stoner, 33 Cal. 2d 97, 103 (1948); Tax Auth., Inc. v.
  Jackson Hewitt, Inc., 898 A.2d 512, 522 (N.J. 2006); ABA Standing Comm. on Ethics and Prof’l
  Responsibility, Formal Opinion 06-438 (2006); CAL. RULES OF PROF’L CONDUCT R. 3-310(D)
  (2011); Fair v. Bakhtiari, 2011 WL 1991999 (Cal. Ct. App. May 24, 2011). Indeed, Magistrate
  Zarefsky recognized that “[o]ne cannot know with certainty what the [2008] consent agreement
  means without seeing the agreement.” Docket No. 209 at 8:1-2. It is for this reason that
  questions concerning its terms should be compelled (and the document itself should be
  produced); the mediation ended long ago, see Docket No. 171-4 Ex. 3, and there is no basis to
  shield a consent agreement that admittedly exists independent of it, Tr. at 64, from disclosure.



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  at 59-61, 85-86, 91-92. To clarify, we asked: “In your role as executor of the estate, is it your
  testimony that you have been able to -- you can’t do anything or even think of anything that
  doesn’t involve the legal advice of Marc Toberoff?” Id. at 338. Mr. Peary responded: “That’s
  correct.” Id. We asked: “You don’t have any judgment or any ideas or any thoughts other than
  what Toberoff discusses with you?” Id. at 339. Mr. Peary confirmed again: “That’s correct.”
  Id. This position is untenable.

          First, as a factual matter, DC’s questions did not call for the divulgence of any privileged
  information—to the contrary, they were directed to Mr. Peary’s reasons for entering into the
  consent agreement on behalf of the Shuster estate and his understanding of the effect of the
  agreement on the estate’s rights. As the named executor of the Estate of Joseph Shuster,
  Mr. Peary has a fiduciary duty to make informed, good faith decisions in furtherance of the
  Estate’s interests. E.g., CAL. PROB. CODE § 9600(a) (“The personal representative has the
  management and control of the estate and, in managing and controlling the estate, shall use
  ordinary care and diligence.”); Estate of Sanders, 40 Cal. 3d 607, 616 (1985) (“An executor is an
  officer of the court and occupies a fiduciary relation toward all parties having an interest in the
  estate.”). Mr. Peary was therefore obligated to exercise some degree of sound, independent
  judgment even if Mr. Toberoff advised him on whether to enter into the consent agreement. See
  id. Moreover, defendants have asserted that the Siegel and Shuster heirs are the only parties to
  the consent agreement, meaning it is a contractual restraint among non-lawyers. There is no
  basis for asserting privilege over such business arrangements. E.g., U.S. v. Chen, 99 F.3d 1495,
  1501 (9th Cir. 1996) (privilege only applies where client seeks advice from lawyer “‘in his
  capacity as such’”—not where lawyer acts as “business agent”); Minebea Co., Ltd. v. Papst, 355
  F. Supp. 2d 526, 529 (D.D.C. 2005) (business agreements and communications between attorney
  and client not privileged); U.S. v. Davis, 636 F.2d 1028, 1043 (5th Cir. 1981) (where services
  primarily non-legal in nature, “communications relating to that service should therefore not be
  privileged, even though performed by a lawyer”); Marten v. Yellow Freight Sys., 1998 U.S. Dist.
  LEXIS 268, at *18 (D. Kan. Jan. 6, 1998) (recognizing that “when the legal advice is merely
  incidental to business advice, the privilege does not apply”).

          Second, Mr. Peary waived whatever privilege might otherwise have existed by
  selectively and strategically disclosing certain facts about the consent agreement. Counsel
  allowed Mr. Peary to provide testimony that he apparently believed would be helpful to
  defendants, including when the agreement was signed; its signatories; its title; its continued
  existence; and the fact that it purportedly does not entitle the Shusters to share in any profits
  concerning Superboy or the Superboy case the Siegels are pursuing. See Tr. at 48-50, 58-59, 65,
  75, 81-83. While defense counsel allowed this testimony, which apparently counsel found
  helpful, it shut off all inquiry into questions concerning, for example, the Shusters’ entitlement to
  money from the Siegel accounting case that is also proceeding before Judge Wright.4 Promises

      4
        Compare Tr. at 81-82 (Question: “Do you have any current arrangement for the consent
  agreement or otherwise whereby the Shuster interests share in any proceeds or recovery
  attributable to Superboy?” [No objection.] Response: “No.”), with id. at 167 (Question: “Do
  you have any agreement to share in any accounting recovery that the Siegels might obtain in



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  the Siegels made to the Shusters to share in monies from court cases in which the Shusters are
  not parties are relevant to DC’s unclean hands claims in this case, and also prove the consent
  agreement is not a Drysdale-Koufax agreement, which is an inapt analogy in any event, given the
  prohibitions on rights-trafficking found in the Copyright Act. Counsel also blocked our efforts
  to test the factual assertions in defendants’ Rule 12 briefing concerning the nature and substance
  of the consent agreement—including, for example, that the agreement does not “constitute ‘a
  further grant, or agreement to make a further grant’ of the recaptured Superman copyrights,”
  Docket No. 148 at 9; reflects “understandings between the Siegels and the Shuster Estate
  regarding settlement strategy,” id. at 2; was entered into “solely for purposes of the parties’
  settlement mediation” in 2008, id. at 20; and was intended to “‘achieve the objects of the
  litigation,’” id. at 17; see also Docket No. 182 at 17-21 (listing, by way of illustration, fact issues
  raised in defendants’ SLAPP motion).

          The Ninth Circuit has rejected such efforts to simultaneously disclose some facts while
  withholding others—a privilege holder “cannot be allowed, after disclosing as much as he
  pleases, to withhold the remainder. He may elect to withhold or disclose, but after a certain point
  his election must remain final.” Weil v. Inv./Indicators, Research & Mgmt., Inc., 647 F.2d 18, 24
  (9th Cir. 1981); Fort James Corp. v. Solo Cup. Co., 412 F.3d 1340, 1349-51 (Fed. Cir. 2005).

          Third, Mr. Peary also waived privilege by putting at issue Mr. Toberoff’s advice
  concerning the lawfulness of the consent agreement. Defendants, including Mr. Peary, have
  repeatedly asserted that the consent agreement “is not unlawful in any respect” and “does not
  require consent of the Heirs’ attorney to any settlement with DC.” Docket No. 160 at 53; Docket
  No. 231 at 7; see also Docket No. 170 at 5 (“DC’s argument that the Consent Agreement is
  ‘unlawful’ or improper is also false and unsupported.”). By refusing to answer DC’s questions
  regarding the basis for such assertions, Mr. Peary wrongfully has denied DC an opportunity to
  test defendants’ characterization of the agreement. Courts have established that “the attorney-
  client privilege cannot at once be used as a shield and a sword.” U.S. v. Bilzerian, 926 F.2d
  1285, 1291-94 (2d Cir. 1991). In Bilzerian, the court found that a defendant charged with
  securities fraud and making false statements to the government placed at issue conversations
  with his counsel by claiming that he “thought his actions were legal.” Id. at 1292. The court
  ruled that privilege as to those conversations was waived because the defendant “put his
  knowledge of the law and the basis for his understanding of what the law required in issue” and
  “fairness require[d] examination of protected communications.” Id. Similarly, by stating that all
  of his actions have been predicated on Mr. Toberoff’s advice, Mr. Peary has put these
  communications at issue and cannot refuse to testify about them. See id.; Chevron Corp. v.
  Pennzoil Co., 974 F.2d 1156, 1162-63 (9th Cir. 1992).




  their case against DC or Warner Bros.?” Instruction: “I instruct you not to answer that because
  it delves into the potential substance of the consent agreements.”).



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  II.       PACIFIC PICTURES AGREEMENTS

        Defense counsel improperly barred Mr. Peary from answering questions concerning the
  agreements between the Shuster heirs and Pacific Pictures Corporation, including:

        •   why the Shuster heirs entered into the Pacific Pictures agreements, see Tr. at 176-77,
            204-05, 211-12;

        •   whether the Shuster heirs believed that litigation with DC was likely at the time they
            entered into the Pacific Pictures agreements, see id. at 211-13;

        •   why the Shuster heirs agreed to transfer their putative rights to the Pacific Pictures joint
            venture, see id. at 194-99;

        •   why the 2001 Pacific Pictures agreement identified Superboy as among the Shuster
            heirs’ rights and the 2003 agreement deleted all reference to Superboy, see id. at 278-79,
            305-10;

        •   Mr. Peary’s awareness of the unlawfulness of certain provisions in the Pacific Pictures
            agreements, see id. at 260-61;

        •   the purpose and effect of the 2004 letter purporting to “cancel” the Pacific Pictures joint
            venture, see id. at 324-27;

        •   Mr. Peary’s reason for executing a legal retainer agreement after cancelling the Pacific
            Pictures agreements, see id. at 220; and

        •   Mr. Peary’s awareness of efforts by Mr. Toberoff and/or Pacific Pictures to market the
            Shuster heirs’ rights pursuant to the joint venture, see id. at 330-38.

  At defense counsel’s prompting, Mr. Peary asserted that his knowledge on these subjects was
  inextricably bound with privileged conversations with Mr. Toberoff. E.g., id. at 176-77, 279,
  305-07, 335-36. Notably, defense counsel allowed Mr. Peary to answer questions on the same
  topics during his 2006 Siegel deposition. E.g., 2006 Tr. at 33 (Question: “What -- what was
  your understanding of what would happen to the rights that are at issue in this agreement in the
  event that this agreement was terminated? … I’m asking you, Mr. Peary, what your
  understanding was of what would happen to the rights if the agreement was terminated at the
  time that you signed the agreement?” [No objection.] Response: “The rights would be split 50
  percent.”).

          These instructions not to testify are not well taken. The Pacific Pictures agreements are
  business contracts regarding the disposition of the Shuster heirs’ monetary interests and rights—
  they are not privileged communications, attorney retainer agreements or otherwise. They are
  signed by Mr. Toberoff in his business capacity (as President of Pacific Pictures), and Mr. Peary
  negotiated and executed these agreements in his role as executor of the Estate of Joseph Shuster,



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  which required him to exercise independent business judgment. See CAL. PROB. CODE §
  9600(a); Estate of Sanders, 40 Cal. 3d at 616. Defendants notably have failed to produce the
  drafts of these agreements that Mr. Peary testified were exchanged. Tr. at 100.

          While defendants seek to cloak the negotiations of these agreements in privilege, the fact
  that Mr. Toberoff is a lawyer—in addition to being the President of Pacific Pictures—does not
  make business negotiations concerning these business contracts privileged. See Chen, 99 F.3d at
  1501 (privilege cannot apply where attorney acting primarily in business role); accord Minebea,
  355 F. Supp. 2d at 529; Davis, 636 F.2d 1028, 1043. Moreover, defendants waived any claims
  of privilege concerning these negotiations by selectively disclosing certain facts surrounding the
  negotiation and effect of the Pacific Pictures agreements, including:

      •   the discussions “back and forth” between Mr. Peary and Mr. Toberoff concerning “what
          would be involved on Marc Toberoff’s part, the work involved, the cost he would bear,”
          see Tr. at 197-98;

      •   Mr. Peary’s awareness that the 2001 Pacific Pictures agreement listed Superboy as
          among the Shuster heirs’ rights, see id. at 198-99;

      •   Mr. Peary’s understanding, based in part on his discussions with Mr. Toberoff, of the
          reversion clause in the 2001 and 2003 Pacific Pictures agreements providing that “if [the
          venture] were ever terminated for any reason Pacific Pictures would own half the rights
          forever,” see id. at 209-10;

      •   Mr. Peary’s belief that Mr. Toberoff “was going to see this case through no matter what
          and … there would be no reason [the joint venture] would be canceled or terminated until
          the rights had been pursued,” see id. at 210-11;

      •   Mr. Peary’s belief that it was not “unreasonable” that he “could not enter into a contract
          with DC Comics no matter how badly [he] wanted unless Marc Toberoff consented,” see
          id. at 214-15; and

      •   Mr. Peary’s recently formed understanding, in part through discussions with
          Mr. Toberoff, that the Pacific Pictures agreements he negotiated and signed were void
          under the Copyright Act, see id. at 203, 218, 223-24.

         Mr. Peary “cannot be allowed, after disclosing as much as he pleases, to withhold the
  remainder” of information about the Pacific Pictures agreements. Weil, 647 F.2d at 24; see also
  Fort James Corp., 412 F.3d at 1349-51. This is particularly true given that defendants have
  made factual assertions in their Rule 12 and SLAPP briefing concerning the status and effect of
  the Pacific Pictures agreements, yet have denied DC any opportunity to confirm or disprove
  those assertions. See, e.g., Docket No. 148-1 at 17 (“PPC had no … ownership interest” in the
  Shusters’ putative rights); Docket No. 147-1 at 8 (the Pacific Pictures agreements are “moot, as
  such were duly and voluntarily cancelled on September 10, 2004”). Similarly, defendants’
  SLAPP briefing depends in large part on their contention that the Pacific Pictures “Agreements



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  … clearly contemplate litigation related to the termination of Joseph Shuster’s copyright grants”
  and are thus protected under California’s SLAPP statute. Docket No. 145-1 at 17; see also, e.g.,
  id. at 16-17 (agreements “were plainly related to contemplated litigation and settlement”).
  Defendants, however, shut down every one of our questions seeking to test this assertion. E.g.,
  Tr. at 211-13 (Question: The Pacific Pictures agreement “states there that the venture will retain
  Toberoff to render legal services including in connection with legal disputes and litigation ….
  Legal disputes and litigation with whom?” (Instruction not to answer.) Question: “Well, it’s
  fair to say that you understood when you signed this that there was a prospect of litigation with
  DC Comics or some Time-Warner company, correct?” (Instruction not to answer.) Question:
  “You understood … that when you signed this there was some appreciation that you would be in
  litigation?” (Instruction not to answer.) Question: “So you shouldn’t have been surprised when
  you read the lawsuit that DC filed since you contemplated litigation as early as 2001, correct?”
  (Instruction not to answer.) Question: “When you saw the lawsuit from DC Comics …, that’s
  something that you understood could happen as early as 2001 when you signed this joint venture
  agreement, correct?” (Instruction not to answer.)). Defendants cannot have it both ways; having
  opted to make factual assertions in their briefing and allow Mr. Peary to testify in support of
  those assertions, they also must give DC an opportunity to test those claims.

  III.    MR. PEARY’S ROLE AS EXECUTOR OF THE SHUSTER ESTATE

            At Mr. Toberoff’s instruction, Mr. Peary refused to answer questions concerning his role
  and responsibilities as the named executor of the Estate of Joseph Shuster, including his efforts
  to determine the value of rights purportedly held by the Estate, his decision to execute a
  copyright termination notice on behalf of the Estate, and his opinion as to whether the Estate can
  sell its rights without making an agreement with DC. See Tr. at 74, 191-92, 342-43. Mr. Peary
  stated that he had no understanding of these important issues aside from what he was told by his
  attorney. See id. at 338-39. As discussed above, Mr. Peary had a fiduciary duty to exercise
  judgment independent of what he was told by his attorney, see CAL. PROB. CODE § 9600(a);
  Estate of Sanders, 40 Cal. 3d at 616—and DC is entitled to seek testimony on the nature and
  scope of Mr. Peary’s judgment.

          Moreover, Mr. Toberoff has always played a dual role in his dealings with Mr. Peary. As
  their contracts state—and as Mr. Toberoff has touted on his website and in press interviews—he
  is a movie producer. DC is entitled to know what Mr. Toberoff told Mr. Peary and others in that
  role. Indeed, the consideration for the Pacific Pictures agreements—i.e., that the Shusters would
  give 50% of their rights to Mr. Toberoff’s company—was predicated on Mr. Toberoff helping
  exploit and market their putative rights as a movie producer. See Nov. 23, 2001 Pacific Pictures
  Agreement at 1 (transferring Shusters’ putative rights to Pacific Pictures joint venture “to
  investigate, retrieve, enforce and exploit” the rights).

          In addition, Mr. Peary’s Rule 12 briefing makes factual assertions concerning his
  authority to exercise the Estate’s purported termination rights—despite the 1992 agreement
  signed by the Estate’s sole beneficiary, Jean Peavy, extinguishing all such rights—which DC is
  entitled to test in discovery. See, e.g., Docket No. 148 at 7-14 (Mr. Peary only person with




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standing to terminate and other Shuster heirs did not intend to “waive, transfer or release the
Shuster termination rights” in entering into the 1992 agreement).

IV.       CONFLICTS OF INTEREST

        Mr. Peary followed counsel’s instructions not to answer questions concerning the conflict
of interest arising out of Mr. Toberoff’s concurrent representation of the Siegel and Shuster heirs
(and, inter alia, the Shusters’ abdication of Superboy rights in favor of the Siegels), including:

      •   Mr. Peary’s understanding of this conflict of interest, see Tr. at 85-86, 227-29;

      •   whether Mr. Peary agreed to waive the conflict, see id. at 241;

      •   the alleged conflict waiver Mr. Peary claims to have signed in 2010 (but has never
          produced), see id. at 91-93; and

      •   the connection between the alleged conflict waiver and the 2008 consent agreement or
          this lawsuit, see id. at 92-93;

Defense counsel objected that these questions implicated privileged attorney-client
communications. E.g., id. at 85-86, 91-93, 227-28. Under California law, Mr. Toberoff was
required to disclose the conflict to Mr. Peary in writing, recommend that he seek independent
legal advice, and obtain a written waiver before proceeding with representation. See CAL. RULES
OF PROF’L CONDUCT R. 3-310; Flatt v. Super. Ct., 9 Cal. 4th 275, 284-86 (1994) (same). Such
communications are “not protected by the attorney-client privilege or work product doctrine.” E.
Maine Baptist Church v. Regions Bank, 2007 WL 1445257, at *2-3 (E.D. Mo. May 10, 2007);
see also Chevron USA Inc. v. Peuler, 2004 WL 224579, at *3 (E.D. La. Feb. 3, 2004).
Moreover, Mr. Peary waived whatever privilege might otherwise have existed by selectively
disclosing the existence of a waiver document allegedly signed in 2010—which defendants have
improperly withheld from production. See Weil, 647 F.2d at 24; Fort James Corp., 412 F.3d at
1349-51. Defendants should produce to DC entries 44 (Apr. 17, 2010 e-mail from Mr. Peary to
Mr. Toberoff) and 47 (Dec. 6, 2010 e-mail from Mr. Peary to Mr. Toberoff) on Mr. Peary’s
privilege log or confirm which entry—if either—corresponds to the purported conflict waiver.

V.        OTHER ISSUES

       Mr. Peary refused to answer several other questions on the basis that he had no
knowledge independent of his privileged communications with Mr. Toberoff. E.g., Tr. at 243,
245-46, 330-31. None of these subjects implicated the conveyance of legal advice.

       First, we asked questions concerning Mr. Peary’s understanding of why and how
Mr. Toberoff initially approached the Siegel heirs. See Tr. at 241-42. Mr. Toberoff approached
the Siegels not in his capacity as an attorney—let alone an attorney acting on behalf of the
Shuster heirs’ legal interests—but as a businessman and movie producer. E.g., Docket No. 49
Ex. A at 63 (“MT approaches the Siegels, not as an attorney but as a film producer….”); Oct.



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23, 2002 IP Worldwide agreement ¶¶ 1, 10 (providing that IP Worldwide would “negotiate the
sale, lease, license and all other dispositions” of the Siegels’ putative rights and confirming “the
scope of this Agreement does not include legal services and/or expenses in connection with
litigation”); May 13, 2003 Letter from Michael Siegel to Laura Larson at 1 (“I told you when
[Toberoff] first contacted me, he wanted to buy my share of the copyright …. Marc has his own
production company, he was going to team with [Ari Emanuel] and make a movie.”) Any
communications between Mr. Toberoff and Mr. Peary on this topic would have been non-
privileged business communications. See Chen, 99 F.3d at 1501; Minebea, 355 F. Supp. 2d at
529; Davis, 636 F.2d at 1043. Moreover, it defies credulity that Mr. Peary’s knowledge of Mr.
Toberoff’s introduction to the Siegels was based solely on his communications with Mr.
Toberoff. Mr. Peary admitted that he and his mother, Jean Peavy, were in regular contact with
the Siegels and claimed that it was Ms. Peavy who suggested they meet with Mr. Toberoff. See
Tr. at 252.

        Second, we asked questions about Mr. Peary’s awareness of and involvement in the
alleged grand jury investigation concerning the Toberoff Timeline. See Tr. at 245-46. This
investigation is a factual matter separate and apart from Mr. Toberoff’s representation of
Mr. Peary. That Mr. Peary may have learned about it from his attorney does not necessarily
make this entire topic immune from discovery. See U.S. v. Martin, 278 F.3d 988, 999 (9th Cir.
2002) (“The fact that a person is a lawyer does not make all communications with that person
privileged.”).

         Third, we asked questions regarding Mr. Peary’s understanding of the Shuster heirs’
retainer agreement with Mr. Toberoff based on his review of that document and the consent
agreement in preparation for the deposition. See Tr. at 328-29. As Magistrate Zarefsky has
recognized, retainer agreements are not privileged, except to the extent certain provisions convey
legal advice. Docket No. 209 at 11; see also In re Grand Jury Proceedings, 33 F.3d 1060, 1063-
64 (9th Cir. 1994); Montgomery Cnty. v. MicroVote Corp., 175 F.3d 296, 304 (3d Cir. 1999).
Mr. Peary’s knowledge of whether the agreement refers to the Siegels and Superboy, see Tr. at
329, has nothing to do with the conveyance of legal advice, and Mr. Peary admitted during the
deposition that his review of the consent agreement and retainer agreement refreshed his
recollection. E.g., Tr. at 51 (“Question: “What did you bring with you?” Response: “I brought
a copy of the legal retainer as of 2001 and I brought a -- a copy of the first page of the consent
agreement with a cover letter …, just to jog my memory.”); id. at 53 (Question: “And were you
shown any documents yesterday when you met with Mr. Toberoff?” Response: “We …
reviewed our agreements.” Question: “What agreements?” Response: “The legal retainer and
the -- the complaint from DC and the supporting legal documents….” Question: “Did you also
show Mr. Toberoff the consent agreement pages that you had taken with you?” Response: “Yes,
just the -- the copy that I brought to jog my memory.”). Because these documents refreshed his
recollection, they must be produced. See Heron Interact, Inc. v. Guidelines, Inc., 244 F.R.D. 75,
78 (D. Mass. 2007) (documents used by deponent to refresh recollection of events subject to
discovery under Federal Rule of Evidence 612); In re Comair Air Disaster Litig., 100 F.R.D.
350, 353 (D.C. Ky. 1983) (same); Derderian v. Polaroid Corp., 121 F.R.D. 13, 15 (D. Mass.




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1988) (“By using a document to refresh recollection in connection with testimony at deposition,
a privilege or protection which previously attached to the document may be waived.”).

                                        *       *      *

        Please let us know when you are available to meet and confer on these issues.

                                                Very truly yours,

                                                /s/ Daniel M. Petrocelli

                                                Daniel M. Petrocelli
                                                of O’MELVENY & MYERS LLP
CC1:852626




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                                         ROUGH DRAFT



            1               WARNING!   The following is a rough draft of

            2    the within deposition transcript which has been

            3    provided upon request with the specific

            4    understanding and acknowledgment that:

            5               Such transcript is not in final form and is

            6    not an official transcript of the proceedings.      The

            7    nature of stenographic writing necessitates that the

            8    reporter may have to make various corrections and/or

            9    changes as a result of human error and/or

           10    stenographic notes not being fully translated by the

           11    equipment from steno to English.      As a result, the

           12    final transcript may vary significantly.

           13               Such transcript is being provided as a

           14    special service, to be used for limited purposes as

           15    may be appropriate in the discretion of the

           16    recipient; however, the reporter and/or Merrill

           17    Solutions will not be responsible for any of the

           18    content of such transcript and/or any variance from

           19    the final official transcript.

   09:10:32 20

   09:10:32 21

           22

           23

           24

           25

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                                          ROUGH DRAFT



   10:28:58   1             THE VIDEOGRAPHER:      Good morning.     This

   10:28:59   2   marks the beginning of Volume I, Videotape Number 1

   10:29:02   3   in the deposition of Marc Warren Peary in the matter

   10:29:07   4   entitled "DC Comics versus Pacific Pictures

   10:29:11   5   Corporation et al., filed in the United States

   10:29:14   6   District Court for the Central District of

   10:29:16   7   California.    This is case number 1036330 DW R Z X.

   10:29:23   8   Today date is June 29, 2011 and the time on the

   10:29:27   9   video monitor is 10:28 a.m.      The video operator

   10:29:30 10    today is Fritz Sperberg, a notary public, contracted

   10:29:33 11    by Merrill Legal Solutions at 20750 Ventura

   10:29:37 12    Boulevard, Woodland Hills, California.

   10:29:40 13              This video deposition is taking place at

   10:29:42 14    1999 Avenue Of The Stars and in Los Angeles and was

   10:29:45 15    noticed by Daniel M. Petrocelli of O'Melveny &

   10:29:48 16    Myers.

   10:29:49 17              Counsel, please identify yourselves and

   10:29:51 18    state whom you represent.

   10:29:52 19              MR. PETROCELLI:   Daniel Petrocelli for

   10:29:55 20    plaintiff DC Comics.

   10:29:57 21              MR. TOCORO:   Jason Tocoro for plaintiff DC

   10:29:59 22    comics.

   10:30:00 23              MR. TOBEROFF:   Marc Toberoff for defendants

   10:30:02 24    Laura Siegel Larson and Marc Warren Peary.

   10:30:06 25              THE VIDEOGRAPHER:      Our court reporter today

                                                                              2




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                                         ROUGH DRAFT



   10:30:09   1   is Shanda Gabriel of Merrill.     Would the reporter

   10:30:11   2   please swear in the witness.

   10:30:12   3

   10:30:12   4                        WARREN PEARY,

   10:30:12   5              having been first duly sworn, was

   10:30:12   6              examined and testified as follows:

   10:30:19   7

   10:30:19   8              THE VIDEOGRAPHER:    Please begin.

   10:30:19   9

   10:30:19 10                          EXAMINATION

   10:30:19 11    BY MR. PETROCELLI:

   10:30:21 12        Q.     Good morning, Mr. Perry.

   10:30:24 13        A.     Good morning.

   10:30:25 14        Q.     We're starting at 10:30 rather than the

   10:30:27 15    noticed time of 9:30 because Mr. Toberoff informed

   10:30:33 16    me this morning of car problems.      So we'll probably

   10:30:38 17    have to go later than anticipated but hopefully

   10:30:42 18    we'll get through this today.

   10:30:43 19               Marc, all the defendants counsel were

   10:30:50 20    noticed for the deposition.     The other counsel is

   10:30:54 21    not present but we're going to proceed in their

   10:30:58 22    absence.   They were given full notice?

   10:30:59 23               MR. TOBEROFF:   They're not attending today.

   10:31:01 24               MR. PETROCELLI:   Okay.

   10:31:04 25        Q.     Let me mention to you, Mr. Perry, that I've

                                                                            3




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                                          ROUGH DRAFT



   10:31:10   1   reviewed the deposition that you gave in the Siegel

   10:31:13   2   case on November 11, 2006 and it was a somewhat

   10:31:23   3   brief deposition.     This will be lengthier.    It's not

   10:31:26   4   my intention to duplicate what you were already

   10:31:34   5   asked although I will be from time to time picking

   10:31:36   6   up on things that were touched upon this that

   10:31:39   7   deposition and following up.

   10:31:41   8             So I do want you to know that I'm mindful

   10:31:45   9   of what your prior testimony is and if you want a --

   10:31:48 10    I think you have a copy in front of you mark but if

   10:31:51 11    you need to consult a copy I have one.

   10:32:01 12              So first let me start by expanding a bit on

   10:32:04 13    your background.

   10:32:05 14              You were born on January 14, 1962.

   10:32:05 15              Is that right?

   10:32:08 16        A.    Yes on.

   10:32:08 17        Q.    And so you're 49 years old right now?

   10:32:10 18        A.    Yes.

   10:32:12 19        Q.    And you have never been married, correct?

   10:32:12 20        A.    Correct.

   10:32:15 21        Q.    And you have no children.

   10:32:15 22              Is that right?

   10:32:18 23        A.    Correct.

   10:32:18 24        Q.    You live in Albuquerque?

   10:32:20 25        A.    Santa Fe.

                                                                           4




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                                          ROUGH DRAFT



   10:32:21   1       Q.    Santa Fe, New Mexico?

   10:32:23   2             Do you live alone?

   10:32:25   3       A.    No.

   10:32:25   4       Q.    With whom do you reside?

   10:32:27   5       A.    I share a house with my family, other

   10:32:31   6   family members.

   10:32:32   7       Q.    Who are they?

   10:32:33   8       A.    My mother and sister.

   10:32:36   9       Q.    And your mother is Jean Peavy.

   10:32:38 10              Is that right?

   10:32:38 11        A.    Yes.

   10:32:39 12        Q.    And your sister is Dawn Peavy?

   10:32:42 13        A.    Yes.

   10:32:44 14        Q.    D-a-w-n, right?

   10:32:45 15        A.    Right.

   10:32:45 16        Q.    Anyone else reside with you?

   10:32:48 17        A.    No.

   10:32:51 18        Q.    Okay.    Dawn was born October 1965.

   10:32:51 19              Is that right?

   10:32:51 20        A.    Yes.

   10:32:55 21        Q.    Okay.    She has three children?

   10:32:58 22        A.    Yes.

   10:33:00 23        Q.    Do they reside with you?

   10:33:02 24        A.    She has a -- her youngest is -- is there

   10:33:06 25    sometimes.

                                                                          5




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                                          ROUGH DRAFT



   10:33:09   1       Q.    Do you know the ages of her children and

   10:33:11   2   their names?

   10:33:13   3       A.    Let's see, the youngest one is 19, and --

   10:33:16   4       Q.    And what's the 19 year old's name?

   10:33:18   5       A.    Jake.

   10:33:20   6       Q.    Jake?

   10:33:20   7       A.    Jake.

   10:33:21   8       Q.    Last name?

   10:33:21   9       A.    He uses -- I think he uses his -- his

   10:33:28 10    father's last name, Anderson, I believe.

   10:33:30 11        Q.    Okay.

   10:33:30 12        A.    I don't use it that much.

   10:33:32 13        Q.    Jake Anderson.   19 years old.   And who are

   10:33:35 14    the other two?

   10:33:36 15        A.    Other 20 -- you want their age or --

   10:33:40 16        Q.    Both name and age.

   10:33:42 17        A.    Okay.    Nicole and -- let me see, I haven't

   10:33:51 18    seen them in a long time.    They live in different

   10:33:54 19    cities and I haven't seen them in a very long time

   10:33:57 20    so let's see, Nicole and --

   10:34:02 21        Q.    Starting with Nicole, how old is Nicole?

   10:34:05 22        A.    She's something like 23 or -4.

   10:34:06 23        Q.    And where -- what's Nicole's last name?

   10:34:09 24        A.    She uses her mother's last name.

   10:34:11 25        Q.    Peavy?

                                                                           6




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                                            ROUGH DRAFT



   10:34:12   1       A.    Yes.    Yeah.

   10:34:15   2       Q.    And who is the third child?

   10:34:17   3       A.    Let me see.     I haven't seen him in such a

   10:34:20   4   long time.   You're making my -- what is it his name?

   10:34:29   5   I haven't seen him in a long time.      He lives far

   10:34:31   6   away.

   10:34:31   7       Q.    You don't know his name?

   10:34:33   8       A.    I do. But I'm not recalling it at the

   10:34:35   9   moment.

   10:34:35 10        Q.    Do you know his age?

   10:34:36 11        A.    He is something -- I -- I don't know, late

   10:34:38 12    twenties.

   10:34:39 13        Q.    I take it it's a mail?

   10:34:40 14        A.    Yes.

   10:34:42 15        Q.    Okay.

   10:34:42 16        A.    Yes.

   10:34:42 17        Q.    And where does Jake Anderson live?      What he

   10:34:47 18    city?

   10:34:47 19        A.    The youngest, Jake, he's -- sometimes he's

   10:34:50 20    with us and sometimes he's elsewhere where.

   10:34:58 21        Q.    Elsewhere meaning where?

   10:34:58 22        A.    I -- I -- I think he has a girlfriend that

   10:35:01 23    he stays with if you want --

   10:35:02 24        Q.    In Santa Fe?

   10:35:03 25        A.    Yes, if you want the details.

                                                                           7




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                                         ROUGH DRAFT



   10:35:04   1       Q.    No, I just want to know the city?

   10:35:06   2       A.    Okay.

   10:35:06   3       Q.    And Nicole lives in what city?

   10:35:08   4       A.    She's in Denver.

   10:35:09   5       Q.    Denver.   And the -- older boy, you don't

   10:35:12   6   remember?

   10:35:12   7       A.    He -- he's -- he's in El Paso.

   10:35:19   8       Q.    How long have you revieweded with your

   10:35:26   9   sister Dawn?

   10:35:28 10        A.    She's been with us since 2001 or 2,

   10:35:40 11    somewhere in there.

   10:35:40 12        Q.    Continuously to the present?

   10:35:42 13        A.    Yes.

   10:35:44 14        Q.    Okay.   And how long have you resided with

   10:35:45 15    your mother Jean?

   10:35:47 16        A.    We -- we've been there since -- since 1999.

   10:36:00 17        Q.    How old is your mom now?

   10:36:01 18        A.    90.

   10:36:04 19        Q.    And how is her health?

   10:36:05 20        A.    It's -- it's fair.    She had a stroke two

   10:36:09 21    years ago.

   10:36:13 22        Q.    Do you have full time healthcare for her,

   10:36:17 23    like a caretaker?

   10:36:19 24        A.    I'm -- I serve as a caretaker quite often.

   10:36:22 25        Q.    Okay.   But other than the family members,

                                                                          8




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                                            ROUGH DRAFT



   10:36:25   1   is there a professional caretaker?

   10:36:26   2       A.     No.

   10:36:30   3       Q.     Okay.   Your father was William Peavy?

   10:36:33   4       A.     Yes.

   10:36:33   5       Q.     And he passed away in 1996?

   10:36:35   6       A.     That's correct.

   10:36:49   7       Q.     And your dad wrote books and was a teacher?

   10:36:52   8       A.     Well, he -- he did.   He had -- he had a

   10:36:57   9   long career.

   10:36:58 10        Q.     As a -- as a teacher and an author?

   10:37:00 11        A.     You want his last position before he

   10:37:05 12    retired or --

   10:37:06 13        Q.     Just in general idea of his?

   10:37:07 14        A.     In general,.

   10:37:08 15        Q.     Professional background?

   10:37:09 16        A.     Yeah, he was civil servant.

   10:37:11 17        Q.     Working for whom?

   10:37:12 18        A.     He worked for the Texas A&M extension

   10:37:17 19    service.

   10:37:17 20        Q.     What is that?

   10:37:18 21        A.     Texas A&M steps service.

   10:37:20 22        Q.     Oh the university?

   10:37:21 23        A.     It's a branch of the university.

   10:37:23 24        Q.     Okay.   Now what about your employment?    Can

   10:37:27 25    you briefly trace it for me?

                                                                           9




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                                           ROUGH DRAFT



   10:37:28   1         A.   I've been doing investment work.

   10:37:31   2         Q.   I saw from your prior -- your deposition in

   10:37:35   3   the Siegel case that you have a two-year degree from

   10:37:39   4   I think it's Texas El Paso.

   10:37:39   5              Is that right?

   10:37:39   6         A.   Yes.

   10:37:42   7         Q.   And you went there right out of high

   10:37:44   8   school?

   10:37:45   9         A.   Yes.

   10:37:46 10          Q.   And so what have you been doing

   10:37:49 11    occupationly from the time you left college, Texas

   10:37:53 12    El Paso, to the present?

   10:37:55 13          A.   You want everything I've done or just --

   10:37:58 14          Q.   If you can summarize it that would be

   10:38:00 15    helpful?

   10:38:00 16          A.   Summarize it.    I've done a lot of different

   10:38:04 17    things.    I built.

   10:38:05 18          Q.   Can you do it in chronological order for

   10:38:08 19    me?

   10:38:08 20          A.   I can try.

   10:38:10 21          Q.   Sure?

   10:38:11 22          A.   I built homes for a time and sold real

   10:38:14 23    estate for a time.

   10:38:18 24          Q.   While living in?

   10:38:18 25          A.   In El Paso.

                                                                          10




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                                           ROUGH DRAFT



   10:38:20   1       Q.    In El Paso.

   10:38:27   2       A.    Yes.   And then I -- I -- I had a stint

   10:38:34   3   selling insurance as well and then I -- I got

   10:38:40   4   involved in trading and investing at a later time.

   10:38:47   5       Q.    Trading and investing in what?

   10:38:48   6       A.    Yes.   I started off in trading futures.

   10:38:55   7       Q.    Commodities?

   10:38:56   8       A.    Yes.   And then later on branched out more

   10:39:04   9   into equity investments and that type of thing and

   10:39:08 10    that's been my primary activity for quite a few

   10:39:11 11    years.

   10:39:11 12        Q.    To the present?

   10:39:12 13        A.    Yes.

   10:39:14 14        Q.    And you've also written some books from

   10:39:17 15    time to time?

   10:39:17 16        A.    Yes.

   10:39:18 17        Q.    How many books have you authored?

   10:39:19 18        A.    Two.

   10:39:21 19        Q.    And do you coauthor or book with your

   10:39:25 20    father?

   10:39:25 21        A.    Did I.

   10:39:25 22        Q.    Is that in addition to the two books or one

   10:39:28 23    of the two he?

   10:39:28 24        A.    No, that's one of the two.

   10:39:30 25        Q.    And what was that book?

                                                                         11




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                                           ROUGH DRAFT



   10:39:31   1       A.    What was the title of it.

   10:39:33   2       Q.    Yeah the one you did with your dad?

   10:39:34   3       A.    It was called super nutrition gardening.

   10:39:37   4       Q.    The one you did on your own?

   10:39:38   5       A.    It was called the greatest health secrets.

   10:39:41   6       Q.    Okay.   You mentioned at the deposition in

   10:39:44   7   November of 2006 that you were working on a screen

   10:39:49   8   play of Joe Shuster's life?

   10:39:52   9       A.    Yes.

   10:39:52 10        Q.    Do you recall that?

   10:39:52 11        A.    Yes.

   10:39:54 12        Q.    Have you continued to work on that?

   10:39:55 13        A.    No.

   10:39:58 14        Q.    Have you written any other material

   10:40:05 15    regarding either Joe Shuster -- about either Joe

   10:40:10 16    Shuster or Jerry Siegel?

   10:40:12 17        A.    No..

   10:40:13 18        Q.    Have you been on any -- have you

   10:40:19 19    participated in any presentations or pitches to

   10:40:22 20    third parties about acquiring options for any work

   10:40:29 21    that you've done?

   10:40:30 22        A.    At one time.

   10:40:34 23              MR. TOBEROFF:   Meaning -- meaning --

   10:40:35 24              THE WITNESS:    On a screen play?

   10:40:37 25              MR. TOBEROFF:   Authored work.

                                                                          12




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                                            ROUGH DRAFT



   10:40:37   1              MR. PETROCELLI:   Yeah.

   10:40:38   2       Q.     Any work that you've authored or -- yeah.

   10:40:40   3   Any work that you authored?

   10:40:41   4       A.     On any screen play or -- I have other

   10:40:44   5   screenplays I've also worked on so.

   10:40:46   6              MR. TOBEROFF:   He's just talk about any

   10:40:47   7   literary work.

   10:40:51   8              THE WITNESS:    I've been offered options on

   10:40:53   9   other screenplays, yes.

   10:40:53 10    BY MR. PETROCELLI:

   10:40:54 11        Q.     Have any of them been developed?

   10:40:57 12        A.     No.

   10:40:58 13        Q.     Have any of the screenplays concerned at

   10:41:02 14    all the life of Joe Shuster the ones that have been

   10:41:09 15    optioned

   10:41:09 16        A.     There was one that was.

   10:41:11 17        Q.     Was optioned?

   10:41:13 18        A.     It has expired so it's not active.

   10:41:16 19        Q.     Now, was that -- what was the underlying

   10:41:19 20    work that was optioned?

   10:41:19 21        A.     Screen play.

   10:41:19 22        Q.     Was that the screen play to which you add

   10:41:23 23    verdict in your deposition in 2006?

   10:41:24 24        A.     Yes, yes.

   10:41:25 25        Q.     And it was after your deposition that you

                                                                          13




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                                           ROUGH DRAFT



   10:41:30   1   optioned it?

   10:41:33   2       A.    I'm not -- I'm not sure of the exact.    I

   10:41:36   3   don't -- I really don't recall the exact date on

   10:41:40   4   that.

   10:41:41   5       Q.    Did you option it to Ilya Salkind?

   10:41:44   6       A.    Yes.

   10:41:44   7       Q.    Okay.

   10:41:52   8       Q.    And the option was renewed?

   10:41:53   9       A.    No.

   10:41:59 10        Q.    How much did you receive for the option?

   10:42:01 11        A.    We weren't paid anything up front.

   10:42:04 12        Q.    Okay.   Did the -- how long was the option?

   10:42:08 13        A.    I believe it was a year.

   10:42:10 14        Q.    Did it expire?

   10:42:11 15        A.    Yes, it did.

   10:42:11 16        Q.    And has anything happened to that screen

   10:42:15 17    play since the expiration of the option to

   10:42:17 18    Mr. Salkind?

   10:42:18 19        A.    No.    We have no sales or options.

   10:42:22 20        Q.    Have you attempted to present or pitch the

   10:42:27 21    screen play to anyone else?

   10:42:29 22        A.    No, I have not.

   10:42:36 23        Q.    How many pages is that screen play?

   10:42:37 24        A.    130.

   10:42:43 25        Q.    And have you done any further work on it

                                                                         14




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                                         ROUGH DRAFT



   10:42:45   1   since the time you optioned it?

   10:42:51   2       A.    Nothing substantial.

   10:42:54   3       Q.    And is the screen play about the life of

   10:42:56   4   Joe Shuster?

   10:42:57   5       A.    Yes.

   10:43:00   6       Q.    When you wrote the screen play, did you

   10:43:02   7   collect a -- a file on Joe Shuster from which you

   10:43:07   8   put together your screen play?

   10:43:08   9       A.    I did.   Historical background research.

   10:43:12 10        Q.    What were the years when you wrote the

   10:43:14 11    screen play?

   10:43:15 12        A.    1996, I started.    Up until the early 2000s.

   10:43:27 13        Q.    When your uncle died, he died in July of

   10:43:29 14    1992.

   10:43:29 15              Is that right?

   10:43:29 16        A.    Yes.

   10:43:33 17        Q.    And after he passed, you were involved in

   10:43:38 18    collecting his belongings?

   10:43:40 19        A.    Yes.

   10:43:43 20        Q.    You went out to his apartment in

   10:43:44 21    Los Angeles with your mom?

   10:43:46 22        A.    Yes.

   10:43:48 23        Q.    And did you then take possession of some of

   10:43:55 24    his papers and library of comic book materials,

   10:44:01 25    whatever he had, drawings, things like that?

                                                                          15




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                                         ROUGH DRAFT



   10:44:04   1       A.    There were -- there were very limited

   10:44:06   2   papers and we didn't find any vintage comics,

   10:44:10   3   unfortunately, which would have been worth a lot.

   10:44:13   4   He didn't have any.    There were some limited papers

   10:44:19   5   but nothing -- nothing significant.     Mostly personal

   10:44:22   6   items.

   10:44:24   7       Q.    Where did you get the materials that you

   10:44:26   8   used for your book?

   10:44:27   9       A.    The book?

   10:44:30 10        Q.    Excuse me, the screen play.

   10:44:34 11        A.    The materials it came from historical

   10:44:37 12    research.

   10:44:38 13        Q.    About Joe?

   10:44:39 14        A.    Yes.   I had a lot of -- a lot of vintage

   10:44:46 15    articles that came from the -- the era which is

   10:44:51 16    probably unusual to have a lot of material.      That's

   10:44:55 17    where most of it came from.

   10:44:57 18        Q.    You collected this on your own?

   10:44:58 19        A.    Yes.

   10:44:59 20        Q.    By doing public record searches?

   10:45:02 21        A.    Yes.   And family files.

   10:45:05 22        Q.    Who -- who had possession of the family

   10:45:07 23    files?

   10:45:07 24        A.    My mother had collected articles throughout

   10:45:11 25    the years.

                                                                         16




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                                         ROUGH DRAFT



   10:45:12   1       Q.    And those articles are in your home where

   10:45:14   2   you and your mother now live, right?

   10:45:17   3       A.    Oh, I -- I guess so.    It's just old

   10:45:23   4   magazine articles.

   10:45:28   5       Q.    Did you retrieve any materials from Joe

   10:45:32   6   apartment after his death that you put in your file

   10:45:37   7   for use in writing your screen play?

   10:45:39   8       A.    I -- I don't recall getting any papers from

   10:45:42   9   his apartment.    He didn't have much.

   10:45:46 10        Q.    What about during his lifetime?     Did he

   10:45:50 11    ever give you any material, any papers, any

   10:45:53 12    writings, any of his drawings, any comic books,

   10:45:56 13    things like that, that you've collected and saved?

   10:45:59 14        A.    We -- we had a vintage drawing, a few

   10:46:05 15    mementos is all.

   10:46:06 16        Q.    Were you close to him?

   10:46:08 17        A.    Somewhat.

   10:46:11 18        Q.    So you were about 30 when he passed right?

   10:46:14 19    You were born in 62, right?

   10:46:15 20        A.    Yeah, that sounds correct.

   10:46:18 21        Q.    And you had known him since you were a

   10:46:21 22    small boy?

   10:46:21 23        A.    Yes.   Not real closely but I did know him.

   10:46:28 24        Q.    He had no children, right?

   10:46:28 25        A.    Correct.

                                                                          17




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                                           ROUGH DRAFT



   10:46:30   1          Q.   But he had been married once?

   10:46:31   2          A.   Briefly.

   10:46:36   3          Q.   What years was he married?

   10:46:37   4          A.   1979, I believe.

   10:46:43   5          Q.   Did you attend his wedding?

   10:46:45   6          A.   No.

   10:46:46   7          Q.   Did he and his wife elope?

   10:46:49   8          A.   Excuse me?

   10:46:50   9          Q.   Did they elope, they went off on their own

   10:46:53 10    and got married without a sarah -- you know a

   10:46:56 11    ceremony for the family?

   10:46:57 12           A.   I'm not aware of the circumstances of their

   10:47:01 13    marriage.

   10:47:01 14           Q.   What was his wife's name?

   10:47:02 15           A.   I'm not sure I can recall.    I never met

   10:47:11 16    her.

   10:47:11 17           Q.   Never spoke with her?

   10:47:12 18           A.   No.

   10:47:13 19           Q.   Ever communicate at all with her in

   10:47:16 20    writing?

   10:47:16 21           A.   No, I did not.   It's like 1979, 80.   Last

   10:47:20 22    time they were both.

   10:47:22 23           Q.   Did you ever see her?

   10:47:23 24           A.   I never met her.

   10:47:24 25           Q.   Did you ever see a picture of her?

                                                                            18




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                                           ROUGH DRAFT



   10:47:26   1       A.    Yes.

   10:47:26   2       Q.    Where?

   10:47:31   3       A.    Somehow we had -- we had a picture that I

   10:47:33   4   had -- had I seen from -- I don't know what it was.

   10:47:38   5   Maybe it was -- I don't remember.      Somewhere I did

   10:47:40   6   see a picture of them but I never met her.

   10:47:44   7       Q.    And Joe had how many nieces and nephews?

   10:47:49   8       A.    Just myself and my sister.

   10:47:59   9       Q.    Now, you -- I've seen his will or at least

   10:48:03 10    a copy of the will and it names your mom, Jean, as

   10:48:08 11    his sole beneficiary but identifies you as an

   10:48:10 12    alternate beneficiary, as well as executor in the

   10:48:17 13    event that she is unwilling or unable to serve.

   10:48:19 14    You're generally familiar with that?

   10:48:20 15        A.    Yes.

   10:48:21 16        Q.    And I notice that your sister wasn't in

   10:48:24 17    there.

   10:48:25 18              Did your sister to your knowledge, not have

   10:48:30 19    a good relationship with -- with your uncle Joe?

   10:48:32 20        A.    No, it had nothing to do with that.

   10:48:34 21        Q.    Do you have any understanding or belief why

   10:48:37 22    only you were included, not your sister?

   10:48:41 23              MR. TOBEROFF:   Don't speculate.

   10:48:44 24              THE WITNESS:    My sister's provided for by

   10:48:48 25    us so there's no problem with the relationship.

                                                                           19




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                                           ROUGH DRAFT



   10:48:53   1   That's all I could say.

   10:48:53   2   BY MR. PETROCELLI:

   10:48:56   3       Q.    When you said your sister is provided for

   10:48:58   4   by us, who is the us?

   10:49:00   5       A.    Yeah, me and my mom.

   10:49:02   6       Q.    Have you been supporting your mom

   10:49:07   7   financially since your dad passed?

   10:49:11   8       A.    I don't know if I am supporting her.     We

   10:49:15   9   have a mutual relationship where she needs my help

   10:49:21 10    and I give it to her.

   10:49:23 11        Q.    Do you provide financial support to your

   10:49:25 12    sister Dawn?

   10:49:28 13        A.    Somewhat but she has a job.

   10:49:30 14        Q.    What does she do for a living?

   10:49:32 15        A.    She works for a food distributor.

   10:49:36 16        Q.    In Santa Fe?

   10:49:36 17        A.    Yes.

   10:49:37 18        Q.    What's the name of the company?

   10:49:41 19        A.    It's called Labat SP.

   10:49:43 20        Q.    She's unmarried at the current time?

   10:49:47 21        A.    Yes.

   10:49:53 22        Q.    Are you familiar with a comic book blogger

   10:49:56 23    named Dave Sims or Dave Sim, S-i-m?

   10:50:02 24        A.    I'm not sure I am.

   10:50:08 25        Q.

                                                                          20




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                                          ROUGH DRAFT



   10:50:10   1               MR. TOBEROFF:   How do you spell that.

   10:50:12   2               MR. PETROCELLI:   S IM.

   10:50:13   3          Q.   Did your mom in the last four or five years

   10:50:19   4   do an interview for Canadian broadcasting company,

   10:50:22   5   CBC?

   10:50:23   6          A.   I'm not aware of that.

   10:50:26   7          Q.   I've taken the time while we were waiting

   10:50:28   8   for you folks to arrive to pre-mark the deposition

   10:50:32   9   exhibits that I intend to use.        Now, that said,

   10:50:36 10    because I tend to move around a bit they're not

   10:50:40 11    exactly in sequential order but let me start by

   10:50:45 12    showing you just briefly an exhibit.       Which is a

   10:50:47 13    copy of a blog by Mr. Sim about your family dated

   10:50:53 14    February 19, 2007.    It's Exhibit 24?

   10:51:00 15                MR. PETROCELLI:   Mark I started with 1

   10:51:02 16    Exhibit 1.    Which I'll get to and I've numbered

   10:51:09 17    exhibits starting with 1 since this is the first

   10:51:12 18    deposition in the case.

   10:51:13 19                  (The document referred to was

   10:51:13 20                marked for identification by the

   10:51:13 21                C.S.R. as Exhibit ^ and attached to

   10:51:16 22                this deposition.)

   10:51:16 23    BY MR. PETROCELLI:

   10:51:17 24           Q.   Have you ever seen this blog before or

   10:51:19 25    this --

                                                                           21




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                                            ROUGH DRAFT



   10:51:19   1          A.   No.

   10:51:20   2          Q.   Excuse me, this particular addition of the

   10:51:23   3   Mr. Sim's blog?

   10:51:25   4          A.   No.    I'm not familiar with him.

   10:51:28   5          Q.   Okay.   If you go to the second page, the

   10:51:31   6   middle of the paragraph, the paragraph that starts

   10:51:38   7   with, "Oh, here is a great one," a letter from Jean

   10:51:46   8   and Dawn and Warren Shuster Peavy/Perry.

   10:51:51   9               Do you see that?

   10:51:51 10           A.   Yes.

   10:51:53 11           Q.   And then it goes on to have some discussion

   10:51:56 12    about -- about you and your sister and your mom.

   10:52:00 13                Did you provide a letter to Mr. Sim?

   10:52:06 14           A.   A letter?

   10:52:06 15           Q.   Yeah.

   10:52:16 16           A.   I don't recall having any dealings with

   10:52:19 17    Sim.

   10:52:19 18           Q.   Did you attend the inaugural Joe Shuster

   10:52:23 19    awards at Toronto con it's Toronto and then c-o-n?

   10:52:28 20           A.   No.

   10:52:29 21           Q.   Do you know that your mother and sister

   10:52:31 22    did?

   10:52:32 23           A.   Yes.

   10:52:32 24           Q.   What year was that?

   10:52:40 25           A.   I'm not sure.   I didn't go.

                                                                           22




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                                         ROUGH DRAFT



   10:52:41   1       Q.    Last -- was it in the last --

   10:52:45   2       A.    Sometime after 2000.

   10:52:46   3       Q.    Okay.   Are you aware of any letters that

   10:52:50   4   they wrote to Mr. Sim, they being your sister or

   10:52:54   5   your mother?

   10:53:02   6       A.    No I don't believe I am.

   10:53:03   7       Q.    And you'll see in this next paragraph that

   10:53:05   8   follows at the very end there's a reference to some

   10:53:08   9   of your screenplays.   Then there's some photographs

   10:53:12 10    and the photograph on -- on the third page of

   10:53:16 11    Exhibit 24 at the very bottom, is that you, your

   10:53:19 12    mother, Jean and your sister, Dawn?

   10:53:21 13        A.    Yes.

   10:53:21 14        Q.    Okay.   And then there's the fourth page at

   10:53:25 15    the top talks about the option arrangement with

   10:53:28 16    Mr. Salkind.

   10:53:29 17              Do you see that?

   10:53:29 18        A.    Yes.

   10:53:31 19        Q.    Okay.   And as far as you know, you didn't

   10:53:34 20    provide any of this information to -- to Mr. Sim.

   10:53:34 21              Is that right?

   10:53:41 22        A.    I don't recall having any dealings with --

   10:53:44 23    with Sim so I don't know where he got it.

   10:53:46 24        Q.    And go to the -- the next page at the very

   10:53:49 25    end which starts with so there you go?

                                                                          23




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                                           ROUGH DRAFT



   10:53:55   1       A.    Next page at the very end.     Uh-huh.

   10:53:57   2       Q.    It says at the end stay tuned as we try to

   10:54:01   3   track down Jean Shuster Peavy CVC interview.       Do you

   10:54:06   4   know anything about that interview?

   10:54:07   5       A.    No, I don't.

   10:54:08   6       Q.    Okay.    When did you change your name from

   10:54:17   7   Peavy to Peary?

   10:54:18   8       A.    Some time in the early 1980s.

   10:54:24   9       Q.    Did you legally change it?

   10:54:26 10        A.    Yes.

   10:54:26 11        Q.    Why did you do that?

   10:54:27 12        A.    It was like a kind of a business type of

   10:54:34 13    decision.   I was doing some acting at the time.

   10:54:38 14    That was part of it.     I thought it had a better

   10:54:40 15    sound, as actors frequently change their names so --

   10:54:44 16        Q.    Did you --

   10:54:45 17        A.    -- it had to do with that.

   10:54:46 18        Q.    Did you appear in anything --

   10:54:50 19        A.    I did.

   10:54:51 20        Q.    -- that was previous to --

   10:54:53 21        A.    I did local paid productions and did some

   10:54:59 22    various auditions for a time but I didn't pursue it.

   10:55:09 23        Q.    Are you also a musician?

   10:55:12 24        A.    I have -- yes, I have done music.

   10:55:14 25        Q.    Did you perform in a band called the Cotton

                                                                           24




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                                            ROUGH DRAFT



   10:55:19   1   Pickin Peavys?

   10:55:19   2       A.     As a child as a childhood thing.

   10:55:25   3       Q.     Who was in that band?

   10:55:26   4       A.     Myself, mother and father, maybe an

   10:55:30   5   occasional other musician.

   10:55:32   6       Q.     And what did you play the ban Joe?

   10:55:33   7       A.     Yes.

   10:55:35   8       Q.     Okay.   So you have done some music in your

   10:55:40   9   background and you've done some acting?

   10:55:41 10        A.     Yes.

   10:55:42 11        Q.     Have you ever been compensated for acting?

   10:55:43 12        A.     Yes.

   10:55:45 13        Q.     How long ago?

   10:55:48 14        A.     Early 1980s.

   10:55:56 15        Q.     So I want to go back a bit on your

   10:55:58 16    relationship with your uncle Joe Shuster.

   10:56:05 17               Did you ever spend one on one time with him

   10:56:09 18    growing up?

   10:56:09 19        A.     Some.

   10:56:09 20        Q.     Did you go stay with him, for example, for

   10:56:12 21    a while?

   10:56:12 22        A.     There was one occasion I stayed with him

   10:56:16 23    for a couple weeks.

   10:56:18 24        Q.     When was that?

   10:56:20 25        A.     That's when I thought I might become an

                                                                          25




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                                           ROUGH DRAFT



   10:56:22   1   actor and I came out here and he let me stay in his

   10:56:27   2   place for a while.

   10:56:27   3       Q.     Late '80s?

   10:56:28   4       A.     No.   That was the early '80s when I had all

   10:56:32   5   my heir.

   10:56:33   6       Q.     And when did you last see him before he

   10:56:39   7   died?

   10:56:39   8       A.     There -- there might have been an occasion

   10:56:46   9   in the late '80s where we visited him, I believe.

   10:56:52 10    It wasn't very long, though.

   10:56:57 11        Q.     What wasn't very long?

   10:56:59 12        A.     The visit was not long.

   10:57:03 13        Q.     Did you speak with him by phone?

   10:57:07 14        A.     Not much.    Mostly it was to his sister

   10:57:11 15    Jean.

   10:57:15 16        Q.     Were you -- so your contact with him

   10:57:18 17    diminished in -- over the last years of his life?

   10:57:27 18        A.     I don't know if it diminished.    There

   10:57:31 19    was -- I would say it was pretty steady as it had

   10:57:34 20    been.

   10:57:37 21        Q.     But you hadn't seen him in 3 or 4 years,

   10:57:37 22    right?

   10:57:40 23        A.     I don't recall the last time I seen him if

   10:57:43 24    that's what you're asking.      It was -- we had visited

   10:57:45 25    him sometime in the late 1980s and he -- he had

                                                                          26




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                                           ROUGH DRAFT



   10:57:50   1   gotten older and slower and had various health

   10:57:55   2   problems so it wasn't -- it wasn't a whole lot said.

   10:58:06   3   I don't recall speaking with him much at that time.

   10:58:08   4       Q.    Did you ever have a conversation with --

   10:58:11   5   with Joe Shuster about copyright interests or

   10:58:16   6   termination of copyright interests?

   10:58:18   7       A.    No.

   10:58:20   8             MR. TOBEROFF:   Compound.

   10:58:22   9             THE WITNESS:    No.   Never discussed that.

   10:58:22 10    BY MR. PETROCELLI:

   10:58:26 11        Q.    Did you ever have a conversation with Joe

   10:58:28 12    Shuster about any contractual arrangements he had

   10:58:34 13    with DC Comics or Time-Warner or Warner

   10:58:39 14    communications or any other affiliated entity?

   10:58:42 15              MR. TOBEROFF:   Compound.

   10:58:45 16              THE WITNESS:    No.

   10:58:45 17    BY MR. PETROCELLI:

   10:58:51 18        Q.    Did he ever discuss with you any of his

   10:58:55 19    pension arrangements or agreements?

   10:58:57 20        A.    No.

   10:59:00 21        Q.    Were you aware of them?

   10:59:04 22        A.    I knew he was getting a pension.

   10:59:06 23        Q.    From whom?

   10:59:07 24        A.    Time-Warner, I believe.

   10:59:15 25        Q.    Were you at all involved in his financial

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   10:59:19   1   affairs, helping him out with paying bills or things

   10:59:23   2   like that?

   10:59:23   3       A.    Not while he was alive.

   10:59:26   4       Q.    When he died, though, you -- you did go

   10:59:29   5   through and reconstruct all of his payments and

   10:59:32   6   checks and tried to get a handle on how much money

   10:59:36   7   he had.

   10:59:38   8             Is that right?

   10:59:38   9             MR. TOBEROFF:    Vague.

   10:59:43 10              You can answer.

   10:59:43 11              THE WITNESS:    The only thing I recall is I

   10:59:45 12    helped my mother clear up his affairs.     That's about

   10:59:55 13    the only involvement I had at the -- after he died.

   10:59:55 14    BY MR. PETROCELLI:

   11:00:03 15        Q.    And after he died, were you assisting your

   11:00:11 16    mom in her discussions with either DC Comics or

   11:00:17 17    Time-Warner about financial arrangements?

   11:00:22 18              MR. TOBEROFF:    Lacks foundation.     Assumes

   11:00:24 19    facts.

   11:00:30 20              THE WITNESS:    I -- no, I really had nothing

   11:00:32 21    to do with what she was saying.

   11:00:32 22    BY MR. PETROCELLI:

   11:00:34 23        Q.    Okay.   I'll come back to that in a bit.

   11:00:39 24              You are aware that DC Comics has filed a

   11:00:47 25    lawsuit against you and other defendants, including

                                                                             28




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   11:00:55   1   Mr. Toberoff?

   11:00:56   2          A.   Yes.

   11:01:02   3          Q.   Let me show you a copy of the complaint

   11:01:03   4   which is Exhibit 1.

   11:01:06   5                 (The document referred to was

   11:01:06   6               marked for identification by the

   11:01:06   7               C.S.R. as Exhibit 1 and attached to

   11:01:16   8               this deposition.)

   11:01:16   9               MR. PETROCELLI:   Actually the first amended

   11:01:19 10    complaint.

   11:01:19 11                MR. TOBEROFF:   Is this -- I thought this --

   11:01:21 12    the other blog was Exhibit 1.

   11:01:23 13                MR. PETROCELLI:   No, no.   I premarked them,

   11:01:25 14    as I said,.    So that was -- I identified that on the

   11:01:28 15    record as Exhibit 24.

   11:01:40 16                You have a copy of that blog that's been

   11:01:43 17    marked by the reporter, mark?     This one right here?

   11:01:47 18    Why don't you put that over there so we can keep the

   11:01:50 19    exhibits organized that's for the reporter thank

   11:01:56 20    you.

   11:01:56 21           Q.   This lawsuit was first filed on I believe

   11:01:58 22    it was May 14, 2010 and a copy of the complaint at

   11:02:05 23    the time was served on you, did you read the

   11:02:08 24    complaint?

   11:02:09 25           A.   I scanned it.

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   11:02:11   1       Q.    Scanned it?

   11:02:12   2       A.    Yes.

   11:02:14   3       Q.    Did you discuss it with your mom?

   11:02:22   4       A.    Her -- not -- not -- not really.      She

   11:02:28   5   faculties are not -- not very good because of her

   11:02:34   6   stroke.   She's -- she's perhaps aware -- she's

   11:02:38   7   probably aware of it I'm sure.

   11:02:40   8       Q.    When the lawsuit was served on you and you

   11:02:42   9   became aware of it did you have any discussion at

   11:02:45 10    all with your mother about it, even -- even in the

   11:02:48 11    most general terms, like, you know, "They filed a

   11:02:50 12    case against us or anything like that?

   11:02:52 13        A.    That would be the only extent of it.        I

   11:02:56 14    would have mentioned something.     That's it.

   11:03:00 15        Q.    Do you recall what, if anything, she said

   11:03:02 16    to you?

   11:03:06 17        A.    Her -- her facultieses are such that I

   11:03:09 18    don't think she completely understands what's going

   11:03:11 19    on with this.

   11:03:13 20        Q.    "With this," meaning --

   11:03:14 21        A.    This.

   11:03:14 22        Q.    All the legal issues?

   11:03:16 23        A.    This legal -- yes.

   11:03:18 24        Q.    Did you discuss it with your sister Jean

   11:03:26 25    with whom you were living at the time?

                                                                            30




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   11:03:27   1       A.     You mean --

   11:03:28   2       Q.     Your sister Dawn, excuse me?

   11:03:29   3       A.     Dawn.

   11:03:32   4       Q.     What -- what is Dawn's last name?       Does she

   11:03:35   5   go by Peary?

   11:03:37   6       A.     She uses Peavy right now.

   11:03:38   7       Q.     Peavy.   Excuse me.   Okay.   And what is your

   11:03:46   8   address?

   11:03:46   9       A.     51 Camino Cabo, Santa Fe, New Mexico,

   11:03:58 10    87508.

   11:04:00 11        Q.     Who owns the house?

   11:04:01 12        A.     I do with -- with my mother.

   11:04:10 13        Q.     Did you discuss the lawsuit with -- with

   11:04:12 14    Dawn?

   11:04:13 15        A.     No.

   11:04:16 16        Q.     Never?

   11:04:16 17        A.     No.   She hasn't -- she hasn't been involved

   11:04:23 18    in any of the legal issues.      She just has a general

   11:04:25 19    awareness of it.

   11:04:27 20               MR. TOBEROFF:   If I might, just focus --

   11:04:28 21    just answer his question and focus on the question.

   11:04:28 22    BY MR. PETROCELLI:

   11:04:31 23        Q.     Did you tell her that you were coming here

   11:04:32 24    for a deposition?

   11:04:33 25        A.     She's aware of that.

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   11:04:38   1          Q.   Based on your interactions with her, do you

   11:04:39   2   believe she's aware that a lawsuit has been filed by

   11:04:42   3   DC comics against you and others with respect to the

   11:04:46   4   Joe Shuster termination interest?

   11:04:48   5          A.   I don't know if I've discussed that with

   11:04:51   6   her.

   11:04:53   7          Q.   Have you discussed this case with anyone

   11:04:55   8   else other than Marc Toberoff?

   11:04:57   9          A.   No.

   11:05:02 10           Q.   Have you discussed it with any other

   11:05:06 11    lawyers besides Mr. Toberoff?

   11:05:08 12                MR. TOBEROFF:   Including lawyers at my

   11:05:09 13    firm.

   11:05:09 14                MR. PETROCELLI:   Not including any lawyers

   11:05:11 15    at Mr. Toberoff's firm.       Anybody else.

   11:05:14 16                THE WITNESS:    No.

   11:05:14 17    BY MR. PETROCELLI:

   11:05:16 18           Q.   Who is Michael Cataron?

   11:05:20 19           A.   He is a friend.

   11:05:23 20           Q.   Where does he live?

   11:05:24 21           A.   He lives in Pennsylvania.

   11:05:28 22           Q.   How did you become acquainted with him?

   11:05:30 23           A.   I became acquainted with him -- I don't

   11:05:40 24    recall.     I've known him since I was younger.

   11:05:43 25           Q.   You grew up together?

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   11:05:44   1       A.    No, he knew the family.     He knew our family

   11:05:48   2   and I knew him since I can't recall exactly.     We've

   11:05:52   3   known him for years though.

   11:05:53   4       Q.    What does he do for a living?

   11:05:55   5       A.    He is some kind of a teacher, I believe.

   11:05:59   6       Q.    What city in Pennsylvania?

   11:06:01   7       A.    I don't recall.

   11:06:04   8       Q.    When was the last time you had any contact

   11:06:07   9   with him?

   11:06:07 10        A.    Personal or on the phone or --

   11:06:12 11        Q.    Anyway.   On the phone, writing, e-mail,

   11:06:14 12    anything.

   11:06:19 13        A.    I must have spoken with him in the last

   11:06:21 14    year on the phone.

   11:06:26 15        Q.    And you don't know what city he lives in?

   11:06:28 16        A.    I can't recall.   Usually I just talk to him

   11:06:32 17    on the phone.

   11:06:32 18        Q.    Do you know how old he is?

   11:06:33 19        A.    I believe he's in his 50s.

   11:06:40 20        Q.    Do you have an e-mail address?

   11:06:41 21        A.    Yes.

   11:06:42 22        Q.    What is it?

   11:06:44 23        A.    W Peary at comcast.net.

   11:06:54 24        Q.    Is that P EA R Y?

   11:06:57 25        A.    Yes.

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   11:06:58   1       Q.    And do you know if your sister Dawn has an

   11:07:00   2   e-mail address?

   11:07:00   3       A.    She uses 1 through work.    I can't recall.

   11:07:08   4       Q.    Does your mom have one?

   11:07:09   5       A.    No.

   11:07:18   6       Q.    Are you generally familiar with the nature

   11:07:20   7   of DC Comics' claims in this case?

   11:07:22   8       A.    Somewhat.

   11:07:29   9       Q.    Are you aware -- and again, very generally,

   11:07:34 10    that DC Comics is challenging the termination notice

   11:07:40 11    served by the estate of Joe Shuster?

   11:07:45 12        A.    Yeah, I saw that here.

   11:07:47 13        Q.    And by challenging," I mean DC is

   11:07:53 14    contending that the termination notice is not valid

   11:07:55 15    or not effective.     Do you have a general

   11:07:58 16    understanding of that?

   11:08:00 17        A.    Just from what I read here.

   11:08:02 18        Q.    Okay.   You also -- do you also have an

   11:08:05 19    understanding that DC claims that certain agreements

   11:08:19 20    that you and/or your mother entered into violate

   11:08:24 21    it's rights under the copyright laws?      Do you have a

   11:08:27 22    general understanding that DC is making that

   11:08:30 23    contention?

   11:08:33 24              MR. TOBEROFF:   I just want to instruct you,

   11:08:35 25    Warren, to the extent he asks you a question whether

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   11:08:39   1   you have an understanding, you can answer that

   11:08:42   2   question as to what your understanding is, provided

   11:08:44   3   that understanding is not based on your

   11:08:47   4   conversations with me and is based on something

   11:08:50   5   independent of your communications with me.        If

   11:08:55   6   it's -- if your understanding is solely based on

   11:08:57   7   your communications with me, you can't discuss with

   11:09:03   8   Mr. Petrocelli what your answer is because you would

   11:09:07   9   be difficult individual the substance of your

   11:09:08 10    communications with me.

   11:09:09 11              Do you understand that?

   11:09:11 12              THE WITNESS:    Yes.

   11:09:12 13              MR. TOBEROFF:   So you can answer solely to

   11:09:14 14    the extent you have an understanding independent of

   11:09:17 15    your discussions with me.

   11:09:18 16              THE WITNESS:    Okay.

   11:09:18 17    BY MR. PETROCELLI:

   11:09:19 18        Q.    You read the complaint you said -- you said

   11:09:21 19    you scanned it, right?

   11:09:21 20        A.    Yes.

   11:09:23 21        Q.    So when you scanned the complaint did you

   11:09:27 22    understand that among other things that DC was

   11:09:29 23    contending that certain agreements that you and/or

   11:09:33 24    your mother entered into entitled "It's rights under

   11:09:36 25    the copyright laws?

                                                                           35




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   11:09:40   1             MR. TOBEROFF:   Again can you only answer

   11:09:41   2   that question to the extent have you some

   11:09:43   3   independent understanding, independent of your

   11:09:45   4   discussions with me.

   11:09:47   5             THE WITNESS:    My understanding of this is

   11:09:54   6   intricately linked to my discussions with Marc

   11:09:57   7   Toberoff.

   11:09:57   8   BY MR. PETROCELLI:

   11:09:58   9       Q.    When you receive the complaint and scanned

   11:10:03 10    it that was before you spoke to Mr. Toberoff about

   11:10:05 11    the contents of the complaint, correct?

   11:10:10 12              MR. TOBEROFF:   Assumes facts.

   11:10:15 13              THE WITNESS:    I scanned it.

   11:10:15 14    BY MR. PETROCELLI:

   11:10:16 15        Q.    And so I'm focusing on that point in time

   11:10:19 16    before any communication with Mr. Toberoff.

   11:10:23 17              MR. TOBEROFF:   I'd like you to answer his

   11:10:24 18    question.    He asked you a question and you didn't

   11:10:27 19    answer it.

   11:10:27 20              MR. PETROCELLI:   I think he answered it?

   11:10:29 21              MR. TOBEROFF:   No, he didn't.

   11:10:31 22              THE WITNESS:    What was the question.

   11:10:31 23    BY MR. PETROCELLI:

   11:10:32 24        Q.    Let me re -- rewind this, okay?

   11:10:35 25              I want you to focus on the time when you

                                                                           36




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   11:10:39   1   received the complaint and you scanned it before you

   11:10:42   2   spoke to Mr. Toberoff about it?

   11:10:44   3             MR. TOBEROFF:   Assumes facts.

   11:10:44   4   BY MR. PETROCELLI:

   11:10:46   5       Q.    Are you with me?

   11:10:47   6       A.    Uh-huh.

   11:10:48   7       Q.    Okay.   At that point in time, did you have

   11:10:53   8   a general understanding that DC was claiming that

   11:10:57   9   certain agreements you or your mother entered into

   11:10:59 10    violated it's rights?

   11:11:03 11              MR. TOBEROFF:   Okay and again, my

   11:11:03 12    instruction to you is if you had an understanding

   11:11:06 13    that's independent of your discussions with me, you

   11:11:09 14    can answer the question.     If you don't, I instruct

   11:11:12 15    you not to answer.

   11:11:13 16              THE WITNESS:    All my understanding is based

   11:11:18 17    on my discussions with Mr. Toberoff.

   11:11:18 18    BY MR. PETROCELLI:

   11:11:22 19        Q.    Well you had an understanding at some level

   11:11:24 20    when you read the complaint, right?

   11:11:28 21        A.

   11:11:28 22              MR. TOBEROFF:   Assumes facts.

   11:11:29 23              THE WITNESS:    I don't really -- I don't

   11:11:31 24    really understand the -- the complaints, to tell you

   11:11:37 25    the truth.   I don't.    So all my understanding is, is

                                                                          37




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   11:11:44   1   bound with my discussions with Marc Toberoff.

   11:11:44   2   BY MR. PETROCELLI:

   11:11:46   3       Q.     Well, when you received it and you saw it

   11:11:47   4   you picked it up and you scanned it you said.

   11:11:47   5              Is that right?

   11:11:47   6       A.     Yes.

   11:11:52   7       Q.     And you did that before having an in depth

   11:11:55   8   discussion with Mr. Toberoff about the document

   11:11:56   9   correct?

   11:12:01 10               THE WITNESS:    Your asking what my

   11:12:03 11    understanding of this is.

   11:12:04 12               MR. TOBEROFF:    Is he ask whether.

   11:12:05 13               MR. PETROCELLI:   Mark.

   11:12:06 14               MR. TOBEROFF:    I'm sorry.   Focus on the

   11:12:07 15    question.

   11:12:07 16    BY MR. PETROCELLI:

   11:12:08 17        Q.     Yeah. When you got the document, you

   11:12:12 18    scanned it and you did that before having an in

   11:12:17 19    depth conversation with Mr. Toberoff about the

   11:12:20 20    contents of the complaint, correct?

   11:12:22 21               MR. TOBEROFF:    Assumes facts.

   11:12:27 22               THE WITNESS:    I don't remember if I read

   11:12:30 23    through it first or talked to Marc Toberoff first.

   11:12:34 24    I really don't.     I don't know what the timeline is

   11:12:36 25    on that.

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   11:12:36   1   BY MR. PETROCELLI:

   11:12:37   2         Q.   Speaking of timelines, did you read the

   11:12:39   3   last document that the attachment to the complaint

   11:12:43   4   called the Toberoff timeline?

   11:12:49   5         A.   Yes, I -- I scanned that.

   11:12:50   6         Q.   Okay.   When you scanned the Toberoff

   11:12:52   7   timeline that's attached as exhibit -- Exhibit A to

   11:13:04   8   the complaint, is that the first time you had ever

   11:13:09   9   seen the Toberoff timeline?

   11:13:11 10          A.   No.

   11:13:14 11          Q.   When had you first seen it?

   11:13:20 12          A.   I had seen it sometime before.    I don't

   11:13:23 13    recall when.      There's so much documents that -- so

   11:13:26 14    much discussions that I was aware of this.

   11:13:32 15          Q.   This document?

   11:13:32 16          A.   Yes.

   11:13:33 17          Q.   Do you know when you first became aware of

   11:13:35 18    it?

   11:13:40 19          A.   I couldn't give you a date.    I know that I

   11:13:43 20    had become aware of it.

   11:13:51 21          Q.   When you -- had you received a copy of it

   11:13:54 22    prior to seeing it attached to the complaint?

   11:13:58 23          A.   I had -- I had seen it some point I know I

   11:14:04 24    had seen it.      I don't know if it was -- how it came

   11:14:08 25    to me.     I don't recall.   Because I get so much.    I

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   11:14:13   1   do recall seeing it.

   11:14:14   2       Q.     You get so much what?

   11:14:15   3       A.     Material.

   11:14:16   4       Q.     Okay.   What do you do with the material

   11:14:18   5   that you get?

   11:14:19   6       A.     If it comes by mail, I keep it.    E-mail, if

   11:14:28   7   it -- I look at it.    Keep some of it if I need to,

   11:14:32   8   if not it just gets taken away.

   11:14:36   9       Q.     You've -- you delete e-mails?

   11:14:38 10        A.     Yes.

   11:14:39 11        Q.     Related to this case?

   11:14:40 12        A.     Well, if it -- if it isn't some -- some --

   11:14:46 13    some -- some communications I would delete.       Only

   11:14:49 14    documents I would save.

   11:14:57 15        Q.     When you say only documents you would safe,

   11:15:00 16    what do you mean by that?      You mean attachments to

   11:15:02 17    e-mails?

   11:15:02 18        A.     Legal documents.    Things -- things that

   11:15:05 19    should be kept.

   11:15:08 20        Q.     Have you had this e-mail address for the

   11:15:10 21    past three years?

   11:15:11 22        A.     Yes.

   11:15:13 23        Q.     Do you have any other?

   11:15:17 24        A.     No.

   11:15:20 25        Q.     Have you been made aware of the need to

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   11:15:23   1   preserve evidence since the moment this case was

   11:15:27   2   filed?

   11:15:31   3          A.   Preserve evidence?   Can you clarify?

   11:15:34   4          Q.   Have you been made -- have you been made

   11:15:37   5   aware of -- that should you not delete e-mails or

   11:15:45   6   discard material that could be evidence in this

   11:15:49   7   case?

   11:15:49   8          A.   I don't believe I've deleted anything that

   11:15:53   9   would be evidence.

   11:15:56 10           Q.   I asked you if you've been made aware that

   11:15:58 11    you should not do so?

   11:15:59 12                MR. TOBEROFF:   Objection.   The only way he

   11:16:02 13    could be made aware of is through communications

   11:16:04 14    with his attorney so you're asking him.

   11:16:08 15                MR. PETROCELLI:   Mark that's not

   11:16:09 16    necessarily true.

   11:16:10 17                MR. TOBEROFF:   How else could he be made

   11:16:12 18    aware.

   11:16:12 19                MR. PETROCELLI:   His sister could have told

   11:16:17 20    him.    I mean I would appreciate you don't prompt him

   11:16:17 21    that way.

   11:16:17 22                MR. TOBEROFF:   Excuse me I'm not prompting.

   11:16:19 23                You could answer the question if so long --

   11:16:22 24    regard to whether you were made aware to preserve

   11:16:25 25    evidence by someone other than your attorney.

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   11:16:32   1             THE WITNESS:    So are you asking if -- if I

   11:16:36   2   was supposed to save this, if I received it, if I

   11:16:40   3   was made aware to save it?

   11:16:40   4   BY MR. PETROCELLI:

   11:16:43   5       Q.    No.

   11:16:44   6       A.    Oh.

   11:16:44   7       Q.    I'm asking something different than that.

   11:16:46   8       A.    Oh.

   11:16:46   9       Q.    I'm asking whether you have been made aware

   11:16:51 10    that you are required to preserve material that

   11:16:55 11    could be evidence relevant to this case?

   11:16:58 12              MR. TOBEROFF:   And -- and --

   11:17:00 13        Q.    BY MR. PETROCELLI:   You can answer that

   11:17:01 14    "yes" or "no"?

   11:17:01 15              MR. TOBEROFF:   And I'm instructing you that

   11:17:03 16    you can answer that question with respect to any

   11:17:06 17    party except an attorney.

   11:17:08 18              MR. PETROCELLI:   And by the way, just for

   11:17:11 19    the record, because I don't like to have big

   11:17:13 20    arguments on the record.

   11:17:14 21              MR. TOBEROFF:   I agree.

   11:17:14 22              MR. PETROCELLI:   I don't even agree with

   11:17:16 23    that instruction because I believe that's

   11:17:18 24    discoverable even if it comes from counsel.

   11:17:20 25        Q.    But -- but I can't -- there's no judge here

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   11:17:24   1   so I can't force you to answer over your attorney's

   11:17:30   2   instructions and I'm going to assume that you're

   11:17:32   3   going to abide by your attorney's instructions at

   11:17:34   4   all times.

   11:17:34   5             Is that right?

   11:17:35   6       A.    Yes, that's correct.

   11:17:35   7       Q.    Okay.

   11:17:39   8             (Instruction not to answer.)

   11:17:39   9   BY MR. PETROCELLI:

   11:17:40 10        Q.    Prior to -- on what -- from the time that

   11:17:44 11    this lawsuit became aware, other than conversations

   11:17:48 12    with Mr. Toberoff, were you aware of an obligation

   11:17:52 13    to preserve evidence related to this case?

   11:17:57 14        A.    I'm not sure.    I --

   11:18:07 15        Q.    Going back to the first agreement you

   11:18:10 16    entered into with Mr. Toberoff or one of his

   11:18:13 17    entities, which I think is sometime in

   11:18:16 18    November 2001, from that point on, were you aware of

   11:18:25 19    an obligation to preserve evidence related in any

   11:18:30 20    way to the Joe Shuster termination issue?

   11:18:34 21              MR. TOBEROFF:    Same instruction.

   11:18:37 22              You can answer outside of communications

   11:18:38 23    with your attorney.

   11:18:42 24              THE WITNESS:    I'm not -- my understanding

   11:18:48 25    is that any documents that need to be saved would be

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   11:18:53   1   saved by my attorney.      So I wouldn't -- I don't -- I

   11:19:00   2   don't know specifically if it was something I'm

   11:19:06   3   supposed to save.     I'm not -- I'm not sure I

   11:19:08   4   understand the question.

   11:19:08   5   BY MR. PETROCELLI:

   11:19:15   6       Q.     From whom -- where in your home are the --

   11:19:23   7   are the papers related to this case or any legal

   11:19:28   8   matter having to do with Joe Shuster?

   11:19:31   9       A.     I've a filing cabinet.

   11:19:37 10        Q.     How many drawers?

   11:19:38 11        A.     Three.

   11:19:41 12        Q.     When did you start to collect that material

   11:19:47 13    that is contained in these drawers of this filing

   11:19:51 14    cabinet?

   11:19:54 15        A.     It would have been with the original legal

   11:19:57 16    agreement.

   11:19:59 17        Q.     Back in 2001?

   11:20:00 18        A.     Yes.

   11:20:01 19        Q.     Where is the cabinet located?

   11:20:03 20        A.     In a study.

   11:20:06 21        Q.     In your home?

   11:20:07 22        A.     Yes.

   11:20:08 23        Q.     And that has all the physical copies of

   11:20:12 24    documents?

   11:20:13 25        A.     Yes.

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   11:20:15   1       Q.    And besides -- it fills up three drawers?

   11:20:19   2       A.    No.    It shares it with a host of other

   11:20:22   3   papers.

   11:20:22   4       Q.    Okay.   And besides that filing cabinet,

   11:20:27   5   where else, if anyplace do you keep any copies of

   11:20:31   6   documents relating to this -- this matter?

   11:20:37   7       A.    Perhaps a lock box.

   11:20:43   8       Q.    What's --

   11:20:44   9       A.    A lock box.

   11:20:45 10        Q.    What do you mean by "a lock box?

   11:20:46 11        A.    Just a fire proof lock box.

   11:20:48 12        Q.    In your house?

   11:20:49 13        A.    Yes.

   11:20:50 14        Q.    And how big, is it?

   11:20:51 15        A.    Very small.   Hand held.

   11:20:53 16        Q.    What do you have in there?

   11:20:56 17        A.    Oh, original documents of all kinds.

   11:21:01 18    Titles, house, car titles, everything like that.

   11:21:06 19        Q.    As pertains to Joe Shuster what do you

   11:21:14 20    have?

   11:21:14 21        A.    Oh,.    The -- the original -- original

   11:21:19 22    signed agreements, legal agreements and retainers

   11:21:23 23    that I have with my attorney.

   11:21:30 24        Q.    Anything else?

   11:21:30 25        A.    There might be the original will might be

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   11:21:40   1   in there.    I would have -- I'm not sure.

   11:21:44   2       Q.    Anything else?

   11:21:44   3       A.    Not pertaining to the case, no.

   11:21:48   4       Q.    How many agreements are there in your lock

   11:21:51   5   box between you and Mr. Toberoff or any of his

   11:21:56   6   companies?

   11:21:57   7       A.    There is -- there's only one.

   11:22:02   8       Q.    Which one is that?

   11:22:03   9       A.    That's the legal retainer.

   11:22:07 10        Q.    What's the date of it?

   11:22:08 11        A.    It is -- it is active as of 2001.

   11:22:19 12        Q.    But created after the fact?

   11:22:20 13        A.    Yes.

   11:22:23 14        Q.    When was it created?

   11:22:24 15        A.    2004, I believe.

   11:22:32 16        Q.    And is that the last document you have

   11:22:39 17    signed with Mr. Toberoff or any of his entities?

   11:22:44 18        A.    With Mr. Toberoff.

   11:22:45 19              MR. TOBEROFF:    You mean last agreement or

   11:22:47 20    any document?

   11:22:47 21    BY MR. PETROCELLI:

   11:22:49 22        Q.    Is that the last agreement, contract, that

   11:22:54 23    you have signed with Mr. Toberoff or any of his

   11:22:56 24    entities, the one in 2004 that you said goes back to

   11:23:03 25    2001?

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   11:23:05   1       A.    Yes.

   11:23:07   2       Q.    Have you signed any other agreements at any

   11:23:13   3   time since 2004 relating to legal representation,

   11:23:20   4   relating to this case in any way?

   11:23:22   5       A.    Yes.

   11:23:24   6       Q.    What have you signed?

   11:23:25   7       A.    It's a.

   11:23:28   8             MR. TOBEROFF:   Don't go into -- just --

   11:23:36   9   just give a very -- the title or -- don't go into

   11:23:40 10    details of the document.

   11:23:40 11              THE WITNESS:    It's called a consent

   11:23:42 12    agreement.

   11:23:42 13    BY MR. PETROCELLI:

   11:23:45 14        Q.    Is that in your lock box?

   11:23:46 15        A.    Yes.

   11:23:50 16        Q.    Why didn't you mention it earlier when I

   11:23:52 17    asked you about the agreements in your lock box?

   11:23:55 18              MR. TOBEROFF:   Argumentative.

   11:24:01 19              THE WITNESS:    I -- I mentioned what I had

   11:24:07 20    recalled.

   11:24:07 21    BY MR. PETROCELLI:

   11:24:10 22        Q.    So you're now recalling as additional

   11:24:12 23    documents that you signed?

   11:24:12 24        A.    I -- I recall -- I stated what the

   11:24:18 25    documents I recalled.

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   11:24:20   1       Q.    You now recall that you signed something

   11:24:22   2   called a consent agreement and that's also in your

   11:24:24   3   lock box?

   11:24:25   4       A.    Yes.

   11:24:26   5       Q.    Okay.   When was that signed?

   11:24:30   6       A.    That was 2008, I believe.

   11:24:38   7       Q.    When is the last time you saw it, or a copy

   11:24:42   8   of it?

   11:24:46   9       A.    Fairly recently I reviewed it last, I don't

   11:24:51 10    know, maybe in the last month or so I might have

   11:24:53 11    reviewed it.

   11:24:54 12        Q.    Why?

   11:24:54 13        A.    Because I was thinking about this case

   11:25:00 14    because of this.

   11:25:02 15        Q.    This deposition?

   11:25:03 16        A.    Yes.

   11:25:06 17        Q.    Besides the 2008 consent agreement, what

   11:25:09 18    else did you review in connection with this

   11:25:13 19    deposition?

   11:25:13 20        A.    I reviewed my prior deposition for the

   11:25:19 21    Siegel case and exhibits.     That's -- that's what

   11:25:30 22    I've reviewed.

   11:25:32 23        Q.    Did you have a copy of your prior

   11:25:34 24    deposition?

   11:25:36 25        A.    Yes.

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   11:25:37   1       Q.    And the exhibits?

   11:25:38   2       A.    Yes.

   11:25:42   3       Q.    Besides the 2008 consent agreement and your

   11:25:45   4   deposition in the Siegel case together with the

   11:25:48   5   exhibits of that deposition, what else did you

   11:25:51   6   review in connection with this deposition?

   11:25:55   7       A.    That's -- that's pretty much it.

   11:26:02   8       Q.    Where did you get the consent agreement to

   11:26:04   9   review, from the lock box?

   11:26:10 10        A.    I -- I -- I -- yes or -- or it could have

   11:26:15 11    been a copy.

   11:26:16 12        Q.    Where -- where was the copy?

   11:26:18 13        A.    The copy is -- it could be in a separate

   11:26:22 14    folder.

   11:26:24 15        Q.    What -- what's the name of the folder?

   11:26:26 16        A.    The folder is legal.

   11:26:29 17        Q.    Where is the folder maintained?

   11:26:30 18        A.    The folder, there could be a copy in there

   11:26:35 19    in the -- in the filing cabinet.

   11:26:40 20        Q.    Is the 2008 consent agreement the last

   11:26:44 21    agreement of any kind that you have signed in

   11:26:49 22    connection with either this case or anything having

   11:26:52 23    to do with the Joe Shuster termination issue?

   11:26:55 24        A.    Yes.

   11:26:57 25        Q.    Okay.   Who else signed the 2008 consent

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   11:27:07   1   agreement?

   11:27:07   2       A.    Would have been the -- Laura, Joanne

   11:27:17   3   Siegel.

   11:27:17   4       Q.    Laura Siegel and Joanne Siegel?

   11:27:20   5       A.    Yes.

   11:27:20   6       Q.    Anyone else?

   11:27:21   7       A.    I think there was -- and -- and my attorney

   11:27:28   8   signed it.

   11:27:28   9       Q.    You mean Mr. Toberoff?

   11:27:29 10        A.    Yes.

   11:27:30 11        Q.    And did your mother Jean Peavy sign it?

   11:27:33 12        A.    I don't recall if she did.     I just -- I

   11:27:44 13    didn't read it.    I just scanned the -- the pages.     I

   11:27:48 14    didn't -- I don't recall the signature page.      She

   11:27:51 15    might have.

   11:27:53 16        Q.    Do you know where you were when you signed

   11:27:55 17    the document in -- in 2008?

   11:27:57 18        A.    Yeah.   When I signed it, I was at home.

   11:28:05 19        Q.    And what did you do after you signed it?

   11:28:08 20    What did you do with it?

   11:28:09 21        A.    Well, an original was FedExed to

   11:28:14 22    Mr. Toberoff and I kept another original.

   11:28:18 23        Q.    You signed two copies?

   11:28:20 24        A.    Yes.

   11:28:21 25        Q.    And you put the other original in your lock

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   11:28:25   1   box?

   11:28:25   2          A.   Yes.

   11:28:26   3          Q.   Did you ever get back from Mr. Toberoff a

   11:28:29   4   version that had more signatures on it?

   11:28:30   5          A.   Well, yes, the version in the lock box

   11:28:35   6   would have all the original signatures.

   11:28:48   7          Q.   Why did you review -- why did you pick the

   11:28:51   8   2008 concent agreement to review?

   11:28:53   9          A.   Well, before I came I -- I brought out my

   11:28:59 10    folder and it says legal Shuster case and I flipped

   11:29:07 11    through documents, just looked at them and said what

   11:29:09 12    do I want to bring, what don't I want to bring

   11:29:12 13    and -- and that's all.     It was just a cursory review

   11:29:15 14    of what I had in there and I left most of it at home

   11:29:19 15    so it was just a cursory review of what I had.

   11:29:23 16           Q.   What did you bring with you?

   11:29:25 17           A.   I brought a copy of the legal retainer as

   11:29:28 18    of 2001 and I brought a -- a copy of the first page

   11:29:41 19    of the consent agreement with a cover letter that

   11:29:47 20    was a communication between Mr. Toberoff and another

   11:29:49 21    attorney so it was just like the first page of it,

   11:29:54 22    just to jog my memory.     And --

   11:29:56 23           Q.   Who was the other attorney?

   11:29:57 24           A.   It was -- can I say that?   Just -- it was a

   11:30:04 25    communication.      I don't know if that's privileged.

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   11:30:07   1             MR. TOBEROFF:   Well --

   11:30:07   2             THE WITNESS:    Just.

   11:30:08   3             MR. TOBEROFF:   I -- I think you can -- I

   11:30:12   4   think you can give the name of the attorney.

   11:30:15   5             THE WITNESS:    It was Bergman.

   11:30:15   6   BY MR. PETROCELLI:

   11:30:17   7       Q.    Michael Bergman?

   11:30:19   8       A.    Yes.

   11:30:19   9             MR. TOBEROFF:   That's not privileged.

   11:30:20 10              THE WITNESS:    No, okay.    Okay.   Yeah.

   11:30:20 11    BY MR. PETROCELLI:

   11:30:24 12        Q.    When did you arrive in Los Angeles for this

   11:30:26 13    deposition?

   11:30:27 14        A.    Oh, it was -- it was a Monday afternoon,

   11:30:33 15    Monday.

   11:30:34 16        Q.    Of this week?

   11:30:35 17        A.    Yes, of this week.

   11:30:37 18        Q.    And have you had meetings with Mr. Toberoff

   11:30:42 19    to get ready for this deposition?

   11:30:43 20        A.    Yes.   We talked.

   11:30:48 21        Q.    Who attended the meetings?

   11:30:49 22        A.    Just Mr. Toberoff.

   11:30:52 23        Q.    How long did you meet in total since you

   11:30:56 24    arrived Monday afternoon?

   11:30:57 25        A.    Yeah, a couple hours.

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   11:31:03   1       Q.    When?    Monday?

   11:31:05   2       A.    No, primarily yesterday.

   11:31:10   3       Q.    At Mr. Toberoff's office?

   11:31:11   4       A.    No, in my hotel.

   11:31:13   5       Q.    Where is your hotel?

   11:31:14   6       A.    Hyatt.

   11:31:17   7       Q.    Right here in Century City?

   11:31:19   8       A.    Yes.

   11:31:20   9       Q.    The Hyatt century plaza?

   11:31:24 10        A.    Yes.

   11:31:24 11        Q.    And were you shown any documents yesterday

   11:31:32 12    when you met with Mr. Toberoff?

   11:31:35 13        A.    We reviewed the prior deposition and

   11:31:41 14    exhibits and the -- reviewed our agreements.

   11:31:46 15        Q.    What agreements?

   11:31:47 16        A.    The legal retainer and the -- the complaint

   11:31:55 17    from DC and the supporting legal documents, quite --

   11:32:01 18    quite a few but just -- just that stuff.

   11:32:07 19        Q.    Did you also show Mr. Toberoff the consent

   11:32:11 20    agreement pages that you had taken with you?

   11:32:14 21        A.    Yes, just the -- the copy that I brought to

   11:32:17 22    jog my memory.

   11:32:19 23        Q.    Okay.

   11:32:33 24              MR. TOBEROFF:      Is this a good time for a

   11:32:34 25    short break, Dan to use the restroom.

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   11:32:36   1             MR. PETROCELLI:   Okay.

   11:32:38   2             THE VIDEOGRAPHER:    Off the record.   The

   11:32:40   3   time is 11:31.

   11:32:45   4             (Brief recess.)

   11:42:27   5             THE VIDEOGRAPHER:    Back on the record at

   11:42:38   6   11:41.

   11:42:38   7   BY MR. PETROCELLI:

   11:42:41   8       Q.    Mr. Peary, did you travel here alone?

   11:42:44   9       A.    Yes.

   11:42:50 10        Q.    Besides the -- some of the pages from the

   11:42:53 11    2008 concent agreement and I think you said the your

   11:43:02 12    legal retention agreement as well?

   11:43:02 13        A.    Yes.

   11:43:04 14        Q.    Did you bring any other documents with you

   11:43:07 15    when you took your trip here?

   11:43:08 16        A.    No.

   11:43:10 17        Q.    Just those two documents?

   11:43:11 18        A.    Yes.

   11:43:14 19        Q.    Did you take the complaint?

   11:43:15 20        A.    No.

   11:43:22 21        Q.    Other than the 2008 consent agreement, have

   11:43:28 22    you signed any other papers that any member of the

   11:43:34 23    Siegel family also has signed?

   11:43:37 24        A.    No.

   11:43:39 25        Q.    Is that the only one?

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   11:43:39   1       A.    Yes.

   11:43:48   2       Q.    Have you spoken to any member of the Siegel

   11:43:51   3   family since this lawsuit was filed back in May of

   11:43:56   4   2010?

   11:44:07   5       A.    2010.    Yes.

   11:44:11   6       Q.    With whom?

   11:44:14   7       A.    With -- with Joanne before she died.     And

   11:44:18   8   once with Laura.

   11:44:23   9       Q.    Did you attend funeral services for Joanne?

   11:44:26 10        A.    No.

   11:44:29 11        Q.    Any member of your family attend?

   11:44:31 12        A.    No.

   11:44:34 13        Q.    Did you speak to Laura before or after

   11:44:36 14    JoAnne's passing?

   11:44:40 15        A.    After.

   11:44:43 16        Q.    Addressing first your -- was it a phone

   11:44:46 17    call with Joanne before she passed?

   11:44:48 18        A.    Yes.

   11:44:49 19        Q.    What was the -- what did you talk about?

   11:44:52 20        A.    The phone call after she passed.

   11:44:54 21        Q.    The one with Joanne before she died?

   11:44:56 22        A.    Oh, Joanne.

   11:44:57 23        Q.    That was a phone call?

   11:44:58 24        A.    Yes.

   11:45:03 25        Q.    What did the two of you talk about?

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   11:45:04   1       A.    It was more or less friendly chitchat.      We

   11:45:11   2   did not discuss any legal issues.

   11:45:13   3       Q.    You called her?

   11:45:14   4       A.    She called me.    And she speaks with Jean as

   11:45:18   5   well, of course.

   11:45:19   6       Q.    Did she speak with Jean?

   11:45:20   7       A.    Yes.

   11:45:26   8       Q.    So the purpose of the call as far as you

   11:45:28   9   know, was pure pleasantries?

   11:45:30 10        A.    Yes.

   11:45:33 11        Q.    Nothing at all discussed about legal

   11:45:35 12    issues?

   11:45:35 13        A.    No.    I didn't discuss any legal issues.

   11:45:39 14        Q.    Did your mother?

   11:45:40 15        A.    I'm not aware she did.

   11:45:43 16        Q.    Was it just the two of you on the phone?

   11:45:46 17        A.    Yes.

   11:45:46 18        Q.    Joanne and you?

   11:45:47 19        A.    Yes.

   11:45:48 20        Q.    Did you then pass the phone to your mom?

   11:45:49 21        A.    Yes.

   11:45:54 22        Q.    And that's the only time you've spoken to

   11:45:57 23    Joanne prior to her death for a long period of time?

   11:46:01 24        A.    I may have spoken with her just a couple

   11:46:07 25    times in the recent past.

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   11:46:10   1       Q.    About what?

   11:46:11   2       A.    It's -- she usually calls when she was

   11:46:14   3   alive she usually calls to speak with Jean and I

   11:46:19   4   kind of talk to her like a grandson would talk to a

   11:46:22   5   grandmother kind of -- her faculties weren't, I

   11:46:28   6   don't think, the way old people are, you have to be

   11:46:33   7   kind of slow and friendly, so it's friendly, kind of

   11:46:36   8   grandson top grandmother type talk basically.      How

   11:46:41   9   are you, what are you doing, you know, and what --

   11:46:44 10    what's going on, what are your -- pleasantries.       No

   11:46:50 11    legal.

   11:46:51 12        Q.    Were you very close to her?

   11:46:53 13        A.    I was -- I knew her.    I wouldn't say close,

   11:46:59 14    but I did know her.

   11:47:01 15        Q.    When was the last time you saw her before

   11:47:04 16    she passed?

   11:47:04 17        A.    That would have been in 2008.

   11:47:16 18        Q.    What was the occasion?

   11:47:17 19        A.    Oh,.   It was -- there was a summer of

   11:47:22 20    Superman event in Cleveland.

   11:47:28 21        Q.    Did you attend a mediation in April 2010

   11:47:36 22    where she was also present?

   11:47:37 23        A.    Yes.

   11:47:41 24        Q.    So you saw her then too?

   11:47:42 25        A.    Yes.

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   11:47:44   1         Q.   Did you spend any time with her before or

   11:47:48   2   after the mediation session?

   11:47:53   3         A.   No.

   11:47:54   4         Q.   Was that mediation session in April 2010

   11:47:56   5   the last time you saw her?

   11:48:00   6         A.   In person, yes.

   11:48:02   7         Q.   You said you spoke with her daughter Laura?

   11:48:05   8         A.   Yes.

   11:48:07   9         Q.   When was that?

   11:48:09 10          A.   After see died.

   11:48:11 11          Q.   What was the purpose of that?    Phone call?

   11:48:14 12          A.   Yes.

   11:48:16 13          Q.   To give your condolences?

   11:48:17 14          A.   Yes.

   11:48:18 15          Q.   And have you spoken to Laura since then?

   11:48:25 16          A.   No.

   11:48:28 17          Q.   You identified the document that the

   11:48:30 18    Siegels and you signed as a consent agreement.

   11:48:34 19               Is the word   -- is that the title of the

   11:48:37 20    document?

   11:48:43 21          A.   I believe the title, if I'm allowed to say

   11:48:45 22    that.

   11:48:46 23               MR. TOBEROFF:    Objection.   Actually you

   11:48:51 24    can -- you can testify as to the title but that's

   11:48:54 25    it.   Not to any contents of the document.

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   11:48:57   1             THE WITNESS:    I recall the title says

   11:48:59   2   Superman agreement.

   11:48:59   3   BY MR. PETROCELLI:

   11:49:03   4       Q.    Why did you use the word "consent

   11:49:06   5   agreement"?

   11:49:08   6       A.    It's.

   11:49:11   7             MR. TOBEROFF:   You can only answer that if

   11:49:11   8   that answer is not based on communication with your

   11:49:14   9   attorney.

   11:49:15 10              THE WITNESS:    It's -- it's -- it's all

   11:49:17 11    based on my communication with my attorney.

   11:49:17 12    BY MR. PETROCELLI:

   11:49:23 13        Q.    What's --

   11:49:23 14        A.    The term.

   11:49:25 15        Q.    The use of the term?

   11:49:26 16        A.    The use of the term, yes.

   11:49:30 17              (Instruction not to answer.)

   11:49:30 18    BY MR. PETROCELLI:

   11:49:42 19        Q.    When you signed the 2008 consent agreement,

   11:49:50 20    did you -- what did you understand the purpose of

   11:49:51 21    this agreement to be?     Why were you signing it?

   11:49:57 22              MR. TOBEROFF:   You can only answer that --

   11:49:58 23    actually, I instruct you not to answer because the

   11:50:01 24    sole -- your sole understanding is through

   11:50:03 25    communications with me.

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   11:50:04   1             (Instruction not to answer.)

   11:50:04   2   BY MR. PETROCELLI:

   11:50:05   3       Q.    You read the document before you signed it,

   11:50:05   4   didn't you?

   11:50:09   5       A.    Yes, but I'll have to follow my attorney's

   11:50:11   6   advice.

   11:50:12   7       Q.    Well, based on your reading of the

   11:50:14   8   document, what did you understand the purpose of

   11:50:16   9   your signing it to be?

   11:50:18 10              MR. TOBEROFF:   I instruct you not to answer

   11:50:19 11    if you -- put it this way.       You can only answer the

   11:50:23 12    question if you have an understanding independent of

   11:50:24 13    your conversations with me.

   11:50:28 14              THE WITNESS:    Well, all my understanding is

   11:50:30 15    based on my communication with my attorneys so I

   11:50:32 16    can't say anything.

   11:50:33 17              (Instruction not to answer.)

   11:50:33 18    BY MR. PETROCELLI:

   11:50:34 19        Q.    Are you saying that when -- when you read

   11:50:36 20    the document, you derived absolutely no

   11:50:39 21    understanding from reading the words?

   11:50:41 22        A.    My understanding is intricately bound with

   11:50:43 23    my communications with Marc Toberoff.

   11:50:46 24        Q.    Can you answer my question?

   11:50:47 25        A.    I don't believe I can.

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   11:50:49   1             MR. TOBEROFF:   He did.

   11:50:49   2   BY MR. PETROCELLI:

   11:50:52   3       Q.    It wasn't responsive to my question.    My

   11:50:54   4   question was when you read the document are you

   11:50:57   5   saying that you drew no understanding at all from

   11:51:00   6   reading the words on the page of the document?

   11:51:07   7             MR. TOBEROFF:   It's -- it's all based upon

   11:51:10   8   my understanding is intricately bound to my

   11:51:14   9   communications with my attorney.

   11:51:14 10    BY MR. PETROCELLI:

   11:51:19 11        Q.    Are you saying that had you not spoken to

   11:51:20 12    your attorney you would have had no idea what --

   11:51:26 13    what you were signing?

   11:51:28 14        A.    What if I had no idea?

   11:51:30 15        Q.    Right.   You signed a -- a document together

   11:51:34 16    with other individuals.    Are you saying that you did

   11:51:38 17    not understand what you were signing except for what

   11:51:41 18    Marc Toberoff had to tell you?

   11:51:42 19              MR. TOBEROFF:   Asked and answered.

   11:51:43 20    Misstates his testimony.

   11:51:47 21              THE WITNESS:    My understanding is -- is

   11:51:52 22    bound up what whatever I have is bound up.

   11:51:52 23    BY MR. PETROCELLI:

   11:51:56 24        Q.    I appreciate you keep repeating that phrase

   11:52:00 25    your understanding is bound up or intricately bound

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   11:52:03   1   up.   I'm asking you something different than that.

   11:52:05   2   I'm not required to simply accept that phrase?

   11:52:07   3         A.   Uh-huh.

   11:52:08   4         Q.   Did you understand that you were entering

   11:52:12   5   into a contract, an agreement, with the Siegels when

   11:52:17   6   you signed the document?

   11:52:23   7         A.   Yes.

   11:52:24   8         Q.   Did you understand that the agreement that

   11:52:25   9   you were entering into required that you could not

   11:52:32 10    settle any claim with DC Comics without the consent

   11:52:38 11    of the Siegels?

   11:52:39 12               MR. TOBEROFF:   I instruct you not to

   11:52:41 13    answer.    The document has been hailed to be

   11:52:44 14    privileged and off limits and they can't ask you

   11:52:47 15    questions about the contents of the document.

   11:52:48 16    Instructs you not to answer.

   11:52:50 17               (Instruction not to answer.)

   11:52:50 18               MR. PETROCELLI:   I don't agree with that as

   11:52:53 19    you well know.

   11:52:54 20          Q.   Is there any arrangement whereby you would

   11:52:57 21    have the authority to approve any kind of settlement

   11:52:59 22    that Joanne Siegel might enter into with DC comics?

   11:53:03 23               MR. TOBEROFF:   Instruct you not to answer.

   11:53:07 24               (Instruction not to answer.)

   11:53:07 25               MR. PETROCELLI:   Mark you allowed that

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   11:53:09   1   verbatim question to be answered at the first -- at

   11:53:12   2   the Siegel session of his deposition.

   11:53:13   3             MR. TOBEROFF:   I'm instructing him not to

   11:53:15   4   answer and as you suggested we shouldn't debate

   11:53:17   5   these things in the deposition.

   11:53:21   6             MR. PETROCELLI:   So is it possible to

   11:53:23   7   answer.

   11:53:23   8             MR. TOBEROFF:   I'm going to instruct him --

   11:53:25   9   just to shorten this, I will instruct him not to

   11:53:28 10    answer any questions regarding the substance of the

   11:53:30 11    consent agreement.

   11:53:30 12    BY MR. PETROCELLI:

   11:53:33 13        Q.    So is it possible for Joanne Siegel and

   11:53:36 14    Laura Siegel Larson to settle their case with DC

   11:53:40 15    Comics and you would have no say so in that.

   11:53:41 16              Is that accurate?

   11:53:42 17              MR. TOBEROFF:   I instruct you not to answer

   11:53:48 18    on the basis of attorney-client privilege.

   11:53:48 19    BY MR. PETROCELLI:

   11:53:50 20        Q.    And if they were to settle and receive

   11:53:52 21    money from DC Comics, is there any arrangement by

   11:53:55 22    which you would receive any of that money?

   11:53:57 23              MR. TOBEROFF:   Same instruction.

   11:53:57 24              (Instruction not to answer.)

   11:53:57 25    BY MR. PETROCELLI:

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   11:54:06   1       Q.    Are you able right now on behalf of the Joe

   11:54:09   2   Shuster estate to enter into an agreement with DC

   11:54:13   3   regarding the Shuster termination interests without

   11:54:17   4   the consent of any -- anyone else?

   11:54:22   5             MR. TOBEROFF:   Same instruction.

   11:54:24   6   Attorney-client privilege.

   11:54:25   7             (Instruction not to answer.)

   11:54:26   8             THE WITNESS:    I'll have to follow my

   11:54:27   9   attorney's advice.

   11:54:27 10    BY MR. PETROCELLI:

   11:54:32 11        Q.    Do you have a current agreement to share

   11:54:36 12    with any member of the Siegel family in any

   11:54:39 13    settlement or other recoveries having to do with the

   11:54:43 14    Superman termination interests?

   11:54:47 15              MR. TOBEROFF:   I instruct you not to answer

   11:54:48 16    based on privilege.

   11:54:49 17              (Instruction not to answer.)

   11:54:57 18              MR. PETROCELLI:   When you say "based on

   11:54:59 19    privilege, to be clear, what privilege, Mr. -- are

   11:55:02 20    you talking about the attorney-client privilege.

   11:55:04 21              MR. TOBEROFF:   Attorney-client privilege,

   11:55:05 22    work product, the privilege that was upheld by

   11:55:10 23    magistrate shuriskey SP, Judge Larson in your motion

   11:55:14 24    that was denied as to obtaining the consent

   11:55:16 25    agreement.   If you can't obtain the consent

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   11:55:19   1   agreement because you're not entitled to view the

   11:55:21   2   substance of the consent agreement you're not

   11:55:24   3   entitled to get at that substance through

   11:55:27   4   questioning my client.

   11:55:28   5             MR. PETROCELLI:   We -- we disagree.

   11:55:33   6             MR. TOBEROFF:   That's fine.

   11:55:33   7   BY MR. PETROCELLI:

   11:55:34   8       Q.    Is the consent agreement that you signed in

   11:55:36   9   2008 still in effect?

   11:55:39 10        A.    Yes.

   11:55:48 11        Q.    Have you had any discussions with any

   11:55:50 12    member of the Siegel family about it at any time

   11:55:55 13    both before or after signing it?

   11:55:59 14        A.    Not directly.

   11:56:00 15        Q.    What does that mean?

   11:56:01 16        A.    All my discussions is through my attorney.

   11:56:04 17        Q.    How do you have a discussion with the

   11:56:08 18    Siegels through the attorney?

   11:56:09 19        A.    Then the answer is no.

   11:56:11 20        Q.    What did you mean when you said not

   11:56:13 21    directly, through your attorney?

   11:56:14 22        A.    All my communication about the agreement

   11:56:17 23    is -- is through my discussions with my attorney and

   11:56:22 24    what he has told me the Siegels have communicated.

   11:56:27 25    That's what I mean.

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   11:56:28   1          Q.   Have you ever had a -- a discussion with

   11:56:43   2   your mom about the consent agreement?

   11:56:56   3          A.   She -- she -- I may have -- she has a --

   11:57:04   4   little interest in this.    Her faculties as I said,

   11:57:08   5   are -- are poor and I don't recall if I've mentioned

   11:57:14   6   it to her or not because it's a detail.

   11:57:19   7          Q.   Back in 2008 she was of sound mind,

   11:57:19   8   correct?

   11:57:25   9          A.   That's when she had her stroke.

   11:57:27 10           Q.   Before or after the consent agreement?

   11:57:29 11           A.   I don't -- I don't recall.   I don't -- I

   11:57:38 12    don't know if I've ever discussed it with her or

   11:57:41 13    not.   I mean she's not -- she's not that interested

   11:57:46 14    in legal matters.    I know that she -- she -- she

   11:57:53 15    knows about it.    I don't know if she understands it.

   11:58:00 16           Q.   How do you know she knows about it?

   11:58:01 17           A.   I -- I -- she would have been aware of it.

   11:58:05 18           Q.   How do you know that?

   11:58:05 19           A.   Well, I -- as far as I know, she -- as far

   11:58:10 20    as -- as far as I can remember, I probably have said

   11:58:14 21    something.    That's all I can say.    I mean that's --

   11:58:17 22           Q.   What did you say to her?

   11:58:20 23           A.   I -- if I had said anything, it would just

   11:58:23 24    have been that there's -- I don't remember what I

   11:58:29 25    said to her frankly.    I mean I don't know what to

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   11:58:31   1   say because I don't -- I don't remember my words.

   11:58:33   2   She doesn't really.

   11:58:34   3             MR. TOBEROFF:   Don't speculate.

   11:58:35   4             THE WITNESS:    Right.    I -- I -- it would be

   11:58:37   5   speculating.     I don't remember.

   11:58:43   6             MR. PETROCELLI:   Don't interrupt the

   11:58:44   7   witness, please.

   11:58:49   8       Q.    Have you -- do you think the consent

   11:58:55   9   agreement was an important document at the time that

   11:58:58 10    you signed it?

   11:58:59 11        A.    Yes.

   11:59:01 12        Q.    Did you think your mother had a right to

   11:59:02 13    know what it meant?

   11:59:08 14        A.    Did she have a right to know?

   11:59:11 15        Q.    Yeah.   Do you think she was entitled to

   11:59:12 16    know what -- what document you were signing that was

   11:59:16 17    important?

   11:59:19 18        A.    She -- she's not directly involved in this

   11:59:23 19    case so I don't know how to answer that.        She -- she

   11:59:29 20    doesn't -- there's not a legal right.

   11:59:36 21        Q.    I didn't mean a legal right.

   11:59:36 22        A.    Yeah.

   11:59:38 23        Q.    I mean do you think she would want to know

   11:59:39 24    that kind of information?

   11:59:40 25        A.    Would she want to know, yeah.       Well

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   11:59:47   1   that's --

   11:59:47   2             MR. TOBEROFF:   Calls for speculation.

   11:59:48   3   BY MR. PETROCELLI:

   11:59:48   4       Q.    Did you explain to her what it meant?

   11:59:51   5             MR. TOBEROFF:   Asked and answered.

   11:59:52   6             THE WITNESS:    Just -- just what I said

   11:59:54   7   before.   I can't remember exactly what I said.

   11:59:54   8   BY MR. PETROCELLI:

   11:59:58   9       Q.    What's your best recollection of what you

   11:59:59 10    told her?

   12:00:00 11        A.    That -- that that is some agreement that we

   12:00:10 12    are making with the Siegels.    That would have been

   12:00:12 13    about the extent of it.

   12:00:14 14        Q.    Well, you explained to her that the

   12:00:17 15    agreement had to do with Superman, right?

   12:00:17 16        A.    Yes.

   12:00:20 17        Q.    And you explained to her that it had to do

   12:00:22 18    with settling your case, right?

   12:00:29 19        A.    I suppose.   That's about it.   I wouldn't

   12:00:33 20    have said any more.

   12:00:46 21        Q.    Who -- whose the beneficiary of any money

   12:00:51 22    that comes in as a result of the Superman

   12:00:53 23    termination interest that Joe Shuster has asserted?

   12:01:00 24    Who gets the money?

   12:01:01 25        A.    We plan on any proceeds would go into a

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   12:01:06   1   trust.

   12:01:08   2       Q.     Well, your mother is the beneficiary,

   12:01:08   3   correct?

   12:01:13   4       A.     According to the will.   She -- she's

   12:01:20   5   expressed that she wants me and my sister to -- to

   12:01:25   6   have -- to have anything through a trust.

   12:01:29   7       Q.     Under Joe Schuster's will, she's the sole

   12:01:32   8   beneficiary, correct?

   12:01:33   9       A.     Yes.

   12:01:35 10        Q.     Okay.   And are you saying that your mother

   12:01:39 11    has in turn created a testamentary documents that

   12:01:46 12    pass the interest to you and your sister?

   12:01:47 13        A.     She -- she has expressed that she wants any

   12:01:52 14    proceeds to go into a trust for me and my sister.

   12:01:56 15        Q.     Does such a trust exist?

   12:01:58 16        A.     Not yet.

   12:02:00 17        Q.     Does your mother have a will?

   12:02:02 18        A.     Yes.

   12:02:03 19        Q.     Have you ever seen it?

   12:02:04 20        A.     Yes.

   12:02:07 21        Q.     Does it name you as the executor?

   12:02:10 22        A.     I believe.

   12:02:16 23        Q.     Does it distribute her estate equally

   12:02:20 24    between you and your sister Dawn?

   12:02:25 25        A.     I believe.

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   12:02:27   1       Q.    Does it distribute the estate directly to

   12:02:32   2   Dawn and you or to trusts of which Dawn and you are

   12:02:36   3   beneficiaries?

   12:02:37   4       A.    It doesn't -- it doesn't state trust in the

   12:02:43   5   will but that's -- that's her intention.

   12:02:46   6       Q.    How do you know that's her intention?

   12:02:50   7       A.    We've talked about it.

   12:02:52   8       Q.    When did she tell you that she want to

   12:02:55   9   create trusts for you to receive her testamentary

   12:02:58 10    disposition?

   12:02:59 11        A.    Well, let me see, she wants -- she wants us

   12:03:06 12    to -- to be provided for and secure and she's 90

   12:03:13 13    years old and she's had a stroke so she knows she's

   12:03:16 14    not going to be around forever and she doesn't

   12:03:18 15    really have any need for -- for money.     So we've

   12:03:25 16    discussed it for -- well, we've probably -- we've

   12:03:30 17    properly discussed it for a few years.

   12:03:33 18        Q.    In the last few years?

   12:03:34 19        A.    Yes.

   12:03:35 20        Q.    And when you've discussed it, given the

   12:03:37 21    comments you've made about your mom's mental state,

   12:03:41 22    do you believe that she understood what she was

   12:03:43 23    talking about?

   12:03:44 24              MR. TOBEROFF:   Assumes facts.

   12:03:48 25              THE WITNESS:    Yes she understands.

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   12:03:48   1   BY MR. PETROCELLI:

   12:03:49   2          Q.   In talking about things like trusts and

   12:03:51   3   such, she's competent to discuss those topics, in

   12:03:51   4   your view?

   12:03:55   5          A.   She understands the --

   12:03:56   6               MR. TOBEROFF:   Excuse me.   You have to

   12:03:57   7   leave time for me to object after asks the question.

   12:04:01   8   You got to pause after he asks the question so I

   12:04:03   9   have time to object.

   12:04:06 10                The question assumes facts.

   12:04:06 11    BY MR. PETROCELLI:

   12:04:10 12           Q.   You can answer.

   12:04:11 13           A.   Okay.

   12:04:13 14           Q.   Want me to repeat the question?

   12:04:14 15           A.   Yes.

   12:04:16 16           Q.   Yeah.   When you have been talking with her

   12:04:17 17    about -- in the last couple of years regarding such

   12:04:20 18    issues as trusts for your benefit and Dawn's

   12:04:24 19    benefit, do you believe that she was competent to

   12:04:27 20    talk about and understand those ideas?

   12:04:31 21                MR. TOBEROFF:   Misstates testimony.

   12:04:33 22                THE WITNESS:    I -- I believe she

   12:04:38 23    understands the idea.       I know what her intentions

   12:04:41 24    are.   She's expressed them to me.

   12:04:41 25    BY MR. PETROCELLI:

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   12:04:43   1       Q.    Verbally?

   12:04:44   2       A.    Yes.

   12:04:45   3       Q.    What has she said to you?

   12:04:46   4       A.    She wants us to be provided for.      To be

   12:04:49   5   secure.

   12:04:52   6       Q.    You already are provided for her in her

   12:04:54   7   will, right?

   12:04:57   8       A.    I'm in her -- her will.

   12:04:58   9       Q.    Right?

   12:04:59 10        A.    Yes.

   12:05:00 11        Q.    Why -- why the specific -- in other words,

   12:05:03 12    did she discuss with you that she wants you to

   12:05:05 13    receive the inheritance together with Dawn through a

   12:05:07 14    trust?

   12:05:10 15        A.    That's -- that's what we have discussed.

   12:05:12 16        Q.    Who is the "we"?

   12:05:14 17        A.    Me and my mother.

   12:05:15 18        Q.    Has Dawn been part of the discussion?

   12:05:17 19        A.    I -- I don't know specifically about

   12:05:22 20    trusts.   But she knows she's a part of this.

   12:05:25 21        Q.    Is there any particular discussion that

   12:05:28 22    you've had about trusts as to why it would be a

   12:05:31 23    trust rather than just a bequest under a will?

   12:05:34 24        A.    As to like in financial planning terms,

   12:05:38 25    that kind of thing?

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   12:05:38   1       Q.    Yes.

   12:05:40   2       A.    It's -- the idea is it's a sensible means

   12:05:46   3   of per -- preserving assets so that they're not

   12:05:51   4   wasted and squandered so it's a long-term thing.

   12:05:57   5   And not wasted away.

   12:06:00   6       Q.    Wasted by you and Dawn?

   12:06:01   7       A.    Yes.

   12:06:04   8       Q.    Is your mom expressed reservations that you

   12:06:07   9   or Dawn might waste the money absent a trust?

   12:06:11 10        A.    No.    That's -- that is a -- the purpose of

   12:06:14 11    a trust, to preserve assets.

   12:06:17 12        Q.    Do you have an estate or trust lawyer?

   12:06:19 13        A.    Yes.

   12:06:23 14        Q.    Who is it?

   12:06:27 15        A.    The -- there's an attorney that established

   12:06:29 16    the Shuster estate.

   12:06:32 17        Q.    Here in Los Angeles, the probate attorney?

   12:06:35 18        A.    I believe so.

   12:06:37 19        Q.    And have you consulted him regarding estate

   12:06:40 20    planning in recent years?

   12:06:42 21        A.    No.    Not on that issue, no.

   12:06:45 22        Q.    Not on the issue of the trust?

   12:06:46 23        A.    That's correct.

   12:06:48 24        Q.    Have you in discussions with your mother

   12:06:51 25    about the will, the trust and the financial

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   12:06:53   1   planning, have ever discussed how much money might

   12:06:58   2   be received one day for your benefit and Dawn's

   12:07:02   3   benefit?

   12:07:03   4          A.   No.   We haven't got into that.

   12:07:10   5          Q.   For example, have you said, you know, it

   12:07:12   6   would be in approximately 5 million or 10 million or

   12:07:16   7   100 million or any numbers, discuss in your

   12:07:22   8   conversations with your mother?

   12:07:23   9          A.   I don't recall getting into figures with

   12:07:29 10    her.   We just -- no, I don't.

   12:07:34 11           Q.   Have you ever had anybody try to do an

   12:07:38 12    estimate for you as to how much you might recover

   12:07:40 13    one day as a result of Joe Schuster's asserted

   12:07:44 14    termination interests?

   12:07:48 15           A.   I -- I know.

   12:07:49 16                MR. TOBEROFF:   You -- you could answer that

   12:07:51 17    question solely if it's outside of the

   12:07:57 18    attorney-client relationship.

   12:08:00 19                THE WITNESS:    All I know is that my

   12:08:04 20    attorney, Marc Toberoff, has.

   12:08:06 21                MR. TOBEROFF:   Don't -- don't discuss what

   12:08:07 22    your attorney has done.

   12:08:08 23                THE WITNESS:    Okay.   Okay.

   12:08:09 24                MR. TOBEROFF:   The --

   12:08:10 25                THE WITNESS:    I don't have any -- no, I

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   12:08:12   1   don't have any idea of economic value outside of my

   12:08:16   2   discussions, no.

   12:08:16   3   BY MR. PETROCELLI:

   12:08:17   4       Q.     Have you ever met or spoken or communicated

   12:08:20   5   with anybody who you understood to be estimating the

   12:08:26   6   value of the termination interest?

   12:08:27   7       A.     No.

   12:08:29   8       Q.     Have you ever provided any information to

   12:08:31   9   any such person?

   12:08:31 10        A.     No.

   12:08:38 11        Q.     Did you tell your mother in your

   12:08:42 12    conversations over the years and in particular about

   12:08:46 13    the consent agreement that any agreement with DC or

   12:08:54 14    settlement with DC requires the consent of the

   12:08:56 15    Siegels?

   12:09:05 16               MR. TOBEROFF:   Am I allowed to answer that?

   12:09:07 17    Is that --

   12:09:07 18    BY MR. PETROCELLI:

   12:09:09 19        Q.     You are.

   12:09:09 20               MR. TOBEROFF:   Actually, I'll let you

   12:09:27 21    answer that question without waiver of any privilege

   12:09:31 22    that could apply.

   12:09:31 23               THE WITNESS:    Okay.   So the question being

   12:09:34 24    she --

   12:09:50 25               MR. PETROCELLI:   Can you repeat the

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   12:09:51   1   question.

   12:09:51   2                   (The reporter read the record

   12:09:51   3             as follows:

   12:09:52   4                   "^ QUESTION ^ ANSWER " ).

   12:09:52   5             THE WITNESS:    Yes.

   12:09:52   6   BY MR. PETROCELLI:

   12:09:54   7       Q.    What did you say in that regard?

   12:09:59   8       A.    Pretty much what -- what you said there.

   12:10:04   9       Q.    Did you discuss with her what would happen

   12:10:12 10    if, for example, you wanted to do a settlement or an

   12:10:16 11    agreement with DC but the Siegels did not, how you

   12:10:19 12    would deal with that circumstance?

   12:10:27 13        A.    I don't recall going into that detail of

   12:10:30 14    what ifs.

   12:10:32 15        Q.    Did your mom ask you, well, what if we

   12:10:35 16    can't agree with the Siegels?     I mean what happens

   12:10:37 17    then?   Did she put that --

   12:10:40 18        A.    No.

   12:10:41 19        Q.    -- question to you in so many words?

   12:10:42 20        A.    No.

   12:10:46 21        Q.    Do you -- did -- if she had put that

   12:10:48 22    question to you, could you have answered it?

   12:10:53 23              MR. TOBEROFF:   Again, don't testify based

   12:10:56 24    on knowledge and communications you received --

   12:11:00 25    don't testify based on knowledge you received

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   12:11:02   1   through your communications with your attorney.

   12:11:07   2               THE WITNESS:    I -- all I can.

   12:11:08   3               MR. TOBEROFF:   And I also, when he asks you

   12:11:11   4   about conversations, if you understand the substance

   12:11:14   5   of the conversation you can give him that substance.

   12:11:17   6   If you understand the exact words you used, you can

   12:11:19   7   give him the exact words but if you don't remember

   12:11:21   8   the exact words you used, don't make up the words to

   12:11:25   9   fill in the blanks.      That would be speculating.

   12:11:27 10                THE WITNESS:    Uh-huh.   The question again

   12:11:33 11    being.

   12:11:33 12    BY MR. PETROCELLI:

   12:11:33 13           Q.   Did you have an understanding in

   12:11:38 14    discussions with your mom about the consent

   12:11:40 15    agreement what would happen if the Siegels and you

   12:11:43 16    could not agree?

   12:11:45 17                MR. TOBEROFF:   Asked and answered.

   12:11:49 18                THE WITNESS:    I didn't discuss that with

   12:11:51 19    her.

   12:11:51 20    BY MR. PETROCELLI:

   12:11:52 21           Q.   Did you have an awareness in your own mind

   12:11:57 22    of what would happen?

   12:11:59 23           A.   I'm aware.

   12:11:59 24           Q.   Had she asked you the question, could you

   12:12:01 25    have answered it?

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   12:12:02   1       A.     Oh,.

   12:12:02   2              MR. TOBEROFF:   You can only answer the next

   12:12:04   3   question to the extent you have an understanding

   12:12:06   4   that's separate and apart from your communications

   12:12:09   5   with me.

   12:12:10   6              THE WITNESS:    Just -- okay.

   12:12:14   7              It's just we -- I thought the agreement was

   12:12:17   8   good.   It was mutually beneficial.      That's -- that's

   12:12:24   9   all I can say.

   12:12:24 10    BY MR. PETROCELLI:

   12:12:25 11        Q.     Why did you think it was good and mutually

   12:12:28 12    beneficial?

   12:12:28 13               MR. TOBEROFF:   I instruct you not to

   12:12:29 14    answer.

   12:12:30 15               (Instruction not to answer.)

   12:12:32 16               THE WITNESS:    I follow --

   12:12:34 17               MR. TOBEROFF:   I instruct you not to

   12:12:35 18    answer.

   12:12:35 19               THE WITNESS:    I follow my attorney's

   12:12:36 20    advice.

   12:12:36 21    BY MR. PETROCELLI:

   12:12:47 22        Q.     Can I get an answer to my prior question,

   12:12:50 23    which was, did you have an awareness of what would

   12:12:52 24    happen in the event the Siegels and the Schusters

   12:12:55 25    could not agree on -- on an agreement with DC?

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   12:13:03   1       A.     I didn't think it was a problem.

   12:13:06   2              MR. TOBEROFF:   He -- that's not his

   12:13:08   3   question.

   12:13:08   4              THE WITNESS:    No?

   12:13:11   5              MR. TOBEROFF:   Focus on the question.

   12:13:11   6              THE WITNESS:    Say it again.

   12:13:12   7              MR. TOBEROFF:   It's a "yes" or "no"

   12:13:15   8   question.

   12:13:15   9              THE WITNESS:    Did I have -- say it again

   12:13:16 10    please.

   12:13:16 11    BY MR. PETROCELLI:

   12:13:17 12        Q.     Did you have an understanding in your

   12:13:19 13    conversations with your mom about the 2008 consent

   12:13:22 14    agreement, what would happen?

   12:13:25 15        A.     Oh,.

   12:13:25 16        Q.     If the Siegels and you could not agree?

   12:13:27 17        A.     Did I have an understanding.

   12:13:28 18               MR. TOBEROFF:   In his conversations with

   12:13:30 19    his mom.

   12:13:30 20               MR. PETROCELLI:   Yeah.

   12:13:31 21        Q.     At the time that you were -- during the

   12:13:34 22    period of time when you were having these

   12:13:34 23    discussions with your mom?

   12:13:35 24        A.     Did have I an understanding.

   12:13:36 25        Q.     Yeah.   Had she asked you, well, what did

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   12:13:39   1   she call you, Warren?

   12:13:41   2       A.    Yes.

   12:13:42   3       Q.    Okay, well, Warren, what happens if the

   12:13:44   4   Siegels and we can't agree?     We want to do's deal

   12:13:46   5   and the Siegels don't want to do a deal and, you

   12:13:48   6   know, consent is required, how do we get out of

   12:13:51   7   that?

   12:13:53   8             First of all, did she ever ask you such a

   12:13:55   9   thing?

   12:13:56 10              MR. TOBEROFF:   Asked and answered you can

   12:14:00 11    answer again.

   12:14:01 12              THE WITNESS:    No.

   12:14:01 13    BY MR. PETROCELLI:

   12:14:02 14        Q.    Did you ever explain to her that

   12:14:07 15    circumstance or walk her through that situation?

   12:14:11 16              MR. TOBEROFF:   Asked and answered.

   12:14:14 17              You can answer.

   12:14:14 18              THE WITNESS:    I -- I don't recall getting

   12:14:18 19    to that level of detail.    She didn't ask any more

   12:14:22 20    about it.

   12:14:22 21    BY MR. PETROCELLI:

   12:14:30 22        Q.    And had she asked you, could you have

   12:14:32 23    answered the question?    That's a "yes" or "no."

   12:14:37 24        A.    Yes.

   12:14:38 25        Q.    Okay.   What would you have said?

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   12:14:39   1             MR. TOBEROFF:   Instruct you not to answer.

   12:14:40   2   You can't divulge the substance of the consent

   12:14:42   3   agreement.

   12:14:43   4             (Instruction not to answer.)

   12:14:43   5   BY MR. PETROCELLI:

   12:14:58   6       Q.    Do you have any current arrangement for the

   12:15:05   7   consent agreement or otherwise whereby the Shuster

   12:15:12   8   interests share in any proceeds or recovery

   12:15:16   9   attributable to Superboy?

   12:15:19 10              MR. TOBEROFF:   Okay.    On this question,

   12:15:23 11    I -- I will make an exception and allow him to

   12:15:27 12    answer that question provided you agree that his

   12:15:30 13    answering the question is not a waiver of any

   12:15:32 14    privilege regarding the consent agreement.

   12:15:34 15    Otherwise I'll instruct him not to answer.

   12:15:46 16              MR. PETROCELLI:   I guess I'll have to do

   12:15:47 17    this on a question by question basis.       So as to this

   12:15:53 18    particular question and answer, that's acceptable.

   12:15:56 19              MR. TOBEROFF:   Okay.    Do you want to.

   12:15:58 20              MR. PETROCELLI:   Do you want to repeat the

   12:15:59 21    question.

   12:16:00 22              MR. TOBEROFF:   Read back the question.

   12:16:23 23                   (The reporter read the record

   12:16:23 24              as follows:

   12:16:24 25                   "^ QUESTION ^ ANSWER ").

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   12:16:24   1             THE WITNESS:    No.

   12:16:24   2   BY MR. PETROCELLI:

   12:16:31   3       Q.    Does the consent agreement -- under the

   12:16:33   4   concent agreement as you understand it, would the

   12:16:39   5   Shuster interest share in any proceeds or recovery

   12:16:44   6   be attributable to Superboy?

   12:16:47   7             MR. TOBEROFF:   This is the same question.

   12:16:49   8   Do we have the same agreement.

   12:16:50   9             MR. PETROCELLI:   We do.     It's not the same

   12:16:54 10    question because he limited it to the consent

   12:16:54 11    agreement.

   12:16:54 12              MR. PETROCELLI:   Do we have the same

   12:16:58 13    agreement that I will allow him to answer but that

   12:16:58 14    will not be deemed --

   12:16:58 15              MR. PETROCELLI:   Yes.

   12:17:00 16              MR. TOBEROFF:   A waiver of the privilege as

   12:17:00 17    to any other questions or the document?

   12:17:02 18              MR. PETROCELLI:   Yes.

   12:17:03 19              MR. TOBEROFF:   You can answer.

   12:17:03 20              THE WITNESS:    Okay.   No

   12:17:03 21    BY MR. PETROCELLI:

   12:17:07 22        Q.    Have the Schusters, by the Shusters I mean

   12:17:13 23    you, your mom, the estates of Joe Shuster, the

   12:17:17 24    Shuster interest, have the Shusters ever had any

   12:17:21 25    agreement with the Siegels regarding Superboy?

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   12:17:28   1          A.   No.

   12:17:34   2          Q.   Is it your understanding that if the

   12:17:42   3   Siegels were to be paid or recover money associated

   12:17:47   4   with Superboy, that it would belong solely to them

   12:17:50   5   and not to the Shuster side?     Is that your

   12:17:55   6   understanding?

   12:17:56   7          A.   Yes.

   12:18:02   8          Q.   Have you ever had any discussions with any

   12:18:08   9   member of the Siegel family about Superboy and

   12:18:16 10    sharing or not sharing     in recoveries associated

   12:18:20 11    with Superboy?

   12:18:21 12           A.   No.

   12:18:24 13           Q.   Have you ever had a discussion with your

   12:18:24 14    mother about whether the Schusters had an interest

   12:18:32 15    in Superboy?

   12:18:37 16           A.   No.

   12:18:37 17           Q.   You never once raised that subject with

   12:18:39 18    her?

   12:18:41 19           A.   No.

   12:18:42 20           Q.   Has she ever discussed it with you?

   12:18:45 21           A.   No.

   12:18:46 22           Q.   At any time, even going back to the time

   12:18:49 23    when Joe Shuster was alive?

   12:18:51 24           A.   We never discussed that.

   12:18:53 25           Q.   Did you ever discuss it with Joe Shuster?

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   12:18:55   1       A.     No.

   12:19:07   2       Q.     Okay.   Okay.   Would you agree that I don't

   12:19:15   3   need to ask any more questions about his knowledge

   12:19:19   4   about the consent agreement because you're -- you're

   12:19:22   5   going to assert the same objections?

   12:19:24   6              MR. TOBEROFF:    If you're asking as to the

   12:19:26   7   substance of contents of the consent agreement I

   12:19:29   8   will assert same.

   12:19:30   9              MR. PETROCELLI:    The existence of the terms

   12:19:31 10    and provisions, the substance of them, the contents

   12:19:34 11    of them.

   12:19:34 12               MR. TOBEROFF:    Yes.

   12:19:36 13               MR. PETROCELLI:    Okay.      Let me just make

   12:19:48 14    sure I nail this down.

   12:19:51 15        Q.     After signing the consent agreement in

   12:19:57 16    2008, did you ever sign a piece of paper that you

   12:20:04 17    thought was amending or modifying the consent

   12:20:07 18    agreement?

   12:20:08 19        A.     No.

   12:20:11 20        Q.     Okay.   Or cancelling it?

   12:20:12 21        A.     No.

   12:20:13 22        Q.     Okay.   When you signed the consent

   12:20:25 23    agreement in 2008, your lawyer at the time was whom?

   12:20:34 24        A.     Marc Toberoff.

   12:20:36 25        Q.     Who did you understand -- did you

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   12:20:39   1   understand that the Siegels were represented by

   12:20:41   2   counsel?

   12:20:41   3       A.     Yes.

   12:20:44   4       Q.     Who did you understand their counsel to be?

   12:20:46   5       A.     Marc Toberoff.

   12:20:51   6       Q.     Did you consult with any attorney other

   12:20:55   7   than Marc Toberoff about signing a document with the

   12:20:59   8   Siegels?

   12:20:59   9       A.     No.

   12:21:02 10        Q.     Did you consult with anyone other than Marc

   12:21:06 11    Toberoff on that subject, attorney or not?

   12:21:08 12        A.     No.

   12:21:11 13        Q.     Did you give any thought or consideration

   12:21:17 14    to whether there were conflict of interest given

   12:21:21 15    Mr. Toberoff's representation of the Siegels and the

   12:21:27 16    Schusters?   Did that thought cross your mind?

   12:21:33 17        A.     I suppose.

   12:21:33 18        Q.     When it crossed your mind, in what respect

   12:21:39 19    did you think about it?

   12:21:41 20               MR. TOBEROFF:    You could only answer that

   12:21:42 21    to the extent you have an understanding of conflict

   12:21:45 22    of interest independent of your discussions with me.

   12:21:52 23               THE WITNESS:    Okay.   Well, my whole

   12:21:56 24    understanding is -- is bound up with my

   12:22:00 25    conversations with Marc Toberoff.

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   12:22:04   1             MR. TOBEROFF:    Then I instruct you not to

   12:22:06   2   answer.

   12:22:06   3             (Instruction not to answer.)

   12:22:06   4   BY MR. PETROCELLI:

   12:22:10   5       Q.    Did you receive any disclosures from

   12:22:13   6   Mr. Toberoff regarding potential or actual conflict

   12:22:17   7   of interest?

   12:22:18   8       A.    Yes.

   12:22:20   9       Q.    In what form?

   12:22:24 10        A.    He sent a -- he sent a -- a letter, a

   12:22:29 11    waiver, a document.

   12:22:33 12        Q.    Is that a document separate from the

   12:22:35 13    consent agreement that you signed?

   12:22:38 14        A.    Yes.

   12:22:39 15        Q.    Did you sign that document?

   12:22:40 16        A.    Yes.

   12:22:44 17        Q.    So that's another document you signed

   12:22:46 18    right, you -- that you didn't mention earlier.

   12:22:53 19              Is that in your lock box?

   12:23:01 20        A.    I suppose.

   12:23:02 21        Q.    Did you bring -- bring it with you?

   12:23:07 22        A.    The waiver of conflict of interest?

   12:23:07 23        Q.    Right?

   12:23:10 24        A.    Is that the --

   12:23:11 25              MR. TOBEROFF:    He is asking whether you

                                                                          86




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   12:23:12   1   brought that document with you to answer.

   12:23:13   2             THE WITNESS:   The waiver of conflict of

   12:23:14   3   interest.

   12:23:14   4   BY MR. PETROCELLI:

   12:23:15   5       Q.    Correct.   That's how you call the document

   12:23:17   6   right?

   12:23:18   7       A.    Yeah.

   12:23:18   8       Q.    And it's a separate document from the

   12:23:19   9   consent agreement.

   12:23:19 10              Is that right?

   12:23:19 11        A.    Yes.

   12:23:22 12        Q.    Who are the signatories to that document?

   12:23:29 13        A.    I believe that -- that I am and the Siegels

   12:23:32 14    and Mr. Toberoff.

   12:23:38 15        Q.    When was that signed?

   12:23:39 16        A.    2010, I believe.

   12:23:54 17        Q.    Two years after the consent agreement?

   12:23:57 18        A.    Yeah, if my memory is right.

   12:24:03 19        Q.    And after the filing of this lawsuit?

   12:24:05 20        A.    I don't know if it was after.    I don't

   12:24:10 21    recall the date.     I think it was sometime -- I don't

   12:24:14 22    recall the date.

   12:24:16 23        Q.    The date's on the document, right?

   12:24:20 24        A.    Yeah, it's not on this document though.

   12:24:22 25        Q.    No it's on the conflict of interest

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   12:24:24   1   document right?

   12:24:24   2       A.    Yeah.

   12:24:25   3       Q.    Does the conflict of interest document say

   12:24:27   4   at that time date is effective as to some earlier

   12:24:29   5   point in time?    Like the legal representation

   12:24:33   6   documents you described, it went back from 04 to 01?

   12:24:40   7       A.    I don't know.

   12:24:41   8       Q.    Did you -- were you advised to seek

   12:24:49   9   independent counsel before signing or even in

   12:24:54 10    considering whether to sign the conflict of waiver?

   12:24:56 11        A.    Yes.

   12:24:58 12        Q.    Who told you that?

   12:25:00 13        A.    Mr. Toberoff.

   12:25:01 14        Q.    What did he tell you?

   12:25:03 15        A.    He said that I could seek separate counsel.

   12:25:10 16    Ask -- ask someone else.

   12:25:11 17        Q.    Did he suggest any lawyers to you?

   12:25:14 18        A.    No.

   12:25:18 19        Q.    Okay.   Did he tell you this in a verbal

   12:25:20 20    conversation or in a letter?

   12:25:22 21        A.    Probably verbal.

   12:25:30 22        Q.    Did you seek separate counsel?

   12:25:31 23        A.    No.

   12:25:34 24        Q.    Did you make any inquiries at all?

   12:25:38 25              MR. TOBEROFF:   As to separate counsel?

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   12:25:40   1             MR. PETROCELLI:   Correct.

   12:25:41   2             THE WITNESS:    No.

   12:25:41   3   BY MR. PETROCELLI:

   12:25:42   4       Q.    Did you even consider it?

   12:25:47   5       A.    I may have considered it.

   12:25:48   6       Q.    You decided not to?

   12:25:52   7       A.    Yes.

   12:25:53   8       Q.    Did you discuss it with the Siegels?

   12:25:58   9             MR. TOBEROFF:    The conflict waiver?

   12:26:00 10              MR. PETROCELLI:   Yes.

   12:26:01 11              THE WITNESS:    No, not directly.

   12:26:01 12    BY MR. PETROCELLI:

   12:26:03 13        Q.    Did you discuss with the Siegels whether

   12:26:04 14    they were seeking separate counsel or independent

   12:26:07 15    counsel in deciding whether to sign the conflict

   12:26:09 16    waiver?

   12:26:11 17        A.    No, I did not.

   12:26:12 18        Q.    Do you know if they did?

   12:26:14 19        A.    I don't.

   12:26:20 20              MR. PETROCELLI:   I think we're going to run

   12:26:22 21    out of videotape now so it's probably a good time to

   12:26:24 22    go to lunch.

   12:26:24 23              THE VIDEOGRAPHER:     This will mark the end

   12:26:26 24    of Volume I Tape Number 1 in the deposition of Mark

   12:26:30 25    Warren Peary.    Going off the record.   The time is

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   12:26:32   1    12:25.

   12:27:45   2               (At ^ ^ a.m. ^ p.m., the

              3             deposition of WARREN PEARY was

              4             adjourned for noon recess.)

              5    ///

              6    ///

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              1                    (At ^ ^ a.m. ^ p.m., the

              2             deposition of WARREN PEARY was

              3             reconvened.)

   13:18:26   4

   13:18:26   5             THE VIDEOGRAPHER:   We're back on the

   13:18:35   6   record.   This marks the beginning of Volume I, Tape

   13:18:38   7   Number 2 in the deposition of Mark Warren Peary.

   13:18:41   8   The time is 1:17.

   13:18:41   9

   13:18:45 10                     EXAMINATION (CONTINUED)

   13:18:45 11    BY MR. PETROCELLI:

   13:18:46 12        Q.    Mr. Peary, with respect to the conflict of

   13:18:51 13    interest document that you signed in or about 2010

   13:18:55 14    that we were talking about before the lunch break,

   13:18:58 15    do you remember that?

   13:18:58 16        A.    Yes.

   13:18:59 17        Q.    Okay.   Did you understand that that

   13:19:04 18    document that you signed pertained to the 2008

   13:19:10 19    consent agreement?

   13:19:14 20              MR. TOBEROFF:   You -- you -- I instruct you

   13:19:17 21    not to answer regarding the contents of the consent

   13:19:22 22    agreement -- it's a conflict waiver which is listed

   13:19:26 23    on the privilege log and privileged.

   13:19:28 24              THE WITNESS:    Yeah.   I'll have to follow my

   13:19:30 25    attorney's advice.

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   13:19:30   1             (Instruction not to answer.)

   13:19:30   2   BY MR. PETROCELLI:

   13:19:31   3       Q.    Well, I'm not asking about the contents of

   13:19:34   4   the consent agreement in this question I'm?

   13:19:36   5             MR. TOBEROFF:   No, the conflict waiver.

   13:19:36   6   BY MR. PETROCELLI:

   13:19:42   7       Q.    Did you understand that the purpose of the

   13:19:43   8   conflict waiver related to the consent agreement?

   13:19:49   9             MR. TOBEROFF:   You can only answer that

   13:19:50 10    question if you have an understanding of the purpose

   13:19:52 11    of the conflict waiver separate and apart from your

   13:19:55 12    communications with counsel.

   13:19:59 13              THE WITNESS:    Well then all my

   13:20:00 14    understanding is associated with my communications

   13:20:03 15    with counsel.   So I guess I can't answer it.

   13:20:03 16    BY MR. PETROCELLI:

   13:20:07 17        Q.    You've -- but you've testified to some of

   13:20:10 18    your communications with counsel on the subject of

   13:20:12 19    this conflict waiver already before the lunch break.

   13:20:20 20    In those communications that you had with counsel

   13:20:22 21    about the conflict waiver, which you said that he

   13:20:25 22    made you disclosure to you about a conflict of

   13:20:27 23    interest and/or potential conflict of interest, said

   13:20:31 24    that you could seek independent, Counsel, do you

   13:20:34 25    recall --

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   13:20:34   1       A.    Yes.

   13:20:35   2       Q.    Having related that to me?

   13:20:36   3       A.    Yes.

   13:20:37   4       Q.    Okay.   In your conversations with

   13:20:41   5   Mr. Toberoff, was -- did you gain an understanding

   13:20:47   6   of the purpose of your being presented with a

   13:20:51   7   conflict waiver?

   13:20:52   8       A.    Yes.

   13:20:54   9       Q.    What was that purpose?

   13:20:57 10              MR. TOBEROFF:   I instruct you not to

   13:20:58 11    answer.

   13:21:06 12              (Instruction not to answer.)

   13:21:06 13    BY MR. PETROCELLI:

   13:21:06 14        Q.    Was the purpose of the conflict waiver set

   13:21:08 15    forth in the document?

   13:21:11 16        A.    I believe so.

   13:21:17 17        Q.    And again, this was a document you said

   13:21:18 18    signed by the Siegel parties as well as the Shuster

   13:21:23 19    side, right?

   13:21:23 20        A.    Yes.

   13:21:24 21        Q.    And Mr. Toberoff, correct?

   13:21:25 22        A.    Yes.

   13:21:26 23        Q.    Did your mother sign it?

   13:21:36 24        A.    I don't remember.   I don't remember.

   13:21:47 25        Q.    In or about 2008 at the time when you

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   13:21:50   1   signed the consent agreement, did you at that time

   13:21:57   2   sign any document involving a conflict of interest

   13:22:01   3   or a potential conflict of interest?

   13:22:08   4              MR. TOBEROFF:   Objection.   Asks for a legal

   13:22:09   5   conclusion and you could answer that question if you

   13:22:15   6   have an understanding of conflict of interest and

   13:22:17   7   potential conflict of interest outside of your

   13:22:21   8   communications with me.

   13:22:22   9              MR. PETROCELLI:   Let me rephrase that

   13:22:23 10    question.

   13:22:24 11          Q.   In or about 2008 when you signed the

   13:22:27 12    consent agreement, did you also sign another

   13:22:31 13    document that you believed related to the subject of

   13:22:37 14    waiving conflicts of interest?

   13:22:42 15          A.   I don't recall.

   13:22:46 16          Q.   You don't -- you don't recall having done

   13:22:47 17    so?

   13:22:48 18          A.   I don't recall, no, having done so.

   13:22:53 19          Q.   Okay.   Is the only time that you can recall

   13:22:54 20    having signed a document related to conflicts of

   13:22:58 21    interest is this one in 2010?

   13:23:03 22               MR. TOBEROFF:   Vague and overbroad.

   13:23:08 23               MR. PETROCELLI:   Let me rephrase it.

   13:23:10 24          Q.   Is the only time that you can recall

   13:23:12 25    signing a document waiving any potential or actual

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   13:23:16   1   conflict of interest is the one that you signed in

   13:23:19   2   2010?

   13:23:22   3       A.    That's the one I recall.

   13:23:24   4       Q.    Do you think there are others?

   13:23:26   5       A.    I -- I don't remember any others.

   13:23:39   6       Q.    Okay.   Okay.   Let me show you Exhibit 2

   13:23:52   7   which is the 1975 agreement that Joe Shuster and

   13:24:04   8   Jerry Siegel signed with Warner communications

   13:24:06   9   calling for various payments to -- to both men and

   13:24:13 10    their families.

   13:24:15 11                (The document referred to was

   13:24:15 12              marked for identification by the

   13:24:15 13              C.S.R. as Exhibit 2 and attached to

   13:24:19 14              this deposition.)

   13:24:19 15    BY MR. PETROCELLI:

   13:24:19 16        Q.    Have you seen this document before?

   13:24:20 17        A.    No, sir.

   13:24:27 18        Q.    You were asked about a pension agreement in

   13:24:28 19    your Siegel deposition in 2006.

   13:24:32 20              Did you have an understanding -- let me ask

   13:24:39 21    you these questions prior to the time that you first

   13:24:44 22    had any contact with Mr. Toberoff, okay?

   13:24:47 23        A.    Uh-huh.

   13:24:49 24        Q.    You first had contact with Mr. Toberoff

   13:24:53 25    sometime in 2001.

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   13:24:55   1             Is that right?

   13:24:56   2       A.    Yes.

   13:24:56   3       Q.    In your Siegel deposition you said that you

   13:25:03   4   were looking into the issue of copyright matters and

   13:25:09   5   you came across Mr. Toberoff?

   13:25:10   6       A.    Yes.

   13:25:15   7       Q.    I think you said it might have been six

   13:25:17   8   months or so or a few months prior to time that you

   13:25:20   9   signed your first agreement in November 2001.   Does

   13:25:22 10    that sound, right?

   13:25:23 11        A.    Between the time I first contacted him and

   13:25:26 12    then we signed an agreement?

   13:25:27 13        Q.    Yeah, what was that time span?

   13:25:30 14        A.    I remember I first contacted him in 2001.

   13:25:35 15    That's all I can recall.

   13:25:36 16        Q.    Okay.   And to provide a bit more detail,

   13:25:38 17    did someone give you his number?

   13:25:42 18        A.    I found it through research on my own.

   13:25:44 19        Q.    When you say "research on your own, the

   13:25:46 20    computer on the Internet?

   13:25:47 21        A.    Yes, yes.

   13:25:48 22        Q.    And how did you come across it?   What did

   13:25:50 23    you search that yielded his name?

   13:25:53 24        A.    I was doing research on copyright law and

   13:25:56 25    changes to the copyright law and various searches

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   13:26:06   1   having to do with copyright and attorneys involved

   13:26:08   2   in that entertainment.

   13:26:09   3       Q.    And how many names were netted as a result

   13:26:14   4   of your searches?

   13:26:21   5       A.    Oh, boy, I can't recall that.    I was

   13:26:22   6   impressed with when I came across information

   13:26:27   7   regarding Mr. Toberoff's dealings.

   13:26:31   8       Q.    On the Web site?

   13:26:32   9       A.    Yes.   I was impressed.

   13:26:33 10        Q.    What impressed you about what you saw on

   13:26:35 11    the Web site?

   13:26:36 12        A.    I was impressed with what I had read.    Gave

   13:26:39 13    me the impression he had a great deal of knowledge

   13:26:41 14    and talent and copyright law with property and

   13:26:46 15    rights.

   13:26:47 16        Q.    Had you -- did you visit his Web site?

   13:26:53 17        A.    I don't recall his Web site in particular.

   13:26:56 18        Q.    Was it an article you -- you recall having

   13:26:59 19    read about him?

   13:27:00 20        A.    Excuse me?

   13:27:00 21        Q.    An article about him?     I mean what is it

   13:27:03 22    that you read that impressed you?

   13:27:04 23        A.    Jeez, it's so far back.    Various searches,

   13:27:10 24    his mentions of lawyers and articles.     That's all I

   13:27:15 25    can recall.

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   13:27:15   1          Q.   Searches you're doing on your home

   13:27:17   2   computer?

   13:27:17   3          A.   Yes.

   13:27:18   4          Q.   Okay.   When you -- whatever you read -- by

   13:27:22   5   the way, did you save the material that mentioned

   13:27:26   6   him?

   13:27:26   7          A.   I don't think so from that time.    But I --

   13:27:34   8   I got his contact information and contacted him.

   13:27:37   9               MR. TOBEROFF:   Just focus on his question.

   13:27:38 10    Only answer his question.

   13:27:38 11    BY MR. PETROCELLI:

   13:27:40 12           Q.   Did you contact anyone other?

   13:27:41 13                MR. TOBEROFF:   Don't give a narrative.

   13:27:41 14    BY MR. PETROCELLI:

   13:27:43 15           Q.   Contact anyone other than him?

   13:27:44 16           A.   Prior to that time, I did.

   13:27:50 17           Q.   As a result of the research you were doing?

   13:27:52 18           A.   Oh, at that time, no.

   13:27:53 19           Q.   Okay.   So when you did the research, the

   13:27:58 20    only person that you contacted as a result of that

   13:28:02 21    research was Mr. Toberoff?

   13:28:03 22           A.   At that time, yes.

   13:28:04 23           Q.   Then you called him on the telephone?

   13:28:06 24           A.   Yes.

   13:28:07 25           Q.   And you had a phone conversation?

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   13:28:08   1          A.   Yes.

   13:28:10   2          Q.   And after that phone conversation did you

   13:28:12   3   have a meeting?

   13:28:14   4          A.   In face to face.

   13:28:19   5          Q.   Face-to-face meeting, right?

   13:28:20   6          A.   Not at that time.

   13:28:23   7          Q.   How long thereafter until you first met

   13:28:28   8   him?

   13:28:28   9          A.   When I first met him it was -- it was after

   13:28:32 10    we had signed the original legal agreement.

   13:28:36 11           Q.   So you had not met him prior to signing the

   13:28:40 12    document.

   13:28:42 13                Is that correct?

   13:28:43 14           A.   Not face to face.

   13:28:44 15           Q.   Okay.   Had your sister met him?

   13:28:48 16           A.   No.

   13:28:49 17           Q.   Had your mother?

   13:28:50 18           A.   No.

   13:28:53 19           Q.   Had you spoken to anybody who had met him

   13:28:57 20    or worked with him prior to signing the document,

   13:29:01 21    the first document?

   13:29:02 22           A.   I don't believe so.

   13:29:11 23           Q.   Did you -- did you have more than one

   13:29:12 24    telephone call?

   13:29:13 25           A.   Yes.

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                                          ROUGH DRAFT



   13:29:16   1       Q.    About how many?

   13:29:22   2       A.    Boy, before signing the first agreement I

   13:29:28   3   would have had to -- I don't know exactly but it was

   13:29:32   4   a number of times.    I don't know to characterize.   I

   13:29:36   5   don't have a log but I talked to him quite a bit.

   13:29:41   6       Q.    Okay.    The agreement that you did sign

   13:29:43   7   which I'll show you in a bit, were there drafts of

   13:29:48   8   that that went back and forth as you recall or did

   13:29:51   9   you get a document sign it and return it?

   13:29:54 10        A.    There were drafts.

   13:29:56 11        Q.    Did you keep copies of the drafts?

   13:29:57 12        A.    No.

   13:30:01 13        Q.    On your end, who was reviewing the drafts?

   13:30:07 14        A.    I was.

   13:30:09 15        Q.    Did you feel competent and capable to

   13:30:11 16    understand what you were reading and made changes

   13:30:15 17    and comments?

   13:30:16 18        A.    Yes.

   13:30:18 19        Q.    Okay.    Did you consult with anybody?

   13:30:26 20        A.    Like another lawyer?

   13:30:26 21        Q.    Yes.

   13:30:26 22        A.    No.

   13:30:29 23        Q.    Did you discuss with your mother in 2001

   13:30:34 24    these -- your talking to Mr. Toberoff, your

   13:30:40 25    telephone calls with him, receiving the draft

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   13:30:44   1   agreements, working on them, this whole activity,

   13:30:46   2   did you share all of that with your mother?

   13:30:52   3         A.   I'm sure I did.

   13:30:54   4         Q.   Did she ask you to undertake this effort?

   13:30:57   5         A.   No.    I -- I was doing all of this research

   13:30:59   6   on my own.    She didn't know anything about it.

   13:31:03   7         Q.   At one point did you disclose to her what

   13:31:06   8   you were doing?

   13:31:06   9         A.   Probably when I decided to work, retain

   13:31:15 10    Mr. Toberoff.     It's probably when I really discussed

   13:31:20 11    it.

   13:31:20 12          Q.   Did you have a one-on-one conversation with

   13:31:23 13    your mother or was your sister involved?

   13:31:26 14          A.   Boy.

   13:31:28 15          Q.   Family meeting?

   13:31:30 16          A.   I can't actually visualize that in my mind.

   13:31:33 17    I know I talked with Jean.     I don't recall talking

   13:31:38 18    to Dawn at that time.

   13:31:43 19          Q.   You -- why did you decide not to share with

   13:31:47 20    your mother your -- your activities until just

   13:31:52 21    before you were ready to sign the document?

   13:31:58 22          A.   I was doing research on my own and she had

   13:32:01 23    no interest or knowledge of any of -- of that, any

   13:32:06 24    of rights or anything.     It was something I did

   13:32:10 25    completely on my own because I wanted to be

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   13:32:12   1   thorough, so that's the reason.

   13:32:19   2       Q.    And did you come to a point when you

   13:32:20   3   thought like you had sufficient thorough information

   13:32:23   4   that you could then talk with her?

   13:32:25   5       A.    Yes.

   13:32:26   6       Q.    And when you did talk with her was it in

   13:32:31   7   that conversation that you first identified to her

   13:32:33   8   that you had contacted Mr. Toberoff and you were

   13:32:36   9   recommending him?

   13:32:36 10        A.    I believe so.

   13:32:42 11        Q.    Had she ever heard of Mr. Toberoff, to your

   13:32:45 12    knowledge?

   13:32:45 13        A.    No.

   13:32:54 14        Q.    Did you put Mr. Toberoff in touch with the

   13:32:57 15    Siegel family?

   13:33:01 16        A.    If I recall, after we had signed a legal

   13:33:05 17    agreement at some point we were -- we were happy

   13:33:13 18    that my mother had talked with Joanne and mentioned

   13:33:16 19    his name.

   13:33:24 20        Q.    Were you present when your mother first

   13:33:28 21    mentioned Mr. Toberoff to Joanne?

   13:33:32 22        A.    No.

   13:33:34 23        Q.    It's telephone call?

   13:33:35 24        A.    Yes.

   13:33:40 25        Q.    Okay.   You said that you had contacted a

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   13:33:43   1   lawyer at some time before Mr. Toberoff.

   13:33:46   2               Was that a fellow in Albuquerque?

   13:33:49   3          A.   Yes.   There was a lawyer in Albuquerque.

   13:33:52   4          Q.   And what was that person's name?

   13:33:53   5          A.   I don't think I remember it because I

   13:33:58   6   didn't do any -- I didn't sign anything with him.

   13:34:02   7          Q.   What year was that?

   13:34:03   8          A.   Would have first been, I believe, 1999.

   13:34:15   9          Q.   Is 1999 the first time that you started to

   13:34:20 10    think about researching copyright issues related to

   13:34:25 11    Mr. Shuster or his estate?

   13:34:27 12           A.   Boy, the first time I started thinking

   13:34:33 13    about that.    Probably I thought about it earlier.

   13:34:39 14           Q.   When is the first time you actually did

   13:34:40 15    anything on that subject?

   13:34:42 16           A.   As far as research?

   13:34:46 17           Q.   You said you probably thought about it

   13:34:47 18    earlier, right?

   13:34:51 19           A.   Uh-huh.

   13:34:51 20           Q.   So when is the first time you decided to do

   13:34:53 21    something, whether it be start looking things up the

   13:34:56 22    Internet, start making inquiries to friends, maybe

   13:34:59 23    look for a lawyer regarding the subject of his

   13:35:03 24    copyright and whether he had a termination interest

   13:35:07 25    and?

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   13:35:07   1       A.    Yeah.

   13:35:08   2       Q.    Related Superman.

   13:35:13   3       A.    Yeah that might have been when I first

   13:35:15   4   looked through the copyright code, maybe 1998 I was

   13:35:19   5   looking through that and then after that that's when

   13:35:25   6   I contacted an attorney in Albuquerque.

   13:35:31   7       Q.    Did you meet with him?

   13:35:36   8       A.    Yes.

   13:35:36   9       Q.    Where?

   13:35:37 10        A.    In Albuquerque.

   13:35:38 11        Q.    Who attended the meeting?

   13:35:40 12        A.    I think it was just me.

   13:35:45 13        Q.    Did your mom know what you were doing?

   13:35:49 14        A.    I don't believe so.

   13:35:55 15        Q.    And you decided not to higher this fellow?

   13:35:57 16        A.    That's correct.

   13:35:58 17        Q.    And you don't know his name?

   13:36:00 18        A.    I can't recall.

   13:36:01 19        Q.    Did you get any documents from him?

   13:36:03 20        A.    I don't -- I don't think so.

   13:36:11 21        Q.    Where did you get his name from?

   13:36:16 22        A.    That's a long time back.    I don't know if

   13:36:21 23    it was the -- the phone book or under a attorneys it

   13:36:26 24    said intellectual property or something of that

   13:36:28 25    nature.   I really don't remember.

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   13:36:30   1       Q.    Why didn't you hire him?

   13:36:34   2       A.    Gee, I think it's because I thought they

   13:36:37   3   maybe weren't as good as the best.    Maybe they

   13:36:43   4   didn't know everything that they should have.

   13:36:46   5       Q.    They is whom?

   13:36:47   6       A.    The attorney.

   13:36:48   7       Q.    Was it a law firm?

   13:36:50   8       A.    It was -- well, it was one attorney in a

   13:36:52   9   firm.

   13:36:55 10        Q.    Okay.   And so after that -- that was the

   13:36:58 11    first person you've ever -- lawyer you've ever

   13:37:02 12    contacted?

   13:37:02 13        A.    Yes.

   13:37:03 14        Q.    In pursuit of this issue, right?

   13:37:03 15        A.    Yes.

   13:37:05 16        Q.    But before you contacted that lawyer, had

   13:37:07 17    you spoken to other people, like in the comic book

   13:37:10 18    business or in entertainment business about this

   13:37:16 19    issue?

   13:37:20 20        A.    It's possible that just in conversation

   13:37:27 21    that I talked with other people but not lawyers.

   13:37:29 22        Q.    Okay.   Were you starting to do research?

   13:37:34 23        A.    Yes.

   13:37:36 24        Q.    Is there any particular reason why you

   13:37:37 25    didn't come across Mr. Toberoff's name back in 1999

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   13:37:41   1   when you were first -- or in '98 when you were first

   13:37:44   2   looking into this?

   13:37:45   3       A.    Well, I didn't think of contacting a lawyer

   13:37:52   4   at all until sometime in '99.

   13:37:54   5       Q.    Right?

   13:37:55   6       A.    Probably the second half.    Because I wasn't

   13:37:59   7   sure of what rights were available under the law.

   13:38:02   8   And I -- I guess I wanted to go to a local lawyer

   13:38:08   9   that was right there in town so I could just drive

   13:38:10 10    to the office and meet with them.

   13:38:19 11        Q.    In Santa Fe?

   13:38:19 12        A.    That was in Albuquerque.

   13:38:19 13        Q.    That was Albuquerque?

   13:38:19 14        A.    That was Albuquerque.

   13:38:19 15        Q.    You were living in Albuquerque then?

   13:38:19 16        A.    Yes, just before I moved.

   13:38:20 17        Q.    Living alone?

   13:38:21 18        A.    I think it was -- it was after my father

   13:38:24 19    died so I was with -- I was just with -- with my

   13:38:29 20    mother just the two of us.

   13:38:32 21        Q.    When your dad passed you were all living in

   13:38:35 22    Albuquerque?

   13:38:36 23        A.    Yes.

   13:38:37 24        Q.    Okay.    And then you folks moved to?

   13:38:42 25        A.    Santa Fe.

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   13:38:43   1       Q.     Santa Fe?

   13:38:44   2       A.     Yes.

   13:38:46   3       Q.     So you expanded your search then as time

   13:38:52   4   on -- went by and extended it to Los Angeles?

   13:38:56   5       A.     Yes.

   13:38:58   6       Q.     Okay.   So from the time that you met with

   13:39:03   7   this attorney in Albuquerque until the time that you

   13:39:05   8   identified Mr. Toberoff, had you identified any

   13:39:08   9   other attorneys in between then, those two time

   13:39:12 10    periods?

   13:39:17 11        A.     I -- I didn't talk with any others.    Is

   13:39:21 12    that what you're asking?

   13:39:21 13        Q.     Yes.

   13:39:24 14        A.     Okay.

   13:39:26 15        Q.     Were you referred to any?

   13:39:27 16        A.     No.

   13:39:29 17        Q.     Okay.   And you said you got a -- you were

   13:39:33 18    studying the copyright code.    How did you get a copy

   13:39:36 19    of it?

   13:39:39 20        A.     It must have been -- must have been at the

   13:39:42 21    university library re because I photocopied some

   13:39:46 22    sheets.

   13:39:47 23        Q.     University of New Mexico?

   13:39:48 24        A.     I believe so.

   13:39:56 25        Q.     Okay.   What else did you research besides

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   13:40:00   1   the copyright code?    What other materials?

   13:40:07   2       A.     With regard to.

   13:40:08   3       Q.     This issue of whether there was any

   13:40:10   4   copyright rights that your family might have.

   13:40:18   5       A.     I found out that there was legislation that

   13:40:20   6   was passed that -- that gave the -- broadened the

   13:40:28   7   scope of rights to estates.

   13:40:35   8       Q.     How did you find out about that

   13:40:37   9   legislation?

   13:40:40 10        A.     Oh just looking around.

   13:40:45 11        Q.     Had you heard that the Siegel family had or

   13:40:51 12    was in the process of pursuing termination rights on

   13:40:54 13    behalf of Jerome Siegel?

   13:40:57 14        A.     I had heard that.

   13:40:58 15        Q.     And how had you heard that?

   13:41:05 16        A.     Oh, boy.   I don't know exactly.   I just

   13:41:11 17    know I had heard about it.      I --

   13:41:18 18        Q.     Did you come across a notice of termination

   13:41:22 19    of copyright interest that the Siegel family served

   13:41:27 20    in 1997?

   13:41:31 21        A.     Did I see that?

   13:41:31 22        Q.     Yes.

   13:41:32 23        A.     Their notice of termination?

   13:41:34 24        Q.     No I did see that.

   13:41:36 25        Q.     Okay.   Did you speak to Joanne or Laura

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   13:41:39   1   Siegel about their having filed such a notice of

   13:41:43   2   termination around the time that they did?

   13:41:46   3       A.    Not at that time.

   13:41:48   4       Q.    Do you know if your mom did?

   13:41:50   5       A.    I don't believe so.

   13:41:52   6       Q.    Is it -- is it -- was it upon learning that

   13:41:54   7   they were seeking to terminate copyright interest

   13:42:00   8   that spurred you to begin inquiring about the same

   13:42:03   9   thing?

   13:42:08 10        A.    I'm sure it's a factor.

   13:42:09 11        Q.    What were the other factors?

   13:42:15 12        A.    I don't know.   I guess that's the main

   13:42:17 13    thing that spurred me.

   13:42:20 14        Q.    At the time that you began thinking about

   13:42:23 15    this, were you under the belief that your family had

   13:42:27 16    no termination interests?

   13:42:33 17        A.    At one time I had thought that and later

   13:42:37 18    changed -- changed my mind.

   13:42:40 19        Q.    What changed your mind?

   13:42:42 20        A.    The legislation.

   13:42:45 21        Q.    Prior to the legislation, you're talking

   13:42:49 22    about a change to the copyright act?

   13:42:51 23        A.    Yes.

   13:42:51 24        Q.    That became effective in or about 1998,

   13:42:51 25    right?

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   13:42:55   1       A.     Yeah, I believe.

   13:42:56   2       Q.     Sometimes known as the Sonny Bono copyright

   13:42:59   3   extension act?

   13:43:00   4       A.     Yes.

   13:43:01   5       Q.     Okay.   Prior to your learning about that

   13:43:06   6   act, you were of the view that your family had no

   13:43:09   7   termination rights?

   13:43:10   8       A.     I didn't -- didn't think so.   I wasn't

   13:43:17   9   certain.   I -- I wasn't positive so that's what

   13:43:24 10    spurred me to do the research.

   13:43:27 11        Q.     And why did you think that the family might

   13:43:30 12    not have termination rights prior to the -- the

   13:43:33 13    change in the law?

   13:43:35 14        A.     The -- when I looked at the copyright code,

   13:43:41 15    it -- it only stated certain relations to creators

   13:43:47 16    at that time, spouses and children, and it didn't

   13:43:52 17    say anything else.

   13:43:54 18        Q.     And you were aware that Joe Shuster had

   13:43:57 19    died without a surviving spouse, correct?

   13:43:57 20        A.     Yes.

   13:44:00 21        Q.     And without a surviving child or

   13:44:04 22    grandchild, correct?

   13:44:05 23        A.     That's correct.

   13:44:08 24        Q.     And you were also aware that he had never

   13:44:10 25    exercised a right of termination during his

                                                                         110




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   13:44:12   1   lifetime, right?

   13:44:15   2       A.     That's right.

   13:44:15   3       Q.     But you were aware that he did have an

   13:44:17   4   opportunity to have done so prior to his death?

   13:44:20   5       A.     I'm not -- I'm not sure about those

   13:44:32   6   details.   I'm not sure.

   13:44:32   7       Q.     Did you discuss with your mother from time

   13:44:38   8   to time this idea or view that because he did not

   13:44:41   9   leave a surviving spouse or issue that he -- this is

   13:44:47 10    after he died, I mean --

   13:44:49 11        A.     Uh-huh.

   13:44:49 12        Q.     That there was no right of termination?    Is

   13:44:54 13    that a topic you discussed with your mom?

   13:44:56 14        A.     I don't think it was discussed until I got

   13:45:01 15    serious about confirming we actually had rights.

   13:45:08 16    And then at that point probably at that point I

   13:45:11 17    probably discussed it.

   13:45:14 18               MR. TOBEROFF:   Again Warren, if you have a

   13:45:17 19    basis for -- if you remember discussing something,

   13:45:24 20    of course, talk about it.     But if you don't have a

   13:45:27 21    specific memory or any memory, don't speculate as to

   13:45:34 22    what you probably did or probably didn't do.

   13:45:34 23               MR. PETROCELLI:   Mark honestly, I don't

   13:45:36 24    think that's necessary.      He wasn't speculating.

   13:45:37 25               THE WITNESS:    I didn't say he was

                                                                        111




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   13:45:38   1   speculating.

   13:45:39   2             MR. PETROCELLI:   I know there's no reason.

   13:45:40   3             MR. TOBEROFF:   I'm cautioning him.

   13:45:41   4             MR. PETROCELLI:   No reason to caution him

   13:45:43   5   not to speculate when he is not speculating.

   13:45:45   6             MR. TOBEROFF:   Actually, I think he may

   13:45:47   7   have been speculating but I'm not going to pass

   13:45:48   8   judgments on that.   I'm just advising my client not

   13:45:50   9   to -- there's a human tendency to try to fill in the

   13:45:57 10    blanks.

   13:45:58 11              MR. PETROCELLI:   You understand though that

   13:45:59 12    I'm entitled to your best recollection no matter how

   13:46:04 13    faint or vague it might be.

   13:46:05 14        A.    Yes, and it is faint often.

   13:46:07 15        Q.    Okay.   That's okay.

   13:46:11 16

   13:46:11 17              MR. TOBEROFF:   Is he also entitled to your

   13:46:13 18    best estimation if you have a basis for estimating.

   13:46:13 19    BY MR. PETROCELLI:

   13:46:15 20        Q.    I am.

   13:46:19 21              So getting back to where we were did you

   13:46:29 22    ever discuss with your mother whether Joe Shuster

   13:46:32 23    had a right of termination with regard Superman

   13:46:37 24    copyrights prior to the time that Joe died in?

   13:46:41 25              MR. TOBEROFF:   Asked and answered.

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   13:46:42   1             THE WITNESS:    No.

   13:46:42   2   BY MR. PETROCELLI:

   13:46:45   3       Q.    Were you even aware of the subject prior to

   13:46:48   4   the time of Joe -- that Joe died?

   13:46:50   5             MR. TOBEROFF:   Asked and answered.

   13:46:51   6             THE WITNESS:    No.

   13:46:51   7   BY MR. PETROCELLI:

   13:46:54   8       Q.    When is the first time you ever learned

   13:46:57   9   about the side that an heir an author, I should say

   13:47:04 10    could terminate a right interest?

   13:47:08 11              MR. TOBEROFF:   You mean a copyright grant.

   13:47:10 12              MR. PETROCELLI:   Copyright grant, yes.

   13:47:14 13              THE WITNESS:    Probably around 1998.

   13:47:14 14    BY MR. PETROCELLI:

   13:47:19 15        Q.    And how did you become aware of it?

   13:47:20 16        A.    I became aware of the idea of the

   13:47:26 17    possibility, it's as I stated before, I did some

   13:47:33 18    research in copyrigh law --

   13:47:36 19        Q.    Yeah, I want to make sure you're

   13:47:37 20    understanding what I'm asking.    I'm not asking you

   13:47:39 21    when you standard to believe that the Shuster family

   13:47:42 22    had the ability to terminate a copyright grant? I'm

   13:47:45 23    asking when did you first become aware that there

   13:47:47 24    was even such a thing possible in the law of

   13:47:51 25    copyright that creators could terminate copyright

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                                         ROUGH DRAFT



   13:47:54   1   grants?

   13:47:55   2       A.    It's -- well, it would be around that time

   13:47:58   3   and that's when I heard something about the Siegel

   13:48:01   4   termination.

   13:48:03   5       Q.    Okay.   And when you heard that, did you

   13:48:08   6   talk to your mom about it and ask -- because she was

   13:48:11   7   the sole beneficiary of the estate, whether she knew

   13:48:15   8   anything about this, whether she had ever spoken to

   13:48:18   9   her brother about it, you know --

   13:48:20 10        A.    Well, no, I don't think so.   Initially I

   13:48:23 11    didn't think that we had anything.

   13:48:24 12        Q.    Why did you think that?    Because your

   13:48:27 13    reading of the code?

   13:48:28 14        A.    Yes.

   13:48:29 15        Q.    Okay.   Did you -- during this period, '97,

   13:48:34 16    '98 that you're now describing, did you come across

   13:48:41 17    any of the agreements that Joe had signed with DC or

   13:48:47 18    Warner Bros. including Exhibit 2 in front of you?

   13:48:50 19        A.    No.

   13:48:53 20        Q.    As of the time that you first contacted

   13:48:54 21    Mr. Toberoff, had you come across Exhibit 2?

   13:49:00 22        A.    No.

   13:49:03 23        Q.    Had you come across any of the agreements

   13:49:06 24    that had been signed either by Joe Shuster or by

   13:49:11 25    Jean Peavy or by Frank Shuster?

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                                           ROUGH DRAFT



   13:49:13   1       A.    I don't believe so.

   13:49:17   2       Q.    Were you aware of the existence of such

   13:49:19   3   agreements as of the time you contacted

   13:49:21   4   Mr. Toberoff?

   13:49:23   5       A.    I don't think so.

   13:49:30   6       Q.    And re mines me, I may have asked you this,

   13:49:32   7   when was the first time you saw Exhibit 2?

   13:49:41   8             MR. TOBEROFF:   Lacks foundation.   Assumes

   13:49:43   9   facts.

   13:49:47 10              You can answer.

   13:49:47 11              THE WITNESS:    Oh.   I don't think I've seen

   13:49:50 12    it before, actually.

   13:49:50 13    BY MR. PETROCELLI:

   13:49:52 14        Q.    Before today?

   13:49:52 15        A.    Yes.

   13:49:53 16        Q.    Okay.   When your uncle died Joe Shuster in

   13:50:33 17    July of 1992, did you become aware about any

   13:50:37 18    dealings that your mother then had with DC Comics or

   13:50:42 19    Warner communications regarding financial affairs?

   13:50:48 20        A.    Yeah, the only dealing I'm aware of is she

   13:50:55 21    asked for them to cover some expenses because he

   13:50:58 22    had -- he had more debts than assets.

   13:51:01 23        Q.    Okay.   Well take a look at Exhibit 3.

   13:51:07 24    Jason.    You can maybe make a file there so we don't

   13:51:15 25    lose track of the official exhibits.     Mr. Peary can

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                                          ROUGH DRAFT



   13:51:19   1   also take that complaint.     Put that over there, too.

   13:51:22   2   Thank you.

   13:51:23   3                 (The document referred to was

   13:51:23   4             marked for identification by the

   13:51:23   5             C.S.R. as Exhibit 3 and attached to

   13:51:23   6             this deposition.)

   13:51:23   7   BY MR. PETROCELLI:

   13:51:26   8       Q.    Exhibit 3 is two documents.   One is a

   13:51:32   9   handwritten note from Jean Peavy to Paul, Paul is

   13:51:36 10    Paul Levitz, dated August 21, 1992 and then there's

   13:51:41 11    a typewritten letter from Jean to Marty Payson ckdoc

   13:51:47 12    the then vice president of Time-Warner dated

   13:51:49 13    August 21, 1992.

   13:51:52 14              Have you ever seen either of these

   13:51:53 15    documents before?

   13:51:59 16        A.    I don't believe so, no.

   13:52:02 17        Q.    In 1992 -- well turn to the top of page 2

   13:52:19 18    of the typewritten letter.

   13:52:28 19              Your mom's typewritten letter.   Do you have

   13:52:30 20    that?

   13:52:30 21        A.    Yes.

   13:52:30 22        Q.    And you'll see at the very top of the page

   13:52:33 23    in that first paragraph that says this is very

   13:52:35 24    embarrassing"?

   13:52:36 25        A.    Yes.

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                                           ROUGH DRAFT



   13:52:38   1       Q.    She says in the middle of the sentence, in

   13:52:41   2   the middle of the paragraph:

   13:52:42   3                    "I had my son itemize Joe's

   13:52:45   4             1992 checks and bank statements to

   13:52:47   5             see where his money went.    We've

   13:52:51   6             been able to account for most of

   13:52:53   7             his checks."

   13:52:53   8             And that's something that you did at your

   13:52:56   9   mom's request, right?

   13:52:56 10        A.    Yeah, at the time of his death.

   13:52:56 11        Q.    Correct?

   13:52:56 12        A.    Yes.

   13:52:58 13        Q.    Okay.   Were you aware that your mother was

   13:53:00 14    communicating with Time-Warner about these matters?

   13:53:07 15        A.    I had some awareness.

   13:53:09 16        Q.    Did you help her draft the letters?

   13:53:12 17        A.    I -- no, I did not.

   13:53:14 18        Q.    Were you living with her at the time?

   13:53:15 19        A.    Yes, I was -- after my father had died and

   13:53:21 20    before we moved to Santa Fe, yes.

   13:53:23 21        Q.    I thought your dad died in 1996?

   13:53:25 22        A.    Yes.

   13:53:25 23        Q.    This is 1992?

   13:53:26 24        A.    Wait a minute.   After?   Oh I'm mixed up.

   13:53:28 25    Sorry.    Okay well he was alive, then. , yeah.

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                                          ROUGH DRAFT



   13:53:31   1   Anyway, I -- 1992.    That's a long time ago.   Didn't

   13:53:38   2   realize.

   13:53:38   3              I -- no, I did not help her with this,

   13:53:41   4   though.    I did not see this.

   13:53:42   5       Q.     Do you know if your dad was helping your

   13:53:44   6   mom write these letters?

   13:53:46   7       A.     No, I don't know.

   13:53:53   8       Q.     Did you attend Joe Shuster's funeral?

   13:53:56   9       A.     Yes.

   13:54:02 10        Q.     The one in Los Angeles or the memorial

   13:54:03 11    service in New York?

   13:54:04 12        A.     It was New York.

   13:54:15 13        Q.     Videographer interruption.

   13:54:15 14    BY MR. PETROCELLI:

   13:54:18 15        Q.     The next paragraph on the second page of

   13:54:24 16    your mother's typewritten letter it indicates that

   13:54:35 17    Joe was paying over $1,200 a month to Joanne Siegel

   13:54:40 18    for some kind of commission.

   13:54:41 19               Do you see that?

   13:54:41 20        A.     Yes.

   13:54:42 21        Q.     Were you aware over the years that your

   13:54:47 22    uncle was paying a commission to the Siegel family?

   13:54:55 23        A.     Not at the time.

   13:54:57 24        Q.     And after your uncle's death in 1992, were

   13:55:01 25    you aware that those commission payments continued?

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                                           ROUGH DRAFT



   13:55:08   1         A.   After his death?

   13:55:11   2         Q.   Yes.    Were you aware whether any commission

   13:55:13   3   payments continued to Joanne Siegel after Joe's

   13:55:16   4   death based on money that Warner Bros. or Warner

   13:55:21   5   communication or DC was paying to the Shuster

   13:55:25   6   family?

   13:55:26   7         A.   She might have mentioned something about

   13:55:29   8   it.

   13:55:30   9         Q.   She being whom?

   13:55:30 10          A.   Jean.

   13:55:32 11          Q.   Mentioned to you that commissions were

   13:55:33 12    being paid?

   13:55:34 13          A.   I -- I think she mentioned something.

   13:55:36 14    That's all I can recall.

   13:55:37 15          Q.   And do you know why commissions were being

   13:55:41 16    paid to Joanne Siegel for monies paid to the Shuster

   13:55:44 17    family?

   13:55:45 18          A.   Not really.

   13:55:49 19          Q.   Did you ever ask why are we paying her

   13:55:52 20    money?

   13:55:52 21          A.   Well, it was Joe, she told me it was Joe

   13:55:56 22    that was paying.

   13:55:56 23          Q.   What about after Joe's death?

   13:55:59 24          A.   No.

   13:55:59 25          Q.   No what?

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                                          ROUGH DRAFT



   13:55:59   1       A.    There was nothing paid after his death.

   13:56:05   2       Q.    Okay.   Go down to the fourth paragraph,

   13:56:07   3   take a quick look at that, Joe's lady friend?

   13:56:10   4       A.    Uh-huh.

   13:56:20   5       Q.    It said Joe's lady friend admitted to me

   13:56:24   6   how generous he had been to her and her son.     Her

   13:56:27   7   son is a psychology professor.

   13:56:27   8             Do you see that?

   13:56:30   9       A.    Yes.

   13:56:30 10        Q.    Do you know who Joe's lady friend was at

   13:56:33 11    that time?

   13:56:38 12        A.    I never met her, I just saw pictures as we

   13:56:43 13    stated earlier yes, sir I just saw pictures of her.

   13:56:46 14        Q.    Is it your understanding the reference to

   13:56:48 15    the lady friend was the woman that Joe had married

   13:56:50 16    because you talked about pictures of Joe's former

   13:56:52 17    spouse?

   13:56:52 18        A.    That's a good question.     Joe's lady friend

   13:56:59 19    Ts must have been another lady friend after.

   13:57:01 20        Q.    Did you ever meet that person?

   13:57:03 21        A.    No.

   13:57:04 22        Q.    Do you know who the son is, the psychology

   13:57:05 23    professor?

   13:57:05 24        A.    I think I very briefly met him very briefly

   13:57:11 25    after Joe's death.

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                                           ROUGH DRAFT



   13:57:13   1       Q.    Where did you meet him?

   13:57:16   2       A.    He came by Joe's a apartment briefly.

   13:57:20   3       Q.    Do you remember his name?

   13:57:21   4       A.    Oh, boy, no.

   13:57:22   5       Q.    Have you had any contact with him since?

   13:57:23   6       A.    No.

   13:57:24   7       Q.    Do you know where he taught?

   13:57:28   8       A.    No, I don't remember.

   13:57:36   9       Q.    And then if you go to the last page of your

   13:57:37 10    mother's letter, you'll see a reference to the

   13:57:41 11    agreement with Joanne Siegel to take 20 percent of

   13:57:44 12    his, his being Joe's being.

   13:57:48 13              Have you ever seen a written agreement to

   13:57:50 14    that effect?

   13:57:51 15        A.    No, I haven't.

   13:57:59 16        Q.    Now, did you have any interactions at all

   13:58:01 17    in 1992 with the people at Time-Warner, time --

   13:58:06 18    Time-Warner or DC Comics?

   13:58:07 19        A.    No.

   13:58:08 20        Q.    Like Paul Levitz or Marty Payson, any of

   13:58:11 21    those people?

   13:58:12 22        A.    No, I did not.   SP.

   13:58:13 23        Q.    At any time prior to contacting

   13:58:17 24    Mr. Toberoff did you have any contact with any

   13:58:20 25    representatives of DC Comics or Time-Warner?

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                                         ROUGH DRAFT



   13:58:26   1       A.    If -- if I had -- I might have had contact

   13:58:32   2   but it wasn't regarding any rights.

   13:58:34   3       Q.    What was it regarding?

   13:58:36   4       A.    I think my mother had written to Paul about

   13:58:41   5   A I've got a screen play, are you interested?   And

   13:58:45   6   there was another book that I had written to submit

   13:58:51   7   to Warner books and she had asked for a contact.

   13:58:57   8   That's all I recall.

   13:58:58   9       Q.    Did you ever talk to Frank Shuster, he was

   13:59:01 10    your uncle, right?

   13:59:01 11        A.    Yes.

   13:59:03 12        Q.    About Joe Shuster's copyright interests?

   13:59:08 13        A.    No.

   13:59:18 14        Q.    Do you know what year your uncle passed

   13:59:22 15    away?

   13:59:22 16        A.    I don't recall the exact year.

   13:59:29 17        Q.    1996 sound right?

   13:59:32 18        A.    Yeah.

   13:59:32 19        Q.    Okay.   Prior to Frank Shuster's death,

   13:59:39 20    that's what I meant by your uncle?

   13:59:43 21        A.    Uh-huh.

   13:59:43 22        Q.    Prior to Frank Shuster's death in 1996, to

   13:59:46 23    be clear, you never had any discussions with him on

   13:59:49 24    the subject of copyright interests or terminating

   13:59:50 25    copyright interests?

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                                         ROUGH DRAFT



   13:59:50   1       A.    No, I did not.

   13:59:52   2       Q.    Okay.   Can you turn to Exhibit 4?

   14:00:14   3       A.    Oh, okay.

   14:00:14   4               (The document referred to was

   14:00:14   5             marked for identification by the

   14:00:14   6             C.S.R. as Exhibit 4 and attached to

   14:00:16   7             this deposition.)

   14:00:16   8   BY MR. PETROCELLI:

   14:00:16   9       Q.    This is a letter from Frank Shuster to Paul

   14:00:18 10    Levitz dated September 10, 1992.

   14:00:23 11              Have you ever seen this letter before

   14:00:24 12    today?

   14:00:35 13        A.    I don't think so --

   14:00:36 14        Q.    Did you become aware that after Joe

   14:00:37 15    Shuster's death as a result of your mother's efforts

   14:00:46 16    DC Comics or Time-Warner agreed to make pension

   14:00:54 17    payments or payments to the Shuster family?

   14:00:57 18        A.    I was aware of a pension agreement.

   14:01:02 19        Q.    And are you aware that after Joe Shuster's

   14:01:04 20    death, that -- that the folks at Time-Warner or DC

   14:01:12 21    Comics agreed to increase payments?

   14:01:17 22        A.    No, I didn't know the details, no.

   14:01:21 23        Q.    Was your father working in 1992 or was he

   14:01:27 24    retired or disabled?

   14:01:33 25        A.    I believe he was mostly retired.

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                                          ROUGH DRAFT



   14:01:40   1       Q.    Do you know if he had a pension?

   14:01:41   2       A.    Yes.

   14:01:44   3       Q.    From where?

   14:01:50   4       A.    It was a teacher retirement system and a

   14:01:52   5   civil service.

   14:01:54   6       Q.    From Texas?

   14:01:55   7       A.    Yes.

   14:01:58   8       Q.    El- -- where did you say?

   14:01:59   9       A.    Texas A&M.

   14:02:01 10        Q.    That's right, Texas A&M.

   14:02:03 11              Did your mother have any source of income

   14:02:10 12    in 1992 in the years thereafter other than what she

   14:02:13 13    received from DC Comics or Time-Warner?

   14:02:16 14        A.    She had a survivor's pension.

   14:02:23 15        Q.    From your dad -- for your dad's employment?

   14:02:26 16        A.    Yes.

   14:02:26 17        Q.    Other than that?

   14:02:26 18        A.    No.

   14:02:31 19        Q.    And forgive me, I don't remember your

   14:02:33 20    answer, but have you seen this document Exhibit 4

   14:02:37 21    before today?

   14:02:38 22        A.    I don't believe so.

   14:02:43 23        Q.    Okay.   Were you aware that Frank Shuster

   14:02:46 24    had requested that payments -- were you aware that

   14:02:54 25    Time-Warner or DC Comics was making payments also to

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                                         ROUGH DRAFT



   14:02:58   1   Frank Shuster after Joe Shuster's death?

   14:03:03   2         A.   I don't -- no, I don't think I knew the

   14:03:05   3   details.

   14:03:05   4         Q.   Did you know that he was receiving money?

   14:03:07   5         A.   No.

   14:03:12   6         Q.   I'll direct you to the third paragraph of

   14:03:16   7   this letter by Frank to Paul Levitz.   He states the

   14:03:22   8   suggestion that payments were made in her name,

   14:03:25   9   meaning your mother's name -- she would not pursue

   14:03:30 10    the termination of the Superman copyright as

   14:03:33 11    provided for to creators heirs in the 1976 U.S.

   14:03:38 12    copyright act and that she could send me whatever

   14:03:43 13    money I wanted as a gift which would not be taxable

   14:03:45 14    to me."

   14:03:46 15               Were you aware of an arrangement whereby DC

   14:03:50 16    Comics or Time-Warner agreed to give money to Jean

   14:03:55 17    who in turn would then gift it to Frank.

   14:03:58 18          A.   I never heard that from her, those details,

   14:04:04 19    no.

   14:04:05 20          Q.   Did you know of any of this prior to the

   14:04:07 21    time you contacted Mr. Toberoff?

   14:04:09 22          A.   I don't think I did.

   14:04:14 23          Q.   Prior to the time you contacted

   14:04:16 24    Mr. Toberoff, did you know that Frank Shuster had

   14:04:21 25    suggested that Jean Peavy would not pursue the

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                                           ROUGH DRAFT



   14:04:26   1   termination of the Superman copyright under the 1976

   14:04:31   2   U.S. copyright act?

   14:04:32   3       A.     I didn't know anything about this.

   14:04:36   4       Q.     Is this the first time you've learned about

   14:04:40   5   that?

   14:04:40   6       A.     Yes.

   14:04:41   7       Q.     Okay.    Go to the second page of this letter

   14:04:51   8   and you'll see in the second paragraph that it

   14:04:53   9   refers to the memorial service held in New York on

   14:04:56 10    September 24.      It says:

   14:05:00 11                      "Some of Joe's relatives have

   14:05:02 12               said they would like to attend."

   14:05:05 13               You indicated you attended, right.

   14:05:05 14        A.     Yes.

   14:05:08 15        Q.     Who else attended, if you remember?

   14:05:12 16        A.     Oh, boy.   There was -- it seems to me that

   14:05:19 17    some of Siegel's relatives might have been there

   14:05:21 18    because they lived in the northeast part of the

   14:05:23 19    country.

   14:05:23 20        Q.     The Siegel relatives?

   14:05:25 21        A.     A few.   I don't recall -- I didn't know

   14:05:27 22    really any of the others.      I don't recall any other

   14:05:32 23    Shuster relatives besides Frank.

   14:05:34 24        Q.     Your sister attend, Dawn?

   14:05:39 25        A.     No.    I don't think so.

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                                           ROUGH DRAFT



   14:05:40   1       Q.    Your father?

   14:05:40   2       A.    Yes.

   14:05:41   3       Q.    And your mother?

   14:05:42   4       A.    Yes.

   14:05:43   5       Q.    And Frank?

   14:05:44   6       A.    Right.

   14:05:47   7       Q.    Let's turn to Exhibit 5.

   14:05:59   8               (The document referred to was

   14:05:59   9             marked for identification by the

   14:05:59 10              C.S.R. as Exhibit 5 and attached to

   14:06:02 11              this deposition.)

   14:06:02 12    BY MR. PETROCELLI:

   14:06:03 13        Q.    Exhibit 5 is an agreement apparently signed

   14:06:08 14    by Frank Shuster and Jean Peavy on October 2, 1992

   14:06:13 15    dated as of August 1, 1992.

   14:06:18 16              An agreement between DC Comics and Jean

   14:06:22 17    Shuster Peavy and Frank Shuster.

   14:06:25 18              Have you ever seen this document before

   14:06:27 19    today?

   14:06:28 20        A.    Yes.

   14:06:29 21        Q.    When did you first see this document?

   14:06:30 22        A.    I -- I found it in -- when I started

   14:06:36 23    working with Marc Toberoff and we were -- it came up

   14:06:42 24    at that time, sometime around -- sometime around

   14:06:45 25    that time, as I recall.

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                                         ROUGH DRAFT



   14:06:49   1       Q.    Where did you find this document?

   14:06:54   2       A.    Where -- that's a good question.    Marc

   14:06:59   3   Toberoff might have showed it to me.    I don't -- I

   14:07:03   4   don't recall where I first saw it.     I know that I

   14:07:05   5   saw it around that time.

   14:07:07   6       Q.    Did you send -- after you retained

   14:07:11   7   Mr. Toberoff or around the time you retained him,

   14:07:13   8   did you collect materials and send them to him?

   14:07:17   9       A.    Yes.

   14:07:20 10        Q.    Was this Exhibit 5 one of the documents you

   14:07:24 11    sent him?

   14:07:26 12        A.    It could have been.

   14:07:28 13        Q.    Did you discuss Exhibit 5 with your mother?

   14:07:31 14        A.    I don't know.   I don't remember.   I

   14:07:40 15    don't -- I -- that was when I saw it.    I didn't know

   14:07:44 16    it was until at that time, I didn't-I didn't know

   14:07:48 17    she had this.

   14:07:50 18        Q.    When you saw it is when you first learned

   14:07:51 19    that -- that Frank and Jean were getting $25,000 a

   14:07:57 20    year and all?

   14:07:58 21        A.    Yes.

   14:07:58 22        Q.    The other details in this?

   14:08:00 23        A.    Yes.

   14:08:06 24        Q.    Now at the -- around this time then you had

   14:08:08 25    been doing your research on the copyright

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                                          ROUGH DRAFT



   14:08:11   1   termination issue, including having read the 1998

   14:08:16   2   amendment to the copyright law right?

   14:08:18   3       A.    Yes.

   14:08:18   4             MR. TOBEROFF:   Objection.   Misstates his

   14:08:20   5   testimony.

   14:08:20   6   BY MR. PETROCELLI:

   14:08:23   7       Q.    And?

   14:08:25   8             MR. TOBEROFF:   Give me time to object

   14:08:26   9   please and listen carefully to all aspects of his

   14:08:30 10    questions.

   14:08:30 11    BY MR. PETROCELLI:

   14:08:32 12        Q.    You had -- you reached out to Mr. Toberoff

   14:08:41 13    in 2001, you said, and you had reached out to the

   14:08:45 14    Albuquerque lawyer around the second half of 1999?

   14:08:49 15        A.    Yes.

   14:08:49 16        Q.    And in between that time period, were you

   14:08:55 17    steadily doing research on this issue of whether

   14:08:58 18    there were termination rights under the -- under the

   14:09:01 19    copyright laws?    Or had you put it down for a while

   14:09:05 20    and then started up again in 2001?

   14:09:12 21        A.    Oh, I -- I don't remember exactly how much

   14:09:15 22    research I did this between those times.      I'm not

   14:09:18 23    sure.    I might have set it aside and started up

   14:09:22 24    again.

   14:09:23 25        Q.    And at the point when you first went to

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   14:09:27   1   your mom to explain that you had been doing this

   14:09:30   2   research, and you had reached out and found a lawyer

   14:09:34   3   that you wanted to recommend?

   14:09:35   4       A.    Uh-huh.

   14:09:37   5       Q.    -- did you discuss this letter with her and

   14:09:40   6   whether this letter affected the family's ability to

   14:09:45   7   claim any termination rights?

   14:09:47   8       A.    I didn't know about it, then.

   14:09:49   9       Q.    Well, you learned about it not long

   14:09:53 10    thereafter, right, because you found it as among the

   14:09:56 11    materials that you were gathering for Mr. Toberoff,

   14:09:56 12    right?

   14:09:59 13        A.    When I entered into an agreement with

   14:10:01 14    Mr. Toberoff around that time.

   14:10:05 15        Q.    It's when you found it, right?

   14:10:05 16        A.    Yes.

   14:10:08 17        Q.    And you don't remember where you found it?

   14:10:09 18        A.    It would have been -- it would have been in

   14:10:16 19    Jean's files somewhere.

   14:10:18 20        Q.    When you say "Jean's files, do you call

   14:10:20 21    your mom Jean?

   14:10:21 22        A.    Oftentimes.   Sometimes mom and oftentimes

   14:10:24 23    Jean.

   14:10:24 24        Q.    Okay.   When you -- where are Jean's files,

   14:10:41 25    as you put it, -- strike that.

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                                          ROUGH DRAFT



   14:10:42   1             Where were -- you were living in 19 -- in

   14:10:47   2   2001 when you retained Mr. Toberoff in the same home

   14:10:52   3   you're living now?

   14:10:53   4       A.    Yes.

   14:10:54   5       Q.    Okay.   And does Jean have her own study or

   14:10:57   6   place where she keeps her files?

   14:10:59   7       A.    Yes.

   14:11:00   8       Q.    Separate from yours?

   14:11:01   9       A.    Yes.

   14:11:04 10        Q.    And when you were doing your research, did

   14:11:07 11    you even before you called Mr. Toberoff, did you go

   14:11:12 12    through Jean's files to see what documents she had

   14:11:15 13    relating to Joe Shuster's copyrights?

   14:11:21 14        A.    No.    I didn't.

   14:11:32 15        Q.    At the time -- at the time that you first

   14:11:45 16    saw Exhibit 5, I assume you read it, correct?

   14:11:45 17        A.    Yes.

   14:11:55 18        Q.    Okay.   And you saw the reference in the

   14:11:57 19    second paragraph to fully settling all claims to any

   14:12:10 20    payments or other rights or remedies which you may

   14:12:12 21    have under any other agreement or otherwise whether

   14:12:16 22    now or hereafter existing regarding any copyrights,

   14:12:20 23    trademarks or other property right and any and all

   14:12:24 24    works created in whole or in part by your brother

   14:12:27 25    Joseph Shuster or any works based there on.

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                                         ROUGH DRAFT



   14:12:32   1             You read that language, right?

   14:12:32   2       A.    Yes.

   14:12:34   3       Q.    And you also read the next sentence which

   14:12:36   4   said in any event you now grant to us any such

   14:12:39   5   rights and release us.    Our licensees and all others

   14:12:45   6   and it goes on and I won't read the rest of the --

   14:12:48   7   the legal words there.

   14:12:50   8             When you read those words in that second

   14:12:54   9   paragraph, did you believe they had any impact on

   14:13:00 10    whether your family had any termination rights?

   14:13:08 11        A.    If I can answer that, I -- no, I did not

   14:13:12 12    think it affected the -- the rights that I was

   14:13:16 13    looking at.

   14:13:17 14        Q.    And why is that?

   14:13:20 15        A.    Because the copyright act allows the

   14:13:25 16    estate's rights.

   14:13:32 17        Q.    Because the copyright act allows the

   14:13:37 18    estate's rights?

   14:13:38 19        A.    Grants estates rates.

   14:13:40 20        Q.    Okay.

   14:13:41 21        A.    Estates, rights.

   14:13:42 22        Q.    Okay.

   14:13:45 23              MR. TOBEROFF:   Apostrophe you mean.

   14:13:45 24    BY MR. PETROCELLI:

   14:13:47 25        Q.    Apostrophe you mean?

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   14:13:48   1          A.   Okay, yes.

   14:13:50   2          Q.   Did you consult with anyone other than

   14:13:53   3   Mr. Toberoff whether this paragraph had any affect

   14:13:57   4   on any termination rights you were inquiring about?

   14:14:00   5          A.   No.

   14:14:03   6          Q.   Did you go to your mom and say, Jean,

   14:14:06   7   what's this about, you know, why did we do this, ask

   14:14:13   8   her to explain the circumstances to you?        Did you

   14:14:15   9   have any discussion with her about this agreement

   14:14:19 10    and in particular, the paragraph that I just read to

   14:14:23 11    you?

   14:14:25 12           A.   I'm sure I asked her about it.

   14:14:28 13           Q.   What did she say?

   14:14:31 14                MR. TOBEROFF:   Again, I just -- and I'm --

   14:14:35 15    I want you to freely testify based on your memory

   14:14:38 16    but when you say "I'm sure I asked her about it,"

   14:14:41 17    that makes me wonder whether you recall asking her

   14:14:45 18    about it or you're assuming you asked her about it.

   14:14:49 19    I don't want you to make assumptions and speculate.

   14:14:51 20                THE WITNESS:    Okay.

   14:14:51 21                MR. TOBEROFF:   I want you to testify from

   14:14:51 22    memory.

   14:14:52 23                THE WITNESS:    I don't remember.

   14:14:53 24                MR. TOBEROFF:   Even if you have the

   14:14:54 25    slightest memory I want you to testify as to that

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   14:14:57   1   memory as Mr. Petrocelli aptly put it.

   14:15:01   2              THE WITNESS:    I don't remember what I said.

   14:15:02   3   I can't recall the conversation.        I'm just assuming

   14:15:05   4   that I asked her about it.

   14:15:09   5              MR. TOBEROFF:   I don't want you to assume.

   14:15:10   6   I want you to testify from your memory.

   14:15:12   7              THE WITNESS:    Okay. Well I don't recall the

   14:15:13   8   conversation.

   14:15:13   9   BY MR. PETROCELLI:

   14:15:20 10          Q.   Now, you said you read that paragraph and

   14:15:24 11    having studied the copyright code in which estates

   14:15:28 12    had certain rights you believe that this paragraph

   14:15:30 13    had no bearing on the estates' rights, correct?

   14:15:39 14          A.   Yes.

   14:15:40 15          Q.   Is that a conclusion that you reached

   14:15:43 16    without much thought or did you think about it?       Did

   14:15:46 17    you go back and look at the code?       Did you ask

   14:15:51 18    around?    Did you inquire of the Siegels?

   14:15:55 19          A.   I am -- employed Marc Toberoff to represent

   14:15:58 20    me.

   14:16:06 21          Q.   And is that the answer to my question?

   14:16:07 22          A.   Yes, yes.

   14:16:08 23          Q.   So in order to determine the impact that

   14:16:09 24    this had you wanted Mr. Toberoff to assist in that?

   14:16:12 25          A.   Yes.

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   14:16:13   1          Q.   Okay.   Did you receive any money when you

   14:16:20   2   signed the first document or agreement with

   14:16:23   3   Mr. Toberoff?

   14:16:24   4          A.   No.

   14:16:26   5          Q.   Did he pay you or your family any money?

   14:16:28   6          A.   No.

   14:16:51   7          Q.   As we'll see momentarily, you -- the first

   14:16:55   8   agreement you signed was with a company that

   14:17:00   9   Mr. Toberoff owned called Pacific Pictures

   14:17:04 10    Corporation.       Do you remember the name of that

   14:17:05 11    company?

   14:17:06 12           A.   Yes.

   14:17:09 13           Q.   Did you receive any money or did members of

   14:17:11 14    your family receive any money from Pacific Pictures

   14:17:14 15    Corporation?

   14:17:14 16           A.   No.

   14:17:14 17           Q.   Or any other entity with which Mr. Toberoff

   14:17:17 18    was affiliated?

   14:17:18 19           A.   No.

   14:17:26 20           Q.   Now, I'll come back to this letter moment,

   14:17:40 21    this agreement, Exhibit 5, but let's go to Exhibit 6

   14:17:43 22    now.

   14:17:43 23                  (The document referred to was

   14:17:43 24                marked for identification by the

   14:17:43 25                C.S.R. as Exhibit 5 and attached to

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   14:17:52   1              this deposition.)

   14:17:52   2   BY MR. PETROCELLI:

   14:17:53   3       Q.     Exhibit 6 is a document, letter between

   14:17:55   4   Frank Shuster and Paul Levitz dated October 2, 1992.

   14:18:07   5   Which briefly states in consideration of the

   14:18:09   6   agreement dated as of August 1, 1992, between DC

   14:18:13   7   Comics, myself and Jean Shuster Peavy, I hear by way

   14:18:17   8   of any rights or remedies that I may have under the

   14:18:19   9   agreement dated December 23, 1975 between Warner

   14:18:25 10    communications, Inc., Jerome Siegel and Joseph

   14:18:29 11    Shuster.

   14:18:30 12               This is the first time you've seen this

   14:18:35 13    document?

   14:18:35 14        A.     Yes.

   14:18:36 15        Q.     Okay.   One second.   Jason --

   14:18:51 16               (Pause in proceedings.)

   14:18:51 17    BY MR. PETROCELLI:

   14:19:08 18        Q.     After Joe Shuster passed away in 1992, did

   14:19:11 19    you assist in finding an estate lawyer or anybody to

   14:19:17 20    deal with his estate issues?

   14:19:22 21        A.     No.

   14:19:30 22        Q.     Did you come across a copy of his will in

   14:19:33 23    1992?

   14:19:34 24        A.     I don't know if we found his copy.   We had

   14:19:43 25    a copy and an original.    I don't know if we found

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   14:19:48   1   his copy.   It was disorganized.

   14:19:52   2       Q.    Did you find an original?

   14:19:54   3       A.    Yes.

   14:19:56   4       Q.    Is there any reason why the original wasn't

   14:19:58   5   made available when the probate was opened in

   14:20:01   6   Los Angeles in 2003?

   14:20:04   7       A.    Yes.

   14:20:06   8       Q.    What's the reason?

   14:20:06   9       A.    My mother had lost it back in a file

   14:20:10 10    somewhere, mixed up.    We found it later.

   14:20:15 11        Q.    When did you start using your lock box?

   14:20:22 12        A.    Soon thereafter.

   14:20:23 13              MR. PETROCELLI:     Jason does this have an

   14:20:25 14    Exhibit Number?

   14:20:27 15              MR. TOKORO:   Yes, it's number 26.

   14:20:31 16              MR. PETROCELLI:     I already used 26 I

   14:20:32 17    thought, no?     I used 24.   Okay.

   14:20:37 18                 (The document referred to was

   14:20:37 19              marked for identification by the

   14:20:37 20              C.S.R. as Exhibit 26 and attached

   14:20:38 21              to this deposition.)

   14:20:38 22    BY MR. PETROCELLI:

   14:20:38 23        Q.    Take a look at Exhibit 26.

   14:20:43 24              This is a copy of Mr. Shuster's -- what

   14:20:48 25    purports to be Mr. Shuster's last will and

                                                                          137




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   14:20:50   1   testament.    And you've seen a copy of his will

   14:20:56   2   before, right?

   14:20:56   3       A.    Yes.

   14:20:59   4       Q.    And by the way, on the second page it

   14:21:01   5   identifies a couple of the -- it identifies two

   14:21:05   6   witnesses to the execution of his will.   Do you know

   14:21:11   7   who these people are?

   14:21:14   8       A.    Not personally, no.

   14:21:16   9       Q.    Have you ever spoken to them?

   14:21:16 10        A.    No.

   14:21:24 11        Q.    One is named Tom last name seems to be FA?

   14:21:29 12              MR. TOBEROFF:   FE.

   14:21:30 13              MR. PETROCELLI:   FE N/A U G H T Y and the

   14:21:37 14    other one appears to be Robert S Williams.

   14:21:40 15        Q.    But you don't know either of them.

   14:21:41 16              Is that right ?

   14:21:42 17        A.    I don't know them.

   14:21:43 18        Q.    Either of these two people?

   14:21:44 19        A.    I don't know them, no.

   14:21:46 20        Q.    Never heard the names before, right?

   14:21:50 21        A.    Only when I saw the -- the will.

   14:21:52 22        Q.    Did you try contacting them?

   14:21:54 23        A.    No.

   14:21:55 24        Q.    Okay.   Now attached to this document on the

   14:21:58 25    third page of Exhibit 26 is an affidavit of Jean

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   14:22:03   1   Peavy under California probate code section 13101.

   14:22:12   2   It's dated August 17, 1992 and it's signed by Jean

   14:22:15   3   Peavy.

   14:22:16   4              Do you -- have you ever seen this document

   14:22:19   5   before?

   14:22:20   6         A.   I might have seen this document.

   14:22:31   7         Q.   Do you know --

   14:22:31   8         A.   I might have seen this.

   14:22:33   9         Q.   What do you remember about it?

   14:22:36 10          A.   I know that his estate was so small that he

   14:22:38 11    had to go through the small estates -- small estates

   14:22:49 12    code or something like that.     That was -- that's all

   14:22:52 13    I know.

   14:22:52 14          Q.   Do you know who prepared this document?

   14:22:56 15          A.   I don't remember.

   14:22:59 16          Q.   Did you assist in finding a person to

   14:23:01 17    prepare it?

   14:23:05 18          A.   Yeah, I might have assisted.

   14:23:07 19          Q.   Who did you locate?   An attorney?

   14:23:14 20          A.   No.   I don't believe so.   I don't believe

   14:23:14 21    so.

   14:23:18 22          Q.   Who did you locate?

   14:23:19 23          A.   It would have been either a friend,

   14:23:34 24    unless -- unless I helped with it.     I'm not sure.

   14:23:38 25          Q.   Which friend?

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   14:23:39   1       A.    I don't -- I don't know.     I don't remember.

   14:23:41   2   I -- it's -- it's quite a while back.

   14:23:46   3       Q.    A friend in -- in Los Angeles?     Or where

   14:23:51   4   you lived?

   14:23:52   5       A.    Yeah, it could have been Los Angeles.

   14:23:53   6       Q.    What friend did you have in Los Angeles

   14:23:55   7   that might have assisted you in 1992?

   14:23:57   8       A.    I might have done this.      Just with the

   14:23:59   9   small estate -- I might have assisted her with this.

   14:24:04 10    I'm not recalling

   14:24:04 11        Q.    You might have prepared it?

   14:24:05 12        A.    I might have.   Yeah, it's been a long time.

   14:24:15 13        Q.    What happens to the shares of stock in

   14:24:16 14    time -- in the Time-Warner rights?      Those were given

   14:24:19 15    to your mom?

   14:24:20 16        A.    Yeah, those were stock rights, I believe.

   14:24:23 17    Not copyright rights.     Stock.   It was -- gee, it

   14:24:29 18    must have -- I don't know, she must have -- she must

   14:24:34 19    have sold the stock for cash, I guess.

   14:24:37 20        Q.    To have prepared a document like this, did

   14:24:42 21    you research the law books and find a -- a model

   14:24:45 22    that you could use?

   14:24:50 23        A.    I must have.    I -- it was such a -- this --

   14:24:53 24    the estate had a negative net worth or it was very

   14:24:57 25    small.    It was very small.   That's what it was.

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   14:24:59   1       Q.    Under $60,000?

   14:25:00   2       A.    Yes.   Yeah it was smaller than that even,

   14:25:02   3   so --

   14:25:03   4       Q.    Paragraph 5 says it's under $60,000?

   14:25:05   5       A.    Right.

   14:25:05   6       Q.    Right?

   14:25:06   7             Okay let's take a look at Exhibit 7.

   14:25:12   8               (The document referred to was

   14:25:12   9             marked for identification by the

   14:25:12 10              C.S.R. as Exhibit 7 and attached to

   14:25:21 11              this deposition.)

   14:25:21 12              THE WITNESS:   7?

   14:25:21 13    BY MR. PETROCELLI:

   14:25:25 14        Q.    This is a letter from Jean to Paul Levitz

   14:25:28 15    of DC dated April 27, 1995 thanking Paul for the

   14:25:37 16    book the adventures of Superman by Lawther, L O W T

   14:25:42 17    H ER that Paul sent.     Talking about the low us and

   14:25:48 18    Clark show and then states being in the middle I do

   14:25:53 19    hope you will remember Frank and myself once again.

   14:25:56 20    Is it possible to reward us with a gift versus a

   14:26:00 21    bonus so that there's no tax liability to us."

   14:26:06 22              Did you become -- first of all, have you

   14:26:11 23    seen this document Exhibit 7 before today.

   14:26:13 24        A.    I don't think I have, no.

   14:26:16 25        Q.    Were you aware that from time to time your

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   14:26:18   1   mom had requested bonuses or -- or gifts from DC in

   14:26:26   2   addition to what was provided in the 1992 agreement?

   14:26:32   3         A.   She might have mentioned something.    I have

   14:26:36   4   not seen this.

   14:26:41   5         Q.   Let's turn to the next exhibit, Exhibit 8.

   14:26:44   6   This is a letter from Jean to Paul Levitz dated

   14:26:47   7   September 7, 1999.

   14:26:50   8                (The document referred to was

   14:26:50   9              marked for identification by the

   14:26:50 10               C.S.R. as Exhibit 8 and attached to

   14:27:01 11               this deposition.)

   14:27:01 12    BY MR. PETROCELLI:

   14:27:02 13          Q.   In the first paragraph it says Mike Catron

   14:27:04 14    recently sent me a video he made of the 1919 action

   14:27:08 15    number 1 comic book panel which I had participated

   14:27:11 16    in.

   14:27:11 17               Mike Catron is a fellow you know who lives

   14:27:15 18    in Pennsylvania.

   14:27:15 19               Is that right?

   14:27:15 20          A.   Yes.

   14:27:16 21          Q.   Okay.   Is is one of Mikes hobbies comic

   14:27:23 22    books or is he involved in the comic book business

   14:27:25 23    somehow?

   14:27:26 24          A.   Yes, he is interested.

   14:27:28 25          Q.   As a hobby or professionally?

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                                         ROUGH DRAFT



   14:27:29   1       A.    Yes, possibly.

   14:27:31   2       Q.    Had you ever seen this video that he sent

   14:27:33   3   your mom?

   14:27:37   4       A.    I don't know if I saw that video.   I don't

   14:27:40   5   remember.

   14:27:40   6       Q.    Have you ever seen this letter before

   14:27:42   7   today, Exhibit 8?

   14:27:45   8       A.    No, this is -- this is her doing.

   14:27:52   9       Q.    And you see in the third paragraph it says

   14:27:54 10    had you once told Frank and I that instead of a

   14:27:56 11    yearly raise of the pension you would prefer to

   14:27:59 12    offer a bonus directly from DC itself.   I'm making

   14:28:03 13    that request again for 1999.

   14:28:04 14              Did she discuss any of these affairs with

   14:28:07 15    you that she was asking for bonuses and how much she

   14:28:10 16    would receive and so forth?    Would she discuss these

   14:28:18 17    matters with you?

   14:28:19 18        A.    From time to time.

   14:28:19 19        Q.    How much was she receiving do you know?

   14:28:24 20        A.    As far as I know, every now and then she

   14:28:27 21    would get a small bonus.

   14:28:33 22        Q.    Did she ever ask for your help in any way?

   14:28:36 23        A.    No, these letters are hers.   I didn't have

   14:28:41 24    any involvement in this.

   14:28:44 25        Q.    Did you have the view that let's say around

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                                         ROUGH DRAFT



   14:28:46   1   1998 to 1999, that your family had not been

   14:28:52   2   adequately compensated by DC Comics or Time-Warner?

   14:28:58   3       A.    Did I have that view?

   14:28:58   4       Q.    Yes.

   14:28:58   5       A.    Yes.

   14:29:01   6       Q.    What informed that view?

   14:29:08   7       A.    What informed the view?

   14:29:09   8       Q.    Yeah, why did you feel that way?

   14:29:13   9       A.    The value of Superman from my own ideas of

   14:29:20 10    what I know of it.

   14:29:27 11        Q.    When did you first have that view?

   14:29:30 12        A.    About how much Superman is worth?

   14:29:32 13        Q.    That you did not believe your family was

   14:29:34 14    being properly compensated?

   14:29:40 15        A.    When did I first have that view?    Well,

   14:29:46 16    maybe later on when I -- when I -- I realized how --

   14:29:56 17    how broke Joe was when he died and I know that

   14:30:02 18    Superman had brought in billions in revenues over

   14:30:06 19    the years and they had a -- basically just how --

   14:30:14 20    how poor he was in relation to the value of

   14:30:18 21    Superman.

   14:30:20 22        Q.    But you also knew that Joe never felt the

   14:30:22 23    need to terminate or try to terminate his copyright

   14:30:26 24    grants, right?

   14:30:30 25              MR. TOBEROFF:   Assumes facts.

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                                           ROUGH DRAFT



   14:30:31   1             THE WITNESS:   My knowledge of the history

   14:30:36   2   is that they did try to get rights back at times.

   14:30:36   3   BY MR. PETROCELLI:

   14:30:40   4       Q.    He never tried to get rights back under the

   14:30:43   5   termination provisions of the 1976 copyright act,

   14:30:43   6   right?

   14:30:47   7       A.    Not that I -- no, not on that.

   14:30:49   8       Q.    Did you ever inquire why if he felt -- if

   14:30:53   9   he was as broke as -- as you say he was, why he

   14:30:56 10    didn't seek to terminate any copyright grants that

   14:31:00 11    he had given?

   14:31:02 12        A.    I didn't ask him about it.

   14:31:04 13        Q.    Did you ask your mother?

   14:31:05 14        A.    No.

   14:31:11 15        Q.    Did you become aware as part of your

   14:31:13 16    research that as early as 1994 Joe Shuster had the

   14:31:17 17    right to serve a notice of copyright termination

   14:31:23 18    under the 1976 act?

   14:31:24 19        A.    No.

   14:31:26 20        Q.    And that he lived for eight years without

   14:31:29 21    having done so?

   14:31:32 22        A.    I was not aware.

   14:31:35 23        Q.    After you saw how broke he was, and I know

   14:31:37 24    you were involved in totaling up the -- the checks

   14:31:39 25    and the bills that we saw from your mother's letter,

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                                         ROUGH DRAFT



   14:31:44   1   did you discuss with your mother the idea that hey,

   14:31:47   2   what happened here?   You know, why is he so broke?

   14:31:50   3   Superman has made billions?

   14:31:55   4       A.    Yeah, might have -- might have asked her

   14:31:58   5   about it.

   14:31:58   6       Q.    What did she say?

   14:32:02   7       A.    That it's just expressed that it was just

   14:32:08   8   an injustice and it was just -- it wasn't right,

   14:32:14   9   that type of thing.

   14:32:19 10        Q.    How did you know as early as $19.92 when

   14:32:23 11    Joe Shuster died that Superman had --, as you put

   14:32:26 12    it, generated billions of in revenue?

   14:32:28 13        A.    Well, I had seen Superman all my life.    I

   14:32:32 14    grew up -- grew up with Superman and the -- the big

   14:32:37 15    movie in '79, the big Superman movie or '78, I was

   14:32:44 16    aware that was the first big Blockbuster super hero

   14:32:48 17    movie that started the whole genre of superior hero

   14:32:53 18    movies that is just the range so I'm just aware

   14:32:55 19    of -- of how wide spread it is and popular.

   14:32:58 20        Q.    You were aware of this in 1992 when Joe

   14:33:00 21    died broke, right?

   14:33:02 22        A.    Yeah, just in general of how the history of

   14:33:06 23    Superman and how big it is.

   14:33:13 24        Q.    And come you had this conversation with

   14:33:15 25    your mother right after Joe's death, you're telling

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                                         ROUGH DRAFT



   14:33:23   1   us that she agreed with you?

   14:33:24   2       A.    Well, she expressed to me that she thought

   14:33:31   3   it was an injustice and did I agree with her is that

   14:33:34   4   what you're asking?

   14:33:35   5       Q.    Yes?

   14:33:36   6       A.    Well, yes.

   14:33:39   7       Q.    The injustice that she expressed to you was

   14:33:41   8   that Joe had so little money when Superman had

   14:33:44   9   generated so much?

   14:33:45 10        A.    Yes.

   14:33:53 11        Q.    So did it come as a surprise to you then

   14:33:55 12    that she entered into an agreement after that

   14:33:59 13    conversation with DC and Time-Warner in which she

   14:34:06 14    gave up any copyright interest that the family might

   14:34:10 15    have?

   14:34:10 16        A.    I don't know what her thinking was.

   14:34:13 17              MR. TOBEROFF:   Sorry.   Assumes facts.

   14:34:16 18    Lacks foundation.

   14:34:16 19    BY MR. PETROCELLI:

   14:34:18 20        Q.    She didn't consult with you, right?

   14:34:18 21        A.    No.

   14:34:20 22        Q.    She was certainly of sound mind in 1992,

   14:34:20 23    right?

   14:34:20 24        A.    Yes.

   14:34:24 25        Q.    When she was expressing to you the

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                                           ROUGH DRAFT



   14:34:26   1   injustice after Joe's death, you didn't think she --

   14:34:30   2   she was mentally infirm, you thought that she was

   14:34:34   3   healthy and sound and knew exactly what she was

   14:34:35   4   saying, right?

   14:34:36   5       A.    Yes.

   14:34:36   6       Q.    And in -- and she didn't consult with you

   14:34:41   7   when she signed that agreement, Exhibit 5, as of

   14:34:46   8   August 31, 1992, correct?

   14:34:48   9       A.    That's correct.

   14:34:50 10        Q.    And when you saw it, were you surprised

   14:34:52 11    that she had signed that agreement given her

   14:34:54 12    statements to you that it was an injustice?

   14:34:57 13        A.    Well, yes.

   14:34:59 14        Q.    Do you think that she felt like the

   14:35:00 15    injustice had been rectified by virtue of her having

   14:35:05 16    obtains that agreement from DC?

   14:35:07 17              MR. TOBEROFF:   Calls for speculation.

   14:35:09 18              THE WITNESS:    I can answer.

   14:35:09 19    BY MR. PETROCELLI:

   14:35:17 20        Q.    Did you discuss that with her when you saw

   14:35:18 21    the letter?

   14:35:20 22        A.    Yeah what was the original question?

   14:35:21 23        Q.    When you saw the letter, the agreement,

   14:35:23 24    Exhibit 5, and I misspoke, I said August 31, it's

   14:35:28 25    August 1, 1992, when you found it and you saw it,

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   14:35:36   1   did you have a discussion with her to the effect

   14:35:38   2   that -- about whether she felt better now that the

   14:35:42   3   injustice had been -- had been rectified because DC

   14:35:47   4   has -- had entered into this agreement?

   14:35:50   5         A.   No, she didn't feel it had been rectified.

   14:35:52   6         Q.   How do you know?

   14:35:54   7         A.   This is what I recall her telling me 17,000

   14:35:57   8   year after tax as a pension didn't feel it was

   14:36:01   9   rectified.

   14:36:02 10          Q.   Did she -- but you didn't know about this

   14:36:04 11    agreement when she told you that, right?

   14:36:06 12          A.   No. , no.

   14:36:06 13          Q.   And when you saw the agreement, did you

   14:36:09 14    have a discussion with her about why did you sign

   14:36:11 15    it?

   14:36:11 16          A.   Well, well, yeah, I -- I -- I -- I can't

   14:36:17 17    recall what exactly I said but I -- I -- I'm sure I

   14:36:20 18    talked with her.

   14:36:22 19          Q.   Do you know why -- did you ask her well

   14:36:26 20    since we -- since you knew about it the time you

   14:36:29 21    signed this agreement how valuable Superman was, we

   14:36:32 22    had talked about how it was an injustice that Joe

   14:36:35 23    died broke when it made so much money, what was your

   14:36:38 24    thinking in signing this agreement, Exhibit 5?    Did

   14:36:42 25    you have that kind of conversation with her?

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                                             ROUGH DRAFT



   14:36:43   1          A.   Oh, if I asked her that?

   14:36:45   2          Q.   Did you have that kind of discussion with

   14:36:46   3   her?

   14:36:46   4          A.   I -- I -- her thinking was that.

   14:36:50   5               MR. TOBEROFF:    Answer the question.

   14:36:50   6   BY MR. PETROCELLI:

   14:36:51   7          Q.   Did you have that kind of a discussion with

   14:36:53   8   her?

   14:36:53   9          A.   Oh,.   Okay.   Did --

   14:36:56 10           Q.   Are you tracking what I'm asking you?

   14:36:57 11           A.   Yes.   Yes.    I -- I asked her.

   14:37:03 12           Q.   And what did she say?

   14:37:06 13           A.   That she didn't feel that it had rectified

   14:37:10 14    anything.

   14:37:11 15           Q.   Did you ask well then why did you sign it?

   14:37:15 16    Why didn't ask you for more?

   14:37:16 17           A.   I don't -- I don't recall the details.

   14:37:19 18           Q.   Did she say I asked for millions and they

   14:37:21 19    said no?

   14:37:23 20           A.   I -- I think she didn't believe she had any

   14:37:26 21    rights at that time.

   14:37:30 22           Q.   Why did she agree to give up termination

   14:37:33 23    rights if she didn't have any?

   14:37:35 24           A.   I don't know.

   14:37:36 25                MR. TOBEROFF:    Assumes facts.    Lacks

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   14:37:39   1   foundation.   You got to -- we're speeding up here so

   14:37:41   2   you got to keep the same -- he can speed it up.      You

   14:37:44   3   stay the same pace.    Give me time to object.

   14:37:47   4              THE WITNESS:   Okay.

   14:37:47   5   BY MR. PETROCELLI:

   14:37:52   6       Q.     Did she have a discussion with you where

   14:37:55   7   she said I agree to give up termination rights even

   14:38:03   8   though I didn't have any?

   14:38:08   9       A.     I don't -- I don't think she understood

   14:38:14 10    exactly what she signed.     I don't think she

   14:38:17 11    understood the details.     That's my impression.

   14:38:22 12        Q.     She didn't tell you that she didn't

   14:38:26 13    understand it, right?

   14:38:27 14        A.     That was my impression that she didn't.

   14:38:29 15        Q.     But she didn't tell you that, right?

   14:38:31 16        A.     That -- specifically that I don't

   14:38:32 17    understand the details?

   14:38:33 18        Q.     Right.   She did not say to you, I did not

   14:38:36 19    understand what I was signing back in 1992",

   14:38:36 20    correct?

   14:38:40 21        A.     She didn't say that specifically.

   14:38:46 22        Q.     And, in fact, she never once brought this

   14:38:48 23    agreement to your attention until you first found it

   14:38:50 24    and asked her about it, right?

   14:38:51 25        A.     Yes.

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                                           ROUGH DRAFT



   14:38:52   1       Q.    Were you upset when you saw that she had

   14:38:58   2   signed this agreement?

   14:38:58   3       A.    Yes.

   14:39:01   4       Q.    Why?

   14:39:04   5       A.    I -- I didn't know if it affected our

   14:39:07   6   rights or not.

   14:39:09   7       Q.    Why?   Why didn't you know?

   14:39:13   8       A.    I didn't know because I'm not a legal

   14:39:15   9   expert.

   14:39:18 10        Q.    But you were concerned about it, right?

   14:39:21 11        A.    I had concerns.

   14:39:24 12        Q.    Did you ask her why she didn't consult with

   14:39:29 13    a lawyer in 1992?    Or whether she had?

   14:39:34 14        A.    I don't know if I asked her about that.

   14:39:36 15        Q.    Do you know if she had?

   14:39:39 16        A.    I don't know.

   14:39:43 17        Q.    Were you upset that she hadn't consulted

   14:39:47 18    with you in 1992 before signing this document?

   14:39:51 19        A.    Was I upset?    Well, I couldn't do anything

   14:39:53 20    about it.   So I -- I decided to -- to pursue legal

   14:40:00 21    advice instead of getting upset.

   14:40:04 22        Q.    Do you have Exhibit 8 in front of you?    Do

   14:40:14 23    you have it in front of you?

   14:40:15 24        A.    Yes.

   14:40:16 25        Q.    The last paragraph says -- this is your

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                                          ROUGH DRAFT



   14:40:18   1   mother's letter again, September 7, 1999:

   14:40:22   2                    "I have learned from the

   14:40:23   3             Internet that Joanne Siegel has

   14:40:25   4             filed a copyright claim for

   14:40:27   5             Superman.   I want you to know that

   14:40:29   6             I intent to continue to honor our

   14:40:31   7             pension agreement.    I would however

   14:40:35   8             appreciate a generous bonus for

   14:40:37   9             this year as you have done many

   14:40:39 10              times in the past."

   14:40:45 11        Q.    And this is the first time you've seen this

   14:40:48 12    letter?

   14:40:48 13        A.    Yes.

   14:40:50 14        Q.    Okay.   And your mother did not tell you

   14:40:52 15    that she was expressing her gratitude to DC as late

   14:40:55 16    as 1999, even after knowing that the Siegel family

   14:40:58 17    had terminated their interest -- had sought to

   14:41:02 18    terminate their copyright?

   14:41:03 19        A.    No, I did not know about this.

   14:41:04 20        Q.    And did you not know that your mother with

   14:41:07 21    knowledge that the Siegel family had filed for

   14:41:11 22    copyright termination, told DC that she intended to

   14:41:17 23    honor their agreement?

   14:41:18 24        A.    I didn't know this letter.

   14:41:26 25        Q.    Are you aware of any letter that Jean wrote

                                                                         153




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   14:41:28   1   to DC after she signed the 1992 agreement saying

   14:41:31   2   that DC was mistreating her or that there was a

   14:41:35   3   grave injustice being perpetrated on her, or her

   14:41:38   4   family?

   14:41:41   5       A.    I'm not aware of any of her letters really.

   14:41:44   6       Q.    Have you ever seen such a letter to that

   14:41:46   7   effect?

   14:41:46   8       A.    No.

   14:42:00   9       Q.    After you have the conversation with Jean

   14:42:04 10    following Joe's death about the injustice, did you

   14:42:09 11    continue to have conversations with her over the

   14:42:12 12    years from let's say 1992 to 2001 about this

   14:42:18 13    injustice?

   14:42:20 14        A.    I believe it came up from time to time.

   14:42:28 15        Q.    And when it came up she was not telling you

   14:42:31 16    that she was thanking and expressing her gratitude

   14:42:36 17    to DC and affirmatively telling them she had no

   14:42:40 18    intent to exercise any copyright termination rights?

   14:42:43 19        A.    No, she wasn't telling me that.

   14:43:02 20        Q.    Have you -- did you make this letter

   14:43:04 21    available to Mr. Toberoff when you signed the first

   14:43:08 22    document with him?

   14:43:11 23        A.    Exhibit 8?

   14:43:11 24        Q.    Yes.

   14:43:18 25        A.    I don't remember.

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                                             ROUGH DRAFT



   14:43:19   1          Q.   You had never seen it before now, right?

   14:43:21   2          A.   No, I don't -- I don't remember Siegel it

   14:43:25   3   before now, so -- no, I don't.

   14:43:31   4          Q.   Do you think it -- it matters that your --

   14:43:35   5   your mom specifically told DC in September of 1999

   14:43:40   6   that she had no intent to terminate any interest in

   14:43:42   7   Superman?

   14:43:46   8               MR. TOBEROFF:   Ambiguous.   You can only

   14:43:48   9   answer to the extent your answer to that question

   14:43:50 10    isn't based on conversations with your attorney and

   14:43:53 11    legal advice from your attorney.

   14:43:58 12                THE WITNESS:    Yeah, well, issues of -- of

   14:44:03 13    rights are all based on my attorney discussions.

   14:44:08 14                (Instruction not to answer.)

   14:44:08 15    BY MR. PETROCELLI:

   14:44:09 16           Q.   What about your conversations with your

   14:44:11 17    mom?   When you -- have you had any conversations

   14:44:18 18    with her in recent years when you -- in which you

   14:44:27 19    asked her why were you -- why did you tell DC you

   14:44:31 20    wouldn't exercise any rights even after you knew

   14:44:33 21    that the law had changed and that the Siegel family

   14:44:38 22    was doing so?    Did you ever have that kind of

   14:44:40 23    conversation with her?

   14:44:40 24           A.   I never berated her.

   14:44:42 25           Q.   I didn't say berate her.     Did you inquire

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   14:44:45   1   of her?

   14:44:46   2       A.    Inquire.

   14:44:46   3       Q.    Why she would tell DC that she had no

   14:44:49   4   intent to exercise any copyright claims, no intent

   14:44:52   5   to terminate?

   14:44:55   6       A.    Did I --

   14:44:56   7       Q.    Even after the Siegel family terminated

   14:45:01   8   following the 1998 change in the law?

   14:45:07   9             MR. TOBEROFF:   Assumes facts.   Lacks

   14:45:13 10    foundation.

   14:45:13 11        A.    I never really asked her that specifically.

   14:45:13 12    BY MR. PETROCELLI:

   14:45:22 13        Q.    When you -- did you remember when you

   14:45:27 14    finally sat down and told her that you had been

   14:45:29 15    doing all of this research and all of this work and

   14:45:32 16    wanted to go out and hire a lawyer and -- and

   14:45:37 17    terminate grants in Superman that Joe Shuster had

   14:45:44 18    made years before?   Do you remember that

   14:45:46 19    conversation?

   14:45:49 20              MR. TOBEROFF:   Assumes facts.   Lacks

   14:45:52 21    foundation.

   14:45:52 22              THE WITNESS:    Not -- not the specific

   14:45:57 23    conversation, no.    Not a specific conversation.

   14:45:57 24    BY MR. PETROCELLI:

   14:46:02 25        Q.    Well, you said you hasn't -- you didn't

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   14:46:04   1   tell her initially because you wanted to be

   14:46:07   2   thorough, remember?

   14:46:07   3       A.    Right.

   14:46:08   4       Q.    And you were doing this research, you

   14:46:09   5   identified Mr. Toberoff and then at some point you

   14:46:12   6   told her?

   14:46:12   7       A.    Yes.

   14:46:14   8       Q.    That you had been -- did you tell her look,

   14:46:16   9   Jean, or mom, I've been?

   14:46:17 10        A.    Yeah.

   14:46:18 11        Q.    Doing all this work and I want to go ahead

   14:46:21 12    and do this?

   14:46:23 13        A.    At some point I would have said something

   14:46:25 14    to that effect.

   14:46:30 15        Q.    And do you remember what she said to you?

   14:46:32 16        A.    She didn't -- it was not really.   It was

   14:46:42 17    something that was my initiative so no she didn't

   14:46:45 18    say anything particular.

   14:46:53 19        Q.    Exhibit 9, take a look at Exhibit 9.

   14:47:03 20                 (The document referred to was

   14:47:03 21              marked for identification by the

   14:47:03 22              C.S.R. as Exhibit 9 and attached to

   14:47:16 23              this deposition.)

   14:47:16 24              MR. PETROCELLI:   This is the notice of

   14:47:19 25    termination sent by the Siegels in 1997.

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   14:47:31   1       Q.    Have you ever seen this before?

   14:47:32   2       A.    No.

   14:47:34   3       Q.    Did you come across this in any of your

   14:47:36   4   research?

   14:47:39   5       A.    No.    I did not look at this.

   14:47:40   6       Q.    Your mom wrote that she saw that the Siegel

   14:47:42   7   family had -- had effectuated a termination by

   14:47:48   8   looking on the Internet.

   14:47:50   9             She would use the Internet as of 1999?

   14:47:55 10        A.    That was probably a result of my research

   14:47:59 11    on the Internet.

   14:48:01 12        Q.    Did she use the computer?

   14:48:02 13        A.    No.

   14:48:04 14        Q.    So you found it on the Internet?

   14:48:06 15        A.    Yes.

   14:48:07 16        Q.    How did you find it?

   14:48:10 17        A.

   14:48:10 18              MR. TOBEROFF:   Let's be clear.   Are you

   14:48:11 19    asking whether he found this document on the

   14:48:13 20    Internet?

   14:48:13 21              MR. PETROCELLI:   No.   I'm asking about the

   14:48:15 22    facts of termination.

   14:48:17 23              THE WITNESS:    Oh.   Just general searches.

   14:48:24 24    Lots of different sites.

   14:48:24 25    BY MR. PETROCELLI:

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   14:48:27   1        Q.   Is that how you first learned it or was it

   14:48:29   2   mentioned by the Siegel family and then you went on

   14:48:32   3   the Internet to follow up?    Do you remember what the

   14:48:34   4   sequence?

   14:48:35   5        A.   I first found out about it in my own

   14:48:37   6   research.

   14:48:37   7        Q.   Did you come across this document, Exhibit

   14:48:39   8   9?

   14:48:43   9        A.   No.

   14:48:43 10         Q.   Have you ever seen it before today?

   14:48:44 11         A.   No.

   14:48:51 12         Q.   When you learned that the Siegels had

   14:48:53 13    terminated in 1999 as a result of your research, did

   14:48:55 14    you understand that they had terminated a copyright

   14:48:59 15    grants with respect to both Superman and Superboy?

   14:49:03 16         A.   Yes.

   14:49:04 17         Q.   That was in the research that you found?

   14:49:11 18         A.   I don't know if I had that level of

   14:49:13 19    understanding until I consulted with Marc Toberoff.

   14:49:15 20         Q.   Prior to consulting with Marc Toberoff, did

   14:49:19 21    you have a view based on the research that you had

   14:49:23 22    done or anything else about whether the Shuster

   14:49:26 23    family had any rights to Superboy as opposed

   14:49:29 24    Superman?

   14:49:36 25         A.   I didn't consider Superboy.   I mainly

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   14:49:38   1   focused on Superman.

   14:49:40   2       Q.     Well, you were aware of Superboy, right?

   14:49:40   3       A.     Yes.

   14:49:43   4       Q.     Did you have a -- did you make a decision

   14:49:48   5   not to -- to exclude Superboy from your

   14:49:50   6   consideration?

   14:49:53   7       A.     That was only after consulting with my

   14:49:56   8   attorney.

   14:49:56   9       Q.     Your attorney is Richard Toberoff.

   14:49:57 10               Is that right?

   14:49:58 11               MR. TOBEROFF:    Don't talk about the

   14:49:59 12    substance of your consultation with your attorney

   14:50:01 13    either directly or by implication.

   14:50:01 14    BY MR. PETROCELLI:

   14:50:07 15        Q.     Your attorney is Mr. Toberoff for the

   14:50:07 16    record.

   14:50:07 17               Is that right?

   14:50:07 18        A.     Yes.

   14:50:07 19        Q.     Again I'm referring to before --

   14:50:10 20        A.     Oh,.

   14:50:10 21        Q.     -- you ever spoke to Mr. Toberoff.      Are you

   14:50:12 22    with me?

   14:50:13 23        A.     Yes.

   14:50:14 24        Q.     Okay.   When you were doing your research

   14:50:16 25    about termination of copyright grants and reading

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   14:50:20   1   the Code, the 1998 change of law, and so forth, you

   14:50:31   2   were not making a calculated effort to exclude

   14:50:34   3   Superboy from your consideration, right?

   14:50:39   4       A.     Specifically.

   14:50:39   5       Q.     Not specifically.   And you had no view at

   14:50:43   6   the time whether Joe Shuster did or did not have any

   14:50:45   7   claim to Superboy, right?

   14:50:47   8       A.     Right.

   14:50:50   9       Q.     And that's a view that you've only come to

   14:50:52 10    hold after you contacted Mr. Toberoff, correct?

   14:50:55 11        A.     Yes.

   14:50:55 12        Q.     Okay.

   14:51:01 13        Q.     Now prior to contacting Mr. Toberoff did

   14:51:06 14    you do any research regarding Joe Shuster's role

   14:51:14 15    with respect to Superboy?

   14:51:16 16        A.     I -- I had a cursory knowledge of his role.

   14:51:23 17        Q.     Where did you get it from?

   14:51:25 18        A.     Just my understanding of the history.

   14:51:29 19        Q.     Where did you get it from?

   14:51:32 20        A.     It would have been various sources.    Just

   14:51:34 21    reading articles about their ideas for Superboy and

   14:51:41 22    just the history of articles of different kinds.

   14:51:47 23        Q.     Did you do any searches of the copyright

   14:51:50 24    records?   Registrations, copyright registrations, to

   14:51:56 25    see what kind of copyrights Joe Shuster had filed

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   14:52:03   1   over the years?

   14:52:05   2       A.    No, not that.

   14:52:11   3       Q.    Okay.   Did you -- did you review any of the

   14:52:17   4   old comic books related to Superboy to see the buy

   14:52:21   5   lines?

   14:52:24   6       A.    I had seen reproductions.

   14:52:27   7       Q.    And did you see Joe Shuster's name

   14:52:28   8   attributed to Superboy together with Jerry Siegel's?

   14:52:31   9       A.    Yes.

   14:52:34 10        Q.    And did you ask your mother about what she

   14:52:39 11    knew regarding Joe's contributions to the creation

   14:52:43 12    of Superboy?

   14:52:44 13        A.    Yes.

   14:52:45 14        Q.    What did she tell you?

   14:52:48 15        A.    Just that they -- it was one of the

   14:52:52 16    derivative characters.

   14:52:54 17        Q.    Derivative of what?

   14:52:55 18        A.    Of Superman.

   14:53:03 19        Q.    So when you were researching copyright

   14:53:08 20    termination issues in 1998 and 1999 after the change

   14:53:13 21    in law and after you heard about what the Siegel

   14:53:15 22    family was doing, you were looking at it broadly,

   14:53:23 23    right, Superman, Superboy, whatever Joe had an

   14:53:25 24    interest in, you wanted to know, correct?

   14:53:27 25        A.    Yes.

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   14:53:29   1       Q.     By the way, why didn't you contact the

   14:53:32   2   Siegels' lawyer?

   14:53:37   3       A.     We didn't discuss their filing at the time.

   14:53:40   4   They didn't say anything about that to us.

   14:53:42   5       Q.     But once you found out they had filed it,

   14:53:45   6   as you did and as your mom wrote to DC, why didn't

   14:53:51   7   you instead of doing all this research to find an

   14:53:54   8   attorney, why didn't you just pick up the phone and

   14:53:56   9   call Joanne, a woman that you said was like a

   14:53:59 10    grandmother to you, and say hey, who is your

   14:54:05 11    attorney?

   14:54:06 12               MR. TOBEROFF:   Misstates his testimony.

   14:54:11 13               THE WITNESS:    It -- I -- I came to

   14:54:15 14    understand they weren't entirely happy with their

   14:54:17 15    attorney.

   14:54:17 16    BY MR. PETROCELLI:

   14:54:20 17        Q.     When did you understand that?

   14:54:22 18        A.     I don't know.   I just heard that they

   14:54:24 19    weren't.

   14:54:24 20        Q.     Who told you that?

   14:54:26 21        A.     I don't remember.

   14:54:27 22        Q.     Can't identify anybody who told you such a

   14:54:30 23    thing?

   14:54:30 24        A.     No.

   14:54:33 25        Q.     Did you call and ask them and say, hey, I'm

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   14:54:37   1   looking for an attorney regarding the Joe Shuster

   14:54:42   2   rights situation and how about your attorney?       Or I

   14:54:49   3   heard that your attorney, you may not be happy with

   14:54:52   4   your attorney.     Did you have those kinds of

   14:54:55   5   discussions with him before contacting Mr. Toberoff?

   14:55:00   6          A.   I did not discuss it with him, no.

   14:55:05   7          Q.   Is it fair to say that you wanted your own

   14:55:07   8   attorney, not the same attorney that the Siegel

   14:55:10   9   family had?

   14:55:13 10           A.   That's not quite right.

   14:55:15 11           Q.   Is that part of it?

   14:55:18 12           A.   No.   It's not.

   14:55:19 13           Q.   You didn't have any concern whatsoever

   14:55:21 14    about sharing the same lawyer that the Siegel family

   14:55:24 15    had?

   14:55:26 16           A.   That -- that was not the issue.

   14:55:28 17           Q.   I didn't ask you if that was the issue.

   14:55:31 18                MR. TOBEROFF:     Asked and answered twice.

   14:55:31 19    BY MR. PETROCELLI:

   14:55:32 20           Q.   I asked you whether you had any concern at

   14:55:34 21    all about sharing the same attorney that they had

   14:55:37 22    when you were looking for an attorney.

   14:55:42 23           A.   I didn't think about that at the time.

   14:55:45 24           Q.   Are you saying the thought never occurred

   14:55:46 25    to you to calling the Siegels and ask them who their

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   14:55:52   1   attorney was and at least have a conversation with

   14:55:54   2   that person?

   14:55:55   3       A.     Not after I found out they were unhappy

   14:55:58   4   with their attorney.

   14:55:58   5       Q.     What about before you found out they were

   14:56:00   6   unhappy?

   14:56:01   7       A.     Well, I don't know about that.   It's around

   14:56:04   8   the time that I was looking into the rights issue

   14:56:09   9   that I came to be aware that they were unhappy with

   14:56:12 10    their attorney.

   14:56:13 11        Q.     What year was that?

   14:56:15 12        A.     I don't recall.

   14:56:18 13        Q.     And yet you can't tell us how or who or

   14:56:23 14    what you heard or anything about this notion that

   14:56:26 15    they were unhappy with their attorney?

   14:56:30 16        A.     Not really.   This conversations my mother

   14:56:38 17    would have with Joanne could have been trauma it

   14:56:44 18    could have been from something I -- I read.

   14:56:46 19        Q.     Did you call them up and ask them if they

   14:56:48 20    were unhappy with their attorney?

   14:56:53 21        A.     No.

   14:56:54 22               MR. TOBEROFF:   Asked and answered.

   14:56:54 23    BY MR. PETROCELLI:

   14:57:00 24        Q.     Do you know why they were unhappy with

   14:57:03 25    their attorney?

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   14:57:03   1       A.     Not exactly.

   14:57:08   2       Q.     What do you mean exactly"?   Do you know

   14:57:09   3   anything about why they were unhappy with their

   14:57:10   4   attorney that you learned prior to calling

   14:57:18   5   Mr. Toberoff?      Not after?

   14:57:20   6       A.     Oh, no, not -- not prior.    I don't know

   14:57:23   7   exactly.

   14:57:23   8       Q.     Okay.   Did you have any inkling that they

   14:57:27   9   were unhappy with their attorney prior to your

   14:57:30 10    calling Mr. Toberoff?

   14:57:31 11        A.     Yes.

   14:57:33 12        Q.     But you dont have any details?

   14:57:34 13        A.     No.

   14:57:36 14        Q.     And you never spoke to them about it?

   14:57:37 15        A.     No.

   14:57:44 16        Q.     We'll take a short break.

   14:57:46 17               THE VIDEOGRAPHER:    Off the record.   The

   14:57:47 18    time is 2:56.      There will mark end of Volume I, Tape

   14:57:53 19    Number 2 in the deposition of Mark Warren Peary.        Of

   15:04:15 20    of test tested test test test test test test tested

   15:08:49 21    test test test test of test test as you sit here

   15:17:12 22    today.

   15:17:12 23               THE VIDEOGRAPHER:    We're back on the

   15:17:20 24    record.    This marks the beginning of Volume I, Tape

   15:17:22 25    Number 3 in the deposition of Mark Warren Peary.

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   15:17:25   1   The time is 3:16.

   15:17:25   2   BY MR. PETROCELLI:

   15:17:30   3       Q.     Do you have any agreement to share in any

   15:17:35   4   accounting recovery that the Siegels might obtain in

   15:17:39   5   their case against DC or Warner Bros.?

   15:17:48   6              MR. TOBEROFF:   I instruct you not to answer

   15:17:50   7   that because it delves into the potential substance

   15:17:56   8   of the consent agreements.

   15:17:58   9              (Instruction not to answer.)

   15:17:58 10               THE WITNESS:    I'll have to follow my

   15:18:00 11    attorney's advice.

   15:18:00 12    BY MR. PETROCELLI:

   15:18:08 13        Q.     Putting aside the consent agreement, the

   15:18:10 14    2008 consent agreement for the moment, have you

   15:18:14 15    signed any agreement by which the Shuster interests

   15:18:22 16    would share in any accounting recovery by the Siegel

   15:18:28 17    parties?

   15:18:31 18               MR. TOBEROFF:   Asked and answered.

   15:18:32 19               You can answer.

   15:18:34 20               THE WITNESS:    As I stated before, is

   15:18:44 21    that --

   15:18:45 22               MR. TOBEROFF:   You can answer the question.

   15:18:45 23               THE WITNESS:    I can answer that?   Okay.

   15:18:47 24               MR. TOBEROFF:   I'm just objecting for the

   15:18:48 25    record that it's asked and answered.

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   15:18:50   1             THE WITNESS:    I understand?

   15:18:51   2             MR. TOBEROFF:   But you can answer it again.

   15:18:53   3             THE WITNESS:    No.

   15:18:53   4   BY MR. PETROCELLI:

   15:18:54   5       Q.    As part of the 2008 consent agreement, is

   15:18:57   6   there a provision by which the Shusters share in any

   15:19:00   7   accounting recoveries that the Siegels might obtain?

   15:19:05   8             MR. TOBEROFF:   I instruct you not to answer

   15:19:06   9   as to the contents of the consent agreement.

   15:19:09 10              (Instruction not to answer.)

   15:19:09 11    BY MR. PETROCELLI:

   15:19:15 12        Q.    When you -- when you were doing the

   15:19:19 13    research on Mr. Toberoff, did you come to learn that

   15:19:29 14    in addition to being an experienced entertainment

   15:19:32 15    attorney, that he was also a producer of literary

   15:19:39 16    properties, including motion pictures and other

   15:19:43 17    popular titles?

   15:19:45 18        A.    Yes.

   15:19:49 19        Q.    And how did you come to learn that?

   15:19:54 20        A.    In our discussions.

   15:19:57 21        Q.    With Mr. Toberoff?

   15:19:58 22        A.    Yes.

   15:20:10 23        Q.    Did you also see descriptions of

   15:20:17 24    Mr. Toberoff's business activities outside of his

   15:20:21 25    law practice on the Internet when you were doing

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   15:20:23   1   your research?

   15:20:27   2       A.    No.

   15:20:28   3       Q.    References to him as an entrepreneur and

   15:20:32   4   producer?

   15:20:33   5       A.    No, I don't recall that.

   15:20:34   6       Q.    You didn't check his Web site?

   15:20:40   7       A.    Not initially, no.

   15:20:41   8       Q.    At some point did you?

   15:20:42   9       A.    I don't recall.   I don't remember checking

   15:20:47 10    his Web site.

   15:20:50 11        Q.    Did you speak to anybody about Mr. Toberoff

   15:20:54 12    before signing the document after having called him

   15:20:57 13    and spoken to him, did you call around for

   15:21:00 14    references?

   15:21:01 15              MR. TOBEROFF:   Asked and answered.

   15:21:02 16              You can answer.

   15:21:03 17              THE WITNESS:    I -- I don't remember doing

   15:21:14 18    that.

   15:21:14 19    BY MR. PETROCELLI:

   15:21:20 20        Q.    Did you speak to anybody else at his office

   15:21:22 21    or at any of his companies?

   15:21:24 22              MR. TOBEROFF:   At any time?

   15:21:25 23              MR. PETROCELLI:   Prior to signing.

   15:21:28 24              THE WITNESS:    Not about any issues.

   15:21:28 25    BY MR. PETROCELLI:

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   15:21:32   1       Q.     About what?

   15:21:35   2       A.     Did I speak to anyone who -- maybe they

   15:21:37   3   answered the phone.      So, no.

   15:21:46   4       Q.     If you -- if you said you didn't do any

   15:21:48   5   research -- did you do any research at all on any of

   15:21:52   6   his companies like Pacific Pictures Corporation?

   15:21:54   7       A.     No.

   15:21:59   8       Q.     But yet you signed a contract with Pacific

   15:22:03   9   Pictures Corporation?

   15:22:03 10        A.     That was a -- a legal.

   15:22:07 11               MR. TOBEROFF:   Just answer the question.

   15:22:09 12               THE WITNESS:    Okay.   Yes.

   15:22:09 13    BY MR. PETROCELLI:

   15:22:11 14        Q.     Did you do any research on what was Pacific

   15:22:16 15    Pictures corporation before you signed a contract

   15:22:17 16    with it?

   15:22:17 17        A.     No.

   15:22:22 18        Q.     Did you think Pacific Pictures Corporation

   15:22:23 19    was the name of a law firm?

   15:22:28 20        A.     I didn't -- I didn't think about it.

   15:22:31 21        Q.     In fact, the documents that you signed

   15:22:33 22    specifically state that Pacific Pictures is not a

   15:22:36 23    law firm, right?

   15:22:42 24        A.     I -- I -- yes, I guess that's correct.

   15:22:44 25        Q.     So why did you enter into a contract with a

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   15:22:47   1   company that was not a law firm?

   15:22:52   2       A.    That's how we retained our attorney.

   15:22:55   3       Q.    Why -- why did you retain your attorney by

   15:22:58   4   entering into a contract with a company that was in

   15:23:01   5   the motion or in the entertainment production

   15:23:03   6   business called Pacific Pictures?

   15:23:07   7             MR. TOBEROFF:   Assumes facts not in

   15:23:09   8   evidence.

   15:23:13   9             THE WITNESS:    I don't know why he used that

   15:23:14 10    format exactly.

   15:23:14 11    BY MR. PETROCELLI:

   15:23:16 12        Q.    Well, why were you comfortable with it?

   15:23:23 13        A.    It established our legal relationship with

   15:23:25 14    one another.

   15:23:27 15        Q.    Why didn't you assign a simple

   15:23:31 16    attorney-client legal agreement that doesn't involve

   15:23:35 17    a motion -- an entertainment company called Pacific

   15:23:39 18    Pictures?

   15:23:40 19              MR. TOBEROFF:   Assumes facts not in

   15:23:41 20    evidence.

   15:23:43 21              THE WITNESS:    I don't know.

   15:23:43 22    BY MR. PETROCELLI:

   15:23:45 23        Q.    Did you get any advice on it from anyone

   15:23:49 24    other than Mr. Toberoff?

   15:23:51 25              MR. TOBEROFF:   Assumes facts not in

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   15:23:51   1   evidence.

   15:23:54   2             THE WITNESS:    No.

   15:23:54   3   BY MR. PETROCELLI:

   15:23:58   4       Q.    Why did you enter into a joint venture with

   15:24:03   5   Pacific Pictures?

   15:24:08   6       A.    I -- I don't know why he used that

   15:24:10   7   particular form.

   15:24:12   8       Q.    Why are you saying -- why are you answering

   15:24:14   9   my questions by telling me what Mr. Toberoff did?

   15:24:17 10    You're a person, you're making decisions.    You

   15:24:21 11    understood that this was an important matter, right?

   15:24:21 12        A.    Yes.

   15:24:24 13        Q.    You -- you had your mother's interest at

   15:24:28 14    heart, right?

   15:24:32 15              MR. TOBEROFF: .

   15:24:32 16    BY MR. PETROCELLI:

   15:24:32 17        Q.    She was the sole beneficiary of the

   15:24:34 18    termination interest that you were seeking to

   15:24:36 19    pursue, correct?

   15:24:38 20        A.

   15:24:38 21              MR. TOBEROFF:   Assumes facts.   Lacks

   15:24:38 22    foundation.

   15:24:38 23    BY MR. PETROCELLI:

   15:24:42 24        Q.    Am I correct, sir, that your mother, not

   15:24:44 25    you, and not your sister, was the sole beneficiary

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   15:24:47   1   of any termination interest that the estate could --

   15:24:51   2   could obtain, correct?

   15:24:53   3             MR. TOBEROFF:   Assumes facts lacks

   15:24:57   4   foundation.    Calls for a legal conclusion.

   15:24:58   5             THE WITNESS:    I guess it's a legal

   15:25:02   6   conclusion.    I don't know if I'm going to answer it,

   15:25:06   7   if I'm qualified to answer.

   15:25:06   8   BY MR. PETROCELLI:

   15:25:09   9       Q.    I'm not asking you about legal conclusions.

   15:25:11 10    I'm asking you, you signed agreements, you're acting

   15:25:15 11    as an executor, you have legal duties to the Court,

   15:25:18 12    you have legal duties to the beneficiary and you

   15:25:22 13    can't hide behind the privilege on all these

   15:25:26 14    questions.    I've been very careful in how I'm asking

   15:25:28 15    these questions?

   15:25:31 16              MR. TOBEROFF:   Objection.

   15:25:31 17    BY MR. PETROCELLI:

   15:25:32 18        Q.    So let me try this again?

   15:25:34 19              MR. TOBEROFF:   Argumentative.

   15:25:36 20              MR. PETROCELLI:   Well, he's parroting your

   15:25:38 21    objections.    And I've been tolerant of it but I

   15:25:42 22    don't want this to get carried away with that.

   15:25:48 23              MR. TOBEROFF:   Argumentative.   Don't focus.

   15:25:48 24              MR. PETROCELLI:   Let's try it again.

   15:25:52 25              MR. TOBEROFF:   On the argument just focus

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   15:25:53   1   on his questions.     Every piece and every part of his

   15:25:56   2   question, and answer it to the best of your ability.

   15:25:56   3   BY MR. PETROCELLI:

   15:26:04   4       Q.     Exactly.

   15:26:04   5              You understood that when you were pursuing

   15:26:08   6   this termination interest, your research, you're

   15:26:10   7   looking out to hire a lawyer, your wanting to see if

   15:26:14   8   your family had rights, your concern about the 1992

   15:26:18   9   agreement, all of the things that we've been

   15:26:21 10    discussing, you were pursuing this for the benefit

   15:26:25 11    of your mother who was the sole beneficiary under

   15:26:29 12    Joe Shuster's will, correct?

   15:26:32 13               MR. TOBEROFF:   Assumes facts.   Lacks

   15:26:36 14    foundation.

   15:26:36 15               THE WITNESS:    Yes.

   15:26:36 16    BY MR. PETROCELLI:

   15:26:37 17        Q.     Okay.   You're not a personal beneficiary,

   15:26:37 18    right?

   15:26:46 19        A.     I am a per.

   15:26:48 20        Q.     But your mother could change her will,

   15:26:51 21    correct?   You don't have a legal right to this money

   15:26:53 22    that the estate may recover, correct?

   15:26:55 23               MR. TOBEROFF:   Talking about him

   15:26:57 24    personally?

   15:26:57 25               MR. PETROCELLI:   Correct.

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   15:26:57   1             THE WITNESS:    Yes.

   15:26:57   2   BY MR. PETROCELLI:

   15:26:58   3       Q.    Your mother could decide to give it all to

   15:27:00   4   charity, right?

   15:27:00   5       A.    Yes.

   15:27:01   6       Q.    Okay.   Now, you understand that you have

   15:27:05   7   fiduciary duty to your mother as the person who took

   15:27:13   8   up this cause to pursue this termination interest,

   15:27:13   9   right?

   15:27:17 10              MR. TOBEROFF:   Calls for a legal

   15:27:18 11    conclusion.   Could you answer to the sentence you

   15:27:21 12    have knowledge.

   15:27:21 13    BY MR. PETROCELLI:

   15:27:21 14        Q.    I didn't ask you if you had a fiduciary

   15:27:24 15    duty, I asked you did you understand that you had a

   15:27:26 16    fiduciary duty?

   15:27:27 17        A.    Yes.

   15:27:28 18        Q.    Okay.   And then you also agree to serve as

   15:27:33 19    the executor of your mother's estate in lieu of your

   15:27:36 20    mother, right?

   15:27:37 21              MR. TOBEROFF:   Assumes facts.   Lacks

   15:27:40 22    foundation.   You can answer.

   15:27:41 23              THE WITNESS:    Yes.

   15:27:41 24    BY MR. PETROCELLI:

   15:27:42 25        Q.    In 2003, your mother was competent.      She

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   15:27:45   1   had the ability to serve as an executor, correct?

   15:27:45   2       A.     Yes.

   15:27:54   3       Q.     Yet you were the executor, not her,

   15:27:58   4   correct?

   15:27:58   5       A.     Yes.

   15:27:59   6       Q.     And you filed papers with the Court which

   15:28:01   7   we'll -- we'll talk about, but?

   15:28:04   8       A.     Yes.

   15:28:05   9       Q.     Agreeing to be the executor, right?

   15:28:07 10        A.     Yes.

   15:28:09 11        Q.     Now, what -- what did you do -- withdrawn.

   15:28:20 12               Why did you agree in lieu of entering into

   15:28:26 13    a traditional lawyer client agreement to hire the

   15:28:30 14    services of a lawyer, whether it's on a contingent

   15:28:33 15    fee or an hourly fee, why did you agree to enter

   15:28:37 16    into a joint venture with Pacific Pictures, a

   15:28:45 17    company that is not a law firm?

   15:28:50 18               MR. TOBEROFF:   You can't -- unless you can

   15:28:56 19    answer that question independent of your discussions

   15:28:58 20    with me, I instruct you not to answer.

   15:29:02 21               THE WITNESS:    Okay.   I'll have to follow

   15:29:07 22    your advice.

   15:29:10 23               (Instruction not to answer.)

   15:29:10 24    BY MR. PETROCELLI:

   15:29:10 25        Q.     But you understood that Mr. Toberoff not

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   15:29:13   1   only acted as a lawyer in some of your dealings with

   15:29:16   2   him, but he also acted as the president of a company

   15:29:19   3   with whom you entered interest a joint venture,

   15:29:21   4   correct?

   15:29:21   5       A.     Yes.

   15:29:24   6       Q.     And that company was called Pacific

   15:29:26   7   Pictures, correct?

   15:29:26   8       A.     Yes.

   15:29:30   9       Q.     And that company is not a law firm,

   15:29:30 10    correct?

   15:29:35 11        A.     Not the company.

   15:29:36 12        Q.     Right.   And did you do any background on

   15:29:41 13    what Pacific Pictures was, what it did in -- in

   15:29:46 14    its -- in its business?

   15:29:48 15               MR. TOBEROFF:   Asked and answered.

   15:29:48 16    BY MR. PETROCELLI:

   15:29:49 17        Q.     What assets it owned?

   15:29:51 18        A.     My.

   15:29:52 19               MR. TOBEROFF:   Asked and answered.   You can

   15:29:54 20    answer.

   15:29:54 21               THE WITNESS:    It's already -- my purpose in

   15:30:00 22    contacting him was to retain legal counsel.

   15:30:00 23               MR. PETROCELLI:

   15:30:00 24        Q.     I didn't ask you about your purpose in

   15:30:09 25    contacting him.     I'm not trying to be difficult but

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   15:30:09   1   can you repeat my question?

   15:30:09   2                    (The reporter read the record

   15:30:09   3             as follows:

   15:30:21   4                    "^ QUESTION ^ ANSWER ").

   15:30:21   5             THE WITNESS:    Not really, no.

   15:30:21   6   BY MR. PETROCELLI:

   15:30:25   7       Q.    Did you think it was a typical to enter

   15:30:28   8   into a joint venture agreement with an entertainment

   15:30:35   9   company instead of a standard lawyer-client

   15:30:38 10    engagement letter if you're trying to secure the

   15:30:42 11    services of a lawyer?

   15:30:43 12              MR. TOBEROFF:   Assumes facts.

   15:30:43 13    BY MR. PETROCELLI:

   15:30:44 14        Q.    Did that strike you as standard or did that

   15:30:46 15    strike you as somewhat unusual?

   15:30:49 16        A.    I'm not familiar enough to -- for -- to

   15:30:54 17    have struck me as being outline or untoward or

   15:30:59 18    anything.

   15:31:00 19        Q.    Well, have you ever entered into a joint

   15:31:02 20    venture with anyone before?

   15:31:03 21        A.    No.

   15:31:10 22        Q.    This is the first joint venture you ever

   15:31:13 23    entered into?

   15:31:13 24        A.    Yes.

   15:31:15 25        Q.    Did you -- were you concerned that by

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   15:31:25   1   entering into a joint venture for the purpose of

   15:31:31   2   pursuing Joe Shuster's termination interests, if

   15:31:36   3   any, that you were violating the law?

   15:31:38   4       A.    No.

   15:31:42   5       Q.    Did you receive any advice on that subject?

   15:31:44   6       A.    No.

   15:31:48   7       Q.    Are you aware that in the lawsuit that DC

   15:31:51   8   has filed, it claims that your agreements with

   15:31:55   9   Pacific Pictures did in fact violate the law?

   15:32:01 10        A.    I may have scanned it.

   15:32:07 11        Q.    Why did you just scan it?   You seem very

   15:32:11 12    adept at reading code provisions that you find on

   15:32:14 13    your own, the copyright code, the amendments in 1998

   15:32:24 14    and yet you just scanned a lawsuit against you?

   15:32:27 15        A.    Yes.

   15:32:28 16        Q.    And against your mother relating to the

   15:32:32 17    matters as to which you are executor?     And you

   15:32:36 18    didn't read it carefully?     Not once?

   15:32:42 19        A.    I -- I scanned it because I -- I find

   15:32:47 20    the -- the claims to be unfounded and -- and it

   15:32:52 21    ticks me off that they're filing the claim and I am

   15:32:55 22    referring all of the detailed analysis to my

   15:32:59 23    attorney because it angers me to read -- read these

   15:33:04 24    claims.

   15:33:05 25        Q.    Well, how could it anger you to read the

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   15:33:11   1   how could it anger you unless you first understood

   15:33:13   2   what the claims were which you would need to read

   15:33:17   3   the complaint rather than just scan it in order to

   15:33:19   4   understand?   How would you be angry about it?

   15:33:22   5       A.    I understood the gist of the claims and I

   15:33:27   6   find -- find them to be reprehensible that they

   15:33:34   7   would sue us for trying to give us something that

   15:33:37   8   the law grants to us.

   15:33:39   9       Q.    Okay.   And you had that view on your own

   15:33:41 10    before talking to Mr. Toberoff.

   15:33:41 11              Is that right?

   15:33:41 12        A.    Yes.

   15:33:45 13        Q.    That's based on your scanning but not

   15:33:47 14    reading carefully the complaint, right?

   15:33:51 15        A.    I got the gist of it.

   15:33:52 16        Q.    And -- and you did not read it word for

   15:33:55 17    word.

   15:33:55 18              Is that correct?

   15:34:02 19        A.    I got the gist of it perhaps not word for

   15:34:04 20    word.

   15:34:07 21        Q.    You did not read it word for word.

   15:34:08 22              Is that correct?

   15:34:09 23        A.    I'd say so.

   15:34:14 24        Q.    Is that the first time that a lawsuit's

   15:34:16 25    been filed against you?

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   15:34:17   1       A.    Yes.

   15:34:18   2       Q.    First time to your knowledge, a lawsuit has

   15:34:19   3   been filed against your mother?

   15:34:23   4       A.    Yes.

   15:34:24   5       Q.    And you didn't bother to read the complaint

   15:34:26   6   word for word?

   15:34:27   7             MR. TOBEROFF:    He's answered that question

   15:34:28   8   three times.     You don't have to answer that question

   15:34:30   9   again.

   15:34:30 10              THE WITNESS:    I already answered.

   15:34:30 11    BY MR. PETROCELLI:

   15:34:32 12        Q.    What's the answer?

   15:34:33 13        A.    What I said before.

   15:34:33 14        Q.    Which is what?

   15:34:38 15        A.    That I read the gist of it then discussed

   15:34:40 16    it with my attorney.

   15:34:41 17        Q.    After you read the gist of it, you said you

   15:34:46 18    got angry.

   15:34:46 19              Is that right?

   15:34:46 20        A.    Yes.

   15:34:49 21        Q.    And why did you get angry?

   15:34:55 22              MR. TOBEROFF:    He already answered that

   15:34:57 23    question on his own.

   15:35:00 24              But you can answer it again.

   15:35:02 25              THE WITNESS:    Because DC is fighting us on

                                                                        181




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   15:35:09   1   grants and rights that are granted to us by law

   15:35:13   2   instead of cooperating.

   15:35:13   3   BY MR. PETROCELLI:

   15:35:21   4       Q.    How do you know that DC's claims are

   15:35:24   5   unfounded?

   15:35:27   6       A.    That's my impression from my reading and my

   15:35:31   7   discussions.

   15:35:32   8       Q.    Well, before talking to -- to Mr. Toberoff

   15:35:34   9   based on your reading of the claims, why would you

   15:35:39 10    have concluded that they're unfounded?

   15:35:43 11        A.    They're trying to deny our termination

   15:35:46 12    rights.   Is that pisses me off.

   15:35:52 13        Q.    Are you -- but at the time that you -- but

   15:35:58 14    you, yourself, didn't know about the 1992 agreement

   15:36:01 15    at the time you began to undertake this research and

   15:36:05 16    as you've already testified, you, yourself, were

   15:36:08 17    concerned when you saw the agreement for the first

   15:36:10 18    time.   And it was only after you retained

   15:36:16 19    Mr. Toberoff that you formed the view that the

   15:36:21 20    agreement posed no threat, correct?

   15:36:24 21        A.    I was unsure what the agreement meant.

   15:36:28 22        Q.    Now, could you not appreciate that DC

   15:36:31 23    Comics, given even your apparent concern on reading

   15:36:34 24    the agreement, might have a different view and that

   15:36:37 25    that could be a matter on which reasonable minds

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   15:36:40   1   could differ?

   15:36:48   2       A.     What I know is that Jean and Frank had no

   15:36:51   3   termination rights so it's irrelevant to this case.

   15:36:55   4       Q.     How do you know that?

   15:36:56   5       A.     I know that from my research and my

   15:36:58   6   discussions with my attorney.

   15:37:02   7       Q.     Can you appreciate that there -- well, if

   15:37:04   8   they didn't have any rights, why did they agree in

   15:37:12   9   writing in order to get money in order to get more

   15:37:14 10    money for your family that they wouldn't assert any

   15:37:19 11    such rights even if they were hereafter created?

   15:37:22 12        A.     I don't know.

   15:37:23 13               MR. TOBEROFF:   Misstates their letters.

   15:37:26 14               MR. PETROCELLI:   Not really.

   15:37:28 15               MR. TOBEROFF:   Yes, it does.

   15:37:28 16    BY MR. PETROCELLI:

   15:37:30 17        Q.     Well can you appreciate that -- that that's

   15:37:36 18    an issue that should be resolved by the Courts?

   15:37:40 19    That's a serious issue?      When you read the complaint

   15:37:45 20    did that occur to you?

   15:37:48 21        A.     If it has to be resolved by the courts it

   15:37:50 22    will be.

   15:37:51 23        Q.     And you've seen letters today that you've

   15:37:53 24    never seen before, even though your attorney has a

   15:37:59 25    advised you, as you've said, letters that which your

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   15:38:02   1   mother said she had no intention to pursue

   15:38:03   2   termination rights, even after knowing about the

   15:38:06   3   change of the law, even after knowing about the

   15:38:08   4   Siegel family?

   15:38:09   5          A.   She wrote letters to everyone frequently I

   15:38:14   6   didn't know anything about.       She was always writing

   15:38:16   7   and chatting and I was unaware of all this back and

   15:38:21   8   forth chitchatting and letters that she was writing

   15:38:24   9   off.

   15:38:24 10           Q.   So you're belittling your mother?

   15:38:26 11           A.   No, I'm not belittling my mother.

   15:38:28 12           Q.   In 1999 writing letters?

   15:38:30 13           A.   I'm not belittling her.

   15:38:31 14           Q.   That -- well, sounds like you're saying

   15:38:34 15    that her letters have no real meaning or consequence

   15:38:37 16    and that you would have known better.      Is that a

   15:38:39 17    what you're suggesting?

   15:38:40 18           A.   No, no.

   15:38:40 19                MR. TOBEROFF:   It.

   15:38:40 20    BY MR. PETROCELLI:

   15:38:42 21           Q.   Okay?

   15:38:42 22                MR. TOBEROFF:   Just focus on the questions.

   15:38:42 23    BY MR. PETROCELLI:

   15:38:48 24           Q.   So what you're suggesting by your answer

   15:38:50 25    about your mother just chitchatting is that those

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   15:38:52   1   letters have no real significance.

   15:38:52   2             Is that right?

   15:38:59   3       A.    I don't know.    She wrote letters to lots of

   15:39:03   4   people I didn't know about.

   15:39:05   5       Q.    You don't think your mother was capable of

   15:39:07   6   expressing how she really felt about things?

   15:39:10   7             MR. TOBEROFF:    Vague and ambiguous.

   15:39:10   8   BY MR. PETROCELLI:

   15:39:14   9       Q.    Is that what you're suggesting?

   15:39:15 10        A.    No.    I don't know how to answer that.

   15:39:18 11        Q.    In 1999 did your mother understand how to

   15:39:21 12    express her feelings about things?

   15:39:23 13        A.    Yes.

   15:39:24 14        Q.    And in 1992 did she understand that?

   15:39:25 15        A.    Yes.

   15:39:45 16        Q.    Let me show you -- by the way, after you

   15:39:48 17    hired Mr. Toberoff, have you had occasion to do any

   15:39:50 18    research on all the entertainment companies with

   15:39:54 19    which he is associated?

   15:39:59 20              MR. TOBEROFF:    Assumes facts.   Vague and

   15:40:00 21    ambiguous.

   15:40:00 22    BY MR. PETROCELLI:

   15:40:00 23        Q.    Such as intellectual properties worldwide,

   15:40:04 24    such as IPW?

   15:40:06 25        A.    I'm aware of those.

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   15:40:07   1       Q.    And have you researched those companies to

   15:40:10   2   see what kind of business Mr. Toberoff conducts and

   15:40:17   3   through those companies?

   15:40:18   4             MR. TOBEROFF:   Assumes facts.

   15:40:21   5             THE WITNESS:    Minimally.

   15:40:21   6   BY MR. PETROCELLI:

   15:40:28   7       Q.    Did you know about those other companies

   15:40:30   8   when you entered into the first agreement with

   15:40:33   9   Pacific Pictures?

   15:40:38 10              MR. TOBEROFF:   Assumes facts.

   15:40:39 11              THE WITNESS:    I don't remember about those

   15:40:41 12    other companies specifically.

   15:40:41 13    BY MR. PETROCELLI:

   15:40:45 14        Q.    Do you believe that when you are having a

   15:40:47 15    conversation with Mr. Toberoff in his role as

   15:40:51 16    president of Pacific Pictures, that every one of

   15:40:53 17    your conversations is a -- is an attorney client

   15:40:56 18    privileged conversations?

   15:40:58 19              MR. TOBEROFF:   Assumes facts.    Ask --

   15:41:01 20    really asks for a legal conclusion.

   15:41:02 21              MR. PETROCELLI:   No, I didn't.   I didn't

   15:41:04 22    ask him what the law was I asked for his state of

   15:41:07 23    mind.

   15:41:07 24              MR. TOBEROFF:   His state of mind as to what

   15:41:09 25    the law is.

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   15:41:09   1               MR. PETROCELLI:    Correct.

   15:41:11   2               MR. TOBEROFF:   Okay.

   15:41:11   3               MR. PETROCELLI:    That's correct.

   15:41:11   4               MR. TOBEROFF:   I don't accept that carve

   15:41:13   5   out.

   15:41:16   6               You can answer the question.

   15:41:16   7               THE WITNESS:    Okay.   At the time it was

   15:41:20   8   Pacific Pictures.      All my dealings were with Marc

   15:41:23   9   Toberoff as my attorney.

   15:41:23 10    BY MR. PETROCELLI:

   15:41:28 11           Q.   You never once communicated with the

   15:41:30 12    president of Pacific Pictures, the company with whom

   15:41:32 13    you entered interest a joint venture agreement?

   15:41:34 14           A.   No.

   15:41:36 15           Q.   Do you even know who the president is?

   15:41:37 16           A.   I -- not really.    It never came up.

   15:41:43 17           Q.   Did you see it in the document you signed

   15:41:45 18    who the president was?

   15:41:46 19           A.   No.

   15:41:47 20           Q.   You didn't read the document that you

   15:41:48 21    signed?

   15:41:49 22           A.   Yes.

   15:41:51 23           Q.   And the document said that Marc Toberoff

   15:41:53 24    was the president of Pacific Pictures right?

   15:41:57 25                MR. TOBEROFF:   Only answer to the extent

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   15:41:59   1   have you a recollection of that.       Otherwise he can

   15:42:01   2   show you the document.

   15:42:02   3             THE WITNESS:    Okay.   I don't recall.   I'd

   15:42:03   4   have to see the document.

   15:42:04   5             MR. PETROCELLI:   I'll slow it to you.    Next

   15:42:06   6   document is Exhibit 10.

   15:42:07   7                 (The document referred to was

   15:42:07   8             marked for identification by the

   15:42:07   9             C.S.R. as Exhibit 10 and attached

   15:42:24 10              to this deposition.)

   15:42:24 11    BY MR. PETROCELLI:

   15:42:25 12        Q.    I notice you're looking right to the end

   15:42:28 13    where I wanted to direct you and you see it says

   15:42:30 14    Marc Toberoff, president of Pacific Pictures

   15:42:32 15    cooperation correct?

   15:42:34 16        A.    Yes.

   15:42:34 17              MR. TOBEROFF:   He actually was not for the

   15:42:36 18    record looking right to the end he was looking in

   15:42:38 19    the middle.

   15:42:38 20    BY MR. PETROCELLI:

   15:42:40 21        Q.    Signature page.   Do you see any signature

   15:42:46 22    on this document that says Marc Toberoff, attorney?

   15:42:50 23        A.    No.

   15:42:55 24        Q.    Okay.   And this is in fact -- and for the

   15:43:00 25    record, I will describe it as a document

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   15:43:02   1   entitled "Joint venture agreement as of November 23,

   15:43:08   2   2001 by and between Pacific Pictures Corporation and

   15:43:11   3   Jean Peavy and her son Mark Warren Peavy formerly

   15:43:17   4   known as -- Mark Warren Peary formerly known as Mark

   15:43:22   5   Warren Peavy signed by you correct on November 28,

   15:43:27   6   2001?

   15:43:27   7       A.     Yes.

   15:43:27   8       Q.     And by your mother Jean?

   15:43:29   9       A.     Yes.

   15:43:30 10        Q.     On the same day?

   15:43:33 11        A.     Yes.

   15:43:33 12        Q.     And you -- and then you see that

   15:43:37 13    Mr. Toberoff signed it as president of Pacific

   15:43:40 14    Pictures on November 28, 2001, correct?

   15:43:40 15        A.     Yes.

   15:43:48 16        Q.     And this was the only agreement that you

   15:43:51 17    signed in 2001 with Mr. Toberoff, right?

   15:43:51 18        A.     Yes.

   15:43:58 19        Q.     And you didn't sign any agreements with him

   15:44:00 20    in 2002, correct?

   15:44:03 21        A.     Not to my recollection.

   15:44:04 22        Q.     And you signed another agreement with him

   15:44:06 23    in 2003 also as president of Pacific Pictures,

   15:44:06 24    correct?

   15:44:06 25        A.     Yes.

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   15:44:16   1       Q.    And the first time you signed if he

   15:44:17   2   agreement with him where he signed as a lawyer was

   15:44:21   3   in 2004, correct?

   15:44:21   4       A.    Yes.

   15:44:24   5       Q.    That's what you've been calling the legal

   15:44:25   6   retainer agreement, right?

   15:44:25   7       A.    Yes.

   15:44:28   8       Q.    Okay.   Now, you certainly understood this

   15:44:37   9   agreement -- withdrawn you did read this agreement

   15:44:40 10    word for word before you signed it, correct?

   15:44:40 11        A.    Yes.

   15:44:43 12        Q.    You didn't just scan it, right?

   15:44:43 13        A.    Yes.

   15:44:45 14        Q.    You understood that signing this was a

   15:44:48 15    matter of extreme importance, correct?

   15:44:50 16              MR. TOBEROFF:   Hold on.    I needs you're

   15:44:51 17    answering his questions too quickly without me being

   15:44:54 18    able to interject an objection okay?     You got to

   15:44:57 19    pause after he asks his question so that I can

   15:44:59 20    object.   He is saying correct you're saying yes

   15:45:02 21    immediately and I can't object in between.

   15:45:13 22              Do you understand?   Just slow is it down so

   15:45:14 23    I can object.

   15:45:14 24                     (The reporter read the record

   15:45:14 25              as follows:

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   15:45:23   1                    "^ QUESTION ^ ANSWER ").

   15:45:23   2             THE WITNESS:

   15:45:27   3             MR. TOBEROFF :   You can answer.

   15:45:28   4             THE WITNESS:    Yes.

   15:45:28   5   BY MR. PETROCELLI:

   15:45:32   6       Q.    Did you go over this carefully with your

   15:45:34   7   mother before you and she signed?

   15:45:39   8       A.    I went over it with her.

   15:45:47   9       Q.    Now, when you signed this, did you

   15:45:50 10    understood that you were expecting to at some point

   15:46:00 11    serve a notice of termination with respect to the

   15:46:03 12    Shuster interest.

   15:46:03 13              Is that right?

   15:46:03 14        A.    Yes.

   15:46:07 15        Q.    Did you have an understanding when you

   15:46:09 16    signed Exhibit 10 when you would serve that notice?

   15:46:12 17        A.    Yes.

   15:46:16 18        Q.    When?

   15:46:20 19              MR. TOBEROFF:    You can -- you CAN'T --

   15:46:23 20    since you've testified that you viewed me as your

   15:46:26 21    attorney and you're seeking legal advice from me,

   15:46:30 22    any -- you can't answer that question because that

   15:46:32 23    question would be based on your discussions with me

   15:46:34 24    acting as your counsel with respect to the

   15:46:36 25    termination notices.     So I instruct you not to

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   15:46:44   1   answer.

   15:46:44   2             MR. PETROCELLI:   You know we're not going

   15:46:45   3   to solve the problem today of course but we dispute

   15:46:48   4   that you can cover every single conversation you had

   15:46:51   5   with him based on the attorney-client privilege in

   15:46:55   6   the face of these documents and other facts.

   15:46:58   7             (Instruction not to answer.)

   15:46:58   8             MR. PETROCELLI:   Do the best I can.

   15:47:09   9       Q.    Based on the research that you had done

   15:47:10 10    before contacting Mr. Toberoff, did you have an

   15:47:14 11    understanding as to when the earliest you could

   15:47:18 12    serve a notice of termination was?

   15:47:23 13              MR. TOBEROFF:   Separate from your

   15:47:23 14    conversations with me.

   15:47:24 15              THE WITNESS:    Well.

   15:47:25 16              MR. PETROCELLI:   Well, it has to be

   15:47:26 17    separate because I said before.

   15:47:28 18              THE WITNESS:    Okay.   I don't believe I

   15:47:32 19    understood that level of detail at that time.

   15:47:32 20    BY MR. PETROCELLI:

   15:47:43 21        Q.    Now you said that there were drafts of this

   15:47:45 22    that went back and forth.    What changes did you make

   15:47:48 23    prior to agreeing to this Exhibit 10?

   15:48:05 24        A.    I believe I had some issues with if

   15:48:12 25    something had happened to Marc Toberoff bodily harm

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   15:48:16   1   or something of that nature.

   15:48:23   2         Q.   You asked him to address that?

   15:48:24   3         A.   Yes.   I don't recall what else there was

   15:48:32   4   discussions.

   15:48:33   5         Q.   Did you -- did you have any discussions as

   15:48:35   6   to why you were entering into a joint venture

   15:48:41   7   agreement rather than a regular attorney-client

   15:48:43   8   agreement?    And why he wasn't signing as Marc

   15:48:48   9   Toberoff the lawyer?      Any discussions on that

   15:48:50 10    subject?

   15:48:54 11          A.   Yes.   It was -- it was clear to me that he.

   15:48:59 12               MR. TOBEROFF:   Just -- just answer his --

   15:49:01 13    he asked you whether you had any discussions with

   15:49:04 14    me.

   15:49:04 15               THE WITNESS:    Yes.

   15:49:04 16               MR. TOBEROFF:   And you're launching --

   15:49:06 17               MR. PETROCELLI:   I didn't actually ask with

   15:49:08 18    you, I said any discussions.

   15:49:10 19               MR. TOBEROFF:   And you are launching --

   15:49:10 20               MR. PETROCELLI:   He said yes.

   15:49:12 21               MR. TOBEROFF:   He just wanted to know if

   15:49:14 22    you had any discussions --

   15:49:15 23               THE WITNESS:    Yes.

   15:49:15 24    BY MR. PETROCELLI:

   15:49:15 25          Q.   With whom?

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   15:49:16   1             MR. TOBEROFF:   Excuse me.      When he asks you

   15:49:17   2   a question, I know it's difficult, try and answer

   15:49:19   3   the question.    Don't launch into a narrative.

   15:49:19   4   BY MR. PETROCELLI:

   15:49:21   5       Q.    With whom?

   15:49:22   6       A.    With Marc Toberoff.

   15:49:27   7       Q.    What did he say and what did you say on

   15:49:30   8   that subject?

   15:49:30   9       A.    Can I answer?

   15:49:41 10              MR. TOBEROFF:   You can -- what's the

   15:49:42 11    question again?    Can you read it back to me or can

   15:49:44 12    you repeat it to me.

   15:49:46 13              MR. PETROCELLI:   Yeah.

   15:49:47 14        Q.    What did you and he discuss on this subject

   15:49:49 15    as to why you were entering into a joint venture

   15:49:52 16    agreement rather than a normal attorney-client

   15:49:54 17    agreement?

   15:49:54 18        A.    Can I --

   15:50:00 19              MR. TOBEROFF:   You can't answer that

   15:50:01 20    question.

   15:50:02 21              THE WITNESS:    Okay.

   15:50:02 22              MR. TOBEROFF:   You cannot answer that

   15:50:03 23    question.

   15:50:03 24              THE WITNESS:    Okay.   Okay.

   15:50:05 25              (Instruction not to answer.)

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   15:50:06   1             MR. PETROCELLI:

   15:50:07   2             MR. TOBEROFF:   I'm instructing him not to

   15:50:09   3   answer that question.

   15:50:09   4             MR. PETROCELLI:   Attorney-client privilege,

   15:50:09   5   right.

   15:50:11   6             MR. TOBEROFF:   Yes.

   15:50:12   7             THE WITNESS:    Okay.

   15:50:12   8   BY MR. PETROCELLI:

   15:50:15   9       Q.    Did you discuss with your mother why she

   15:50:18 10    and you were forming a joint venture with a company

   15:50:23 11    called pacific pictures corporation?

   15:50:27 12        A.    No.

   15:50:28 13        Q.    Have you ever heard of Pacific Pictures

   15:50:30 14    Corporation before?

   15:50:30 15        A.    No.

   15:50:31 16        Q.    Were you aware of anything that it had

   15:50:33 17    done?

   15:50:33 18        A.    It had -- we had discussed -- discussed it.

   15:50:42 19    I can't recall the details now.

   15:50:44 20        Q.    Did you inquire whether Pacific Pictures

   15:50:47 21    Corporation had -- had owned any other termination

   15:50:53 22    interests?    Or this was the first one?

   15:51:00 23              MR. TOBEROFF:   Lacks foundation.

   15:51:05 24              THE WITNESS:    No, I don't know about that.

   15:51:05 25    BY MR. PETROCELLI:

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   15:51:15   1       Q.     Did you have any discussion about giving

   15:51:21   2   away 50 percent of your rights to a joint venture?

   15:51:26   3       A.     Yes.

   15:51:29   4       Q.     With whom?

   15:51:29   5       A.     Marc Toberoff.

   15:51:31   6       Q.     What did you and he discuss on that

   15:51:34   7   subject?

   15:51:40   8              MR. TOBEROFF:    I instruct you not to answer

   15:51:41   9   as to the substance of our discussions.

   15:51:44 10               (Instruction not to answer.)

   15:51:44 11    BY MR. PETROCELLI:

   15:51:47 12        Q.     Did you discuss that with your mother?

   15:51:49 13        A.     Not -- not details, no.

   15:51:58 14        Q.     Why didn't you go over this in detail with

   15:52:00 15    your mother, explain exactly what was happening?

   15:52:05 16    You were creating a joint venture, you're giving up

   15:52:08 17    50 percent of the rights?

   15:52:09 18        A.     She -- she read it.

   15:52:13 19        Q.     So -- and you assumed that by her reading

   15:52:16 20    it that she knew exactly what she was doing?

   15:52:18 21        A.     Yes.

   15:52:27 22        Q.     Just like she knew exactly what she was

   15:52:29 23    doing when she signed the 92 agreement, right?

   15:52:35 24        A.     I don't know.

   15:52:36 25        Q.     Unsure?

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   15:52:37   1       A.     Unsure, yeah.

   15:52:39   2       Q.     But not this one ten years later.

   15:52:48   3              Was there any negotiation over the 50

   15:52:52   4   percent?   Did you say 50 percent?      You got to be

   15:52:54   5   kidding me?    How about 5 percent?     Or 10 percent?

   15:53:01   6   You know was there any conversation about that?

   15:53:06   7              MR. TOBEROFF:   You can answer at that.

   15:53:06   8   BY MR. PETROCELLI:

   15:53:07   9       Q.     You said there were drafts that went back

   15:53:09 10    and forth?

   15:53:09 11        A.     Yes, there were conversations.

   15:53:10 12        Q.     What were they?   Relate them to me.

   15:53:17 13               THE WITNESS:    Can I answer.

   15:53:18 14               MR. TOBEROFF:   You can answer as to whether

   15:53:19 15    there were negotiations regarding the 50 percent.

   15:53:24 16    But not as to -- not -- just whether we had the

   15:53:28 17    conversation.    Actually you already answered that.

   15:53:30 18               THE WITNESS:    Yeah.

   15:53:31 19               MR. TOBEROFF:   But you can't answer the

   15:53:33 20    substance of our conversations.

   15:53:35 21               THE WITNESS:    We had discussed the split.

   15:53:35 22    BY MR. PETROCELLI:

   15:53:42 23        Q.     Did you seek a lower split?     Lower for

   15:53:47 24    the -- for Pacific Pictures?

   15:53:51 25        A.     I -- I had asked about the split and we

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   15:53:55   1   discussed it back and forth and what would be

   15:53:59   2   involved on Marc Toberoff's part, the work involved,

   15:54:04   3   the cost he would bear.

   15:54:08   4          Q.   Did you suggest a different number?

   15:54:10   5          A.   I don't remember if I did.   We arrived at

   15:54:24   6   a -- a mutual agreement after talking about it.

   15:54:31   7          Q.   Did you check around on whether 50 percent

   15:54:37   8   was appropriate for this joint venture?

   15:54:40   9          A.   Check around?

   15:54:46 10           Q.   Research.

   15:54:48 11                MR. TOBEROFF:   Vague.

   15:54:55 12                THE WITNESS:    I don't remember if I did or

   15:54:56 13    not.

   15:54:56 14    BY MR. PETROCELLI:

   15:55:04 15           Q.   Once you signed Exhibit 10, you were

   15:55:07 16    satisfied that you understood all of its terms and

   15:55:10 17    provisions?

   15:55:13 18           A.   Yes.

   15:55:15 19           Q.   Okay.   And you understood that it included

   15:55:18 20    in addition to Superman elements, Superboy as well,

   15:55:24 21    including smallville, right?

   15:55:27 22           A.   I saw that, yes.

   15:55:34 23           Q.   And you didn't make any effort to exclude

   15:55:36 24    Superboy or smallville from this agreement Exhibit

   15:55:38 25    10, correct?

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   15:55:40   1       A.     No.

   15:55:40   2       Q.     In fact, it's specifically included,

   15:55:43   3   correct?

   15:55:43   4       A.     Yes.    Can I finish answering that?

   15:55:55   5       Q.     Sure?

   15:55:56   6              MR. TOBEROFF:   No.

   15:55:56   7              THE WITNESS:    No?   Okay.

   15:55:57   8              MR. TOBEROFF:   Wait for the --

   15:55:58   9              THE WITNESS:    Okay.

   15:55:59 10               MR. TOBEROFF:   Just answer the question.

   15:56:00 11               THE WITNESS:    Okay.   I didn't know if I

   15:56:03 12    answered it.

   15:56:03 13    BY MR. PETROCELLI:

   15:56:10 14        Q.     Now, you -- can you turn to paragraph 8.

   15:56:18 15    Starting with the second sentence it says:

   15:56:21 16                      "Upon the expiration of the

   15:56:22 17               term and the winding up of the

   15:56:24 18               venture or in the event of

   15:56:26 19               termination of the venture for any

   15:56:28 20               reason, all rights, property or

   15:56:31 21               assets of the venture will be held

   15:56:34 22               50 percent by the claimants and 50

   15:56:37 23               percent by PPC as tenants in

   15:56:41 24               common."

   15:56:42 25               Do you see that?

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   15:56:42   1       A.    Yes.

   15:56:43   2       Q.    It goes on to continue from there.

   15:56:45   3             Now you understood when you signed this

   15:56:47   4   that rights is a defined word.   Do you see it has

   15:56:52   5   capital R?

   15:56:52   6       A.    Yes.

   15:56:53   7       Q.    And it's defined in the first paragraph as

   15:56:57   8   all of the Joe Shusters and his estate's rights,

   15:57:02   9   claims, copyrights, property, title and interests

   15:57:07 10    into Joe Shuster's creations?

   15:57:08 11        A.    Yes.

   15:57:09 12        Q.    Okay?   And you understood that once you

   15:57:15 13    signed this document, those rights became the

   15:57:18 14    property of the venture called the Joe Shuster

   15:57:22 15    venture, correct?

   15:57:30 16        A.    My understanding is that it's a -- a -- an

   15:57:36 17    interest -- an interest in proceeds coming from the

   15:57:40 18    rights.

   15:57:44 19        Q.    It says all rights properties or assets of

   15:57:47 20    the venture.

   15:57:49 21              Do you see that? Paragraph 8?

   15:57:49 22        A.    Yes.

   15:57:52 23        Q.    Will be in the event of a termination for

   15:57:54 24    any reason will be held 50 percent by the claimants,

   15:57:58 25    that's and you your mother, right?

                                                                       200




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   15:57:59   1       A.    Yes.

   15:58:00   2       Q.    And then 50 percent by Pacific Pictures

   15:58:04   3   Corporation, correct?

   15:58:04   4       A.    Yes.

   15:58:07   5       Q.    So, you understood that even if this

   15:58:13   6   venture was terminated for any reason, you would own

   15:58:17   7   50 percent of the rights with your mother but PPC

   15:58:21   8   would own the other 50 percent as a tenant in

   15:58:24   9   common, correct?

   15:58:27 10        A.    Well --

   15:58:27 11        Q.    Not in the proceeds, but in the actual

   15:58:29 12    rights?

   15:58:29 13        A.    My -- my understanding is you can't

   15:58:31 14    transfer something you have rights in.

   15:58:34 15        Q.    And that's something that you learned after

   15:58:37 16    you signed this agreement, correct?

   15:58:41 17        A.    Well I believe I had some awareness of that

   15:58:44 18    before I signed it.

   15:58:45 19        Q.    You learned that after you signed this

   15:58:47 20    agreement when you tried to fix the problem by

   15:58:51 21    entering into the legal agreement in 2004 which you

   15:58:55 22    then backdated back to 2001, correct?

   15:59:02 23              MR. TOBEROFF:   Also let me just interject.

   15:59:03 24    I don't want you answering questions that are based

   15:59:07 25    on any legal understanding that you've received or

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   15:59:11   1   knowledge or -- he is asking you information that

   15:59:16   2   you just know all on your own.     I know it's hard to

   15:59:17   3   distinguish between the two but -- but I'm going to

   15:59:22   4   ask you to try and do that and not answer questions

   15:59:24   5   based on conversations with attorneys.

   15:59:28   6             THE WITNESS:   Okay.

   15:59:28   7   BY MR. PETROCELLI:

   15:59:47   8       Q.    Can you look at paragraph 2?    It says in

   15:59:54   9   the middle, "In consideration for PPC" -- that's

   15:59:57 10    Pacific Pictures Corporation's -- "contributions to

   16:00:00 11    the venture," and you see venture is capital V,

   16:00:00 12    right?

   16:00:07 13        A.    Which line are you on?   Oh, yes, okay.

   16:00:09 14        Q.    And that's the venture between Pacific

   16:00:12 15    Pictures and you and your mother, correct?

   16:00:12 16        A.    Yes.

   16:00:15 17        Q.    Okay.   It says:

   16:00:16 18                     "In consideration for PPC's

   16:00:18 19              contributions to the venture in the

   16:00:19 20              mutual covenants contained here in,

   16:00:22 21              claimants hereby transfer and

   16:00:24 22              assign to the venture share rights,

   16:00:27 23              titles and title and interests in

   16:00:30 24              the rights."

   16:00:31 25              Do you see that?

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   16:00:31   1       A.    Yes.

   16:00:32   2       Q.    So you understood when you signed this that

   16:00:36   3   all of the Joe Shuster rights, termination rights to

   16:00:40   4   the extent they existed were being transferred and

   16:00:44   5   assigned to the venture just as it says, correct?

   16:00:44   6       A.    Yes.

   16:00:50   7       Q.    Now, are you saying you signed this

   16:00:52   8   believing it was invalid because you can't make such

   16:00:56   9   an assignment or transfer of the rights?      Or are you

   16:00:59 10    telling me?

   16:00:59 11        A.    No.

   16:01:00 12        Q.    Now that it's something you learned

   16:01:01 13    afterwards?

   16:01:04 14        A.    I learned it afterwards.

   16:01:07 15        Q.    Okay.   Let's continue.   How did you learn

   16:01:11 16    it by the way?

   16:01:15 17        A.    Discussions with my attorney.

   16:01:17 18        Q.    Who is that?

   16:01:20 19              MR. TOBEROFF:   I'll let you answer without

   16:01:22 20    waiver.

   16:01:22 21              MR. PETROCELLI:   I just need to know who

   16:01:23 22    the attorney is.    I'd rather have you say

   16:01:26 23    Mr. Toberoff.

   16:01:26 24              THE WITNESS:    Mr. Toberoff?

   16:01:28 25              MR. TOBEROFF:   But I'm saying lime's

                                                                        203




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   16:01:29   1   letting him answer that question without waiver of

   16:01:31   2   the privilege.

   16:01:31   3   BY MR. PETROCELLI:

   16:01:32   4       Q.    The reason I ask you that question is

   16:01:34   5   because you may be referring to some other attorney

   16:01:35   6   and I just have to have the record be clear?

   16:01:39   7       A.    Okay.

   16:01:39   8       Q.    So what did you learn from Mr. Toberoff

   16:01:44   9   that was different from what you signed in 2001?

   16:01:49 10              MR. TOBEROFF:   I'm instructing you not to

   16:01:52 11    answer.   I've already let -- let -- give the gist of

   16:01:56 12    it, and I'm sure Mr. Petrocelli could figure out the

   16:01:58 13    rest on his own.

   16:02:00 14              THE WITNESS:    Okay.

   16:02:01 15              (Instruction not to answer.)

   16:02:01 16    BY MR. PETROCELLI:

   16:02:03 17        Q.    Did you ask Mr. Toberoff -- well, when you

   16:02:09 18    signed this document you thought that Mr. Toberoff

   16:02:10 19    was an expert in these issues right, termination

   16:02:14 20    issues?

   16:02:15 21        A.    Yes.

   16:02:16 22        Q.    So when you later found out that you had

   16:02:19 23    signed something that was not valid, did you ask him

   16:02:25 24    why did you have us sign this document?   You were

   16:02:28 25    the expert.   Did you get into that kind of

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   16:02:32   1   discussion with him?

   16:02:39   2             MR. TOBEROFF:   Don't -- don't -- I instruct

   16:02:42   3   you not to give testimony as to what discussions you

   16:02:45   4   got into or got -- didn't get into with me.

   16:02:45   5   BY MR. PETROCELLI:

   16:02:50   6       Q.    Did you talk to him on that subject?

   16:02:52   7             MR. TOBEROFF:   I instruct you not to

   16:02:54   8   answer.

   16:02:54   9             (Instruction not to answer.)

   16:02:57 10              MR. TOBEROFF:   The question is

   16:02:59 11    rhetorical -- the question is rhetorical anyway.

   16:02:59 12    BY MR. PETROCELLI:

   16:03:03 13        Q.    I want to go back to where I was before

   16:03:05 14    then paragraph 8 and when you signed this you

   16:03:07 15    understood that in the event that this venture was

   16:03:09 16    terminated for any reason, that PPC would own 50

   16:03:14 17    percent of the rights as a tenant in common with

   16:03:17 18    Jean and you, correct?

   16:03:17 19        A.    Yes.

   16:03:31 20        Q.    Okay.   Also by the way, in paragraph 10

   16:03:35 21    there's a reference to approving Mr. Michael Cataron

   16:03:39 22    to become the administrator of Joe Shuster's estate

   16:03:43 23    once it's established.

   16:03:44 24              Do you see that?

   16:03:44 25        A.    Yes.

                                                                       205




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   16:03:45   1       Q.    Whose idea was that?

   16:03:51   2       A.    I'm not sure.

   16:03:52   3       Q.    Why was he selected?   He is a guy -- you

   16:03:55   4   don't even know what city he lives in?

   16:03:57   5       A.    Well   --

   16:03:59   6       Q.    Why is he in here as -- as the executor of

   16:04:02   7   Joe Shuster's estate?

   16:04:08   8       A.    I don't recall why we had -- had him listed

   16:04:11   9   at that time.

   16:04:12 10        Q.    But your mother's -- but Joe's will said it

   16:04:15 11    was to be your mother or if she's unable or

   16:04:17 12    unwilling to serve, then you?

   16:04:18 13        A.    Uh-huh.

   16:04:19 14        Q.    It said nothing about Mr. Cataron?

   16:04:21 15        A.    Uh-huh.

   16:04:22 16        Q.    So why -- why did you agree to that?

   16:04:27 17        A.    I don't know.

   16:04:30 18        Q.    You don't know?

   16:04:31 19        A.    I don't know.   I don't recall why we did.

   16:04:35 20        Q.    Did Michael Cataron ever meet Joe Shuster?

   16:04:37 21        A.    Yes.

   16:04:40 22        Q.    Did they -- how well did they know each

   16:04:43 23    other?

   16:04:43 24        A.    Pretty well.

   16:04:45 25        Q.    Do you have his contact information Michael

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   16:04:47   1   Cataron?

   16:04:49   2       A.     Yeah.

   16:04:50   3       Q.     What is his phone number?

   16:04:51   4       A.     Not with me.

   16:04:54   5       Q.     And you don't know his address, right?

   16:04:56   6       A.     Not on the top of my head.

   16:04:59   7       Q.     Do you know his e-mail address?

   16:05:00   8       A.     Not on the top of my head.

   16:05:08   9       Q.     Now, go to paragraph 7.      It states:

   16:05:11 10                      "The venture and/or the estate

   16:05:12 11               of Joe Shuster (to be established

   16:05:15 12               here under) will retain Marc

   16:05:20 13               Toberoff esquire to render legal

   16:05:23 14               services in connection with the

   16:05:25 15               rights in the venture, including in

   16:05:30 16               connection with all legal disputes,

   16:05:32 17               litigation, arbitration and/or

   16:05:34 18               mediation regarding the rights, et

   16:05:37 19               cetera."

   16:05:40 20               Now, paragraph 7 says that the venture or

   16:05:47 21    Mr. Shuster's estate will retain Mr. Toberoff.

   16:05:47 22               Do you see that?

   16:05:47 23        A.     Yes.

   16:05:54 24        Q.     This -- Mr. Toberoff was not retained as a

   16:05:57 25    lawyer in this document, though, right?

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   16:06:01   1             MR. TOBEROFF:    Calls for a legal

   16:06:01   2   conclusion.

   16:06:01   3   BY MR. PETROCELLI:

   16:06:03   4       Q.    Do you see a signature line for Marc

   16:06:04   5   Toberoff esquire agreeing to render services?

   16:06:09   6             MR. TOBEROFF:    Asked and answered.

   16:06:13   7             You can answer.

   16:06:13   8             THE WITNESS:    It's already been answered.

   16:06:16   9             MR. TOBEROFF:    You can answer.

   16:06:17 10              THE WITNESS: .

   16:06:17 11    BY MR. PETROCELLI:

   16:06:20 12        Q.    When you signed this document, you

   16:06:23 13    understood that you would have to sign another

   16:06:26 14    document or the venture would, to retain

   16:06:28 15    Mr. Toberoff, correct?

   16:06:35 16              MR. TOBEROFF:    Assumes facts.

   16:06:36 17              THE WITNESS:    My understanding this was

   16:06:37 18    document retained Marc Toberoff as our tone.

   16:06:37 19    BY MR. PETROCELLI:

   16:06:40 20        Q.    Where does it say that?

   16:06:44 21        A.    Paragraph 7.

   16:06:44 22        Q.    Where is the signature of Mr. Toberoff?

   16:06:49 23        A.    Signature page.

   16:06:50 24        Q.    It says president, right?    Pacific Pictures

   16:06:54 25    Corporation.   Where is there a signature line for

                                                                        208




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   16:06:56   1   Marc Toberoff esquire?

   16:06:57   2       A.     He's also esquire.

   16:07:03   3       Q.     But he signed the document only in his

   16:07:04   4   capacity as the president of this company that was

   16:07:08   5   doing a joint venture with you.     Did you -- did you

   16:07:13   6   question why he is not signing on as a lawyer to

   16:07:16   7   render the services contemplated by paragraph 7?

   16:07:21   8   Did you have that discussion with him?

   16:07:24   9              MR. TOBEROFF:   You can answer.   He's asking

   16:07:27 10    whether you had a discussion, he just summarized

   16:07:33 11    with me.

   16:07:34 12               THE WITNESS:    Yes.

   16:07:34 13               MR. TOBEROFF:   Do you understand the

   16:07:35 14    question?   Do you want to repeat the question.

   16:07:35 15                   (The reporter read the record

   16:07:35 16               as follows:

   16:07:58 17                   "^ QUESTION ^ ANSWER ").

   16:07:58 18               MR. TOBEROFF:   Yes or no.

   16:07:59 19               THE WITNESS:    I -- I don't recall if I

   16:08:02 20    specifically asked him why he didn't sign, how

   16:08:08 21    you're saying.

   16:08:08 22    BY MR. PETROCELLI:

   16:08:14 23        Q.     Did you express concern about entering into

   16:08:17 24    a joint venture agreement that if it were ever

   16:08:19 25    terminated for any reason Pacific Pictures would own

                                                                        209




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   16:08:23   1   half the rights forever?

   16:08:25   2       A.    Yes.

   16:08:32   3       Q.    Who did you express that to?

   16:08:35   4       A.    I expressed it to Marc Toberoff.

   16:08:37   5       Q.    Did you explain that consequence to your

   16:08:39   6   mother?

   16:08:44   7       A.    I don't I don't know if I got into that

   16:08:50   8   with her or not.    I don't remember.

   16:08:51   9       Q.    Do you think that was important for her to

   16:08:54 10    understand?

   16:08:54 11        A.    Yes.

   16:09:01 12        Q.    Why did you agree to that?

   16:09:07 13        A.    Why?

   16:09:08 14        Q.    Yes.   Why didn't you insist on a provision

   16:09:10 15    that said in the event that the agreement is

   16:09:12 16    terminated for any reason, that the rights revert

   16:09:15 17    back to the Shusters, 100 percent of that?

   16:09:22 18              MR. TOBEROFF:   Answer to the extent that

   16:09:23 19    you have a recollection of why.

   16:09:26 20              THE WITNESS:    Yeah, okay.

   16:09:32 21              THE WITNESS:    My -- my recollection of why

   16:09:33 22    is that -- that he was going to see this case

   16:09:37 23    through no matter what and I thought that he would

   16:09:42 24    and I had thought that there would be no reason it

   16:09:48 25    would be canceled or terminated until the rights had

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   16:09:52   1   been pursued.     He had every -- every economic motive

   16:09:58   2   to pursue it to the full evident extent.

   16:09:58   3   BY MR. PETROCELLI:

   16:10:05   4       Q.    But if he quit two years later or you fired

   16:10:08   5   him or canceled this agreement, he owned half the

   16:10:11   6   rights.   That didn't bother you?

   16:10:15   7             MR. TOBEROFF:   Not according to you.

   16:10:18   8             THE WITNESS:    No.

   16:10:18   9   BY MR. PETROCELLI:

   16:10:21 10        Q.    Okay.   Take a look at paragraph 7.   It

   16:11:14 11    states there that the venture will retain Toberoff

   16:11:18 12    to render legal services including in connection

   16:11:21 13    with legal disputes and litigation.

   16:11:23 14              Do you see that?

   16:11:23 15        A.    Yes.

   16:11:26 16        Q.    Legal disputes and litigation with whom?

   16:11:31 17              MR. TOBEROFF:   I instruct you not to

   16:11:32 18    answer.   This obviously deals with discussions with

   16:11:39 19    counsel regarding potential litigation.

   16:11:40 20              (Instruction not to answer.)

   16:11:40 21    BY MR. PETROCELLI:

   16:11:42 22        Q.    Well, it's fair to say that you understood

   16:11:44 23    when you signed this that there was a prospect of

   16:11:50 24    litigation with DC Comics or some Time-Warner

   16:11:53 25    company, correct?

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   16:11:54   1             MR. TOBEROFF:   Instruct you not to answer.

   16:11:56   2   It implicates attorney-client communications.

   16:11:58   3             (Instruction not to answer.)

   16:11:58   4   BY MR. PETROCELLI:

   16:11:59   5       Q.    You didn't -- you didn't need a lawyer to

   16:12:01   6   tell you that, right?

   16:12:02   7             MR. TOBEROFF:   Instruct you not to answer.

   16:12:02   8             MR. PETROCELLI:   Why?

   16:12:04   9             MR. TOBEROFF:   It implicates

   16:12:05 10    attorney-client communications.

   16:12:07 11              (Instruction not to answer.)

   16:12:07 12              MR. PETROCELLI:   That doesn't cover any

   16:12:08 13    privilege.    That's just un- -- unreasonable.

   16:12:12 14              MR. TOBEROFF:   How he is assessing the

   16:12:13 15    potential for litigation --

   16:12:15 16              MR. PETROCELLI:   I didn't ask how he is

   16:12:16 17    assessing.    Merely the fact.

   16:12:18 18              MR. TOBEROFF:   Whether there is a potential

   16:12:20 19    for litigation.

   16:12:20 20    BY MR. PETROCELLI:

   16:12:21 21        Q.    You understood -- you understood that when

   16:12:26 22    you signed this there was some appreciation that you

   16:12:31 23    would be in litigation?

   16:12:32 24              MR. TOBEROFF:   Instruction.    Same

   16:12:33 25    instruction.

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   16:12:34   1             (Instruction not to answer.)

   16:12:34   2   BY MR. PETROCELLI:

   16:12:58   3       Q.    So you shouldn't have been surprised when

   16:12:59   4   you read the lawsuit that DC filed since you

   16:13:05   5   contemplated litigation as early as 2001, correct?

   16:13:08   6             MR. TOBEROFF:   I instruct you not to answer

   16:13:10   7   as to your reactions in the midst of a litigation

   16:13:15   8   because it implicates attorney-client

   16:13:18   9   communications.

   16:13:19 10              (Instruction not to answer.)

   16:13:19 11              THE WITNESS:    I'll have to follow

   16:13:21 12    Mr. Toberoff's advice.

   16:13:21 13    BY MR. PETROCELLI:

   16:13:22 14        Q.    When you saw the lawsuit from DC Comics

   16:13:25 15    challenging the termination, that's something that

   16:13:27 16    you understood could happen as early as 2001 when

   16:13:31 17    you signed this joint venture agreement, correct?

   16:13:34 18              MR. TOBEROFF:   Same instruction.

   16:13:35 19              (Instruction not to answer.)

   16:13:36 20              MR. PETROCELLI:   Again, I don't think these

   16:13:39 21    questions are -- these instructions are proper.

   16:13:42 22              MR. TOBEROFF:   I'm not going allow him to

   16:13:44 23    answer how is he assessing potential litigation

   16:13:49 24    after he has retained me.

   16:13:49 25              MR. PETROCELLI:   It's just going to have to

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   16:13:52   1   get sorted out in court.

   16:13:55   2       Q.     Go to paragraph 4.   It says:

   16:13:59   3                     "The terms of any and all

   16:14:00   4              agreements regarding any of the

   16:14:02   5              rights and any respects shall be

   16:14:04   6              subject to the express written

   16:14:06   7              approval of claimants and PPC.     The

   16:14:10   8              parties each warrants and represent

   16:14:11   9              that after signing this agreement

   16:14:13 10               they will not without the expressed

   16:14:15 11               written consent of all the parties

   16:14:16 12               transfer limit or encumber the

   16:14:18 13               rights in any respect."

   16:14:20 14               When you signed this, you understood that

   16:14:24 15    you could not enter into any agreement with DC

   16:14:30 16    Comics or any affiliate of DC Comics without the

   16:14:35 17    expressed written consent of Pacific Pictures,

   16:14:35 18    correct.

   16:14:35 19        A.     Yes.

   16:14:40 20        Q.     And in your mind who is Pacific Pictures?

   16:14:45 21        A.     Marc Toberoff.

   16:14:50 22        Q.     And so you understood that you -- you, and

   16:14:54 23    your family could not enter into a contract with DC

   16:14:58 24    Comics no matter how badly you wanted unless Marc

   16:15:03 25    Toberoff consented, correct?

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   16:15:03   1       A.    Yes.

   16:15:09   2       Q.    Did you think that that was an appropriate

   16:15:17   3   power for a lawyer to have over a client?

   16:15:24   4       A.    I thought it was in his best interest to --

   16:15:35   5       Q.    That's not what I asked you?

   16:15:36   6             MR. TOBEROFF:   He's trying to answer your

   16:15:37   7   question.

   16:15:37   8             MR. PETROCELLI:    Yes.

   16:15:38   9       Q.    Did you think -- did you think that it was

   16:15:44 10    proper for lawyers to impose that -- to have such

   16:15:52 11    a -- an agreement with a client that the client

   16:15:54 12    can't settle without the lawyer's consent no matter

   16:15:58 13    how much the client wants to settle?

   16:16:04 14        A.    At the time I didn't consider it

   16:16:05 15    unreasonable.

   16:16:08 16        Q.    Did you think it was appropriate?   Did you

   16:16:11 17    have any knowledge on that subject whether the

   16:16:13 18    lawyers are even permitted under the law to have

   16:16:17 19    such arrangements?

   16:16:21 20        A.    No, I -- I was not aware.

   16:16:22 21        Q.    Did you do any research on that subject?

   16:16:27 22        A.    Not specifically this, no.

   16:16:30 23        Q.    Were you aware that it's not lawful for a

   16:16:33 24    lawyer to have such a -- an agreement with a client?

   16:16:39 25        A.    Not at the time.

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   16:16:40   1       Q.    Have you since become aware of that?

   16:16:42   2       A.    Yes.

   16:16:46   3       Q.    When?

   16:16:55   4       A.    Sometime 2003.

   16:16:57   5       Q.    How?

   16:17:01   6       A.    Discussions with Marc Toberoff.

   16:17:11   7       Q.    What led -- what prompted those

   16:17:13   8   discussions?

   16:17:13   9       A.    We -- we both realized that this format was

   16:17:20 10    not -- not the best approach to take.

   16:17:25 11        Q.    Why was it not the best approach?

   16:17:30 12        A.    We decided a legal retainer, a standard

   16:17:33 13    legal retainer was a preferred association.

   16:17:36 14        Q.    You said in 2001 when you signed this,

   16:17:42 15    you -- you were not even able to appreciate the

   16:17:44 16    difference between a standard legal retainer and a

   16:17:46 17    joint venture agreement.    Do you recall giving that

   16:17:49 18    testimony?    You said you were not even in a position

   16:17:54 19    to note that there was anything unusual about it.

   16:17:57 20    Do you recall giving me that answer?

   16:17:58 21              MR. TOBEROFF:    I believe that misstates his

   16:17:59 22    testimony.

   16:17:59 23              MR. PETROCELLI:   I don't think so.

   16:18:01 24              THE WITNESS:    What -- what did I say?

   16:18:01 25    BY MR. PETROCELLI:

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   16:18:02   1       Q.    So you were aware in 2001 when you signed

   16:18:04   2   the agreement that you were agreeing to a -- an

   16:18:08   3   arrangement that was different from the standard

   16:18:11   4   lawyer client agreement in setting up a joint

   16:18:15   5   venture with Pacific Pictures?

   16:18:16   6             MR. TOBEROFF:   Misstates his testimony.

   16:18:16   7   BY MR. PETROCELLI:

   16:18:18   8       Q.    I'm asking you now.

   16:18:20   9       A.    What did I say before?

   16:18:22 10        Q.    Let's not get hung occupy what you said

   16:18:25 11    before.   It's a new question?

   16:18:26 12        A.    Okay.

   16:18:26 13        Q.    Okay?    Can you read it back please?

   16:18:26 14                  (The reporter read the record

   16:18:26 15              as follows:

   16:18:43 16                  "^ QUESTION ^ ANSWER ").

   16:18:43 17              THE WITNESS:    Was I aware that it was

   16:18:45 18    different than the standard legal retain center.

   16:18:45 19    BY MR. PETROCELLI:

   16:18:48 20        Q.    In 2001 when you signed Exhibit 10?

   16:18:50 21        A.    2001.

   16:18:51 22        Q.    Were -- were -- were you --

   16:18:53 23        A.    I was.

   16:18:53 24        Q.    Aware that you were signing a contract that

   16:18:58 25    was different from the standard lawyer client

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   16:19:01   1   agreement?

   16:19:03   2       A.     I was not keenly aware of that.

   16:19:06   3       Q.     But you became keenly aware of it in 2003,

   16:19:06   4   correct?

   16:19:10   5       A.     Sometime in there.

   16:19:12   6       Q.     Okay.   You said that you and Mr. Toberoff

   16:19:14   7   decided that this approach was not the best approach

   16:19:19   8   and you should revert to a lawyer -- a standard

   16:19:22   9   lawyer client agreement, right?

   16:19:24 10        A.     Yes.

   16:19:25 11        Q.     Okay.   What prompted that?

   16:19:32 12        A.     I -- I don't remember.   We just discussed

   16:19:36 13    things over time.

   16:19:40 14        Q.     You said you learned that the -- it was not

   16:19:46 15    lawful for a lawyer to be able to withhold his

   16:19:49 16    consent to a client settlement.

   16:19:53 17        A.     I did -- at the time I didn't know that --

   16:19:56 18    that was the case.

   16:19:56 19        Q.     But you knew that in 03, right?

   16:19:59 20        A.     Whenever -- whenever we started discussing

   16:20:02 21    changing the form, then at some point after that we

   16:20:09 22    agree we needed to change it, I became aware of

   16:20:11 23    that.

   16:20:14 24        Q.     Was it -- did he just call you up one day

   16:20:16 25    and say we have to make a change?     What brought the

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   16:20:19   1   change about?

   16:20:20   2       A.    I don't remember.

   16:20:30   3       Q.    Did you get any legal advice from someone

   16:20:32   4   other than Mr. Toberoff when he told you that a

   16:20:37   5   change was required?

   16:20:38   6       A.    No.

   16:20:43   7       Q.    Did it cause you any concern after you

   16:20:45   8   learned that you had signed an agreement that had

   16:20:47   9   legal problems associated with it?

   16:20:51 10        A.    No, because we were replacing it with a

   16:20:54 11    better one.

   16:20:57 12        Q.    How do you know it was been?     You thought

   16:21:02 13    the first one was good?

   16:21:03 14        A.    Well, maybe I got smarter.

   16:21:07 15        Q.    In other words, you -- you believed what

   16:21:09 16    Mr. Toberoff told you, correct?

   16:21:09 17        A.    Yes.

   16:21:13 18        Q.    Okay.   But you believed him in 2001 when

   16:21:15 19    you signed the invalid agreement, right?

   16:21:20 20        A.

   16:21:20 21              MR. TOBEROFF:   Assumes facts.

   16:21:22 22              THE WITNESS:    I'm not aware it was invalid.

   16:21:22 23    BY MR. PETROCELLI:

   16:21:31 24        Q.    Do you -- when you -- you ultimately signed

   16:21:34 25    a document -- well, I'll get to that.

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   16:21:47   1             Did you come to learn that there were --

   16:21:52   2   the agreement that you signed with Mr. Toberoff this

   16:21:55   3   joint venture agreement in 2001 and again, in 03 did

   16:22:03   4   violate the copyright laws, correct?

   16:22:07   5             MR. TOBEROFF:   Mischaracterizes.    Strike

   16:22:07   6   that.

   16:22:12   7             You can answer.

   16:22:13   8             THE WITNESS:    I didn't know that

   16:22:17   9   specifically.     That it violated copyright laws.   But

   16:22:22 10    it wasn't the best structure.

   16:22:22 11    BY MR. PETROCELLI:

   16:22:25 12        Q.    Okay.   Tell me how it wasn't the best

   16:22:27 13    structure?

   16:22:28 14        A.    We needed to have a standard legal

   16:22:30 15    retainer.

   16:22:31 16        Q.    Why?

   16:22:32 17        A.    Because that was the best structure.

   16:22:33 18        Q.    Why?    Why was it the best?   In what way was

   16:22:39 19    it better?

   16:22:39 20              MR. TOBEROFF:   The whys get into his

   16:22:41 21    conversations with me.    And so you can't get into

   16:22:44 22    that.

   16:22:44 23    BY MR. PETROCELLI:

   16:22:45 24        Q.    You understood when you changed this

   16:22:47 25    structure or at least attempted to change the

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   16:22:50   1   structure that the Pacific picture agreements

   16:22:55   2   constituted a violation of the copyright laws,

   16:23:01   3   correct?   Did you have at that understanding at that

   16:23:02   4   time?

   16:23:02   5       A.     At that time -- at that time, no.

   16:23:04   6       Q.     Did you come to that understanding

   16:23:06   7   afterwards?

   16:23:10   8              MR. TOBEROFF:   You can't answer that

   16:23:11   9   without divulging attorney-client communications.

   16:23:16 10    Instruct you not to answer.

   16:23:17 11               (Instruction not to answer.)

   16:23:18 12               THE WITNESS:    I have to follow Marc

   16:23:20 13    Toberoff's advice.

   16:23:20 14    BY MR. PETROCELLI:

   16:23:22 15        Q.     You -- you are familiar with an aspect of

   16:23:27 16    the copyright law in the sections dealing with

   16:23:30 17    termination that the grantee -- that the grantor

   16:23:39 18    cannot enter into an agreement with anyone other

   16:23:43 19    than the grantee until the termination is effective?

   16:23:49 20               MR. TOBEROFF:   I instruct you not to

   16:23:50 21    answer.    He can't possibly answer those legal

   16:23:52 22    questions without divulging his communications with

   16:23:55 23    his attorney.

   16:23:55 24               (Instruction not to answer.)

   16:23:56 25               MR. PETROCELLI:   Why?   He is perfectly

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   16:23:57   1   capable of knowing that and he reads the codes, he

   16:24:01   2   researches and he reads all the legal papers.

   16:24:03   3              MR. TOBEROFF:   You're exaggerating his

   16:24:05   4   testimony.

   16:24:05   5              MR. PETROCELLI:   No, I'm not.

   16:24:10   6              MR. TOBEROFF:   Same instruction.   When I

   16:24:11   7   instruct you, you don't answer.    You don't have to

   16:24:13   8   keep asserting that you're --

   16:24:13   9   BY MR. PETROCELLI:

   16:24:13 10        Q.     You -- you are --

   16:24:13 11               MR. TOBEROFF:   Excuse me.   You don't have

   16:24:15 12    to keep asserting that you're going to follow my

   16:24:16 13    instruction.    We've already established you're going

   16:24:18 14    to follow my instruction.

   16:24:18 15    BY MR. PETROCELLI:

   16:24:20 16        Q.     You read the complaint or you scanned it

   16:24:21 17    but got the gist of it that DC Comics was contending

   16:24:28 18    in the lawsuit that these Pacific Pictures

   16:24:30 19    agreements violated the exclusivity provisions of

   16:24:33 20    the copyright statute.     You got the gist of that,

   16:24:33 21    right?

   16:24:39 22        A.     The exclusivity provisions?

   16:24:41 23        Q.     In the copyright termination provisions,

   16:24:44 24    correct.

   16:24:46 25        A.     I'm not sure I -- I have enough legal

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   16:24:48   1   knowledge about the exclusivity provisions.

   16:24:50   2       Q.    Did you get the gist of the claim that DC

   16:24:56   3   Comics made in the lawsuit that these Pacific

   16:24:59   4   Pictures agreements violated certain provisions of

   16:25:02   5   the copyright statute?

   16:25:04   6       A.    I got the gist.

   16:25:05   7       Q.    And did you understand that DC Comics was

   16:25:08   8   contending that the Shusters did not have the legal

   16:25:14   9   right to enter into an agreement with anyone other

   16:25:20 10    than DC until and unless their termination became

   16:25:24 11    effective?

   16:25:29 12              MR. TOBEROFF:   You can only answer to the

   16:25:30 13    extent you scanned the complaint on your own and you

   16:25:35 14    came to that conclusion.

   16:25:36 15              THE WITNESS:    I may not be fully aware of

   16:25:39 16    that detail.

   16:25:39 17    BY MR. PETROCELLI:

   16:25:42 18        Q.    Are you aware that Mr. Toberoff has stated

   16:25:44 19    in papers filed with the court that these Pacific

   16:25:47 20    picture agreements were void?

   16:25:54 21        A.    Yes.

   16:25:55 22        Q.    How did you become aware of that?

   16:25:58 23        A.    Through our discussions.

   16:26:00 24        Q.    Did you read any of the legal filings that

   16:26:02 25    are made in this case?

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   16:26:03   1       A.    The voiding of the Pacific Pictures or

   16:26:12   2   anything else?

   16:26:13   3       Q.    Well, you understand you filed the lawsuit

   16:26:15   4   and then your -- your counsel has filed a motion to

   16:26:19   5   dismiss the lawsuit and through lots of briefs have

   16:26:23   6   been filed.   Do you read that material?

   16:26:25   7       A.    I read some of it.

   16:26:31   8       Q.    Are you aware that Mr. Toberoff has

   16:26:33   9   acknowledged that the Pacific Pictures agreements

   16:26:37 10    did not comply with the copyright laws?

   16:26:41 11        A.    Yes.

   16:26:45 12        Q.    Why did you sign agreements that did not

   16:26:47 13    comply with the copyright laws?

   16:26:51 14        A.    At the time I was unaware.

   16:26:55 15        Q.    Why were you unaware?

   16:26:58 16        A.    I'm not a lawyer.

   16:27:01 17        Q.    You relied on Mr. Toberoff?

   16:27:07 18        A.    Yes.

   16:27:07 19        Q.    Having learned that you signed agreements

   16:27:17 20    that violated the copyright law why did you think

   16:27:26 21    that DC Comics had no right to file a claim?

   16:27:31 22              MR. TOBEROFF:   Objection.   I'm objecting to

   16:27:33 23    your use of the word "violated the copyright laws."

   16:27:35 24    Also stated in that paper something being invalid --

   16:27:35 25              MR. PETROCELLI:   You don't need to --

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   16:27:37   1               MR. TOBEROFF:     Under the copyright law and

   16:27:39   2   violating law is two separate --

   16:27:40   3               MR. PETROCELLI:    That's not appropriate,

   16:27:42   4   Marc.

   16:27:42   5               MR. TOBEROFF:     Okay.

   16:27:44   6               MR. PETROCELLI:    We don't need to teach

   16:27:45   7   Mr. Peary the niceties of copyright law.

   16:27:50   8               MR. TOBEROFF:     I'm not teaching him.

   16:27:51   9               MR. PETROCELLI:    Let's move on.   What's the

   16:27:58 10    next Exhibit 11?      Okay.

   16:28:00 11           Q.   Now, after signing this document exhibit

   16:28:03 12    10, sometime there after your -- your mother put

   16:28:14 13    Joanne Siegel in touch with Marc Toberoff, right?

   16:28:14 14           A.   Yes.

   16:28:18 15           Q.   And do you know when that happened?

   16:28:25 16           A.   I believe sometime in 2003.

   16:28:31 17           Q.   Were you keeping close -- in close contact

   16:28:36 18    with Mr. Toberoff about his contacts with the Siegel

   16:28:42 19    family prior to the time the Siegel family hired

   16:28:46 20    him?

   16:28:49 21                MR. TOBEROFF:     Assumes facts.   Lacks

   16:28:55 22    foundation.    Do you understand the question?

   16:28:55 23                THE WITNESS:    Was I in closes contact with

   16:28:57 24    him regarding the Siegels?

   16:28:57 25    BY MR. PETROCELLI:

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   16:29:00   1       Q.    Yes.   As he was courting the Siegels?

   16:29:03   2             MR. TOBEROFF:   Assumes facts.    Lacks

   16:29:05   3   foundation.   Object to the word "courting the

   16:29:06   4   Siegels" -- the phrase "courting the Siegels."

   16:29:09   5             THE WITNESS:    I was aware he had a --

   16:29:13   6             MR. TOBEROFF:   Do you understand what the

   16:29:14   7   question is because I don't.

   16:29:16   8             THE WITNESS:    Maybe not.   I don't know.

   16:29:17   9             MR. PETROCELLI:   He was about to answer it.

   16:29:18 10    Of course he understood what the question was.

   16:29:20 11              MR. TOBEROFF:   No, it's very confusing.

   16:29:20 12    Can you read back --

   16:29:21 13              MR. PETROCELLI:   It's not confusing.

   16:29:23 14              MR. TOBEROFF:   Okay.   Let me just restate

   16:29:23 15    that.   Could you read back the question for me.

   16:29:29 16              MR. PETROCELLI:   We're into the courtship

   16:29:31 17    of the Siegels, Marc. Come on this is a good part of

   16:29:34 18    the exam.

   16:29:34 19              MR. TOBEROFF:   I object to your

   16:29:36 20    self-serving word courtship as I do to the word

   16:29:38 21    "violation of the copyright act.

   16:29:51 22                     (The reporter read the record

   16:29:51 23              as follows:

   16:29:52 24                     "^ QUESTION ^ ANSWER ").

   16:29:52 25              THE WITNESS:    Yes.

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   16:29:52   1   BY MR. PETROCELLI:

   16:29:54   2       Q.    Did you approve of Mr. Toberoff taking on

   16:30:03   3   the representation of the Siegels?

   16:30:11   4       A.    Yes.

   16:30:11   5       Q.    Did you feel that in some way that might

   16:30:14   6   conflict with your interests or your mother's

   16:30:19   7   interests?

   16:30:22   8       A.    I thought it would potentially be an

   16:30:24   9   advantage.

   16:30:25 10        Q.    How so?

   16:30:29 11              MR. TOBEROFF:   You can only answer that if

   16:30:30 12    you formed an opinion as to that that's not bound up

   16:30:36 13    with your discussions with me.

   16:30:36 14    BY MR. PETROCELLI:

   16:30:40 15        Q.    Now look?

   16:30:41 16              MR. TOBEROFF:   If you have an opinion

   16:30:42 17    that's independent of your advice of, Counsel, you

   16:30:45 18    can answer.    If not, you instruct you not to.

   16:30:50 19              THE WITNESS:    Okay.   Well, my opinion is

   16:30:51 20    bound up in discussions.

   16:30:54 21              (Instruction not to answer.)

   16:30:54 22    BY MR. PETROCELLI:

   16:30:55 23        Q.    Just because something may be bound up in

   16:30:58 24    discussions, whatever that means, doesn't mean that

   16:31:01 25    you can't have a thought of your own.     That you

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   16:31:06   1   can't convey?

   16:31:08   2              MR. TOBEROFF:   Argumentative and don't

   16:31:10   3   listen to his instructions listen to mine and I

   16:31:12   4   instruct you not to answer unless you can answer

   16:31:14   5   independently of your discussions with me.

   16:31:18   6              THE WITNESS:    Well, my.

   16:31:18   7   BY MR. PETROCELLI:

   16:31:21   8       Q.     Why did you believe that Marc Toberoff

   16:31:26   9   representing the Siegels would be to your advantage?

   16:31:31 10               MR. TOBEROFF:   Same instruction.

   16:31:31 11               (Instruction not to answer.)

   16:31:31 12    BY MR. PETROCELLI:

   16:31:35 13        Q.     Did you discuss that with anyone?

   16:31:37 14        A.     My belief as to why it's an advantage?

   16:31:39 15               MR. TOBEROFF:   Excuse me.   I'm instructing

   16:31:41 16    you not to answer what your belief was based on your

   16:31:44 17    testimony that it's bound up with your discussions

   16:31:47 18    with me.   What's the -- what's the next question?

   16:31:47 19    BY MR. PETROCELLI:

   16:31:51 20        Q.     Did you discuss that with anyone?

   16:31:52 21               MR. TOBEROFF:   Other than me?

   16:31:53 22               MR. PETROCELLI:   No, I said with anyone.

   16:31:56 23               THE WITNESS:    You can.

   16:31:56 24    BY MR. PETROCELLI:

   16:31:57 25        Q.     Answer that yes or no?

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   16:31:58   1             MR. TOBEROFF:   You can answer whether you

   16:31:59   2   discussed the subject with your attorney yes or no.

   16:32:01   3             MR. PETROCELLI:   I didn't say with your

   16:32:03   4   attorney I said with anyone.

   16:32:04   5             MR. TOBEROFF:   With anyone with anyone.

   16:32:05   6             THE WITNESS:    With anyone else.

   16:32:05   7   BY MR. PETROCELLI:

   16:32:06   8       Q.    No with anyone?

   16:32:07   9       A.    Oh, yes.

   16:32:08 10        Q.    With whom?

   16:32:08 11        A.    Well, Marc Toberoff.

   16:32:09 12        Q.    Anyone else?

   16:32:10 13        A.    No.

   16:32:12 14        Q.    Did you discuss it with your mother?

   16:32:16 15              MR. TOBEROFF:   Asked and answered.

   16:32:24 16              THE WITNESS:    I -- I don't recall if I

   16:32:29 17    discussed it with her.

   16:32:29 18    BY MR. PETROCELLI:

   16:32:31 19        Q.    You realize -- you believe that it was

   16:32:36 20    advantageous for Marc Toberoff to also represent the

   16:32:39 21    Siegels and you didn't discuss that with your

   16:32:42 22    mother?

   16:32:43 23              MR. TOBEROFF:   Asked and answered.

   16:32:48 24              THE WITNESS:    Just what I said.   That.

   16:32:53 25              MR. TOBEROFF:   Just.

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   16:32:53   1   BY MR. PETROCELLI:

   16:32:55   2       Q.    What did you -- you said you can't recall.

   16:32:58   3       A.    Yes.

   16:32:59   4       Q.    Do you believe you would have discussed

   16:33:01   5   that with her given the nature of its importance?

   16:33:06   6             MR. TOBEROFF:   Don't speculate.   Only

   16:33:07   7   testify as to your memory.

   16:33:09   8             THE WITNESS:    Yeah, I don't know.

   16:33:09   9   BY MR. PETROCELLI:

   16:33:12 10        Q.    It's not speculation.    It's based on a

   16:33:14 11    practice that would you have had of conveying and

   16:33:16 12    sharing and communicating with your mother on

   16:33:19 13    matters that were important to this topic.      Is it

   16:33:26 14    fair to say that you had that practice of sharing

   16:33:28 15    important and discussing important information

   16:33:32 16    relating to the Superman issue after you retained

   16:33:34 17    Mr. Toberoff that would you have discussions on

   16:33:36 18    important developments with your mother?

   16:33:40 19              MR. TOBEROFF:   Vague.

   16:33:43 20              THE WITNESS:    Some.

   16:33:43 21    BY MR. PETROCELLI:

   16:33:45 22        Q.    Did you believe that this was an important

   16:33:46 23    development, whether or not Mr. Toberoff should

   16:33:51 24    become the lawyers for the Siegels given that you

   16:33:52 25    believed he also was your family's lawyer?

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   16:33:55   1       A.     Yes.

   16:33:56   2       Q.     Do you believe based on the importance of

   16:33:57   3   that information that you discuss that with your

   16:34:01   4   mother?

   16:34:04   5       A.     Probably.

   16:34:08   6       Q.     And what did you and she discuss on that

   16:34:10   7   subject?

   16:34:12   8              MR. TOBEROFF:   Only answer if you have a

   16:34:13   9   recollection.

   16:34:15 10               MR. PETROCELLI:   That's true of every

   16:34:16 11    answer?

   16:34:17 12               MR. TOBEROFF:   But I want to make sure.

   16:34:19 13    Witnesses have a tendency.     Not this witness but any

   16:34:21 14    witness has a tendency to try to fill in the blanks.

   16:34:26 15               THE WITNESS:    My mother, she liked Marc

   16:34:31 16    Toberoff a lot personally.     She had spoken with him

   16:34:36 17    and she -- she thought she would be helping the

   16:34:40 18    Siegels by referring them to him.

   16:34:40 19    BY MR. PETROCELLI:

   16:34:44 20        Q.     Did you discuss how this would be

   16:34:47 21    advantgeous to the Shuster family by having

   16:34:51 22    Mr. Toberoff also represent the Siegels?

   16:34:57 23        A.     I don't think we discussed that at that

   16:34:59 24    time.

   16:34:59 25        Q.     Why didn't you discuss that?   Wasn't that

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   16:35:02   1   the -- the most important part of the discussion?

   16:35:13   2       A.    The -- the advantages came up in

   16:35:18   3   discussions over time as we discussed back and forth

   16:35:23   4   with Marc Toberoff.   That's -- that's --

   16:35:27   5       Q.    I'm asking about you your discussions with

   16:35:29   6   your mother because I'm trying to get at information

   16:35:31   7   that's clearly and plainly discoverable.

   16:35:35   8       A.    At that time we did not discuss any

   16:35:39   9   specific strategic value for having the Siegels and

   16:35:47 10    Toberoff work together.

   16:35:49 11        Q.    Why did you not discuss that subject with

   16:35:51 12    your mother given it's importance?

   16:35:55 13        A.    I don't know.

   16:35:59 14        Q.    You made a decision not to bring it up?

   16:36:03 15        A.    I know she recommended him to the Siegels

   16:36:06 16    because she liked him and trusted him and -- and she

   16:36:11 17    thought it would be a good idea for them to talk to

   16:36:14 18    him and that's -- that was at that point that's all

   16:36:18 19    we discussed.

   16:36:19 20        Q.    And you never once discussed with her your

   16:36:21 21    views as to how it would be advantageous to the

   16:36:25 22    Shusters to have Mr. Toberoff represent the Siegels?

   16:36:28 23              MR. TOBEROFF:   Asked and answered twice.

   16:36:29 24              THE WITNESS:    Not at that time.

   16:36:29 25    BY MR. PETROCELLI:

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   16:36:32   1          Q.   At any time?

   16:36:33   2          A.   At any time -- some -- some -- some time

   16:36:49   3   later I suppose.

   16:36:50   4          Q.   Tell me what you said to her about those

   16:36:54   5   advantages.

   16:36:55   6          A.   It was based upon my discussions with Marc

   16:37:01   7   Toberoff about the value of having all the rights.

   16:37:10   8          Q.   Tell me what you said to your mother?

   16:37:12   9          A.   That's what I told her.

   16:37:13 10           Q.   On that subject.

   16:37:14 11                You said it was based on?

   16:37:16 12           A.   Yes.

   16:37:17 13           Q.   I didn't ask you what it was based on.

   16:37:18 14           A.   Okay.

   16:37:18 15           Q.   I'm asking you what you actually said to

   16:37:21 16    her.

   16:37:22 17           A.   Okay.

   16:37:22 18           Q.   Tell me what you said to her about why it

   16:37:24 19    was valuable to have all the rights.

   16:37:29 20           A.   I believe that's all I said.

   16:37:30 21           Q.   What did you mean by that?

   16:37:33 22           A.   Just what it says.   Valuable to have all

   16:37:36 23    the rights.

   16:37:36 24           Q.   Valuable to whom?

   16:37:38 25           A.   To all of us.

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   16:37:39   1       Q.    Who are all?

   16:37:40   2       A.    Siegels and Shusters together.

   16:37:49   3       Q.    Valuable in that you can demand and command

   16:37:55   4   more money?   Valuable in that sense?

   16:37:57   5       A.    Well, there's -- there's.

   16:38:04   6             MR. TOBEROFF:   Excuse me.    You can testify

   16:38:07   7   as to what you specifically said to your mother but

   16:38:11   8   you can't testify as to your understanding of the

   16:38:14   9   value if that value is based on discussions with

   16:38:19 10    your attorney.

   16:38:21 11              MR. PETROCELLI:   That's not exactly true if

   16:38:23 12    he has discussed that subject with his mother.

   16:38:26 13              MR. TOBEROFF:   That's what I just said.

   16:38:27 14    You can testify.

   16:38:29 15              MR. PETROCELLI:   But even if the

   16:38:30 16    information came from you.

   16:38:31 17              MR. TOBEROFF:   He can testify.

   16:38:32 18              MR. PETROCELLI:   Entirely.

   16:38:34 19              MR. TOBEROFF:   Only to what he said to his

   16:38:35 20    mother even if the information came from me.

   16:38:35 21              MR. PETROCELLI:   Correct.

   16:38:37 22              MR. TOBEROFF:   If he didn't say that to his

   16:38:39 23    mother and he just said I think this is a good

   16:38:41 24    idea --

   16:38:41 25              MR. PETROCELLI:   Well --

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   16:38:42   1              MR. TOBEROFF:   Then -- then you can't say

   16:38:43   2   why do you think it was a good idea.

   16:38:44   3              MR. PETROCELLI:   I'm also entitled to ask

   16:38:45   4   about his state of mind as to why he said what he

   16:38:48   5   said to his mother.

   16:38:51   6              MR. TOBEROFF:   This isn't a hearsay

   16:38:53   7   objection, this is a privilege objection.

   16:38:55   8              MR. PETROCELLI:   No, but we're trying to

   16:38:56   9   get at discovery.

   16:38:59 10               MR. TOBEROFF:   Okay.

   16:38:59 11               MR. PETROCELLI:   And its relevant for that

   16:39:04 12    purpose.

   16:39:05 13               MR. TOBEROFF:   You can testify as to what

   16:39:06 14    you said to your mother.     If he asks you why you

   16:39:10 15    said that and the whys and the wheres are based on

   16:39:13 16    your conversations with me, I instruct you not to

   16:39:17 17    testify.   That's.

   16:39:18 18               MR. PETROCELLI:   Well, I don't accept that.

   16:39:19 19               THE WITNESS:    Well.

   16:39:19 20    BY MR. PETROCELLI:

   16:39:20 21        Q.     Let me ask my next question.

   16:39:21 22               Did you -- you did not sign a conflict

   16:39:37 23    waiver in 2001, 2002 or '3 having to do with

   16:39:45 24    Mr. Toberoff representing the Siegels, right?

   16:39:49 25        A.     Right.

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   16:39:49   1       Q.     You were never presented with one either,

   16:39:49   2   right?

   16:39:53   3       A.     I don't think so.

   16:40:05   4       Q.     Did you -- did Mr. Toberoff discuss with

   16:40:11   5   you his attempts to reach out to the Siegels prior

   16:40:17   6   now, this is prior to the time that Mr. Toberoff

   16:40:21   7   went to work for the Siegels which I will represent

   16:40:23   8   to you was sometime in the late summer of 2002.

   16:40:31   9              MR. TOBEROFF:   That's incorrect.   That's

   16:40:34 10    misrepresentation of fact.

   16:40:36 11        Q.     September, October 2002?

   16:40:46 12        Q.     Prior to that time?

   16:40:47 13               MR. TOBEROFF:   Nobody used ever use

   16:40:49 14    October as late summer.

   16:40:50 15               MR. PETROCELLI:   Well it's a little bit

   16:40:52 16    unclear.

   16:40:52 17               MR. TOBEROFF:   If you say I'm taking a

   16:40:54 18    summer holiday.

   16:40:54 19               MR. PETROCELLI:   You've got a September --

   16:40:55 20    you've got a September date in there where she's

   16:40:58 21    terminated the lawyers.      I think it's September 21.

   16:41:03 22    I think there's a letter there.     I may be mixing my

   16:41:06 23    dates up.   Let's call it October.    I'm not going

   16:41:10 24    to -- vouching for the date, but let's just say

   16:41:13 25    prior to October 2002, prior to that time -- well,

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   16:41:18   1   let me do it differently.

   16:41:19   2       Q.    Did there come a time where you learned

   16:41:25   3   that Mr. Toberoff had been retained by the Siegels?

   16:41:28   4       A.    Yes.

   16:41:29   5       Q.    How did you find out?

   16:41:30   6       A.    He told me.

   16:41:31   7       Q.    Okay.   Prior to that time when he told you

   16:41:37   8   he was retained by the Siegels, and you think that

   16:41:40   9   was in 2003 you said, right?

   16:41:45 10        A.    That's -- that's what I had thought.    I

   16:41:47 11    didn't -- I don't remember.

   16:41:52 12        Q.    Did -- did the Joanne Siegel or Laura

   16:41:56 13    Siegel have any discussions with you or your mother

   16:42:02 14    to your knowledge, about the decision to hire

   16:42:02 15    Mr. Toberoff?

   16:42:02 16        A.    No, discussions with me.

   16:42:07 17        Q.    Do you know whether they had any

   16:42:08 18    discussions with your mother to the effect hey, I

   16:42:11 19    met him or I've talked to him, I think I'm -- I

   16:42:14 20    think I'm going to retain him?

   16:42:16 21        A.    I don't know what they said to her.

   16:42:17 22        Q.    Did they call you up to ask if it would

   16:42:20 23    pose any problem with respect to you or your mother

   16:42:26 24    if he went to work for the Siegels?

   16:42:28 25        A.    No.

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   16:42:36   1       Q.    Have you -- were you told about -- by

   16:42:40   2   Mr. Toberoff about any of his efforts to contact the

   16:42:44   3   Siegels or make contact with them prior to the time

   16:42:47   4   he was retained by them?

   16:42:48   5       A.    No.

   16:42:54   6       Q.    Did you learn about what he was -- about

   16:42:59   7   his efforts to get in touch with them from any other

   16:43:03   8   source?

   16:43:03   9       A.    No.

   16:43:09 10        Q.    So is what you're telling me that at one

   16:43:15 11    point you told him that you had no issue with his

   16:43:18 12    representing the Siegels and then the next time you

   16:43:22 13    discussed the subject with him, he told you he was

   16:43:25 14    the lawyer for the Siegels and there was no

   16:43:27 15    discussion in between on that subject?

   16:43:32 16        A.    I don't know.

   16:43:33 17        Q.    When did you and Mr. Toberoff have the

   16:43:36 18    discussion about it being mutually advantageous for

   16:43:43 19    Mr. Toberoff to also represent the Siegels?   When

   16:43:48 20    did you have that discussion?

   16:43:50 21        A.    Sometime after they retained him.

   16:43:54 22        Q.    Oh after they retained him?

   16:43:55 23        A.    Yes.

   16:43:57 24        Q.    Okay.   So prior to the time that the

   16:44:00 25    Siegels retained Mr. Toberoff, other than your

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   16:44:05   1   mother putting -- other than your mother making a

   16:44:09   2   phone call to Joanne, you had no knowledge about

   16:44:16   3   Mr. Toberoff contacting the Siegels or trying to

   16:44:20   4   become their lawyer or anything like that?

   16:44:22   5             MR. TOBEROFF:   Lacks foundation.   Assumes

   16:44:25   6   facts as to trying to become their lawyer.

   16:44:32   7             THE WITNESS:    I don't know about that.

   16:44:32   8   BY MR. PETROCELLI:

   16:44:36   9       Q.    Do you -- when did -- when did you and your

   16:44:45 10    mother discuss that she would recommend Mr. Toberoff

   16:44:49 11    to Joanne Siegel?    Was that before or after you

   16:44:52 12    signed the 2001 agreement with Mr. Toberoff?

   16:44:57 13        A.    Before or after we signed the 2001

   16:45:05 14    agreement?

   16:45:05 15        Q.    Yes.

   16:45:09 16        A.

   16:45:09 17              MR. TOBEROFF:   Do you understand the

   16:45:10 18    question?

   16:45:12 19              THE WITNESS:    Yeah yeah.

   16:45:12 20              MR. TOBEROFF:   Do you understand the

   16:45:13 21    question.

   16:45:13 22    BY MR. PETROCELLI:

   16:45:14 23        Q.    Exhibit 10 was signed in November 2001

   16:45:16 24    right Exhibit 10 you have that in front of you the

   16:45:18 25    joint venture agreement?

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   16:45:19   1         A.   Yes.

   16:45:19   2         Q.   Was it before or after you signed Exhibit

   16:45:21   3   10 that you and your mother had a discussion about

   16:45:24   4   putting him -- putting -- having Joanne Siegel --

   16:45:29   5   telling Joanne Siegel about Marc Toberoff?

   16:45:31   6         A.   I don't know if we specifically discussed

   16:45:34   7   it.   She mentioned him.

   16:45:38   8         Q.   She whom?

   16:45:38   9         A.   My mother.   In just a phone conversation.

   16:45:42 10          Q.   To whom?

   16:45:43 11          A.   To Joanne.

   16:45:45 12          Q.   Before or after?

   16:45:46 13          A.   After.

   16:45:47 14          Q.   How long after?

   16:45:50 15               MR. TOBEROFF:   Asked and answered.

   16:45:50 16               THE WITNESS:    I don't know.

   16:45:50 17    BY MR. PETROCELLI:

   16:45:52 18          Q.   And you were there when she mentioned it or

   16:45:56 19    she told you about it afterwards?

   16:45:57 20          A.   She told me.

   16:45:58 21          Q.   Okay.    And what did she tell you she had

   16:46:01 22    done?

   16:46:04 23          A.   I don't remember exactly what she said.

   16:46:08 24          Q.   Okay.    Did you have a follow-up

   16:46:09 25    conversation with Mr. Toberoff about the fact that

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   16:46:11   1   your mother had mentioned him to Joanne Siegel?

   16:46:15   2       A.    No.

   16:46:17   3       Q.    Did you have any conversations with him

   16:46:19   4   about whether it would be a good idea or a bad idea

   16:46:22   5   for him also to represent the Siegel family?

   16:46:26   6             MR. TOBEROFF:   I instruct you not to answer

   16:46:28   7   as to the substance of our conversations whether

   16:46:30   8   it's a good idea or bad idea.

   16:46:32   9             (Instruction not to answer.)

   16:46:32 10    BY MR. PETROCELLI:

   16:46:33 11        Q.    Did you -- when is the next time you had

   16:46:35 12    any conversation with anyone about the subject of

   16:46:39 13    mark Siegel having some kind of a relationship with

   16:46:44 14    the Siegels?

   16:46:45 15              MR. TOBEROFF:   Mark.

   16:46:45 16    BY MR. PETROCELLI:

   16:46:46 17        Q.    Marc Toberoff having some kind of

   16:46:49 18    relationship with the Siegels after this one event

   16:46:52 19    that you describe where your mother told you she

   16:46:54 20    spoke to Joanne?

   16:46:55 21        A.    When is the next time I talked to anyone?

   16:46:57 22        Q.    On that subject correct.

   16:47:01 23        A.    Other than Marc Toberoff?

   16:47:02 24        Q.    No including Marc Toberoff.

   16:47:03 25        A.    Oh.

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   16:47:05   1             MR. TOBEROFF:   You can't -- okay.   I'll let

   16:47:08   2   you answer that.

   16:47:08   3             THE WITNESS:    I don't remember.

   16:47:08   4   BY MR. PETROCELLI:

   16:47:10   5       Q.    Was it before or after Mr. Toberoff was

   16:47:13   6   retained by the Siegels?

   16:47:14   7       A.    I don't -- I don't remember.     Too long ago.

   16:47:24   8       Q.    Did Mr. Toberoff discuss with you that

   16:47:26   9   there was a -- that he was approaching the Siegels

   16:47:29 10    not to represent them as a lawyer but to do a

   16:47:32 11    business transaction with them?

   16:47:35 12              MR. TOBEROFF:   Assumes facts.   Lacks

   16:47:41 13    foundation.   Instruct you not to answer as to the

   16:47:44 14    substance of our conversations.

   16:47:45 15              (Instruction not to answer.)

   16:47:45 16    BY MR. PETROCELLI:

   16:47:46 17        Q.    Did he discuss that he was aware of an

   16:47:50 18    investor, very wealthy investor, maybe even a

   16:47:54 19    billionaire investor who wanted to do a deal for the

   16:47:59 20    Superman rights?

   16:48:00 21              MR. TOBEROFF:   Same instruction.

   16:48:04 22              (Instruction not to answer.)

   16:48:04 23              MR. TOBEROFF:   As to our discussions or

   16:48:06 24    conversations.

   16:48:06 25    BY MR. PETROCELLI:

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   16:48:06   1       Q.     Did he discuss with you that he was going

   16:48:08   2   to approach the Siegels about such an investor?

   16:48:14   3              MR. TOBEROFF:   Same instruction.

   16:48:16   4              (Instruction not to answer.)

   16:48:16   5   BY MR. PETROCELLI:

   16:48:19   6       Q.     Have you ever come to learn that

   16:48:23   7   Mr. Toberoff had discussions with the Siegels about

   16:48:27   8   an investor who would buy their Superman rights?

   16:48:35   9              MR. TOBEROFF:   You can only answer that if

   16:48:39 10    you have knowledge independent of your discussions

   16:48:39 11    with me.

   16:48:41 12               THE WITNESS:    I don't have knowledge

   16:48:43 13    independent of my discussions.

   16:48:45 14               MR. TOBEROFF:   Then I instruct you not to

   16:48:47 15    answer.

   16:48:47 16               (Instruction not to answer.)

   16:48:47 17    BY MR. PETROCELLI:

   16:48:48 18        Q.     Did you have discussions with Mr. Toberoff

   16:48:51 19    on that topic in 2002?

   16:48:55 20               MR. TOBEROFF:   Same instruction.

   16:48:55 21               (Instruction not to answer.)

   16:48:55 22    BY MR. PETROCELLI:

   16:49:00 23        Q.     Did you have discussions with Mr. Toberoff

   16:49:01 24    on -- about the Siegels in 2002?

   16:49:07 25               MR. TOBEROFF:   Just about the Siegels?

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   16:49:08   1              MR. PETROCELLI:    Anything related to the

   16:49:09   2   Siegels.

   16:49:11   3              MR. TOBEROFF:    You can -- you could

   16:49:13   4   answer -- without waiver of privilege, you can

   16:49:16   5   answer whether we had any discussions on the subject

   16:49:17   6   of the Siegels if you remember.     Date specific.

   16:49:22   7              THE WITNESS:    I don't remember

   16:49:23   8   specifically.      I can only assume.   I don't remember.

   16:49:23   9   BY MR. PETROCELLI:

   16:49:28 10        Q.     You said earlier that you saw a document

   16:49:30 11    called the Toberoff timeline and you saw it prior to

   16:49:37 12    Siegel that it was attached to the lawsuit that we

   16:49:39 13    filed.

   16:49:39 14        A.     Yes.

   16:49:41 15        Q.     Okay.   And when you saw that document you

   16:49:43 16    read it?

   16:49:44 17        A.     Yeah, scanned it.

   16:49:50 18        Q.     Scanned again?

   16:49:50 19        A.     Yeah, I read it.

   16:49:52 20        Q.     Read it?

   16:49:53 21        A.     I didn't think much of it.

   16:49:55 22        Q.     What does that mean?

   16:49:59 23        A.     You want me to explain my -- my feelings

   16:50:01 24    about what that is?

   16:50:03 25        Q.     Sure.

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   16:50:05   1       A.    I think that someone came in intentionally

   16:50:12   2   to try to set Marc Toberoff up to make him look bad

   16:50:16   3   and sent an anonymous letter.

   16:50:23   4       Q.    What's the basis?

   16:50:24   5       A.    Without -- without signing.   That's what

   16:50:26   6   I -- my belief and feeling is about that.

   16:50:29   7       Q.    Why -- why did you form that belief, that

   16:50:34   8   someone was trying to set him up?

   16:50:34   9       A.    Because --

   16:50:36 10        Q.    Set him up for what?

   16:50:37 11        A.    Because documents were stolen.

   16:50:39 12        Q.    What does that mean they were stolen?

   16:50:41 13        A.    Documents were stolen from his office.

   16:50:43 14        Q.    How do you know that?

   16:50:44 15        A.    He told me.

   16:50:47 16        Q.    Do you know it from any other source?

   16:50:54 17        A.    Just from a -- a later as a grand jury

   16:51:02 18    subpoena regarding that theft.

   16:51:04 19        Q.    You were examined if front of the grand

   16:51:07 20    jury?

   16:51:07 21        A.    No, there was -- I was aware of a grand

   16:51:10 22    jury subpoena regarding that theft issue.

   16:51:12 23        Q.    How did you become aware of that?

   16:51:14 24              MR. TOBEROFF:   You're getting into an area

   16:51:17 25    where your awareness is solely based on

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   16:51:20   1   conversations with me.     You were talking quickly and

   16:51:22   2   you meant when you said he told me I would have

   16:51:25   3   objected to that attorney-client privilege.

   16:51:26   4             MR. PETROCELLI:   He learned about the grand

   16:51:27   5   jury --

   16:51:27   6             MR. TOBEROFF:    You got that out before I

   16:51:28   7   could object.

   16:51:28   8             THE WITNESS:    Oh, sorry.

   16:51:29   9             MR. TOBEROFF:    So I would slow it down.

   16:51:32 10    BY MR. PETROCELLI:

   16:51:33 11        Q.    The grand jury subpoena came from

   16:51:35 12    Mr. Toberoff.

   16:51:35 13              Is that right?

   16:51:36 14        A.    Yes.

   16:51:37 15        Q.    And the information about the circumstances

   16:51:39 16    of how those documents got created came from

   16:51:43 17    Mr. Toberoff, right?

   16:51:44 18              MR. TOBEROFF:    I instruct you not to

   16:51:45 19    answer.

   16:51:45 20              (Instruction not to answer.)

   16:51:46 21              THE WITNESS:    Okay.

   16:51:46 22    BY MR. PETROCELLI:

   16:51:47 23        Q.    Well, you said he is the one who told you

   16:51:49 24    they were stolen, right?

   16:51:49 25        A.    Yes.

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   16:51:53   1       Q.    Have you ever spoken to the person who

   16:51:56   2   allegedly took the documents?

   16:51:57   3       A.    No.

   16:52:02   4       Q.    Did you ever speak to the Siegels about

   16:52:04   5   whether anything said in the document is true?

   16:52:10   6             MR. TOBEROFF:   Vague.    You mean the

   16:52:11   7   timeline?

   16:52:12   8             MR. PETROCELLI:   Yeah.

   16:52:12   9       Q.    Did you ever talk to the Siegels about

   16:52:14 10    whether anything stated in the timeline is true?

   16:52:17 11        A.    No.

   16:52:22 12        Q.    Why not?

   16:52:23 13        A.    I don't know.

   16:52:27 14        Q.    You saw in there references to Mr. Toberoff

   16:52:30 15    misleading the Siegels?

   16:52:32 16        A.    Yes.

   16:52:33 17        Q.    Okay.   And trying to you know corner the

   16:52:37 18    rights mainly for himself?

   16:52:40 19        A.    I saw that.

   16:52:44 20        Q.    Okay.   And you saw in there that there were

   16:52:46 21    references of making statements to the Siegels that

   16:52:49 22    there was a billionaire investor when in fact there

   16:52:51 23    wasn't?

   16:52:56 24        A.    I read that.

   16:52:56 25        Q.    Okay.   Did you discuss any of that with

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   16:52:58   1   your mother when you first read that material?

   16:53:04   2       A.    I don't recall.

   16:53:09   3       Q.    And the -- did you give any thought to

   16:53:12   4   talking to the Siegels about whether any of it was

   16:53:17   5   true?

   16:53:21   6             MR. TOBEROFF:   Asked and answered.

   16:53:22   7             THE WITNESS:    I did not discuss it with

   16:53:26   8   them.

   16:53:26   9   BY MR. PETROCELLI:

   16:53:27 10        Q.    Did you give any thought to discussing it

   16:53:29 11    with them?

   16:53:29 12        A.    I don't know if I gave any thought.

   16:53:37 13        Q.    Did you do anything to look into the -- the

   16:53:42 14    truth of what was said in that document?      See if any

   16:53:49 15    of it was true?

   16:53:50 16        A.    I I'm aware that there were a number of

   16:53:55 17    factual errors and falsehoods as a matter of fact.

   16:53:59 18    A lot of concoctuns, things that are concocted that

   16:54:05 19    are factually incorrect.

   16:54:06 20        Q.    How do you know they are?

   16:54:07 21        A.    Because I'm familiar with some of the

   16:54:09 22    timelines.

   16:54:10 23        Q.    Let me show it to you.       It's Exhibit 25.

   16:54:31 24                  (The document referred to was

   16:54:31 25              marked for identification by the

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   16:54:31   1             C.S.R. as Exhibit 25 and attached

   16:54:33   2             to this deposition.)

   16:54:33   3   BY MR. PETROCELLI:

   16:54:33   4       Q.    Identify for me what you know to be false.

   16:54:40   5       A.    Well, I have to go through it.

   16:54:41   6       Q.    To be clear, you received this -- you first

   16:54:44   7   saw this document years ago, right?

   16:54:50   8       A.

   16:54:52   9             MR. TOBEROFF:   Asked and answered.

   16:54:52 10              THE WITNESS:    Yeah, I already answered.

   16:54:52 11    BY MR. PETROCELLI:

   16:54:55 12        Q.    Please answer my question?

   16:54:55 13              MR. TOBEROFF:   You can -- when I say asked

   16:54:57 14    and answered that's for the record -- excuse me.

   16:54:59 15    When I say asked and answered, I'm not instructing

   16:55:02 16    you not to answer.   I'm making an objection for the

   16:55:04 17    record.

   16:55:04 18              You can answer again -- you can answer

   16:55:07 19    again unless I instruct you.

   16:55:08 20              THE WITNESS:    Oh.   I don't remember exactly

   16:55:15 21    when I saw it I know I have seen it before today.

   16:55:17 22              MR. PETROCELLI:   Have and you got it from

   16:55:18 23    Mr. Toberoff when you did see it for the first time,

   16:55:18 24    right?

   16:55:18 25        A.    Yes.

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   16:55:24   1       Q.     Now can you answer my question.    I snow you

   16:55:24   2   have to look at the documents but my question is to

   16:55:27   3   identified what you know to be false.

   16:55:36   4              MR. TOBEROFF:   Take your time reading the

   16:55:37   5   document.

   16:55:41   6              THE WITNESS:    Well --

   16:55:43   7              MR. TOBEROFF:   There's a lot in here.

   16:55:44   8              THE WITNESS:    Yeah, it is.   There is a lot

   16:55:46   9   in here.    There's a lot in here.

   16:56:36 10               Well one inaccuracy is here on page 3,

   16:56:40 11    March 2003.   It charachterizes March 3rd, 2003 -- it

   16:56:49 12    characterizes Marc Toberoff as, quote, messing up

   16:56:52 13    relationships for his own personal benefits and as

   16:56:55 14    if DC and the Siegels had a great relationship and

   16:56:59 15    when it in fact that they had a cut off talks fired

   16:57:04 16    their attorneys and -- and wrote a letter calling

   16:57:10 17    Time-Warner -- comparing them to the gestapo in

   16:57:15 18    their dealings with them.     He is saying that Marc

   16:57:17 19    Toberoff is interfering with all the relationships

   16:57:19 20    up to this point.    It was already -- the

   16:57:21 21    relationship was already bad.

   16:57:21 22    BY MR. PETROCELLI:

   16:57:23 23        Q.     Let me stop you right there.

   16:57:24 24               How do you know what you just said?

   16:57:26 25        A.     Well, I -- I know and independently that

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   16:57:31   1   the Siegels fired their lawyer.

   16:57:32   2       Q.    How do you know that?

   16:57:33   3       A.    I'm -- how do I know that?      I'm aware

   16:57:41   4   from -- I'm aware from them at some point they

   16:57:46   5   informed us of that.     And that they had broken off

   16:57:53   6   negotiations with -- with DC because they were

   16:57:57   7   unhappy with the terms.    And I know that also from

   16:58:02   8   my discussion with Marc Toberoff.

   16:58:05   9             MR. TOBEROFF:   Don't talk with your

   16:58:06 10    discussions with me.

   16:58:07 11              THE WITNESS:    Okay.   Okay.

   16:58:07 12    BY MR. PETROCELLI:

   16:58:10 13        Q.    When you -- you had previously told me that

   16:58:13 14    you couldn't recall any contact with the Siegels

   16:58:17 15    about their relationship with Toberoff and I asked

   16:58:25 16    you a number of times about the time period up to

   16:58:29 17    the time when Mr. Toberoff was first retained by

   16:58:32 18    them.   Now, you're telling me they told you that

   16:58:36 19    they broke off talks and all this other stuff.        Did

   16:58:40 20    you learn that after the fact?

   16:58:41 21              MR. TOBEROFF:   Misstates his testimony.

   16:58:42 22              THE WITNESS:    Yes, it does misstated my

   16:58:44 23    testimony.

   16:58:44 24    BY MR. PETROCELLI:

   16:58:45 25        Q.    How does it misstate your testimony?

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   16:58:46   1       A.    The only -- the only thing that I knew at

   16:58:49   2   the time that my mother contacted Joanne --

   16:58:51   3       Q.    Correct?

   16:58:51   4       A.    -- was that they were not happy with their

   16:58:54   5   attorney and she recommended Marc Toberoff.      And

   16:58:57   6   that's the only thing that I knew from them at that

   16:59:00   7   time.

   16:59:00   8       Q.    Well, that's not what you testified testify

   16:59:02   9   on but let me -- let me go over this again.

   16:59:04 10              Are you saying that your mother had a phone

   16:59:08 11    call with Joanne Siegel after you and she signed

   16:59:14 12    Exhibit 10 in November 2001 and in that phone call

   16:59:21 13    Joanne Siegel says I'm not happy with my attorney

   16:59:25 14    and your mother says oh, let me introduce to you

   16:59:28 15    Marc Toberoff?    And that occurs in a conversation

   16:59:32 16    after November 2001?

   16:59:34 17        A.    Yes.

   16:59:36 18        Q.    All in one conversation?

   16:59:39 19        A.    I don't know about that.

   16:59:46 20        Q.    Okay.   And other than that, you had no

   16:59:49 21    other contact with the Siegels prior to the time

   16:59:52 22    that they hired Mr. Toberoff?    You said that

   16:59:57 23    already, correct?

   17:00:00 24        A.    Phone contact?

   17:00:01 25        Q.    Any contact.

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   17:00:02   1       A.    I --

   17:00:03   2       Q.    2001 all the way through 2002 up to the

   17:00:07   3   time they hired Mr. Toberoff?

   17:00:08   4       A.    I -- I don't know if I had no phone contact

   17:00:12   5   at all.   I don't remember.   I don't remember that.

   17:00:18   6       Q.    Did you have any contact with him during

   17:00:19   7   that time period from the moment your mom made that

   17:00:22   8   phone call until the time that they hired

   17:00:24   9   Mr. Toberoff?

   17:00:24 10        A.    I -- I don't -- I do not remember.

   17:00:26 11        Q.    Okay.   And did your mother have any contact

   17:00:28 12    with him during that year?

   17:00:34 13              MR. TOBEROFF: .

   17:00:34 14    BY MR. PETROCELLI:

   17:00:34 15        Q.    From the time that she made that first

   17:00:36 16    phone call until the time they hired Mr. Toberoff

   17:00:38 17    sometime in September or October 2002?

   17:00:41 18        A.    I -- I don't know if there was any.

   17:00:43 19              MR. TOBEROFF:   Assumes facts.   Lacks

   17:00:44 20    foundation.

   17:00:44 21    BY MR. PETROCELLI:

   17:00:45 22        Q.    Okay you don't know, right?

   17:00:46 23        A.    I don't know if there was any subsequent

   17:00:49 24    phone call.

   17:00:49 25        Q.    So why where you getting the information?

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   17:00:51   1   Other than from Mr. Toberoff where did you get the

   17:00:53   2   information that they break off talks and gestapo

   17:00:57   3   letter and all this other kind of stuff?    Where did

   17:00:59   4   that in from?

   17:01:01   5       A.    Well, in the present I have gotten much of

   17:01:04   6   this from my discussions with Marc Toberoff.

   17:01:08   7       Q.    Okay.

   17:01:09   8             MR. TOBEROFF:   Don't talk about your

   17:01:11   9   discussions with me.

   17:01:11 10    BY MR. PETROCELLI:

   17:01:12 11        Q.    So the reason why you know is that the

   17:01:13 12    statements in here are untrue is what Marc Toberoff

   17:01:15 13    has told you?

   17:01:16 14        A.    And -- and there has been -- there has been

   17:01:20 15    contact with the -- the Siegels.

   17:01:24 16        Q.    Tell me about it.    When?

   17:01:27 17        A.    I -- I don't know.   They call every now and

   17:01:30 18    then to wish Merry Christmas and happy birthday

   17:01:36 19    and -- and usually my mother has talked with them

   17:01:39 20    and she has become aware of their situation in

   17:01:43 21    casual conversation.

   17:01:47 22        Q.    This is what your mother has told you?

   17:01:49 23        A.    Yes.

   17:01:50 24        Q.    Okay.   And -- and in casual conversation

   17:01:55 25    they said I wrote a gestapo letter?

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   17:01:59   1       A.    I don't know if they -- they discussed that

   17:02:02   2   particular thing.

   17:02:02   3       Q.    So here's what I'm trying to find out from

   17:02:05   4   you because this is how we got on to this subject

   17:02:12   5   what -- what information do you have that any of

   17:02:16   6   this is un through, other than what Marc Toberoff

   17:02:16   7   has told you?    I don't -- for the purpose of this

   17:02:18   8   question, I am not interested in what Marc Toberoff

   17:02:21   9   told you?

   17:02:22 10              MR. TOBEROFF:   And I'm instructing you not

   17:02:24 11    to answer as to what I've told you.

   17:02:29 12              THE WITNESS:    Okay.   You're instructing me

   17:02:32 13    not to answer?

   17:02:33 14              MR. TOBEROFF:   No.     You can answer the

   17:02:34 15    question but don't answer if you can as to -- don't

   17:02:41 16    answer based on our conversations.      So you've

   17:02:45 17    testified to a gestapo letter.      If you have a basis

   17:02:49 18    other than conversations with me that you can

   17:02:51 19    recollect, you can discuss that with him.      That's

   17:02:53 20    what he was asking you.

   17:02:54 21              THE WITNESS:    Uh-huh.

   17:02:54 22    BY MR. PETROCELLI:

   17:02:57 23        Q.    Tell me what you know to be untrue based on

   17:03:00 24    information that you have obtained from people other

   17:03:03 25    than Marc Toberoff?

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   17:03:04   1       A.    Well, I know there are things to be untrue

   17:03:06   2   that are -- are based on my discussions with Marc

   17:03:12   3   Toberoff.

   17:03:12   4       Q.    And I'm not asking about you that?

   17:03:14   5       A.    Okay.   I guess I can't say it then.

   17:03:16   6       Q.    Okay?

   17:03:17   7             MR. TOBEROFF:   Well, you can -- you can

   17:03:18   8   look at the letter and you -- you have to.

   17:03:20   9             MR. PETROCELLI:   We don't have to spend any

   17:03:21 10    more time on it if that's your answer?

   17:03:21 11              MR. TOBEROFF:   No.

   17:03:24 12              MR. PETROCELLI:   But if you want to read

   17:03:26 13    through it you tell me if there's anything that you

   17:03:28 14    know to be untrue based on something other than Marc

   17:03:33 15    Toberoff telling you.

   17:03:34 16              MR. TOBEROFF:   And what I'm suggesting to

   17:03:36 17    you is that.

   17:03:36 18    BY MR. PETROCELLI:

   17:03:37 19        Q.    Now, what is it you're pointing out to him

   17:03:39 20    you're not allowed to do that?

   17:03:41 21              MR. TOBEROFF:   He is pointing out a

   17:03:42 22    paragraph.    Can you take this thing from the very

   17:03:44 23    beginning -- wait -- since he's asked the question,

   17:03:47 24    this document is several pages long, it's goes on

   17:03:53 25    for 7 pages.    Read every single line and answer when

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   17:03:59   1   you reach something that you believe is untrue and

   17:04:03   2   you can talk about it because it's not based on

   17:04:05   3   conversation with me, you can tell Mr. Petrocelli

   17:04:10   4   what you believe is untrue, if anything, and why.

   17:04:13   5   That's it.     And take your time because it's his

   17:04:17   6   deposition and you can -- you need to spend the time

   17:04:21   7   to answer the question properly.       It's very

   17:04:23   8   time-consuming assignment.

   17:04:23   9   BY MR. PETROCELLI:

   17:04:25 10        Q.    What paragraph did you just point out to

   17:04:27 11    Mr. Toberoff?

   17:04:29 12              MR. TOBEROFF:   You can answer that.

   17:04:30 13              THE WITNESS:    The one on -- referencing

   17:04:36 14    October 27, 2003.

   17:04:36 15    BY MR. PETROCELLI:

   17:04:40 16        Q.    What page is that on?

   17:04:41 17        A.    5.

   17:04:45 18        Q.    Okay.   Tell me about that paragraph.

   17:04:46 19    Why -- why were you pointing it out?

   17:04:53 20        A.    It completely mischaracterizes the current

   17:04:57 21    legal agreement.

   17:05:00 22        Q.    How so?

   17:05:00 23        A.    That we have.

   17:05:02 24        Q.    How does it mischaracterize it?

   17:05:05 25        A.    Can I go into that?

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   17:05:09   1       Q.    Well, again this is based on -- this is

   17:05:11   2   based on what you know not based on what Marc

   17:05:15   3   Toberoff told you.    So that's -- that's what you're

   17:05:19   4   answering.

   17:05:21   5             MR. TOBEROFF:   You can't go -- what are you

   17:05:23   6   talking about can you go into the details of our

   17:05:26   7   retainer agreement?

   17:05:27   8             THE WITNESS:    Why this is false.

   17:05:31   9             MR. TOBEROFF:   Let me read it.

   17:05:57 10              MR. PETROCELLI:   Do you have to change the

   17:05:59 11    videotape.

   17:05:59 12              THE VIDEOGRAPHER:      I do you have

   17:06:00 13    approximately a minute or a little bit more.

   17:06:02 14              MR. PETROCELLI:   Okay?

   17:06:04 15              MR. TOBEROFF:   Yes.    Are you talking about

   17:06:04 16    the highlighted portion?

   17:06:06 17              THE WITNESS:    Yes.

   17:06:07 18              MR. TOBEROFF:   Yes you can -- you can --

   17:06:09 19    you can answer that.

   17:06:12 20              THE WITNESS:    Okay.

   17:06:14 21              MR. PETROCELLI:   Well, we're going to have

   17:06:15 22    to change the videotape right now.

   17:06:16 23              THE WITNESS:    Oh.

   17:06:17 24              THE VIDEOGRAPHER:      Okay.   This will mark

   17:06:19 25    the end of Volume I, Tape Number 3 in the deposition

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   17:06:21   1   of Mark Warren Peary.    Changing tapes at 5:05.

   17:06:26   2             (Brief recess.)

   17:18:26   3             THE VIDEOGRAPHER:   We are back on the

   17:18:33   4   record and this marks the beginning of Volume I,

   17:18:36   5   tape number 4 in the deposition of Mark Warren

   17:18:39   6   Peary.    The time is 5:17.

   17:18:39   7   BY MR. PETROCELLI:

   17:18:44   8       Q.    You were going to tell me what was

   17:18:46   9   inaccurate about the October 27, 2003 reference in

   17:18:51 10    the timeline document Exhibit 25?

   17:18:54 11        A.    Yes.

   17:18:57 12        Q.    Without telling me about your conversations

   17:18:59 13    with Mr. Toberoff on that subject?

   17:19:00 14        A.    Yes.   The -- the new legal retainer

   17:19:08 15    completely superseded all the old agreements with

   17:19:12 16    Pacific Pictures and canceled those out completely

   17:19:18 17    and so this completely mischaracterizes his interest

   17:19:23 18    in -- in any proceeds.

   17:19:31 19        Q.    We'll talk about that when we get to it.

   17:19:33 20              Anything else?

   17:19:35 21        A.    There -- there are probably lots of things

   17:19:39 22    if I had a lot of time to study it it's full of

   17:19:42 23    inaccuracies and mischaracterizations.   Just -- I

   17:19:50 24    would just say in -- in general that Marc Toberoff

   17:19:59 25    is -- is probably one of the hardest working.

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   17:20:02   1         Q.   That's not what I'm asking you?

   17:20:04   2         A.   Dedicated lawyers.

   17:20:05   3              MR. PETROCELLI:   Move to strike it's

   17:20:06   4   non-responsive.

   17:20:08   5              MR. TOBEROFF:   Let him answer.

   17:20:09   6              MR. PETROCELLI:   We're not doing that.

   17:20:11   7              MR. TOBEROFF:   And this mischaracterizes --

   17:20:13   8   BY MR. PETROCELLI:

   17:20:14   9         Q.   Not -- I was asking you about if there were

   17:20:16 10    any other particular statements in here.

   17:20:17 11               MR. TOBEROFF:   He is answering you.    You

   17:20:19 12    cut off his answer because you didn't want to hear

   17:20:21 13    it.

   17:20:21 14               MR. PETROCELLI:   I'm asking about specific

   17:20:22 15    statements in here.

   17:20:24 16               MR. TOBEROFF:   He's answering.   Objection.

   17:20:29 17    You need to let the witness answer.

   17:20:29 18    BY MR. PETROCELLI:

   17:20:40 19          Q.   Let me ask you a question about the last --

   17:20:43 20    right after that paragraph you pointed out to me it

   17:20:46 21    says:

   17:20:50 22                   "N T inquires into the

   17:20:51 23               legality of entering into the

   17:20:52 24               Pacific Pictures Corporation

   17:20:54 25               agreement with the Peavys heirs the

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   17:20:58   1             Shuster estate using the law firm

   17:21:00   2             Armstrong Hirsch Jackoway Tyerman

   17:21:02   3             and Wertheimer."

   17:21:06   4             Did Mr. Toberoff discuss with you that he

   17:21:11   5   had obtained legal advice from the Armstrong her

   17:21:17   6   issue firm on the subject of the legality of your

   17:21:19   7   agreement.

   17:21:19   8             MR. TOBEROFF:   Instruct you not to answer

   17:21:21   9   as to the substance of our discussions.

   17:21:24 10              (Instruction not to answer.)

   17:21:24 11    BY MR. PETROCELLI:

   17:21:25 12        Q.    Have you seen a -- any opinion or memoranda

   17:21:31 13    from the Armstrong Hirsch firm on the subject of

   17:21:35 14    your agreement?

   17:21:38 15        A.    No.

   17:21:40 16        Q.    Have you spoken to anyone other than

   17:21:42 17    Mr. Toberoff on the subject of the validity or

   17:21:47 18    legality of your Pacific Pictures agreements?

   17:21:49 19              MR. TOBEROFF:   Asked and answered.

   17:21:50 20              You can answer again.

   17:21:51 21              THE WITNESS:    No.

   17:21:51 22    BY MR. PETROCELLI:

   17:21:52 23        Q.    Okay.   Put this document aside in the

   17:21:56 24    interest of time.

   17:21:58 25              MR. TOBEROFF:   So you're not interested in

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   17:21:59   1   him finishing his answer about what's inn correct

   17:22:02   2   about this document.

   17:22:03   3             MR. PETROCELLI:    I'm going to have to come

   17:22:04   4   back to it if I have time but since I'm working on a

   17:22:08   5   budget right here I got to make better use of my

   17:22:10   6   time.

   17:22:22   7       Q.    Now, in 2003 you -- you became the executor

   17:22:31   8   of the Joe Shuster estate, correct?

   17:22:31   9       A.    Yes.

   17:22:35 10        Q.    And did your mother indicate that she was

   17:22:37 11    unwilling to serve?

   17:22:41 12        A.    We had no such discussion.

   17:22:47 13        Q.    Well, did she say why wasn't she named the

   17:22:50 14    executor of the estate pursuant to the will?

   17:22:55 15        A.    I'm the one that has initiated the whole --

   17:23:02 16    the whole project.    I've been involved in it with

   17:23:06 17    Marc Toberoff from the beginning and I'm active and

   17:23:12 18    knowledgeable on it.

   17:23:15 19        Q.    You never had any discussion that your

   17:23:16 20    mother was unable or unwilling to serve as executor.

   17:23:22 21              Is that correct?

   17:23:22 22        A.    Right.

   17:23:23 23        Q.    Take a look at Exhibit 12 which is a

   17:23:29 24    collection of papers from the probate proceeding.

   17:23:42 25                (The document referred to was

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   17:23:42   1             marked for identification by the

   17:23:42   2             C.S.R. as Exhibit 12 and attached

   17:23:43   3             to this deposition.)

   17:23:43   4   BY MR. PETROCELLI:

   17:23:44   5       Q.    Now you'll see your signature.

   17:23:49   6   September 30, 2003, Mark Warren Peary.

   17:23:53   7       A.    Okay.

   17:23:54   8       Q.    On the first page?

   17:23:57   9             Do you see that?

   17:23:58 10        A.    Yes.

   17:23:59 11        Q.    Do you see your signature on the second

   17:24:00 12    page?

   17:24:00 13        A.    Yes.

   17:24:01 14        Q.    These applications for the administration

   17:24:04 15    of the estate?

   17:24:05 16        A.    Yes.

   17:24:06 17        Q.    Do you see your signature there under the

   17:24:08 18    date September 30, 2003?

   17:24:09 19        A.    Yes.

   17:24:12 20        Q.    Now, if we go to the next page we have

   17:24:14 21    proof of subscribing witness Tom Fenaughty

   17:24:20 22    F-e-n-a-u-g-h-t-y the same person who witnessed Joe

   17:24:22 23    Shuster's will.

   17:24:27 24              Do you see that? It's on page 3?

   17:24:28 25        A.    Oh, 3.

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   17:24:30   1       Q.    Did you have any contact with him, put him

   17:24:36   2   in touch with your lawyer?

   17:24:45   3       A.    I didn't have personal contact.

   17:24:46   4       Q.    John Petker SP is the name of the probate

   17:24:49   5   attorney that was retained to do this work on behalf

   17:24:51   6   of the Shuster estate?

   17:24:52   7       A.    Yes.

   17:24:53   8       Q.    Did you understand that he was reaching out

   17:24:55   9   to Mr. Fenaughty?

   17:24:58 10        A.    I -- I wasn't aware.

   17:25:06 11        Q.    Okay.   Just flipping through to page -- go

   17:25:22 12    to the page that's -- Jason, can you -- can you help

   17:25:28 13    him find these pages because they're not marked.       Go

   17:25:32 14    get this page for him.    At the top it says in the

   17:25:34 15    matter of the estate of Joseph Shuster decedent

   17:25:38 16    attachment 2 D 1 et cetera et cetera.

   17:25:57 17              Do you have that page in front of you?

   17:26:00 18              MR. TOBEROFF:   Just a second.   I need to

   17:26:02 19    get it too.

   17:26:13 20              MR. KLINE:   It's towards the back.

   17:26:13 21    BY MR. PETROCELLI:

   17:26:17 22        Q.    While he is looking for that, do you have

   17:26:21 23    that page in front of you, sir?

   17:26:23 24        A.    Yes.

   17:26:23 25        Q.    Okay.   And you'll see that it's an

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   17:26:26   1   attachment to a -- if you go two pages earlier, it's

   17:26:29   2   a petition for probate and this is an attachment to

   17:26:34   3   it that you signs on July 15, 2003.      Correct?

   17:26:34   4       A.    Yes.

   17:26:40   5       Q.    Okay.   And that's your signature above the

   17:26:42   6   name Mark Warren Peary, right?

   17:26:45   7             MR. TOBEROFF:   Is he referring to this

   17:26:46   8   document.   You're looking at this document.     He is

   17:26:48   9   asking you about this.

   17:26:49 10              THE WITNESS:    Uh-huh.

   17:26:49 11    BY MR. PETROCELLI:

   17:26:50 12        Q.    Okay.   Do you have that in front of you now

   17:26:52 13    the right document?

   17:26:53 14        A.    Yes.

   17:26:56 15        Q.    Do you see that that's an attachment to a

   17:26:58 16    petition that appears two pages earlier in the

   17:27:02 17    stack?    I think that's why -- you're looking at the

   17:27:04 18    right document?

   17:27:05 19        A.    I was looking at this petition.

   17:27:07 20        Q.    Yes you were.   Okay.     Now, go back to the

   17:27:09 21    attachment that bears your signature and the date

   17:27:10 22    July 15, 2003.    And for the record, this is all part

   17:27:14 23    of Exhibit 12.

   17:27:16 24              Now look at paragraph 1.     It says that

   17:27:22 25    second sentence:

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   17:27:24   1                     "Jean Adele Peavy."

   17:27:25   2              That's your mother, right?

   17:27:26   3       A.     Yes.

   17:27:27   4       Q.     Jean Adele Peavy who is the sister of the

   17:27:29   5   decedent is also the sole beneficiary under the

   17:27:33   6   decedent's will.     And the sole heir at law of the

   17:27:36   7   decedent's estates under the laws of intestacy.

   17:27:41   8              Do you see that?

   17:27:41   9       A.     Yes.

   17:27:41 10        Q.     And you signed this statement indicating

   17:27:45 11    that that was a truthful statement correct?

   17:27:48 12        A.     Yes.

   17:27:48 13        Q.     That was not a truthful statement though,

   17:27:56 14    correct?   Because under the laws of intestacy your

   17:28:00 15    mother Jean Adele Peavy was not the sole air at law

   17:28:03 16    under the laws of intestacy, she ask Frank Shuster

   17:28:10 17    were the heirs at law?

   17:28:11 18               MR. TOBEROFF:   Calls for a legal

   17:28:12 19    conclusion.    You're asking him to -- to -- this is

   17:28:15 20    something.

   17:28:15 21    BY MR. PETROCELLI:

   17:28:16 22        Q.     Is that correct?

   17:28:18 23               MR. TOBEROFF:   You can only answer if you.

   17:28:18 24    BY MR. PETROCELLI:

   17:28:19 25        Q.     At the time?

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   17:28:20   1             MR. TOBEROFF:   If you feel equipped to

   17:28:22   2   answer these questions can you answer.

   17:28:23   3             MR. PETROCELLI:   You don't have to tell him

   17:28:25   4   not to answer, Marc.

   17:28:26   5             MR. TOBEROFF:   I'm not telling him not to

   17:28:27   6   answer.   I'm advising him only answer to the extent

   17:28:30   7   you feel equipped to answer.   He is going into legal

   17:28:30   8   teritory --

   17:28:30   9             MR. PETROCELLI:

   17:28:34 10        Q.    That's true of all questions.

   17:28:35 11              MR. TOBEROFF:   -- I'm not sure I even

   17:28:37 12    understand because I'm not a trust and estates

   17:28:40 13    lawyer.

   17:28:40 14    BY MR. PETROCELLI:

   17:28:41 15        Q.    When Joe Shuster died had he two siblings

   17:28:44 16    who survived him, correct, Jean and Frank?

   17:28:47 17        A.    Yes.

   17:28:47 18        Q.    Okay.

   17:28:52 19        Q.    Why did you write here that Jean would have

   17:28:55 20    been the sole heir at law under the laws of

   17:28:58 21    intestacy?

   17:28:59 22              MR. TOBEROFF:   Misstates the report

   17:29:03 23    record.

   17:29:03 24              MR. PETROCELLI:

   17:29:03 25        Q.    Do you know what that means under the laws

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   17:29:06   1   of intestacy?

   17:29:07   2       A.    Please explain.

   17:29:08   3       Q.    It means that if you had died without a

   17:29:13   4   will based on the statutory laws of -- of

   17:29:15   5   disposition?

   17:29:18   6       A.    Uh-huh.

   17:29:18   7       Q.    And are you aware that under authorize laws

   17:29:20   8   that Jean was not the sole air -- was one of two

   17:29:26   9   heirs?

   17:29:29 10        A.    All I know that she -- she had a will.

   17:29:36 11    That's all I'm aware of.

   17:29:38 12        Q.    Who prepared this document?

   17:29:39 13        A.    I am not certain.

   17:29:41 14        Q.    What did you do to assure yourself that the

   17:29:44 15    statements were truthful before you made them to the

   17:29:47 16    Court?

   17:29:47 17        A.    I trusted the state attorneys.

   17:29:54 18        Q.    Did you understand that this was a serious

   17:29:56 19    matter that you're making a filing with a court

   17:29:58 20    representing that Ms. -- that your mother was the

   17:30:03 21    sole heir at law because you did not have an

   17:30:07 22    original will you had a copy and you were

   17:30:11 23    representing to the Court that it should accept the

   17:30:14 24    copy because even if no will existed she would still

   17:30:16 25    be the sole heir?   You understood that of the

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   17:30:19   1   purpose of this filing?

   17:30:22   2       A.    Frank Shuster was dead at that time.

   17:30:26   3   That's my understanding of it.

   17:30:30   4       Q.    But you understood that when Joe died Frank

   17:30:32   5   was alive, as well as your mother, correct?

   17:30:35   6       A.    At that time.

   17:30:36   7       Q.    Did Joe have -- did Frank have a will?

   17:30:38   8       A.    I believe so.

   17:30:44   9       Q.    Do you know so?

   17:30:46 10        A.    I -- I can't -- I can't say with certainty.

   17:30:55 11        Q.    Did you understand that you were making a

   17:30:57 12    filing with the Court in that it was your obligation

   17:31:00 13    to provide the Court with accurate information?

   17:31:07 14              MR. TOBEROFF:    You can answer that.

   17:31:11 15              THE WITNESS:    Yes.

   17:31:11 16    BY MR. PETROCELLI:

   17:31:13 17        Q.    Turn the page.    In the next attachment to

   17:31:18 18    the probate petition that you filed it said the

   17:31:22 19    decedent never married and never had any children.

   17:31:27 20              That also is false?

   17:31:30 21        A.    It was a mistake.

   17:31:34 22        Q.    Why did you allow this to be filed and why

   17:31:36 23    did you sign it if it was untrue?

   17:31:42 24        A.    It was simply a mistake.

   17:31:44 25        Q.    Did you scan this or did you read this?

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   17:31:54   1       A.    I -- I don't know.

   17:31:57   2       Q.    And go to the 1, 2, 3, 4, 5th page from

   17:32:05   3   the -- from the end, document called declination to

   17:32:09   4   act as personal representative signed by Jean Peavy.

   17:32:19   5   And this document signed in the same day that you

   17:32:21   6   sign the do you remember we just looked at.    Your

   17:32:24   7   mom is -- is declining to serve as personal

   17:32:30   8   representative of Joe Shuster's estate.   As

   17:32:35   9   indicated in paragraph 3.

   17:32:35 10              Do you see that?

   17:32:35 11        A.    Yes.

   17:32:39 12        Q.    Do you have any understanding why she so

   17:32:41 13    declined?

   17:32:46 14        A.    She didn't want to be bothered with this.

   17:32:49 15        Q.    Is that what she told you?

   17:32:51 16        A.    To that effect.

   17:32:52 17        A.    I don't want to be bothered with this?

   17:32:54 18    What does that mean.

   17:32:58 19        A.    She wants me to handle these affairs.

   17:33:00 20        Q.    In paragraph 1 it says I am the only

   17:33:02 21    sibling of the decedent Joseph Shuster.

   17:33:02 22              Do you see that?

   17:33:06 23        A.    At the time that's true.

   17:33:09 24        Q.    She wasn't the only sibling Joe Shuster had

   17:33:12 25    two siblings correct?

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   17:33:13   1       A.    Yes.

   17:33:13   2       Q.    She was the only living sibling?

   17:33:15   3       A.    Yes.

   17:33:27   4       Q.    Did Frank have any familiar leave his own?

   17:33:29   5       A.    No.

   17:33:41   6       Q.    Is there any reason that you can think of

   17:33:43   7   why all these mistakes were made in these documents?

   17:33:52   8             MR. TOBEROFF:   Assumes facts.   Lacks

   17:33:54   9   foundation.

   17:33:54 10              THE WITNESS:    I'm not sure.

   17:33:54 11    BY MR. PETROCELLI:

   17:33:56 12        Q.    There seems to have been an effort not to

   17:33:58 13    identify the existence of either Joe Shuster's wife

   17:34:02 14    or Frank Shuster, Joe Shuster's brother?

   17:34:07 15              MR. TOBEROFF:   Misstates the document.

   17:34:07 16    BY MR. PETROCELLI:

   17:34:09 17        Q.    Were you a representing to represent to the

   17:34:12 18    Court that only ask your mother were the sole

   17:34:17 19    interested parties in Joe Shuster's estate?

   17:34:19 20        A.    Well, at this time that's correct.

   17:34:23 21        Q.    But did you make a decision not to disclose

   17:34:26 22    to the Court that he had been married and that he

   17:34:32 23    had a brother and let the Court sort out whether

   17:34:32 24    there were any interests there?

   17:34:32 25        A.    No.

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                                          ROUGH DRAFT



   17:34:34   1       Q.    You just signed the documents that the

   17:34:37   2   lawyers put in front of you without reading them

   17:34:39   3   carefully?

   17:34:39   4       A.    I -- I signed the -- I read the documents

   17:34:45   5   what required signatures.

   17:34:47   6       Q.    The purpose of your becoming the executive

   17:34:50   7   estate was to be able to serve the termination

   17:34:52   8   notice, correct?

   17:34:52   9       A.    Yes.

   17:34:55 10        Q.    Can you take a look at the next exhibit,

   17:34:57 11    Exhibit 13.    Before I go to Exhibit 13, which is the

   17:35:10 12    letter -- another agreement with Pacific Pictures

   17:35:13 13    dated October 27, 2003, take a look at -- where is

   17:35:32 14    the Superboy termination?     What exhibit number is

   17:35:34 15    that?

   17:35:44 16              Take a look at exhibit 11, please.    Of

   17:35:49 17    paragraph Exhibit 11 is the notice of termination of

   17:35:54 18    grants regarding Superboy filed by Mr. Toberoff on

   17:36:01 19    behalf of the Siegels?

   17:36:01 20                  (The document referred to was

   17:36:01 21              marked for identification by the

   17:36:01 22              C.S.R. as Exhibit 11 and attached

   17:36:04 23              to this deposition.)

   17:36:04 24              MR. TOBEROFF:   This is Shuster 11?

   17:36:08 25              MR. PETROCELLI:   Exhibit 11 right.

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   17:36:11   1       Q.    After you entered into the November 2001

   17:36:14   2   Pacific Pictures joint venture agreement, which

   17:36:18   3   mentioned that the rights included Superboy, did

   17:36:24   4   you -- you said you became aware at some point of

   17:36:26   5   that -- of some issue regarding Superboy.

   17:36:26   6             Is that right?

   17:36:26   7       A.    Yes.

   17:36:33   8       Q.    What did you become aware of?

   17:36:34   9       A.    That the Shuster estate doesn't have rights

   17:36:39 10    to it.

   17:36:41 11        Q.    How did you learn that?

   17:36:43 12        A.    Through my attorney Marc Toberoff.

   17:36:45 13        Q.    Did you learn it from any other source?

   17:36:47 14        A.    No.

   17:36:49 15        Q.    Did you do any work to verify it?    Did you

   17:36:54 16    contact any other counsel?

   17:36:55 17        A.    No.

   17:36:56 18        Q.    Did you get a second opinion from anybody?

   17:36:58 19        A.    No.

   17:37:02 20        Q.    Okay.   Did you do any independent review to

   17:37:07 21    determine whether Mr. Toberoff was, correct?

   17:37:12 22        A.    I -- I did some research on my own.

   17:37:17 23        Q.    After he told you?

   17:37:19 24        A.    I believe.

   17:37:20 25        Q.    What research did you do?

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   17:37:23   1       A.     There was a 1947 case where the courts

   17:37:28   2   awarded Superboy to Jerry Siegel.

   17:37:31   3       Q.     Mr. Toberoff pointed that out to you,

   17:37:31   4   correct?

   17:37:33   5       A.     Well, I became aware of that --

   17:37:34   6       Q.     He --

   17:37:35   7       A.     -- and that's correct.

   17:37:36   8       Q.     He pointed it out to you, correct?

   17:37:37   9       A.     I was aware of that case prior to that.

   17:37:39 10        Q.     Were you aware of that when you signed the

   17:37:43 11    November 2001 joint venture agreement?

   17:37:44 12        A.     I don't know if I was aware of the legal

   17:37:50 13    details.

   17:37:50 14        Q.     You were aware of the case?

   17:37:51 15        A.     I was aware of the case back to 47.

   17:37:53 16        Q.     And you became aware of the legal details

   17:37:55 17    as a result of conversations with Mr. Toberoff,

   17:37:55 18    correct?

   17:37:59 19        A.     Yes.

   17:38:00 20        Q.     And then you became aware so your -- you

   17:38:11 21    accepted Mr. Toberoff advice that the Shuster estate

   17:38:13 22    had no interest in Superboy, correct?

   17:38:13 23        A.     Yes.

   17:38:16 24        Q.     Okay.   And you became aware around the same

   17:38:20 25    time that the Siegels were claiming 100 percent

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                                           ROUGH DRAFT



   17:38:27   1   rights to Superboy, correct?

   17:38:31   2         A.   I don't know exactly when I became aware of

   17:38:34   3   it.

   17:38:34   4         Q.   But you became aware of that, right?

   17:38:36   5         A.   I did.

   17:38:36   6         Q.   And you became aware of that at a time when

   17:38:41   7   Mr. Toberoff was representing the Siegels, correct?

   17:38:44   8         A.   Sometime in there.

   17:38:46   9         Q.   Okay.    And Exhibit 11 is the Superboy

   17:38:50 10    notice of termination that the Siegels filed at the

   17:38:57 11    time that they were represented by Mr. Toberoff.

   17:39:00 12               Did you see it at the time?

   17:39:01 13          A.   No.

   17:39:04 14          Q.   Okay.    Now, thereafter you then entered

   17:39:09 15    into an amendment to your joint venture agreement to

   17:39:14 16    delete Superboy from the venture, correct?

   17:39:14 17          A.   Yes.

   17:39:18 18          Q.   And you did that?

   17:39:18 19               MR. TOBEROFF:   Excuse me.   Excuse me.

   17:39:18 20    BY MR. PETROCELLI:

   17:39:28 21          Q.   Take a look at Exhibit 13?

   17:39:32 22               MR. TOBEROFF:   Okay.

   17:39:32 23    BY MR. PETROCELLI:

   17:39:33 24          Q.   Do you have that in front of you?   You can

   17:39:34 25    put the other exhibits away?

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                                           ROUGH DRAFT



   17:39:36   1             MR. TOBEROFF:   You need to weight after he

   17:39:37   2   asks a question before you answer particularly when

   17:39:40   3   he asks a leading question.      Wait give me a chance

   17:39:42   4   to object okay?    So what's the question.

   17:39:50   5             MR. PETROCELLI:   Does very Exhibit 13 in

   17:39:51   6   front of him Marc?

   17:39:57   7             THE WITNESS:    Yes.

   17:39:57   8   BY MR. PETROCELLI:

   17:39:58   9       Q.    Is that Exhibit 13?    Okay.   Can you push

   17:40:00 10    aside the other exhibits?     Thank you.   Okay.

   17:40:06 11              Can you take these exhibits and move those

   17:40:07 12    over there so -- they're obstructing my view.        Thank

   17:40:14 13    you and also the big thick one as well.

   17:40:20 14              Now, Exhibit 13 is dated October 27, 2003

   17:40:28 15    directed to you as now the new executor of the

   17:40:32 16    estate, right?

   17:40:32 17        A.    Yes.

   17:40:36 18        Q.    Okay.   And if you go to the end, it is

   17:40:41 19    signed by you as executor on October 30, 2003,

   17:40:41 20    right?

   17:40:41 21        A.    Yes.

   17:40:52 22        Q.    And it's signed by Jean Peavy your mother

   17:40:58 23    on the same date correct?

   17:40:59 24        A.    Yes.

   17:40:59 25        Q.    And it's signed by Mr. Toberoff as

                                                                          276




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   17:41:01   1   president of PPC, correct?

   17:41:06   2       A.    Yes.

   17:41:06   3       Q.    Okay.   And you do see in paragraph 2 here

   17:41:10   4   that it states PPC is not a law firm, right?

   17:41:10   5       A.    Yes.

   17:41:17   6       Q.    Okay.   And you understood that when you

   17:41:18   7   signed it, right?

   17:41:21   8       A.    Yes.

   17:41:21   9       Q.    And you -- and the first paragraph and you

   17:41:24 10    read this carefully before signing it and you

   17:41:27 11    understood it when you signed it right?    It being

   17:41:31 12    Exhibit 13?

   17:41:32 13        A.    Yes.

   17:41:34 14        Q.    Okay.   And it states that this letter

   17:41:38 15    was -- is intended to supplement your prior joint

   17:41:42 16    venture agreement dated as of November 31, 2001,

   17:41:42 17    right?

   17:41:42 18        A.    Yes.

   17:41:50 19        Q.    And in paragraph 1 it re defines the rights

   17:41:55 20    but this time excludes Superboy, correct?

   17:42:01 21              MR. TOBEROFF:   Wait.   Just one second.

   17:42:12 22    Objection.    You're mischaracterizing the agreement.

   17:42:12 23    BY MR. PETROCELLI:

   17:42:19 24        Q.    Is that correct, sir?   There's no reference

   17:42:26 25    to Superboy in paragraph 1, correct?

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                                          ROUGH DRAFT



   17:42:28   1       A.     I don't see it.

   17:42:29   2       Q.     And there was in the first version,

   17:42:29   3   correct?

   17:42:29   4       A.     Yes.

   17:42:32   5       Q.     And there's no reference?

   17:42:33   6              MR. TOBEROFF:   Excuse me I'd like to give

   17:42:35   7   him the first version so he can compare the two.

   17:42:35   8   BY MR. PETROCELLI:

   17:42:38   9       Q.     Do you have exhibit -- what's the Exhibit

   17:42:41 10    Number mark?

   17:42:41 11               MR. TOBEROFF:   10.

   17:42:41 12    BY MR. PETROCELLI:

   17:42:43 13        Q.     Do you have Exhibit 10 and you see the

   17:42:44 14    reference to Superboy in Smalville?    What paragraph

   17:42:47 15    is it contained in Exhibit 10?

   17:42:49 16        A.     1.

   17:42:49 17        Q.     And in paragraph 1 of Exhibit 13 there's no

   17:42:52 18    reference to Superboy or smallville.

   17:42:52 19               Is that correct?

   17:42:52 20        A.     Yes.

   17:42:57 21        Q.     Okay.   And that was the result of the

   17:43:00 22    advice given to you that the Shuster estate had no

   17:43:04 23    interest in Superboy?

   17:43:05 24               MR. TOBEROFF:   I instruct you not to answer

   17:43:07 25    as to the advice given to you.    You can't answer

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   17:43:10   1   that question.

   17:43:11   2              (Instruction not to answer.)

   17:43:11   3   BY MR. PETROCELLI:

   17:43:12   4         Q.   Whether you signed this you understood that

   17:43:13   5   Superboy was not part of the agreement, correct?

   17:43:15   6              MR. TOBEROFF:   Instruct you not to answer

   17:43:16   7   to the extent your understanding is based on

   17:43:18   8   conversations with me.

   17:43:19   9              MR. PETROCELLI:   Come you you can't -- you

   17:43:21 10    can't block all examination on this subject.

   17:43:23 11               MR. TOBEROFF:   You shouldn't be surprised

   17:43:25 12    Mr. Petrocelli after suing your opposing counsel for

   17:43:28 13    six years.    You shouldn't be surprised.

   17:43:30 14               MR. PETROCELLI:   For six years?

   17:43:30 15               MR. TOBEROFF:   That's right.   You're DC.

   17:43:32 16    Seven years.

   17:43:37 17               MR. PETROCELLI:   I'm going to through and

   17:43:38 18    follow that, but --

   17:43:45 19               MR. TOBEROFF:   In talking about -- excuse

   17:43:47 20    me.   In talking about these agreementses, if he is

   17:43:49 21    comparing this agreement to this agreement make sure

   17:43:52 22    you read carefully what is he comparing it to before

   17:43:55 23    you answer.

   17:43:55 24    BY MR. PETROCELLI:

   17:44:00 25          Q.   You can put aside paragraph -- excuse me,

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                                           ROUGH DRAFT



   17:44:03   1   the Exhibit 10.    I'm going to focus on Exhibit 13

   17:44:08   2   because we've been through Exhibit 10 already.

   17:44:10   3             When you signed -- when you as the executor

   17:44:17   4   signed this supplement to your joint venture

   17:44:21   5   agreement with your joint venture partner Pacific

   17:44:28   6   Pictures Corporation, you understood that you were

   17:44:30   7   eliminating Superboy from the definition of rights

   17:44:34   8   contained in paragraph 1, correct?

   17:44:41   9             MR. TOBEROFF:   He's asking you at the time

   17:44:42 10    that you signed it so you can only answer that

   17:44:44 11    question what your understanding was at the time you

   17:44:49 12    signed it.

   17:44:49 13              THE WITNESS:    Yes.

   17:44:49 14    BY MR. PETROCELLI:

   17:44:51 15        Q.    Okay.   And in paragraph 4 you see that you

   17:45:04 16    understood by virtue of your agreeing to paragraph 4

   17:45:08 17    that on behalf of the Shuster estate you as executor

   17:45:13 18    required the agreement of PPC Pacific Pictures

   17:45:17 19    Corporation to enter into any agreement regarding

   17:45:19 20    the Superman rights, correct?

   17:45:19 21        A.    Yes.

   17:45:23 22        Q.    And you understood in paragraph 7 that upon

   17:45:31 23    the expiration of the term of this joint venture

   17:45:34 24    agreement or in the event of a termination for any

   17:45:40 25    reason that the estate would hold 50 percent of the

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                                          ROUGH DRAFT



   17:45:49   1   rights and Pacific Pictures Corporation would hold

   17:45:54   2   the remaining 50 percent as tenants in common,

   17:45:54   3   correct?

   17:45:54   4       A.     Yes.

   17:46:04   5       Q.     Did you discuss with your mother the

   17:46:08   6   elimination of Superboy from your joint venture

   17:46:11   7   agreement?

   17:46:18   8       A.     I don't remember a specific discussion.

   17:46:24   9       Q.     Do you -- did you believe that that was an

   17:46:26 10    important matter?

   17:46:27 11        A.     Yes.

   17:46:30 12        Q.     And you as the executor, you -- you

   17:46:34 13    understood you had a fiduciary duty to your mother

   17:46:36 14    in her role as the sole beneficiary, correct?

   17:46:36 15        A.     Yes.

   17:46:40 16        Q.     And you were signing an agreement

   17:46:48 17    subtracting rights from the prior agreement,

   17:46:48 18    correct?

   17:46:53 19               MR. TOBEROFF:   Lacks foundation.   Assumes

   17:46:55 20    facts.    Mischaracterizes the exhibit.

   17:46:55 21    BY MR. PETROCELLI:

   17:47:01 22        Q.     In your capacity as the executor the Court

   17:47:04 23    appointed executor who applied for and obtained the

   17:47:08 24    right and power to administer this estate with

   17:47:13 25    respect to this issue, you understood that in

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                                           ROUGH DRAFT



   17:47:18   1   signing this document you were removing from the

   17:47:27   2   estate any claim to the Superboy rights, correct?

   17:47:35   3       A.    Only with regard to this document.

   17:47:38   4       Q.    Well, what other document were you

   17:47:39   5   reserving it in?

   17:47:43   6       A.    My understanding was we didn't have rights.

   17:47:46   7   That's why this agreement did not include it in

   17:47:48   8   Superboy.

   17:47:48   9       Q.    But you -- it was included in the first

   17:47:51 10    agreement that you signed in November, Exhibit 10?

   17:47:54 11              MR. TOBEROFF:   Here is the exhibit.

   17:47:54 12    BY MR. PETROCELLI:

   17:47:56 13        Q.    Paragraph 1?

   17:47:56 14        A.    Yes.

   17:47:57 15              MR. TOBEROFF:   Is he referring again when

   17:47:58 16    he refers to Exhibit 10, paragraph 1 in the en

   17:48:02 17    conclusion of Superboy I'd like you to read

   17:48:04 18    paragraph 1 to see the way Superboy is included.

   17:48:07 19              MR. PETROCELLI:   You know, please don't?

   17:48:07 20              MR. TOBEROFF:   No.

   17:48:09 21              MR. PETROCELLI:   It's not appropriate.

   17:48:10 22              MR. TOBEROFF:   It's only fair that when you

   17:48:11 23    talk about something, he looks at it.

   17:48:13 24              MR. PETROCELLI:   He doesn't need you to

   17:48:14 25    tell him how to read it, okay.

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   17:48:16   1             MR. TOBEROFF:   I'm not telling him --

   17:48:16   2             MR. PETROCELLI:   That's just inappropriate.

   17:48:17   3             MR. TOBEROFF:   I'm telling him to read it.

   17:48:19   4             MR. PETROCELLI:   No, you're telling him

   17:48:20   5   more than that.    Let's not go down this path.

   17:48:22   6       Q.    What did you as the executor on behalf of

   17:48:26   7   the estate get as consideration for giving up any

   17:48:30   8   claim to Superboy?

   17:48:32   9             MR. TOBEROFF:   Assumes facts.   Lacks

   17:48:33 10    foundation.

   17:48:36 11              THE WITNESS:    My understanding is the

   17:48:40 12    Shuster estate.

   17:48:40 13              MR. PETROCELLI:

   17:48:41 14        Q.    Did you understand my question?    Let me ask

   17:48:44 15    it again.

   17:48:48 16        A.    Repeat it.

   17:48:48 17        Q.    Yes.   As the executor of the Shuster

   17:48:57 18    estate, in executing Exhibit 13, the October 27,

   17:48:57 19    2003 amendment to your joint venture agreement, what

   17:49:01 20    did the estate get in return forgiving up any and

   17:49:05 21    all claim to Superboy?

   17:49:07 22              MR. TOBEROFF:   Assumes facts and lacks

   17:49:13 23    foundation.

   17:49:13 24              THE WITNESS:    I think the question

   17:49:14 25    mischaracterizes the situation.

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   17:49:14   1   BY MR. PETROCELLI:

   17:49:18   2       Q.    Can you answer the question?

   17:49:19   3             MR. TOBEROFF:   Is he trying and you're

   17:49:20   4   interrupting his answer.

   17:49:21   5             MR. PETROCELLI:   No.

   17:49:22   6             MR. TOBEROFF:   Excuse me.

   17:49:22   7             MR. PETROCELLI:   Is he arguing and he is

   17:49:23   8   not answering my question?

   17:49:25   9             MR. TOBEROFF:   No, he's.

   17:49:26 10              MR. PETROCELLI:

   17:49:26 11        Q.    Do you understand the question, sir?

   17:49:27 12        A.    I think it mischaracterizes the situation.

   17:49:29 13        Q.    It's not up to you to make that decision.

   17:49:31 14    That's for a judge to make.

   17:49:33 15

   17:49:33 16              MR. TOBEROFF:   He can answer.

   17:49:33 17    BY MR. PETROCELLI:

   17:49:34 18        Q.    Do you understand the question?

   17:49:35 19        A.    I don't know how to answer it because it

   17:49:37 20    assumes certain things that are -- that I don't

   17:49:40 21    believe are true.

   17:49:40 22    BY MR. PETROCELLI:

   17:49:42 23        Q.    What, if anything, did the estate get for

   17:49:44 24    removing the words Superboy" and smallville from

   17:49:49 25    your joint venture agreement from the way they

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   17:49:52   1   appeared in Exhibit 10?

   17:49:55   2             MR. TOBEROFF:   Again he's referring to

   17:49:57   3   Exhibit 10.   Please look at Exhibit 10 and the way

   17:49:59   4   they appeared in Exhibit 10.    Those are your words

   17:50:02   5   Mr. Petrocelli.    So please look at the way Superboy

   17:50:06   6   appeared in Exhibit 10.

   17:50:07   7             MR. PETROCELLI:    Mark you don't need to

   17:50:08   8   repeat my question to him now really you're starting

   17:50:11   9   to get out of hand here.

   17:50:12 10              MR. TOBEROFF:   I've been pretty good I've

   17:50:14 11    been a good boy.

   17:50:15 12              MR. PETROCELLI:    Let's keep it that pay

   17:50:17 13    okay.

   17:50:18 14              MR. TOBEROFF:   Please look at Exhibit 10

   17:50:20 15    which he's referred to before you answer the

   17:50:21 16    question.

   17:50:21 17    BY MR. PETROCELLI:

   17:50:27 18        Q.    So what's the answer?

   17:50:29 19        A.    What did we get?

   17:50:31 20        Q.    Yes.   What did you get in return for your

   17:50:33 21    agreement to delete the references to Superboy and

   17:50:38 22    smallville?

   17:50:45 23        A.    All I can say is I don't think we have

   17:50:48 24    rights to it.

   17:50:48 25        Q.    I didn't ask you whether you thought had

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                                   EXHIBIT 77
                                     1940
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                                           ROUGH DRAFT



   17:50:50   1   you rights.   I ask you what, if anything, did you

   17:50:53   2   get for agreeing to do this supplement?

   17:50:56   3       A.    There was -- okay there was no remuneration

   17:50:58   4   or compensation or anything.

   17:51:01   5       Q.    None, right?

   17:51:02   6       A.    Okay.

   17:51:03   7       Q.

   17:51:03   8             Is that correct?

   17:51:05   9             MR. TOBEROFF:    He just answered you.

   17:51:06 10              THE WITNESS:    That's what I said.

   17:51:06 11    BY MR. PETROCELLI:

   17:51:07 12        Q.    Okay.   And and the estate of which you were

   17:51:12 13    in charge of administering did not seek a second

   17:51:15 14    opinion from another lawyer on that subject.

   17:51:15 15              Is that right?

   17:51:20 16        A.    That's correct.

   17:51:20 17        Q.    The sole advice that you accepted was the

   17:51:24 18    lawyer who represented the Siegels who were

   17:51:28 19    asserting 100 percent ownership.

   17:51:28 20              Is that correct?

   17:51:28 21        A.    Yes.

   17:51:41 22        Q.    Did you disclose to the probate court that

   17:51:45 23    you had executed this amendment deleting any

   17:51:48 24    reference to Superboy and smallville for no

   17:51:53 25    remuneration or compensation based on the advice of

                                                                       286




                                   EXHIBIT 77
                                     1941
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                                         ROUGH DRAFT



   17:51:56   1   the lawyer for the Siegels who were claiming 100

   17:52:01   2   percent rights to Superboy?     Did you make that

   17:52:03   3   disclosure to the probate court?

   17:52:06   4       A.    I don't believe so.

   17:52:13   5       Q.    When you -- in connection with your

   17:52:17   6   decision to accept the advice of Mr. Toberoff, were

   17:52:28   7   you made aware of any copyright -- before I get

   17:52:40   8   there, turn to Exhibit 14.

   17:52:44   9               (The document referred to was

   17:52:44 10              marked for identification by the

   17:52:44 11              C.S.R. as Exhibit 14 and attached

   17:52:44 12              to this deposition.)

   17:52:53 13              MR. PETROCELLI:   Exhibit 14 is the --

   17:53:00 14    notice of termination prepared by Mr. Toberoff on

   17:53:03 15    behalf of the Schusters that was sent out this

   17:53:10 16    November -- November 7, 2003.

   17:53:14 17        Q.    You've seen this document before?

   17:53:16 18        A.    Yes.

   17:53:17 19        Q.    And you signed it correct if you look at

   17:53:25 20    page 9?   You signed it as the executor of the estate

   17:53:28 21    of Joseph Shuster?

   17:53:29 22        A.    Yeah, let me find it.   I don't see the

   17:53:34 23    signature page.

   17:53:35 24        Q.    It's page 9, Mr. Peary if you look at the

   17:53:38 25    numbers in the center of the page?

                                                                       287




                                   EXHIBIT 77
                                     1942
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                                             ROUGH DRAFT



   17:53:39   1          A.   The center?

   17:53:41   2          Q.   The one -- the one on the right-hand corner

   17:53:43   3   would be 17.

   17:53:44   4          A.   Oh.    Okay.   The signature page oh, okay,

   17:53:44   5   yes.

   17:53:57   6          Q.   That's your signature as the executor of

   17:53:58   7   the Joseph Shuster estate?

   17:54:00   8          A.   Yes.

   17:54:00   9          Q.   And you executed this document Exhibit 14

   17:54:02 10    the notice of termination a little more than a week

   17:54:06 11    after the Exhibit 13 the amendment to the joint

   17:54:12 12    venture agreement dated October 27, 2003, correct?

   17:54:16 13           A.   Yes.

   17:54:17 14           Q.   Okay.   And this notice of termination

   17:54:23 15    includes no reference to Superboy or smallville,

   17:54:23 16    correct?

   17:54:30 17           A.   I believe that's correct.

   17:54:33 18           Q.   Okay.

   17:54:33 19                MR. TOBEROFF:    Don't -- don't -- you have

   17:54:34 20    to read the document before you can answer it do I.

   17:54:39 21                THE WITNESS:    Okay.   I don't remember it

   17:54:43 22    being in there.

   17:54:43 23    BY MR. PETROCELLI:

   17:54:44 24           Q.   Well based on your prior testimony you

   17:54:46 25    would not expect it to be there because you said did

                                                                            288




                                     EXHIBIT 77
                                       1943
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                                          ROUGH DRAFT



   17:54:49   1   you not believe the estate had any such interest

   17:54:51   2   based on the advise you received, correct?

   17:54:53   3       A.    I would not expect it.

   17:54:54   4             MR. TOBEROFF:   Calls for a legal

   17:54:55   5   conclusion.    Legal document.

   17:54:55   6   BY MR. PETROCELLI:

   17:55:08   7       Q.    I'm going to ask you another question now?

   17:55:10   8             MR. TOBEROFF:   Are you asking him Mr. It's

   17:55:12   9   in here or not.

   17:55:12 10              MR. PETROCELLI:   No, I'm not.   It's

   17:55:14 11    innocent there.    I'll represent that.

   17:55:18 12        Q.    To be clear, when you executed this notice

   17:55:21 13    of termination you understood that Superboy was not

   17:55:24 14    included, correct?

   17:55:24 15        A.    Yes.

   17:55:29 16        Q.    Okay.   Did you disclose to the probate

   17:55:30 17    court that you had served in your capacity as

   17:55:34 18    executor a notice of termination that did not extend

   17:55:37 19    to Superboy?

   17:55:38 20        A.    Did I give notice to the probate court?

   17:55:43 21        Q.    Did you make that disclosure to the probate

   17:55:45 22    court yes?

   17:55:45 23        A.    I don't recall that.

   17:55:48 24        Q.    You didn't do that, right?

   17:55:51 25        A.    I don't recall doing that.

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                                   EXHIBIT 77
                                     1944
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                                           ROUGH DRAFT



   17:55:57   1       Q.    Okay.   Now, and you understood that by not

   17:55:58   2   serving notice of termination with respect to

   17:56:00   3   Superboy that the state would be forever giving up

   17:56:06   4   any ability to recapture or terminate or recapture

   17:56:10   5   any Superboy rights, correct?

   17:56:14   6             MR. TOBEROFF:   Assume -- calls for a legal

   17:56:16   7   conclusion.     Assumes facts and lacks foundation.

   17:56:19   8             MR. PETROCELLI:

   17:56:19   9       Q.    You can answer.

   17:56:20 10        A.    I'm not sure what the legal technicalities.

   17:56:22 11        Q.    You understood that by not seeking to

   17:56:26 12    terminate is the estate was giving up any claim even

   17:56:29 13    to Superboy right?

   17:56:32 14              MR. TOBEROFF:   Calls for a legal

   17:56:33 15    conclusion.

   17:56:36 16              THE WITNESS:    All I know is it wasn't -- it

   17:56:38 17    wasn't a notice was not given in this document.

   17:56:38 18    BY MR. PETROCELLI:

   17:56:43 19        Q.    Or in any other document right?

   17:56:47 20        A.    No.

   17:56:47 21        Q.    Correct?

   17:56:48 22        A.    That's correct.

   17:56:48 23        Q.    In fact, the -- the time within which to

   17:56:52 24    file a notice of termination with respect to

   17:56:55 25    Superboy on behalf of the Shuster estate expired 11

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                                  EXHIBIT 77
                                    1945
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                                            ROUGH DRAFT



   17:56:58   1   days later on November 18, 2003 correct?

   17:57:04   2              MR. TOBEROFF:   Assumes facts lacks

   17:57:06   3   foundation.      Calls for a legal conclusion.

   17:57:09   4              THE WITNESS:    I'm not positive of the

   17:57:11   5   details.

   17:57:11   6   BY MR. PETROCELLI:

   17:57:12   7       Q.     But you do know now that as you sit here

   17:57:15   8   now as the executor of the Joseph Shuster estate

   17:57:17   9   that the time has long passed for -- for the estate

   17:57:21 10    filing a notice of termination with respect to

   17:57:23 11    Superboy, correct?

   17:57:24 12               MR. TOBEROFF:   You can -- can you only

   17:57:25 13    answer these questions requiring legal knowledge

   17:57:28 14    number 1 if you know one way or another and number

   17:57:32 15    2, if it's not based on your discussions with me.

   17:57:35 16    That's it.

   17:57:38 17               THE WITNESS:    Okay.   I'm -- I'm not sure.

   17:57:38 18    BY MR. PETROCELLI:

   17:57:41 19        Q.     Well since 2003 to the present have you

   17:57:44 20    ever purported to serve a notice of termination for

   17:57:47 21    Superboy on behalf of the Shuster estate?

   17:57:49 22        A.     No.

   17:57:52 23        Q.     Okay.   And do you have any intention right

   17:57:53 24    now to do so?

   17:57:58 25               MR. TOBEROFF:   Don't discuss your

                                                                        291




                                   EXHIBIT 77
                                     1946
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                                         ROUGH DRAFT



   17:57:59   1   intentions as to legal acts in this case.

   17:57:59   2   BY MR. PETROCELLI:

   17:58:04   3       Q.    In your capacity as executor do you have a

   17:58:06   4   current intention of which you are currently aware

   17:58:08   5   to serve a notice of termination with respect to

   17:58:12   6   Superboy?

   17:58:12   7             MR. TOBEROFF:   Instruct you not to answer

   17:58:13   8   that.

   17:58:14   9             (Instruction not to answer.)

   17:58:14 10              MR. PETROCELLI:   On what ground?

   17:58:16 11              MR. TOBEROFF:   On the ground that any

   17:58:17 12    intention he has as to exercising his -- exercising

   17:58:21 13    whatever rights he may or may not have under the

   17:58:23 14    copyright act the product of any discussions with

   17:58:27 15    his counsel.

   17:58:28 16              MR. PETROCELLI:   That's not a fair response

   17:58:29 17    to my question.

   17:58:30 18              MR. TOBEROFF:   I disagree.

   17:58:30 19    BY MR. PETROCELLI:

   17:58:33 20        Q.    Have you reviewed any drafts of any notices

   17:58:35 21    of termination with respect to Superboy?

   17:58:37 22        A.    No.

   17:58:43 23        Q.    Okay.   Take a look at Exhibit 15.   At the

   17:58:48 24    at the time that Mr. Toberoff gave you advice that

   17:58:51 25    the estate had no claim to Superboy, did

                                                                      292




                                  EXHIBIT 77
                                    1947
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                                           ROUGH DRAFT



   17:58:55   1   Mr. Toberoff show you Exhibit 15?

   17:58:58   2             MR. TOBEROFF:   Misstates his testimony.

   17:58:59   3   Misstates the record.     This is 15?

   17:59:06   4             MR. PETROCELLI:    Yes.   15 is a 1940

   17:59:11   5   Superboy script.

   17:59:14   6       Q.    Have you seen this document before?

   17:59:18   7       A.    No, I don't think so.

   17:59:20   8       Q.    Okay.   And so I take it from your answer

   17:59:22   9   that prior to serving the notice of termination

   17:59:28 10    Exhibit 14 you were not aware of this document.

   17:59:28 11              Is that correct?

   17:59:28 12        A.    Yes.

   17:59:34 13        Q.    Okay.   And the document says in the first

   17:59:38 14    sentence or first paragraph:

   17:59:45 15                     "Panel occupies full page

   17:59:46 16              contains the title Superboy the buy

   17:59:48 17              line by Jerry Siegel and Joe

   17:59:51 18              Shuster."

   17:59:52 19              And then it goes on.

   17:59:57 20              Were you aware of the existence of this

   18:00:02 21    script by which Joe Shuster was identified as one of

   18:00:09 22    the two buy line people?

   18:00:12 23              MR. TOBEROFF:   Vague.    Unintelligible.

   18:00:17 24              THE WITNESS:    I haven't seen this before.

   18:00:17 25    BY MR. PETROCELLI:

                                                                          293




                                   EXHIBIT 77
                                     1948
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                                         ROUGH DRAFT



   18:00:27   1       Q.    Take a look at Exhibit 16.

   18:00:29   2               (The document referred to was

   18:00:29   3             marked for identification by the

   18:00:29   4             C.S.R. as Exhibit 16 and attached

   18:00:43   5             to this deposition.)

   18:00:43   6   BY MR. PETROCELLI:

   18:00:44   7       Q.    Do you have Exhibit 16?

   18:00:46   8             Prior to serving the notice of termination,

   18:00:50   9   exhibit 14, were you aware of Exhibit 16?

   18:01:02 10    Exhibit 16 is more -- a copy of parts of more fun

   18:01:07 11    comics number 101.

   18:01:20 12        A.    Are you asking me if I've ever seen this

   18:01:22 13    before?

   18:01:22 14        Q.    Yes.

   18:01:34 15        A.    I don't recognize this first page

   18:01:37 16    specifically showing Superboy, no.

   18:01:39 17        Q.    You're referring to page -- the second page

   18:01:42 18    of this exhibit?

   18:01:42 19        A.    Yes.

   18:01:43 20        Q.    That has the picture of Superboy on it?

   18:01:44 21        A.    Yes.

   18:01:45 22        Q.    Were you aware that copyright renewal

   18:01:53 23    registrations were filed indicating that in the name

   18:01:59 24    of both Joe Shuster and Jerome Siegel with respect

   18:02:04 25    to more fun comics 101?

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                                   EXHIBIT 77
                                     1949
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                                            ROUGH DRAFT



   18:02:06   1              MR. TOBEROFF:     Lacks foundation.

   18:02:06   2   BY MR. PETROCELLI:

   18:02:12   3       Q.     Were you aware prior to the time that you

   18:02:13   4   sent out -- that you signed the termination notice,

   18:02:17   5   exhibits 14, that copyright registration renewals

   18:02:25   6   for Superboy by Jerome Siegel and Joe Shuster had

   18:02:29   7   been filed with the copyright office?

   18:02:30   8       A.     At -- at what -- at what time?

   18:02:39   9       Q.     As of the time you sent out the notice of

   18:02:40 10    termination in November 2003.

   18:02:43 11        A.     As of -- no.

   18:02:46 12        Q.     Were you aware -- were you aware of either

   18:02:49 13    this -- any such copyright registration renewals or

   18:02:55 14    Exhibit 15, the Superboy script at the time that you

   18:02:58 15    signed the amendment to the joint venture deleting

   18:03:00 16    Superboy?

   18:03:04 17        A.     Copyright renewals in the '60s?       1960s?

   18:03:11 18        Q.     No.   71 -- 72.

   18:03:13 19        A.     72.   Okay.

   18:03:17 20        Q.     Were you aware of those documents the

   18:03:20 21    renewal registration for Superboy in the name of Joe

   18:03:24 22    Shuster and secretary re Siegel and were you aware

   18:03:25 23    of the Superboy script Exhibit 15 when you deleted

   18:03:30 24    or agreed to delete Superboy from your joint

   18:03:33 25    venture?

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                                   EXHIBIT 77
                                     1950
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                                            ROUGH DRAFT



   18:03:36   1       A.     I was not aware of the specific documents.

   18:03:40   2       Q.     The ones that I just asked you about,

   18:03:40   3   correct?

   18:03:42   4       A.     Yeah, right.    I've never seen those.

   18:03:44   5       Q.     Okay.   Take a look at Exhibit 17.

   18:03:47   6                (The document referred to was

   18:03:47   7              marked for identification by the

   18:03:47   8              C.S.R. as Exhibit 17 and attached

   18:04:02   9              to this deposition.)

   18:04:02 10    BY MR. PETROCELLI:

   18:04:02 11        Q.     At the time that you signed the -- at the

   18:04:06 12    time that you signed the -- the supplement to the

   18:04:12 13    joint venture agreement removing Superboy and

   18:04:18 14    smallville, were you aware that your uncle Joe

   18:04:22 15    Shuster in the 1970s claimed a joint interest in

   18:04:25 16    Superboy in copyright filings?

   18:04:30 17               MR. TOBEROFF:   Misstates the evidence.

   18:04:32 18    Assumes facts and lacks foundation.

   18:04:36 19               THE WITNESS:    No.

   18:04:36 20    BY MR. PETROCELLI:

   18:04:40 21        Q.     Okay.   Take a look at Exhibit 17.   Do you

   18:04:44 22    see the reference -- I'll represent to you this is a

   18:04:49 23    listing of copyright renewal registrations and do

   18:04:53 24    you see the name Joe Shuster?

   18:04:55 25        A.     Oh.   Yes.

                                                                       296




                                   EXHIBIT 77
                                     1951
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                                          ROUGH DRAFT



   18:04:59   1       Q.     And you see Superboy under the name Joe

   18:05:04   2   Shuster?

   18:05:04   3       A.     Yes.

   18:05:05   4       Q.     And it says Siegel Jerome?

   18:05:09   5       A.     Yes.

   18:05:10   6       Q.     Then you go under Siegel Jerome.

   18:05:13   7              Do you see that couple entries down?

   18:05:16   8       A.     Yes.

   18:05:16   9       Q.     It says Superboy by Jerome Siegel and Joe

   18:05:19 10    Shuster in more fun comics January to February 1945

   18:05:28 11    copyright sign 18 November 1944 B 653651 Jerome

   18:05:35 12    Siegel and Joe Shuster and then there's some

   18:05:40 13    other -- other data.

   18:05:42 14               Were you aware of such copyright

   18:05:46 15    registration filings when you agreed to remove

   18:05:56 16    Superboy from your joint venture agreement?

   18:05:58 17        A.     No.

   18:06:01 18        Q.     When you served the termination notice

   18:06:03 19    without reference to Superboy?

   18:06:04 20        A.     No.

   18:06:07 21        Q.     Did Mr. Toberoff provide these -- any of

   18:06:09 22    these documents to you, Exhibits 15, 16 and 17?

   18:06:16 23    That I've just gone through with you?

   18:06:21 24        A.     I don't believe so.

   18:06:23 25        Q.     Take a look at Exhibit 18.

                                                                        297




                                    EXHIBIT 77
                                      1952
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                                           ROUGH DRAFT



   18:06:24   1                (The document referred to was

   18:06:24   2             marked for identification by the

   18:06:24   3             C.S.R. as Exhibit 18 and attached

   18:06:31   4             to this deposition.)

   18:06:31   5             THE WITNESS:   Can we get some

   18:06:33   6   air-conditioning in here?

   18:06:33   7   BY MR. PETROCELLI:

   18:06:39   8       Q.    Exhibit 18 is an application for

   18:06:41   9   registration of a claim to renewal of copyright.

   18:06:49 10    Indicating for Superboy more fun comics 101

   18:06:57 11    indicating co-authors Jerome Siegel and Joe Shuster.

   18:07:02 12    Do you see that document?

   18:07:03 13        A.    Yes.

   18:07:07 14        Q.    Is this the first time you're Siegel this

   18:07:09 15    document?

   18:07:09 16        A.    Yes.

   18:07:12 17        Q.    I take it that this document was not

   18:07:14 18    provided to you by Mr. Toberoff.

   18:07:14 19              Is that correct?

   18:07:14 20        A.    Yes.

   18:07:23 21        Q.    You were unaware of this document when you

   18:07:26 22    removed Superboy and smallville from the joint

   18:07:29 23    venture agreement, correct?

   18:07:29 24        A.    Yes.

   18:07:34 25        Q.    And whether you sent out the termination

                                                                       298




                                   EXHIBIT 77
                                     1953
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                                         ROUGH DRAFT



   18:07:36   1   notice without reference to Superboy, correct?

   18:07:36   2       A.    Yes.

   18:07:42   3       Q.    And you reference some case in the 1940's.

   18:07:45   4             Do you recall that? That Mr. Toberoff

   18:07:49   5   mentioned to you?

   18:07:49   6       A.    Yes.

   18:07:53   7       Q.    And you're aware that these filings are

   18:07:55   8   made in the 1970s some 25 years later?

   18:07:57   9       A.    Yes.

   18:08:03 10        Q.    Take a look at Exhibit 19.

   18:08:06 11                (The document referred to was

   18:08:06 12              marked for identification by the

   18:08:06 13              C.S.R. as Exhibit 19 and attached

   18:08:16 14              to this deposition.)

   18:08:16 15    BY MR. PETROCELLI:

   18:08:16 16        Q.    Exhibit 19 is another page from --

   18:08:22 17    indicating copyright registration filings.

   18:08:25 18              Do you have that in front of you?

   18:08:27 19        A.    Yes.

   18:08:28 20        Q.    Do you see the reference to Joe Shuster?

   18:08:30 21        A.    Yes.

   18:08:34 22        Q.    This is for the year 1973.   The one I just

   18:08:39 23    showed you before, Exhibits -- exhibit 17 was for

   18:08:42 24    the year 1972.

   18:08:47 25              And you'll see the reference to Joe Shuster

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                                   EXHIBIT 77
                                     1954
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                                         ROUGH DRAFT



   18:08:50   1   and Superboy which is then cross-referenced down to

   18:08:55   2   Jerome Siegel where it also indicates that both the

   18:09:00   3   names of Jerome Siegel and Joe Shuster for Superboy

   18:09:03   4   in more fun comics.

   18:09:05   5             Do you see that?

   18:09:05   6       A.    Yes.

   18:09:08   7       Q.    And were you aware that they had filed

   18:09:12   8   copyright renewal registrations in 1973 with respect

   18:09:16   9   to Superboy, that is Joe Shuster had together with

   18:09:19 10    Jerome Siegel?

   18:09:20 11        A.    I had some vague awareness that they were

   18:09:26 12    filing for renewal copyrights and they were denied.

   18:09:29 13        Q.    With respect to Superboy?

   18:09:30 14        A.    With all the -- all the elements.

   18:09:36 15        Q.    I'm asking you specifically did you know

   18:09:37 16    about the Superboy copyright registration renewals

   18:09:40 17    when you signed those documents?

   18:09:41 18        A.    A general vague idea of Superman and

   18:09:44 19    related elements.

   18:09:45 20        Q.    But you didn't have they specific knowledge

   18:09:47 21    of the Superboy registration filings.

   18:09:49 22              Is that correct?

   18:09:49 23        A.    Not specifically Superboy.

   18:09:51 24        Q.    None these documents with respect to

   18:09:52 25    Superboy had been made available to you at the time

                                                                       300




                                   EXHIBIT 77
                                     1955
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                                          ROUGH DRAFT



   18:09:55   1   you signed the amendment to the joint venture

   18:09:58   2   agreement on October 27, 2003 removing Superboy,

   18:09:58   3   correct?

   18:10:06   4         A.   Yes.

   18:10:07   5         Q.   And is it fair to say that had these

   18:10:09   6   documents been made available to you you would have

   18:10:11   7   taken them into account in making a decision whether

   18:10:14   8   or not to delete Superboy, correct?

   18:10:17   9              MR. TOBEROFF:   Calls for a legal conclusion

   18:10:17 10    as to a complex issue.

   18:10:21 11               MR. PETROCELLI:   Hardly.

   18:10:22 12               MR. TOBEROFF:   You're so wrong.

   18:10:25 13               MR. TOBEROFF:   You're so wrong.

   18:10:27 14               MR. PETROCELLI:   You didn't listen to my

   18:10:28 15    question.

   18:10:28 16               MR. TOBEROFF:   I listened to it.

   18:10:28 17    BY MR. PETROCELLI:

   18:10:33 18          Q.   Can you answer my question?

   18:10:34 19          A.   Would I have --

   18:10:34 20          Q.   Taken these documents into account had they

   18:10:38 21    been made available to you?

   18:10:39 22          A.   I don't think it would have made a

   18:10:43 23    difference because the legal situation with regard

   18:10:46 24    to.

   18:10:48 25               MR. TOBEROFF:   Don't testify based on

                                                                         301




                                    EXHIBIT 77
                                      1956
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                                           ROUGH DRAFT



   18:10:50   1   conversations with your attorney.

   18:10:51   2             THE WITNESS:    Okay then I can't say

   18:10:52   3   anything.

   18:10:52   4   BY MR. PETROCELLI:

   18:10:56   5       Q.    Did your -- you were unaware of these

   18:10:56   6   documents, correct?

   18:10:59   7       A.    Of these specific documents.

   18:10:59   8       Q.    Correct.   Right.

   18:11:02   9             And you were -- is it fair to say that

   18:11:07 10    would you have wanted to know about these -- these

   18:11:11 11    documents prior to having made the decision to sign

   18:11:14 12    those -- the amended joint venture agreement?

   18:11:20 13              MR. TOBEROFF:    Calls for a legal

   18:11:21 14    conclusion.

   18:11:22 15              THE WITNESS:    I knew their renewal requests

   18:11:25 16    were denied back in the early '70s.

   18:11:25 17    BY MR. PETROCELLI:

   18:11:29 18        Q.    You're not -- you're not answering my

   18:11:31 19    question?

   18:11:31 20              MR. TOBEROFF:    He is answering your

   18:11:32 21    question.   You keep cutting him off -- excuse me I'm

   18:11:35 22    talking being.

   18:11:35 23    BY MR. PETROCELLI:

   18:11:36 24        Q.    You testified?

   18:11:36 25              MR. TOBEROFF:    Excuse me excuse me excuse

                                                                         302




                                 EXHIBIT 77
                                   1957
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                                         ROUGH DRAFT



   18:11:37   1   me.   Excuse me, I'm talking.

   18:11:38   2              MR. PETROCELLI:   Don't waste my time.

   18:11:40   3              MR. TOBEROFF:   I will not I will not.

   18:11:40   4   BY MR. PETROCELLI:

   18:11:42   5         Q.   You already testified, sir?

   18:11:43   6              MR. TOBEROFF:   I will not.

   18:11:44   7              MR. PETROCELLI:   Sir, you testified.

   18:11:45   8              MR. TOBEROFF:   You're talking over me I

   18:11:46   9   will not have you talk over me now.

   18:11:48 10               MR. PETROCELLI:   Take a break off the

   18:11:49 11    record court or we're on the record I don't agree to

   18:11:53 12    go off the record.

   18:11:53 13               MR. PETROCELLI:   I do not agree to go off

   18:11:56 14    the record.

   18:11:57 15               MR. PETROCELLI:   I'm not going let you chew

   18:11:58 16    up my time making speeches.

   18:12:00 17               MR. TOBEROFF:   I'm not chewing up your time

   18:12:01 18    don't talk over me you're going to let me finish.

   18:12:05 19               MR. PETROCELLI:   Terminate the deposition

   18:12:06 20    if you continue.

   18:12:06 21               MR. TOBEROFF:   You can do whatever you see

   18:12:08 22    fit I'm going to finish my sentence.

   18:12:10 23               MR. PETROCELLI:   Finish your sentence and

   18:12:12 24    you've got 20 seconds.

   18:12:14 25               MR. TOBEROFF:   You're wasting time.    You

                                                                           303




                                 EXHIBIT 77
                                   1958
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                                          ROUGH DRAFT



   18:12:15   1   don't tell me how long I get to speak.

   18:12:17   2             MR. PETROCELLI:   You're timed go.

   18:12:18   3             MR. TOBEROFF:   When he says something that

   18:12:20   4   you don't want him to say you cut him off.     It's an

   18:12:23   5   old trick.    My client when he is attempting to

   18:12:26   6   answer your question, you have to let him finish the

   18:12:29   7   answer.   He was about to -- he was talking and you

   18:12:31   8   cut him off and then when I objected and said please

   18:12:34   9   let me client finish you cut me off and standard

   18:12:36 10    talking over me.    Please don't do that.   I'm

   18:12:39 11    finished.

   18:12:39 12    BY MR. PETROCELLI:

   18:12:40 13        Q.    Mr. Court how did do I on the 20 seconds?

   18:12:42 14              MR. PETROCELLI:   Just made it.

   18:12:43 15        Q.    I -- I don't want you to be telling me

   18:12:46 16    about copyright registration renewals that were

   18:12:49 17    denied when you have already specifically testified

   18:12:52 18    that you have no knowledge that these specific

   18:12:55 19    Superboy registrations were designed.    It's not

   18:12:58 20    responsive and it's not helpful.

   18:13:00 21              MR. TOBEROFF:   And you can -- can you

   18:13:02 22    answer the question anyway you see fit.

   18:13:02 23    BY MR. PETROCELLI:

   18:13:04 24        Q.    And if you do I will?

   18:13:05 25              MR. TOBEROFF:   You're talking over me

                                                                         304




                                  EXHIBIT 77
                                    1959
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                                             ROUGH DRAFT



   18:13:07   1   again.      Can you answer the question anyway you see

   18:13:08   2   fit.   And -- and I -- and with the exception that I

   18:13:12   3   will instruct you not to answer certain questions

   18:13:15   4   that impinge on the attorney-client privilege.

   18:13:15   5   BY MR. PETROCELLI:

   18:13:18   6          Q.   Now, my question to you is would you have

   18:13:20   7   wanted to know about various documents in which that

   18:13:23   8   evidence your uncle claiming co-authorship of

   18:13:28   9   Superboy and filing copyright registrations as late

   18:13:32 10    as the mid-'70s in making a determination to remove

   18:13:37 11    the -- any interest of the estate to Superboy?

   18:13:40 12                MR. TOBEROFF:   Objection.   Assumes facts.

   18:13:43 13    Lacks foundaton.     It mischaracterizes the exhibits

   18:13:48 14    you can answer.

   18:13:51 15                THE WITNESS:    My answer is I don't think it

   18:13:52 16    would have made any difference so no.

   18:13:52 17    BY MR. PETROCELLI:

   18:13:55 18           Q.   Why wouldn't it have made a difference?

   18:13:57 19                MR. TOBEROFF:   You can only answer that to

   18:13:59 20    the extent that your knowledge is not based on

   18:14:01 21    conversations with me regarding Superboy.

   18:14:05 22                THE WITNESS:    I -- I -- it's kind of legal.

   18:14:15 23    I just know.

   18:14:17 24                MR. TOBEROFF:   You can only answer that --

   18:14:19 25    please follow my instruction.      If your conversations

                                                                        305




                                   EXHIBIT 77
                                     1960
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                                            ROUGH DRAFT



   18:14:23   1   are based on knowledge independent of your

   18:14:25   2   discussions with me I'm happy for you to answer the

   18:14:27   3   question.   If they're not, then you can't answer the

   18:14:31   4   question.   That's it.

   18:14:33   5              THE WITNESS:    Okay.

   18:14:33   6   BY MR. PETROCELLI:

   18:14:37   7         Q.   As --

   18:14:38   8         A.   My -- my knowledge of it is -- is based

   18:14:44   9   mostly on my discussions so I guess I can't answer

   18:14:49 10    it.

   18:14:50 11          Q.   You're the executor of the estate.    You

   18:14:52 12    filed legal documents in that capacity.      You filed

   18:14:56 13    them as a matter of public record.

   18:15:03 14               On what basis did you file documents

   18:15:06 15    concluding that the estate had no interest in

   18:15:09 16    Superboy?

   18:15:13 17               MR. TOBEROFF:   You can answer that as -- as

   18:15:15 18    long is as your basis is not based on conversations

   18:15:18 19    and advice with your -- from and with your attorney.

   18:15:25 20               THE WITNESS:    Okay.   So what do I know

   18:15:30 21    separate from talking with my attorney?

   18:15:33 22               MR. TOBEROFF:   Don't involve him in that

   18:15:34 23    thought process.   Think to yourself whether you have

   18:15:36 24    an understanding separate from your conversations

   18:15:41 25    with me or if you can separate it then can you

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                                 EXHIBIT 77
                                   1961
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                                           ROUGH DRAFT



   18:15:43   1   answer the question.     If not, I instruct you not to

   18:15:46   2   answer.

   18:15:48   3             THE WITNESS:    Well my knowledge is tied to

   18:15:50   4   my discussions with Marc Toberoff.     I don't know how

   18:15:54   5   to separate it.

   18:15:54   6   BY MR. PETROCELLI:

   18:15:56   7       Q.    I'm asking you for --

   18:15:57   8             MR. TOBEROFF:   I instruct you not to

   18:15:58   9   answer.

   18:15:58 10    BY MR. PETROCELLI:

   18:15:59 11        Q.    I'm asking you to answer the question based

   18:16:01 12    on your judgment and your capacity as the executor

   18:16:03 13    of the estate.    You're the decision-maker not your

   18:16:06 14    lawyer.

   18:16:07 15              MR. TOBEROFF:   It's the same instruction.

   18:16:09 16    His question doesn't change my instruction.

   18:16:14 17              THE WITNESS:    I have to follow the

   18:16:15 18    instruction.

   18:16:16 19              (Instruction not to answer.)

   18:16:16 20    BY MR. PETROCELLI:

   18:16:17 21        Q.    Did you -- do you believe that Joe Shuster

   18:16:20 22    new better than Marc Toberoff as to whether he

   18:16:25 23    participated in the creation of Superboy?

   18:16:34 24        A.    I'm not sure I understand the question.

   18:16:34 25        Q.    Well, you saw that I showed you various

                                                                        307




                                 EXHIBIT 77
                                   1962
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                                           ROUGH DRAFT



   18:16:36   1   documents including copyright registration files --

   18:16:41   2   filings in which Joe Shuster was attributed as a

   18:16:49   3   co-shore of Superboy.     You saw that, right?

   18:16:51   4       A.    Yes.

   18:16:52   5       Q.    Okay.   Do you think that Joe Shuster would

   18:16:54   6   have had a better understanding of whether he was a

   18:16:56   7   co-author of Superboy than Marc Toberoff?

   18:17:01   8             MR. TOBEROFF:   Calls for a legal

   18:17:02   9   conclusion.   Lacks foundation.

   18:17:09 10              THE WITNESS:    All I know is she's -- these

   18:17:13 11    terminations were based upon a -- a renewal period

   18:17:17 12    that -- that doesn't currently apply.

   18:17:20 13              MR. TOBEROFF:   Don't -- don't discuss --.

   18:17:20 14    BY MR. PETROCELLI:

   18:17:23 15        Q.    How do you know what you just said?

   18:17:24 16              MR. TOBEROFF:   Excuse me.

   18:17:24 17    BY MR. PETROCELLI:

   18:17:26 18        Q.    You just said that these renewals don't

   18:17:29 19    apply.    What did you mean by that?

   18:17:31 20              MR. TOBEROFF:   Excuse me.   I'm going to

   18:17:33 21    make my instruction again.    I'm instructing you not

   18:17:36 22    to testify based on advice or information that you

   18:17:41 23    have only received from your attorney.

   18:17:43 24              Do you understand that instruction?

   18:17:45 25              Do you understand that instruction?

                                                                        308




                                   EXHIBIT 77
                                     1963
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                                           ROUGH DRAFT



   18:17:48   1             THE WITNESS:    Not to testify to information

   18:17:49   2   that I have received from my attorney?

   18:17:51   3             MR. TOBEROFF:   Yes.

   18:17:51   4             Do you understand that instruction.

   18:17:53   5             THE WITNESS:    Yes.

   18:17:54   6             MR. TOBEROFF:   Okay.    So if you have

   18:17:55   7   knowledge outside of your conversations with me or

   18:17:59   8   outside of advice that I have given you, then can

   18:18:02   9   you testify.

   18:18:09 10              THE WITNESS:    Okay.   Well --

   18:18:11 11              MR. TOBEROFF:   And you don't have to feel

   18:18:12 12    bad about it.   Just you make the decision whether

   18:18:14 13    it's based on knowledge -- based on advice and

   18:18:17 14    knowledge you've obtained from me and conversations

   18:18:19 15    with me in which event I instruct you not to answer.

   18:18:22 16    You don't have to feel bad about not answering.      You

   18:18:24 17    don't answer the question.       You're instructed not to

   18:18:27 18    answer.   If however you have information based on

   18:18:30 19    your own independent knowledge that's not part and

   18:18:34 20    parcel of your discussions and advice from me, then

   18:18:37 21    you -- then you can answer the question and only,

   18:18:39 22    then.

   18:18:39 23              Do you understand that?

   18:18:44 24              THE WITNESS:    Okay yes.

   18:18:45 25              MR. TOBEROFF:   Okay good.

                                                                        309




                                  EXHIBIT 77
                                    1964
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                                         ROUGH DRAFT



   18:18:45   1   BY MR. PETROCELLI:

   18:18:47   2       Q.    So answer the question now.

   18:18:48   3       A.    So my -- my -- my understanding is based on

   18:18:58   4   my discussions with Marc Toberoff, my -- and where

   18:19:02   5   we discuss copyright law.    That's.

   18:19:06   6       Q.    But you -- you made a judgment it was your

   18:19:08   7   decision to make not Mr. Toberoff's.      You made a

   18:19:11   8   judgment to enter into an amendment to a joint

   18:19:14   9   venture removing certain rights from the venture.

   18:19:18 10    And in what -- when you made that judgment I

   18:19:20 11    would -- I want you to tell me what was the basis of

   18:19:23 12    that judgment?

   18:19:24 13              MR. TOBEROFF:   Asked and answered.   I

   18:19:25 14    instruct you not to answer.   You've already answered

   18:19:28 15    the question.    Basis is legal advice.    You don't

   18:19:30 16    have to answer and you don't have to speak.

   18:19:32 17              (Instruction not to answer.)

   18:19:34 18              MR. TOBEROFF:   Next question.

   18:19:34 19    BY MR. PETROCELLI:

   18:19:36 20        Q.    And when you made the judgment as the

   18:19:38 21    executor of the estate to reject any claim to

   18:19:48 22    Superboy, what was the basis of that judgment?

   18:19:56 23              MR. TOBEROFF:   Same instruction.

   18:19:56 24              (Instruction not to answer.)

   18:19:56 25    BY MR. PETROCELLI:

                                                                         310




                                  EXHIBIT 77
                                    1965
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                                           ROUGH DRAFT



   18:20:03   1       Q.    Did you -- did you talk to the -- to the

   18:20:11   2   Siegels about your decision before making it?

   18:20:24   3       A.    I don't recall doing that.

   18:20:25   4       Q.    Did you approach the Siegels at any time

   18:20:30   5   and indicate to them that based on Joe Shuster's

   18:20:38   6   contributions to Superboy, that the right should be

   18:20:44   7   equally divided?     Did you have any discussion like

   18:20:47   8   that with the Siegels?

   18:20:48   9       A.    No.

   18:20:50 10        Q.    Did you even think about having that kind

   18:20:52 11    of conversation?

   18:20:57 12        A.    I don't know if I thought about it.

   18:20:59 13        Q.    Did you talk to your mom that you were

   18:21:03 14    going to relinquish rights to Superboy?

   18:21:06 15        A.

   18:21:06 16              MR. TOBEROFF:   Misstates his testimony.

   18:21:09 17    Assumes facts.   Lacks foundation.

   18:21:15 18              THE WITNESS:    I didn't think we had rights.

   18:21:15 19    BY MR. PETROCELLI:

   18:21:18 20        Q.    That was based on what Marc Toberoff told

   18:21:19 21    you, correct?

   18:21:21 22        A.    Largely.

   18:21:22 23        Q.    Well what -- what part wasn't based on what

   18:21:24 24    Marc Toberoff told you?

   18:21:25 25        A.    I have seen section 304 D of the copyright

                                                                       311




                                  EXHIBIT 77
                                    1966
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                                             ROUGH DRAFT



   18:21:33   1   law.

   18:21:34   2          Q.   So you made your own interpretation of

   18:21:36   3   section 304 D of the copyright law and concluded

   18:21:39   4   that Joe Shuster had no rights to Superboy?

   18:21:43   5          A.   I read it in consultation with my attorney.

   18:21:46   6               MR. TOBEROFF:   Again, please, don't go into

   18:21:48   7   areas that are based on your consultation with your

   18:21:50   8   attorney, please.

   18:21:51   9               THE WITNESS:    Okay.

   18:21:52 10                MR. TOBEROFF:   Just because he keeps asking

   18:21:54 11    you the same questions all over again you don't have

   18:21:56 12    to feel bad when you can't answer those questions

   18:21:58 13    because it's attorney-client privilege.        He could

   18:22:01 14    ask the question.

   18:22:01 15                MR. PETROCELLI:   Mark.

   18:22:02 16                MR. TOBEROFF:   Over and over again.

   18:22:03 17                MR. PETROCELLI:   Mark it's not.

   18:22:04 18                MR. TOBEROFF:   I'm instructing.

   18:22:05 19                MR. PETROCELLI:   No, no.

   18:22:06 20                MR. TOBEROFF:   When you interrupt me it

   18:22:07 21    wastes more time than you letting me finish.

   18:22:10 22                MR. PETROCELLI:   You're taking a moment can

   18:22:11 23    you go off the record and tell him that.

   18:22:13 24                MR. TOBEROFF:   You're wasting time.

   18:22:14 25                MR. PETROCELLI:   I don't want you using

                                                                            312




                                  EXHIBIT 77
                                    1967
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   18:22:16   1   valuable time telling him he doesn't have to feel

   18:22:19   2   bad.

   18:22:19   3             MR. TOBEROFF:   If you're concerned about

   18:22:20   4   the time you wouldn't engage in me in colloquy.

   18:22:20   5             MR. PETROCELLI:   No, No, I can't let you

   18:22:20   6   keep doing this.

   18:22:23   7             MR. TOBEROFF:   Court consider I'm going

   18:22:25   8   instruct my client you can reserve all your rights.

   18:22:27   9             MR. PETROCELLI:   I'm putting you on notice

   18:22:29 10    right now.

   18:22:29 11              MR. TOBEROFF:   Interrupting me again.

   18:22:31 12              MR. PETROCELLI:   That I'm going to seek

   18:22:34 13    more time to examine the witness.

   18:22:34 14              MR. TOBEROFF:   I reject that.

   18:22:37 15              MR. PETROCELLI:   Because you're talking.

   18:22:40 16              MR. TOBEROFF:   The time is wasted by -- he

   18:22:43 17    you're not going to brow meet your?

   18:22:45 18              MR. PETROCELLI:   That you instruct him not

   18:22:47 19    to answer.    You don't have to go into any further

   18:22:49 20    colloquy request him.

   18:22:50 21              MR. TOBEROFF:   I see that my client is

   18:22:52 22    getsing very distressed because your asking him the

   18:22:55 23    same question -- please don't interrupt plea please

   18:22:57 24    don't interrupt me.

   18:22:58 25              MR. PETROCELLI:   Asking you to go off the

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                                  EXHIBIT 77
                                    1968
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   18:22:59   1   record so you don't take up my time that's all I'm

   18:23:02   2   asking you.

   18:23:02   3              MR. TOBEROFF:   We can govern govern the

   18:23:04   4   record.

   18:23:05   5              THE VIDEOGRAPHER:   Video off the record the

   18:23:06   6   time is 6:22.

   18:32:05   7              (Brief recess.)

   18:32:06   8              THE VIDEOGRAPHER:   Back on the record at

   18:32:11   9   6:31.

   18:32:11 10    BY MR. PETROCELLI:

   18:32:15 11        Q.     I put Exhibit 13 back in front of you.

   18:32:17 12    It's the October 27, 2003 amendment to the joint

   18:32:21 13    venture agreement.   Which you signed as executor

   18:32:26 14    with Pacific Pictures Corporation.

   18:32:33 15               When you entered into this amendment to the

   18:32:36 16    joint venture agreement with Pacific Pictures

   18:32:41 17    Corporation, on what basis did you determine to

   18:32:48 18    remove references to Superboy from your joint

   18:32:52 19    venture?

   18:32:56 20        A.     It was on advice of counsel.

   18:32:59 21        Q.     But the counsel you're talking about is --

   18:33:03 22    was the other party to the joint venture, correct?

   18:33:07 23               MR. TOBEROFF:   Argumentative.

   18:33:07 24    BY MR. PETROCELLI:

   18:33:11 25        Q.     The counsel you're talking about is Marc

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                                           ROUGH DRAFT



   18:33:13   1   Toberoff, correct?

   18:33:13   2       A.    Marc Toberoff attorney.

   18:33:14   3       Q.    Marc Toberoff was the president of the

   18:33:16   4   joint venture that was the other party to your joint

   18:33:23   5   venture agreement, correct?

   18:33:23   6       A.    Yes.

   18:33:27   7       Q.    President of Pacific Pictures so you took

   18:33:30   8   the advice of the president of Pacific -- you're

   18:33:32   9   relying on the advice of the president of Pacific

   18:33:37 10    Pictures Corporation and on that basis refusing to

   18:33:39 11    tell me why you deleted Superboy?

   18:33:43 12              MR. TOBEROFF:   Argumentative.

   18:33:44 13              THE WITNESS:    My relationship with.

   18:33:47 14              MR. TOBEROFF:   What's the question?

   18:33:49 15    BY MR. PETROCELLI:

   18:33:51 16        Q.

   18:33:51 17              Is that correct?

   18:33:52 18        A.    That -- say it again.

   18:33:53 19        Q.    That you're -- you're telling me that the

   18:33:56 20    sole basis of your decision to remove Superboy from

   18:34:01 21    your amendment to your joint venture which is

   18:34:04 22    Exhibit 13 that you entered into with the president

   18:34:08 23    of Pacific Pictures Corporation was the advice given

   18:34:12 24    to you by the president of Pacific Pictures

   18:34:15 25    Corporation?

                                                                         315




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                                     1970
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                                             ROUGH DRAFT



   18:34:17   1          A.   As my attorney, yes.

   18:34:20   2          Q.   And you had no other basis other than what

   18:34:23   3   your attorney told you, other than what Mr. Toberoff

   18:34:25   4   told you, correct?

   18:34:25   5          A.   Yes.

   18:34:29   6          Q.   And you refused to -- to share the basis

   18:34:36   7   for your judgment simply because your lawyer told

   18:34:39   8   you?

   18:34:41   9          A.   My counsel told me, yes.

   18:34:47 10           Q.   And -- and you understood at the time that

   18:34:55 11    you relied exclusively on the advice of Mr. Toberoff

   18:35:02 12    that he was the lawyer for the Siegels who were

   18:35:07 13    claiming 100 percent rights to Superboy, correct?

   18:35:07 14           A.   Yes.

   18:35:29 15           Q.   Now, you said that this agreement got

   18:35:40 16    terminated or canceled because you learned from

   18:35:45 17    Mr. Toberoff that it was invalid.

   18:35:45 18                Is that correct?

   18:35:50 19                MR. TOBEROFF:   I believe that misstates his

   18:35:51 20    testimony.

   18:35:53 21                THE WITNESS:    I don't remember the reason

   18:35:55 22    why I said.

   18:35:55 23    BY MR. PETROCELLI:

   18:35:59 24           Q.   What was your understanding why the

   18:36:01 25    reason -- why the agreement was invalid?

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                                       1971
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                                          ROUGH DRAFT



   18:36:06   1       A.    I don't know if I thought it was invalid.

   18:36:09   2   We changed it to a legal retainer because it was a

   18:36:12   3   better format.

   18:36:18   4       Q.    Why -- and -- but you also in connection

   18:36:21   5   with that decision received advice that certain

   18:36:27   6   parts of your agreement might not be valid, correct?

   18:36:35   7       A.    I believe so.

   18:36:35   8       Q.    What parts?

   18:36:43   9             MR. TOBEROFF:   I'll -- I'll -- I'll -- he

   18:36:46 10    can't go into that without divulging the substance

   18:36:51 11    of his communications with me on the subject.

   18:36:51 12    BY MR. PETROCELLI:

   18:36:55 13        Q.    Well as the executor of the estate entering

   18:36:58 14    into -- well, let me start all over again.

   18:37:00 15              Take a look at Exhibit 20.

   18:37:09 16                (The document referred to was

   18:37:09 17              marked for identification by the

   18:37:09 18              C.S.R. as Exhibit 20 and attached

   18:37:15 19              to this deposition.)

   18:37:15 20              MR. PETROCELLI:   This is the September 10,

   18:37:17 21    20004 document that you signed and your mother also

   18:37:21 22    signed, correct?

   18:37:21 23        A.    Yes.

   18:37:25 24        Q.    You signed it both in your individual

   18:37:26 25    capacity as executor of Mr. Shuster's estate?

                                                                       317




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                                     1972
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                                           ROUGH DRAFT



   18:37:29   1       A.    Yes.

   18:37:31   2       Q.    And it says:

   18:37:36   3                    "It's a letter from

   18:37:37   4             Mr. Toberoff to you.   And to

   18:37:41   5             Ms. Peavy, right?

   18:37:42   6       A.    Yes.

   18:37:43   7       Q.    It says this is to confirm that one, the

   18:37:46   8   joint venture agreement dated as of November 23,

   18:37:50   9   2001 between you and Pacific Pictures Corporation

   18:37:53 10    and 2, the engagement agreement dated October 27,

   18:37:58 11    2003 between the estate of Joseph Shuster and

   18:38:01 12    Pacific Pictures corp. have been canceled.

   18:38:06 13    Sincerely yours Marc Toberoff and its on the

   18:38:08 14    letterhead of Pacific Pictures Corporation.

   18:38:11 15              Do you see that?

   18:38:11 16        A.    Yes.

   18:38:18 17        Q.    When you agreed to this cancellation what

   18:38:26 18    provisions of your prior agreements did you believe

   18:38:28 19    were invalid?

   18:38:33 20              MR. TOBEROFF:   Same instruction.

   18:38:33 21    BY MR. PETROCELLI:

   18:38:40 22        Q.    Were there drafts of the October 27, 2003

   18:38:42 23    amendment to the joint venture or did you just sign

   18:38:44 24    the one and only version that was given to you?

   18:38:53 25        A.    I don't remember if there were any other

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                                     1973
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                                           ROUGH DRAFT



   18:38:54   1   drafts.

   18:38:54   2       Q.    Were there drafts of Exhibit 20 in the

   18:38:56   3   September 10, 20004 document that you have in front

   18:39:04   4   of you?

   18:39:04   5       A.    I only recall getting this.

   18:39:10   6       Q.    Excuse me?    You only recall receiving?

   18:39:10   7       A.    This I only recall getting this document.

   18:39:12   8       Q.    If you go back and look at Exhibit 10 for a

   18:39:15   9   moment?

   18:39:15 10        A.    Which is.

   18:39:32 11        Q.    Exhibit 10.    And paragraph -- paragraph 8

   18:40:04 12    and you see the reference in there that in the event

   18:40:06 13    of a termination for any reason the rights will be

   18:40:11 14    held by the claimants that's you and your mother 50

   18:40:15 15    percent and by PPC as tenants in common by percent."

   18:40:20 16              Do you see that? Paragraph 8?

   18:40:20 17        A.    Yes.

   18:40:21 18        Q.    And you see the same provision in Exhibit

   18:40:24 19    13 in paragraph 7 that's the October 27, 2003

   18:40:30 20    amendment.    In the event of a termination for any

   18:40:33 21    reason the rights go to you 50 percent, the estate

   18:40:42 22    and then 50 percent PPC.

   18:40:47 23              Do you see that?

   18:40:47 24        A.    2003, which.

   18:41:12 25        Q.    Paragraph 7?

                                                                        319




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                                     1974
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                                           ROUGH DRAFT



   18:41:12   1       A.     Oh, 7.    Okay.

   18:41:19   2       A.     Yeah okay.

   18:41:20   3       Q.     You got that?

   18:41:32   4       A.     In the event of termination?

   18:41:33   5       Q.     Right for any reason?

   18:41:34   6       A.     On expiration -- oh, okay.

   18:41:37   7       Q.     So you see it has the same provision,

   18:41:37   8   correct?

   18:41:40   9       A.     Almost.   It just leaves out the word

   18:41:44 10    "venture" is all.

   18:41:47 11        Q.     Okay.    Now, are you aware of any document

   18:41:51 12    at the time you executed Exhibit 20 which is the

   18:41:54 13    December -- excuse me, the September 10, 20004

   18:41:58 14    document, that states that the rights do not go 50

   18:42:10 15    percent to the estate and 50 percent to PPC in the

   18:42:14 16    event of a termination.

   18:42:19 17        A.     Not in that document, no.

   18:42:20 18        Q.     It's not in Exhibit 20 corrects?

   18:42:24 19        A.     That's correct.

   18:42:24 20        Q.     Is there any other document of which you

   18:42:26 21    were aware that provided that as a result of

   18:42:29 22    executing Exhibit 20 the rights went other than as

   18:42:35 23    directed by exhibits 10 and 13 the joint venture

   18:42:39 24    agreements?

   18:42:39 25        A.     Yes.

                                                                        320




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                                      1975
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                                          ROUGH DRAFT



   18:42:42   1       Q.    What document is that?

   18:42:44   2       A.    The legal retainer.

   18:42:46   3       Q.    Okay.   Show me that.   Here is our copy of T

   18:42:54   4   it's Exhibit 21.

   18:43:01   5             MR. TOBEROFF:   May I have a copy, please.

   18:43:03   6                 (The document referred to was

   18:43:03   7             marked for identification by the

   18:43:03   8             C.S.R. as Exhibit 21 and attached

   18:43:11   9             to this deposition.)

   18:43:11 10    BY MR. PETROCELLI:

   18:43:12 11        Q.    Now, this is a copy that's redacted.   Do

   18:43:19 12    you understand what redacted means?    When

   18:43:23 13    Mr. Toberoff produced it to us he excised or omitted

   18:43:26 14    various parts of it so it's not a complete document

   18:43:29 15    but it's all that we have.    This is a document that

   18:43:40 16    you signed?   What you're now calling this retainer

   18:43:47 17    agreement Exhibit 21.

   18:43:48 18        A.    Yes.

   18:43:48 19        Q.    Okay.   And did you sign this at or around

   18:43:51 20    the time that you executed Exhibit 20 the September

   18:43:57 21    10, 20004 document?

   18:44:04 22        A.    It was signed around that time.

   18:44:09 23        Q.    And where in Exhibit 21, the -- by the way,

   18:44:21 24    would you call Exhibit 21 the -- more or less a

   18:44:24 25    standard legal retainer agreement?

                                                                        321




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                                     1976
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   18:44:28   1       A.    I believe.

   18:44:28   2             MR. TOBEROFF:   Vague.

   18:44:28   3   BY MR. PETROCELLI:

   18:44:30   4       Q.    Where in the Exhibit 21 does it say that

   18:44:35   5   the rights upon termination of the venture go other

   18:44:41   6   than as directed by the joint venture agreements

   18:44:45   7   exhibits 10 and 13?

   18:44:51   8       A.    In 9 it says this agreement supersedes all

   18:44:54   9   prior and contemporaneous understandings.

   18:45:01 10        Q.    Is there anyplace in this document that

   18:45:03 11    says that in the event that the joints venture

   18:45:06 12    agreements -- because the joint venture agreements

   18:45:10 13    have been canceled that the rights go not as

   18:45:13 14    directed by the joint venture agreements by but in

   18:45:16 15    some other manner?     Is there some more explicit

   18:45:20 16    clause than 9?

   18:45:20 17              MR. TOBEROFF:   Are you asking -- are you

   18:45:22 18    asking him to read the document.

   18:45:22 19    BY MR. PETROCELLI:

   18:45:24 20        Q.    No I'm asking him to tell me from memory,

   18:45:27 21    because I've read what you've given me and there is

   18:45:30 22    no such statement in what you produced to us in the

   18:45:33 23    redacted version so is there any such statement that

   18:45:39 24    you recall that appeared in this document when you

   18:45:42 25    signed it before it was sent to us in redacted form?

                                                                        322




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                                  1977
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   18:45:45   1       A.    That specifically states.

   18:45:46   2       Q.    That notwithstanding -- in words or

   18:45:49   3   substance notwithstanding what is stated in the

   18:45:52   4   joint venture agreements and the event of a

   18:45:53   5   termination for any reason the claimants will own 50

   18:45:56   6   percent and PPC will own the remaining 50 percent.

   18:46:00   7             MR. TOBEROFF:   Asked and answered.

   18:46:00   8   BY MR. PETROCELLI:

   18:46:01   9       Q.    That the rights about not go to

   18:46:04 10    Mr. Toberoff or any company associated with him or

   18:46:06 11    PPC but will go as -- in some different way?

   18:46:11 12              MR. TOBEROFF:   Asked and answered.

   18:46:11 13    BY MR. PETROCELLI:

   18:46:12 14        Q.    Something like that.   Is there some

   18:46:13 15    explicit reference in this retainer agreement along

   18:46:16 16    those lines?

   18:46:17 17              MR. TOBEROFF:   Asked and answered.

   18:46:21 18              You can answer.

   18:46:22 19              THE WITNESS:    Not exactly as you stated it.

   18:46:22 20    BY MR. PETROCELLI:

   18:46:25 21        Q.    Is there any reference to the did he say

   18:46:28 22    position of the rights upon termination of the joint

   18:46:33 23    venture other than the first sentence of paragraph 9

   18:46:37 24    that you just pointed out to me?

   18:46:42 25        A.    Well, to me the --

                                                                        323




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                                   1978
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                                           ROUGH DRAFT



   18:46:44   1             MR. TOBEROFF:   You'd have to read the

   18:46:45   2   agreement before you can answer.

   18:46:47   3             Do you want him to read the agreements.

   18:46:47   4   BY MR. PETROCELLI:

   18:46:49   5       Q.    Are you aware of anything?   You pointed

   18:46:52   6   readily to paragraph 9.     Are you aware of any other

   18:46:54   7   agreement, other provision in the document that

   18:46:56   8   deals with the disposition was rights?

   18:46:58   9             MR. TOBEROFF:   Without reading it?

   18:47:00 10              MR. PETROCELLI:   Yes.   Without reading it

   18:47:02 11    word for word:   You can scan it.

   18:47:15 12              THE WITNESS:    To me it's -- it's clear

   18:47:20 13    between the legal retainer and the letter that

   18:47:20 14    canceled the joint venture that the -- the legal

   18:47:28 15    retainer as it states supersedes everything else.

   18:47:28 16    BY MR. PETROCELLI:

   18:47:33 17        Q.    Your understanding that Pacific Pictures

   18:47:36 18    Corporation was a party to this retainer agreement?

   18:47:36 19        A.    No.

   18:47:45 20        Q.    So Pacific Pictures Corporation didn't

   18:47:50 21    agree to anything in this retainer agreement so far

   18:47:56 22    as you know, right?

   18:47:57 23        A.    As far as I know they're not a party.

   18:47:59 24        Q.    So are you aware of a document by which

   18:48:02 25    Pacific Pictures Corporation specifically stated

                                                                       324




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                                    1979
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   18:48:07   1   that notwithstanding the provisions of the joint

   18:48:09   2   venture agreement in the event of a termination

   18:48:12   3   Pacific Pictures Corporation will not own any

   18:48:16   4   rights?

   18:48:17   5       A.    The -- my understanding of the Pacific

   18:48:26   6   Pictures it says if the venture is terminated not if

   18:48:30   7   it's canceled.

   18:48:32   8       Q.    Terminated for any reason, right?

   18:48:35   9       A.    That's -- if the venture is -- it's not the

   18:48:38 10    same thing as canceled.   That's my understanding.

   18:48:43 11        Q.    What's the difference between the two?

   18:48:44 12        A.    The -- the difference being canceled means

   18:48:48 13    it has been supplanted by the legal retainer and

   18:48:52 14    supersedes all prior agreements like it states here.

   18:48:55 15        Q.    Pacific Pictures is not a party to this

   18:48:58 16    agreement you said, right?

   18:48:59 17        A.    Not to the legal retainer.

   18:49:00 18        Q.    Right.   So you're saying that -- who told

   18:49:03 19    you that the word "canceled" means that the

   18:49:07 20    termination provisions of the joint venture

   18:49:09 21    agreements no longer apply?

   18:49:11 22              MR. TOBEROFF:   Assumes facts.   Lacks

   18:49:11 23    foundation.

   18:49:11 24    BY MR. PETROCELLI:

   18:49:17 25        Q.    Is that something that you just thought of

                                                                       325




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                                  1980
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   18:49:18   1   right now or is that something that you were told at

   18:49:21   2   the time that by using one word canceled instead of

   18:49:24   3   the word "terminated, that would solve the problem?

   18:49:32   4       A.    That's my understanding of it.

   18:49:33   5       Q.    And who told you that?

   18:49:37   6             MR. TOBEROFF:   Assumes facts.   Lacks

   18:49:39   7   foundation.

   18:49:39   8             THE WITNESS:    I told myself that.

   18:49:39   9   BY MR. PETROCELLI:

   18:49:40 10        Q.    No one told you that in other words, right?

   18:49:45 11    That's something you've come up with on your own?

   18:49:47 12        A.    We have a clear -- a clear understanding

   18:49:50 13    when we switch from the joint venture to the legal

   18:49:52 14    retainer.    We clearly understood each other.

   18:49:55 15        Q.    Who is we?

   18:49:57 16        A.    Me and Marc Toberoff.

   18:49:58 17        Q.    How do you know that?

   18:49:59 18        A.    Because we discussed.

   18:50:01 19        Q.    What did you -- what did you and he discuss

   18:50:03 20    in that regard?

   18:50:06 21              MR. TOBEROFF:   I'll allow you to answer

   18:50:07 22    that question without waiver of the attorney-client

   18:50:09 23    privilege.

   18:50:11 24              THE WITNESS:    We discussed.

   18:50:12 25              MR. TOBEROFF:   Do you agree that I'm not

                                                                        326




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                                    1981
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   18:50:14   1   waiving the privilege by allowing him to answer

   18:50:16   2   that?

   18:50:17   3             MR. PETROCELLI:   No.

   18:50:18   4             MR. TOBEROFF:   Okay.   Then I instruct you

   18:50:19   5   not to answer our discussions.

   18:50:21   6             (Instruction not to answer.)

   18:50:27   7             MR. PETROCELLI:   No, I can't -- I can't

   18:50:29   8   allow you to selectively waive like that.

   18:50:36   9             MR. TOBEROFF:   Fine.

   18:50:36 10    BY MR. PETROCELLI:

   18:50:56 11        Q.    Did you -- have you reviewed a copy of this

   18:51:03 12    retainer agreement recently?

   18:51:07 13        A.    I believe so.

   18:51:09 14        Q.    When?

   18:51:13 15        A.    I believe before I came here.

   18:51:18 16        Q.    In connection with the deposition?

   18:51:23 17        A.    I would say so.

   18:51:25 18        Q.    Do you have a copy at home?

   18:51:26 19        A.    Yes.

   18:51:31 20        Q.    Where was it maintained?

   18:51:37 21        A.    A copy?

   18:51:37 22        Q.    Yes.

   18:51:39 23        A.    There's one in a filing cabinet.

   18:51:44 24        Q.    And you read this retainer agreement and

   18:51:47 25    you also said you read the consent agreement and

                                                                       327




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                                     1982
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   18:51:51   1   what else did you read?

   18:51:55   2          A.   The deposition materials.

   18:51:57   3          Q.   The prior deposition in the Siegel case?

   18:51:59   4          A.   Yes.

   18:52:00   5          Q.   And you read all of those materials prior

   18:52:03   6   to coming here for the deposition?

   18:52:05   7          A.   Yes.

   18:52:06   8          Q.   Did you bring the retainer agreement with

   18:52:08   9   you?

   18:52:09 10           A.   No.

   18:52:16 11           Q.   Is this the last document that you have

   18:52:21 12    signed in connection with either Mr. Toberoff or the

   18:52:27 13    Siegels other than the subsequent 2008 consent

   18:52:31 14    agreement?

   18:52:32 15           A.   This would be the last one other than that.

   18:52:34 16           Q.   Next -- so this is the next to last one,

   18:52:34 17    right?

   18:52:38 18           A.   I believe so.

   18:52:38 19           Q.   And does this document Exhibit 21 contain

   18:52:48 20    any provisions in it that deal with agreements with

   18:52:55 21    the Siegels or getting the consent of the Siegels?

   18:53:05 22                MR. TOBEROFF:   You have to read the

   18:53:06 23    document.

   18:53:07 24                MR. PETROCELLI:   I'm talking about the

   18:53:08 25    parts that are omitted.       The redacted parts.

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                                       1983
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   18:53:13   1             MR. TOBEROFF:   He can't testify as to the

   18:53:15   2   redacted parts obviously.   Instruct you not to

   18:53:18   3   answer any questions about the redacted parts.

   18:53:21   4             (Instruction not to answer.)

   18:53:21   5             MR. PETROCELLI:   With resp- -- yeah because

   18:53:23   6   I can read the parts that have been produced to us.

   18:53:25   7       Q.    Based on your review of the entire

   18:53:27   8   documents was there any reference in the document to

   18:53:29   9   the Siegels?

   18:53:33 10              MR. TOBEROFF:   Instruct you not to answer.

   18:53:34 11              (Instruction not to answer.)

   18:53:34 12    BY MR. PETROCELLI:

   18:53:36 13        Q.    Was there -- is there any reference in the

   18:53:38 14    document to Superboy?

   18:53:43 15              MR. TOBEROFF:   Are you asking him

   18:53:44 16    whether -- about the omitted portions in the

   18:53:46 17    document?

   18:53:46 18              MR. PETROCELLI:   Yes.

   18:53:47 19              MR. TOBEROFF:   Okay.

   18:53:47 20              MR. PETROCELLI:   In other words, can I read

   18:53:48 21    the portion.

   18:53:49 22              MR. TOBEROFF:   Since you're concerned about

   18:53:50 23    your time we can save a lot of time I'm going to

   18:53:53 24    instruct him not to answer any question as to the

   18:53:55 25    redacted portions of the agreement that have been

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                                 EXHIBIT 77
                                   1984
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   18:53:58   1   upheld by the Court.

   18:54:00   2              (Instruction not to answer.)

   18:54:00   3   BY MR. PETROCELLI:

   18:54:18   4       Q.     Have you been aware of any efforts to

   18:54:24   5   market any rights Superman that you or the estate

   18:54:30   6   may own?

   18:54:31   7       A.     No.

   18:54:35   8       Q.     Are you aware that Mr. -- of any efforts by

   18:54:38   9   Mr. Toberoff to approach third parties like motion

   18:54:47 10    picture studios or other, to try to sell an interest

   18:54:54 11    in Superman?

   18:54:54 12               MR. TOBEROFF:   Instruct you not to answer

   18:54:54 13    as to any awareness that can only be based on the

   18:54:58 14    substance of communications between us.

   18:54:59 15               (Instruction not to answer.)

   18:54:59 16    BY MR. PETROCELLI:

   18:55:00 17        Q.     Are you aware of any reports by

   18:55:01 18    Mr. Toberoff not of legal advice but that he met

   18:55:04 19    with third parties to discuss possible sale of your

   18:55:13 20    interest in Superman?

   18:55:14 21               MR. TOBEROFF:   Same instruction.

   18:55:15 22               (Instruction not to answer.)

   18:55:15 23    BY MR. PETROCELLI:

   18:55:17 24        Q.     On what ground?

   18:55:20 25               MR. TOBEROFF:   Same ground.

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                                   EXHIBIT 77
                                     1985
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   18:55:21   1               MR. PETROCELLI:   Attorney-client privilege.

   18:55:22   2               MR. TOBEROFF:   Same grounds.

   18:55:22   3               MR. PETROCELLI:   Even though there's no

   18:55:24   4   legal advice.

   18:55:24   5               MR. TOBEROFF:   I'm not going to argue with

   18:55:26   6   you.

   18:55:26   7   BY MR. PETROCELLI:

   18:55:27   8          Q.   Are you aware that whether or not any

   18:55:29   9   contacts have been made to sell the estates'

   18:55:33 10    interest or negotiate potential sale of the estate's

   18:55:37 11    interest on your behalf?

   18:55:38 12                MR. TOBEROFF:   Same instruction.

   18:55:38 13    BY MR. PETROCELLI:

   18:55:43 14           Q.   Is the -- what is the estates doing to

   18:55:49 15    market its interest?

   18:55:56 16           A.   Currently?

   18:55:57 17           Q.   Yes.   What -- since you became the executor

   18:55:59 18    of the estate, what efforts have you undertaken as

   18:56:02 19    the executor to determine -- to attempts to sell any

   18:56:07 20    interest in the rights that the estate seeks to --

   18:56:11 21    seeks to recapture?

   18:56:13 22           A.   I don't believe we've done that yet.

   18:56:18 23           Q.   Are you aware of Mr. Toberoff having

   18:56:22 24    contacted third parties on behalf of the estate?

   18:56:26 25                MR. TOBEROFF:   I instruct you not to

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                                     EXHIBIT 77
                                       1986
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   18:56:27   1   answer.   It implicates our communications.

   18:56:30   2             (Instruction not to answer.)

   18:56:30   3   BY MR. PETROCELLI:

   18:56:35   4       Q.    Are you aware -- have you discussed that

   18:56:37   5   subject with your mother?

   18:56:44   6       A.    I don't believe so.

   18:56:44   7       Q.    Or with the Siegels?

   18:56:45   8       A.    No.

   18:56:47   9       Q.    Take a look at Exhibit 22.

   18:56:49 10                (The document referred to was

   18:56:49 11              marked for identification by the

   18:56:49 12              C.S.R. as Exhibit 22 and attached

   18:56:55 13              to this deposition.)

   18:56:55 14              MR. TOBEROFF:   Can I get a time check how

   18:56:57 15    long we've been going here.

   18:56:58 16              THE VIDEOGRAPHER:   Yes.   Approximately 14

   18:57:01 17    minutes left in the 7 hours.

   18:57:04 18              MR. TOBEROFF:   Could you please let me know

   18:57:06 19    when it's 7 hours?

   18:57:06 20    BY MR. PETROCELLI:

   18:57:26 21        Q.    Are you aware of -- have you seen this

   18:57:30 22    document before?

   18:57:35 23        A.    I don't believe so.

   18:57:36 24        Q.    Have you seen any e-mails between Paramount

   18:57:43 25    Pictures and Marc Toberoff prior to today,?

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                                  EXHIBIT 77
                                    1987
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   18:57:44   1       A.    No.

   18:57:47   2       Q.    You'll see on page 1 that this is an e-mail

   18:57:49   3   from Mr. Toberoff to individuals at Paramount dated

   18:57:57   4   April 29, 2010.

   18:57:57   5       A.    Yes.

   18:58:00   6       Q.    And you see that some of the attachments

   18:58:03   7   are listed below one of them is the Shuster

   18:58:06   8   termination.

   18:58:06   9             Do you see that?

   18:58:12 10        A.    Which one is that on the e-mail?

   18:58:15 11        Q.    The first page?

   18:58:16 12        A.    Yeah.   The attachments.

   18:58:17 13        Q.    You see the reference the Shuster

   18:58:19 14    termination it says three attachments Shuster

   18:58:21 15    termination?

   18:58:25 16        A.    That's the Siegel V?

   18:58:27 17        Q.    Excuse me?   I can't hear you, sir?

   18:58:32 18        A.    That's the Siegel V attachments at the

   18:58:34 19    bottom?

   18:58:37 20        Q.    I'm just asking do you see the reference to

   18:58:39 21    Shuster termination on page 1?

   18:58:41 22        A.    Oh, let me see.

   18:58:48 23        Q.    Are you looking at the same document I am?

   18:58:53 24              MR. TOBEROFF:   We have a different document

   18:58:53 25    here.

                                                                       333




                                   EXHIBIT 77
                                     1988
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   18:58:53   1             MR. PETROCELLI:    Well, that explains the

   18:58:54   2   confusion.    Okay.   Can you get what page is he on?

   18:59:13   3   Okay.    So for the record you're looking on a page

   18:59:20   4   that's included in Exhibit 22 and at the top it says

   18:59:22   5   attachments for Paramount part 2/2, correct?

   18:59:30   6       A.    At the bottom there's a Bates number L S L

   18:59:32   7   00098.

   18:59:34   8             Do you see that?

   18:59:34   9       A.    Yes.

   18:59:34 10        Q.    Okay.   And you'll see I just wanted to

   18:59:36 11    direct your attention to the e-mail in the reference

   18:59:38 12    to the Shuster termination notice.    You see that

   18:59:44 13    now, correct?

   18:59:44 14        A.    Yes.

   18:59:45 15        Q.    Okay.   Now, can you turn to the page that

   18:59:54 16    says part one of 2 L S L 00209.    And there's another

   19:00:04 17    e-mail there from Mr. Toberoff to folks at Paramount

   19:00:08 18    saying this is the first two e-mails attaching

   19:00:13 19    requested documents and then there's some

   19:00:19 20    description of the documents that were forwarded

   19:00:25 21    including documents relating to the Schusters.

   19:00:29 22              Do you see that?

   19:00:29 23        A.    Yes.

   19:00:30 24        Q.    Okay.   Now were you aware that documents

   19:00:35 25    relating to the Shuster termination interest were

                                                                         334




                                   EXHIBIT 77
                                     1989
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   19:00:40   1   being sent to Paramount Pictures?

   19:00:47   2       A.    I don't think so.

   19:00:49   3       Q.    Okay.   First time you're seeing this?

   19:00:52   4       A.    These e-mails, yes.

   19:00:56   5       Q.    Okay.   And were you aware of any contacts

   19:01:01   6   that Mr. Toberoff had made with Paramount regarding

   19:01:04   7   the Shuster termination interest prior to today?

   19:01:13   8       A.    There have been discussions.

   19:01:16   9             MR. TOBEROFF:    Don't -- you can't talk

   19:01:18 10    about discussions with me.

   19:01:18 11              THE WITNESS:    I know I know can't.

   19:01:18 12    BY MR. PETROCELLI:

   19:01:21 13        Q.    Discussions with whom?

   19:01:21 14        A.    My attorney.

   19:01:22 15        Q.    Who is your attorney?

   19:01:23 16        A.    Marc Toberoff.

   19:01:24 17        Q.    When did those discussions occur?

   19:01:25 18        A.    I can't remember specific dates.

   19:01:32 19        Q.    What year?

   19:01:35 20        A.    Some time in the seven years that he has

   19:01:37 21    been working on this is all I can say.

   19:01:40 22        Q.    Were you aware of discussions within the

   19:01:44 23    last year having to do with Paramount?

   19:01:50 24        A.

   19:01:50 25              MR. TOBEROFF:    If you're awareness is

                                                                        335




                                EXHIBIT 77
                                  1990
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   19:01:52   1   solely based on discussions with me I have to cut it

   19:01:55   2   off.   I can't have you testify.

   19:01:58   3               THE WITNESS:   Okay.   Can't say anything.

   19:02:01   4               (Instruction not to answer.)

   19:02:01   5   BY MR. PETROCELLI:

   19:02:01   6          Q.   Have you had any discussions directly with

   19:02:04   7   third parties like Paramount?

   19:02:08   8          A.   No.

   19:02:18   9          Q.   How is it that the estate intends to --

   19:02:21 10    before I ask you that, take a look at Exhibit 23.

   19:02:27 11    Which is a vehicle pass that Mr. Toberoff has

   19:02:31 12    produced.    Which says pitch Superman.

   19:02:38 13                  (The document referred to was

   19:02:38 14                marked for identification by the

   19:02:38 15                C.S.R. as Exhibit 23 and attached

   19:02:50 16                to this deposition.)

   19:02:50 17    BY MR. PETROCELLI:

   19:02:52 18           Q.   Are you aware of any pitches that this one

   19:02:55 19    is date November 19, 2010.      It's got Bates number L

   19:02:59 20    S L 00210 on it.

   19:02:59 21                Do you see that?

   19:03:05 22           A.   Yes.

   19:03:05 23           Q.   Are you aware of any meetings that

   19:03:10 24    Mr. Toberoff attended relating to the Shuster's

   19:03:15 25    termination interest meetings with third parties to

                                                                           336




                                     EXHIBIT 77
                                       1991
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   19:03:17   1   pitch Superman?

   19:03:18   2       A.    Not this specifically.

   19:03:25   3       Q.    How is it that the estate intends to get

   19:03:32   4   any money for the Superman interest that it has

   19:03:36   5   sought to terminate?

   19:03:40   6             MR. TOBEROFF:   You -- you can't -- I

   19:03:42   7   instruct you not to answer that question if your

   19:03:44   8   answer to that question is based on your discussions

   19:03:46   9   with me and advice of counsel.

   19:03:48 10              (Instruction not to answer.)

   19:03:51 11              THE WITNESS:    Well my understanding is

   19:03:53 12    based on discussions with counsel.

   19:03:53 13    BY MR. PETROCELLI:

   19:03:56 14        Q.    I'm not asking about legal advice.    Your --

   19:03:58 15    in your capacity as executor of the escrow state,

   19:04:02 16    how is it you -- you've asked for the powers to be

   19:04:07 17    granted to you and they were granted to go and take

   19:04:15 18    various proceedings with respect to the Shuster

   19:04:17 19    termination interest for the benefit of the estate.

   19:04:20 20    How is it that you as the executor intend to get any

   19:04:28 21    money for the termination interest?

   19:04:30 22              MR. TOBEROFF:   Same instruction.

   19:04:31 23              (Instruction not to answer.)

   19:04:31 24    BY MR. PETROCELLI:

   19:04:33 25        Q.    Have you given any thought to that?

                                                                       337




                                EXHIBIT 77
                                  1992
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   19:04:36   1             MR. TOBEROFF:   Same instruction.

   19:04:36   2             (Instruction not to answer.)

   19:04:37   3             MR. PETROCELLI:   That --

   19:04:39   4             MR. TOBEROFF:   Can you answer whether or

   19:04:40   5   not -- yes or no you've given any thought to it you

   19:04:42   6   can answer that.

   19:04:45   7             THE WITNESS:    Yes.   I've given thought.

   19:04:47   8             MR. TOBEROFF:   Okay.

   19:04:47   9   BY MR. PETROCELLI:

   19:04:48 10        Q.    And what -- what thoughts have you had on

   19:04:50 11    that subject?

   19:04:51 12              MR. TOBEROFF:   Same instruction.

   19:04:51 13              (Instruction not to answer.)

   19:04:51 14    BY MR. PETROCELLI:

   19:04:55 15        Q.    Are you incapable of having a thought on

   19:04:57 16    that subject that does not involve Marc Toberoff?

   19:05:01 17              MR. TOBEROFF:   Argumentative.

   19:05:02 18              MR. PETROCELLI:   It's definitely not

   19:05:04 19    argumentative.

   19:05:07 20        Q.    In your role as executor of the estate, is

   19:05:10 21    it your testimony that you have been able to -- you

   19:05:15 22    can't do anything or even think of anything that

   19:05:17 23    doesn't involve the legal advice of Marc Toberoff?

   19:05:22 24        A.    That's correct.

   19:05:25 25        Q.    Okay.   So everything that you do and

                                                                         338




                                  EXHIBIT 77
                                    1993
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   19:05:27   1   everything that you know as the executor of the

   19:05:32   2   estate is based on the legal advice of Marc

   19:05:37   3   Toberoff?

   19:05:37   4             MR. TOBEROFF:   Vague.

   19:05:41   5             THE WITNESS:    Yes. Follow my counsel.

   19:05:43   6             MR. PETROCELLI:

   19:05:43   7       Q.    And -- well, I didn't ask you whether you

   19:05:45   8   follow your counsel.     I'm asking you in your role as

   19:05:48   9   your executor, you don't have any judgment or any

   19:05:56 10    ideas or any thoughts other than what Toberoff

   19:06:01 11    discusses with you.

   19:06:01 12              Is that correct?

   19:06:03 13              MR. TOBEROFF:   Misstates his testimony.

   19:06:04 14              You can answer.

   19:06:07 15              THE WITNESS:    That's correct.

   19:06:07 16    BY MR. PETROCELLI:

   19:06:16 17        Q.    Do you believe your fit to be an executor

   19:06:18 18    under those circumstances?

   19:06:22 19        A.    Yes.

   19:06:27 20        Q.    Have you disclosed to the Court that you

   19:06:29 21    refuse to say anything about your thinking your

   19:06:36 22    thoughts your judgments or your actions because

   19:06:38 23    everything is based on conversations with Marc

   19:06:41 24    Toberoff as to which you will claim the privilege?

   19:06:43 25    Is that something that you indicated to the probate

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                                   EXHIBIT 77
                                     1994
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   19:06:46   1   court when you sought permission to act as executor?

   19:06:53   2             MR. TOBEROFF:   Misstates testimony and the

   19:06:55   3   assertion of privilege.

   19:06:56   4             THE WITNESS:    No.

   19:06:56   5   BY MR. PETROCELLI:

   19:06:58   6       Q.    Do you understand that you have fiduciary

   19:06:59   7   duties to people other than your mother as the

   19:07:07   8   beneficiary?

   19:07:08   9             MR. TOBEROFF:   Calls for a legal

   19:07:09 10    conclusion.    Lacks foundation.   Assumes facts.

   19:07:09 11    BY MR. PETROCELLI:

   19:07:16 12        Q.    Who do you understand in your role as the

   19:07:18 13    executor who do you understand that you owe a

   19:07:23 14    fiduciary duty to?

   19:07:24 15              MR. TOBEROFF:   Calls for a legal

   19:07:24 16    conclusion.

   19:07:26 17              THE WITNESS:    My understanding is the

   19:07:29 18    Shuster heirs.

   19:07:29 19    BY MR. PETROCELLI:

   19:07:31 20        Q.    And who is that?

   19:07:35 21        A.    Jean, myself and my sister.

   19:07:38 22        Q.    Is that a thought that you've had without

   19:07:40 23    talking to Marc Toberoff or did Mr. Toberoff tell

   19:07:47 24    you that?

   19:07:47 25        A.    No, I'm aware of that on my own.

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                                   1995
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   19:07:49   1       Q.    Is that the only thing you're aware of on

   19:07:51   2   your own?

   19:07:52   3             MR. TOBEROFF:   About anything?

   19:07:54   4             MR. PETROCELLI:   Correct.

   19:07:56   5       Q.    Having to do with the administration of the

   19:07:58   6   estate and in particular the termination interest.

   19:08:01   7             MR. TOBEROFF:   Vague.   Overbroad.

   19:08:03   8             THE WITNESS:    I don't know.   You would have

   19:08:04   9   to be specific.

   19:08:04 10    BY MR. PETROCELLI:

   19:08:10 11        Q.    Has anyone told you that you owe fiduciary

   19:08:13 12    duty to creditors including DC Comics?

   19:08:18 13        A.    I don't know about that.

   19:08:29 14        Q.    Are you aware that unless you make an

   19:08:34 15    agreement with DC Comics that the estate may get

   19:08:40 16    nothing at any time with respect to its Superman

   19:08:44 17    interests?

   19:08:46 18              MR. TOBEROFF:   You can't -- if you have an

   19:08:50 19    opinion about that independent on discussions with

   19:08:53 20    me, can you answer the question.       Otherwise, I

   19:08:56 21    instruct you not to answer.

   19:09:01 22              THE WITNESS:    No my -- my opinion is based

   19:09:04 23    on discussions with counsel.

   19:09:04 24              (Instruction not to answer.)

   19:09:04 25    BY MR. PETROCELLI:

                                                                        341




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                                    1996
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   19:09:06   1       Q.     Do you have the opinion that the estate can

   19:09:07   2   sell an interest in Superman without making an

   19:09:10   3   agreement with DC Comics?

   19:09:13   4              MR. TOBEROFF:   Same instruction.   If you

   19:09:14   5   have an opinion independent of the advice of

   19:09:16   6   counsel, you can answer.     Otherwise I instruct you

   19:09:19   7   not to answer.

   19:09:21   8              (Instruction not to answer.)

   19:09:21   9              MR. PETROCELLI:   I'm not strictly asking

   19:09:23 10    for opinions I'm asking for your state of mind, your

   19:09:25 11    knowledge, your information, your beliefs.

   19:09:27 12               MR. TOBEROFF:   If any, of those are

   19:09:29 13    independent of the advice of counsel regarding his

   19:09:31 14    particular question, can you answer.      Otherwise I

   19:09:33 15    instruct you not to answer.

   19:09:36 16               THE WITNESS:    No they're not independent of

   19:09:38 17    counsel.

   19:09:38 18    BY MR. PETROCELLI:

   19:09:41 19        Q.     Have you formed any views about the

   19:09:46 20    estate's ability to sell an interest in Superman

   19:09:51 21    without having an agreement with DC Comics?

   19:10:02 22               MR. TOBEROFF:   He is just asking -- I'll

   19:10:02 23    let you answer the question whether or not you

   19:10:04 24    formed any views not what those views are.

   19:10:07 25               THE WITNESS:    Okay.   Yes, I formed views.

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                                   1997
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   19:10:07   1   BY MR. PETROCELLI:

   19:10:11   2       Q.    And what are those views?

   19:10:12   3             MR. TOBEROFF:   Based on your prior answers

   19:10:13   4   to his similar questions I instruct you not to

   19:10:16   5   answer.

   19:10:16   6   BY MR. PETROCELLI:

   19:10:20   7       Q.    Are -- are you aware that the estate could

   19:10:27   8   lose this case and the Court could find that the

   19:10:31   9   Shuster termination notice is not valid with respect

   19:10:35 10    to Superman?

   19:10:40 11              MR. TOBEROFF:   If you're --.

   19:10:40 12    BY MR. PETROCELLI:

   19:10:42 13        Q.    As the executor of the estate have you --

   19:10:46 14    have you thought about that issue?

   19:10:51 15              MR. TOBEROFF:   Can you just answer that in

   19:10:53 16    the most general fashion without going into any

   19:10:55 17    particulars.

   19:10:56 18              THE WITNESS:    Okay.   Yes.

   19:10:56 19    BY MR. PETROCELLI:

   19:10:58 20        Q.    Okay.   And have you received any advice on

   19:11:03 21    that subject other than from Marc Toberoff?

   19:11:06 22        A.    No.

   19:11:15 23        Q.    Okay.   And the estate has already given up

   19:11:17 24    any interest in claim to Superboy, correct?

   19:11:21 25        A.

                                                                     343




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                                    1998
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                                           ROUGH DRAFT



   19:11:21   1             MR. TOBEROFF:   Assumes facts.    Lacks

   19:11:23   2   foundation.

   19:11:23   3             THE WITNESS:    As far as I know.

   19:11:23   4   BY MR. PETROCELLI:

   19:11:27   5       Q.    So you -- you understand that given that

   19:11:30   6   the estate has already given up an interest in

   19:11:32   7   Superboy, and the estate could lose this case and

   19:11:40   8   the Court could find that the Shuster termination

   19:11:42   9   notice is invalid that you as executor could yield

   19:11:45 10    the estate 0.    You entertain that as a possible

   19:11:50 11    outcome, correct?

   19:11:51 12              MR. TOBEROFF:   Assumes facts.    Lacks

   19:11:55 13    foundation.   You can answer in the most general

   19:11:57 14    fashion without going into any details.

   19:12:01 15              THE WITNESS:    I.

   19:12:02 16              MR. TOBEROFF:   This is -- this is his last

   19:12:05 17    answer because we're -- we've met our 7 hour max.

   19:12:08 18              THE WITNESS:

   19:12:09 19              MR. PETROCELLI:      It's not a max but I

   19:12:11 20    understand your leaving at the end of 7 hours.

   19:12:13 21              THE WITNESS:    I've only considered that

   19:12:17 22    like I would an asteroid hitting us and wiping out

   19:12:21 23    life on earth.

   19:12:21 24    BY MR. PETROCELLI:

   19:12:22 25        Q.    Is -- and again, it's based on

                                                                        344




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   19:12:25   1   Mr. Toberoff's advice?

   19:12:25   2             MR. TOBEROFF:    We're cutting this as 7

   19:12:27   3   hour.

   19:12:28   4             THE WITNESS:    Yes.

   19:12:28   5   BY MR. PETROCELLI:

   19:12:29   6       Q.    Okay.   One other question.    Are you able to

   19:12:33   7   enter into a settlement agreement with DC without

   19:12:37   8   the consent of the Siegels?

   19:12:39   9             MR. TOBEROFF:    I instruct you not to answer

   19:12:40 10    that question.    He's asking you about the consent

   19:12:43 11    agreements.

   19:12:44 12              (Instruction not to answer.)

   19:12:46 13              MR. PETROCELLI:   Well, I wasn't but --

   19:12:46 14        Q.    Independent --

   19:12:52 15              MR. TOBEROFF:    No more questions.   Done.   7

   19:12:53 16    hours and I'm cutting it off.

   19:12:55 17              MR. PETROCELLI:   Are you saying that we're.

   19:12:57 18              MR. TOBEROFF:    I'm abiding by the Federal

   19:13:00 19    rules we're over the 7 hours I gave you an extra

   19:13:02 20    question and that was one question too many.

   19:13:04 21              MR. PETROCELLI:   Well since your declining

   19:13:08 22    to go forward, we obviously are not finished.     So we

   19:13:12 23    will.

   19:13:12 24              MR. TOBEROFF:    I disagree.

   19:13:13 25              MR. PETROCELLI:   Well, I understand.   I'm

                                                                          345




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   19:13:15   1   just making it clear that I'm not concluding the

   19:13:18   2   deposition.    We'll have to seek court relief to not

   19:13:22   3   only continue it but also, mark, to address the

   19:13:28   4   objections.

   19:13:28   5              MR. TOBEROFF:   On what basis are you saying

   19:13:30   6   we haven't concluded if you've used up the 7 hours

   19:13:32   7   that you've gotten under the rulings.

   19:13:35   8              MR. PETROCELLI:   Because the rules require,

   19:13:36   9   permit more time inappropriate circumstances and

   19:13:40 10    there'sly Johns of cases on that.     We don't need to

   19:13:43 11    debate that now.

   19:13:44 12               MR. TOBEROFF:   Okay.   Well our position of

   19:13:46 13    course is that it has concluded you used up your 7

   19:13:48 14    hours and that you're not entitled to go beyond

   19:13:51 15    that.

   19:13:51 16               MR. PETROCELLI:   Can we have the normal

   19:13:54 17    stipulation on the record which is that when this

   19:13:58 18    has -- let's say 30 days to review it and to advise

   19:14:01 19    of any corrections bearing in mind that any

   19:14:05 20    corrections of substance may shed light on your

   19:14:09 21    credibility.   It can be signed under penalty of

   19:14:12 22    perjury.   And if it's not signed it can be used as

   19:14:16 23    though signed.

   19:14:17 24               MR. TOBEROFF:   Yes and then the court

   19:14:19 25    reporter don't we under California have to relieve

                                                                        346




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                                          ROUGH DRAFT



   19:14:22   1    the court reporter.

   19:14:23   2             MR. PETROCELLI:   Relieve the court reporter

   19:14:24   3    of her duties.

   19:14:25   4             MR. TOBEROFF:   I will hold the original and

   19:14:28   5    send that to us.

   19:14:29   6             MR. PETROCELLI:   You'll send the original

   19:14:31   7    to Mr. Toberoff and certified copy to us.   And you

   19:14:35   8    have 30 days on your receipt of it.

   19:14:38   9             MR. TOBEROFF:   Okay.

   19:14:38 10              MR. PETROCELLI:   Thank you.

   19:14:39 11              MR. TOBEROFF:   Agreed so stipulated.

   19:14:42 12              MR. PETROCELLI:   Thank you.

   19:14:42 13              THE VIDEOGRAPHER:    This will then mark the

   19:14:44 14     end of Volume I tape number 4 in the deposition of

   19:14:46 15     mark war penalty rather re.   All original videotapes

   19:14:49 16     will be retained by Merrill Legal Solutions at 20750

   19:14:53 17     Ventura Boulevard Woodland Hills, California.    Going

   19:14:55 18     off the record.    The time is 7:13.

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                                  2002
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                                                                                       OUR FILE NUMBER
August 17, 2012                                                                             905900-321

VIA E-MAIL                                                                          WRITER’S DIRECT DIAL
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Marc Toberoff
                                                                                 WRITER’S E-MAIL ADDRESS
Toberoff & Associates, P.C.
                                                                                  jtokoro@omm.com
22631 Pacific Coast Highway #348
Malibu, CA 90265

Richard Kendall
Kendall Brill & Klieger LLP
10110 Santa Monica Blvd., Suite 1725
Los Angeles, California 90067

                Re:    DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

         As you know, and as we discussed in recent letters, emails, and our call earlier this week,
DC intends to move to re-open the depositions of defendants Laura Siegel Larson and Mark
Peary based on several significant discovery disclosures and developments in this case that
warrant further examination. In addition, DC intends to move to compel these witnesses’
testimony concerning key lines of questioning that defense counsel persistently instructed the
witnesses not to respond. In our letter to you dated July 11, 2011 (and in our subsequent phone
conference), we detailed the defects in the objections defense counsel made during Peary’s June
29, 2011, deposition. A copy of our July 11 letter (the “Peary Letter”) is attached. Similarly
defective objections were made at Larson’s July 22, 2011, deposition, and we will move to have
those objections overruled for the same reasons we will move to overrule the Peary objections.
If you wish to abandon the Peary and/or Larson objections set forth in our Peary Letter and this
letter, please let us know. If you refuse to withdraw the objections, and wish to discuss the
matter further, we can do so next week. As discussed, we believe all necessary Rule 37
conferences have occurred on these issues, but to avoid any wasteful arguments to the contrary
by defendants, we write this letter and invite you to discuss these issues by phone next week.

       1. Consent Agreement. Defense counsel instructed Larson not to answer any questions
regarding the “substance of the consent agreement” between defendants that, at a minimum,
prohibits the Siegel and Shuster families from entering into an agreement with DC without the
consent of the other. Defense counsel refuses to produce the document—though he and



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defendants have made many arguments about its substance—on the ground that it was “held to
be privileged.” Larson Tr. at 41:3-19. The lines of inquiry blocked by defense counsel included:

    •    whether any other side deal exists by which the Shuster heirs may claim a share of
         profits the Siegel heirs received from DC, see id. at 41:3-19;1

    •    whether the consent agreement contains any reference to Superboy, see id. at 42:20-
         44:18, 45:17-46:5; and

    •    Ms. Larson’s understanding on how the consent provision works, see id. at 46:6-12.

As explained in our July 11 Peary Letter, defense counsel’s objections are overbroad and not
well-taken. Peary Letter at 1-5.

         a. Magistrate Judge Zarefsky denied DC’s motion to compel production of the consent
agreement based on his application of law-of-the-case doctrine to the Siegel court’s ruling that
the agreement (1) was entered into in connection with mediation; and (2) is privileged based on
Toberoff’s representations “as an officer of the Court.” Docket No. 163-11 at 724:9-11. Neither
of these two bases for the Court’s rulings bars the discovery DC seeks.

        As to the first ground for His Honor’s opinion, Peary confirmed at his subsequent
deposition that the consent agreement was created—and continues to exist—separate and apart
from any mediation discussion. Peary Tr. 53:21-54:6, 58:13-18, 72:5-7. Moreover, courts have
established that parties can pursue alternative sources of discovery to prove the existence of facts
disclosed during mediation—parties must be given an opportunity to “uncover new, admissible
evidence … not protected by the confidentiality statutes.” Benesch v. Green, 2009 U.S. Dist.
LEXIS 117641, at *12-13 (N.D. Cal. Dec. 17, 2009); see also Foxgate v. Homeowners’ Assoc.,
26 Cal. 4th 1, 17-18 (2001) (allowing plaintiff to seek sanctions based on “assertion and
evidence” other than “communications made during the mediation”); Cassel v. Super. Ct., 2011
WL 102710 (Cal. Jan. 13, 2011) (citing Benesch and Foxgate favorably).

         As to the second ground for His Honor’s opinion, it has repeatedly been held and shown
subsequent to His Honor’s ruling that Toberoff’s representations to DC and the courts cannot be
trusted. E.g., Docket Nos. 161-5 at 30-31; 209 at 12; 336; 457; 477 at 4-7; Docket No. 477; Aug.
7, 2012 letter from DC to Defendants. The Ninth Circuit, moreover, in an opinion that is the law
of this case, expressly called out defense counsel for refusing to produce non-privileged
documents, compare In re Pacific Pictures Corp., 679 F.3d 1121, 1124 (9th Cir. 2012), and id. at
1129 (“most of the[ Timeline] documents are not covered by attorney-client privilege because
they do not represent communications between a lawyer and his client for the purpose of
obtaining legal advice. Cf. [U.S. v.] Ruehle, 583 F.3d [600], 608-09 n.8 [(9th Cir.2009)]
(rejecting a presumption of privilege even when a communication involves a lawyer), with id. at
1125 (“Considering every communication he had with the Heirs to be privileged—regardless of
    1
     Appendix A to this letter highlights deposition questions and answers to which DC would
seek to compel answers, as well as the right to ask related follow-up questions.



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whether the communication was in his capacity as a business advisor or an attorney—Toberoff
resisted all such [discovery].”).

        Moreover, Larson’s and Peary’s testimony—which was obtained after His Honor’s
ruling—makes clear that the consent agreement is a business agreement between the Siegels and
the Shusters—affecting and impairing their putative copyright claims. See Peary Tr. 175:5-
176:12; Larson Tr. at 42:20-25, 44:20-45:3, 45:17-46:4, 99:19-25. Privilege does not extend to
such business arrangements, as the Ninth Circuit made clear in Pacific Pictures, 679 F.3d at
1125, 1129, and as many other cases hold, e.g., U.S. v. Chen, 99 F.3d 1495, 1501 (9th Cir. 1996)
(privilege only applies where client seeks advice from lawyer “‘in his capacity as such’”—not
where lawyer acts as “business agent”); Minebea Co., Ltd. v. Papst, 355 F. Supp. 2d 526, 529
(D.D.C. 2005) (business agreements and communications between attorney and client not
privileged); U.S. v. Davis, 636 F.2d 1028, 1043 (5th Cir. 1981) (where services primarily non-
legal in nature, “communications relating to that service should therefore not be privileged, even
though performed by a lawyer”); Marten v. Yellow Freight Sys., 1998 U.S. Dist. LEXIS 268, at
*18 (D. Kan. Jan. 6, 1998) (recognizing that “when the legal advice is merely incidental to
business advice, the privilege does not apply”).

        b. Larson and Peary also waived whatever privilege might otherwise have existed in the
consent agreement by, at their depositions, selectively and strategically disclosing certain facts
about the consent agreement. Counsel allowed Larson and Peary to provide testimony that
counsel apparently believed helped defendants’ case (using these disclosures as a sword)—
including on topics such as who is purportedly bound by the agreement; whether it entitles the
Shusters to share in money from the Siegels’ claims; and whether it provides Toberoff additional
remuneration. Larson Tr. at 41:3-6, 41:10-42:11, 42:18, 99:15-100:5; Peary Letter at 4-5
(collecting testimony). Defense counsel then improperly used privilege as a shield to shut off
numerous lines of related inquiry—including on issues like Superboy, e.g., Larson Tr. 42:20-
44:18, 45:17-46:5, which is the subject of DC’s unclean hands claim on which defendants
threaten to move for summary judgment. Compare Docket No. 49 ¶¶ 129-33, 178, 86-91, with,
e.g., June 28, 2012, letter from Defendants to DC (“Pursuant to Federal Rule of Civil Procedure
56, Defendants will be bringing a cross-motion for partial summary judgment … on DC’s Third
Claim for the reasons that have been extensively brief and discussed.”). A privilege holder
“cannot be allowed, after disclosing as much as he pleases, to withhold the remainder. He may
elect to withhold or disclose, but after a certain point his election must remain final.” Weil v.
Inv./Indicators, Research & Mgmt., Inc., 647 F.2d 18, 24 (9th Cir. 1981); Fort James Corp. v.
Solo Cup. Co., 412 F.3d 1340, 1349-51 (Fed. Cir. 2005).

        2. Other Issues. Defense counsel instructed Larson not to answer several other questions
on the basis of the attorney-client privilege. None of these subjects implicated the conveyance of
legal advice:

        •   We asked questions concerning Larson’s awareness of efforts to market the Siegels’
            putative Superman rights. See Larson Tr. 46:19-48:7. There is no basis for asserting
            privilege over such business communications. See In re Pacific Pictures Corp., 679




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            F.3d 1121 at 1125, 1129; Chen, 99 F.3d at 1501 (privilege cannot apply where
            attorney acting primarily in business role); accord Minebea, 355 F. Supp. 2d at 529;
            Davis, 636 F.2d at 1043. That Ms. Larson may have learned about these business
            meetings and proposals from her attorneys does not make the entire topic immune
            from discovery. See U.S. v. Martin, 278 F.3d 988, 999 (9th Cir. 2002) (“The fact that
            a person is a lawyer does not make all communications with that person privileged.”).

        •   We asked questions about the August 2002 communication from Kevin Marks to the
            Siegel heirs conveying Toberoff’s and Emanuel’s offer to acquire the Siegels’
            putative Superman rights (the “Marks Memo”). See Larson Tr. at 147:6-150:22,
            156:13-23. Defendants waived privilege over the Marks Memo by disclosing it to the
            U.S. Attorney’s Office in 2010, and thus the communication and its contents are
            appropriate subjects for examination of Larson. Docket Nos. 262 at 2-4; 279; In re
            Pacific Pictures Corp., 679 F.3d at 1131.

        •   We asked questions about Larson’s understanding of the value of the Siegels’
            putative Superman rights and how the heirs could monetize those rights. Larson Tr.
            322:11-. DC’s questions did not call for the divulgence of any privileged
            information—to the contrary, they were directed to Larson’s understanding of the
            value of the Siegel’s putative rights. Cf. Martin, 278 F.3d at 999.

        These are examples of defense counsel’s persistent instructions to Larson not to respond
to key lines of questioning during her July 22 deposition. DC reserves the right to move on all
objections in Appendix A or that subsequent events necessitate DC move on.

                                         *      *      *

        Please let us know immediately if you will withdraw defense counsel’s objections. If not,
please let us know if you want to further meet and confer on these issues and, if so, when you are
available. Again, the Kendall Brill firm should be a part of this discussion.

                                                 Very truly yours,

                                                 /s/ Jason H. Tokoro

                                                 Jason H. Tokoro
                                                 for O’MELVENY & MYERS LLP

Enclosure

cc:     Daniel M Petrocelli, Esq.; Matthew T. Kline, Esq.; Defense Counsel




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                                           2011
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                 Appendix A




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                        In The Matter Of:

                        DC COMICS
                            v.
              PACIFIC PICTURES CORPORATION

         ___________________________________________________



              LARSON, LAURA SIEGEL ‐ Vol. 1

                             July 22, 2011


            ______________________________________________




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                LAURA SIEGEL LARSON - 7/22/2011

                                                                                   Page 1
                                UNITED STATES DISTRICT COURT

                               CENTRAL DISTRICT OF CALIFORNIA




                DC COMICS,                     )
                                               )
                                   Plaintiff, )
                                               )
                        vs.                    )      Case No.
                                               )
                PACIFIC PICTURES CORPORATION, )       CV-10-3633 ODW (RZx)
                IP WORLDWIDE, LLC, IPW, LLC,   )
                MARC TOBEROFF, an individual, )
                MARK WARREN PEARY, as          )
                personal representative of     )
                the ESTATE OF JOSEPH SHUSTER, )
                JEAN ADELE PEAVY, an           )
                individual, JOANNE SIEGEL,     )
                an individual, LAURA SIEGEL    )
                LARSON, an individual, and     )
                DOES 1-10, inclusive,          )
                                               )
                                   Defendants. )
                _______________________________)




                DEPOSITION OF:

                         LAURA SIEGEL LARSON

                         FRIDAY, JULY 22, 2011

                         9:45 A.M.



                Reported by:

                         Kathleen E. McCarthy

                         CSR No. 4483




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                 LAURA SIEGEL LARSON - 7/22/2011

                                                                               Page 2
             1           Deposition of LAURA SIEGEL LARSON, the witness,
             2      taken on behalf of the Plaintiff, on Friday, July 22,
             3      2011, 9:45 a.m., at 1999 Avenue of the Stars,
             4      Sixteenth Floor, Los Angeles, California, before
             5      Kathleen E. McCarthy, CSR No. 4483.
             6

             7      APPEARANCES OF COUNSEL:
             8           FOR PLAINTIFF:
             9                 O'MELVENY & MYERS LLP
            10                 BY:    DANIEL M. PETROCELLI, ESQ.
            11                       MATTHEW T. KLINE, ESQ.
            12                       JASON TOKORO, ESQ.
            13                       CASSANDRA L. SETO, ATTORNEY AT LAW
            14                 1999 Avenue of the Stars
            15                 Seventh Floor
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            17                 (310) 553-6700
            18

            19           FOR DEFENDANTS:
            20                 TOBEROFF & ASSOCIATES
            21                 BY:    MARC TOBEROFF, ESQ.
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            23                 Suite 3630
            24                 Los Angeles, California      90067
            25                 (310) 246-3333


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                                                                              Page 3
               1       APPEARANCES (Continued):
               2         ALSO PRESENT:      FRITZ SPERBERG, VIDEOGRAPHER
               3

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             2     WITNESS                EXAMINATION            PAGE
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             4                           Mr. Petrocelli          10
             5

             6                                 EXHIBITS
             7     NO.          PAGE               DESCRIPTION
             8     Exhibit 55      13     Last Will of Joanne Siegel;
             9                            Durable Power of Attorney for
            10                            Management of Property and
            11                            Personal Affairs (LSL 00414 -
            12                            00428 and LSL 00430 - 00450)
            13     Exhibit 56     110     Letter to Paul Levitz from Joanne
            14                            Siegel and Laura Siegel Larson
            15                            dated September 21, 2002
            16                            (WB006022)
            17     Exhibit 57     177     Siegel Privilege Log
            18     Exhibit 58     196     Superman -- Marc Toberoff Timeline
            19                            (Q 0001 - Q 0007)
            20     Exhibit 59     211     First Amended Complaint dated
            21                            September 3, 2010
            22     Exhibit 60     234     Facsimile Cover Page to Ariel Z.
            23                            Emanuel from Marc Toberoff dated
            24                            6-3-02; Memorandum of Agreement
            25                            (EN00001 - 00007)


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             1                           INDEX (Continued)
             2                                 EXHIBITS
             3     NO.          PAGE               DESCRIPTION
             4     Exhibit 61     236     Letter to Richard D. Parsons from
             5                            Joanne Siegel dated May 9, 2002
             6                            (000000676 - 000000678)
             7     Exhibit 62     253     Letter to Lillian J. Laserson from
             8                            Joanne Siegel and Laura Siegel
             9                            Larson dated October 28, 2002
            10                            (000001299 - 000001300)
            11     Exhibit 63     260     Letter to Don W. Bulson from
            12                            Joanne Siegel and Laura Siegel
            13                            Larson dated November 1, 2002 (LSL
            14                            00451)
            15     Exhibit 64     285     Letter to Joanne Siegel and Laura
            16                            Siegel Larson from Marc Toberoff
            17                            dated November 26, 2002
            18                            (000001894)
            19     Exhibit 65     289     Letter to Joanne Siegel, Laura
            20                            Siegel Larson, and Ariel Emanuel
            21                            from Marc Toberoff dated December
            22                            16, 2002 (000001883 - 000001884)
            23

            24

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             1                           INDEX (Continued)
             2                      PREVIOUSLY MARKED EXHIBITS
             3     NO.          PAGE               DESCRIPTION
             4     Exhibit 45      60     Letter to Joanne Siegel and Laura
             5                            Siegel Larson from Marc Toberoff
             6                            and Ariel Emanuel dated as of
             7                            October 3, 2022 (000001878 -
             8                            000001881)
             9     Exhibit 48     108     Letter to John A. Schulman from
            10                            Kevin S. Marks dated October 19,
            11                            2001; Transmission Report (GTRB
            12                            0302 - 0308)
            13     Exhibit 10     212     Joint Venture Agreement made as of
            14                            November 23, 2001 (134 - 137)
            15     Exhibit 17     220     Renewal Registrations
            16     Exhibit 18     220     U.S. Copyright Office certificate;
            17                            Application for Registration of a
            18                            Claim to Renewal Copyright
            19     Exhibit 19     221     List of books
            20     Exhibit 13     226     Letter to Mark Warren Peary from
            21                            Marc Toberoff dated October 27,
            22                            2003 (125 - 128)
            23

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             1                           INDEX (Continued)
             2                      PREVIOUSLY MARKED EXHIBITS
             3     NO.          PAGE               DESCRIPTION
             4     Exhibit 54     243     Letter to Kevin S. Marks and Bruce
             5                            M. Ramer from Joanne Siegel and
             6                            Laura Siegel Larson dated
             7                            September 21, 2002; Transmission
             8                            Report (GTRB 0321 - 0322)
             9     Exhibit 46     293     Letter to Joanne Siegel and Laura
            10                            Siegel Larson from Marc Toberoff
            11                            dated January 21, 2002 (000001888
            12                            - 000001890)
            13     Exhibit 30     298     Letter to Laura from Michael
            14                            Siegel dated May 13, 2003 (LSL
            15                            00211 - 00212)
            16

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                                                                              Page 8
             1                              INDEX (Continued)
             2                          INSTRUCTIONS NOT TO ANSWER
             3      PAGE       LINE         PAGE         LINE     PAGE            LINE
             4       27          4           106           1        323               3
             5       27        12            106           9        324             12
             6       28          3           147           8        325             13
             7       28        11            147          17        326             10
             8       33        13            147          22        326             13
             9       34        11            148           4        327             15
            10       41        13            148          10        327             24
            11       41        19            148          15        328               7
            12       42          1           156          16        328             17
            13       42        23            156          23        328             22
            14       44        13            186           1        329               1
            15       45          1           219          24        329             23
            16       46          1           258           4        330               7
            17       46          9           260           4        330             17
            18       48          7           266           9        332             10
            19       50        17            266          19        333               1
            20      101          5           268           6
            21      103        25            268          15
            22      105        21            322          14
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                                                                               Page 9
              1           LOS ANGELES, CALIFORNIA; FRIDAY, JULY 22, 2011
              2                                 9:45 A.M.
08:45:40      3

09:45:27      4                 THE VIDEOGRAPHER:     Good morning.    This marks
09:45:29      5     the beginning of Volume 1, videotape number one, in
09:45:32      6     the deposition of Laura Siegel in the matter entitled
09:45:36      7     DC Comics versus Pacific Pictures Corporation, et al.,
09:45:40      8     filed in the United States District Court for the
09:45:42      9     Central District of California.         This is Case No.
09:45:45     10     CV-10-3633 ODW (RZx)
09:45:51     11                 Today's date is July 22, 2011, and the time
09:45:53     12     on the video monitor is 9:45 a.m.
09:45:57     13                 The video operator today is Fritz Sperberg, a
09:46:01     14     notary public contracted by Merrill Legal Solutions at
09:46:03     15     20750 Ventura Boulevard, Woodland Hills, California.
09:46:08     16                 This video deposition is taking place at 1999
09:46:12     17     Avenue of the Stars in Los Angeles and was noticed by
09:46:15     18     Daniel Petrocelli of O'Melveny & Myers.
09:46:17     19                 Counsel, please identify yourselves and state
09:46:18     20     whom you represent.
09:46:20     21                 MR. PETROCELLI:     Dan Petrocelli for DC
09:46:24     22     Comics.
09:46:25     23                 MR. TOBEROFF:    Mark Toberoff for Laura Siegel
09:46:28     24     Larson and Warren Peavy -- Peary and Jean Peavy.
09:46:35     25                 MR. PETROCELLI:     We also have Jason Tokoro


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                                                                              Page 10
09:46:36      1      and Matt Kline of O'Melveny here as well.
09:46:41      2                 THE WITNESS:     Excuse me.     Which is Matt and
09:46:42      3      which is --
09:46:43      4                 MR. PETROCELLI:      Jason --
09:46:44      5                 THE WITNESS:     Jason, and Matt --
09:46:45      6                 MR. PETROCELLI:      -- is to my right --
09:46:45      7                 THE WITNESS:     Okay.
09:46:45      8                 MR. PETROCELLI:      -- and then Matt is down at
09:46:48      9      the end there.
09:46:48     10                 THE WITNESS:     All right.     Thank you.
09:46:48     11                 THE VIDEOGRAPHER:      The court reporter today
09:46:50     12      is Kathy McCarthy of Merrill.
09:46:50     13                 Would the reporter please swear in the
09:46:52     14      witness.
09:46:52     15

             16                           LAURA SIEGEL LARSON,
             17                 having been first duly sworn, was
             18                 examined and testified as follows:
09:47:02     19

09:47:02     20                 THE VIDEOGRAPHER:      You may begin.
             21

09:47:03     22                                EXAMINATION
             23      BY MR. PETROCELLI:
09:47:04     24          Q.     Could you please state your full name.
09:47:07     25          A.     Laura Siegel Larson.


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09:47:08      1          Q.      And shall I call you Ms. Larson?
09:47:10      2          A.      That's fine.
09:47:11      3          Q.      Thank you.
09:47:13      4                  Ms. Larson, first of all, let me express our
09:47:17      5     condolences of the passing of your mother earlier this
09:47:21      6     year, and we're sorry about that.        And I understand
09:47:29      7     also that you may have some need for a rest or breaks
09:47:34      8     during the course of the day.
09:47:35      9          A.      Yes.
09:47:36     10          Q.      And please let us know whenever you need to
09:47:43     11     take a break because you're not feeling well or you're
09:47:45     12     tired.      Just say so and we'll stop.       Okay?
09:47:48     13          A.      All right.
09:47:51     14          Q.      Okay.   Let me just begin by saying you
09:47:55     15     understand that we're taking this deposition in a case
09:47:58     16     filed by DC Comics?
09:47:59     17          A.      Yes.
09:47:59     18          Q.      Okay.   And you have previously been deposed
09:48:05     19     in the lawsuit that you filed a few years back.                You
09:48:10     20     recall that?
09:48:10     21          A.      Yes.
09:48:12     22          Q.      I want you to know that I have reviewed your
09:48:16     23     testimony in your deposition, and I will endeavor not
09:48:21     24     to go over or repeat things you have already said.                  To
09:48:24     25     be sure, though, there will be overlap, and I will be


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                                                                               Page 12
09:48:28      1     mindful, though, of not wasting your time or my time
09:48:32      2     by asking you things we already know.
09:48:33      3          A.     Good.
09:48:37      4          Q.     You are the executrix of your mother's
09:48:42      5     estate?
09:48:42      6          A.     That's correct.
09:48:43      7                 MR. PETROCELLI:      Okay.   Let me show you as
09:48:47      8     the first deposition exhibit --
09:48:50      9                 And forgive me.      What is the convention that
09:48:51     10     we're using here?
09:48:55     11                 MR. TOKORO:    We're continuing the exhibit
09:48:57     12     numbers from the last time.
09:48:58     13                 MR. PETROCELLI:      Okay.   I'm told we're
09:48:59     14     continuing exhibit numbers from when we last left off.
09:49:02     15                 So what is the next in order?
09:49:04     16                 MR. TOKORO:    This is going to be number 53.
09:49:07     17                 MR. PETROCELLI:      So we're going to mark as --
09:49:10     18                 MR. TOKORO:    55.    I'm sorry.   55.
09:49:12     19                 MR. PETROCELLI:      -- 55 your mother's Last
09:49:16     20     Will and a Durable Power of Attorney as one document.
09:49:19     21     I just have a couple questions about them.
09:49:31     22                 THE WITNESS:    Thank you.     Let me just ask,
09:49:32     23     could you speak up just a little bit more because I
09:49:35     24     also have a hearing impairment, so it would help.
09:49:38     25                 MR. PETROCELLI:      Sure.   It's important that


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                                                                              Page 13
09:49:39      1     you hear me.
09:49:41      2                  THE WITNESS:   Yes.
09:49:41      3                  MR. PETROCELLI:     So I'm glad you pointed that
09:49:43      4     out.
              5                 (Whereupon, Plaintiff's Exhibit 55
09:49:49      6                 was marked for identification.)
              7     BY MR. PETROCELLI:
09:49:49      8          Q.      These two documents, your mother's Last Will
09:49:52      9     and the Durable Power of Attorney, were executed in
09:49:58     10     November of 2000, according to the documents, November
09:50:01     11     14, 2000.      To your knowledge, these are the last time
09:50:06     12     your mother executed a Will and Power of Attorney?
09:50:09     13          A.      Yes, that's correct.
09:50:11     14          Q.      And you were appointed as the person who
09:50:16     15     would have power of attorney over her affairs --
09:50:21     16          A.      Yes.
09:50:22     17          Q.      -- in the year 2000?
09:50:23     18          A.      I think there were some limitations to that,
09:50:25     19     though.
09:50:26     20          Q.      Based on what the document says?
09:50:27     21          A.      Yes.
09:50:28     22          Q.      And in the year 2000 was your mother of sound
09:50:32     23     mind and health?
09:50:33     24          A.      Oh, yes, of course.
09:50:50     25          Q.      Did there come a time since 2000 to the


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09:50:54      1      present when she exhibited symptoms of dementia?
09:51:02      2          A.     No.
09:51:02      3          Q.     So until she passed away, she was of sound
09:51:05      4      mind?
09:51:05      5          A.     Oh, absolutely.
09:51:08      6          Q.     On page 2 of the will, there are different
09:51:16      7      beneficiaries named.      Michael Larson and James Larson
09:51:19      8      are your two children?
09:51:20      9          A.     That's correct.
09:51:20     10          Q.     And those are the only grandchildren of your
09:51:23     11      mother?
09:51:23     12          A.     Yes.
09:51:25     13          Q.     And Sophie Halko, H-a-l-k-o, that's your
09:51:29     14      mom's sister, your aunt?
09:51:30     15          A.     It's her only surviving sister, yes.
09:51:33     16          Q.     Only surviving sibling?
09:51:36     17          A.     Yes.
09:51:37     18          Q.     Where does she live?
09:51:37     19          A.     In Ohio, Cleveland, Ohio.
09:51:41     20          Q.     Has lived there her whole life?
09:51:43     21          A.     Yes.
09:51:43     22          Q.     Okay.    And how old is she?
09:51:46     23          A.     She's in her eighties.
09:51:48     24          Q.     And does she live alone, or is she married?
09:51:51     25          A.     No.    She's living with her son.


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09:51:53      1          Q.     Son.    Okay.   What's his name?
09:51:55      2          A.     Gregory -- well, she has more than one son,
09:51:58      3     but Gregory is living with her now.
09:52:00      4          Q.     Gregory Halko?
09:52:01      5          A.     Yes.
09:52:02      6          Q.     And who is, finally, George Zadrozny, Esq.
09:52:08      7     of --
09:52:08      8          A.     Yes.    He's --
09:52:09      9          Q.     -- Timber Bay Circle, Oldsman, Florida?
09:52:13     10          A.     He's a long-time friend and also served as an
09:52:17     11     attorney for us in the early days of the terminations.
09:52:23     12          Q.     What do you consider the early days of the
09:52:26     13     termination?
09:52:26     14          A.     Well, it was prior to my father's death.              So
09:52:30     15     he was a -- he was a consultant helping, you know, my
09:52:35     16     mother and father learn about the -- about the
09:52:38     17     copyright law.
09:52:40     18          Q.     Your father passed in 1996?
09:52:42     19          A.     Correct.
09:52:43     20          Q.     Okay.    Did there come a time when
09:52:49     21     Mr. Zadrozny stopped rendering services as a lawyer to
09:52:52     22     any member of your family?
09:52:54     23          A.     No.    I mean he's -- you know, he's on an
09:53:00     24     as-needed basis.
09:53:00     25          Q.     Has he continued to render services to this


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                                                                             Page 16
09:53:03      1     day?
09:53:05      2          A.     When needed.
09:53:06      3          Q.     When is the last time he has been called upon
09:53:10      4     to give any advice?
09:53:16      5          A.     I really don't remember, but, you know, it
09:53:21      6     was fairly recently.
09:53:24      7          Q.     In connection with Superman?
09:53:27      8          A.     I -- I don't remember if the last time that I
09:53:31      9     spoke to him was about Superman or whether it had to
09:53:34     10     do with my mother's estate.
09:53:41     11          Q.     Has he provided advice regarding Superman
09:53:52     12     since the time that you retained Mr. Toberoff?
09:53:58     13          A.     Regarding -- could you clarify your question?
09:54:00     14          Q.     Yeah.   I'm trying to deliberately be very
09:54:03     15     vague -- not vague, but broad --
09:54:06     16          A.     It is broad.
09:54:07     17          Q.     -- because I want to stay away from privilege
09:54:09     18     issues, so I'm not asking you, at least right now,
09:54:12     19     about any specific subject matter.       I'm just trying to
09:54:16     20     generally understand if this person is a relevant
09:54:19     21     witness to anything.       And so the question I'm putting
09:54:22     22     to you is whether since the time that you first
09:54:27     23     entered into a relationship with Mr. Toberoff back in
09:54:33     24     2002, since that time to the present, has Mr. Zadrozny
09:54:40     25     rendered any legal advice regarding Superman?


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09:54:42      1           A.    Yes.
09:54:43      2           Q.    And when is the last time that he has done
09:54:47      3     so?
09:54:47      4           A.    As I said, I can't recall, but I would be
09:54:52      5     guessing.
09:54:52      6           Q.    Has he done so since your mother passed away?
09:54:55      7           A.    Not regarding Superman.
09:54:57      8           Q.    Not regarding.         And prior to your mom's
09:55:00      9     passing, you don't remember the last time?
09:55:03     10           A.    No.
09:55:03     11           Q.    Did you send him a copy of the lawsuit in
09:55:07     12     this case?
09:55:08     13           A.    Yes.
09:55:10     14           Q.    Okay.    And without getting into the details,
09:55:15     15     have you had discussions --
09:55:16     16           A.    Oh, I'm sorry.         When you say in this case,
09:55:19     17     you're talking about the current -- the current one
09:55:21     18     that we're discussing.
09:55:22     19           Q.    The DC Comics case, correct.
09:55:23     20           A.    That I don't recall.
09:55:24     21           Q.    But the other case you did.
09:55:25     22           A.    Yes.
09:55:25     23           Q.    The one you filed.
09:55:26     24           A.    Yes.
09:55:30     25           Q.    Okay.    Is he -- how old is Mr. Zadrozny?             Do


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09:55:36      1     you know?
09:55:39      2          A.     I would say he's probably somewhere between
09:55:43      3     58 and 62.
09:55:44      4          Q.     And he's still an active member of the bar?
09:55:46      5          A.     Yes.
09:55:49      6          Q.     Does he work with a firm?
09:55:51      7          A.     No.    He works independently.
09:56:03      8          Q.     If you go to page 15 of the will, there are
09:56:08      9     two witnesses who attested to the will.        I just want
09:56:14     10     to make sure we know who they are.        The first one
09:56:17     11     looks like to be the signature of the lawyer who
09:56:20     12     prepared the document, Gary Ruttenberg; is that
             13     correct?
09:56:24     14          A.     Yes.
09:56:24     15          Q.     And the second person is his legal assistant,
09:56:27     16     Mary Carrier?
09:56:27     17          A.     That's true.
09:56:29     18          Q.     And how long have Mr. Ruttenberg -- how long
09:56:31     19     has Mr. Ruttenberg been a lawyer for your family?
09:56:38     20          A.     Probably -- well, the only -- only thing that
09:56:43     21     he ever dealt with was, you know, wills.         You know, I
09:56:46     22     mean he had nothing to do with any other legal
09:56:49     23     matters.     So if we needed something having to do with
09:56:52     24     a will, I believe that -- that that would be 19 --
09:57:06     25     about 1995.


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09:57:11      1          Q.     That had to do with a prior will?
09:57:14      2          A.     No, had to do with my father's will.
09:57:16      3          Q.     Your father's will.      Okay.   And since 2000
09:57:21      4     when he prepared your mother's will until your mom
09:57:25      5     passed earlier this year, did you have any interaction
09:57:29      6     with him at all regarding Superman?
09:57:31      7          A.     No.
09:57:31      8          Q.     Or did your mother, to your knowledge?
09:57:33      9          A.     No.
09:57:34     10          Q.     Has Mr. Zadrozny, to your knowledge, reviewed
09:57:39     11     any of the -- any agreements relating in any way to
09:57:47     12     Superman?
09:57:48     13          A.     Could you be more specific?
09:57:51     14          Q.     H'm.    The notice of termination that you
09:57:56     15     served in 1997, did he have anything to do with its
09:58:01     16     preparation?
09:58:01     17          A.     He was a consultant for us at that time.
09:58:05     18          Q.     Was he at all involved in any way regarding
09:58:13     19     your negotiations and discussions with Warner Bros. or
09:58:16     20     DC Comics prior to your relationship with
09:58:19     21     Mr. Toberoff?
09:58:19     22          A.     You know, he was not a negotiator.
09:58:21     23          Q.     Was he consulted from time to time in regard
09:58:23     24     to those matters?
09:58:26     25          A.     As a friend, perhaps.


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09:58:29      1          Q.     Okay.
09:58:30      2          A.     I don't -- I don't really --
09:58:32      3          Q.     So, for example --
09:58:33      4          A.     May I just clarify?
09:58:34      5          Q.     Sure.
09:58:35      6          A.     My mother really communicated with him far
09:58:40      7     more than I did, so I really couldn't be exactly sure
09:58:42      8     of the answer to that.
09:58:50      9          Q.     Okay.   Did you ever communicate with him
09:58:53     10     during the time when there were discussions with
09:58:57     11     Warner Bros. let's say from 1997 until the time that
09:58:59     12     you started your relationship with Mr. Toberoff, let's
09:59:02     13     say during that five-, six-year period of time?              You
09:59:06     14     recall there were lots of discussions and negotiations
09:59:09     15     with DC Comics and Warner Bros.?
09:59:10     16          A.     Um-hum.   Yes.
09:59:12     17          Q.     You have to answer audibly.
09:59:13     18          A.     Yes.
09:59:16     19          Q.     At some point in time you were represented,
09:59:18     20     your family was, by -- is it George Levine?           Arthur
             21     Levine.     Excuse me.
             22          A.     Arthur Levine.
09:59:22     23          Q.     And then Kevin Marks and Bruce Ramer of the
09:59:27     24     Gang Tyre firm.
09:59:27     25          A.     Yes.


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09:59:27      1                 MR. TOBEROFF:      Wait until he finishes the
09:59:30      2     question.
09:59:30      3                 THE WITNESS:    I'm sorry.
09:59:31      4                 MR. TOBEROFF:      And you need to give me time
09:59:33      5     in case I want to object.
              6     BY MR. PETROCELLI:
09:59:34      7          Q.     And prior to Mr. Toberoff, were you
09:59:39      8     represented by any other lawyer, you or any member of
09:59:40      9     your family, regarding Superman besides Arthur Levine
09:59:47     10     and besides the Gang Tyre law firm?
10:00:02     11          A.     No.
10:00:11     12          Q.     Okay.
10:00:12     13                 Did Mr. -- to your knowledge, did
10:00:16     14     Mr. Zadrozny review any agreements that you or members
10:00:21     15     of your family entered into with Mr. Toberoff?
10:00:24     16          A.     Yes.
10:00:26     17          Q.     Which agreements?
10:00:28     18          A.     The original documents when we were retaining
10:00:35     19     his legal services in 2002 and also when we entered
10:00:43     20     into a litigation agreement with him in -- I believe
10:00:48     21     that was 2004.
10:00:50     22          Q.     And "with him," you meant with Mr. Toberoff.
10:00:53     23          A.     Correct.
10:00:55     24          Q.     Do you know whether Mr. Zadrozny charged your
10:01:00     25     family for any legal fees for reviewing those


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10:01:04      1      documents?
10:01:05      2          A.     Yes.
10:01:05      3          Q.     How do you know that?
10:01:07      4          A.     My mother told me.
10:01:10      5          Q.     Do you know how much he charged?
10:01:12      6          A.     It was a very low hourly rate.
10:01:17      7          Q.     After this litigation document in 2004 that
10:01:22      8      you entered into -- when I say "you," you know I'm
10:01:24      9      talking about really you and your mother.
10:01:28     10          A.     Correct.
10:01:29     11          Q.     Joanne Siegel.
10:01:30     12          A.     Us as the Siegels.
10:01:31     13          Q.     But I'm not talking about Michael Siegel.
10:01:33     14          A.     No, no.    He wasn't -- he had nothing to do
10:01:36     15      with that.
10:01:37     16          Q.     We'll deal with him separately.
10:01:39     17                 MR. TOBEROFF:       I just want to for clarity,
10:01:41     18      when "you" does not refer to her and her mother and
10:01:45     19      refers just to her, you need to tell her.
10:01:47     20                 MR. PETROCELLI:      Fair enough.    Fair enough.
10:01:50     21      I will try to be clear.
10:01:55     22                 I forgot what I was asking.       So it was a
10:01:59     23      clever device by good lawyers to get you off track.
10:02:06     24                 What was I asking?      Senior moment here.
10:02:22     25                 (The record was read.)


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10:02:22      1                 MR. PETROCELLI:     Okay.   There you go.
10:02:24      2                 THE WITNESS:   Okay.
              3     BY MR. PETROCELLI:
10:02:25      4          Q.     So after the litigation document that you and
10:02:27      5     your family entered into with Mr. Toberoff in 2004,
10:02:31      6     were there any other documents, to your knowledge,
10:02:34      7     that were sent to Mr. Zadrozny for his review related
10:02:40      8     to Superman?
10:02:41      9          A.     I don't recall.
10:02:44     10          Q.     You signed a document sometime in or about
10:02:49     11     2008 that the Shusters also signed, some agreement;
10:02:52     12     correct?
10:02:53     13          A.     Yes.
10:02:54     14          Q.     And Mr. Toberoff also signed that; correct?
10:02:57     15          A.     Yes.
10:02:59     16          Q.     Did Mr. Zadrozny, to your knowledge, review
10:03:05     17     that document?
10:03:05     18          A.     Yes.
10:03:07     19          Q.     Did he review that document prior to the time
10:03:10     20     you signed it?
10:03:11     21          A.     Yes.
10:03:14     22          Q.     How do you know he reviewed it?
10:03:20     23          A.     Because he and I spoke about it.
10:03:27     24          Q.     How long before you signed it -- withdrawn.
10:03:33     25                 Did you send him a copy of it before signing


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10:03:35      1     it?
10:03:36      2           A.    Yes.
10:03:37      3           Q.    Was he here in town with you or --
10:03:40      4           A.    No.
10:03:40      5           Q.    He was living in Florida?
10:03:42      6           A.    Yes.
10:03:42      7           Q.    Has he lived in Florida the whole time you've
10:03:45      8     been dealing with him?
10:03:45      9           A.    Yes.
10:03:51     10           Q.    Okay.    Did any other attorney besides
10:03:53     11     Mr. Zadrozny review that document, to your knowledge,
10:03:57     12     before you or your mother signed it?
10:03:58     13           A.    Which document are you speaking of?
10:04:00     14           Q.    This 2008 -- we've been calling it a consent
10:04:04     15     agreement.
10:04:05     16           A.    Oh.    The -- no.
10:04:11     17           Q.    How many documents have you or your mother
10:04:15     18     signed that the Shusters also signed, one or more
10:04:19     19     Shuster people?
10:04:20     20           A.    Only one.
10:04:32     21           Q.    Was the 2008 consent agreement the last
10:04:41     22     document you asked or your mother asked, to your
10:04:44     23     knowledge, Mr. Zadrozny to review related to Superman?
10:04:49     24           A.    I believe so.
10:04:52     25           Q.    Have you signed any other documents related


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10:04:56      1     to Superman after the 2008 consent agreement that you
10:05:02      2     signed together with the Shusters and Mr. Toberoff and
10:05:05      3     your mother?
10:05:07      4          A.     I don't remember any other document.
10:05:22      5          Q.     How did you obtain a copy -- withdrawn.
10:05:26      6                 Did you or your mother send the draft of the
10:05:29      7     2008 consent agreement to Mr. Zadrozny, or did someone
10:05:33      8     else send it on your behalf?
10:05:36      9          A.     I believe my mother sent it.
10:05:40     10          Q.     And do you know how long before your signing
10:05:48     11     it your mother sent it to him?
10:05:52     12          A.     I don't know.     I would be guessing, but, you
10:05:54     13     know --
10:05:55     14                 MR. TOBEROFF:     Don't guess.
10:05:56     15                 THE WITNESS:     You know.
             16     BY MR. PETROCELLI:
10:05:57     17          Q.     On the subject of guessing, your lawyer said
10:06:00     18     don't guess, and I concur with that except that you
10:06:02     19     need to understand that there's a wild guess, which we
10:06:06     20     don't want to know about.        Wild speculation we don't
10:06:08     21     want to know about.      But if you have some basis to
10:06:12     22     estimate something or approximate something based on
10:06:14     23     your overall knowledge, we are entitled to that, just
10:06:19     24     so you keep that in mind.        Okay?
10:06:22     25          A.     Um-hum.   Yes.    You pointed --


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10:06:24      1          Q.     Yeah.
10:06:26      2          A.     Pointing reminder.
10:06:27      3          Q.     The pointing is not to be rude at all.           It's
10:06:30      4     just that --
10:06:31      5          A.     I understand.
10:06:31      6          Q.     -- to make sure that you answer audibly.
10:06:33      7                 MR. TOBEROFF:    Give me time to object.
10:06:38      8                 MR. PETROCELLI:     Mr. Toberoff does like to
10:06:39      9     object, so we don't want -- we don't want to take away
10:06:44     10     that pleasure.
10:06:45     11                 MR. TOBEROFF:    I like to have something to do
10:06:47     12     at deposition.
10:06:47     13                 MR. PETROCELLI:     You don't need to be here,
10:06:49     14     you know.
10:06:50     15                 THE WITNESS:    Yes, he does.    I would miss him
10:06:52     16     if he wasn't here.
             17     BY MR. PETROCELLI:
10:06:55     18          Q.     Did -- do you remember if there were any
10:07:00     19     changes made to the consent agreement after
10:07:04     20     Mr. Zadrozny reviewed it?
10:07:08     21          A.     I don't remember.
10:07:13     22          Q.     Did you discuss it with him?
10:07:15     23          A.     Yes.
10:07:17     24          Q.     What did you and he discuss about it?
10:07:22     25                 MR. TOBEROFF:    Actually, you can't disclose


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10:07:24      1     that.
10:07:24      2                 THE WITNESS:    I didn't think I could.
10:07:26      3                 MR. TOBEROFF:    Attorney-client privilege, and
10:07:27      4     I instruct you not to answer.
              5     BY MR. PETROCELLI:
10:07:29      6          Q.     Did you discuss with your mother what you and
10:07:35      7     Mr. Zadrozny talked about?
10:07:42      8          A.     Probably.
10:07:45      9          Q.     As best as you can remember, what did you and
10:07:48     10     your mom say to each other in that regard?
10:07:53     11                 MR. TOBEROFF:    Joint client privilege.
10:07:54     12     Instruct you not to answer.
             13     BY MR. PETROCELLI:
10:07:55     14          Q.     I'm referring to discussions that the two of
10:07:57     15     you had privately, not with Mr. Zadrozny in the room
10:08:01     16     or on the phone.      You understand that?
10:08:04     17          A.     I hear what you're saying.
10:08:06     18          Q.     Okay.   And I'm asking you to tell me what you
10:08:08     19     discussed with your mother regarding what Mr. Zadrozny
10:08:13     20     did or said.
10:08:15     21                 MR. TOBEROFF:    You can answer so long as your
10:08:17     22     answer doesn't disclose the substance of conversations
10:08:21     23     that you had with Mr. Zadrozny.
10:08:23     24                 THE WITNESS:    Um-hum.
10:08:26     25                 That we were grateful for his input.


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10:08:29      1     BY MR. PETROCELLI:
10:08:29      2          Q.     What was his input?
10:08:32      3                 MR. TOBEROFF:      I instruct you not to answer.
10:08:35      4     Attorney-client privilege.
              5     BY MR. PETROCELLI:
10:08:37      6          Q.     You and your mother discussed his input?
10:08:40      7          A.     Yes.
10:08:41      8          Q.     What did the two of you discuss about his
10:08:44      9     input?
10:08:44     10                 MR. TOBEROFF:      Attorney-client privilege.
10:08:46     11     Joint client privilege.            I instruct you not to answer.
             12     BY MR. PETROCELLI:
10:08:48     13          Q.     Did he provide any input to you or your
10:08:53     14     mother in writing?
10:08:56     15          A.     I don't believe so.
10:08:57     16          Q.     Did he mark up a document and send you some
10:09:01     17     revisions or tell you -- send you some revisions in
10:09:05     18     writing?
10:09:06     19          A.     I don't recall that.
10:09:06     20          Q.     Were there any -- did you e-mail him at all?
10:09:10     21          A.     Well, on other occasions, but, you know, not
10:09:13     22     regarding this.
10:09:16     23          Q.     Did you meet with him in person regarding the
10:09:19     24     2008 consent agreement?
10:09:20     25          A.     No.


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10:09:20      1          Q.     Did you meet with him in person regarding the
10:09:24      2     2004 litigation agreement with Mr. Toberoff?
10:09:28      3          A.     No.
10:09:28      4          Q.     And did you meet with him in person regarding
10:09:31      5     the 2002 agreement with Mr. Toberoff?
10:09:41      6          A.     No.
10:09:41      7          Q.     And to be clear, Mr. Zadrozny is the only
10:09:48      8     lawyer to review your agreements with Mr. Toberoff?
10:09:52      9          A.     No, that's not correct.
10:09:54     10          Q.     Okay.    Is he the only lawyer to review the
10:09:57     11     2008 consent agreement?
10:10:02     12          A.     I believe so.
10:10:06     13          Q.     Okay.    And with respect to the 2002
10:10:12     14     agreement, the first agreement with Mr. Toberoff, who
10:10:12     15     reviewed that agreement, if anyone, other than
10:10:15     16     Mr. Zadrozny?
10:10:16     17          A.     I believe Arthur Levine looked at it, if I'm
10:10:20     18     recalling correctly.
10:10:23     19          Q.     During the time that you were working with
10:10:26     20     Gang Tyre, Bruce Ramer and Kevin Marks of Gang Tyre,
10:10:29     21     you were still calling on Mr. Levine from time to
10:10:31     22     time --
10:10:32     23          A.     Yes.
10:10:32     24          Q.     -- with regard to Superman?
10:10:34     25          A.     Yes.


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10:10:34      1          Q.     And have you continued to do so even after
10:10:37      2     your relationship with Mr. Toberoff began?
10:10:42      3          A.     Yes.
10:10:43      4          Q.     And to the present?
10:10:47      5          A.     Well, I haven't talked to Arthur in a really
10:10:50      6     long time.
10:10:50      7          Q.     When is the last time that you or your mother
10:10:54      8     consulted with Mr. Levine regarding Superman?
10:11:04      9          A.     I don't remember.       I couldn't give you a
10:11:07     10     date.
10:11:07     11          Q.     Would it be within the last five years?
10:11:14     12          A.     Possibly.
10:11:16     13          Q.     Did Mr. Levine review the 2004 litigation
10:11:22     14     agreement with Mr. Toberoff?
10:11:23     15          A.     Yes, he did.
10:11:25     16          Q.     Did any other lawyer besides Mr. Levine and
10:11:29     17     Mr. Zadrozny review the 2002 agreement with
10:11:31     18     Mr. Toberoff, to your knowledge?
10:11:36     19          A.     Are you saying, you know, on my behalf?
10:11:39     20          Q.     Or your mother's behalf, yes.
10:11:42     21          A.     No.
10:11:43     22          Q.     The same question for the 2004 litigation
10:11:46     23     agreement.
10:11:47     24          A.     No other lawyer besides Arthur and George.
10:11:50     25          Q.     Okay.    Arthur Levine and George Zadrozny.


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10:11:55      1          A.     Correct.
10:11:56      2          Q.     And the 2008 consent agreement was just
10:11:59      3     George, not Arthur.
10:12:00      4          A.     I believe so.   I -- I don't remember talking
10:12:05      5     to Arthur about it, but I might have, but I really
10:12:09      6     think it was just George.
10:12:12      7          Q.     Do you know whether the Shusters had any
10:12:18      8     lawyer review the 2008 consent agreement?
10:12:22      9          A.     I have no idea.
10:12:31     10          Q.     Do you recall that Mr. Toberoff sent you some
10:12:41     11     letters regarding a potential conflict of interest
10:12:46     12     with respect to acquiring Michael Siegel's termination
10:12:53     13     interest?
10:12:54     14          A.     I believe he did, yes.
10:12:56     15          Q.     And I'll show them to you as we get into it.
10:12:59     16                 Do you know whether any lawyer for you or
10:13:02     17     your mother reviewed those documents?
10:13:06     18          A.     I'm -- probably -- I'm guessing, but I
10:13:11     19     probably would have had George look at that also.
10:13:18     20          Q.     You're not --
             21          A.     Zadrozny.
10:13:18     22          Q.     -- sure, is it fair to say?
10:13:20     23          A.     I'm not sure, but I -- I would say probably.
10:13:31     24          Q.     The record will show that those consent --
10:13:35     25     excuse me -- those disclosure -- withdrawn.


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                                                                             Page 32
10:13:38      1                 The record will show that those conflict of
10:13:40      2     interest letters were sent to you --
10:13:44      3                 What year was that?
10:13:48      4                 MR. TOKORO:   2002, 2003.
              5     BY MR. PETROCELLI:
10:13:49      6          Q.     -- 2002, 2003, that general time frame.            And
10:13:52      7     I'll show them to you when we get to them, but for
10:13:55      8     now -- and again, I'm trying to get a broad picture of
10:13:58      9     who is involved in all this.
10:14:04     10                 Have you received any conflict of interest
10:14:10     11     letters from Mr. Toberoff since those ones in 2002 and
10:14:15     12     2003 related to Michael Siegel?
10:14:21     13                 MR. TOBEROFF:   Vague and -- are you asking
10:14:23     14     whether any other conflict of interest letters,
10:14:27     15     period, or any other conflict of interest letters
10:14:30     16     relating to Michael Siegel?
10:14:33     17                 MR. PETROCELLI:     Let me clarify.
10:14:37     18          Q.     Other than conflict of interest letters
10:14:40     19     related to Michael Siegel --
10:14:42     20          A.     Yes.
10:14:43     21          Q.     -- have you received any conflict of interest
10:14:46     22     letters from Mr. Toberoff in the course of your
10:14:49     23     relationship with him?
10:14:51     24          A.     Well, every time there was any sort of
10:14:56     25     agreement that we were entering into with


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                                                                              Page 33
10:14:58      1     Mr. Toberoff, he would disclose to us any conflicts of
10:15:02      2     interest that he had in writing.
10:15:06      3          Q.     Which -- can you give -- can you be more
10:15:11      4     specific?
10:15:12      5          A.     For the 2002 agreement.
10:15:16      6          Q.     There's a letter he sent to you disclosing
10:15:19      7     conflicts of interest?
10:15:20      8          A.     I believe so.
10:15:22      9          Q.     And what do you -- what do you understand the
10:15:25     10     potential conflict of interest to have been that he
10:15:27     11     was disclosing to you?
10:15:29     12                 MR. TOBEROFF:    Attorney-client privilege.            I
10:15:30     13     instruct you not to answer.
             14     BY MR. PETROCELLI:
10:15:39     15          Q.     Was that conflict of interest -- do you know
10:15:42     16     who it is?
10:15:44     17          A.     Do I know who what is?
10:15:45     18          Q.     Bad question.
10:15:46     19                 As you sit here now, do you remember the
10:15:49     20     subject matter of the conflict of interest letter that
10:15:52     21     you received from Mr. Toberoff at the time that you
10:15:55     22     entered into the first agreement with him in 2002?
10:15:59     23          A.     I don't --
10:16:00     24                 MR. TOBEROFF:    You can answer.
10:16:01     25                 THE WITNESS:    I don't remember details.


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                                                                             Page 34
10:16:04      1     BY MR. PETROCELLI:
10:16:04      2          Q.     Are you certain that you received in writing
10:16:11      3     a conflict of interest letter when you entered into
10:16:17      4     the written agreement with Mr. Toberoff in 2002?
10:16:21      5                 MR. TOBEROFF:    Asked and answered.
10:16:24      6                 THE WITNESS:    Yes.
              7     BY MR. PETROCELLI:
10:16:29      8          Q.     Did that conflict of interest letter pertain
10:16:32      9     in any way to Mr. Toberoff's relationship with the
10:16:38     10     Shusters?
10:16:39     11                 MR. TOBEROFF:    I instruct you not to answer
10:16:41     12     as to the contents of any conflict of interest waivers
10:16:48     13     based on the attorney-client privilege, attorney work
10:16:51     14     product.
             15     BY MR. PETROCELLI:
10:16:52     16          Q.     Did you sign any document relating to a
10:16:59     17     conflict of interest that you received from
10:17:03     18     Mr. Toberoff at the time you signed your first
10:17:07     19     agreement with him in 2002?
10:17:10     20          A.     Yes.
10:17:12     21          Q.     And who else, to your knowledge, signed such
10:17:15     22     a document?
10:17:19     23          A.     My mother.
10:17:19     24          Q.     Were there any other signatories to such a
10:17:22     25     document?


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                                                                              Page 35
10:17:22      1          A.     Mr. Toberoff.
10:17:23      2          Q.     Were there any other signatories?
10:17:25      3          A.     I don't believe so.
10:17:25      4          Q.     This is in 2002 now.
10:17:27      5          A.     Yeah.
10:17:29      6          Q.     Okay.
10:17:29      7          A.     I'm trying to follow that.       Yes.   No other --
10:17:33      8          Q.     Like did the Shusters sign the document?
10:17:35      9          A.     No.
10:17:36     10          Q.     Okay.
10:17:42     11                 Is the next conflict of interest document
10:17:45     12     that you recall receiving from Mr. Shuster -- from
10:17:49     13     Mr. Toberoff, again, unrelated to Michael Siegel, in
10:17:54     14     2004 when you signed the litigation agreement with
10:17:57     15     him?
10:17:57     16          A.     Yes.
10:17:58     17          Q.     Okay.    And you are certain that you received
10:18:02     18     and signed such a document?
10:18:04     19          A.     Yes.
10:18:08     20          Q.     Have you reviewed either the 2002 conflict
10:18:13     21     document that you signed or the 2004 conflict document
10:18:16     22     that you signed recently?
10:18:19     23          A.     No, not for a long time.
10:18:23     24          Q.     Do you remember who the signatories are to
10:18:26     25     the 2004 conflict document that you signed?


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10:18:31      1          A.     It would have been my mother and me and
10:18:33      2     Mr. Toberoff.
10:18:38      3          Q.     Do you know if that document was reviewed by
10:18:42      4     Mr. Zadrozny?
10:18:42      5          A.     I believe it was.
10:18:45      6          Q.     Was it reviewed by anyone else?
10:18:48      7          A.     I believe it was reviewed by Arthur Levine.
10:18:53      8          Q.     Is 2004 the last time that you received a
10:18:59      9     conflict of interest document from Mr. Toberoff?
10:19:02     10          A.     No.
10:19:03     11          Q.     When is the last time -- let me ask it this
10:19:05     12     way.   When is the next time after the 2004 litigation
10:19:12     13     agreement?
10:19:12     14          A.     Well, I know we received one in 2008.
10:19:18     15          Q.     Is the conflict of interest document that you
10:19:20     16     received in 2008 one that you also signed?
10:19:26     17          A.     Yes.
10:19:28     18          Q.     Your mother signed it?
10:19:30     19          A.     Yes.
10:19:30     20          Q.     And who else signed it?
10:19:35     21          A.     Mr. Toberoff, Warren Peary, and Jean Shuster
10:19:44     22     Peavy.
10:19:44     23                 MR. PETROCELLI:        Peary is P-a-e-r-y.
10:19:47     24                 THE WITNESS:   Yes.
             25     BY MR. PETROCELLI:


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10:19:49      1          Q.     Okay.    Did you have someone review that 2008
10:19:54      2     conflict document that you received from Mr. Toberoff?
10:19:56      3          A.     Yes.
10:19:57      4          Q.     And who reviewed it?
10:19:59      5          A.     George Zadrozny and -- yes, I believe it was
10:20:02      6     just George.       As I said, I don't remember whether or
10:20:06      7     not Arthur was involved with that.
10:20:11      8          Q.     Okay.    Do you know whether any lawyer
10:20:14      9     reviewed it on behalf of the Shuster family?
10:20:16     10          A.     I have no idea.
10:20:18     11          Q.     Is the 2008 conflict document that you
10:20:23     12     reviewed and signed a separate document from the 2008
10:20:29     13     consent agreement that you signed?
10:20:32     14          A.     Yes.    I believe they were two separate
10:20:34     15     documents.
10:20:34     16          Q.     So there are actually two documents, then,
10:20:37     17     that bear your signature and a signature of a member
10:20:42     18     of the Shuster family related to Superman.
10:20:45     19          A.     Well, they were in essence all the, you know,
10:20:49     20     the same issue.       It was all, you know, all at one
10:20:53     21     time.
10:20:53     22          Q.     I understand that.
10:20:55     23          A.     They were given to us.
10:20:56     24          Q.     Two separate documents, though.
10:20:57     25          A.     Two separate documents, I believe.


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                                                                             Page 38
10:20:58      1          Q.     Okay.    And is that the last time in 2008 that
10:21:05      2     you signed a conflict of interest document received
10:21:08      3     from Mr. Toberoff?
10:21:09      4          A.     I believe so.
10:21:11      5          Q.     Is that the last time in 2008 that you
10:21:14      6     received a conflict of interest document from
10:21:15      7     Mr. Toberoff?
10:21:17      8          A.     Yes.
10:21:19      9          Q.     And are you certain that you have signed no
10:21:26     10     other conflict of interest documents or any other
10:21:30     11     documents with the Shuster family other than the 2008
10:21:34     12     consent agreement and the related conflict document?
10:21:40     13          A.     Those were the only occasions on which we
10:21:44     14     signed a document that the Shusters also signed.
10:21:49     15          Q.     And even with respect to that issue in 2008,
10:21:51     16     were there any other documents that you recall having
10:21:54     17     signed together with the Shusters?
10:21:56     18          A.     I'm sorry.    Could you repeat that?
10:21:58     19          Q.     Were there any other documents that you
10:21:59     20     recall having signed with the Shusters other than
10:22:02     21     those two documents, the 2008 consent agreement and
10:22:06     22     the related conflict document?
10:22:08     23          A.     No.
10:22:15     24          Q.     Okay.
10:22:16     25                 Did you have any discussions with either Jean


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10:22:22      1     Peavy or Warren Peary about the 2008 consent
10:22:31      2     agreement?
10:22:32      3          A.     No, we did not.
10:22:34      4          Q.     To your knowledge, did your mother?
10:22:36      5          A.     I don't believe so.
10:22:48      6          Q.     Have you ever had any discussion with any
10:22:52      7     member of the Shuster family regarding the 2008
10:22:58      8     consent agreement?
10:23:02      9          A.     I can't recall any discussion that we had.
10:23:08     10          Q.     Have you ever -- you understand that in this
10:23:14     11     lawsuit DC is alleging certain issues with respect to
10:23:18     12     that document?
10:23:21     13          A.     I think, you know, that's one of several
10:23:24     14     things in that lawsuit.
10:23:25     15          Q.     Have you read the lawsuit?
10:23:26     16          A.     Yes.    Not recently, but I've read it.
10:23:32     17          Q.     After this lawsuit was filed, which you
10:23:34     18     believe was on or about May 14 of 2010, did you have
10:23:38     19     any discussion with either Jean Peavy or Warren Peary
10:23:43     20     about the lawsuit?
10:23:50     21          A.     No.
10:23:50     22          Q.     Did you talk to your mother about the
10:23:54     23     lawsuit?
10:23:54     24          A.     Yes.
10:23:58     25          Q.     Did you talk to your mother about the consent


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                                                                             Page 40
10:24:01      1      agreement after the filing of the lawsuit?
10:24:10      2          A.     The consent -- the consent agreement from
10:24:13      3      2008 after the lawsuit was filed in 2010?
10:24:16      4          Q.     Exactly.    You're very good.
10:24:22      5          A.     Have to try and follow this.
10:24:22      6          Q.     You're following it perfectly.
10:24:23      7          A.     You're throwing a lot of dates at me here.
10:24:28      8                 I don't remember any particular conversation
10:24:31      9      that we had.
10:24:32     10          Q.     Okay.
10:24:38     11                 Have you signed any conflict document since
10:24:45     12      the filing of this lawsuit in May, 2010?
10:24:51     13          A.     I don't believe so.
10:24:55     14          Q.     And have you signed any agreements at all
10:25:00     15      with Mr. Toberoff since the filing of this lawsuit in
10:25:06     16      May, 2010?
10:25:09     17          A.     No.
10:25:09     18          Q.     And to your knowledge, your mother didn't
10:25:12     19      either; correct?
10:25:12     20          A.     No.
10:25:13     21          Q.     Is that correct?
10:25:13     22          A.     Correct.    She did not.
10:25:15     23          Q.     Okay.    Do you have any agreements with any
10:25:43     24      member of the Shuster family regarding Superman other
10:25:53     25      than the 2008 consent agreement or the conflict


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                                                                              Page 41
10:25:58      1     document related to it?
10:26:06      2          A.     No.
10:26:06      3          Q.     Do you have any arrangements with the Shuster
10:26:13      4     family to share in any monies that either the Shusters
10:26:17      5     or the Siegels receive for the sale of their Superman
10:26:24      6     rights, including in settlement of litigation?
10:26:28      7                 MR. TOBEROFF:      Excuse me.   Could you read
10:26:30      8     back that question for me?
10:26:51      9                 (The record was read.)
10:26:51     10                 MR. TOBEROFF:      To the extent any part of that
10:26:56     11     question reveals the substance of -- any part of it
10:27:00     12     reveals the substance of the consent agreement, which
10:27:02     13     was held to be privileged twice, I would instruct you
10:27:05     14     not to answer.
             15     BY MR. PETROCELLI:
10:27:15     16          Q.     Do you have any arrangement to share with the
10:27:25     17     Shusters any monies that the Siegel family might
10:27:33     18     receive with respect to their accounting on Superman?
10:27:40     19                 MR. TOBEROFF:      Same instruction.    Same basis.
             20     BY MR. PETROCELLI:
10:27:43     21          Q.     Do you have any arrangements with the
10:27:46     22     Shusters to share in any money that the Siegel family
10:27:51     23     might receive with respect to the disposition of
10:27:58     24     Superboy rights or settlement of litigation regarding
10:28:02     25     Superboy?


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10:28:02      1                 MR. TOBEROFF:        Same instruction.   We made an
10:28:07      2      exception with respect to Warren Peary based on an
10:28:12      3      agreement that that exception would not constitute a
10:28:14      4      waiver of privilege.      If we had the same agreement
10:28:16      5      with respect to Laura Siegel, I will let her answer
10:28:19      6      that question.     Otherwise I have to instruct her not
10:28:21      7      to answer.
10:28:24      8                 MR. PETROCELLI:        Well, you know, it's a bit
10:28:29      9      unprincipled to be selectively waiving, but for the
10:28:35     10      purpose of this question, I'll make that agreement.
10:28:43     11                 MR. TOBEROFF:        You can answer.
10:28:45     12                 THE WITNESS:     Could you --
10:28:46     13                 MR. TOBEROFF:        Read back the question?
10:28:48     14                 THE WITNESS:     Yeah.     Would you ask the
10:28:49     15      question again, please?
10:28:50     16                 MR. PETROCELLI:        Please repeat it.
10:29:08     17                 (The record was read.)
10:29:09     18                 THE WITNESS:     No.
             19      BY MR. PETROCELLI:
10:29:11     20          Q.     Does the consent agreement that you signed
10:29:16     21      with the Shusters make any reference at all to
10:29:22     22      Superboy?
10:29:24     23                 MR. TOBEROFF:        I instruct you not to answer
10:29:27     24      based on the consent agreement being held to be
10:29:31     25      privileged, not disclose the substance.


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10:29:38      1                 MR. PETROCELLI:     And to be clear, with
10:29:40      2     respect to the last several questions on which you
10:29:45      3     have instructed, you decline to allow the witness to
10:29:52      4     answer even were I to agree that it would not
10:29:55      5     constitute a waiver of any privilege?
10:29:59      6                 MR. TOBEROFF:   If you would agree -- in some
10:30:02      7     instances if you agree that it doesn't constitute a
10:30:04      8     waiver of privilege, I could allow her to answer
10:30:10      9     certain questions.
10:30:11     10                 MR. PETROCELLI:     Okay.
10:30:12     11                 MR. TOBEROFF:   But --
10:30:12     12                 MR. PETROCELLI:     I notice you didn't extend
10:30:14     13     the offer with respect to some of those questions, but
10:30:16     14     you did on the Superboy, so --
10:30:18     15                 MR. TOBEROFF:   You know, there are a number
10:30:20     16     of issues here surrounding, you know -- also, you
10:30:25     17     know, when the answer to something is no, you're not
10:30:27     18     revealing the content, so it wouldn't actually be
10:30:30     19     privileged, but I don't necessarily know how the
10:30:34     20     witnesses is going to answer.
10:30:35     21                 MR. PETROCELLI:     Okay.   Well, with respect
10:30:38     22     to -- with respect to my question, then, about
10:30:40     23     arrangements that you have with the Shusters regarding
10:30:43     24     the sharing in any Superman recoveries or proceeds, I
10:30:49     25     would like the witness to answer, and I will agree


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10:30:52      1      that her answer is not a waiver of any privilege.
10:30:54      2                 MR. TOBEROFF:        She already answered that
10:30:55      3      question.    She said no.
10:30:57      4                 MR. PETROCELLI:        Not with respect to
10:30:58      5      Superman.    She did with respect to Superboy.
10:31:01      6                 MR. TOBEROFF:        I thought you said --
10:31:02      7                 MR. PETROCELLI:        Did I misspeak?
10:31:03      8                 THE WITNESS:     I kind of lost track for a
10:31:06      9      minute.
10:31:06     10                 MR. PETROCELLI:        Let me put it again for the
10:31:08     11      record, then.
10:31:08     12                 MR. TOBEROFF:        As to that question, we are
10:31:11     13      asserting privilege, and I'm instructing her not to
10:31:13     14      answer.
10:31:13     15                 MR. PETROCELLI:        Okay.   So even though I
10:31:15     16      would agree that the answer would not affect the
10:31:17     17      waiver.
10:31:18     18                 MR. TOBEROFF:        Yes.
10:31:19     19                 MR. PETROCELLI:        Okay.
10:31:51     20          Q.     And does the -- did you discuss with your
10:31:55     21      mother at any time whether or not to enter into an
10:32:04     22      agreement with the Shusters regarding the sharing of
10:32:09     23      recoveries or proceeds from Superman?
10:32:18     24          A.     I believe we talked about it.
10:32:21     25          Q.     Can you relate that discussion to me?


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10:32:23      1                 MR. TOBEROFF:   I instruct you not to answer
10:32:25      2     based on the attorney-client privilege, joint client
10:32:28      3     privilege.
              4     BY MR. PETROCELLI:
10:32:30      5          Q.     And these were conversations just between
10:32:32      6     your mother and you; is that correct?
10:32:33      7          A.     Yes.
10:32:41      8                 Excuse me.   May I take a bathroom break for a
10:32:43      9     moment?
10:32:44     10                 MR. PETROCELLI:     Sure.   Let's stop right now.
10:32:48     11                 THE VIDEOGRAPHER:     Off the record.      The time
10:32:48     12     is 10:32.
10:33:54     13                 (A recess was taken.)
10:46:52     14                 THE VIDEOGRAPHER:     We're back on the record
10:46:54     15     at 10:46.
             16     BY MR. PETROCELLI:
10:46:57     17          Q.     I just want to follow up a bit on that last
10:47:01     18     area that we covered about the consent agreements and
10:47:04     19     the arrangements with the Shusters.          Does -- do the
10:47:10     20     consent agreements -- I may have asked you this
10:47:17     21     already, but let me ask you again.         Do the consent
10:47:22     22     agreement documents -- does the consent agreement
10:47:25     23     document make any reference at all to Superboy?
10:47:31     24          A.     You did ask me that.
10:47:32     25                 MR. TOBEROFF:   Asked and answered.        And I


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10:47:34      1     instruct you not to answer.
10:47:37      2                 MR. PETROCELLI:     If I agree that it's not a
10:47:39      3     waiver, do you continue to instruct on that?
10:47:41      4                 MR. TOBEROFF:   Yes.
10:47:42      5                 MR. PETROCELLI:     Okay.
10:47:59      6          Q.     Are you currently able to enter into an
10:48:04      7     agreement with DC Comics without the consent of the
10:48:15      8     Shuster side, the Shuster family?
10:48:22      9                 MR. TOBEROFF:   I instruct you not to answer
10:48:25     10     that.
10:48:25     11                 MR. PETROCELLI:     Same objection?    Privilege?
10:48:30     12                 MR. TOBEROFF:   Same objection.    Privilege.
             13     BY MR. PETROCELLI:
10:48:35     14          Q.     Have you had any discussions with any member
10:48:38     15     of the Shuster family since 2008 when the both of you
10:48:45     16     signed the consent agreement about the marketing of
10:48:50     17     the Superman rights?
10:48:54     18          A.     I can't recall any discussion.
10:49:02     19          Q.     Are -- have any efforts been made on your
10:49:05     20     behalf or your family's behalf to market the Superman
10:49:10     21     rights since 2008?
10:49:15     22                 MR. TOBEROFF:   You can -- you could answer
10:49:23     23     that yes or no, a yes or no question, and you can also
10:49:28     24     answer it to the extent your knowledge does not reveal
10:49:31     25     the substance of your communications with counsel.


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10:49:35      1                 THE WITNESS:    Okay.
10:49:37      2                 MR. TOBEROFF:    So --
10:49:39      3                 MR. PETROCELLI:     To be clear, Marc, and we're
10:49:41      4     not going to settle this on the record, but I do want
10:49:43      5     to make clear that I disagree that all conversations
10:49:46      6     with you are privileged.        They have to involve the
10:49:48      7     rendition of legal advice at the very minimum.
10:49:51      8                 MR. TOBEROFF:    Well, the marketing of her --
10:49:55      9     the subject of a litigation for the past six now going
10:49:58     10     to the seventh year of rights wouldn't necessarily
10:50:01     11     entail legal advice.
10:50:03     12                 MR. PETROCELLI:     If you meet with Paramount
10:50:05     13     Pictures about the sale of Superman or you go to Fox
10:50:08     14     and you then report on the meeting, that's hardly the
10:50:11     15     rendition of legal advice.
10:50:12     16                 MR. TOBEROFF:    It's totally intertwined with
10:50:15     17     legal advice.     Any studio would want to know the state
10:50:18     18     of the litigation, the odds of the litigation, the
10:50:21     19     odds on appeal.     There's so much going on in this case
10:50:25     20     that would be relevant to the status of those rights
10:50:28     21     and which would -- it's just very closely intertwined.
10:50:34     22     If she has knowledge of that independent of her
10:50:37     23     discussions with me, I will allow her to answer.
10:50:38     24                 Otherwise I would instruct you not to answer.
10:50:40     25                 MR. PETROCELLI:     It seems like it's


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10:50:41      1     impossible for her to have any knowledge independent
10:50:44      2     of you.
10:50:45      3                 MR. TOBEROFF:    Certainly when it regards
10:50:48      4     legal matters, that would be the case.
10:50:50      5                 MR. PETROCELLI:     This is a business question
10:50:51      6     about selling the rights.
10:50:55      7                 MR. TOBEROFF:    Same instruction.
              8     BY MR. PETROCELLI:
10:50:56      9          Q.     Have you -- let me ask the question so we
10:51:00     10     have a record here.
10:51:02     11                 Do you -- are you aware of any efforts made
10:51:04     12     on your behalf to market your Superman rights since
10:51:10     13     2008?
10:51:10     14                 MR. TOBEROFF:    You could just answer that yes
10:51:12     15     or no.
10:51:16     16                 Laura?
10:51:17     17                 THE WITNESS:    I'm thinking.
10:51:18     18                 MR. TOBEROFF:    Okay.
10:51:21     19                 THE WITNESS:    There's -- there's so much to
10:51:22     20     remember in this --
10:51:23     21                 MR. PETROCELLI:     That's like --
             22                 THE WITNESS:    -- situation.
10:51:24     23                 MR. PETROCELLI:     -- the old Jack Benny joke.
10:51:26     24     "Your money or your life," and he goes "I'm thinking!
10:51:30     25     I'm thinking!"


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10:51:30      1                 THE WITNESS:    I know the joke.
10:51:37      2                 MR. PETROCELLI:     Marc, you're still smiling.
10:51:39      3     You appreciate that, I know.
10:51:41      4                 THE WITNESS:    That's a good joke.      That's a
10:51:43      5     good joke.
10:51:44      6                 MR. PETROCELLI:     I used to love Jack Benny.
10:51:46      7                 THE WITNESS:    I know.   I did too.
10:51:50      8                 MR. PETROCELLI:     We're telling our age.
10:51:51      9                 THE WITNESS:    I don't believe so.
10:51:52     10                 MR. TOBEROFF:    As to showing your age or the
10:51:54     11     question?
10:51:54     12                 MR. PETROCELLI:     We will get back on track
10:51:56     13     here.     It's really my fault.
10:51:58     14          Q.     You're not aware of any efforts to market the
10:52:03     15     Superman rights since 2008; is that correct?
10:52:05     16          A.     I don't recall any.
10:52:06     17          Q.     Are you aware of any discussions that were
10:52:11     18     had on your behalf with representatives of Paramount
10:52:17     19     Pictures or the Paramount Studio?
10:52:21     20          A.     I don't remember a time frame.      I believe
10:52:24     21     that may have occurred, but --
10:52:27     22          Q.     Why do you believe it may have occurred?
10:52:29     23          A.     I'm just trying to draw on my memory here.
10:52:37     24     Was it Paramount?     Yeah.     I guess it was Paramount.
10:52:41     25          Q.     And are you aware of any efforts to market


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10:52:43      1     the property to anyone other than Paramount?
10:52:49      2          A.     I can't recall any right now.
10:52:52      3          Q.     What came of the Paramount marketing effort?
10:52:58      4          A.     I don't believe --
10:52:59      5                 MR. TOBEROFF:    I instruct you not to -- you
10:53:00      6     know, again, we have to be careful here because
10:53:04      7     when -- you object to my instruction based on
10:53:06      8     privilege, and then when I let her answer, you claim a
10:53:08      9     broad waiver of privilege.        So it's almost a
10:53:14     10     self-fulfilling prophecy to a certain extent.
10:53:16     11                 MR. PETROCELLI:     You act as though I'm taking
10:53:19     12     some kind of inappropriate position, Marc.          I have to
10:53:22     13     follow the rules and we have to abide by the
10:53:24     14     consequences.
10:53:26     15                 MR. TOBEROFF:    We have different views
10:53:27     16     clearly as to what's appropriate.
10:53:30     17                 So I'm instructing you not to answer as to
10:53:35     18     the marketing of or whatever his question regarding
10:53:40     19     the marketing of your rights to the extent your
10:53:45     20     knowledge of the details come only through me.             If you
10:53:48     21     have independent knowledge of that, then you can
10:53:52     22     discuss that.
10:53:53     23                 THE WITNESS:    Okay.
             24     BY MR. PETROCELLI:
10:53:56     25          Q.     Is everything you know about the marketing of


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10:53:58      1     the Superman rights information you learned from Marc
10:54:05      2     Toberoff?
10:54:05      3          A.     Yes.
10:54:06      4          Q.     In every single discussion you had with Marc
10:54:10      5     Toberoff, you are receiving legal advice?
10:54:13      6          A.     Yes.
10:54:14      7          Q.     And you believe that when he's reporting on a
10:54:17      8     meeting that he had with third parties, that's legal
10:54:21      9     advice?
10:54:21     10          A.     Yes.
10:54:23     11          Q.     Why?
10:54:24     12          A.     He's my lawyer.
10:54:26     13          Q.     You also know that he's an entrepreneur in
10:54:30     14     the motion picture industry; correct?
10:54:33     15          A.     It has nothing to do with me.
10:54:35     16                 MR. TOBEROFF:    Vague and ambiguous.
             17     BY MR. PETROCELLI:
10:54:35     18          Q.     I didn't ask you that question; right?           I
10:54:37     19     simply asked you whether you were aware of that.
10:54:40     20                 MR. TOBEROFF:    Just focus on his question.
10:54:45     21                 THE WITNESS:    I am not aware of him having
10:54:47     22     any current activities.
             23     BY MR. PETROCELLI:
10:54:48     24          Q.     I didn't ask that question either.        You are
10:54:53     25     aware --


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10:54:53      1                 MR. TOBEROFF:    Just wait.      Wait.   Wait.       I
10:54:55      2     just want to instruct --
10:54:57      3                 THE WITNESS:    Okay.    Okay.    I'm reading too
10:54:59      4     much into what you're saying.
10:55:00      5                 MR. PETROCELLI:     I think you are.      I think
10:55:01      6     you are, because you're --
10:55:03      7                 MR. TOBEROFF:    Wait.    Wait.    I'd just like to
10:55:04      8     talk to my client.
10:55:06      9                 Just try and -- first of all, I want to slow
10:55:09     10     it down so I have time to object.         Just try and focus
10:55:11     11     on his question.     Don't try and think of where he's
10:55:14     12     going with the question.        Just focus on the question
10:55:16     13     and answer the question.
10:55:17     14                 THE WITNESS:    Um-hum.    Okay.
10:55:18     15                 MR. PETROCELLI:     I concur.
10:55:24     16          Q.     You are aware based on your knowledge of
10:55:29     17     Mr. Toberoff from the first time you ever heard his
10:55:32     18     name until today that he has been involved in various
10:55:39     19     business activities in the entertainment industry;
10:55:42     20     correct?
10:55:42     21          A.     Yes.
10:55:43     22          Q.     And that he has been involved in the
10:55:47     23     acquisition of various literary properties; correct?
10:55:54     24          A.     Acquisition?
10:55:55     25          Q.     Yes.


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10:55:56      1          A.     Do you want to define "acquisition" for me?
10:55:58      2          Q.     To acquire rights to sell or produce various
10:56:02      3      properties in the entertainment business.
10:56:04      4          A.     Yes.
10:56:09      5          Q.     And you are aware that he had a business
10:56:21      6      collaboration with Ari Emanuel in connection with the
10:56:27      7      acquisition of various entertainment properties;
10:56:31      8      correct?
10:56:31      9          A.     Yes.
10:56:32     10          Q.     And you were aware that he had that
10:56:35     11      collaboration when you first became acquainted with
10:56:39     12      Mr. Toberoff; correct?
10:56:40     13          A.     Yes.
10:56:42     14          Q.     And when you entered into your first
10:56:46     15      agreement with Mr. Toberoff, part of that agreement
10:56:49     16      involved services to be rendered by Mr. Toberoff and
10:56:55     17      Mr. Emanuel for a 10 percent representation fee;
10:57:03     18      correct?
10:57:04     19          A.     Yes.
10:57:04     20          Q.     That would be like an agent's fee; correct?
10:57:07     21          A.     Yes.
10:57:07     22          Q.     And you understood that Mr. Toberoff would
10:57:10     23      share in that agent's fee of 10 percent; correct?
10:57:13     24                 MR. TOBEROFF:       I object.   Objection.      Vague
10:57:20     25      and ambiguous.


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10:57:20      1     BY MR. PETROCELLI:
10:57:20      2           Q.    You may answer.
10:57:24      3           A.    Well, the -- the -- could you reask the
10:57:35      4     question so I'm sure that I'm answering it correctly,
10:57:38      5     you know?     I do not want to read into what you're
10:57:42      6     saying.
10:57:42      7           Q.    With respect to the 10 percent representation
10:57:45      8     or agent's fee that you agreed to pay in connection
10:57:52      9     with the efforts of Mr. Emanuel and Mr. Toberoff, you
10:58:00     10     understood that Mr. Toberoff would share in part of
10:58:04     11     that 10 percent fee; correct?
10:58:06     12                 MR. TOBEROFF:   Vague and ambiguous.
             13     BY MR. PETROCELLI:
10:58:07     14           Q.    Yes or no?
10:58:09     15           A.    I would like to go back and say that when you
10:58:12     16     refer to it as an agent's fee, I didn't -- I didn't
10:58:17     17     understand, you know, exactly what you were referring
10:58:20     18     to.    Mr. Toberoff did not act as an agent.
10:58:24     19           Q.    Well, when you signed an agreement in 2002 --
10:58:28     20           A.    Yes.
10:58:28     21           Q.    -- you didn't sign it personally with
10:58:30     22     Mr. Toberoff.      You signed it with an entity called IP
10:58:36     23     Worldwide; is that correct?
10:58:37     24           A.    That's correct.
10:58:39     25           Q.    And that was a company, to your knowledge, at


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10:58:43      1     the time that consisted of Mr. Toberoff and
10:58:48      2     Mr. Emanuel; correct?
10:58:50      3          A.     Yes.
10:58:52      4          Q.     And the fee that you agreed to pay to employ
10:58:59      5     Mr. Toberoff and Mr. Emanuel was 10 percent of the
10:59:06      6     proceeds that they would generate with respect to the
10:59:09      7     sale of your Superman rights; correct?
10:59:15      8          A.     I don't believe "sale" is the correct word to
10:59:18      9     use.
10:59:18     10          Q.     What is the correct word?
10:59:21     11          A.     Negotiations on representation.
10:59:26     12          Q.     Okay.
10:59:26     13          A.     Exploring, you know, different avenues of,
10:59:30     14     you know, how, you know, our rights could be marketed.
10:59:34     15          Q.     But the 10 percent fee would not be payable
10:59:37     16     until and unless their efforts to exploit and
10:59:42     17     negotiate and market resulted in a transaction that
10:59:45     18     generated proceeds; correct?
10:59:46     19          A.     Correct.
10:59:47     20          Q.     Okay.    And with respect to that 10 percent
10:59:52     21     that you agreed to pay if the transaction was
10:59:56     22     consummated that generated proceeds, did you have any
11:00:00     23     understanding as to how that money would be split up
11:00:03     24     as between Mr. Toberoff and Mr. Emanuel?
11:00:10     25          A.     No.


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11:00:10      1          Q.     Were you made aware of the joint venture
11:00:17      2     agreement between the two of them that created IP
11:00:23      3     Worldwide?
11:00:23      4          A.     Could you define "made aware"?
11:00:25      5          Q.     Did you ever see it?
11:00:27      6          A.     No.
11:00:30      7          Q.     Have you ever seen it?
11:00:33      8          A.     No.
11:00:33      9          Q.     Did they describe it to you?
11:00:38     10          A.     Well, Mr. Toberoff was acting as my attorney,
11:00:42     11     so I'm not sure whether --
11:00:44     12          Q.     Okay.    Well, you're not responding to my
11:00:46     13     question --
11:00:47     14          A.     No.
11:00:47     15          Q.     -- but I don't want to interrupt you, so
11:00:49     16     complete the answer.       Normally when a witness doesn't
11:00:51     17     respond to a lawyer, at least a good lawyer moves to
11:00:53     18     strike as nonresponsive.           I'm trying not to do that --
11:00:56     19          A.     Um-hum.
11:00:57     20          Q.     -- because I want to accommodate you, but it
11:00:59     21     would be helpful if you tried to just respond to my
11:01:03     22     question.
11:01:04     23          A.     Okay.    So could you -- could I have the
11:01:07     24     question again, please?
             25                 MR. TOBEROFF:      Who's here to hear your motion


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                                                                             Page 57
11:01:11      1     to strike as nonresponsive?
11:01:12      2                 MR. PETROCELLI:     It's only for the purpose of
11:01:14      3     preserving it for the record so when we're in trial, I
11:01:16      4     can seek to have that excluded from the record.
11:01:30      5          Q.     Did Mr. Emanuel or Mr. Toberoff describe to
11:01:33      6     you the terms of their arrangement prior to the time
11:01:37      7     you retained them in 2002?
11:01:39      8          A.     Yes.
11:01:41      9          Q.     What did they say to you?
11:01:43     10          A.     That they had a company together.
11:01:46     11          Q.     Okay.   And did they tell you about their
11:01:51     12     track record as a company together?
11:01:55     13          A.     Yes.
11:01:56     14          Q.     And did they tell you about prior successes
11:02:02     15     that they had achieved together?
11:02:05     16          A.     I remember Mr. Toberoff's achievements.
11:02:10     17          Q.     Did they tell you about prior transactions
11:02:16     18     that they, "they" being Mr. Emanuel and Mr. Toberoff
11:02:20     19     through their company, had accomplished prior to your
11:02:26     20     retaining them?      Did they say, for example, "We did a
11:02:30     21     similar transaction for" this person or that person.
11:02:34     22     "We can do the same for you"?
11:02:36     23          A.     As a company, no.
11:02:40     24          Q.     Okay.   Was it your understanding that the
11:02:46     25     arrangement with you that IP Worldwide made was the


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                                                                             Page 58
11:02:49      1     first business dealing of this new company, of this
11:02:55      2     company, IP Worldwide?
11:02:57      3          A.     I had no knowledge of that.
11:02:59      4          Q.     Did you have any knowledge how old the
11:03:01      5     company was?
11:03:03      6          A.     I believe it was -- it was a fairly new
11:03:06      7     company.
11:03:07      8          Q.     And again, did you believe that yours was the
11:03:10      9     first transaction the company entered into?
11:03:14     10          A.     I don't have any recollection of it being a
11:03:17     11     first.
11:03:18     12          Q.     Did you do any research on the company?
11:03:21     13          A.     I did research on Mr. Toberoff and on
11:03:25     14     Mr. Emanuel.
11:03:25     15          Q.     And did you do any research on IP Worldwide?
11:03:32     16          A.     I don't recall anything specific.
11:03:33     17          Q.     Now, at the time you knew that Mr. Toberoff
11:03:37     18     also was a lawyer; right?
11:03:39     19          A.     Yes.
11:03:40     20          Q.     Okay.   And you knew that Mr. Emanuel was a
11:03:44     21     talent agent; correct?
11:03:45     22          A.     Correct.
11:03:45     23          Q.     And you knew that Mr. Emanuel was a partner
11:03:49     24     at an agency called Endeavor; correct?
11:03:52     25          A.     Correct.


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                                                                             Page 59
11:03:52      1          Q.     We're now talking 2002; right?
11:03:54      2          A.     Yes.
11:03:55      3          Q.     And you knew Mr. Toberoff had a law firm;
11:03:59      4     correct?
11:04:00      5          A.     Correct.
11:04:00      6          Q.     Did you know the name of his law firm?
11:04:04      7          A.     Law Offices of Marc Toberoff.
11:04:07      8          Q.     Okay.   You did not enter into an agreement
11:04:09      9     with The Law Offices of Marc Toberoff in 2002; is that
11:04:15     10     correct?
11:04:15     11          A.     Not that name, no.
11:04:18     12          Q.     There is no agreement between any member of
11:04:22     13     the Siegel family and The Law Offices of Marc Toberoff
11:04:27     14     in 2002; correct?
11:04:28     15          A.     Correct.
11:04:29     16          Q.     And there is no agreement between any member
11:04:33     17     of the Siegel family and the Endeavor talent agency in
11:04:37     18     2002; correct?
11:04:37     19          A.     Correct.
11:04:38     20          Q.     The only agreement that you entered into for
11:04:41     21     the services of Mr. Emanuel and Mr. Toberoff was the
11:04:45     22     IP Worldwide agreement; is that right?
11:04:46     23          A.     Correct.
11:04:58     24          Q.     The 10 percent -- let me ask you this
11:05:01     25     question.     The record will reflect that that agreement


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                                                                              Page 60
11:05:04      1      is dated as of October 3, 2002.        In fact, let me just
11:05:12      2      show you a copy of it.
11:05:14      3          A.      Okay.
11:05:14      4          Q.      It's been previously marked as Plaintiff's
11:05:17      5      Exhibit 45.
11:05:18      6          A.      Thank you.
              7                 (Whereupon, Plaintiff's Exhibit 45
11:05:29      8                 was placed before the witness.)
11:05:31      9      BY MR. PETROCELLI:
11:05:31     10          Q.      And you'll see at the last page it bears
11:05:32     11      your --
11:05:33     12          A.      It's a bad copy.
11:05:34     13          Q.      It's the best copy we have.
11:05:36     14          A.      Okay.
11:05:36     15          Q.      You'll see on the last page it bears your
11:05:41     16      signature?
11:05:41     17          A.      Yes.
11:05:41     18          Q.      And the signature of your mother, Joanne
11:05:45     19      Siegel?
11:05:45     20          A.      Yes.
11:05:46     21          Q.      And Mr. Toberoff?
11:05:47     22          A.      Yes.
11:05:48     23          Q.      And Mr. Emanuel.
11:05:52     24          A.      Yes.
11:06:01     25          Q.      You'll see that in paragraph 6 there's a


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                                                                             Page 61
11:06:06      1     provision for a 10 percent payment to IP Worldwide,
11:06:13      2     based on any gross proceeds that they generate.              And
11:06:18      3     I'm simplifying it.       I don't want to read that whole
11:06:22      4     paragraph.     Do you see that?
11:06:24      5          A.     I'm reading it.
11:06:54      6                 Okay.   I'm sorry.    Your question?
11:06:57      7          Q.     You see that paragraph 6 provides for the
11:07:00      8     compensation of 10 percent to IP Worldwide for the
11:07:03      9     rendition of their services?
11:07:04     10          A.     Yes.
11:07:29     11          Q.     Do you know if this agreement still exists?
11:07:35     12          A.     It does not.
11:07:39     13          Q.     When did it end?
11:07:42     14          A.     It expired, I believe, early 2005.        I believe
11:07:52     15     it was 2005.
11:07:54     16          Q.     And what about 2005 causes you to believe
11:07:57     17     that it expired?
11:07:58     18          A.     Well, because we had an end date for it.
11:08:02     19          Q.     Where is the end date indicated?
11:08:04     20          A.     It's not in this document.
11:08:06     21          Q.     Is it in another document?
11:08:07     22          A.     Yes, it is.
11:08:09     23          Q.     What's the other document?
11:08:10     24          A.     There was a -- we extended this for a limited
11:08:17     25     period of time, and there was an end date stated in


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                                                                             Page 62
11:08:21      1      that document.
11:08:25      2                 MR. PETROCELLI:      Bear with me.
11:08:33      3                 This is a better copy.
11:08:43      4           Q.    Can you take a look at paragraph 10 of
11:08:50      5      Exhibit 45?
11:08:50      6           A.    Yes.
11:08:51      7           Q.    It states:
11:08:52      8                        "The parties understand and
11:08:56      9                 acknowledge that the scope of this
11:08:57     10                 Agreement does not include legal
11:09:00     11                 services and/or expenses in
11:09:04     12                 connection with litigation or formal
11:09:06     13                 legal arbitration, if any.        The
11:09:09     14                 provision of such services and
11:09:13     15                 advancing of such expenses, is
11:09:15     16                 requested and desired by Owner" --
11:09:18     17                 excuse me -- "if requested and
11:09:20     18                 desired by Owner, will be rendered
11:09:22     19                 and provided by Marc Toberoff, Esq.,
11:09:27     20                 subject to good faith negotiation of
11:09:30     21                 mutually acceptable" -- "of a
11:09:32     22                 mutually acceptable agreement
11:09:33     23                 executed by Mr. Toberoff and Owner,"
11:09:36     24                 end of quotes.
11:09:38     25                 And you agreed to that provision when you


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11:09:40      1     signed Exhibit 45; correct?
11:09:42      2          A.     Yes, regarding litigation.
11:09:44      3          Q.     Right.    And it wasn't until I believe you
11:09:51      4     said 2004 that you entered into the litigation
11:09:56      5     agreement -- entered into a litigation agreement with
11:09:59      6     Mr. Toberoff; is that correct?
11:10:00      7          A.     Correct.
11:10:07      8          Q.     And between the signing of Exhibit 45 as of
11:10:13      9     October 3, 2002, and the signing of the litigation
11:10:18     10     agreement in 2004, you signed no agreements with
11:10:22     11     Mr. Toberoff for the rendition of litigation services;
11:10:29     12     correct?
11:10:30     13          A.     Not for litigation, correct.     I don't know if
11:10:35     14     I answered yes or no to that the way it's phrased.
11:10:39     15     That's why I'm trying to clarify.
11:10:40     16          Q.     Let me repeat it --
11:10:42     17          A.     Okay.
11:10:42     18          Q.     -- because I think if you had said yes, we
11:10:44     19     would be in agreement with each other.
11:10:47     20          A.     Oh.
11:10:48     21          Q.     From the time that you signed Exhibit 45 as
11:10:50     22     of October 3, 2002, until the time that you signed the
11:10:56     23     litigation agreement with Mr. Toberoff in 2004,
11:11:02     24     neither you nor your mom signed an agreement with
11:11:05     25     Mr. Toberoff calling for him to render litigation


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                                                                              Page 64
11:11:08      1      services; correct?
11:11:09      2          A.     Correct.
11:11:24      3          Q.     Do you recall having signed an amendment to
11:11:29      4      this Exhibit 45 extending the term till, I think you
11:11:34      5      said, 2005?
11:11:35      6          A.     Yes.
11:11:38      7          Q.     What can you tell me about that document?                I
11:11:40      8      don't believe we have it.
11:11:43      9          A.     It was very short, and I believe it just
11:11:50     10      referenced this document, and the only thing that was
11:11:54     11      different about it was it said that we were extending
11:11:58     12      the terms of this contract through a particular date.
11:12:03     13                 MR. PETROCELLI:      Marc, have you produced
11:12:04     14      that?    I mean we may have overlooked it.
11:12:09     15                 MR. TOBEROFF:       I can't say off the top of my
11:12:10     16      head.    We can --
11:12:11     17                 MR. PETROCELLI:      Can you please check?
11:12:13     18                 MR. TOBEROFF: -- see if we have it.            We will
11:12:16     19      look for it and produce it.
11:12:18     20                 MR. PETROCELLI:      Thank you.
11:12:21     21          Q.     Is it -- in two thousand --
11:12:27     22                 MR. TOBEROFF:       I should say if it exists and
11:12:29     23      we have it, we will produce it.
             24      BY MR. PETROCELLI:
11:12:32     25          Q.     Do you have a copy?


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11:12:34      1          A.     I -- I don't know what I -- what I have.
11:12:38      2          Q.     Where do you -- where do you have your
11:12:41      3     documents related to this whole Superman saga?
11:12:46      4          A.     All over the place.      I'm not very organized.
11:12:54      5          Q.     There's a black cabinet that contained a lot
11:12:56      6     of these documents; right?
11:13:00      7          A.     No.    There was a black cabinet that my
11:13:02      8     ex-husband had that contained some of his things.
11:13:06      9          Q.     Was that a black cabinet that was in the home
11:13:10     10     that you shared with your husband before the two of
11:13:12     11     you separated?
11:13:13     12          A.     Yes, yes.
11:13:13     13          Q.     Okay.    And was that the same cabinet that you
11:13:18     14     shared your materials while you were married with
11:13:21     15     him related to this case?
11:13:22     16          A.     No.    That was strictly his.
11:13:24     17          Q.     What color was your cabinet?
11:13:27     18          A.     I don't have a cabinet.      No, it's -- you
11:13:31     19     know, I mean I have boxes.
11:13:34     20          Q.     What was the address where you lived with
11:13:37     21     your husband before your separation in 2000?
11:13:41     22          A.     The same address I have now.
11:13:43     23          Q.     Which is what?
11:13:44     24          A.     6400 Pacific Avenue, Playa del Rey,
11:13:48     25     California.


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                                                                              Page 66
11:13:48      1          Q.      And is there a space in your home where you
11:13:54      2     keep your papers related to this matter, "this matter"
11:13:56      3     being going back to the serving of the termination
11:13:59      4     notices to the present?
11:14:00      5          A.      Well, I have -- I have them throughout the
11:14:05      6     place.      There isn't one place.      Throughout my
11:14:10      7     condominium.
11:14:10      8          Q.      Is there a room where you have most of the
11:14:14      9     papers?
11:14:15     10          A.      I wish I could say yes.      The answer is no.
11:14:17     11          Q.      Do you have filing cabinets where you keep
11:14:21     12     them?
11:14:22     13          A.      No.
11:14:22     14          Q.      Do you just put them on the floor in boxes?
11:14:25     15          A.      They are in boxes.
11:14:26     16          Q.      Okay.    About how many boxes do you have?
11:14:32     17          A.      Well, some are in boxes and some are in
11:14:36     18     furniture where I had to put them because I can't live
11:14:38     19     with that many boxes.
11:14:39     20          Q.      What kind of furniture?
11:14:40     21          A.      It's just a large -- I used to have records
11:14:44     22     in there, but now I have no space for the records
11:14:47     23     because I put papers in there.
11:14:50     24          Q.      And --
11:14:51     25          A.      It's just a couple of shelves.


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                                                                              Page 67
11:14:52      1          Q.     When your husband left the home, he took his
11:14:55      2     black cabinet with him?
11:14:56      3          A.     No, he did not.
11:14:58      4          Q.     He left it there, but he took the papers out
11:15:00      5     of it?
11:15:00      6          A.     Yes.
11:15:04      7          Q.     When Michael Siegel -- he's your stepbrother.
11:15:07      8     He was your stepbrother?
11:15:09      9          A.     Half brother.
11:15:10     10          Q.     Half brother.      Excuse me.   He died in what
11:15:14     11     year?     2006?
11:15:16     12          A.     Yes.
11:15:17     13          Q.     After his death, did you receive any papers
11:15:23     14     from him or his estate or related to Superman in any
11:15:28     15     way, any correspondence, any letters, anything like
11:15:33     16     that?
11:15:33     17          A.     I can't recall any after his death, no.
11:15:37     18          Q.     Who took possession of his papers, if you
11:15:41     19     know?
11:15:42     20          A.     Well, I hired somebody to go in and to help
11:15:47     21     me clear out the place.
11:15:48     22          Q.     Who was that?
11:15:50     23          A.     My cousin.
11:15:51     24          Q.     Who is your cousin?
11:15:52     25          A.     Michele Innenberg.


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11:15:54      1          Q.     Where does Michele live?
11:15:56      2          A.     In Cleveland.
11:15:57      3          Q.     How is she your cousin?      Through what
11:15:59      4      relationship?
11:15:59      5          A.     She -- like a second cousin.      She's the
11:16:03      6      daughter of one of my cousins.
11:16:07      7          Q.     What town does she live in?
11:16:09      8          A.     Cleveland.
11:16:10      9          Q.     Cleveland?
11:16:11     10          A.     Um-hum.
11:16:11     11          Q.     And was -- now, is she related to Michael?
11:16:15     12          A.     No.    She's related to me through my father's
11:16:19     13      side of the family.
11:16:20     14          Q.     Okay.    Did Michael -- well, that's the same
11:16:24     15      side that --
11:16:24     16          A.     It has nothing -- it wasn't --
11:16:27     17          Q.     Okay.    Michael's father was Jerome Siegel,
11:16:34     18      your father; right?
11:16:35     19          A.     Yes.
11:16:35     20          Q.     Okay.    Who was Michael's mother?
11:16:39     21          A.     Bella Siegel.
11:16:40     22          Q.     When did she -- is she alive?
11:16:41     23          A.     No.
11:16:41     24          Q.     When did she pass?
11:16:47     25          A.     Maybe about a year before Michael.


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11:16:50      1          Q.     Okay.    And did Michael have any other -- so
11:16:57      2     your dad was married to Bella before your dad married
11:17:00      3     Joanne?
11:17:01      4          A.     Correct.
11:17:01      5          Q.     Did they have any children other than
11:17:06      6     Michael?
11:17:07      7          A.     There -- there was a child that died at
11:17:10      8     birth.
11:17:10      9          Q.     Okay.    And was Michael ever married?
11:17:13     10          A.     No.    He lived with his mother his whole life.
11:17:19     11          Q.     How old was Michael when he died?
11:17:21     12          A.     In his sixties.
11:17:25     13          Q.     And he had had heart problems?
11:17:27     14          A.     He had a lot of health problems.
11:17:31     15          Q.     Did Michele know Michael?
11:17:33     16          A.     No.    I should actually clarify.     Michele's
11:17:45     17     role was to help with furniture and to help clear out,
11:17:52     18     you know, certain -- certain things that I wanted.                 So
11:17:58     19     she boxed them up.
11:18:01     20          Q.     Did -- what did you want?
11:18:04     21          A.     Oh, there was a saxophone.       There were
11:18:08     22     pictures of Michael as a kid, things like that.
11:18:13     23          Q.     Did you receive from Michael after his death
11:18:17     24     through Michele or through anyone else any materials
11:18:20     25     of any kind related to Superman?


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11:18:23      1          A.     He had some Superman books and pins and
11:18:29      2      things like that.
11:18:30      3          Q.     What about any papers, letters, things like
11:18:35      4      that?
11:18:35      5          A.     No, I don't recall any.
11:18:37      6          Q.     Letters to you, for example?
11:18:39      7          A.     I don't recall any.
11:18:41      8          Q.     Okay.   You and he corresponded from time to
11:18:47      9      time in writing about Superman; correct?
11:18:49     10          A.     Every so often.
11:18:50     11          Q.     And there were some letters, in fact, about
11:18:53     12      Mr. Toberoff; correct?
11:18:56     13          A.     He mentioned him.     It wasn't, you know, all
11:18:59     14      he would talk about.
11:19:00     15          Q.     No, I'm not saying that's all he would talk
11:19:04     16      about, but there was correspondence that you and he
11:19:06     17      exchanged, prior to his death, of course, about
11:19:09     18      Mr. Toberoff; correct?
11:19:10     19          A.     Yes.
11:19:10     20          Q.     Including his expressing his concern to you
11:19:14     21      about Mr. Toberoff; correct?
11:19:16     22          A.     Yes.
11:19:17     23          Q.     Have you reviewed any of that correspondence
11:19:20     24      recently?
11:19:21     25          A.     Not recently.


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11:19:22      1          Q.     You met with Mr. Toberoff yesterday?
11:19:25      2          A.     Yes.
11:19:26      3          Q.     Who else was present?
11:19:28      4          A.     Just Mr. Toberoff.
11:19:30      5          Q.     At his office?
11:19:30      6          A.     Yes.
11:19:31      7          Q.     How long did you meet?
11:19:33      8          A.     A couple of hours, maybe two and a half.
11:19:35      9          Q.     Prior to yesterday did you have any
11:19:38     10     discussions with him about the deposition other than
11:19:43     11     scheduling it?
11:19:43     12          A.     Just scheduling.
11:19:45     13          Q.     Did you review any documents, see any
11:19:48     14     documents, look at any documents yesterday?
11:19:52     15          A.     I looked at my former depositions.
11:19:55     16                 (Whereupon, Ms. Seto entered the room.)
11:19:58     17     BY MR. PETROCELLI:
11:19:58     18          Q.     Besides your former depositions?
11:20:01     19          A.     No.
11:20:01     20          Q.     Okay.    Were you shown any letters, any
11:20:03     21     agreements, anything at all in your meeting yesterday?
11:20:10     22          A.     No.
11:20:13     23          Q.     Have you looked at any materials in the last
11:20:13     24     couple of weeks, except your deposition, related to
11:20:19     25     this case?


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11:20:23      1          A.     I don't think so.
11:20:31      2          Q.     What happened to Michael's correspondence, to
11:20:35      3     your knowledge, after his death?
11:20:38      4                 MR. TOBEROFF:    Vague and ambiguous.
              5     BY MR. PETROCELLI:
11:20:39      6          Q.     About Superman.
11:20:42      7          A.     Well --
11:20:44      8                 MR. TOBEROFF:    Still vague and ambiguous.
11:20:45      9     Lacks foundation.
11:20:48     10                 THE WITNESS:    Some -- somewhere I have the
11:20:50     11     copies of the things that he sent to me.
             12     BY MR. PETROCELLI:
11:20:54     13          Q.     And that's somewhere in your home?
11:20:57     14          A.     I would -- yes.
11:20:59     15          Q.     Okay.   Where did your mom live before she
11:21:10     16     died?
11:21:10     17          A.     In Marina del Rey.
11:21:11     18          Q.     In a different place than you?
11:21:13     19          A.     Yes.
11:21:14     20          Q.     Did she live alone?
11:21:15     21          A.     Yes.
11:21:16     22          Q.     All the way into the very end?
11:21:17     23          A.     Yes.
11:21:20     24          Q.     What was the address, if you remember?
11:21:24     25          A.     13929 Marquesas Way in Marina Del Rey.


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11:21:30      1          Q.     Was she renting?
11:21:31      2          A.     Yes.
11:21:32      3          Q.     And so now someone else has that place?
11:21:35      4          A.     Yes.
11:21:35      5          Q.     Okay.   And did you help clean it out after
11:21:39      6     she passed?
11:21:40      7          A.     Yes.
11:21:46      8                 MR. PETROCELLI:     I was told I'm a little bit
11:21:49      9     too close to the camera, so it was picking up my hand.
11:21:52     10     I have now moved away.      Thank you for letting me know.
11:21:58     11          Q.     Your mother kept papers in her home related
11:22:02     12     to Superman?
11:22:03     13          A.     Yes.
11:22:05     14          Q.     Including letters and agreements and
11:22:10     15     memorabilia, all sorts of things?
11:22:11     16          A.     That's right.
11:22:12     17          Q.     And did she also have them all over the
11:22:16     18     place, to use your expression?
11:22:18     19          A.     Yes.
11:22:18     20          Q.     She did not have like an office or a filing
11:22:22     21     cabinet where she kept the materials?
11:22:24     22          A.     She didn't keep an office.
11:22:28     23          Q.     Okay.   Now, did your mother have a typewriter
11:22:32     24     or computer in her home?
11:22:34     25          A.     She didn't -- no.     She had a computer, but


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11:22:36      1      she never figured out how to use it.
11:22:39      2          Q.     And she didn't have a typewriter; right?
11:22:42      3          A.     She gave up using that years ago.
11:22:45      4          Q.     Now, you have a computer in your home?
11:22:48      5          A.     Yes.
11:22:49      6          Q.     And what kind of computer do you have?
11:22:51      7          A.     I have a laptop.
11:22:57      8          Q.     What -- how long have you had it?
11:23:04      9          A.     I think two years.
11:23:05     10          Q.     And before the laptop, what did you have?
11:23:09     11          A.     I had a PC that died.
11:23:12     12          Q.     How long did you have the PC?
11:23:15     13          A.     Several years.
11:23:18     14          Q.     Would -- let's say starting in 2000 -- 2000,
11:23:26     15      what equipment did you have in your home that you
11:23:30     16      would use to type or create letters or other
11:23:36     17      documents?
11:23:36     18          A.     A computer.
11:23:37     19          Q.     Okay.   You're a former journalist; right?
11:23:40     20          A.     Yes.
11:23:40     21          Q.     You retired in the mid eighties?
11:23:43     22          A.     No, 1994.
11:23:44     23          Q.     1994.   And you were a broadcast journalist?
11:23:48     24          A.     Yes.
11:23:49     25          Q.     For CNN and some other organizations?


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11:23:51      1          A.     CNN, CBS, KCAL.
11:23:55      2          Q.     On camera?
11:23:56      3          A.     On camera and also as an executive producer
11:24:00      4     and producer and writer.
11:24:02      5          Q.     Was it a network program, or was it a local
11:24:05      6     program?
11:24:05      7          A.     Some of my things were carried on the
11:24:08      8     network.     Of course on CNN it was carried on the
11:24:11      9     network.
11:24:11     10          Q.     Right.
11:24:13     11          A.     And some of my CBS programming was carried on
11:24:19     12     ESPN, and also they would pick up things sometimes on
11:24:22     13     the CBS network.
11:24:24     14          Q.     And you wrote a lot of your own scripts and
11:24:27     15     stories?
11:24:27     16          A.     Oh, yes.
11:24:36     17          Q.     So let's go back to the equipment in your
11:24:42     18     place.
11:24:42     19                 First of all, you have had no office outside
11:24:44     20     of your home since the year 2000 to the present?
11:24:47     21          A.     No.
11:24:48     22          Q.     So the only place that you would create
11:24:52     23     documents like letters would be in your house?
11:24:55     24          A.     Correct.
11:24:56     25          Q.     Did you ever create any documents or letters


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11:24:59      1      related to Superman in your mother's home?
11:25:05      2          A.     No.
11:25:05      3          Q.     Okay.    And to your knowledge, your mother
11:25:11      4      never typed out or caused to be printed on a computer
11:25:16      5      a letter or a document related to Superman; correct?
11:25:20      6          A.     Well, she wrote tons of things longhand, and
11:25:26      7      there were times when she would type a few things up
11:25:31      8      on her old typewriter until that, you know, wasn't
11:25:35      9      working any longer.
11:25:35     10          Q.     That would be before year 2000; right?
11:25:38     11          A.     You know, I don't know whether it was before
11:25:40     12      or after 2000.
11:25:42     13          Q.     That she would work on a typewriter?
11:25:44     14          A.     Yes.    I don't know for sure.
11:25:48     15          Q.     Did you retrieve the typewriter when she
11:25:50     16      passed away?
11:25:51     17          A.     Yes.
11:25:51     18          Q.     You still have it?
11:25:52     19          A.     Yes.
11:25:52     20          Q.     Where is it?
11:25:54     21          A.     I put it with her other furniture that I
11:25:58     22      currently have just put in storage until I figure out
11:26:02     23      what to do with it.
11:26:03     24          Q.     What's the storage facility?
11:26:05     25          A.     It's called Public Storage.


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11:26:07      1          Q.     The one -- is there one in Marina nearby?
11:26:11      2          A.     Yes.
11:26:12      3          Q.     The Superman papers and materials that you
11:26:15      4     collected from your mother's home --
11:26:17      5          A.     Um-hum.
11:26:18      6          Q.     -- did you put those in Public Storage?
11:26:21      7          A.     Well, I brought a lot of them home.         I'm
11:26:26      8     currently trying to go through things.         So at the
11:26:30      9     moment my place is almost unlivable because I have,
11:26:33     10     you know, my stuff and her stuff, and, you know, it's
11:26:40     11     unbelievable.
11:26:40     12          Q.     And again, I'm only focused on Superman
11:26:46     13     materials.     But between your Superman papers, files,
11:26:50     14     and materials and your mother's --
11:26:52     15          A.     Yes.
11:26:52     16          Q.     -- can you somehow in your own way
11:26:55     17     approximate the volume?         Let's say boxes.   If you put
11:27:00     18     it all in the bankers boxes, how many boxes would
11:27:02     19     there be?     Ten boxes?
11:27:06     20          A.     I couldn't guess at that because there were a
11:27:08     21     lot of things that -- there are many different things
11:27:12     22     in any one given box, these things that I haven't gone
11:27:16     23     through yet.       So there could be a box that has one
11:27:19     24     paper relating to Superman or there could be many
11:27:28     25     papers.


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11:27:28      1          Q.     Like, for example, the letters that you
11:27:31      2     exchanged with Michael Siegel that you said are in
11:27:34      3     your home, where in your home are those letters?
11:27:37      4                 MR. TOBEROFF:    Lacks foundation.
11:27:40      5                 THE WITNESS:    Well, anything that I had, you
11:27:44      6     know, is also mixed in with papers.          I mean I have --
11:27:51      7     I have various boxes that relate to the case.              I have
11:27:56      8     other boxes that relate to my divorce.          I've got a lot
11:28:01      9     of different things.
             10     BY MR. PETROCELLI:
11:28:02     11          Q.     Have you -- since this lawsuit was filed in
11:28:05     12     May, 2010, have you gone and searched for and given to
11:28:13     13     someone else your Michael Siegel correspondence?
11:28:20     14          A.     Well, whenever I find anything that I think
11:28:24     15     relates to the case, I turn it over to Mr. Toberoff.
11:28:28     16          Q.     Since May, 2010, have you turned over to
11:28:31     17     Mr. Toberoff any of your correspondence with Michael
11:28:36     18     Siegel that was in your home?
11:28:39     19          A.     Probably.
11:28:40     20          Q.     Okay.
11:28:42     21          A.     Oh, excuse me.       May I say something about
11:28:46     22     2010?
11:28:47     23          Q.     You may.
11:28:49     24          A.     I believe that you -- I believe that you
11:28:52     25     asked me earlier about documents from 2010, around


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11:29:00      1     that time.     We were talking about different agreements
11:29:03      2     and we were talking about in connection with when this
11:29:08      3     lawsuit had been filed.
11:29:09      4          Q.     Proceed.
11:29:10      5          A.     Okay.   I believe that I misstated something.
11:29:16      6     I -- after this lawsuit was filed, Mr. Toberoff did
11:29:20      7     send me another -- what was it called? -- conflict,
11:29:29      8     another, you know, delineating, you know, potential
11:29:33      9     conflicts, a document regarding conflicts, and I
11:29:36     10     don't -- I don't believe I mentioned that earlier.
11:29:38     11     You were asking me different ones for different dates.
11:29:41     12          Q.     And your recollection about that was prompted
11:29:43     13     as a result of Mr. Toberoff mentioning it to you
11:29:45     14     during a break?
11:29:46     15          A.     Well, I went to the bathroom.     It was cooler.
11:29:49     16     I was --
11:29:50     17                 MR. TOBEROFF:    You can -- you can -- you
11:29:55     18     can -- you can answer that you recalled that during
11:29:58     19     the break.
11:30:00     20                 THE WITNESS:    Yeah, I recalled it during the
11:30:03     21     break.
             22     BY MR. PETROCELLI:
11:30:04     23          Q.     And as a result of talking to Mr. Toberoff?
11:30:06     24                 MR. TOBEROFF:    Well, you can't -- you can't
11:30:09     25     talk about your conversations with me.


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11:30:10      1     BY MR. PETROCELLI:
11:30:10      2          Q.     Did you talk to Mr. Toberoff about anything
11:30:12      3     during the break?
11:30:14      4                 MR. TOBEROFF:    You can answer that.
              5     BY MR. PETROCELLI:
11:30:15      6          Q.     Yes or no?
11:30:16      7          A.     Yes.
11:30:19      8          Q.     Okay.   And you remembered this new document
11:30:25      9     that I will now ask you about after talking to
11:30:28     10     Mr. Toberoff during the break.
11:30:33     11          A.     Yes.
11:30:34     12          Q.     Okay.
11:30:34     13          A.     While I was in the restroom.
11:30:38     14          Q.     Well, so tell me more about this document.
11:30:42     15     What is it and --
11:30:45     16          A.     No, I just remember that -- that he wanted to
11:30:51     17     make sure that --
11:30:53     18                 MR. TOBEROFF:    Don't -- don't talk about the
11:30:55     19     contents of the document.       You can talk about whether
11:30:57     20     or not you signed it.
11:30:59     21                 THE WITNESS:    Right.
11:31:00     22                 MR. TOBEROFF:    Another conflict waiver.
11:31:01     23                 THE WITNESS:    Right.   He wanted to make sure
11:31:03     24     that I signed, you know, this document that he felt
11:31:08     25     was warranted.


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11:31:10      1     BY MR. PETROCELLI:
11:31:10      2          Q.     What was the subject matter of the document?
11:31:15      3          A.     As I said, it was a conflict disclosure.
11:31:18      4          Q.     Did it relate to this new case that DC filed?
11:31:22      5          A.     It was as a result of this case.
11:31:25      6          Q.     Did anybody else sign it besides you and -- I
11:31:30      7     presume Mr. Toberoff signed it?
11:31:31      8          A.     I believe my mother signed it.
11:31:33      9          Q.     Anyone else?
11:31:34     10          A.     I don't think so.
11:31:35     11          Q.     Did anybody review it on your behalf?
11:31:40     12          A.     I'm sure George did, George Zadrozny.
11:31:48     13          Q.     You remember that he did?
11:31:49     14          A.     I believe that he did.
11:31:51     15          Q.     Did you send it to him before signing it?
11:31:55     16          A.     I believe so.
11:31:56     17          Q.     How do you send things to George?
11:32:00     18          A.     Well, sometimes by mail.
11:32:03     19          Q.     In 2010 how did you send this document to
11:32:07     20     George?
11:32:07     21          A.     If it was sent to me in electronic form,
11:32:12     22     then --
11:32:13     23          Q.     E-mailed?
11:32:14     24          A.     -- then I could e-mail him.      I don't recall
11:32:16     25     whether this one was sent to me or, you know --


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11:32:19      1          Q.     You would forward the e-mail.
11:32:21      2          A.     A copy, right.       If I get something that's
11:32:25      3     papers, then I can fax it, but, you know --
11:32:27      4          Q.     What is your e-mail address?
11:32:29      5          A.     Mistylight3@cs.com.
11:32:33      6          Q.     What is George's e-mail address?
11:32:35      7                 MR. TOBEROFF:    I would just like to say in
11:32:36      8     terms of her home address and her e-mail address, I
11:32:39      9     want to keep that private on the record --
11:32:42     10                 MR. PETROCELLI:       That's fine.
11:32:43     11                 MR. TOBEROFF:    -- to disclose documents,
11:32:44     12     because there's so many -- so much commentary and fans
11:32:48     13     that are interested in this Superman case.
11:32:50     14                 MR. PETROCELLI:       We have no interest at all
11:32:53     15     in publicizing it.     We may use it for purposes of the
11:32:58     16     lawsuit, but --
11:32:58     17                 MR. TOBEROFF:    But when it's used for
11:32:58     18     purposes of the lawsuit, I don't want her address and
11:33:00     19     her personal e-mail to be disclosed.          I want it to
11:33:05     20     be --
11:33:05     21                 MR. PETROCELLI:       Well, I want to work with
11:33:06     22     you on that because we have no interest in causing any
11:33:10     23     unwarranted invasion of her privacy, but the details
11:33:13     24     of that we will have to work out.          Okay?     Because I
11:33:15     25     don't know exactly what that means.          We're not going


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11:33:17      1     to negotiation a protective order right now on the
11:33:20      2     record.
11:33:20      3                 MR. TOBEROFF:      No.    What I'm saying is we've
11:33:21      4     talked at times about having a protective order in
11:33:23      5     this case.
11:33:23      6                 MR. PETROCELLI:        Okay.
11:33:24      7                 MR. TOBEROFF:      And I'm sure your client is
11:33:25      8     going to want a protective order when it comes to
11:33:30      9     discovery of its materials, and that day is coming,
11:33:32     10     that we -- this information should be subject to that
11:33:37     11     protective order.
11:33:38     12                 MR. PETROCELLI:        I understand you would like
11:33:39     13     to designate this as confidential.           Okay.
11:33:42     14          Q.     What is George's e-mail address?
11:33:44     15          A.     I don't have it off the top of my head.
11:33:47     16          Q.     Did your mother have an e-mail address?
11:33:57     17          A.     No.
11:33:57     18          Q.     So before you remembered this document, we
11:34:00     19     were talking about documents in general, and I want to
11:34:04     20     go back to that.       Okay?
11:34:05     21          A.     Okay.
11:34:08     22          Q.     You said you -- when you gave Mr. Toberoff
11:34:18     23     documents related to this case --
11:34:19     24          A.     Yes.
11:34:22     25          Q.     -- did you keep copies for yourself?


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11:34:29      1          A.     No.    When I gave them to him, I gave them to
11:34:32      2     him.
11:34:33      3          Q.     When your mom passed and you took some -- you
11:34:35      4     took all of her files and papers, did you turn any of
11:34:38      5     that material over to Mr. Toberoff?
11:34:42      6          A.     Yes.    I found something that I --
11:34:45      7          Q.     What did you find?
11:34:46      8          A.     I found a file that she had about a lawyer
11:34:50      9     that we had been talking about potentially hiring.
11:34:53     10          Q.     Is that Gerry Spence?
11:34:55     11          A.     Gerry Spence, yes.
11:34:58     12          Q.     And you just turned that over to him when?
11:35:01     13          A.     Just a couple of days ago.
11:35:03     14          Q.     Okay.    So what caused you a couple of days
11:35:06     15     ago to come across that file?             Were you looking for
11:35:09     16     materials related to this case?
11:35:11     17          A.     No.    I was going -- going through a box of
11:35:14     18     her papers, and it happened to be in there.
11:35:17     19          Q.     Has anyone other than you -- since the filing
11:35:22     20     of this lawsuit in May, 2010, has anyone other than
11:35:26     21     you searched the papers in your home related to this
11:35:32     22     case?
11:35:32     23                 MR. TOBEROFF:      At her home?
11:35:33     24                 MR. PETROCELLI:        Yes.
11:35:36     25                 THE WITNESS:    No.


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11:35:36      1     BY MR. PETROCELLI:
11:35:37      2          Q.     For example, did Mr. Toberoff come to your
11:35:40      3     house and search through your files or a member of his
11:35:43      4     law firm?
11:35:44      5          A.     No.
11:35:47      6          Q.     Okay.    Since the filing of this case, have
11:35:57      7     you provided Mr. Toberoff with any materials other
11:36:02      8     than that Gerry Spence file you just found?
11:36:08      9          A.     Yes.
11:36:08     10          Q.     What did you give?
11:36:13     11          A.     Papers relating to my divorce.
11:36:18     12          Q.     When was that?
11:36:21     13          A.     There was a document request from, I believe,
11:36:25     14     your office, and in response to that, I produce those.
11:36:30     15          Q.     Anything other than the divorce file --
11:36:34     16     that's from your former husband, Dennis Larson;
11:36:37     17     correct?
11:36:38     18          A.     Yes.
11:36:38     19          Q.     And the Gerry Spence file.       Anything else
11:36:43     20     since the filing of this lawsuit that you gave to
11:36:43     21     Mr. Toberoff from your home?
11:36:43     22          A.     Since the filing of this lawsuit.        I don't
11:36:47     23     recall anything specific.
11:36:52     24          Q.     Okay.    Now, why -- how was it that you came
11:36:59     25     across the Gerry Spence file a couple of days ago?


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11:37:01      1                 MR. TOBEROFF:      Asked and answered.
11:37:02      2                 You can answer.
              3     BY MR. PETROCELLI:
11:37:03      4          Q.     You were looking --
11:37:04      5          A.     I was -- I wasn't looking for it, but I was
11:37:06      6     going through, you know, one of the boxes of my mom's
11:37:10      7     papers, and it was in there.
11:37:11      8          Q.     Okay.    Have you provided any papers in your
11:37:17      9     home since the filing of this lawsuit to anyone other
11:37:21     10     than Mr. Toberoff?
11:37:24     11          A.     No.
11:37:24     12          Q.     Has any other lawyer seen any materials in
11:37:28     13     your home or have you given them any materials?
11:37:38     14          A.     No.
11:37:38     15          Q.     When you collected the papers from your
11:37:42     16     mother's place, how did you collect them?          You just
11:37:44     17     put them in a box or a couple of boxes?
11:37:46     18          A.     Well, she had a lot of boxes already, and she
11:37:51     19     had -- you know, there were bags.         There were boxes.
11:37:54     20     There were a lot of -- a lot of different things that
11:37:58     21     were already, you know -- what can I call them?              They
11:38:04     22     were in containers of one sort or another.
11:38:06     23          Q.     Paper containers?
11:38:08     24          A.     Well, when I say container --
11:38:10     25          Q.     What kind of -- cardboard containers?


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11:38:11      1          A.     No, no.    I'm using the term generically for
11:38:14      2     both bags and boxes.
11:38:15      3          Q.     I see.    Like those big trash bags?
11:38:18      4          A.     No.    Oftentimes they were like Ralphs bags.
11:38:23      5          Q.     Okay.
11:38:24      6          A.     Things like that, you know, so I -- you know,
11:38:27      7     in the interest of time I couldn't go through
11:38:31      8     everything.       So, you know, I packed those things, you
11:38:34      9     know, into my car, took them to the place where I
11:38:39     10     live, and then there were other things that I had a
11:38:43     11     professional mover when he moved the furniture also
11:38:46     12     moved some additional boxes for me because it was just
11:38:49     13     too much stuff for me to transport.
11:38:51     14          Q.     I was going to ask you that.        Who helped you
11:38:53     15     move these containers of papers and Superman-related
11:38:57     16     materials from your mother's home to your home?
11:39:03     17          A.     Well, my sons helped me, and it was just my
11:39:04     18     sons and me and then professional movers.
11:39:08     19          Q.     What was the moving company you used?
11:39:12     20          A.     Starving Students.
11:39:15     21          Q.     How old are your children?
11:39:18     22          A.     20 and 23 years old.
11:39:21     23          Q.     The 20-year-old is whom?
11:39:22     24          A.     Michael -- no, no.       James.   James is 20.
11:39:25     25          Q.     And Michael is how old?


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11:39:27      1          A.     23.
11:39:28      2          Q.     Do they live with you?
11:39:30      3          A.     Some of the time, not really anymore.
11:39:36      4          Q.     Okay.    Now, with respect to the typing or
11:39:41      5      computer equipment in your home since 2000, and you
11:39:45      6      said you did take possession of your mother's
11:39:48      7      typewriter, and remind me.          Did she or did she not
11:39:52      8      have an old computer there as well?
11:39:53      9          A.     She had a laptop that my sons tried to teach
11:39:57     10      her how to use, but it was unused.
11:40:00     11          Q.     Where is that laptop now?
11:40:01     12          A.     I have it.
11:40:03     13          Q.     In your home?
11:40:04     14          A.     Yes.
11:40:05     15          Q.     Okay.    And with respect to the computer
11:40:08     16      equipment going back to 2000 that you used --
11:40:11     17          A.     Um-hum.
11:40:12     18          Q.     -- why don't you just bring me up to date on
11:40:16     19      that.    What did you use going back to 2000 to today?
11:40:19     20          A.     Well, I had -- you know, I had a PC, as I
11:40:23     21      explained before.
11:40:24     22          Q.     What kind of PC?        Do you remember?
11:40:28     23          A.     It was a Hewlett Packard or something.
11:40:30     24          Q.     Do you have a printer in your home?
11:40:32     25          A.     Yes.    I've had -- you know, they die, you


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11:40:36      1     know, periodically, you know, so I had printers that I
11:40:42      2     had to throw away and replace, and I currently have an
11:40:46      3     all in one.     It's an all in one.    You know, it's both
11:40:49      4     a fax machine and a --
11:40:50      5          Q.     Right.
11:40:51      6          A.     -- printer.
11:40:51      7          Q.     What's the name of the laptop that you now
11:40:54      8     use?   What's the model?
11:40:55      9          A.     Toshiba.
11:40:57     10          Q.     Are you a pretty good typist?
11:41:00     11          A.     I'm okay.
11:41:02     12          Q.     And you typed letters for your mother related
11:41:06     13     to this case?
11:41:07     14          A.     Yes.
11:41:17     15          Q.     Okay.
11:41:31     16                 What were the reasons why you decided not to
11:41:38     17     extend your business arrangement with IP Worldwide
11:41:42     18     calling for the payment of a 10 percent commission?
11:41:46     19          A.     It became unnecessary because we were
11:41:48     20     entering into litigation.
11:41:52     21          Q.     And that was about the late 2004 and early
11:41:55     22     2005 time period?
11:41:57     23          A.     Yes.
11:42:04     24          Q.     Any -- is it your understanding, then,
11:42:06     25     that -- well, before I go there, prior to the time


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11:42:11      1     that you decided not to extend the IP Worldwide
11:42:16      2     business arrangement, was the commission still 10
11:42:23      3     percent, or had that number been modified in some way?
11:42:28      4          A.     You mean just this document itself, or are
11:42:33      5     you talking about services?          I --
11:42:35      6          Q.     I'm not sure why you're asking me those
11:42:38      7     questions, so --
11:42:40      8          A.     I'm not understanding your question.
11:42:41      9          Q.     Well, in paragraph 6 of this agreement --
11:42:43     10          A.     Yes.
11:42:44     11          Q.     -- Exhibit 45, there's a 10 percent
11:42:45     12     commission.
11:42:46     13          A.     Yes.
11:42:47     14          Q.     When this agreement was no longer in effect
11:42:52     15     sometime in early 2005, as you said --
11:42:55     16          A.     Yes.
11:42:56     17          Q.     -- was the commission still 10 percent at
11:42:59     18     that moment in time?
11:43:02     19          A.     No.
11:43:02     20          Q.     What was it?
11:43:05     21          A.     It -- once the -- once the litigation
11:43:08     22     agreement went into effect, it was reduced because
11:43:12     23     Mr. Toberoff was not going to receive any -- any
11:43:19     24     percentage under the IP Worldwide.
11:43:22     25          Q.     And it was reduced --


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11:43:24      1          A.     So it was reduced to 5 percent for
11:43:29      2     Mr. Emanuel only.
11:43:29      3          Q.     I see.    So that any money that Mr. Toberoff
11:43:32      4     would get he would get pursuant to the litigation
11:43:34      5     agreement which had shortly before been executed.
11:43:38      6          A.     Correct.
11:43:39      7          Q.     Okay.    And so for a period of time, then, you
11:43:45      8     had in effect a litigation agreement with Mr. Toberoff
11:43:50      9     calling for a particular percentage, and then you had
11:43:54     10     an IP Worldwide agreement that the commission of which
11:43:58     11     in paragraph 6 was reduced from 6 -- from 10 to 5
11:44:02     12     percent; correct?
11:44:03     13          A.     Correct.
11:44:03     14          Q.     Okay.    Now, was there a document that
11:44:06     15     reflected the reduction of the commission from 10
11:44:10     16     percent to 5 percent for IP Worldwide?
11:44:15     17          A.     It was -- it was reflected in the litigation
11:44:22     18     agreement.
11:44:23     19          Q.     So the litigation agreement contains a
11:44:26     20     reference that the IP Worldwide commission is dropping
11:44:29     21     from 10 to 5.
11:44:32     22          A.     I can't remember the exact details.
11:44:36     23          Q.     Okay.    You indicated that there was a
11:44:38     24     document that you recall having signed that extended
11:44:41     25     the IP Worldwide agreement.       Do you remember that


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11:44:44      1     testimony?
11:44:44      2          A.     Yes.
11:44:45      3          Q.     Was there one extension that you signed or
11:44:48      4     more than one?
11:44:53      5          A.     There may have been more than one.
11:44:55      6          Q.     And did any of those extensions that you
11:44:58      7     signed also address the reduction of the commission
11:45:00      8     from 10 to 5?
11:45:07      9          A.     No.
11:45:07     10          Q.     Now, when -- given that you had for at least
11:45:15     11     a period of time two agreements in effect, one for the
11:45:19     12     litigation with Mr. Toberoff and then the IP Worldwide
11:45:22     13     agreement at 5 percent, why did you then decide to
11:45:27     14     stop the 5 percent agreement?
11:45:31     15          A.     Well, Mr. Emanuel's services were not needed.
11:45:36     16          Q.     Well, why were Mr. Emanuel's services needed
11:45:39     17     the moment you signed the litigation agreement with
11:45:43     18     Mr. Toberoff?
11:45:44     19                 MR. TOBEROFF:      You mean not needed?        You said
11:45:46     20     "needed."
11:45:47     21                 MR. PETROCELLI:        No.   I meant "needed."
11:45:50     22                 MR. TOBEROFF:      Oh.
11:45:50     23                 MR. PETROCELLI:        Let me go back.
11:45:51     24                 THE WITNESS:    Okay.
             25     BY MR. PETROCELLI:


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11:45:52      1          Q.     First of all, the percentage in the
11:45:55      2     litigation agreement with Mr. Toberoff ranged from 33
11:45:59      3     percent to 40 percent; correct?
11:46:01      4          A.     Yes.
11:46:02      5          Q.     Okay.   Is that still the current arrangement?
11:46:05      6          A.     Yes.
11:46:06      7                 MR. TOBEROFF:    Okay.   I just want to --
11:46:08      8     before we ask more questions regarding the retainer
11:46:10      9     agreement, I just want you to be aware that certain
11:46:13     10     portions of the retainer agreement have been redacted
11:46:16     11     as privileged.
11:46:17     12                 THE WITNESS:    Okay.
11:46:18     13                 MR. TOBEROFF:    They made a motion to compel,
11:46:19     14     and a redaction was upheld by the court.          So I need
11:46:22     15     you to pause and particularly when they start asking
11:46:25     16     you questions about what's in the retainer agreement
11:46:27     17     so I can instruct you --
11:46:29     18                 THE WITNESS:    All right.
11:46:30     19                 MR. TOBEROFF:    -- accordingly.
             20     BY MR. PETROCELLI:
11:46:32     21          Q.     After the -- you signed the 33 to 40 percent
11:46:37     22     litigation agreement with Mr. Toberoff, you determined
11:46:41     23     you would still have an arrangement with IP Worldwide
11:46:46     24     for Mr. Emanuel's services, but that was reduced to 5
11:46:50     25     percent; correct?


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11:46:51      1                 MR. TOBEROFF:    Misstates her testimony.
11:46:54      2                 MR. PETROCELLI:     I didn't misstate anything.
11:46:56      3     It's not even a proper objection.
11:46:58      4                 But go ahead.
11:46:59      5                 MR. TOBEROFF:    Misstates the record.
11:47:01      6                 MR. PETROCELLI:     Nor is that.
11:47:04      7                 THE WITNESS:    I'm lost.
11:47:05      8                 MR. TOBEROFF:    Misstates the --
              9     BY MR. PETROCELLI:
11:47:09     10          Q.     When you -- you indicated that there was --
11:47:12     11     at the time of the litigation agreement with
11:47:15     12     Mr. Toberoff which called for a percentage to
11:47:19     13     Mr. Toberoff of 33 to 40 percent, that there was a
11:47:23     14     simultaneous reduction of the IPW commission, IP
11:47:28     15     Worldwide commission, from 10 percent to 5 percent.
11:47:31     16     Do you recall that?
11:47:31     17          A.     Yes.
11:47:32     18          Q.     In fact, you said it was in the same document
11:47:34     19     that that occurred, the litigation document; right?
11:47:37     20          A.     Yes.
11:47:37     21          Q.     Okay.   Why did you retain Mr. Emanuel once
11:47:42     22     you had signed the litigation agreement with
11:47:46     23     Mr. Toberoff?
11:47:46     24                 MR. TOBEROFF:    Assumes facts.     Lacks
11:47:48     25     foundation.


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11:47:49      1                 THE WITNESS:    There was a --
              2     BY MR. PETROCELLI:
11:47:51      3          Q.     Why did you continue the services of
11:47:53      4     Mr. Emanuel at 5 percent after having entered into the
11:47:57      5     litigation agreement with Mr. Toberoff?
11:47:59      6                 MR. TOBEROFF:    Objection.     Assumes facts.
11:48:01      7     Lacks foundation.
              8     BY MR. PETROCELLI:
11:48:01      9          Q.     You may answer.
11:48:03     10          A.     There was a very short period of time.            The
11:48:08     11     litigation had not actually begun yet.          There was a
11:48:13     12     possibility that Mr. Emanuel's services prior to the
11:48:17     13     initiation of the actual litigation might be needed.
11:48:21     14                 MR. PETROCELLI:     Okay.    We have to stop now
11:48:23     15     because he needs to change the tape.
11:48:24     16                 THE WITNESS:    Okay.
11:48:25     17                 MR. PETROCELLI:     So we'll take a short break.
11:48:28     18                 THE WITNESS:    Okay.   Good.
11:48:29     19                 THE VIDEOGRAPHER:     This will mark the end of
             20     Volume 1, tape number one, in the deposition of Laura
11:48:30     21     Siegel.     Going off the record.       The time is 11:48.
11:59:45     22                 (A recess was taken.)
11:59:48     23                 THE VIDEOGRAPHER:     We're back on the record,
11:59:51     24     and this marks the beginning of Volume 1, tape number
11:59:53     25     two, in the deposition of Laura Siegel.          The time is


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11:59:56      1      11:59.     Go ahead.
              2      BY MR. PETROCELLI:
12:00:03      3          Q.     When is the last -- after the end of the
12:00:10      4      IPW -- IP Worldwide agreement in early 2005, as you
12:00:15      5      said, when litigation began, you said it became
12:00:18      6      unnecessary; right?
12:00:19      7          A.     Correct.
12:00:21      8          Q.     Okay.    From that point on until today, have
12:00:25      9      you had any contact at all with Ari Emanuel?
12:00:30     10          A.     No.
12:00:30     11          Q.     Has your mother?        Did your mother, to your
12:00:34     12      knowledge, prior to her death?
12:00:36     13          A.     I don't believe so.
12:00:37     14          Q.     Are you aware of any ongoing role that Ari
12:00:44     15      Emanuel plays --
12:00:46     16          A.     I'm not --
12:00:47     17          Q.     -- with respect to your Superman rights?
12:00:50     18          A.     I'm not aware of that.
12:00:52     19          Q.     Are you aware of any financial arrangement
12:00:57     20      that may exist with respect to the services of Ari
12:01:03     21      Emanuel regarding any transaction for your Superman
12:01:07     22      rights?
12:01:08     23          A.     I'm not aware of anything like that.
12:01:10     24          Q.     So for example, if your Superman rights were
12:01:15     25      sold in a transaction to Paramount Pictures, to your


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12:01:21      1     knowledge, would Ari Emanuel receive a fee of any
12:01:25      2     kind?
12:01:25      3          A.     I don't believe so.
12:01:28      4          Q.     It's your view that you have no current
12:01:30      5     agreements with him at all; is that right?
12:01:33      6          A.     I believe so, yes.
12:01:35      7          Q.     Based on the totality of your financial
12:01:41      8     arrangements, if you entered into a transaction to
12:01:46      9     sell your Superman rights today, what would be the
12:01:55     10     percentage of the gross proceeds that you would be
12:01:58     11     obligated to pay?
12:01:59     12                 MR. TOBEROFF:    Wait.    If you can answer that
12:02:07     13     without revealing the contents of the consent
12:02:11     14     agreement, I would allow you to answer that question
12:02:14     15     if you know the answer.         Otherwise I instruct you not
12:02:16     16     to answer.
12:02:21     17                 THE WITNESS:    You know, I really don't know
12:02:24     18     exactly what it is.
             19     BY MR. PETROCELLI:
12:02:29     20          Q.     Well, you do know; right?      I mean you do know
12:02:32     21     the terms that you have with Mr. Toberoff; correct?
12:02:37     22          A.     Not separately from the instruction that I
12:02:41     23     received.
12:02:41     24          Q.     Well, the instruction had to do with the
12:02:43     25     consent agreement.     The financial terms, at least some


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12:02:48      1     of them, have already been disclosed to us with
12:02:51      2     respect to the litigation retainer agreement.
12:02:53      3          A.     Oh, okay.    Sometimes it gets confusing
12:02:55      4     because we're talking about so many agreements, you
12:02:57      5     know.
12:02:58      6          Q.     Okay.   So let me see if I can break it down
12:03:00      7     for you.
12:03:00      8          A.     All right.
12:03:01      9          Q.     If there were a transaction today for the
12:03:03     10     sale of your Superman rights, you would have to pay
12:03:10     11     Mr. Toberoff 33 to 40 percent based on your agreement;
             12     is that correct?
12:03:14     13          A.     I believe so.
12:03:15     14          Q.     And would that be 33 or 40 percent?         Do you
12:03:21     15     know?     What range applies as of today?
12:03:36     16          A.     I believe because we had an initial trial
12:03:45     17     before -- was that considered a trial with Judge
12:03:50     18     Larson?
12:03:51     19          Q.     Well, Mr. Toberoff has -- would certainly
12:03:55     20     suggest that it was.
12:03:57     21          A.     I mean, you know, what's the definition of a
12:04:00     22     trial, yes.     Okay.
12:04:02     23          Q.     So an argument could be made that the current
12:04:05     24     percentage of 40 percent is owed; correct?          If that
12:04:10     25     were a trial?


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12:04:10      1          A.     If it were a trial, yes.
12:04:12      2          Q.     Okay.    So besides that 40 percent to
12:04:22      3      Mr. Toberoff, is there any other percent that would
12:04:26      4      have to be paid to Mr. Toberoff?
12:04:31      5          A.     No.
12:04:32      6          Q.     Is there any other fee that would have to be
12:04:35      7      paid to Mr. Toberoff?
12:04:38      8          A.     No.    I can't think of any.
12:04:39      9          Q.     Any other type of remuneration of any kind
12:04:42     10      that would be paid to Mr. Toberoff?
12:04:44     11          A.     You know, I think that there were some --
12:04:47     12      some costs that were advanced.
12:04:49     13          Q.     Besides that.
12:04:50     14          A.     Other than costs, no.
12:04:51     15          Q.     Okay.    Is there anything in the 2008 consent
12:04:56     16      agreement that would trigger additional remuneration
12:05:01     17      to Mr. Toberoff based on a transaction of the Siegel
12:05:05     18      rights?
12:05:06     19                 MR. TOBEROFF:          I -- I will allow you to
12:05:09     20      answer as to -- because what is not in the agreement
12:05:13     21      would not be privileged.            Did I say that right?
12:05:18     22                 MR. PETROCELLI:          You did.
12:05:18     23                 MR. TOBEROFF:          Some things not in the
12:05:20     24      agreement we are not asserting privilege.             We are
12:05:24     25      asserting privilege to what is in the agreement.                  So


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12:05:25      1     to that extent, you can answer the question.
12:05:27      2                 THE WITNESS:    Well, there's no -- I can never
12:05:28      3     say the word.       What is it?     Remuneration?   There's
12:05:33      4     no -- you know what I'm talking about.          There's no
12:05:35      5     additional percentage.
              6     BY MR. PETROCELLI:
12:05:38      7          Q.     To Mr. Toberoff.
12:05:39      8          A.     To Mr. Toberoff.
12:05:40      9          Q.     As a result of anything in the consent
12:05:42     10     agreement.
12:05:43     11          A.     Correct.
12:05:43     12          Q.     Correct?
12:05:45     13          A.     Correct.
12:05:46     14          Q.     Okay.    And to your knowledge, would there be
12:05:50     15     any percentage -- in addition to the 40 to
12:05:56     16     Mr. Toberoff, would there be any percentage or any fee
12:05:59     17     payable to Ari Emanuel or any of his companies?
12:06:05     18          A.     No.
12:06:06     19          Q.     So to your knowledge, he would not
12:06:08     20     participate at all in any current transaction.
12:06:12     21                 MR. TOBEROFF:      Asked and answered.
             22     BY MR. PETROCELLI:
12:06:13     23          Q.     Is that correct?
12:06:13     24          A.     Correct.
12:06:18     25          Q.     Out of the 60 percent or other proceeds that


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12:06:22      1     you would receive, putting aside Mr. Toberoff's 40
12:06:27      2     percent, would you have to share any of those proceeds
12:06:31      3     with anyone else as a result of any contractual
12:06:34      4     arrangements that you currently have?
12:06:36      5                 MR. TOBEROFF:   I instruct you not to answer
12:06:38      6     to the extent your answer would necessarily reveal the
12:06:45      7     substance of the consent agreement held to be
12:06:48      8     privileged.
12:06:50      9                 MR. PETROCELLI:     May I just take one shot at
12:06:51     10     you on this, Marc, because what the court held was
12:06:56     11     that a particular document, at least on that record,
12:07:03     12     was not discoverable at this time.        But the court did
12:07:07     13     not hold that any and all financial arrangements or
12:07:11     14     contractual arrangements between the parties or
12:07:18     15     between witnesses, and these parties are also
12:07:22     16     witnesses, are barred from discovery.        It goes
12:07:26     17     directly, among other things, to motive and --
12:07:31     18                 MR. TOBEROFF:   I think --
12:07:32     19                 MR. PETROCELLI:     -- a host of other
12:07:33     20     credibility issues.
12:07:34     21                 MR. TOBEROFF:   I think I stated my
12:07:36     22     instruction, and if I wasn't clear -- I thought it was
12:07:38     23     clear.
12:07:39     24                 MR. PETROCELLI:     The existence of those
12:07:41     25     arrangements are relevant and would be discoverable in


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12:07:45      1     any case.
12:07:47      2                 MR. TOBEROFF:   I said she can't disclose to
12:07:49      3     the extent there is another agreement out there in
12:07:54      4     which she's sharing her proceeds.         Other than anything
12:07:59      5     that speaks to that in the consent agreement she can
12:08:02      6     testify.
12:08:02      7                 MR. PETROCELLI:     I'm suggesting to you that
12:08:03      8     the court did not issue an order categorically ruling
12:08:15      9     that we are unable to discover financial or
12:08:19     10     contractual arrangements between the parties even if
12:08:25     11     reflected in the consent agreement.
12:08:28     12                 MR. TOBEROFF:   I -- the court doesn't have to
12:08:29     13     use those exact words.
12:08:31     14                 MR. PETROCELLI:     I didn't say it had to use
12:08:32     15     those exact words, but that's the essence of your
12:08:34     16     position.
12:08:35     17                 MR. TOBEROFF:   I disagree.      There are
12:08:37     18     certain -- the court held that the contents of that
12:08:40     19     document are privileged, and that therefore, if your
12:08:44     20     question by necessity requires her to divulge -- or it
12:08:48     21     may or may not, but to the extent it requires her to
12:08:52     22     divulge contents of the consent agreement, I'm
12:08:55     23     instructing her not to answer.
12:09:04     24                 MR. PETROCELLI:     Okay.   Well, to the
12:09:04     25     extent --


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12:09:04      1                 MR. TOBEROFF:   Well, if she answers in the
12:09:06      2     negative where she's not implicating any of the
12:09:10      3     contents of the consent agreement, I'm -- there's no
12:09:13      4     intention, to the extent I let her answer questions,
12:09:15      5     to waive the privilege as to the consent agreement.
12:09:17      6                 MR. PETROCELLI:     I understand that's your
12:09:19      7     position, but, you know, we will obviously have to
12:09:23      8     litigate this issue before the court.
12:09:30      9                 MR. TOBEROFF:   In other words, I don't
12:09:31     10     believe that you can, if there's a ruling that the
12:09:33     11     document is privileged, you can get around the ruling
12:09:36     12     by asking questions that unearth the contents of the
12:09:40     13     privileged documents.
12:09:41     14                 MR. PETROCELLI:     I think you've
12:09:43     15     misapprehended the court's ruling, and the record now
12:09:46     16     is different in any event.        But I think we've
12:09:50     17     discussed it sufficient to persuade me you're not
12:09:54     18     going to change your mind at this deposition.             So we
12:09:56     19     will just proceed.
12:10:02     20          Q.     Are you aware of any other piece of paper of
12:10:10     21     any kind other than the consent agreement document
12:10:18     22     that expresses or reflects any arrangement between the
12:10:25     23     Siegels and the Shusters regarding the sharing of
12:10:29     24     proceeds?
12:10:30     25                 MR. TOBEROFF:   I instruct you not to answer


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12:10:33      1     to the extent that question implies the contents of
12:10:36      2     the consent agreement, but you can -- you can answer
12:10:39      3     whether there's any other document other than --
12:10:42      4     there's a document -- excluding the consent agreement,
12:10:45      5     is there another document that provides for you to
12:10:48      6     share proceeds, you can answer that question.
              7     BY MR. PETROCELLI:
12:10:50      8          Q.     Or that just discusses it or references or
12:10:53      9     mentions.     It's not that it has to be a contract in
12:10:55     10     and of itself.      Any piece of paper.
12:10:59     11          A.     I can't think of any.
12:11:01     12          Q.     Did you -- did you engage in any negotiations
12:11:09     13     with anyone regarding the terms of the consent
12:11:16     14     agreement?
12:11:16     15          A.     Could you -- could you explain that a little
12:11:20     16     bit better?     I don't quite understand what you mean.
12:11:23     17          Q.     Yeah.
12:11:23     18                 Who created the terms in the consent
12:11:28     19     document?
12:11:29     20                 MR. TOBEROFF:   Vague and ambiguous as to
12:11:31     21     "created."
             22     BY MR. PETROCELLI:
12:11:32     23          Q.     Who came up with them?
12:11:35     24          A.     You mean who -- who wrote the document?
12:11:39     25          Q.     Not who was the scrivener who put the words


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12:11:42      1     on the paper, but who conceived and who came up with
12:11:47      2     the terms that are subsequently put down in the paper?
12:11:53      3          A.     I think it evolved out of conversations that
12:11:58      4     my mother and I had with Mr. Toberoff and perhaps
12:12:04      5     conversations that the Shusters had with Mr. Toberoff.
12:12:11      6          Q.     Okay.   And do you recall that you wanted to
12:12:18      7     have particular provisions as part of the arrangement
12:12:23      8     that the Shusters had a different view about and that
12:12:28      9     there was kind of a back-and-forth exchange?
12:12:32     10          A.     I -- the way I recall it, there was --
12:12:34     11                 MR. TOBEROFF:   Wait.    Wait.    Wait.    Wait.
12:12:35     12     I'm not going to allow questions as to -- the consent
12:12:40     13     agreement is held to be privileged.          There's a joint
12:12:42     14     interest privilege between my representation of the
12:12:45     15     Siegels and my representation of the Shusters, the
12:12:50     16     Shusters we'll call them, and I'm not going to allow
12:12:53     17     questions as to characterizing conversations that are
12:13:03     18     privileged.
12:13:03     19                 MR. PETROCELLI:     Are you instructing not to
12:13:05     20     answer on that question?
12:13:06     21                 MR. TOBEROFF:   Yes.
             22     BY MR. PETROCELLI:
12:13:15     23          Q.     Did you agree to share in any of your
12:13:21     24     proceeds for this -- the disposition or sale or
12:13:24     25     settlement of the Siegel rights with the Shusters?


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12:13:31      1                 MR. TOBEROFF:    I instruct you not to answer
12:13:32      2     that question to the extent that the question
12:13:35      3     implicates the contents of the consent agreement.
              4     BY MR. PETROCELLI:
12:13:38      5          Q.     Right now do you have an agreement in place
12:13:41      6     to share with the Shusters with respect to any sale or
12:13:45      7     disposition or settlement regarding the Siegel rights?
12:13:50      8                 MR. TOBEROFF:    Same -- asked and answered.
12:13:51      9     Same instruction based on attorney-client privilege,
12:13:55     10     joint interest.
12:14:07     11                 MR. PETROCELLI:     You know what?    This is
12:14:09     12     probably a good time to break.
12:14:10     13                 THE WITNESS:    Okay.
12:14:11     14                 MR. PETROCELLI:     We'll make it like 30
12:14:13     15     minutes or 45 minutes.
12:14:15     16                 MR. TOBEROFF:    Same objection.     Same
12:14:17     17     instruction.     Just kidding.
12:14:18     18                 MR. PETROCELLI:     You're on a roll, Marc.          By
12:14:21     19     the way, that's not much different than your other
12:14:23     20     instructions.
12:14:24     21                 THE VIDEOGRAPHER:     Off the record.      The time
12:14:25     22     is 12:14.
12:14:27     23                 (Lunch recess taken at 12:14 p.m.)
             24

             25



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              1           LOS ANGELES, CALIFORNIA; FRIDAY, JULY 22, 2011
              2                                1:29 P.M.
              3

12:15:00      4                 (Whereupon, Ms. Seto was not present.)
13:29:24      5                  THE VIDEOGRAPHER:     We are back on the record
13:29:26      6     at 1:29.
13:29:27      7                           EXAMINATION (Resumed)
              8     BY MR. PETROCELLI:
13:29:27      9          Q.      Ms. Siegel, we took a longer break than I had
13:29:32     10     expected only because I understand and was told that
13:29:34     11     you needed to rest, and again, that's fine, and if you
13:29:39     12     continue to need to rest, just let us know.            All
13:29:41     13     right?
13:29:42     14          A.      Thank you.
13:29:43     15          Q.      And we did find an office here for you that
13:29:48     16     had a couch to accommodate you.
13:29:50     17          A.      Good.
13:29:51     18          Q.      Okay.   Sorry we didn't have room service, but
13:29:55     19     maybe -- maybe next time.
13:29:56     20          A.      Not necessary.
13:29:58     21          Q.      Okay.   So what I would like to do is I want
13:30:06     22     to go back to a point in time when for point of
13:30:14     23     reference you had been working with the lawyers at
13:30:23     24     Gang Tyre in conducting negotiations with Warner Bros.
13:30:26     25     and DC Comics, and for point of reference, let me show


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13:30:32      1      you Exhibit 48, which is a letter dated October 19,
13:30:40      2      2001, from Kevin Marks to John Schulman.
              3                  (Whereupon, Plaintiff's Exhibit 48
13:30:47      4                 was placed before the witness.)
              5      BY MR. PETROCELLI:
13:30:48      6          Q.      And you have already testified about this
13:30:50      7      letter, I believe, and I'm not going to go into it,
13:30:54      8      but I just want to orient you regarding the time
13:30:59      9      period.
13:31:00     10          A.      Okay.
13:31:00     11          Q.      So you recall that in or about October of
13:31:07     12      2001 this correspondence occurred regarding your
13:31:16     13      negotiations with Superman -- with Warner Bros.
13:31:20     14      regarding Superman and receiving a copy of your
13:31:24     15      lawyer's letter to Mr. Schulman that's been marked as
13:31:27     16      Exhibit 48; right?
13:31:28     17          A.      Yes.
13:31:30     18          Q.      Indicating that your family had accepted DC
13:31:35     19      Comics' offer based on the terms set forth in the
13:31:37     20      document; correct?
13:31:39     21          A.      Yeah, it was a provisional acceptance.
13:31:42     22          Q.      Okay.   And I don't want to go through that.
13:31:45     23      The word "provisional" isn't in there, but you
13:31:49     24      testified to that in your previous deposition.
13:31:51     25                  Now, as of this point in time, October 19,


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13:31:55      1     2001, is it fair to say that through different lawyers
13:32:00      2     you had been in discussions and negotiations with
13:32:04      3     Warner Bros. and DC Comics for a number of years?
13:32:08      4     Correct?
13:32:08      5          A.     A long time.
13:32:11      6          Q.     Going back to when -- even before the notices
13:32:14      7     of termination were served in 1997; right?
13:32:18      8          A.     No.    There were no negotiations before 1997.
13:32:21      9          Q.     But shortly -- but upon issuance of the
13:32:24     10     notice of termination, is that when the negotiations
13:32:27     11     began initially with Arthur Levine?          Correct?
13:32:30     12          A.     Yes, sometime during 1997.
13:32:33     13          Q.     Okay.    And they had been going on all the way
13:32:36     14     through October 19, 2001; correct?
13:32:39     15          A.     Yes.
13:32:40     16          Q.     Okay.    And they actually continued after
13:32:44     17     October 19, 2001.       This is not the last document in
13:32:47     18     the exchange; correct?
13:32:49     19          A.     Correct.
13:32:51     20          Q.     And you formally -- withdrawn.
13:32:55     21                 You notified DC Comics at some point in time
13:32:59     22     that you were cutting off any further negotiations;
13:33:03     23     correct?
13:33:03     24          A.     Correct.
13:33:04     25          Q.     And you did so in writing; correct?


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13:33:05      1          A.      Correct.
13:33:07      2          Q.      And you notified DC Comics for the first time
13:33:10      3     that you were cutting off negotiations in a document
13:33:13      4     sent to them in October, 2001; is that correct?
13:33:30      5          A.      No.
13:33:30      6          Q.      Excuse me.    Let me withdraw the question.
13:33:33      7                  First of all, let me find the document so I'm
13:33:35      8     not guessing on the dates.            I'm a year off.
13:33:54      9                  The first time that you notified DC Comics or
13:34:00     10     Warner Bros. that you were cutting off negotiations
13:34:04     11     towards an agreement with him to sell your Superman
13:34:07     12     rights was when you sent your letter dated September
13:34:11     13     21, 2002, that you signed together with your mother;
13:34:15     14     correct?
13:34:16     15          A.      Yes, that's correct.
13:34:17     16          Q.      Let me show you a copy of that letter.             That
13:34:21     17     is Exhibit 56.
             18                 (Whereupon, Plaintiff's Exhibit 56
13:34:45     19                 was marked for identification.)
13:34:46     20                  MR. TOBEROFF:      Did you say -- did you date
13:34:47     21     this letter in the last question?
13:34:50     22                  MR. PETROCELLI:        Yes, I'll follow up on it.
13:34:52     23     The date was in the question, but it's also in the
13:34:56     24     exhibit number.        We have an exhibit number.        We have a
13:35:02     25     specific document, and the document is dated September


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13:35:04      1     21, 2002.     So let me just --
13:35:07      2                 MR. TOBEROFF:      I thought you had said 2001.
13:35:10      3     Maybe I heard it wrong.
13:35:13      4                 MR. PETROCELLI:        Okay.   Let's start all over
              5     again.
13:35:13      6                 What's the exhibit number?
13:35:15      7                 MR. TOKORO:   56.
              8     BY MR. PETROCELLI:
13:35:15      9          Q.     You have Exhibit 56 in front of you, which is
13:35:17     10     the letter that you and your mother sent to DC Comics
13:35:21     11     dated September 21, 2002, when you for the first time
13:35:25     12     cut off negotiations with them; correct?
13:35:27     13          A.     Yes.
13:35:28     14          Q.     Now, when -- did you write this letter
13:35:33     15     yourself?
13:35:34     16          A.     No.
13:35:35     17          Q.     Who wrote it?
13:35:36     18          A.     My mother with some input from me.
13:35:40     19          Q.     Well, your mother didn't type.
13:35:42     20          A.     Well, she wrote it.        She wrote it out in
13:35:46     21     longhand.
13:35:46     22          Q.     How do you know?
13:35:47     23          A.     How do I know?
13:35:48     24          Q.     Yeah.
13:35:50     25          A.     She gave it to me.


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13:35:50      1          Q.     Where is the -- you have the paper that she
13:35:55      2     gave you?
13:35:56      3          A.     I don't know.
13:35:57      4          Q.     What did she write it on?
13:36:04      5          A.     A piece of paper this big.       Sometimes she
13:36:07      6     would write -- I don't remember this specific one.
13:36:10      7     Sometimes she would write on a yellow pad.           Sometimes
13:36:13      8     she would write on a white pad.
13:36:15      9          Q.     Did you type it?
13:36:17     10          A.     Yes.
13:36:17     11          Q.     Where did you type it?
13:36:19     12          A.     I typed it on my computer.
13:36:21     13          Q.     Your computer at your home?
13:36:23     14          A.     Yes.
13:36:24     15          Q.     That was which computer?     The PC that you
13:36:30     16     said you had?
13:36:30     17          A.     Yes.
13:36:34     18          Q.     Did you show this letter to anybody after
13:36:38     19     typing it before it went out?
13:36:40     20          A.     No.    Just my mother and I saw it.
13:36:42     21          Q.     Well, I'm curious about that.       You had
13:36:46     22     Mr. Levine.       You had Mr. -- what's George's last name?
13:36:52     23          A.     Zadrozny.
13:36:53     24          Q.     Zadrozny.
13:36:54     25          A.     You pronounced it correctly.


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13:36:56      1          Q.     You had Mr. Zadrozny.    You didn't have him
13:36:59      2     take a look at this before it went out?
13:37:01      3          A.     I don't recall us having them look at it.
13:37:04      4          Q.     And you had certainly been in touch with
13:37:06      5     Mr. Toberoff by this time, September 21, 2002.
13:37:14      6          A.     We had only learned of his existence at a
13:37:23      7     point shortly before this, but he -- you know, he
13:37:29      8     didn't see this, if that's what you're asking me.
13:37:33      9          Q.     How do you know he didn't see it?       You didn't
13:37:35     10     show it to him.     Is that what you're saying?
13:37:37     11          A.     Correct.
13:37:44     12          Q.     You said it was shortly before this letter,
13:37:48     13     Exhibit 56, which is dated September 21, 2002, that
13:37:52     14     you first interacted with Mr. Toberoff?
13:37:57     15                 MR. TOBEROFF:    Misstates her testimony.
             16     BY MR. PETROCELLI:
13:37:59     17          Q.     That you first interacted with Mr. Toberoff?
13:38:02     18                 MR. TOBEROFF:    Misstates the testimony.
13:38:03     19                 THE WITNESS:    No, that we were first informed
13:38:06     20     of him.
             21     BY MR. PETROCELLI:
13:38:08     22          Q.     Is it your testimony that you never spoke to
13:38:13     23     Mr. Toberoff prior to September 21, 2002?
13:38:17     24          A.     I don't recall speaking with him before then.
13:38:19     25          Q.     Can you say so with certainty?


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13:38:23      1          A.     I can't say so with absolute certainty.
13:38:27      2          Q.     Okay.    And do you have any way of refreshing
13:38:33      3      your recollection as to the exact date that you first
13:38:36      4      spoke to Mr. Toberoff?
13:38:41      5          A.     Well, my mother first spoke to Mr. Toberoff,
13:38:46      6      so --
13:38:46      7          Q.     Before you did?
13:38:47      8          A.     Yes.
13:38:50      9          Q.     Do you know with certainty the date your
13:38:53     10      mother first spoke to Mr. Toberoff?
13:38:54     11          A.     No, I don't.
13:38:56     12          Q.     Do you know whether it was -- well, it was
13:39:02     13      certainly before September 21, 2002; correct?
13:39:05     14          A.     No.    I said I don't know when it was.
13:39:08     15          Q.     Nor do you know when your mother first spoke
13:39:12     16      with Mr. Toberoff; is that correct?
13:39:13     17          A.     Yes.    I don't know when she spoke to him.
13:39:16     18          Q.     Okay.    And you have no way of dating when
13:39:19     19      your mother first spoke with Mr. Toberoff just like
13:39:21     20      you don't have any way of dating when you did;
13:39:23     21      correct?
13:39:23     22          A.     Yes.
13:39:24     23          Q.     Okay.    Did you keep a calendar of
13:39:29     24      appointments, you know, like a daily reminder book or
13:39:32     25      anything else in which you made appointments?


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13:39:34      1          A.     No, not really.
13:39:35      2          Q.     Or did you do so on your computer?
13:39:39      3          A.     No.
13:39:39      4          Q.     Did your mother?
13:39:40      5          A.     No.
13:39:41      6          Q.     Not on the computer, but let's say some kind
13:39:44      7     of appointment book?       Did she keep anything like that?
13:39:46      8          A.     Not that I'm aware of.
13:39:59      9          Q.     You had -- by the way, when your -- how did
13:40:05     10     you find out about your mother's first contact with
13:40:11     11     Mr. Toberoff?
13:40:11     12          A.     Well, she told me.
13:40:13     13          Q.     Did she tell you before she spoke with him or
13:40:16     14     after she spoke with him?
13:40:18     15          A.     No.    She was -- she -- we had been looking
13:40:23     16     for attorneys, and we had been talking to, you know,
13:40:27     17     different people.       I had been doing research to try
13:40:29     18     and -- you know, like the Gerry Spence research that I
13:40:33     19     was doing.     We were -- but it wasn't an easy process
13:40:36     20     trying to find, you know, an attorney that would be
13:40:40     21     willing to on a contingency fee -- excuse me -- on a
13:40:46     22     contingency fee that did not have a conflict with
13:40:52     23     Warner Bros. to, you know, to find additional
13:40:57     24     representation.
13:40:58     25          Q.     Did you talk to Gerry Spence or your mother


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13:41:01      1     talk to Gerry Spence or communicate with Gerry Spence
13:41:03      2     in some way in 2002?
13:41:08      3          A.     Yes.
13:41:08      4          Q.     Is that the only time you communicated with
13:41:10      5     him?
13:41:10      6          A.     Yes, because he appeared to have a conflict
13:41:12      7     of interest.
13:41:13      8          Q.     And that was the end of it?
13:41:15      9          A.     Yes.
13:41:16     10          Q.     Okay.    The -- did you -- your mother found
13:41:35     11     out about Mr. Toberoff from whom?
13:41:36     12          A.     From Jean Peavy.
13:41:38     13          Q.     And then she informed you, your mother did.
13:41:44     14          A.     Yes.
13:41:44     15          Q.     You were not on the call with --
13:41:46     16          A.     No.
13:41:46     17          Q.     Okay.    And do you know from the time she told
13:41:51     18     you about Mr. Toberoff how long it was thereafter that
13:41:59     19     she met with Mr. Toberoff or spoke with him, "she"
13:42:02     20     being your mother?
13:42:03     21          A.     I don't really know.
13:42:04     22          Q.     In other words, did your mother come to you
13:42:07     23     and say, "Hey, there's some person named Marc Toberoff
13:42:10     24     that Jean Peavy told me about.         I would like you to do
13:42:12     25     some research into him or check into him"?          Did she


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13:42:16      1     have that kind of conversation with you?
13:42:18      2          A.     She said, "It sounds interesting.       You know,
13:42:21      3     we should probably look into this some more."
13:42:24      4          Q.     And what did you do to look into it?
13:42:32      5          A.     I'm trying to remember.    I think -- I think I
13:42:37      6     searched his name on the Internet, you know, to see if
13:42:41      7     there was any information on him.
13:42:43      8          Q.     What did you find out from the Internet
13:42:47      9     search?
13:42:47     10          A.     I -- it's hard to remember.      It's a long time
13:42:50     11     ago, but I think that there was like a press article
13:42:55     12     or something about his involvement in some
13:42:59     13     intellectual property rights cases in which he was
13:43:02     14     protecting the interests of authors and creators.
13:43:06     15          Q.     Did you print that material?
13:43:08     16          A.     I did at the time, yeah.
13:43:09     17          Q.     And did you keep a copy of it?
13:43:12     18          A.     I did at that time, yeah, and I shared it
13:43:16     19     with my mother.
13:43:18     20          Q.     Do you still have it in your papers at home?
13:43:20     21          A.     I doubt it --
13:43:22     22          Q.     You kept --
13:43:23     23          A.     -- because I've been --
13:43:24     24          Q.     -- the Gerry Spence material, but you didn't
13:43:27     25     keep the Marc Toberoff material?


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13:43:27      1          A.     I didn't keep the Gerry Spence material.            My
13:43:31      2     mom did.     It was among her things.
13:43:35      3          Q.     But you gave it to her because you downloaded
13:43:35      4     it from the computer; right?
13:43:37      5          A.     Yes, yes.
13:43:37      6          Q.     And did you find the materials that you
13:43:38      7     downloaded about Mr. Toberoff when you went through
13:43:42      8     your mom's files?
13:43:44      9          A.     I have not found it.
13:43:46     10          Q.     Have you gone through everything yet?
13:43:49     11          A.     No.
13:43:49     12          Q.     Okay.    You're still working through it?
13:43:50     13          A.     Yes.
13:43:54     14          Q.     Other than the Internet search, did you do
13:43:57     15     anything else to research Mr. Toberoff?
13:44:00     16          A.     Well, my mother did.
13:44:02     17          Q.     How do you know that?
13:44:03     18          A.     She told me.
13:44:05     19          Q.     And what did she tell you?
13:44:06     20          A.     She told me that she -- and this was at the
13:44:11     21     point when she called Mr. Toberoff and said that she
13:44:15     22     had gotten his name from Jean Peavy and she was
13:44:19     23     interested in knowing, you know, who he had
13:44:22     24     represented and, you know, what his attitude was
13:44:26     25     towards -- towards intellectual property.          So they had


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13:44:30      1     a conversation.
13:44:30      2          Q.     You're now reporting what your mother told
13:44:33      3     you about her first conversation with Mr. Toberoff;
13:44:35      4     right?
13:44:35      5          A.     Yes.
13:44:36      6          Q.     But before that first conversation, before
13:44:39      7     Mr. Toberoff -- before she called Mr. Toberoff --
13:44:44      8     well, let me ask you that question.          We lawyers
13:44:48      9     shouldn't assume anything, so forgive me for having to
13:44:51     10     ask so many questions.
13:44:53     11                 Did she call Mr. Toberoff first, or did he
13:44:57     12     call her based on, you know, some reference that he
13:45:01     13     had been given?
13:45:02     14          A.     No.    Jean Peavy gave his phone number to my
13:45:04     15     mom, and my mom called him.
13:45:07     16          Q.     Okay.    And before your mom called
13:45:10     17     Mr. Toberoff, you had already given your mom the
13:45:14     18     downloaded commuter material about him?
13:45:16     19          A.     No.    No.
13:45:17     20          Q.     No.    So the sequence of events was Jean Peavy
13:45:21     21     told your mother about Mr. Toberoff, and without
13:45:23     22     consulting you, your mother then called Mr. Toberoff
13:45:27     23     and then reported the conversation to you?
13:45:29     24          A.     No.    I think -- well, you know, I'm trying to
13:45:32     25     remember it.       I think -- I think she had the


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13:45:36      1     conversation with Jean.         She told me about it, and
13:45:40      2     then she said, you know, "We should be looking" -- "We
13:45:44      3     should look into this," and probably around that time
13:45:48      4     I started looking up things on the Internet, and she
13:45:51      5     placed a call to him because she had gotten his phone
13:45:54      6     number from Jean.
13:45:56      7          Q.     And you don't know whether you had given her
13:45:59      8     the Internet materials before or after her phone call
13:46:03      9     with Mr. Toberoff?
13:46:05     10          A.     No, I don't remember.
13:46:06     11          Q.     Okay.   And so after the first phone call that
13:46:10     12     she reported to you --
13:46:10     13          A.     Um-hum.
13:46:11     14          Q.     -- what was the next thing that happened?
13:46:13     15          A.     Well, she had asked for him to --
13:46:15     16                 MR. TOBEROFF:    Okay.    I just want to say
13:46:17     17     that --
13:46:17     18                 THE WITNESS:    Yeah.
13:46:18     19                 MR. TOBEROFF:    -- when it comes to general
13:46:22     20     subject matter of a conversation in these
13:46:25     21     conversations, you can disclose it, but I don't want
13:46:28     22     you to disclose what your mother said I said to her or
13:46:31     23     she said to me --
13:46:33     24                 THE WITNESS:    Okay.
13:46:34     25                 MR. TOBEROFF:    -- because that would be


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13:46:35      1     privileged.
13:46:36      2                 MR. PETROCELLI:        Well, I disagree.
13:46:38      3                 MR. TOBEROFF:      Even if she had not yet
13:46:38      4     retained me.
13:46:39      5                 MR. PETROCELLI:        But we're going to have to
13:46:40      6     make a record here.       So if your lawyer instructs you
13:46:45      7     not to answer, that's one thing, but I don't want you
13:46:47      8     to answer my questions in a misleading way.                  So I'll
13:46:50      9     just ask the questions, and either you'll answer or he
13:46:53     10     will instruct you not to answer.
13:46:54     11                 THE WITNESS:    Um-hum.        Um-hum.
13:46:56     12                 MR. PETROCELLI:        Okay.
13:46:56     13          Q.     So I think my question was after this initial
13:46:59     14     phone call and you downloaded the material on
13:47:08     15     Mr. Toberoff, what was the next step in terms of any
13:47:11     16     further contacts with Mr. Toberoff?
13:47:13     17          A.     Well, my mother wanted references, you know,
13:47:17     18     of other people that he had represented so that she
13:47:21     19     could, you know, interview them and get a feel for
13:47:25     20     what they thought of him and his work.
13:47:30     21          Q.     Your mother wanted references?
13:47:31     22          A.     Yes.
13:47:32     23          Q.     And then she asked you to go and get them?
13:47:36     24          A.     No.    She obtained them.
13:47:38     25          Q.     How do you know that?


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13:47:41      1                 By the way, I have to keep asking you that
13:47:43      2     because your mom is not here to testify.
13:47:45      3          A.     I understand.
13:47:46      4          Q.     Okay.
13:47:47      5          A.     No.    She gave me a copy of the printout of
13:47:50      6     the names and phone numbers of the people.
13:47:53      7          Q.     Do you still have a copy of the printout?
13:47:55      8          A.     I don't know.
13:47:57      9          Q.     Okay.    When you say a printout, what do you
13:48:02     10     mean by that?
13:48:03     11          A.     Well, I remember it was typed, but, you know,
13:48:07     12     I don't -- I don't know whether it came by -- by
13:48:11     13     e-mail or whether it was mailed to her.           That part I
13:48:14     14     don't remember.
13:48:14     15          Q.     How would it have come -- it wouldn't have
13:48:17     16     come from your mother to you by e-mail; right?
13:48:20     17          A.     No, that's true.        That's true, because she
13:48:22     18     didn't get it by e-mail.           So she must have -- it could
13:48:26     19     have been faxed to her because she had a fax machine,
13:48:29     20     so it was either faxed to her or it was mailed to her.
13:48:32     21          Q.     And do you know who gave it to her, this
13:48:35     22     list?
13:48:35     23          A.     Mr. Toberoff.
13:48:37     24          Q.     I see.    Do you know any of the names on the
13:48:44     25     list?


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13:48:44      1          A.     Oh, I can't remember exactly.
13:48:49      2          Q.     Did you contact any of the people?
13:48:51      3          A.     My mother did.         My mother -- I was very
13:48:55      4     involved in something at that time, so --
13:48:57      5          Q.     That was your divorce?
13:49:00      6          A.     It -- yeah.
13:49:00      7          Q.     Your divorce was around 2000; right?
13:49:03      8          A.     No.    We separated in 2000, and I was heavily
13:49:05      9     involved in divorce matters until -- it was either --
13:49:08     10     I think it was 2005 when things finally wrapped up.
13:49:13     11          Q.     When you said you were involved with
13:49:16     12     something in 2002 around this time period --
13:49:19     13          A.     Um-hum
13:49:19     14          Q.     -- that we're discussing, what were you
13:49:22     15     involved in?
13:49:22     16          A.     It could very well have been my divorce, or
13:49:25     17     it could have been illness on my part because my
13:49:29     18     multiple sclerosis and other illnesses that I have.
13:49:32     19          Q.     When --
13:49:32     20          A.     But she took the initiative to make the phone
13:49:35     21     calls, and this is what I'm saying.
13:49:37     22          Q.     Okay.    And she contacted the references?             You
13:49:40     23     didn't contact any of them; is that right?
13:49:44     24          A.     I think I did contact one of them.
13:49:46     25          Q.     Who did you contact?


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13:49:54      1          A.     I don't know.    Maybe if I have some more time
13:49:56      2     to think about it, maybe it will come back to me.
13:49:58      3          Q.     You'll --
13:49:59      4          A.     I'll think about it.
13:50:01      5          Q.     You'll let me know.    Okay?
13:50:02      6          A.     Yeah.   Yeah.   I mean I'll try and remember.
13:50:12      7          Q.     Do you remember any of the names your mom
13:50:19      8     contacted?
13:50:21      9          A.     Right here today at this minute, no.          I have
13:50:28     10     a mental picture of the page and with things typed on
13:50:32     11     it, but it's not clear enough for me to focus on, you
13:50:35     12     know, the names that were on it.
13:50:37     13          Q.     And you think it was a page that came from
13:50:40     14     Mr. Toberoff's office?
13:50:40     15          A.     Yes.
13:50:42     16          Q.     And it had several names on it?
13:50:45     17          A.     I -- I think it had at least three.         There
13:50:48     18     may have been more.
13:51:00     19          Q.     When is the last time you saw that piece of
13:51:03     20     paper?
13:51:03     21          A.     It's been a number of years.
13:51:10     22          Q.     After you and/or your mom made the phone
13:51:16     23     calls, did you and she discuss what you had learned?
13:51:19     24          A.     Yes.
13:51:20     25          Q.     Okay.   And you received, I assume, favorable


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13:51:25      1     reports?
13:51:25      2          A.     Yes.    She -- very favorable.
13:51:29      3          Q.     What was the next thing that then happened in
13:51:32      4     terms of contacting Mr. Toberoff?
13:51:39      5          A.     I think -- I think my mother said, you know,
13:51:46      6     "Maybe we should -- we should talk to him in person
13:51:49      7     and, you know, see if we like him."
13:51:54      8          Q.     And did that happen?
13:51:55      9          A.     Yes.
13:51:56     10          Q.     Who met with him?
13:51:58     11          A.     My mother and I.
13:52:02     12          Q.     And anyone else present?
13:52:04     13          A.     No.
13:52:04     14          Q.     Just you, your mother, and Mr. Toberoff?
13:52:07     15          A.     That's right.
13:52:07     16          Q.     And where was that meeting?
13:52:09     17          A.     It was in Beverly Hills.
13:52:12     18          Q.     At his --
13:52:12     19          A.     An office in Beverly Hills.
13:52:14     20          Q.     His office?
13:52:17     21          A.     That first meeting I think we went to a
13:52:20     22     restaurant.       But -- no, no, no.   I think we met at the
13:52:24     23     Endeavor offices in a conference room.
13:52:28     24          Q.     Was Mr. Emanuel present at all?
13:52:31     25          A.     No, he was not.


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13:52:31      1           Q.    Did you -- when you were at the offices of
13:52:37      2      Endeavor meeting Mr. Toberoff, that was your first
13:52:39      3      time meeting with him; right?
13:52:40      4           A.    That's right.
13:52:41      5           Q.    And you had heard of Mr. Emanuel by then;
13:52:55      6      correct?
13:52:55      7           A.    No, we had not.
13:52:57      8           Q.    Did you ask why --
13:52:58      9           A.    Oh, wait, wait, wait.       I'm sorry.        Yes, we
13:53:00     10      did.
13:53:00     11           Q.    Yeah, you were meeting in his firm; right?
13:53:02     12           A.    Yeah, but it wasn't -- he wasn't a part of
13:53:05     13      the discussion.
13:53:08     14           Q.    Did you ask why you were meeting in his
13:53:11     15      office?
13:53:11     16           A.    I think --
13:53:14     17                 MR. TOBEROFF:       Vague and ambiguous.
13:53:16     18                 THE WITNESS:        We weren't meeting in his
13:53:18     19      office.    We were meeting in a conference room, and,
13:53:22     20      you know, there was no meeting with Mr. Emanuel.
             21      BY MR. PETROCELLI:
13:53:28     22           Q.    You said you had heard of him by then.
13:53:31     23           A.    I'm sorry.    Had heard of Mr. --
13:53:32     24           Q.    Thank you.    You said you had heard of
13:53:35     25      Mr. Emanuel --


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13:53:35      1          A.     Okay.
13:53:35      2          Q.     -- as of the date that you were meeting with
13:53:38      3     Mr. Toberoff and your mother in the conference room at
13:53:41      4     Endeavor.
13:53:41      5          A.     Yes.
13:53:42      6          Q.     Okay.   That was on -- Endeavor's offices are
13:53:47      7     in Beverly Hills I think on Camden; is that correct?
13:53:51      8          A.     Probably.
13:53:51      9          Q.     Okay.   And how had you heard of Mr. Emanuel?
13:53:57     10          A.     Well, he was in Variety and in The Hollywood
13:54:01     11     Reporter, and, you know, he had a, you know, a high
13:54:06     12     profile as, you know, as an agent.
13:54:09     13          Q.     But you had also heard of him in connection
13:54:13     14     with Mr. Toberoff; correct?       By the time you were
13:54:15     15     meeting with Mr. Toberoff in the Endeavor office?
13:54:18     16          A.     Yes.
13:54:19     17          Q.     Okay.   And is that something your mother
13:54:22     18     learned in her conversations with Mr. Toberoff that
13:54:27     19     she reported to you?
13:54:30     20          A.     She may have mentioned that.
13:54:31     21          Q.     Did you uncover any of that in your research
13:54:34     22     at all?
13:54:36     23          A.     I -- I think there may have been one -- one
13:54:40     24     article.     I mean there were certainly, you know,
13:54:43     25     things on the Internet about Emanuel that I read at


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13:54:47      1     one point or another, but what the sequence was in
13:54:50      2     time, I can't recall.
13:54:52      3          Q.     After that -- were there any documents
13:55:01      4     displayed or used or exchanged at that first meeting
13:55:06      5     with Mr. Toberoff?
13:55:08      6          A.     No.    It was really a -- pretty much a casual
13:55:13      7     meet and greet kind of thing, just "Hi," you know.
13:55:19      8          Q.     Before entering into the first agreement with
13:55:22      9     Mr. Toberoff and Mr. Emanuel in October of 2002, the
13:55:25     10     one that we just saw --
13:55:27     11          A.     Um-hum.
13:55:28     12          Q.     Actually, it says "as of October, 2002," had
13:55:33     13     you interviewed any other people to assist in
13:55:39     14     connection with your Superman issues?
13:55:43     15          A.     I --
13:55:45     16                 MR. TOBEROFF:      Vague.
13:55:47     17                 THE WITNESS:    In what time frame are you
13:55:49     18     talking about?
             19     BY MR. PETROCELLI:
13:55:51     20          Q.     Oh, in 2002.
13:55:55     21          A.     2002, I believe I spoke to some people on the
13:56:00     22     phone, you know, following things that I found on the
13:56:03     23     Internet to try and see whether, you know, whether the
13:56:06     24     firm was taking on new clients or something like that.
13:56:08     25          Q.     Who did you speak to?


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13:56:10      1          A.     You know, I would have to see whether I can
13:56:16      2     remember that.       You know, this period of time is not
13:56:18      3     all that easy for me to recall.
13:56:20      4          Q.     You did speak to some lawyers?
13:56:23      5          A.     I don't know whether I spoke directly to like
13:56:26      6     the lawyer or whether I was speaking to an associate.
13:56:30      7     I really don't remember.
13:56:32      8          Q.     Did you speak to any --
13:56:33      9          A.     But I wasn't particularly interested in them,
13:56:35     10     so it didn't kind of lodge itself in my memory.
13:56:38     11          Q.     Why did you call them if you weren't
13:56:40     12     interested in them?
13:56:41     13          A.     No.    I mean after talking and, you know, just
13:56:44     14     getting a feel for, you know, it was a company that
13:56:47     15     did have a conflict of interest or they were closely
13:56:50     16     aligned with a lot of studios, and it just didn't seem
13:56:54     17     to feel like a good fit for us.
13:56:56     18          Q.     Is it fair to say that you contacted
13:57:00     19     entertainment lawyers in town?
13:57:02     20          A.     Yes.
13:57:02     21          Q.     Okay.    And you obtained their names from
13:57:08     22     Internet work that you did?
13:57:09     23          A.     Well, you know, I had interviewed a lot of
13:57:15     24     entertainment attorneys prior to retaining Gang Tyre,
13:57:21     25     so I had already talked to and eliminated a number of


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13:57:25      1     people a couple of years before this.         So, you know,
13:57:30      2     during -- from that search I already had knowledge of
13:57:34      3     people not to bother to contact this time.
13:57:36      4          Q.     You didn't go back to the people you had
13:57:38      5     eliminated; right?
13:57:40      6          A.     No, no, because at that time we interviewed a
13:57:43      7     lot of people.
13:57:44      8          Q.     Can you remember the names of any of the
13:57:47      9     firms that you contacted?
13:57:48     10          A.     Yeah.    There was somebody at William Morris.
13:57:52     11     There were some -- God, what was the -- I remember the
13:57:57     12     office.     There was an office on Olympic where there
13:58:00     13     was a fairly large firm.
13:58:02     14          Q.     Is that Mitchell, Silberberg & Knupp?
13:58:05     15          A.     It could have been.      It could have been.        I
13:58:07     16     think there was somebody in that office.         My
13:58:10     17     ex-husband had been asking around.         He's an attorney,
13:58:13     18     so he asked some people for referrals.
13:58:16     19          Q.     We're now talking about 2002.
13:58:18     20          A.     No.    I'm talking about prior to retaining
13:58:22     21     Gang Tyre in 1999.
13:58:24     22          Q.     Those are the folks that you contacted and
13:58:28     23     eliminated.
13:58:28     24          A.     Correct.
13:58:29     25          Q.     Someone at William Morris and someone --


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13:58:32      1          A.     There were probably at least five to seven.
13:58:37      2     Oh, what was the name of that guy?          We talked to Joel
13:58:43      3     Gotler.
13:58:43      4          Q.     Again, in '97?
13:58:45      5          A.     No.    '99.
13:58:46      6          Q.     '99.    Excuse me.     Right.
13:58:48      7          A.     Yeah.    I know we talked -- we met quite a bit
13:58:52      8     with Joel Gotler several times but ultimately decided
13:58:55      9     not to hire him and went with Gang Tyre.
13:58:58     10          Q.     Now going to 2002, other than Mr. Toberoff,
13:59:04     11     can you search your memory and tell me the names of
13:59:08     12     any firm or person that you contacted?
13:59:10     13          A.     I can think about it, but right now I can't
13:59:13     14     remember specifically.
13:59:16     15          Q.     Do you have some notes at home about this?
13:59:21     16          A.     Possibly.
13:59:22     17          Q.     Do you remember whether you actually met
13:59:25     18     anyone in person other than Mr. Toberoff?
13:59:28     19          A.     I don't think so.
13:59:30     20          Q.     Do you know whether your mother spoke to
13:59:33     21     other people other than Mr. Toberoff in 2002?
13:59:40     22          A.     I don't remember her mentioning anyone
13:59:48     23     specific.
13:59:49     24          Q.     What happened after the discussion with
13:59:55     25     Mr. Toberoff at the offices of Endeavor?          What was the


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13:59:58      1     next thing that happened regarding your entering into
14:00:00      2     an agreement with Mr. Toberoff and Mr. Emanuel?
14:00:05      3          A.     Well, we were -- we were very impressed with
14:00:11      4     Mr. Toberoff's history of commitment to helping
14:00:20      5     authors and his, you know, knowledge of intellectual
14:00:24      6     property issues, and we found a rapport with him that
14:00:30      7     we hadn't found with people that we had historically
14:00:33      8     spoken to, whether it was in 1999 or whenever, you
14:00:36      9     know.     So it felt -- it felt comfortable.
14:00:41     10          Q.     So what was the next step then after the
14:00:46     11     discussion at Endeavor?
14:00:47     12          A.     Well, it was a discussion with my mom about,
14:00:50     13     you know, what was our comfort level.
14:00:52     14          Q.     I see.
14:00:53     15          A.     And so after that, I think we got back to him
14:00:59     16     and we asked to -- oh, yeah.        This is when we asked to
14:01:03     17     see copies of briefs, things that he had done for
14:01:08     18     other clients, because we wanted to get a feel for the
14:01:13     19     quality of his work, his legal work.
14:01:16     20          Q.     Did you get them?
14:01:16     21          A.     Yes.
14:01:16     22          Q.     What were they?     Do you remember?
14:01:18     23          A.     Well, they were specific to cases that he had
14:01:25     24     handled, and we liked them.
14:01:27     25          Q.     How did you request them?


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14:01:31      1          A.     A verbal request.
14:01:33      2          Q.     Over the telephone?
14:01:34      3          A.     I think we asked him in that -- in that
14:01:37      4     meeting, either in that meeting or over the telephone.
14:01:40      5          Q.     How long thereafter did you receive these
14:01:43      6     materials?
14:01:43      7          A.     Very quickly.
14:01:45      8          Q.     How did you receive them?
14:01:48      9          A.     Well, there was a big stack of them, so I
14:01:51     10     think they came in the mail.
14:01:55     11          Q.     And did you read them?
14:01:57     12          A.     Yes.
14:02:00     13          Q.     Did you have anyone else take a look at them?
14:02:02     14          A.     My mother looked at them.
14:02:05     15          Q.     Did you have anyone else like Mr. Levine or
14:02:09     16     Mr. --
14:02:09     17          A.     George might have looked at them.
14:02:11     18          Q.     George.
14:02:12     19          A.     George might have looked at them.
14:02:14     20          Q.     You would have e-mailed them to him?
14:02:17     21          A.     No, because they didn't have it in electronic
14:02:19     22     form.     You know, if there -- if there was something
14:02:22     23     that I had a question about, I may have faxed, you
14:02:26     24     know, one of the briefs to him or something.
14:02:31     25          Q.     Do you remember what the specific documents


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14:02:33      1      were that you received and reviewed?
14:02:38      2          A.     Are you asking me what the cases were?
14:02:40      3          Q.     Or anything you can recall about them.
14:02:42      4          A.     I -- I believe that one of them was -- maybe
14:02:46      5      it was a motion for summary judgment, and there
14:02:50      6      were -- there were -- you know, there were various
14:02:53      7      briefs.    They weren't all the same type of brief,
14:02:55      8      which was kind of, you know, reassuring because I
14:02:58      9      think my mom and I both wanted to get an idea for how
14:03:03     10      his -- how his mind worked, and so this told us, you
14:03:07     11      know, his approach and how he argues things having to
14:03:11     12      do with intellectual property.
14:03:13     13          Q.     Did you -- were they copyright termination
14:03:17     14      cases on behalf of similarly situated authors or
14:03:22     15      heirs?
14:03:22     16          A.     I don't think they were copyright
14:03:26     17      termination.
14:03:27     18          Q.     You still have those papers at your home?
14:03:29     19          A.     Could be.
14:03:32     20          Q.     Okay.   What was the next thing that happened
14:03:34     21      after you reviewed those materials that he sent you?
14:03:38     22          A.     We called him back and --
14:03:42     23          Q.     A telephone call?
14:03:43     24          A.     Meaning my mother and I, yes.      I don't know
14:03:47     25      whether we were both on the phone or what, but, you


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14:03:50      1     know, either one or both of us said that we were, you
14:03:55      2     know, interested in him representing us.
14:03:59      3          Q.     What happened next?
14:04:02      4          A.     I think, you know, he said he was delighted,
14:04:07      5     and, you know, beyond that, I think we got into
14:04:10      6     discussing matters relating to our case.
14:04:14      7          Q.     What happened next?
14:04:18      8          A.     We formalized our arrangement.
14:04:21      9          Q.     And then you signed what we previously saw as
             10     Exhibit 45?
14:04:28     11          A.     Was that the --
14:04:29     12          Q.     Is that 46?    What's the exhibit number?
14:04:31     13          A.     This one?
14:04:32     14          Q.     Let me see.
14:04:33     15          A.     45.
14:04:34     16          Q.     45.    Okay.
14:04:37     17          A.     Yes.
14:04:39     18          Q.     Which is the document that's dated as of
14:04:43     19     October 3, 2002; correct?
14:04:47     20          A.     Correct.
14:04:50     21          Q.     Now --
14:04:50     22          A.     But the -- you know -- well --
14:04:53     23                 MR. TOBEROFF:      Wait for the question.
14:04:55     24                 THE WITNESS:    I was just going to say --
14:04:56     25                 MR. TOBEROFF:      Wait.


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14:04:57      1     BY MR. PETROCELLI:
14:04:58      2          Q.     Now, prior to your getting this document, you
14:05:04      3     had to have some discussion about the role of Ari
14:05:08      4     Emanuel.
14:05:09      5          A.     Yes.
14:05:09      6          Q.     Given that you're not -- you were not given a
14:05:13      7     litigation retainer agreement of the sort that you
14:05:15      8     filed in 2004, but you're given a --
14:05:19      9                 MR. TOBEROFF:   Signed.
             10     BY MR. PETROCELLI:
14:05:20     11          Q.     -- representation --
14:05:21     12                 Excuse me?
14:05:22     13                 MR. TOBEROFF:   You said "filed" in --
14:05:24     14                 MR. PETROCELLI:     Thank you.
14:05:25     15          Q.     Given that you did not receive and then sign
14:05:28     16     a litigation agreement in 2002, but instead received
14:05:33     17     and ended up signing this particular agreement,
14:05:37     18     Exhibit 45 --
14:05:37     19          A.     Yes.
14:05:38     20          Q.     -- with a company called IP Worldwide signed
14:05:42     21     by Mr. Emanuel and Mr. Toberoff, at some point in your
14:05:50     22     chronology --
14:05:50     23          A.     Um-hum.
14:05:51     24          Q.     -- there had to have been some discussion
14:05:54     25     about Mr. Emanuel; is that right?


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14:05:56      1          A.     Yes.
14:05:57      2          Q.     Okay.   And prior to signing this document,
14:06:02      3     Exhibit 45, did you meet Mr. Emanuel?
14:06:04      4          A.     I believe we did.
14:06:06      5          Q.     Okay.   And did your mother meet him?
14:06:08      6          A.     Yes.
14:06:09      7          Q.     Where did you meet him?
14:06:10      8          A.     At Endeavor.
14:06:12      9          Q.     Again, before signing Exhibit 45; right?
14:06:15     10          A.     I believe so.
14:06:16     11          Q.     Okay.   And who else was present at that
14:06:18     12     meeting?
14:06:20     13          A.     My mother, I was there, Mr. Emanuel, and
14:06:25     14     Mr. Toberoff.
14:06:25     15          Q.     Okay.   And this is the first time you met
14:06:29     16     Mr. Emanuel?
14:06:30     17          A.     Yes.
14:06:31     18          Q.     And did you have a draft of this agreement,
14:06:38     19     Exhibit 45, as of the date of your meeting with
14:06:41     20     Mr. Emanuel?
14:06:42     21          A.     I don't believe so.
14:06:44     22          Q.     And what was discussed at that meeting?
14:06:53     23          A.     Well, since that was the first time we were
14:06:57     24     meeting Mr. Emanuel, we wanted to know what his vision
14:07:01     25     was of the character and what he thought he might, you


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14:07:06      1     know, bring to us as a representative.
14:07:10      2          Q.     Did you ask Mr. Emanuel about the nature of
14:07:16      3     his relationship with Mr. Toberoff and their business,
14:07:19      4     IPW, and what work they had done together or whether
14:07:22      5     this was their maiden voyage and, you know, things
14:07:25      6     like that?
14:07:26      7          A.     No, because we knew that Ari's reputation was
14:07:33      8     huge.     He had, you know, a long -- a long-term, you
14:07:38      9     know -- what am I trying to say?         He had a long-term
14:07:42     10     high profile in the entertainment industry, and, you
14:07:46     11     know, that was -- those were his credentials.                We had
14:07:52     12     researched Mr. Toberoff's credentials.           We were
14:07:55     13     looking at them as two individuals who would be
14:07:59     14     serving different functions for us, but they were
14:08:02     15     united, so we were kind of getting a two for one in
14:08:05     16     the deal in a sense.
14:08:06     17          Q.     A dynamic duo.
14:08:08     18          A.     Yes.
14:08:10     19          Q.     Okay.
14:08:10     20          A.     You could say that.
14:08:13     21          Q.     Now, as of the time --
14:08:17     22                 MR. TOBEROFF:    That's a competing property.
14:08:20     23                 MR. PETROCELLI:      I understand.
14:08:21     24                 THE WITNESS:    I know.    You know, dynamic duo.
14:08:22     25     I hear that.


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14:08:25      1                 MR. PETROCELLI:        Or we could go Clark Kent,
14:08:26      2     Superman, you know, either way.
14:08:28      3          Q.     From the time that you first met Mr. Toberoff
14:08:32      4     until the meeting with Mr. Toberoff and Mr. Emanuel --
14:08:35      5          A.     Um-hum.
14:08:36      6          Q.     -- what's a -- how long did that take in
14:08:40      7     between?
14:08:40      8          A.     Not very long.
14:08:41      9          Q.     A week?
14:08:43     10          A.     Possibly.
14:08:44     11          Q.     Okay.    And again, that was also at the
14:08:48     12     offices of Endeavor?
14:08:49     13          A.     Correct.
14:08:49     14          Q.     And no one else was there except the four of
14:08:53     15     you; right?
14:08:53     16          A.     No, because we went in at this -- for that
14:08:56     17     meeting we went into Mr. Emanuel's office.            It wasn't
14:09:01     18     in a conference room.       It was in Mr. Emanuel's office.
14:09:04     19          Q.     But did anybody else participate at all in
14:09:06     20     any part of the meeting?
14:09:08     21          A.     No.
14:09:08     22          Q.     Like anybody else from his agency come in?
14:09:11     23          A.     No.
14:09:11     24          Q.     Okay.    Now, did you understand that you were
14:09:17     25     doing this deal with Mr. Emanuel as part of IP


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14:09:23      1     Worldwide or Mr. Emanuel as part of Endeavor or both?
14:09:27      2          A.     No.    By that time, you know, we understood
14:09:31      3     that, you know, that the intellectual property aspects
14:09:36      4     that we were interested in, you know, was under this
14:09:40      5     heading of IP Worldwide.
14:09:44      6          Q.     Okay.    Did you understand that Endeavor, the
14:09:47      7     talent agency, was somehow involved in your agreement
14:09:52      8     with IP Worldwide, or was it just Ari Emanuel and
14:09:58      9     Mr. Toberoff?
14:09:59     10          A.     I believe that Endeavor was going to supply
14:10:01     11     some support services, but, you know, it was Ari
14:10:09     12     Emanuel that we were interested in.          We weren't
14:10:11     13     interested in Endeavor.
14:10:16     14          Q.     Okay.
14:10:17     15                 Now, by the time of this meeting, and indeed
14:10:20     16     by the time of your first meeting with Mr. Toberoff --
14:10:24     17          A.     Um-hum.
14:10:26     18          Q.     -- you had already heard that Mr. Toberoff
14:10:29     19     and Mr. Emanuel had presented an offer to your prior
14:10:38     20     counsel, Mr. Marks; right?
14:10:40     21          A.     Yes.
14:10:43     22          Q.     Okay.    And an offer to acquire the property;
14:10:45     23     correct?
14:10:48     24          A.     It was an offer to -- I believe to market the
14:11:01     25     property.


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14:11:01      1          Q.     An offer to market the property to whom?
14:11:06      2          A.     You know, I mean I don't have, you know,
14:11:09      3     anything in front of me right now.       I'm trying to
14:11:12      4     recall the exact terminology, but to represent -- to
14:11:18      5     represent us concerning our rights.
14:11:21      6          Q.     Now, when you heard that Ari Emanuel and Marc
14:11:26      7     Toberoff had approached Kevin Marks, it was --
14:11:31      8     correct?
14:11:31      9          A.     Yes.
14:11:32     10          Q.     When you learned that Ari Emanuel and Marc
14:11:37     11     Toberoff had approached Kevin Marks about, as you just
14:11:40     12     put it, representing the property for purposes of
14:11:46     13     marketing it, was that before or after Jean Peavy gave
14:11:55     14     your mother the name of Marc Toberoff?
14:12:03     15          A.     I don't recall exactly, but it must have been
14:12:08     16     kind of like all around the same time.
14:12:11     17          Q.     Well, if Jean Peavy is giving the name of
14:12:14     18     Marc --
14:12:15     19          A.     No, no, no.   It had to be after.
14:12:17     20          Q.     So Jean Peavy -- just to get the sequence
14:12:21     21     straight, Jean Peavy gives the name of Marc Toberoff
14:12:23     22     to your mother.      You and your mother then do some due
14:12:29     23     diligence on Marc Toberoff.
14:12:30     24          A.     Right.
14:12:30     25          Q.     And right around that same period of time


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14:12:33      1     when you're doing this due diligence about Marc
14:12:39      2     Toberoff, you suddenly hear that Marc Toberoff and Ari
14:12:44      3     Emanuel have contacted Kevin Marks?
14:12:46      4          A.     No, no.    That's why I said, after you said
14:12:48      5     that, that it had to have -- we -- we did not know of
14:12:54      6     Marc Toberoff, to my recollection, of Marc Toberoff or
14:12:59      7     Ari Emanuel independently of the information that we
14:13:01      8     were given by Kevin Marks.       We were in the process of
14:13:06      9     looking for other attorneys during that period of
14:13:10     10     time.
14:13:10     11          Q.     So --
14:13:11     12          A.     So we had already -- you know, in March we
14:13:13     13     had contacted Gerry Spence.       We were looking at
14:13:16     14     various people.
14:13:16     15          Q.     And you said March because you saw the file
14:13:19     16     recently.
14:13:20     17          A.     A couple of days ago.
14:13:21     18          Q.     That had the date on it.    You would never
14:13:25     19     have remembered that; correct?
14:13:27     20          A.     No, I would not have remembered it.
14:13:29     21          Q.     So in March you contacted Gerry Spence.            He
14:13:33     22     had a conflict.       So continue.
14:13:33     23          A.     Yeah.   So we were thinking about other
14:13:37     24     attorneys.     At what point my mom revealed to Jean that
14:13:39     25     we were looking for other attorneys and she mentioned


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14:13:43      1      his name, I'm not sure.         However, logic tells me that
14:13:52      2      it must have been after it was -- it was already
14:13:57      3      mentioned to us, you know, that Kevin Marks had
14:14:00      4      received contact from them because the name didn't
14:14:03      5      ring a bell.    You know, it just --
14:14:07      6          Q.     I'm getting confused about the sequence, and
14:14:09      7      I want to be clear about this.
14:14:10      8          A.     Well, I'm confused about the sequence too.
14:14:13      9          Q.     Okay.   Well, maybe we can see if we can do
14:14:15     10      the best we can to get the best recollection you have
14:14:18     11      on this.
14:14:18     12          A.     Um-hum.
14:14:21     13          Q.     What happened first is the question --
14:14:23     14      okay? -- your learning about Marc Toberoff from your
14:14:31     15      mother and your mother calling him up and you're
14:14:35     16      checking him out on the Internet or your learning
14:14:40     17      about Marc Toberoff and Ari Emanuel from Kevin Marks?
14:14:48     18          A.     I would be guessing.      I can't -- I can't 100
14:14:57     19      percent say.    But --
14:15:00     20          Q.     Well, when you had -- if Jean Peavy had told
14:15:11     21      your mother about a guy named Marc Toberoff --
14:15:15     22          A.     Well, she said "I've got a lawyer."
14:15:17     23          Q.     -- you would have said, "Oh, that's the same
14:15:19     24      guy that Mark -- Kevin Marks just told us about, and
14:15:24     25      he's with Ari Emanuel," and you would have made that


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14:15:28      1     connection; correct?
14:15:28      2          A.     It sounds that way.   I don't remember it that
14:15:31      3     way, but as I said, logic sort of says that that would
14:15:33      4     probably be the case.
14:15:34      5          Q.     So then did you ask yourself why is a guy
14:15:37      6     that we're thinking about hiring as a lawyer calling
14:15:42      7     Kevin Marks and presenting himself as a person who
14:15:45      8     will market a property?
14:15:48      9          A.     You know, what Kevin Marks told us was that
14:15:53     10     Marc Toberoff was a lawyer, you know, who was
14:15:57     11     partnered with a Hollywood agent.       You know, it didn't
14:16:00     12     seem to us that he was recommending him as anything.
14:16:06     13     He wasn't recommending him at all.       You know, he was
14:16:09     14     simply relaying to us that there was an intellectual
14:16:14     15     property lawyer named Marc Toberoff who was partnered
14:16:16     16     with a Hollywood agent, you know, named Ari Emanuel.
14:16:21     17          Q.     And that they had called him to --
14:16:23     18          A.     They had called him to see what the status
14:16:25     19     was of the Superman.
14:16:28     20          Q.     Well, let's be clear.    Mr. Marks -- Mr. Marks
14:16:32     21     didn't tell you that Marc Toberoff called him and
14:16:35     22     said, "Hey, Mr. Marks, I'm a lawyer, and I want to
14:16:38     23     take your client away from you."
14:16:40     24          A.     He didn't --
14:16:41     25                 MR. TOBEROFF:   Wait a second.


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14:16:41      1     BY MR. PETROCELLI:
14:16:42      2          Q.     He didn't say that to you; right?
14:16:43      3          A.     Yes, that's right.
              4                 MR. TOBEROFF:    I don't want you getting
              5     into --
14:16:44      6                 THE WITNESS:    I shouldn't be talking about --
14:16:45      7                 MR. TOBEROFF:    -- the disclosure about what
14:16:47      8     Mr. Marks said to you or didn't say other than broad
14:16:51      9     subjects.
14:16:52     10                 THE WITNESS:    Okay.
             11     BY MR. PETROCELLI:
14:16:52     12          Q.     But you have already testified that what
14:16:56     13     Mr. Marks told you is that these were two people who
14:16:58     14     were calling about marketing the property; correct?
14:17:02     15          A.     He didn't tell us anything.      He wrote
14:17:06     16     something to us in the mail.
14:17:08     17          Q.     Okay.   You received that by way of a written
14:17:10     18     communication.
14:17:10     19          A.     Correct.
14:17:11     20          Q.     A letter?
14:17:12     21          A.     Yes.
14:17:14     22          Q.     Okay.   Do you have a copy of it?
14:17:18     23          A.     I believe so.
14:17:19     24          Q.     When is the last time you saw it?
14:17:21     25          A.     It's been quite a while.


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14:17:23      1          Q.     And did Mr. Marks convey to you -- by the
14:17:33      2      way, to whom was the letter addressed?
14:17:35      3          A.     To my mother and to me.
14:17:37      4          Q.     And so he would have mailed -- he mailed two
14:17:41      5      copies, one to you and one to your mother at the
14:17:44      6      separate addresses?
14:17:45      7          A.     Yeah, I would think so.
14:18:03      8          Q.     Okay.
14:18:04      9                 Hold on one second.
14:18:23     10                 (Pause in proceedings.)
             11      BY MR. PETROCELLI:
14:18:25     12          Q.     Did --
14:18:26     13                 So I'm sorry.        I'm trying to get some
14:18:29     14      information from my colleagues so I can frame my next
14:18:33     15      question.
14:18:36     16                 Did -- I apologize for asking you again, but
14:18:38     17      did you say you received a copy at your home and your
14:18:42     18      mother also received a copy?
14:18:43     19          A.     Yes.
14:18:44     20          Q.     Okay.
14:18:52     21          A.     However, my mother --
14:18:53     22                 MR. TOBEROFF:        Hey, there's no question
14:18:54     23      pending.
14:18:55     24                 THE WITNESS:     Okay.
             25      BY MR. PETROCELLI:


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14:18:57      1          Q.     Did you -- have you seen that letter in the
14:18:59      2     last week?
14:18:59      3          A.     No.
14:19:00      4                 MR. TOBEROFF:      Asked and answered.
              5     BY MR. PETROCELLI:
14:19:01      6          Q.     Now, the letter said that an offer had been
14:19:11      7     made?
14:19:11      8                 MR. TOBEROFF:      I instruct you not to answer
14:19:13      9     as to the contents of the attorney-client
14:19:17     10     communication.       I allowed you to broadly speak about
14:19:20     11     the subject matter.
             12     BY MR. PETROCELLI:
14:19:21     13          Q.     Did the letter state that Mr. Toberoff and
14:19:28     14     Mr. Emanuel were themselves seeking to acquire the
14:19:36     15     interest in your Superman rights?
14:19:38     16                 MR. TOBEROFF:      Attorney-client privilege.
14:19:39     17     Instruct you not to answer.
             18     BY MR. PETROCELLI:
14:19:41     19          Q.     Did the letter say that Mr. Toberoff and
14:19:49     20     Mr. Emanuel had a wealthy investor who might be
14:19:56     21     interested in acquiring your rights?
14:19:58     22                 MR. TOBEROFF:      Same instruction and
14:20:00     23     objection.
             24     BY MR. PETROCELLI:
14:20:01     25          Q.     Did the letter indicate that such an investor


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14:20:04      1     was willing to pay much more money than the last offer
14:20:11      2     Warner Bros. and DC Comics had made to you?
14:20:16      3                 MR. TOBEROFF:   Same objection.    Same
14:20:16      4     instruction.
              5     BY MR. PETROCELLI:
14:20:16      6          Q.     Did the letter indicate that such an investor
14:20:22      7     or party was interested in paying as much as
14:20:27      8     $15 million --
14:20:27      9                 MR. TOBEROFF:   Same objection.    Same
14:20:29     10     instruction.
             11     BY MR. PETROCELLI:
14:20:29     12          Q.     -- plus additional terms including a back end
14:20:31     13     if a movie was made?
14:20:33     14                 MR. TOBEROFF:   Same objection.    Same
14:20:39     15     instruction.
             16     BY MR. PETROCELLI:
14:20:39     17          Q.     What did you do after you got the letter?
14:20:45     18                 MR. TOBEROFF:   Vague as to -- calls for a
14:20:48     19     narrative.
14:20:50     20     BY MR. PETROCELLI:
14:20:50     21          Q.     You understand what I'm asking you; right?
14:20:52     22     It's not like did you go get a cup of coffee.             What
14:20:55     23     did you do in reference to the letter?
14:20:57     24          A.     My mother got it several days before I did
14:20:59     25     because I was out of town.


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14:21:00      1          Q.     Okay.   Did she discuss it with you?
14:21:03      2          A.     When I was back, yes.
14:21:04      3          Q.     What did she say to you?
14:21:07      4                 MR. TOBEROFF:    You can only talk about that
14:21:09      5     discussion to the extent you're not revealing the
14:21:12      6     contents of Mr. Marks' communication considering you
14:21:18      7     were both represented by the same attorney.
              8     BY MR. PETROCELLI:
14:21:19      9          Q.     What did she say to you?
14:21:21     10          A.     She was surprised.
14:21:23     11                 MR. TOBEROFF:    Object -- oh, you're answering
14:21:24     12     subject to my instruction; correct?
14:21:26     13                 THE WITNESS:    Yes.
14:21:27     14                 MR. TOBEROFF:    Okay.    Go ahead.
             15     BY MR. PETROCELLI:
14:21:29     16          Q.     And did -- what was she surprised about?
14:21:38     17          A.     She was surprised to receive this
14:21:42     18     information.
14:21:43     19          Q.     What about the information surprised her?
14:21:49     20                 MR. TOBEROFF:    You can answer so long as
14:21:51     21     you're not divulging the contents of the
14:21:55     22     attorney-client communication.
14:21:56     23                 THE WITNESS:    I know.    Well, I'm thinking
14:21:57     24     about it.
14:22:03     25                 I don't think there's anything that I could


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14:22:05      1     say that would not divulge attorney-client privilege.
              2     BY MR. PETROCELLI:
14:22:09      3          Q.     There was no attorney present during that
14:22:11      4     conversation with your mother.
14:22:13      5          A.     No, but -- okay.     Maybe I'm --
14:22:15      6                 MR. TOBEROFF:    She's following my
14:22:16      7     instruction.
14:22:16      8                 MR. PETROCELLI:     Okay.   I just want the
14:22:19      9     record to be clear that --
14:22:21     10                 THE WITNESS:    I don't want to -- I maybe used
14:22:23     11     the wrong term.
             12     BY MR. PETROCELLI:
14:22:24     13          Q.     This is just you and your mom talking; right?
14:22:26     14          A.     Yes.
14:22:38     15          Q.     When you got the letter, had you already by
14:22:44     16     that time heard of Mr. Toberoff?
14:22:46     17                 MR. TOBEROFF:    Asked and answered.
14:22:49     18                 MR. PETROCELLI:     It was not asked and
14:22:50     19     answered.     It doesn't matter.
14:22:53     20                 THE WITNESS:    I don't believe so.       But as I
14:22:56     21     said, that particular time for me, you know, what the
14:23:00     22     sequence of events was, I don't recall exactly.
14:23:05     23     BY MR. PETROCELLI:
14:23:05     24          Q.     So in your view, was it a complete
14:23:10     25     coincidence that you got a letter about a man named


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14:23:14      1     Toberoff who was interested in marketing the property
14:23:19      2     and then around the same time your mother gets a call
14:23:23      3     from Jean Peavy about a man named Toberoff?
14:23:26      4                 MR. TOBEROFF:    Misstates the record and lacks
14:23:29      5     foundation.
14:23:31      6                 THE WITNESS:    If I had heard of Toberoff
14:23:34      7     previous -- you know, prior to any communication, it
14:23:38      8     was only when I was doing kind of generic research of
14:23:42      9     who were lawyers who specialized in intellectual
14:23:46     10     property.     So it wasn't -- it wasn't as if I was, you
14:23:49     11     know, I was looking for research on Marc Toberoff at
14:23:56     12     that point.     If you go to Martindale Hubbell or
14:23:59     13     something and you type in a specialty and you look to
14:24:01     14     see what lawyers are available, that's the kind of
14:24:06     15     research that I was initially doing.
             16     BY MR. PETROCELLI:
14:24:09     17          Q.     So you would have done that research, then,
14:24:12     18     prior to having received this letter mentioning the
14:24:15     19     name Marc Toberoff.
14:24:16     20          A.     Generic research I would have done prior to.
14:24:19     21          Q.     Which meant that your mother would have
14:24:21     22     received the call about Toberoff, again, prior to your
14:24:25     23     having gotten this letter.
14:24:26     24          A.     No, not necessarily.    What I was saying is
14:24:30     25     that as far back as when I was contacting Gerry


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14:24:33      1     Spence, I was researching to see what types of lawyers
14:24:37      2     who, you know, might be able to help us existed
14:24:43      3     generically.       You know, I wasn't looking up
14:24:46      4     Mr. Toberoff.       And so I think your question was asking
14:24:50      5     me was I looking for Mr. Toberoff because Jean Peavy
14:24:53      6     had mentioned his name.
14:24:54      7          Q.     No.    I think you misunderstood my question.
14:24:56      8          A.     Okay.
14:24:57      9          Q.     And/or I miscommunicated it, so I apologize.
14:24:59     10                 When you did your Internet search on
14:25:02     11     Mr. Toberoff, that wasn't because you were searching
14:25:06     12     entertainment lawyers and his named popped up.             That
14:25:08     13     was because your mother had mentioned that Jean had
14:25:11     14     given her that name and you were specifically looking
14:25:14     15     into that person; correct?
14:25:15     16          A.     When I looked specifically for him.
14:25:18     17          Q.     Okay.    And when you had done your generic
14:25:22     18     search that yielded the name Gerry Spence, for
14:25:25     19     example --
14:25:25     20          A.     Um-hum.
14:25:26     21          Q.     -- you hadn't come across Mr. Toberoff's name
14:25:29     22     at that point in time; correct?
14:25:30     23          A.     I may have in terms of lawyers in the
14:25:34     24     Los Angeles area that handled intellectual property.
14:25:36     25          Q.     But you don't specifically recall having done


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14:25:38      1     so, and if you did, you didn't follow up on it;
14:25:41      2     correct?
14:25:42      3          A.     Yeah.    I didn't put a gold star next to his
14:25:44      4     name and immediately do something, you know.
14:25:46      5          Q.     But you did put a gold star next to Gerry
14:25:51      6     Spence's name.
14:25:51      7          A.     Yes, but my mom put a gold star next to Gerry
14:25:53      8     Spence's name.
14:25:53      9                 MR. TOBEROFF:      They liked the jacket.
14:25:55     10                 THE WITNESS:    Yep.      Well, my mom had seen him
14:25:57     11     like on CNN or something, and, you know --
14:26:02     12                 MR. TOBEROFF:      He's got the gift.
14:26:05     13                 MR. PETROCELLI:        I won't comment.
14:26:08     14                 THE WITNESS:    I can read into that.
             15     BY MR. PETROCELLI:
14:26:15     16          Q.     Now, when you did your search, by the way,
14:26:20     17     back in '99 and interviewed all those lawyers, Marc
14:26:24     18     Toberoff wasn't one of them; correct?
14:26:25     19          A.     No.
14:26:25     20          Q.     In fact, his name didn't even come up; right?
14:26:28     21          A.     No.
14:26:28     22          Q.     Is that correct?
14:26:28     23          A.     That's correct.
14:26:37     24          Q.     Okay.    So getting back to the sequence here,
14:26:47     25     you -- by the time you had first spoken to your


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14:26:51      1     mother -- excuse me.       You received this letter from
14:26:56      2     Kevin Marks mentioning Marc Toberoff and Ari Emanuel
14:27:01      3     after your mother had told you the name Marc Toberoff
14:27:05      4     that she had received from Jean Peavy; correct?
14:27:07      5          A.     As I said, I can't testify for sure.
14:27:27      6          Q.     Do you know the date of the letter that you
14:27:31      7     received from Mr. Marks that mentioned Mr. Toberoff?
14:27:34      8          A.     I haven't seen it in a long time.
14:27:36      9          Q.     Now, again --
14:27:40     10          A.     No.    The answer is no.
14:27:41     11          Q.     -- I'm trying to press your recollection on
14:27:44     12     this.     But when you first saw the letter or heard
14:27:49     13     about it from your mother that mentioned Mr. Toberoff
14:27:51     14     and Mr. Emanuel, do you have a state of mind or did
14:27:55     15     you have a state of mind at the time that this is the
14:27:59     16     same person that you had already looked into and
14:28:02     17     indeed had already contacted?
14:28:04     18          A.     No.    As I said, there may have been some
14:28:11     19     generic information.
14:28:12     20          Q.     So by the time that Jean Peavy gave your
14:28:16     21     mother the name of Marc Toberoff, you would have
14:28:22     22     associated it with the same name you had seen in
14:28:27     23     Mr. Marks' letter; right?
14:28:28     24          A.     I really don't recall.
14:28:48     25          Q.     Did you -- you said your mother was surprised


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14:28:59      1     when she got the letter.
14:29:01      2          A.     Um-hum.
14:29:02      3          Q.     What -- what did you do next with respect to
14:29:07      4     the letter?     So, for example, did you contact
14:29:16      5     Mr. Marks?
14:29:16      6          A.     Possibly.
14:29:21      7          Q.     Were you interested in pursuing the
14:29:33      8     Toberoff/Emanuel proposal or introduction that was set
14:29:36      9     forth in the letter?
14:29:39     10                 MR. TOBEROFF:   When they first --
             11     BY MR. PETROCELLI:
14:29:41     12          Q.     Yeah.   You saw the letter.      The letter says,
14:29:44     13     you know, "These people called me and they're
14:29:45     14     interested in" whatever it is they said, and were you
14:29:50     15     and your mom interested in pursuing it?
14:29:53     16          A.     We wanted to know what it was all about.
14:29:57     17          Q.     Okay.   And did you find out what it was all
14:30:00     18     about?
14:30:00     19          A.     Eventually.
14:30:01     20          Q.     How did you find out?
14:30:04     21          A.     Through the contact that we had with Mr. --
14:30:11     22     Mr. Toberoff and then Mr. Emanuel when my mother
14:30:16     23     placed a call to him and began to ask him some
14:30:18     24     questions.
14:30:18     25          Q.     So by the time that your mother placed that


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14:30:21      1     call, you had already had the letter from Mr. Marks
14:30:24      2     and were able to follow up on it?
14:30:26      3          A.     I don't know whether it was following up on
14:30:28      4     that.     I'm just -- you asked me how I got information
14:30:32      5     about them, and I'm just talking in general terms.
14:30:34      6          Q.     Did you get any information from Mr. Marks
14:30:39      7     beyond that letter?
14:30:43      8          A.     I can't recall any.
14:30:48      9          Q.     Did you have -- did you give Mr. Marks any
14:30:55     10     directions or instructions with respect to that
14:31:01     11     letter?
14:31:03     12          A.     No.
14:31:04     13          Q.     Did you -- did Mr. Marks tell you that if you
14:31:26     14     pursued any arrangement with Mr. Toberoff or
14:31:30     15     Mr. Emanuel, that it posed any legal risk to you?
14:31:34     16                 MR. TOBEROFF:      Excuse me.   I instruct you not
14:31:36     17     to answer.     Attorney-client privilege.
             18     BY MR. PETROCELLI:
14:31:38     19          Q.     Did he tell you that he might be called upon
14:31:41     20     to testify and might have to testify in a way that was
14:31:45     21     not helpful to you?
14:31:46     22                 MR. TOBEROFF:      Same objection.    Same
14:31:49     23     instruction.
             24     BY MR. PETROCELLI:
14:31:49     25          Q.     After receiving that letter did you


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14:31:52      1     immediately fire Mr. Marks?
14:31:54      2                 MR. TOBEROFF:    Which letter?
14:31:55      3                 MR. PETROCELLI:     The letter that she
14:31:57      4     received, that your mother received, talking about
14:31:59      5     Mr. Toberoff and Mr. Emanuel.
14:32:01      6                 THE WITNESS:    Not immediately.
              7     BY MR. PETROCELLI:
14:32:03      8          Q.     Did you receive any other letters from
14:32:09      9     Mr. Marks regarding Mr. Toberoff and Mr. Emanuel
14:32:12     10     except that one that you have already described?
14:32:14     11          A.     I don't believe so.
14:32:17     12          Q.     Did you have any meetings with Mr. Marks
14:32:22     13     following your receipt of that letter, a copy of which
14:32:26     14     your mother also received?
14:32:30     15          A.     I'm trying to reconstruct the time frame.
14:32:46     16                 I don't remember whether we had a meeting
14:32:48     17     with him.
14:32:50     18          Q.     Or with Mr. Ramer?     Do you remember that?
14:32:53     19          A.     We almost never saw Mr. Ramer, so I know it
14:32:57     20     wouldn't have been with Mr. Ramer.
14:32:58     21          Q.     Mr. Marks by then was your lead lawyer?
14:33:01     22          A.     Yes.
14:33:06     23          Q.     Okay.   Did you discuss the letter with
14:33:12     24     anyone -- with anyone after you received it other than
14:33:14     25     your mother?


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14:33:23      1          A.     We may have discussed it with George.
14:33:27      2          Q.     Did you send George a copy of the letter?
14:33:29      3          A.     I don't recall.
14:33:36      4          Q.     Did you discuss it with Jean Peavy?
14:33:43      5          A.     No.
14:33:43      6          Q.     You had learned at some point that Jean Peavy
14:33:46      7     had retained Mr. Toberoff at an earlier point in time;
14:33:50      8     correct?
14:33:51      9          A.     Yes.    When my mom had the conversation with
14:33:54     10     Jean, Mr. Toberoff was already her attorney.
14:33:58     11          Q.     Did Mr. -- did Ms. Peavy tell you that she
14:34:03     12     had entered into a joint venture agreement with
14:34:06     13     Mr. Toberoff's company, Pacific Pictures Corporation?
14:34:12     14          A.     No.
14:34:12     15          Q.     Did she share any of her agreements with you
14:34:16     16     or your mother?
14:34:17     17          A.     No.
14:34:18     18          Q.     Her agreements with Mr. Toberoff's company?
14:34:28     19          A.     No.
14:34:28     20          Q.     When did you first -- so when you first
14:34:36     21     contacted Mr. Toberoff, it was your belief that he was
14:34:42     22     already a lawyer working with the Shusters?
14:34:45     23          A.     Yes.    I -- you know, if that's the correct
14:34:52     24     sequence.     I'm trying to remember.
14:34:54     25          Q.     You're not sure of the exact sequence.


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14:34:57      1          A.     I'm not sure, no.
14:34:57      2          Q.     Okay.   I appreciate that.
14:34:59      3          A.     In general, you know.
14:35:05      4          Q.     Did you sign any conflict documents in 2002
14:35:08      5     having to do with Mr. Toberoff's relationship with the
14:35:18      6     Shusters?
14:35:18      7                 MR. TOBEROFF:   Don't discuss the contents of
14:35:20      8     the conflict waivers.
              9     BY MR. PETROCELLI:
14:35:25     10          Q.     You can answer that question.
14:35:26     11          A.     Well, no, I'm trying to remember.       There --
14:35:30     12     you know, since this was 2002 and there was a conflict
14:35:35     13     waiver that accompanied this, so yes, we did sign a
14:35:39     14     conflict waiver in 2002.
14:35:41     15          Q.     And did that conflict waiver that you signed
14:35:43     16     in 2002, was that a conflict waiver with IP Worldwide
14:35:48     17     or with The Law Offices of Marc Toberoff, or do you
14:35:51     18     not remember?
14:35:52     19          A.     I don't remember.
14:35:56     20          Q.     Okay.   And did it have anything to do with
14:36:01     21     the Shusters?
14:36:01     22          A.     I -- well, I don't remember.
14:36:03     23                 MR. TOBEROFF:   Don't discuss what the
14:36:06     24     conflict waiver -- excuse me.       Don't discuss the
14:36:08     25     substance of the conflict waiver.        It's privileged.


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14:36:10      1                 THE WITNESS:    Besides, I don't remember.
14:36:16      2                 MR. TOBEROFF:      It's moot.
              3     BY MR. PETROCELLI:
14:36:27      4          Q.     Were you ever shown a copy of Mr. Toberoff's
14:36:33      5     agreements with the Shuster family?
14:36:38      6          A.     No.
14:36:38      7          Q.     Was your mother?
14:36:41      8          A.     No.
14:36:41      9          Q.     Do you know whether you requested that such
14:36:44     10     agreements be made available to any other counsel on
14:36:48     11     your behalf, like Arthur Levine or George?
14:36:57     12          A.     No.
14:36:58     13          Q.     Were you -- did you ever become aware that
14:37:05     14     Mr. Toberoff owned a company called Pacific Pictures?
14:37:09     15          A.     Not until your lawsuit.
14:37:13     16          Q.     Prior to my lawsuit did you become aware that
14:37:20     17     Mr. Toberoff through a company by whatever name
14:37:23     18     entered into a joint venture where his company
14:37:26     19     acquired 50 percent of the Shusters' termination
14:37:29     20     interests?
14:37:37     21          A.     No.
14:37:38     22          Q.     Prior to reading our lawsuit did you ever
14:37:45     23     become aware that the agreement Mr. Toberoff entered
14:37:53     24     into with the Shuster family was void under the
14:37:59     25     copyright statute?


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14:38:01      1          A.     I don't understand the question.
14:38:05      2          Q.     That he had entered into an agreement with
14:38:07      3     the Shuster family that violated a copyright statute?
14:38:13      4          A.     I have no knowledge of anything like that.
14:38:20      5          Q.     Are you aware that Mr. Toberoff has conceded
14:38:24      6     in this case that his Pacific Pictures agreement with
14:38:30      7     the Shuster family did not comply with the copyright
14:38:36      8     statute?
14:38:36      9          A.     No, I'm not aware of that.
14:38:53     10          Q.     Did anything about -- were you aware prior to
14:39:04     11     the filing of our lawsuit that Mr. Toberoff's Pacific
14:39:12     12     Pictures agreement with the Shusters concerned
14:39:21     13     Superboy as well as Superman?
14:39:22     14          A.     I wasn't --
14:39:24     15                 MR. TOBEROFF:    Wait.   Lacks foundation.
14:39:26     16     Assumes facts.
14:39:27     17                 THE WITNESS:    I wasn't conscious of any
14:39:31     18     agreement.
             19     BY MR. PETROCELLI:
14:39:31     20          Q.     Since this lawsuit have you seen the written
14:39:38     21     agreement that Mr. Toberoff's Pacific Pictures company
14:39:43     22     entered into with the Shusters in 2001 relating to
14:39:47     23     both Superman and Superboy?
14:39:51     24          A.     I don't remember exactly what exhibits were
14:39:54     25     shown to me in my previous depositions.        So, you know,


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14:40:00      1     I remember that there was some document that was shown
14:40:05      2     to me, but exactly what it was, I really don't recall,
14:40:10      3     but I -- you know, so I can't really answer your
14:40:14      4     question.
14:40:17      5           Q.    Okay.   Was there anything about Mr. Marks'
14:40:21      6     letter to you that discussed Mr. Toberoff and
14:40:26      7     Mr. Emanuel that angered you or your mother?
14:40:32      8                 MR. TOBEROFF:    You can answer whether the
14:40:34      9     letter angered you or your mother.
             10     BY MR. PETROCELLI:
14:40:36     11           Q.    Or upset you in some way.
14:40:38     12                 MR. TOBEROFF:    You can answer that.
14:40:42     13                 THE WITNESS:    We were kind of upset.
             14     BY MR. PETROCELLI:
14:40:53     15           Q.    Okay.   How long after you received the letter
14:40:59     16     that kind of upset you did you terminate Mr. Marks?
14:41:07     17           A.    Well, I don't recall the date of his letter,
14:41:10     18     so I can't really answer that.
14:41:12     19           Q.    I appreciate you don't know the dates, but in
14:41:15     20     terms of the passage of time, was it a day?           Was it
14:41:18     21     two days?     Was it two months?    Can you estimate for
14:41:22     22     me?
14:41:23     23           A.    I would say weeks, but I don't know how many
14:41:39     24     weeks.
14:41:40     25           Q.    Given that Mr. Marks' letter informed you


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14:41:45      1     that Mr. Emanuel and Mr. Toberoff had an interest in
14:41:50      2     marketing the property, I assume you discussed with
14:41:57      3     both of Mr. Emanuel and Mr. Toberoff when you met with
14:42:01      4     them both what that interest was?
14:42:04      5          A.     Yes.
14:42:04      6          Q.     Okay.   And in that discussion did you inquire
14:42:09      7     whether they had an investor who was interested in
14:42:15      8     acquiring the property?
14:42:16      9                 MR. TOBEROFF:    You can answer as to your
14:42:18     10     discussions with Mr. Emanuel.
14:42:20     11                 THE WITNESS:    Um-hum.
14:42:26     12                 Ari gave us information, you know, relating
14:42:34     13     to his offer, and, you know, I mean he, you know, he's
14:42:41     14     a rich guy.     He's got rich friends and you know, so
14:42:46     15     he, you know, had -- had good connections, and it was
14:42:53     16     interesting, but, you know --
             17     BY MR. PETROCELLI:
14:42:57     18          Q.     Well, what did he say about his offer?           What
14:43:03     19     did you mean by "his offer"?
14:43:04     20          A.     Well, he -- he offered to put a substantial
14:43:09     21     amount of money up front and, you know, if he was able
14:43:15     22     to negotiate, you know, a good deal for us, that we
14:43:23     23     would have meaningful participation, and it sounded
14:43:32     24     interesting.
14:43:32     25          Q.     Let's be clear.     This would be a deal whereby


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14:43:32      1      you and your mom would sell your interest to
14:43:36      2      Mr. Emanuel.
14:43:37      3          A.     I don't believe we were selling our interest
14:43:39      4      to him.
14:43:40      5          Q.     What were you doing, then?        Partnering with
14:43:45      6      him?
14:43:45      7          A.     That's more the feel that I got from it.
14:43:48      8          Q.     Okay.   So it wasn't like you were going to
14:43:50      9      give up all your Superman interests and he would now
14:43:53     10      own them.    It was that there would be some business
14:43:56     11      arrangement between the two of you where you would
14:43:59     12      mutually exploit the property; correct?
14:44:00     13          A.     Mutually benefit from it, I believe was the
14:44:03     14      gist of it.
14:44:06     15          Q.     And how much did Mr. Emanuel say that he
14:44:09     16      would be willing to invest?
14:44:14     17          A.     Well, I think it was in the range of
14:44:17     18      15 million.
14:44:18     19          Q.     Okay.   And did he identify anyone else who
14:44:24     20      might co-invest with him?        You said he had a lot of
14:44:27     21      rich friends.
14:44:28     22          A.     Um-hum.   Well, he didn't give us specific
14:44:34     23      names.
14:44:34     24          Q.     Did he identify any other -- did he say
14:44:39     25      anything about a Superman movie to you?


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14:44:41      1           A.    No, there was no mention of a movie.
14:44:43      2           Q.    But if there were a movie that could be
14:44:46      3     produced, then you might share in the exploitation of
14:44:49      4     it?
14:44:50      5           A.    On down the line if there was a movie.
14:44:52      6           Q.    Okay.
14:44:53      7                 MR. TOBEROFF:   Are you referring to her
14:45:01      8     understanding of what a deal would be with Mr. Emanuel
14:45:04      9     or as to a conversation?
14:45:07     10                 MR. PETROCELLI:     I'm talking about the
14:45:08     11     information she got from Mr. Emanuel at this meeting,
14:45:12     12     her conversation.
14:45:19     13           Q.    What happened --
14:45:20     14                 MR. TOBEROFF:   Well, then vague as to that.
14:45:22     15     BY MR. PETROCELLI:
14:45:22     16           Q.    What happened -- did you pursue with
14:45:35     17     Mr. Emanuel this interest that he expressed?
14:45:38     18           A.    My mother and I discussed it, and our feeling
14:45:43     19     was that if he was willing to come up with 15 -- he or
14:45:49     20     a group of people were willing to come up with
14:45:52     21     $15 million, that that told us that the property was
14:45:57     22     worth a lot more than that because why would he be
14:46:01     23     willing to pay full value for it?        And so in thinking
14:46:06     24     about how we wanted to proceed, we thought that it
14:46:10     25     would be better for us to simply have an arrangement


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14:46:14      1     with him in which he would for a 10 percent or an
14:46:20      2     agent's fee negotiate these things for us, you know,
14:46:23      3     because his 10 percent of a much larger figure would
14:46:28      4     be better for us in the long run financially.
14:46:31      5          Q.     Did you then tell him at some point that you
14:46:34      6     were not interested in doing an arrangement with him
14:46:40      7     for the 15 million where he was a direct participant?
14:46:44      8          A.     Yes.
14:46:44      9          Q.     Was it at that meeting, or was it at a
14:46:48     10     subsequent meeting?
14:46:48     11          A.     I believe it was at a subsequent meeting.
14:46:50     12          Q.     And did you inform him of your decision and
14:46:55     13     your mother's decision not to do a deal with him where
14:46:58     14     he was a principal as opposed to an agent prior to
14:47:02     15     signing Exhibit 45, the IPW -- IP Worldwide agreement?
14:47:08     16          A.     Yes.
14:47:13     17          Q.     When you had this discussion with Mr. Emanuel
14:47:17     18     in his office at Endeavor together with your mother --
14:47:21     19     I think you said Mr. Toberoff also was there?
14:47:23     20          A.     Um-hum.
14:47:27     21          Q.     -- did he confirm to you that he had
14:47:33     22     presented this same proposal to Mr. Marks sometime
14:47:38     23     before?
14:47:38     24          A.     I believe he did.
14:47:40     25          Q.     Okay.   And did he tell you whether or not he


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14:47:43      1     had ever heard back from Mr. Marks?
14:47:48      2          A.     I don't recall him talking about it.
14:47:49      3          Q.     Did you tell him that you had instructed
14:47:54      4     Mr. Marks not to get back to him?
14:48:02      5          A.     No.
14:48:03      6          Q.     By the time of this meeting with Mr. Emanuel
14:48:09      7     in his office talking about this arrangement, had you
14:48:12      8     already terminated Mr. Marks?
14:48:16      9          A.     Yes.
14:48:17     10          Q.     Are you certain?
14:48:19     11          A.     I believe so.      It was -- it was right around
14:48:22     12     the same time, because we're talking about September,
14:48:26     13     you know, so sometime in September.
14:48:32     14          Q.     Was $15 million the number that Mr. Emanuel
14:48:37     15     mentioned to you more than any offer that DC Comics or
14:48:44     16     Warner Bros. had previously presented to you?
14:48:47     17          A.     Yes, I believe it was.
14:48:56     18          Q.     Did Mr. Emanuel identify any other investors
14:49:05     19     besides himself?
14:49:06     20                 MR. TOBEROFF:      Asked and answered.
14:49:08     21                 You can answer.
14:49:15     22                 THE WITNESS:    No.
             23     BY MR. PETROCELLI:
14:49:16     24          Q.     Did you have an understanding that
14:49:21     25     Mr. Emanuel -- from Mr. Emanuel's proposal about


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14:49:24      1     $15 million and whatever other terms there were
14:49:32      2     whether that would include some participation by
14:49:37      3     Mr. Toberoff?
14:49:38      4                 MR. TOBEROFF:    Vague and ambiguous as to --
14:49:40      5                 THE WITNESS:    I -- I don't recall any mention
14:49:42      6     of that.
              7     BY MR. PETROCELLI:
14:49:46      8          Q.     Okay.   Was there any discussion at this
14:49:49      9     meeting about Michael Siegel's 25 percent ownership of
14:49:57     10     the Siegel termination interests?
14:50:01     11          A.     I don't -- I don't believe that it was
14:50:05     12     discussed except to the extent of making him realize
14:50:09     13     that there was a Michael Siegel and that there was a
14:50:14     14     passive interest involved.
14:50:18     15          Q.     Was there any discussion that the $15 million
14:50:23     16     would also involve the exploitation of Superboy
14:50:29     17     rights?
14:50:29     18          A.     I think only Superman was mentioned.
14:50:34     19          Q.     Did -- was there any discussion at this
14:50:38     20     meeting with Mr. Emanuel about the fact that DC Comics
14:50:48     21     would hold the remaining 50 percent of the copyright
14:50:55     22     interest for an extended period of time?
14:50:58     23          A.     He was aware of that.
             24                 THE REPORTER:    Was that "50"?
14:51:02     25                 MR. PETROCELLI:     Fifty, yes.


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14:51:02      1          Q.     At least until 2013; right?
14:51:05      2          A.     He was aware of that.
14:51:06      3          Q.     And did he indicate whether that would
14:51:14      4     necessitate trying to reengage with DC comics or
14:51:19      5     Warner Bros. to do a deal?
14:51:21      6          A.     Well, he felt that they were the likely
14:51:26      7     purchaser if there was going to be a purchaser or, you
14:51:29      8     know, that a license agreement, you know, could be
14:51:33      9     entered into with them.
14:51:37     10          Q.     Did you -- when you got back to him and told
14:51:41     11     him that you preferred to work with him as an agent,
14:51:44     12     not as a business partner --
14:51:46     13          A.     Um-hum.
14:51:47     14          Q.     -- did you and he have discussion then about
14:51:51     15     reengaging with Warner Bros. and DC Comics along the
14:51:54     16     lines that you had previously discussed?
14:51:56     17          A.     Yes.
14:51:57     18          Q.     And did he still agree that that was a
14:52:01     19     logical thing to do?
14:52:02     20          A.     Yes.
14:52:03     21          Q.     Okay.   Then he underwent -- undertook to do
14:52:07     22     that?
14:52:08     23          A.     At some point, yes.
14:52:10     24                 MR. PETROCELLI:     Okay.   And why don't we stop
14:52:15     25     right now and take a short break.         We've been going


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14:52:17      1     for a bit.
14:52:19      2                  THE VIDEOGRAPHER:       This will mark the end of
14:52:20      3     Volume 1, tape number two, in the deposition of Laura
14:52:23      4     Siegel.      Going off the record.       The time is 2:52.
14:52:44      5                  (A recess was taken.)
15:22:09      6                  THE VIDEOGRAPHER:       We are back on the record,
15:22:11      7     and this marks the beginning of Volume 1, tape number
15:22:13      8     three, of the deposition of Laura Siegel.               The time is
15:22:17      9     3:22.
             10     BY MR. PETROCELLI:
15:22:35     11          Q.      Was -- going back to your discussion with
15:22:40     12     Mr. Emanuel -- this was in his office -- Mr. Toberoff,
15:22:49     13     you, and your mother and Mr. Emanuel --
15:22:52     14          A.      Um-hum.
15:22:54     15          Q.      Remember we were talking about that before
15:22:56     16     the break?
15:22:57     17          A.      Yes.
15:22:58     18          Q.      Did -- I think you said you were not sure
15:23:02     19     whether you had already terminated the services of
15:23:06     20     Mr. Marks as of the time of this discussion; correct?
15:23:12     21          A.      You know, the time frame is difficult to
15:23:15     22     remember, but -- no, no, no, no.           Wait.    What am I
15:23:20     23     saying?      No.    We had -- we definitely had.         I mean
15:23:24     24     back as far as May, you know, we were like 95 percent
15:23:28     25     there.      We were, you know, going to cut off


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15:23:30      1     negotiations and everything, you know, so we were
15:23:35      2     really, really close to doing it early on.
15:23:38      3          Q.     Now, this idea about cutting off negotiations
15:23:41      4     in May, is that something that you and Mr. Toberoff
15:23:45      5     discussed during the break?
15:23:47      6          A.     No.
15:23:47      7          Q.     Is it something that you have had some --
15:23:50      8          A.     It was that I didn't --
15:23:51      9          Q.     -- some recollection about or something?
15:23:53     10          A.     Well, like, you know, I didn't have an
15:23:56     11     opportunity really to clarify it before.
15:23:57     12          Q.     The truth of the matter is you did not cut
15:24:00     13     off negotiations with Warner Bros. until the date you
15:24:04     14     sent your letter; correct?
15:24:05     15          A.     Correct.
15:24:06     16          Q.     Okay.
15:24:07     17          A.     Yeah.    But we were contemplating it, was all
15:24:10     18     I was saying.
15:24:10     19          Q.     I didn't ask you about cutting off
15:24:13     20     negotiations, and I noticed that you injected that
15:24:16     21     into your testimony, and I would appreciate it if you
15:24:18     22     could just try to answer my questions.
15:24:20     23          A.     What was your question?
15:24:21     24          Q.     My question was about the discharge of
15:24:28     25     Mr. Marks.


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15:24:28      1          A.     Yes.
15:24:37      2          Q.     You had not discharged Mr. Marks as of the
15:24:39      3     time of that meeting with Mr. Emanuel; correct?
15:24:43      4          A.     No, that's not correct.
15:24:44      5          Q.     Had you written Mr. Marks the letter
15:24:48      6     terminating him?
15:24:48      7          A.     Yes.
15:24:48      8          Q.     Prior to the meeting?
15:24:50      9          A.     Yes.
15:24:50     10          Q.     Okay.   And why is it that you, given your
15:24:54     11     inability to recall with precision any of these other
15:24:57     12     dates, you remember that clearly or definitely, as you
15:25:01     13     said?
15:25:01     14          A.     Well, because you're pressing me on it now.
15:25:04     15          Q.     I've been pressing you on the sequence of
15:25:07     16     events throughout the day.
15:25:08     17          A.     Yeah.
15:25:08     18          Q.     But that one you know for sure.
15:25:10     19          A.     I just had a break and I had some water, and
15:25:12     20     I feel a little bit better.
15:25:15     21          Q.     So what is the date, then, of your meeting
15:25:17     22     with Mr. Emanuel?
15:25:21     23          A.     The date I couldn't tell you for sure, but,
15:25:24     24     you know, I knew that we felt that we were, you know,
15:25:28     25     completely free and clear of the Gang, you know, Tyre


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15:25:32      1     group before we had a meeting.
15:25:34      2          Q.      I didn't ask if you felt you were free and
15:25:37      3     clear.      I've asked whether you were a hundred -- I'll
15:25:40      4     ask it to you this way.             Are you 100 percent certain
15:25:46      5     that the date you met with Mr. Emanuel that you've
15:25:48      6     been testifying about with Mr. Toberoff and your
15:25:54      7     mother, by that date you had already sent your letter
15:25:58      8     terminating Mr. Marks?
15:26:00      9                  MR. TOBEROFF:      Asked and answered.
15:26:00     10                  THE WITNESS:    To the best of my recollection,
15:26:01     11     yes.
             12     BY MR. PETROCELLI:
15:26:03     13          Q.      Okay.    So you're not a hundred percent
15:26:05     14     certain; correct?
15:26:05     15          A.      Correct.
15:26:08     16          Q.      Okay.    Now, do you have any way of
15:26:13     17     establishing the date of your meeting with
15:26:15     18     Mr. Emanuel?
15:26:19     19          A.      With Mr. --
15:26:20     20          Q.      Emanuel.
15:26:22     21          A.      The exact date?
15:26:24     22          Q.      Yes.
15:26:24     23          A.      No.
15:26:25     24          Q.      Do you have any way of refreshing your
15:26:27     25     recollection about the date?


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15:26:28      1          A.     I can keep trying to remember.     I can keep
15:26:31      2     trying to think about it.
15:26:32      3          Q.     Is there any document or anything that would
15:26:35      4     refresh your memory that you're aware of?
15:26:43      5          A.     No, there are no documents.
15:26:45      6          Q.     Is there any document or anything that would
15:26:47      7     refresh your memory about the first time you met
15:26:52      8     Mr. Toberoff before the Mr. Emanuel meeting?
15:26:55      9          A.     No, there are no documents.
15:26:56     10          Q.     Is there anything else that would refresh
15:26:58     11     your recollection as to the date of that meeting?
15:27:00     12          A.     No, I don't think so.
15:27:04     13          Q.     When you met with Mr. Emanuel, did you and --
15:27:09     14     was there any discussion in that meeting about the
15:27:12     15     fact that Kevin Marks might have to testify in a way
15:27:18     16     that was not helpful to you?
15:27:20     17          A.     In which meeting?
15:27:22     18          Q.     The meeting with Mr. Emanuel.
15:27:23     19                 MR. TOBEROFF:    Excuse me.   Lacks foundation.
15:27:25     20     Assumes facts.
15:27:28     21                 THE WITNESS:    I -- I don't recall any
15:27:30     22     discussion of that.
             23     BY MR. PETROCELLI:
15:27:31     24          Q.     Was there any discussion that if -- that
15:27:43     25     Warner Bros. or DC Comics may sue for interference?


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15:27:47      1          A.     With -- have a discussion with whom?
15:27:51      2          Q.     With Mr. Emanuel.
15:28:03      3          A.     No.
15:28:03      4          Q.     You understand that Warner Bros. in this case
15:28:11      5     is suing Mr. -- excuse me -- DC Comics in this case is
15:28:15      6     suing Mr. Toberoff and certain of his entities for
15:28:22      7     interfering with rights stemming from the negotiations
15:28:30      8     and discussions with you and your mother to acquire
15:28:35      9     the Siegel interest; correct?
15:28:37     10          A.     Yes.
15:28:38     11                 MR. TOBEROFF:      Misstates your own Complaint,
15:28:40     12     but that's okay.
             13     BY MR. PETROCELLI:
15:28:41     14          Q.     And you understand that we contend that
15:28:55     15     Mr. Toberoff's and Mr. Emanuel's proposal to Mr. Marks
15:29:03     16     and then to you about a $15 million investment was
15:29:12     17     designed to break off your dealings with DC Comics and
15:29:18     18     Warner Bros.       You understand that's our contention;
15:29:21     19     correct?
15:29:22     20          A.     That's your contention.
15:29:23     21          Q.     How do you know that's our contention?
15:29:26     22          A.     From -- from the Complaint in this action.
15:29:29     23          Q.     Okay.    And when you just gave your answer a
15:29:35     24     few minutes ago after the break -- by the way, you
15:29:39     25     spoke to Mr. Toberoff during break; correct?


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15:29:40      1          A.     Yes.    He accompanied me to the restroom.
15:29:46      2          Q.     After the break -- after coming back from the
15:29:51      3     break and after speaking to Mr. Toberoff, you gave an
15:29:57      4     answer that was not responsive to my question about
15:30:01      5     being 95 percent sure that you were going to break off
15:30:06      6     dealings with DC as early as May.        Do you recall that?
15:30:09      7          A.     Yes, I do.
15:30:10      8          Q.     And you understood in giving that answer that
15:30:12      9     that would be helpful to Mr. Toberoff because it would
15:30:20     10     help establish that Mr. Toberoff did not interfere
15:30:25     11     with DC Comics' rights; correct?
15:30:28     12          A.     I was simply telling the truth.
15:30:30     13          Q.     I didn't ask you that question.      But you
15:30:32     14     understood that that answer was helpful to
15:30:35     15     Mr. Toberoff; correct?
15:30:36     16          A.     I wasn't thinking about that.
15:30:38     17          Q.     You have -- you understood that we were
15:30:44     18     making the interference claim; correct?        You said you
15:30:48     19     read the lawsuit; right?
15:30:50     20          A.     I did read the lawsuit.
15:30:52     21          Q.     And you were trying to help Mr. Toberoff
15:30:57     22     because he told you to give that answer and to work
15:31:00     23     that into one of your answers when you came back after
15:31:03     24     a break; correct?
15:31:04     25          A.     No.    No, that's not correct.


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15:31:08      1          Q.      Fortunately we have documents.
15:31:15      2                  Speaking of which --
15:31:17      3                  MR. TOBEROFF:    Is that a question?
15:31:19      4                  MR. PETROCELLI:     It is.   It is a prelude to a
15:31:21      5     question.
15:31:25      6          Q.      Mr. Marks sent you this document that you've
15:31:30      7     described in which Mr. Toberoff appeared on the scene
15:31:36      8     with Mr. Emanuel talking about a $15 million
15:31:41      9     investment, much greater than any offer Warner Bros.
15:31:43     10     or DC had ever made in mid August, 2002; correct?
15:31:49     11          A.      Well, as I said, I don't recall the date.
15:31:51     12          Q.      Okay.    Well, take a look at this privilege
15:31:55     13     log which we will mark as Exhibit 57.
             14                 (Whereupon, Plaintiff's Exhibit 57
15:32:16     15                 was marked for identification.)
15:32:17     16                  THE WITNESS:    Is there a page you want me to
15:32:18     17     look at?
             18     BY MR. PETROCELLI:
15:32:21     19          Q.      Yes.    Take a look at item number -- take a
15:32:29     20     look at the page that starts with or that ends with
15:32:34     21     item 628.
15:32:39     22          A.      Okay.
15:32:44     23                  MR. TOBEROFF:    You got there pretty quickly.
15:32:46     24                  THE WITNESS:    I got lucky.
15:32:47     25                  MR. TOBEROFF:    Wait a second.    I need to turn


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15:32:48      1     to this.
15:32:51      2                  Okay.
              3     BY MR. PETROCELLI:
15:33:01      4          Q.      Now, you see the entry for 623?
15:33:06      5          A.      Yes.
15:33:07      6          Q.      Does Attorney Kevin Marks' letter to Joanne,
15:33:11      7     Laura Siegel -- Joanne is your mother; right?
15:33:14      8          A.      Correct.
15:33:15      9          Q.      -- Attorney Don Bulson and Attorney Bruce
15:33:20     10     Ramer.      Do you see that?
15:33:22     11          A.      Yes.
15:33:23     12          Q.      Do you remember whether the letter you
15:33:24     13     received and that your mother received in which
15:33:27     14     Mr. Marks discussed the Toberoff/Emanuel proposal
15:33:31     15     was -- also included Mr. Bulson on it?
15:33:35     16          A.      I don't remember.
15:33:36     17          Q.      Okay.   Did you discuss the letter with
15:33:39     18     Michael Siegel or Mr. Bulson?
15:33:43     19          A.      I don't remember doing that.
15:33:43     20          Q.      Mr. Bulson you understood to be Mr. Michael
15:33:49     21     Siegel's lawyer?
15:33:49     22          A.      Correct.
15:33:49     23          Q.      And you will see that was item number 623 on
15:33:52     24     this privilege log which has been marked as Exhibit --
15:33:54     25                  What?


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15:33:55      1                 MR. TOKORO:   57.
15:33:56      2                 MR. PETROCELLI:     57.
15:34:02      3          Q.     And now we go to item 624, and that's a
15:34:06      4     document dated August 12, 2002, which is a letter to
15:34:11      5     you and your mother.      Do you see that?
15:34:12      6          A.     Yes.
15:34:14      7          Q.     And then if you skip down, there's a document
15:34:17      8     dated August 20, 2002, a letter to you, your mother,
15:34:21      9     with a copy to Bruce Ramer.        That's Mr. Marks'
15:34:27     10     partner; right?
15:34:28     11          A.     Yes.
15:34:51     12          Q.     Is it your recollection that the letter you
15:34:55     13     received occurred in or about August, 2002?           Does that
15:35:00     14     sound right timewise?
15:35:01     15          A.     I have no way of knowing whether it was back
15:35:04     16     here in July or if it was in August.
15:35:07     17          Q.     Okay.
15:35:22     18                 You did not notify DC that you were cutting
15:35:29     19     off negotiations until after you heard about the
15:35:37     20     Toberoff/Emanuel offer from Kevin Marks; correct?
15:35:45     21          A.     Could have been.
15:35:46     22          Q.     Well, we saw that you cut off the --
15:35:49     23          A.     In September.
15:35:51     24          Q.     Correct.   And that was after you had already
15:35:53     25     heard about the Toberoff/Emanuel proposal from


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15:35:58      1     Mr. Marks; correct?
15:36:00      2           A.    It seems that way.
15:36:22      3           Q.    Okay.
15:36:22      4                 Did you discuss with Mr. Emanuel in the
15:36:26      5     meeting that we've been talking about, the date of
15:36:30      6     which you can't give us --
15:36:31      7           A.    Um-hum.
15:36:32      8           Q.    -- that Mr. Marks might take the position
15:36:46      9     that you already had reached an agreement with
15:36:49     10     Time-Warner and DC Comics?
15:36:51     11                 MR. TOBEROFF:    Asked and answered.
15:36:52     12                 THE WITNESS:    No.    I think you asked me.        I
15:36:55     13     said no.
             14     BY MR. PETROCELLI:
15:36:55     15           Q.    I didn't ask you that.      I asked you about
15:36:58     16     whether he would testify adversely to you.          This is a
15:37:02     17     different question.
15:37:03     18           A.    The answer is still no.
15:37:04     19           Q.    Okay.   You don't recall, or it's definitively
15:37:07     20     no?
15:37:08     21           A.    Well, I don't remember talking to Mr. Emanuel
15:37:10     22     about that subject.
15:37:11     23           Q.    This is in the group meeting now we're
15:37:13     24     talking about.
15:37:18     25           A.    Yeah, you're talking about with Mr. Emanuel


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15:37:21      1     and my mother.
15:37:22      2          Q.      Right.    Did you have any discussion in that
15:37:24      3     meeting that Warner Bros. or DC Comics might take that
15:37:28      4     position, that there was already an agreement reached
15:37:30      5     and you're not going to be able to get out of it?
15:37:34      6          A.      I don't believe so.    I think we were looking
15:37:36      7     forward, not backward.
15:37:37      8          Q.      But you had to appreciate that DC Comics and
15:37:41      9     Warner Bros. might have a different view than you;
15:37:44     10     right?      That they might say you had no right to just
15:37:48     11     terminate a deal?
15:37:49     12          A.      Everybody -- they could take that position if
15:37:52     13     they chose to.
15:37:53     14          Q.      Correct, and what I'm asking you is whether
15:37:55     15     you discussed that with the folks at this meeting.
15:38:00     16          A.      I don't remember discussing that.
15:38:02     17          Q.      Okay.    And you said you were looking forward,
15:38:07     18     meaning your focus was looking forward in making a new
15:38:11     19     deal.
15:38:11     20          A.      Yes.
15:38:26     21          Q.      Does the name David Michaels mean anything to
15:38:28     22     you?
15:38:28     23          A.      Yes.
15:38:31     24          Q.      Who is he, or how do you know him?
15:38:34     25          A.      He was a guy who worked for a short amount of


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15:38:37      1     time in Mr. Toberoff's office.
15:38:40      2          Q.     And how do you know that?
15:38:42      3          A.     Because when my mother and I went for, you
15:38:45      4     know, a meeting or two with Mr. Toberoff, he was
15:38:49      5     there, and I was introduced to him.
15:38:55      6          Q.     Do you know what year it was?
15:39:02      7          A.     What year was that?    I don't know.      Maybe
15:39:08      8     around 2004, 2005, in there somewhere.
15:39:13      9          Q.     Did you interact with him at all?
15:39:16     10          A.     You know, "Hello.    How are you."     You know,
15:39:21     11     he said, you know, he was excited to be working on
15:39:30     12     Superman.
15:39:30     13          Q.     When is the last time you had any interaction
15:39:34     14     with him of any kind or the last time your mother did,
15:39:38     15     to your knowledge?
15:39:39     16          A.     Yeah, it was -- it was late in -- I think it
15:39:46     17     was 2005.     Yeah, I think it was late in 2005.
15:39:53     18          Q.     What was the nature of that interaction?
15:39:56     19          A.     He contacted me and said he had some
15:40:00     20     information for my mother and me about our case.
15:40:04     21          Q.     Was he still working for Mr. Toberoff at that
15:40:07     22     time?
15:40:08     23          A.     It wasn't really clear to me.
15:40:14     24          Q.     What else was discussed?
15:40:19     25          A.     Other than -- are you talking about when he


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15:40:21      1     first contacted me?
15:40:22      2          Q.     I thought I asked you when you and he last
15:40:27      3     interacted.
15:40:28      4          A.     Yes.
15:40:28      5          Q.     Was that the occasion?
15:40:29      6                 MR. TOBEROFF:    She was -- I think she -- at
15:40:32      7     least I thought and she thought you were asking about
15:40:34      8     when he first contacted her.
15:40:38      9                 MR. PETROCELLI:     Okay.   Let me rewind this a
15:40:41     10     bit.
15:40:41     11                 THE WITNESS:    Okay.
             12     BY MR. PETROCELLI:
15:40:42     13          Q.     Is the last time -- when is the last time you
15:40:45     14     had any communication with David Michaels?
15:40:49     15          A.     Late in -- as I said, I believe it was 2005.
15:40:52     16          Q.     And that is because you received a telephone
15:40:54     17     call from him?
15:40:55     18          A.     A telephone call, and then he followed --
15:40:58     19     followed that up with a meeting with my mom and me.
15:41:02     20          Q.     Okay.    And where did the meeting take place?
15:41:07     21          A.     At my condominium.
15:41:11     22          Q.     Did you tell Mr. Toberoff about this meeting?
15:41:13     23          A.     Later.
15:41:15     24          Q.     Not at the time.
15:41:18     25          A.     Not at the time.


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15:41:18      1          Q.     And that was a deliberate choice on your part
15:41:27      2     not to mention to Mr. Toberoff that you were having a
15:41:27      3     meeting with someone who used to work for him;
15:41:27      4     correct?
15:41:27      5          A.     Well, yeah, it was kind of an embarrassing
15:41:30      6     situation, but, you know, we were curious.          We wanted
15:41:34      7     to know what this guy had to say.
15:41:40      8          Q.     Okay.   And how long -- what -- how long was
15:41:44      9     it between the time he called you and the time that
15:41:46     10     you folks met at your home?       What was the -- a day?            A
15:41:52     11     couple of days?
15:41:54     12          A.     A few days.
15:42:00     13          Q.     Prior to the time that he called you, you
15:42:04     14     said you think it was maybe late '05?
15:42:07     15          A.     I think so.
15:42:08     16          Q.     What was the last time before then that you
15:42:11     17     had any kind of communication with him?
15:42:14     18          A.     It was, I guess, a couple of months before
15:42:18     19     that when I had seen him at Mr. Toberoff's office.
15:42:24     20          Q.     Okay.   And when he spoke to you on the phone
15:42:28     21     and said he had information for you, did he say he
15:42:31     22     wanted to meet you?
15:42:32     23          A.     Yes.
15:42:32     24          Q.     Okay.   And you agreed?
15:42:36     25          A.     Well, I said, "What is this about," you know,


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15:42:38      1     and he said, "I really don't want to talk about it on
15:42:42      2     the phone.     You know, is it okay if I come by?"
15:42:45      3          Q.     Okay.   Did he tell you what the nature of the
15:42:48      4     information was?
15:42:48      5          A.     No, he did not, not on the phone.
15:42:50      6          Q.     So when you met with him, what did he tell
15:42:52      7     you?
15:42:52      8                 MR. TOBEROFF:    Okay.   We have asserted
15:42:55      9     privilege between your conversation with David
15:42:57     10     Michaels other than pleasantries or saying "I want to
15:43:00     11     speak to you."      As to your actual conversation, those
15:43:04     12     are privileged.
             13     BY MR. PETROCELLI:
15:43:07     14          Q.     Did -- did he give you legal advice at this
15:43:14     15     meeting --
15:43:14     16                 MR. TOBEROFF:    Don't -- don't --
             17     BY MR. PETROCELLI:
15:43:15     18          Q.     -- at a meeting that you secreted from your
15:43:18     19     lawyer?
15:43:19     20                 MR. TOBEROFF:    Don't --
15:43:19     21                 THE WITNESS:    No, he was a lawyer.
15:43:21     22                 MR. TOBEROFF:    Wait.   Wait.   Wait.    Don't --
             23     BY MR. PETROCELLI:
15:43:22     24          Q.     I know Mr. Michaels is a lawyer, but he did
15:43:29     25     not give you legal advice at this meeting; correct?


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15:43:32      1                 MR. TOBEROFF:    Okay.   I instruct you not to
15:43:34      2     answer as to the legal conclusion as to whether it's
15:43:39      3     legal advice, not legal advice.        We have already
15:43:42      4     litigated this, and those communications were upheld
15:43:45      5     as privileged.
15:43:46      6                 THE WITNESS:    Okay.
15:43:46      7                 MR. TOBEROFF:    So we're going to follow the
15:43:48      8     court's ruling.
15:43:49      9                 MR. PETROCELLI:     You know, Marc, you have a
15:43:52     10     way of misstating the record.        What the court ruled on
15:43:56     11     were certain written communications.         As you know,
15:44:00     12     there has been no record put in front of the judge
15:44:03     13     about these conversations.        So you can take the
15:44:06     14     position that the same reasoning and ruling would
15:44:09     15     apply, but I do object to your overstating the record.
15:44:12     16                 MR. TOBEROFF:    And I object to you accusing
15:44:14     17     me of misstating the record when I'm not.
15:44:17     18                 MR. PETROCELLI:     Okay, but you are misstating
15:44:19     19     it.
15:44:19     20                 MR. TOBEROFF:    No, I'm not.    The whole
15:44:22     21     lawsuit that you designed and filed is designed to
15:44:24     22     improperly interfere with the attorney-client
15:44:26     23     relationship.     So I have no doubt that you will
15:44:28     24     continue that attempt at interference at every chance
15:44:32     25     you get, try and learn every single privileged


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15:44:34      1     communication you can possibly learn, and I object to
15:44:37      2     that.   And the process, we have a lengthy list of
15:44:40      3     written communications from you and your cohorts at
15:44:44      4     your firm almost pathologically misstating the record.
15:44:49      5                 MR. PETROCELLI:     And --
15:44:49      6                 MR. TOBEROFF:   So we can cross swords on --
15:44:51      7                 MR. PETROCELLI:     Just --
15:44:52      8                 MR. TOBEROFF:   If we had a score board as to
15:44:54      9     characterizing the record -- mischaracterizing the
15:44:59     10     record, I think you're way ahead of me.
15:45:00     11                 MR. PETROCELLI:     I doubt it.   And I think you
15:45:02     12     are the lawyer who identified as privileged 15
15:45:06     13     communications that a judge found to be bogus 15 out
15:45:10     14     of 15 times.
15:45:11     15                 MR. TOBEROFF:   He didn't find them bogus, but
15:45:13     16     you also challenged all the communications.            So it was
15:45:16     17     something like 15 out of 150 that were found to be
15:45:21     18     privileged --
15:45:21     19                 MR. PETROCELLI:     Irrelevant, because they did
15:45:22     20     not relate to the accounting issues.
15:45:23     21                 MR. TOBEROFF:   And you said none of them were
15:45:25     22     privileged.
15:45:26     23                 MR. PETROCELLI:     So let's get back on track
15:45:28     24     here.   You --
15:45:29     25                 MR. TOBEROFF:   And in fact, you're seeking --


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15:45:30      1     your whole lawsuit is based on privileged documents
15:45:34      2     stolen from my law firm that your client held onto for
15:45:39      3     about five months, illegally stolen property without
15:45:42      4     even letting us know.
15:45:43      5                  MR. PETROCELLI:     As far as I'm concerned,
15:45:44      6     there's zero evidence --
15:45:45      7                  MR. TOBEROFF:   There's zero evidence?
15:45:45      8     Consider this an early holiday gift and an enclosing
15:45:48      9     document and your client said they got it in June or
15:45:51     10     July?
15:45:52     11                  MR. PETROCELLI:     Well, if you were right --
15:45:53     12                  MR. TOBEROFF:   What holiday are you taking
15:45:55     13     about?      July 4th?
15:45:56     14                  MR. PETROCELLI:     If you were right, then such
15:45:57     15     a person would be behind bars, would have been
15:46:00     16     criminally convicted, and no judge would have ever
15:46:02     17     ordered the production of those documents.
15:46:05     18                  MR. TOBEROFF:   Not necessarily, as we'll see.
15:46:06     19                  MR. PETROCELLI:     So I guess it's not as clear
15:46:08     20     cut as you're suggesting.
15:46:10     21                  MR. TOBEROFF:   We asked your client for --
15:46:12     22     it's a studio that keeps track of everything going in
15:46:15     23     and out of that studio 18 different ways from Sunday,
15:46:18     24     and they didn't have a single record of three packages
15:46:22     25     of documents in the middle of a litigation that the


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15:46:24      1     general counsel to Alan Horn, the president or CEO --
15:46:29      2     I forget which -- and the head of production, they
15:46:34      3     didn't have a single corroborating piece of evidence
15:46:34      4     as to when these three huge packages of documents
15:46:40      5     arrived at their firm, arrived at their studio.
15:46:40      6                 MR. PETROCELLI:     Just like you mysteriously
15:46:41      7     don't have any evidence to date the contacts that you
15:46:43      8     made when you interfered with my client's rights?
15:46:46      9                 MR. TOBEROFF:   I interfered with your
15:46:48     10     client's rights?
15:46:48     11                 MR. PETROCELLI:     We'll get there.
15:46:50     12                 MR. TOBEROFF:   This is something spun out of
15:46:52     13     whole cloth in order to try and leverage a settlement,
15:46:55     14     and we all know it.
15:46:55     15                 MR. PETROCELLI:     We'll get there.
15:46:56     16                 MR. TOBEROFF:   You will not get there.
15:46:58     17                 MR. PETROCELLI:     It may take time, but
15:47:00     18     there's no quickness.
15:47:01     19                 MR. TOBEROFF:   You don't have a prayer, and
15:47:02     20     you know it.
15:47:04     21                 MR. PETROCELLI:     I don't need prayers.
15:47:06     22                 MR. TOBEROFF:   You don't have a -- as --
15:47:11     23     if -- I could use an expression from my father, but I
15:47:15     24     probably shouldn't.
15:47:16     25                 MR. PETROCELLI:     No, you shouldn't.      You


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15:47:17      1     shouldn't invoke your dad.          Okay?
15:47:20      2          Q.     Ms. Siegel, when you met with Mr. Michaels --
15:47:30      3     first of all, did you take any notes?
15:47:32      4          A.     No, I don't believe so.
15:47:33      5          Q.     Did your mother?
15:47:35      6          A.     No.
15:47:39      7          Q.     What happened with respect to your
15:47:42      8     interaction with Mr. Michaels after he left?
15:47:46      9     Anything?
15:47:47     10          A.     After he left?
15:47:47     11          Q.     Yes, after the meeting was over.
15:47:50     12          A.     He sent -- he sent me a follow-up e-mail.
15:47:57     13          Q.     So you got just one e-mail from him?
15:48:02     14          A.     I'm remembering one in particular right now.
15:48:06     15     May have received more than one.
15:48:07     16          Q.     And did you respond to the e-mails?
15:48:10     17          A.     Yes, I did.
15:48:16     18          Q.     Did you basically tell him not to contact you
15:48:19     19     again?
15:48:19     20          A.     You bet.
15:48:20     21          Q.     Okay.    So after you responded to his e-mail,
15:48:27     22     did he respond to you again or communicate in any way
15:48:32     23     with you again, or your mother, for that matter?
15:48:34     24          A.     Yeah, I think he sent an e-mail apologizing
15:48:38     25     for trying to --


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15:48:39      1                 MR. TOBEROFF:    Don't -- don't discuss the
              2     substance.
15:48:41      3                 THE WITNESS:    Okay.
              4     BY MR. PETROCELLI:
15:48:42      5          Q.     Apologizing?
15:48:43      6          A.     Apologizing to my mom and me.
15:48:48      7          Q.     Okay.   And when is the last time you saw
15:48:50      8     those e-mails?
15:48:52      9          A.     It's been a long time.    I don't know.
15:48:54     10          Q.     What was he apologizing for?
15:48:57     11          A.     For something that was discussed that it
15:49:02     12     seems to me that I cannot reveal.
15:49:06     13          Q.     Do you remember what you and he discussed?
15:49:09     14          A.     Yes.
15:49:10     15          Q.     Okay.   And I think I've asked you this, and I
15:49:17     16     think you have instructed.       But did he give you legal
15:49:19     17     advice in that meeting?
15:49:23     18                 MR. TOBEROFF:    Calls for a legal conclusion.
15:49:27     19                 THE WITNESS:    May I answer that question?
15:49:33     20                 MR. TOBEROFF:    No, I don't think you can
15:49:35     21     answer that question, characterizing his
15:49:39     22     communications.      There's been certain limited
15:49:42     23     disclosure as to David Michaels which was held not to
15:49:46     24     be a waiver of the privilege, and I don't want you to
15:49:53     25     go beyond that.


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15:49:54      1                 THE WITNESS:    Okay.
              2     BY MR. PETROCELLI:
15:49:59      3          Q.     Did -- well, certainly when Mr. Michaels
15:50:06      4     apologized to you, he wasn't giving you legal advice,
15:50:10      5     was he?
15:50:12      6          A.     No.    It was at -- the apology was based on
15:50:16      7     something that had previously occurred.
15:50:20      8          Q.     And did -- do you know -- did Mr. -- to your
15:50:24      9     knowledge, did Mr. Michaels learn anything at the
15:50:29     10     meeting that caused him later to apologize?
15:50:34     11          A.     No.    It's not something that he learned.
15:50:36     12     It's -- he was apologizing for something that he did.
15:50:40     13          Q.     To you and your mother?
15:50:43     14                 MR. TOBEROFF:      I will allow you to testify as
15:50:45     15     to what he apologized -- you know, I think we're --
15:50:51     16     you characterize as an apology broadly because I
15:50:57     17     believe it was disclosed previously and held not to be
15:51:00     18     a waiver of the privilege.          So you can testify
15:51:03     19     generally as to what he was apologizing for.
15:51:07     20                 THE WITNESS:    It became very clear when he
15:51:10     21     was -- when he was at the meeting and then in this
15:51:13     22     follow-up e-mail that he sent to us that it was a bold
15:51:17     23     attempt on his part to steal my mom and I away from
15:51:22     24     Mr. Toberoff as clients, and he wanted us to sign with
15:51:26     25     him for him to be our attorney.


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15:51:29      1     BY MR. PETROCELLI:
15:51:29      2          Q.     And why would he apologize for that, to your
15:51:33      3     knowledge?
15:51:34      4          A.     Because we let him know that we were
15:51:39      5     outraged --
15:51:39      6          Q.     Okay.
15:51:40      7          A.     -- that he would do that.
15:51:41      8          Q.     When did you let him know that?
15:51:43      9          A.     By e-mail.
15:51:44     10          Q.     You didn't tell him at the meeting?
15:51:48     11          A.     We told him that -- you know, we didn't --
15:51:52     12                 MR. TOBEROFF:    Wait.
             13     BY MR. PETROCELLI:
15:51:52     14          Q.     Did you kick him out of your house and say
15:51:56     15     "What are you doing here?"
15:51:58     16          A.     Let me put it this way.    All of his motives
15:52:03     17     were not revealed in our meeting.       It became much --
15:52:08     18     it became clearer, you know, after the meeting when he
15:52:13     19     sent follow-up e-mails what his actual intention was.
15:52:21     20          Q.     After the meeting and before you received the
15:52:27     21     e-mails -- well, after he left the meeting with you,
15:52:30     22     did you have a belief that he was interested in having
15:52:35     23     you sign with him?
15:52:37     24          A.     On his way out the door he turned and said,
15:52:41     25     "I've got an idea.       You know, why don't you guys just,


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15:52:44      1     you know, come with me and I'll introduce you to
15:52:47      2     another firm."
15:52:49      3          Q.     Did he identify the firm?
15:52:52      4          A.     No.    I think he was looking for a job at the
15:52:56      5     time.
15:52:58      6          Q.     Okay.    Had he been fired?
15:53:02      7          A.     I don't -- I don't know.
15:53:02      8          Q.     Did he tell you what his employment status
15:53:05      9     was?
15:53:05     10          A.     I think he said he was looking for a job.
15:53:12     11          Q.     And then when he said that to you as he was
15:53:15     12     going out the door, what did you or your mother say to
15:53:19     13     him?    "Don't waste your time" or you're not
15:53:22     14     interested, or what do you recall saying?
15:53:24     15          A.     It was -- it was like -- first of all, we
15:53:28     16     were shocked because we thought it was pretty
15:53:32     17     outrageous, and, you know, we felt that he had, you
15:53:35     18     know, come -- come in to talk to us under false
15:53:42     19     pretenses.     But he was -- he was on the way out the
15:53:45     20     door, and my mom and I, you know, didn't have to kick
15:53:47     21     him out because he was already leaving, but, you know,
15:53:51     22     we wanted to talk about it afterwards and figure out
15:53:54     23     what had just happened.
15:53:58     24          Q.     So after he left, what did you and your
15:54:01     25     mother discuss that you would do with this encounter


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15:54:03      1     that you just had?
15:54:06      2          A.     My mom and I said we didn't have a good
15:54:08      3     feeling about it, you know, but we just -- we wanted
15:54:12      4     to, you know, to kind of think, just as we do about
15:54:15      5     everything, think about things, talk about things, and
15:54:18      6     what could this guy's motivations possibly be.
15:54:22      7          Q.     Did he provide you any documents?
15:54:25      8          A.     He had documents with him, but he didn't
15:54:27      9     really provide them to me.
15:54:29     10          Q.     Did he show them to you?
15:54:30     11          A.     He was waving stuff around.
15:54:32     12          Q.     What was he waving?   Can you tell me the best
15:54:35     13     as you can recall any of the documents that he was
15:54:37     14     waving around?
15:54:39     15          A.     I did not see them enough to be able to read
15:54:44     16     them, so I couldn't identify them.
15:54:47     17          Q.     Well, when he was waving them around, he was
15:54:51     18     identifying them; right?
15:54:52     19          A.     He said, "I've got some stuff here and" --
15:54:55     20          Q.     Did it relate to your case?
15:54:57     21          A.     He said -- he said it did.
15:55:01     22          Q.     Had he written this -- do you think he's the
15:55:03     23     author of this timeline document?       Are you familiar
15:55:06     24     with the timeline document?
15:55:08     25          A.     I saw it in your Complaint.


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15:55:09      1          Q.      Okay.    And you had not seen it prior to
15:55:19      2     seeing it in our Complaint?
15:55:21      3          A.      No.    I don't recall ever seeing it before
15:55:23      4     your Complaint.
15:55:24      5          Q.      You had not -- you had not heard about the
15:55:32      6     litigation regarding it in your case back in 2006, '7,
15:55:37      7     and '8?
15:55:38      8          A.      Oh, well, I'm sorry.        I'm sorry.   I guess
15:55:41      9     you're right.        I guess it was before then.
15:55:44     10          Q.      Was this encounter with Mr. Michaels before
15:55:47     11     or after he sent -- withdrawn.
15:55:51     12                  Do you believe he's the person who wrote this
15:55:54     13     timeline document?
15:55:54     14          A.      Yes, I do.
15:55:55     15          Q.      How do you know he wrote it?
15:55:58     16          A.      It sounds like him.
15:56:01     17          Q.      Let me make sure I put the document in front
15:56:04     18     of you just so we have a record.
15:56:05     19          A.      Okay.
15:56:09     20                  MR. PETROCELLI:        This is Exhibit 58.
15:56:10     21                  THE WITNESS:    Thank you.
             22                 (Whereupon, Plaintiff's Exhibit 58
15:56:16     23                 was marked for identification.)
             24     BY MR. PETROCELLI:
15:56:17     25          Q.      Did you first learn of Exhibit 58, what we've


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                                                                           Page 197
15:56:20      1     been calling the Toberoff timeline, before or after
15:56:23      2     your encounter with Mr. Michaels at your home?
15:56:25      3          A.     After.
15:56:26      4          Q.     Okay.    Was it shortly after or long after?
15:56:31      5     Can you estimate the time interval?
15:56:36      6          A.     I -- I think it was long after, but it
15:56:39      7     depends what you mean by long.
15:56:41      8          Q.     Months?    Years?
15:56:42      9          A.     It wasn't years.
15:56:47     10          Q.     Was -- so it's now your recollection that you
15:56:53     11     first saw this timeline document when the issues
15:56:57     12     surfaced in the case you brought?
15:57:01     13          A.     Well, whenever it was first produced for
15:57:06     14     whatever case that was, that was when I saw it.
15:57:11     15     What -- which case it was, there's so many different
15:57:14     16     cases and motions and things like that, I mean I
15:57:16     17     can't -- I can't remember exactly which one, but
15:57:19     18     whenever it was first presented, that -- in a legal
15:57:23     19     forum, that was the first time I saw it.
15:57:26     20          Q.     At some point in time you learned that Warner
15:57:30     21     Bros. had received and notified Mr. Toberoff that it
15:57:34     22     had received an anonymous submission regarding your
15:57:40     23     case; correct?
15:57:41     24          A.     Yes.
15:57:43     25                 MR. TOBEROFF:    Anonymous submission.        I like


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                                                                             Page 198
15:57:47      1     that.
              2     BY MR. PETROCELLI:
15:57:48      3          Q.     And at that time did you have an occasion to
15:58:00      4     see the document or the documents that Warner Bros.
15:58:05      5     had received?       Were they shown to you by Mr. Toberoff
15:58:09      6     or anyone else?
15:58:12      7          A.     I -- I don't remember when it was that I
15:58:14      8     first saw it.
15:58:15      9          Q.     When you saw the document for the first time,
15:58:17     10     that is, Exhibit 56 --
15:58:21     11                 Jason?
15:58:23     12                 THE WITNESS:    58.
15:58:24     13                 MR. TOKORO:    58.
15:58:24     14                 MR. PETROCELLI:      58?   Okay.
15:58:25     15          Q.     When you saw Exhibit 58, did it discuss
15:58:30     16     matters similar to what had been discussed in the
15:58:35     17     meeting that Mr. Michaels had with you?
15:58:37     18          A.     Yes.
15:58:39     19          Q.     Okay.
15:58:39     20          A.     Because he was talking about unconscionable
15:58:42     21     fees, unconscionable fees.
15:58:50     22          Q.     And did you -- after the meeting that you had
15:58:53     23     with Mr. Michaels, did you relate the contents of the
15:58:59     24     meeting to Mr. Toberoff?
15:59:03     25          A.     Yes, at a certain point I did, yes.


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15:59:08      1          Q.     Did you do that before the e-mail exchange or
15:59:12      2     right after Mr. Michaels left your home?
15:59:15      3          A.     No.    It was after the e-mail exchange.
15:59:17      4          Q.     So even though I think you said you were
15:59:21      5     outraged by his suggestion as he left the door, it
15:59:25      6     wasn't until after this e-mail exchange that you first
15:59:28      7     mentioned it to Mr. -- Mr. Toberoff; right?
15:59:31      8          A.     Right.
15:59:35      9          Q.     Did you relate that discussion that you had
15:59:38     10     with Mr. Michaels to anybody else in order to see if
15:59:43     11     there was any, you know, anything to it?
15:59:46     12          A.     No.
15:59:46     13          Q.     Like, for example, George?
15:59:48     14          A.     No.
15:59:48     15          Q.     Or Arthur?
15:59:50     16          A.     No.
15:59:51     17          Q.     Arthur Levine I'm talking about.
15:59:53     18          A.     Correct.
16:00:03     19          Q.     The unconscionable fee, is that -- what was
16:00:06     20     the unconscionable fee?            The 40 percent fee?
16:00:10     21          A.     Yeah.
16:00:20     22          Q.     The document that you received and the e-mail
16:00:24     23     from Mr. Michaels following your meeting with him was
16:00:28     24     what?     A proposed engagement agreement?
16:00:31     25                 MR. TOBEROFF:      You can answer that.


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16:00:32      1                 THE WITNESS:   Yes.
              2     BY MR. PETROCELLI:
16:00:34      3          Q.     And on the stationery of or letterhead of
16:00:37      4     what firm?
16:00:38      5          A.     His -- his own, his home address.
16:00:41      6          Q.     Okay.   And did you ask for it?
16:00:46      7          A.     Absolutely not.
16:00:47      8          Q.     So it was unsolicited?
16:00:49      9          A.     Unsolicited.
16:00:51     10          Q.     What did you do with it?
16:00:53     11          A.     Well, I discussed it with my mother, and we
16:00:58     12     wrote a response telling him, you know, that we had
16:01:02     13     absolutely no interest in that or in discussing
16:01:06     14     anything with him further.
16:01:08     15          Q.     And then he wrote back saying "I'm sorry"?
16:01:11     16          A.     Yeah, "Didn't want to offend you."
16:01:15     17          Q.     And that's where it was left, with his
16:01:18     18     apology?
16:01:18     19          A.     Yes.
16:01:21     20          Q.     Okay.   And what did his document provide?
16:01:24     21          A.     What do you mean?
16:01:26     22          Q.     What did it say, his unsolicited agreement or
16:01:31     23     proposed agreement?
16:01:31     24          A.     Well, he actually sent two documents.
16:01:34     25          Q.     What were the two documents?


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16:01:36      1          A.     One was his draft of an unsolicited, you
16:01:43      2     know, agreement retaining him as our attorney at a --
16:01:48      3     at a lower percentage than the one that Mr. Toberoff
16:01:55      4     had in our litigation agreement with him.
16:01:57      5          Q.     What was the percentage?
16:01:58      6          A.     I really don't -- I don't remember right now.
16:02:00      7          Q.     But you do remember it was lower.
16:02:02      8          A.     Yes.    Yes.
16:02:04      9          Q.     What was the other document?
16:02:05     10          A.     The other document was an unsolicited draft
16:02:09     11     that he had put together that he wanted us to sign
16:02:15     12     terminating --
16:02:15     13          Q.     Mr. Toberoff?
16:02:17     14          A.     -- Mr. Toberoff.
16:02:17     15          Q.     Okay.    And you didn't ask for any of those
16:02:19     16     documents; right?
16:02:20     17          A.     No.
16:02:20     18          Q.     And there was no discussion at the meeting
16:02:22     19     that he was going to send you those documents?
16:02:24     20          A.     No.
16:02:24     21          Q.     That was a complete surprise to you; right?
16:02:26     22          A.     Yes.    It really pissed us off.
16:02:30     23          Q.     Okay.    And you -- what did the -- did the
16:02:36     24     letter terminating Mr. Toberoff -- Mr. Toberoff give a
16:02:39     25     reason for his termination?


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16:02:41      1          A.     No, I don't think so.      I think it was just,
16:02:45      2     you know, "We no longer want your services" or
16:02:48      3     something like that, and we had never said anything
16:02:52      4     like that to him.      In fact, we were very happy with
16:02:56      5     Mr. Toberoff.
16:02:57      6          Q.     Did Mr. Michaels explain to you why he
16:03:02      7     thought you should fire Mr. Toberoff?
16:03:05      8          A.     Because he said that he was charging us
16:03:08      9     unconscionable fees.
16:03:10     10          Q.     Did you do any diligence or checking into the
16:03:17     11     reasonableness of the fee after that discussion?
16:03:24     12          A.     No.
16:03:25     13          Q.     Did he explain to you why he thought it was
16:03:29     14     unconscionable?
16:03:30     15          A.     His discussion was -- it seemed to be coming
16:03:35     16     from a very confused person.         He was talking all over
16:03:38     17     the place and not very clear about what he was trying
16:03:41     18     to express, so it was very hard to follow what he was
16:03:46     19     saying.
16:03:46     20          Q.     Did he seem to you like he was not of sound
16:03:52     21     mind?
16:03:52     22          A.     He seemed extremely nervous and very, very
16:03:58     23     skittish about everything.
16:04:01     24          Q.     Did you think he was ill?
16:04:04     25          A.     He didn't look like he was ill.      It just


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                                                                           Page 203
16:04:07      1     looked like he was --
16:04:08      2          Q.     Mentally imbalanced?
16:04:10      3          A.     I don't know whether it was -- it's like he
16:04:14      4     knew he was doing something wrong and that -- that he
16:04:17      5     felt guilty about it and he was trying to kind of
16:04:21      6     cover his tracks or something.
16:04:23      7          Q.     Did he explain to you why he would care if
16:04:30      8     Mr. Toberoff was charging you an unconscionable fee?
16:04:34      9          A.     That's what didn't make sense to us at all.
16:04:37     10     You know, that's -- you know, it was like, you know,
16:04:41     11     "It hurts me to see this happening to you," you know.
16:04:45     12     So when the pitch came at the end for "Hey, I can do
16:04:48     13     this for you for less," it started, you know --
16:04:52     14          Q.     Well, you said before that it was kind of a
16:04:57     15     passing comment as he walked out the door.          "Hey, I've
16:04:59     16     got an idea.       You can hire me."   Do you recall that?
16:05:02     17          A.     Yes.
16:05:05     18          Q.     When he said that, did you tell him "I have
16:05:09     19     no interest in hiring you," or I think you said you
16:05:12     20     didn't and that's why he followed up with those
16:05:14     21     e-mails; right?
16:05:15     22          A.     Yeah.    We just -- you know, it's like "Bye."
16:05:20     23          Q.     Well, when he was explaining this story to
16:05:28     24     you about unconscionable fees and all, did you ask
16:05:28     25     him, "Why are you telling us this?        What's your


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16:05:31      1     purpose?     Why are you here?       What is the reason why
16:05:34      2     you're sharing this with us?"
16:05:36      3          A.     Because he --
16:05:38      4          Q.     Did you ask him those questions?
16:05:39      5          A.     Well, as I said before, you know, he was
16:05:42      6     volunteering that out of the goodness of his heart.
16:05:44      7     You know, he felt that, you know, he as an attorney
16:05:49      8     had a -- what was it?       He had the responsibility to
16:05:55      9     talk to us about this.
16:05:59     10          Q.     Did he tell you that he had had some kind of
16:06:03     11     dispute or disagreement with Mr. Toberoff?
16:06:06     12          A.     No.    I don't recall him saying anything like
16:06:07     13     that.
16:06:08     14          Q.     Did he tell you that he had been fired?
16:06:14     15          A.     I think he just -- you know, I don't -- I
16:06:21     16     don't remember how he explained it.          I think he just
16:06:25     17     said, you know, "I'm no longer with the firm."              I
16:06:28     18     think that was it.
16:06:29     19          Q.     Okay.    And now, given this bizarre discussion
16:06:36     20     about a person who seemed skittish to you, talking
16:06:41     21     about unconscionable fees, kind of not making sense,
16:06:45     22     going outside, you know, and as he leaves he said
16:06:48     23     "Hey, I'll represent you," why didn't you immediately
16:06:52     24     call up Mr. Toberoff and say, "What's the story with
16:06:55     25     this guy?"


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16:06:57      1          A.      I don't know.    You know, it just -- we
16:07:01      2     felt -- we felt uncomfortable about the whole thing,
16:07:03      3     and in a way we kind of felt sorry for the guy, you
16:07:06      4     know, because I mean here's this young guy.            You know,
16:07:11      5     he's out of work.      He said he was trying to do
16:07:14      6     something to help us.        It turned out that he wasn't,
16:07:19      7     but, you know, we thought, you know, he'll just go
16:07:23      8     away.
16:07:23      9          Q.      Why do you say it turned out that he wasn't?
16:07:29     10          A.      No, I don't know why I said that.       No, I just
16:07:31     11     mean that at that moment he didn't appear threatening
16:07:34     12     to us.      You know, when we were right there, it wasn't
16:07:39     13     as if we felt we were physically in danger or
16:07:43     14     anything, but we became more concerned, you know, when
16:07:45     15     we started getting these e-mails, and fortunately, you
16:07:49     16     know, he wasn't in our presence, but, you know, I
16:07:53     17     started really getting concerned at that point about,
16:07:55     18     you know, what's going on with this guy?
16:07:58     19          Q.      Did you forward the e-mails to Mr. Toberoff?
16:08:03     20          A.      I did eventually, yes.
16:08:07     21          Q.      Have you forwarded them to anyone else?
16:08:09     22          A.      I don't believe so.
16:08:19     23          Q.      Did he discuss with you other -- besides the
16:08:23     24     unconscionable fees, did he discuss with you other
16:08:28     25     matters of the sort set forth in Exhibit 58, the


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                                                                           Page 206
16:08:32      1     Superman Marc Toberoff timeline?
16:08:36      2          A.     Well, you know, I know he said something to
16:08:38      3     us to the effect of "Did you know that Marc represents
16:08:42      4     the Shusters?"     Of course we knew that.     You know, I
16:08:44      5     mean he acted like that was, you know, a big
16:08:47      6     disclosure, that it was something that we didn't know
16:08:50      7     and that it was something -- that there was something
16:08:53      8     wrong with that.     And of course, you know, we knew
16:08:56      9     that because Jean Peavy had recommended Marc Toberoff.
16:09:03     10     So he kept, you know, trying to, you know, stir the
16:09:08     11     pot.
16:09:09     12          Q.     Did he discuss with you the idea that Marc
16:09:21     13     Toberoff together with Ari Emanuel claimed to have had
16:09:27     14     a billionaire, a mysterious billionaire investor as a
16:09:34     15     way of getting in the door with you?
16:09:35     16          A.     Yeah, well, he said a lot of things that we
16:09:38     17     thought was a lot of crap.
16:09:40     18          Q.     Was that one of them?
16:09:41     19          A.     That was one of them.
16:09:42     20          Q.     He said that at the meeting, or are you just
16:09:47     21     remembering what you think he wrote in the document?
16:09:49     22          A.     I don't know.   It could be that the document
16:09:52     23     is influencing me.     But I know that he, you know, he
16:09:59     24     was just constantly saying -- saying things that in
16:10:04     25     his mind he thought would shock us.


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16:10:07      1          Q.     Did -- when he discussed -- when he discussed
16:10:13      2     the issue of the Shusters with you, did he talk about
16:10:21      3     issues related to Superboy?
16:10:25      4          A.     I don't recall that coming up.
16:10:27      5          Q.     Did he discuss with you that when
16:10:35      6     Mr. Toberoff first began to work with the Shusters,
16:10:40      7     that the Shusters claimed that Joe Shuster had been a
16:10:48      8     co-creator of Superboy and they were seeking rights to
16:10:51      9     Superboy?
16:10:52     10                 MR. TOBEROFF:   Misstates the record and the
16:10:55     11     evidence.
16:10:55     12                 MR. PETROCELLI:     I'm not purporting to state
16:10:58     13     anything.
16:10:58     14                 MR. TOBEROFF:   The way you're phrasing it.
16:10:59     15                 MR. PETROCELLI:     I'm asking a question.
16:11:00     16                 MR. TOBEROFF:   The way -- you had said
16:11:02     17     "discussed his claim that."        You stated it as a fact
16:11:08     18     almost.
16:11:08     19                 MR. PETROCELLI:     It's called coaching the
16:11:10     20     witness.
16:11:11     21          Q.     Can you answer that question?
16:11:13     22          A.     Well, I believe you're asking me whether he
16:11:16     23     discussed Superboy with us?
16:11:18     24          Q.     Generally, but I was asking for specifically
16:11:20     25     whether he discussed the idea that the Shuster family


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16:11:25      1     asserted that Joe Shuster was a co-creator of Superboy
16:11:32      2     and on that basis the Shusters were claiming copyright
16:11:37      3     termination interests.
16:11:37      4          A.     I --
16:11:39      5                 MR. TOBEROFF:    Wait.   Same objection.       Lacks
16:11:40      6     foundation.     Assumes facts.
16:11:41      7                 THE WITNESS:    No, I don't recall that being
16:11:45      8     discussed.
              9     BY MR. PETROCELLI:
16:11:46     10          Q.     Did he discuss with you that after or as part
16:11:54     11     of working with the Siegel family, Mr. Toberoff caused
16:12:01     12     the Shusters to disavow any interest in Superboy?
16:12:04     13          A.     No, he did not discuss that with us.
16:12:13     14          Q.     You're aware that the Shusters when they
16:12:21     15     initially began working with Mr. Toberoff asserted an
16:12:25     16     interest in Superboy.
16:12:27     17          A.     Well, I really don't know much about the
16:12:29     18     Shuster case because that's their business.
16:12:32     19          Q.     Well, you were aware from reading our
16:12:35     20     lawsuit; right?
16:12:35     21          A.     From reading your lawsuit.
16:12:37     22          Q.     Right.   And you're aware from reading our
16:12:41     23     lawsuit that when Mr. Toberoff started working with
16:12:46     24     you and your mom, he then entered into a new
16:12:51     25     arrangement with the Shusters whereby they disavowed


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16:12:55      1     any interest in Superboy.
16:12:57      2          A.     I don't know anything about his arrangements
16:12:58      3     with the Shusters.
16:13:00      4          Q.     Have you ever inquired of anybody why the
16:13:04      5     Shusters would give up their entire interest in
16:13:07      6     Superboy that they were asserting at one point in
16:13:10      7     time?
16:13:10      8                 MR. TOBEROFF:      Assumes facts.    Lacks
16:13:12      9     foundation.
16:13:12     10                 THE WITNESS:    I think they -- they found out
16:13:16     11     by reading more carefully the 1947 ruling.
             12     BY MR. PETROCELLI:
16:13:21     13          Q.     Well, that's an interesting point.           It's not
16:13:23     14     what I asked you.       That's your speculation; right?
16:13:28     15          A.     That's my speculation.
16:13:30     16          Q.     And you know there's a lot of documents after
16:13:32     17     1947 that they could have read that would have
16:13:36     18     informed them that Joe Shuster was a co-creator of
16:13:41     19     Superboy; correct?
16:13:41     20          A.     I don't know that.
16:13:42     21          Q.     I know that you picked the 1947 ruling
16:13:44     22     because that's the one Mr. Toberoff likes to talk
16:13:46     23     about; right?
16:13:48     24          A.     No.    That's the one that my father told me
16:13:51     25     about my entire life.


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16:13:52      1          Q.      But that's not the last word on the subject;
16:13:54      2     right?
16:13:54      3          A.      I don't know that that's the last word on the
16:13:56      4     subject.
16:13:57      5          Q.      And you're aware that there are documents
16:13:58      6     that both Joe Shuster and your dad caused to be filed
16:14:03      7     in which they claimed co-credit for Superboy; correct?
16:14:06      8          A.      I do not know that.
16:14:07      9          Q.      And you have seen those copyright
16:14:10     10     certifications.
16:14:10     11          A.      I don't recall anything like that.
16:14:11     12          Q.      Copyright registration documents; correct?
16:14:15     13                  MR. TOBEROFF:    Just slow it down.     Let him
16:14:18     14     finish the question.        What's your answer?
16:14:20     15                  THE WITNESS:    My answer is I have not seen
16:14:21     16     those.      I have not seen what you're referring to.
             17     BY MR. PETROCELLI:
16:14:24     18          Q.      But I had asked you not to surmise that the
16:14:29     19     Shusters must have read some opinion back in 1947.                 I
16:14:32     20     had asked you if you had ever discussed with anyone
16:14:36     21     why they would disavow on the interest in Superboy
16:14:42     22     that they previously had --
16:14:43     23          A.      Okay.
16:14:44     24          Q.      -- claimed.
16:14:45     25          A.      I didn't understand that that was your


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16:14:46      1     question.      The answer to that is no.
16:15:06      2          Q.      Okay.    Do you have a copy of our Complaint
16:15:14      3     there just while we're on this subject?
16:15:18      4          A.      No, I don't.
16:15:34      5          Q.      You are aware that in Action Comics No. 1,
16:15:39      6     Mr. Shuster did the illustrations or worked on the
16:15:43      7     illustrations; correct?
16:15:44      8          A.      Yes.
16:15:44      9          Q.      And there's some depiction of Superman as a
16:15:51     10     youth with super powers; correct -- not in Action
16:15:54     11     Comics No. 1.        Excuse me.    In Superman No. 1.
16:15:58     12          A.      I haven't seen it for a long time.
16:16:01     13          Q.      Okay.    Well, rather than put you through a
16:16:03     14     memory test, can you take a look at our Complaint
16:16:07     15     which has been marked as Exhibit 59.          Turn to page 29,
16:16:12     16     paragraph 88.
             17                 (Whereupon, Plaintiff's Exhibit 59
16:16:16     18                 was marked for identification.)
16:16:17     19                  THE WITNESS:    29, paragraph 88, yes.
16:16:18     20                  MR. PETROCELLI:      Yes.
16:16:21     21          Q.      When you read paragraph 88 and you saw the
16:16:26     22     first bullet under paragraph 88 which states that, in
16:16:33     23     part, "Toberoff had entered into the 2001
16:16:37     24     joint-venture agreement with the Shuster Heirs,
16:16:40     25     specifying that the Shuster Heirs owned an interest in


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16:16:42      1     'Superboy,'" do you see that?
16:16:43      2          A.      I see that.
16:16:44      3          Q.      Was that the first time you had learned that?
16:16:46      4          A.      Yes, I believe so.     I don't recall, you know,
16:16:52      5     any -- any previous discussion.
16:16:54      6          Q.      Okay.
16:16:55      7                  MR. TOBEROFF:    I object to the question to
16:16:58      8     the extent that you're characterizing allegations as
16:17:11      9     fact.
16:17:11     10                  MR. PETROCELLI:     Can you get me the 2001.
16:17:20     11          Q.      Take a look at Exhibit 10, please.
             12                  (Whereupon, Plaintiff's Exhibit 10
16:17:23     13                 was placed before the witness.)
16:17:23     14                  THE WITNESS:    Thank you.
             15     BY MR. PETROCELLI:
16:17:31     16          Q.      This is an agreement by Pacific Pictures
16:17:37     17     Corporation through its president, Marc Toberoff, and
16:17:42     18     Jean Peavy and Warren Peary dated as of November 23,
16:17:48     19     2001.     This has previously been marked as Exhibit 10.
16:17:50     20     Do you see that?
16:17:51     21          A.      Yes, I do.
16:17:53     22          Q.      Okay.   And you will see that in the first
16:18:00     23     paragraph it's discussing formation of a joint venture
16:18:04     24     with respect to Mr. Shuster's claimed copyright
16:18:07     25     interest.      Do you see that?


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16:18:08      1          A.     Well, I see it, but I'm not fully reading it.
16:18:11      2     Do you want me to spend the time to read it?
16:18:16      3          Q.     Not really just because I don't want to pass
16:18:18      4     the time.
16:18:18      5                 Take paragraph 1, and you might read
16:18:22      6     paragraph 1 to yourself.
16:18:25      7                 MR. TOBEROFF:   Before answering any questions
16:18:26      8     regarding this agreement, if there is a question as
16:18:29      9     opposed to a rhetorical statement, then I would like
16:18:32     10     you to please read whatever he's asking you very
16:19:05     11     carefully.
             12     BY MR. PETROCELLI:
16:19:06     13          Q.     You do see the reference there that the
16:19:11     14     rights that are the subject of this agreement include
16:19:21     15     Superboy and Smallville; correct?
16:19:22     16          A.     I see that it's written there.
16:19:28     17          Q.     Okay.   Was this shown to you at the time that
16:19:31     18     you entered into your first agreement with
16:19:36     19     Mr. Toberoff?
16:19:36     20          A.     No, it was not.
16:19:40     21          Q.     When you signed your agreement with
16:19:43     22     Mr. Toberoff in August, 2002 -- excuse me -- in
16:19:46     23     October, 2002, the one with IP Worldwide --
16:19:49     24          A.     Yeah, the end of October.
16:19:51     25          Q.     The end -- whenever it was --


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16:19:53      1          A.     Yeah.
16:19:53      2          Q.     -- were you aware that as of that point in
16:19:58      3     time that Mr. Toberoff had entered into a joint
16:20:02      4     venture through his company, Pacific Pictures, with
16:20:06      5     the Shusters regarding Superman rights that included,
16:20:09      6     without limitation, Superboy?
16:20:11      7                 MR. TOBEROFF:      Misstates the paragraph 1.
              8     BY MR. PETROCELLI:
16:20:15      9          Q.     You can answer.
16:20:17     10          A.     The information that we had from Jean Peavy
16:20:20     11     was that Mr. Toberoff was her attorney, and she didn't
16:20:25     12     supply us with any agreements or any more details than
16:20:29     13     that.
16:20:29     14          Q.     You didn't even know that Mr. Toberoff had
16:20:32     15     entered into a joint venture through his company,
16:20:36     16     Pacific Pictures?
16:20:37     17          A.     We knew that he was their attorney.
16:20:39     18          Q.     No, you're not answering my question.
16:20:41     19          A.     No, I'm trying to.       I'm sorry.
16:20:43     20          Q.     No.    What you're doing is you're continuing
16:20:45     21     to assert that Mr. Toberoff's your attorney because
16:20:49     22     you believe that it is important to his case and your
16:20:53     23     case to say that.
16:20:54     24                 MR. TOBEROFF:      Please don't argue with the
16:20:55     25     witness.


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16:20:55      1                  THE WITNESS:    No, I'm not.
16:20:57      2                  MR. TOBEROFF:    Wait a second.    Ask your
16:20:59      3     question.      Don't argue with her.
              4     BY MR. PETROCELLI:
16:20:59      5          Q.      I'm capable of asking a question that will
16:21:02      6     elicit that answer, but frankly, you know, we have
16:21:05      7     somewhat limited time.        I'm not asking that question,
16:21:08      8     so please bear with me.
16:21:10      9                  Can you read my question back?      I move to
16:21:12     10     strike that answer as nonresponsive.
16:21:14     11                  THE WITNESS:    Okay.   I just wanted to say I'm
16:21:16     12     sorry.      That's just the way I express myself
16:21:19     13     sometimes.      I'll try and listen more closely to your
16:21:21     14     question.
16:21:22     15                  MR. TOBEROFF:    And I would advise you don't
16:21:25     16     let Mr. Petrocelli browbeat you with his argumentative
16:21:29     17     statements.      You answer the questions as you see fit.
16:21:32     18                  THE WITNESS:    Um-hum.
16:21:51     19                  (The record was read.)
16:21:51     20                  THE WITNESS:    The answer is no.
16:21:54     21                  MR. PETROCELLI:     Let me sharpen my question a
16:21:56     22     bit.
16:21:56     23          Q.      As of the time you had entered into the first
16:21:59     24     agreement with Mr. Toberoff, the IP Worldwide
16:22:02     25     agreement in October of 2002 or as of October, 2002,


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16:22:07      1     were you aware that he, through Pacific Pictures or
16:22:10      2     any other entity, had entered into a joint venture
16:22:16      3     agreement with the Shusters regarding Superboy or
16:22:19      4     Superman?
16:22:19      5          A.     Would you speak up just a little bit?          I
16:22:22      6     think I got what you said, but I'd appreciate it if
16:22:24      7     maybe she could read it back.
16:22:27      8                 MR. PETROCELLI:     Definitely I will try to
16:22:28      9     speak up.
16:22:29     10                 THE WITNESS:   Thank you.
             11                 (The record was read.)
16:22:52     12                 THE WITNESS:   No, I was not aware of that.
             13     BY MR. PETROCELLI:
16:22:54     14          Q.     Were you aware of that as of the time that
16:22:57     15     you entered into what you call the litigation
16:22:59     16     agreement with Mr. Toberoff sometime in 2004?
16:23:05     17          A.     You're asking the same question about if I
16:23:07     18     knew about this?
16:23:08     19          Q.     Yes.
16:23:09     20          A.     No, I don't believe so.
16:23:15     21          Q.     And to your knowledge, your mother was not
16:23:16     22     aware of it either; correct?
16:23:19     23          A.     Except it's possible, because I have not read
16:23:24     24     it in a really long time, but it's possible that it
16:23:26     25     was disclosed in one of the -- one of the -- what was


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16:23:31      1     it called?     The conflict.     It might have been
16:23:38      2     disclosed in the conflict document.
16:23:39      3          Q.     Are you saying that it was?
16:23:40      4          A.     I'm saying --
16:23:41      5                 MR. TOBEROFF:    Don't discuss the content of
16:23:45      6     conflict letter.
16:23:45      7                 THE WITNESS:    Okay.   I'm saying I don't know.
              8     BY MR. PETROCELLI:
16:23:54      9          Q.     Okay.   So let's go back to paragraph 88 of
16:23:58     10     the Complaint, which is paragraph 59.        The second
16:24:01     11     bullet states "The original Superboy 'script' on which
16:24:04     12     the Siegel Heirs' ownership claims rely openly
16:24:07     13     contains the byline:       By Jerry Siegel and Joe
16:24:10     14     Shuster."     Do you see that?
16:24:12     15          A.     I do see that.
16:24:13     16          Q.     Were you aware of Superboy scripts -- prior
16:24:17     17     to reading this Complaint, were you aware that there
16:24:19     18     were Superboy scripts that contained a byline that
16:24:23     19     included Joe Shuster as well as Jerry Siegel?
16:24:26     20          A.     I -- I saw a script that had that written,
16:24:31     21     typed on it.
16:24:31     22          Q.     Just one.
16:24:33     23          A.     Well, I only believe there was one.         I can't
16:24:35     24     remember more than one.
16:24:36     25          Q.     Okay.   And you had seen that prior to reading


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16:24:42      1     this lawsuit; is that right?
16:24:43      2          A.     I saw that a long time ago.
16:24:45      3          Q.     A long time ago.    And the next bullet talks
16:24:49      4     about "In 1948, a Court in Westchester, New York found
16:24:55      5     that Joe Shuster provided the artwork for the Superboy
16:24:58      6     story and More Fun Comics No. 101."          Were you aware of
16:25:04      7     that?
16:25:04      8          A.     Yes.
16:25:04      9          Q.     Okay.   And the next bullet says "In 1972 and
16:25:06     10     1973, Siegel and Shuster together filed their own
16:25:10     11     copyright renewal notices with the copyright office
16:25:12     12     for Superboy, in which they identified Superboy as a
16:25:15     13     work that they had jointly created."          Were you aware
16:25:17     14     of that?
16:25:18     15          A.     I'm not aware of that.
16:25:19     16          Q.     When you read this, did you inquire of anyone
16:25:25     17     whether that was true or not?
16:25:27     18          A.     Well, I was surprised by it, and no, I didn't
16:25:33     19     inquire about it.
16:25:34     20          Q.     Well, given you were surprised by it, do you
16:25:36     21     mean it was not consistent with what you believed to
16:25:39     22     be true?
16:25:39     23          A.     Was this consistent?
16:25:40     24          Q.     This was inconsistent with what you believed
16:25:43     25     to be true; correct?


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16:25:44      1          A.     Could you ask that in another way?        I'm not
              2     following you.
16:25:47      3          Q.     You said you were surprised by it.        Why were
16:25:49      4     you surprised by it?
16:25:50      5          A.     I was surprised that this, what you're saying
16:25:56      6     here, occurred in 1972 and 1973.
16:25:58      7          Q.     Why were you surprised?
16:26:00      8          A.     Because I was not aware of it.
16:26:03      9          Q.     Okay.   And did you disbelieve it when you
16:26:05     10     read it?
16:26:10     11          A.     I questioned whether it was true or not.
16:26:13     12          Q.     And have you since found out whether or not
16:26:16     13     it's true?
16:26:18     14          A.     I believe that it falls under a discussion
16:26:24     15     that I had with Mr. Toberoff.
16:26:28     16          Q.     Okay.   Did you have that discussion after
16:26:31     17     reading it in the lawsuit that we filed in May, 2010,
16:26:35     18     the one that you just described?
16:26:37     19          A.     I believe so.
16:26:38     20          Q.     Okay.   Did Mr. Toberoff show you the
16:26:47     21     copyright renewal forms or the copyright registration
16:26:50     22     forms?
16:26:50     23                 MR. TOBEROFF:   Attorney-client privilege.
16:26:51     24     Instruct you not to answer.
             25     BY MR. PETROCELLI:


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16:26:52      1          Q.      Have you ever seen those forms, the ones
16:26:56      2     referenced in paragraph 88 of our lawsuit?
16:26:58      3          A.      I don't remember ever seeing them.
16:27:01      4          Q.      Take a look at Exhibit 17.
              5                  (Whereupon, Plaintiff's Exhibit 17
16:27:09      6                 was placed before the witness.)
16:27:10      7                  THE WITNESS:   Thank you.
              8     BY MR. PETROCELLI:
16:27:16      9          Q.      This is for the year 1972 listing of renewal
16:27:20     10     registrations from the copyright office.          The year
16:27:23     11     "1972" is in the top-left corner.        And -- well, first
16:27:28     12     of all, have you ever seen this document before?
16:27:32     13          A.      I've seen similar documents.     I can't tell
16:27:36     14     you whether I saw this page or not.
16:27:38     15          Q.      Well, have you ever seen a document which
16:27:40     16     identified the name Joe Shuster and Superboy?
16:27:44     17          A.      I don't recall that, no.
16:27:51     18          Q.      I'll show you one more for 1973.       Okay.       I'll
16:27:56     19     show you another one I forgot to include.           This is
16:28:00     20     Exhibit 18.
             21                  (Whereupon, Plaintiff's Exhibit 18
16:28:02     22                 was placed before the witness.)
16:28:02     23                  THE WITNESS:   Excuse me.   May I just have a
16:28:04     24     minute because I'm having trouble with this small
16:28:07     25     print.


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16:28:24      1     BY MR. PETROCELLI:
16:28:25      2          Q.      Take a look at Exhibit 18, which is a
16:28:29      3     November 15, 1972, certification of a copyright
16:28:36      4     registration for Superboy.
16:28:40      5          A.      Okay.
16:28:41      6          Q.      And you will see on the second page that the
16:28:47      7     two claimants are Jerome Siegel -- that's your
16:28:51      8     father -- as an author and Joe Shuster as an author
16:28:56      9     for the title "Superboy."         Do you see that?
16:29:01     10          A.      Yes.
16:29:02     11          Q.      And is this the first time you've seen this
16:29:04     12     document?
16:29:04     13          A.      Yes.
16:29:08     14          Q.      And finally, take a look at Exhibit 19, which
             15     is a listing of registrations for the year 1973.
             16                 (Whereupon, Plaintiff's Exhibit 19
16:29:25     17                 was placed before the witness.)
             18     BY MR. PETROCELLI:
16:29:26     19          Q.      And you'll see a reference to "Superboy."
16:29:38     20          A.      I see "Superman."
16:29:48     21          Q.      You see under the name "Jerome Siegel" it
16:29:52     22     says "Superboy.        By Jerome Siegel"?
16:29:54     23          A.      This one entry, yeah.     All of these others
16:29:56     24     are Superman.        I see.
16:29:57     25          Q.      Do you see the one for Superboy where it says


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16:30:00     1      "By Jerome Siegel & Joe Shuster"?
16:30:02     2          A.      In More Fun Comics?
16:30:04     3          Q.      Yes.    Is that the first time you've seen this
16:30:11     4      document?
16:30:11     5          A.      Yeah, I believe so.
16:30:21     6          Q.      Okay.    Are you aware, going down to the next
16:30:25     7      bullet of paragraph 88, that in Action Comics No. 1,
16:30:29     8      Joe Shuster drew Superman as a very young boy
16:30:34     9      displaying a chair being held over his head?
16:30:40    10          A.      Yes.    You mean that one -- that one -- if I'm
16:30:43    11      recalling correctly, there's one panel.
16:30:46    12          Q.      If you turn the page --
16:30:49    13          A.      That's the panel.
16:30:51    14          Q.      -- that's the panel that you're referring to?
16:30:53    15                  MR. TOBEROFF:    Superbaby.
16:30:54    16                  THE WITNESS:    As a baby, right.
            17      BY MR. PETROCELLI:
16:30:55    18          Q.      "Action Comics No. 1 (1930)."     Do you see that?
16:30:58    19          A.      Yes.
16:30:58    20          Q.      And you understood that Joe Shuster had
16:31:01    21      illustrated that; correct?
16:31:02    22          A.      Yes, he did.
16:31:06    23          Q.      And in the next panel on page 30 of the
16:31:10    24      Complaint, which is part of paragraph 88, were you
16:31:17    25      aware that Mr. Shuster had illustrated a -- Superman



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16:31:24      1     as a youth in Superman No. 1 in May of 1939?
16:31:30      2          A.     Well, this says it's from Superman No. 1,
16:31:34      3     and, you know, I don't recall it being, but I
16:31:38      4     recognize this panel.       So yes, this one panel I do
16:31:42      5     recognize.
16:31:43      6          Q.     Okay.   And then also comic strips in 1942
16:31:53      7     depicting Superman as a youth as shown in the Superman
16:32:01      8     Sunday Strip, May 31, 1942, depicted on page 31 of our
16:32:01      9     Complaint, have you seen that panel before?
16:32:02     10          A.     No, I haven't seen that one before.          I don't
16:32:04     11     recall that one.
16:32:05     12          Q.     Now, given that Joe -- given this body of
16:32:15     13     evidence that Joe Shuster was a co-creator of
16:32:24     14     Superboy, are you aware of any reason why --
             15     withdrawn.
16:32:30     16                 Given this body of evidence regarding Joe
16:32:39     17     Shuster's role in the creation of Superboy, including
16:32:44     18     illustrating Superboy and filing the copyright
16:32:48     19     registrations in his name and so forth --
16:32:50     20                 MR. TOBEROFF:    Assumes facts.    Lacks
16:32:52     21     foundation.
             22     BY MR. PETROCELLI:
16:32:53     23          Q.     -- are you -- did you ever have any
16:32:57     24     discussion with anyone about why the Shusters two
16:33:05     25     years after entering into that agreement with


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16:33:07      1     Mr. Toberoff's company in which they included as one
16:33:11      2     of the claimed rights -- rights to Superboy would then
16:33:15      3     disavow such rights?
16:33:17      4                 MR. TOBEROFF:    Assumes facts.    Lacks
16:33:19      5     foundation.     Misstates the record.
16:33:24      6                 And you could answer excluding your
16:33:29      7     conversations with your attorneys.
16:33:31      8                 THE WITNESS:    And the question was did I
16:33:33      9     discuss this with anyone?
16:33:34     10                 MR. PETROCELLI:      Yes.
16:33:39     11                 THE WITNESS:    No one other than my attorney.
             12     BY MR. PETROCELLI:
16:33:41     13          Q.     And who is your attorney?
16:33:43     14          A.     Marc Toberoff.
16:33:45     15          Q.     And you discussed with your attorney --
16:33:48     16                 MR. TOBEROFF:    Excuse me.    Excuse me.       I want
16:33:51     17     to make sure when you're answering these privileged
16:33:54     18     questions not to answer the question -- the questions
16:33:58     19     that invade the privilege, when I say to you you can
16:34:02     20     only answer to the extent of conversations excluding
16:34:05     21     your conversations with me, that means if you have a
16:34:08     22     conversation with somebody outside of your
16:34:10     23     conversations with me and they're not an attorney, you
16:34:12     24     can answer the question.         Otherwise, you don't answer
16:34:14     25     the question.


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16:34:15      1                 THE WITNESS:    Oh, oh.   Okay.    I'm sorry.        I
16:34:17      2     didn't --
16:34:18      3                 MR. TOBEROFF:    Don't answer the question in
16:34:19      4     such a way that by inference you're disclosing the
16:34:22      5     substance of your conversations with me.
16:34:24      6                 THE WITNESS:    Okay.   I was confused.
16:34:26      7                 MR. TOBEROFF:    It's tricky.     It can be
16:34:27      8     tricky.
16:34:28      9                 THE WITNESS:    Yeah.
             10     BY MR. PETROCELLI:
16:34:29     11          Q.     Did you ever discuss this with your mother?
16:34:34     12                 MR. TOBEROFF:    Discuss what?
             13     BY MR. PETROCELLI:
16:34:35     14          Q.     The issue that I've been talking about,
16:34:39     15     why -- why on the one hand the Shusters would claim an
16:34:43     16     interest in Superboy, particularly given some of the
16:34:49     17     evidence that I have discussed with you, and then on
16:34:52     18     the other hand relinquish any interest in Superboy two
16:34:55     19     years later.
16:34:57     20                 MR. TOBEROFF:    Mis- -- lacks foundation.
16:34:59     21     Assumes facts.     Misstates the record.
16:35:01     22                 You can answer.
16:35:03     23                 THE WITNESS:    I don't -- I don't believe that
16:35:04     24     I -- that I discussed the way you asked the question.
             25     BY MR. PETROCELLI:


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16:35:10      1          Q.      Well, did you discuss with your mother --
16:35:16      2                  MR. TOBEROFF:      You can say no.    Don't --
              3     BY MR. PETROCELLI:
16:35:17      4          Q.      -- any issue relating to the relinquishment
16:35:23      5     of the Superboy interest or any claim to a Superboy
16:35:27      6     interest by the Shuster family?
16:35:31      7          A.      No.
16:35:31      8                  MR. TOBEROFF:      Same -- you answered for me
16:35:34      9     too quickly for me to object.
             10     BY MR. PETROCELLI:
             11          Q.      Were --
16:35:35     12                  MR. TOBEROFF:      Excuse me.   Same objection.
             13     BY MR. PETROCELLI:
16:35:43     14          Q.      Were you aware prior to reading our lawsuit
16:35:55     15     that after Mr. Toberoff's agreement with you in
16:36:01     16     October, 2002, he entered into a new agreement with
16:36:10     17     the Shusters which deleted Superboy from the
16:36:14     18     definition of rights in their joint venture?
16:36:18     19          A.      No.
16:36:18     20          Q.      Take a look at Exhibit 13.
             21                  (Whereupon, Plaintiff's Exhibit 13
16:36:28     22                 was placed before the witness.)
             23     BY MR. PETROCELLI:
16:36:29     24          Q.      Now, what's the other one?       Exhibit -- I want
16:36:38     25     you to put Exhibit 10 and Exhibit 13 next to each


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16:36:41      1     other.
16:36:43      2          A.     What is 10?    What am I looking for?
16:36:46      3          Q.     I'll straighten this all out for you once you
16:36:49      4     get 10.
16:36:50      5          A.     Oh, I didn't get it yet.     That's why.
16:36:54      6     There's a copy here?
16:36:55      7          Q.     Yes.
16:37:01      8          A.     Do you want this back?     Do you need it, Marc?
16:37:05      9                 MR. TOBEROFF:    I already have it.
16:37:07     10                 THE WITNESS:    Okay.
             11     BY MR. PETROCELLI:
16:37:07     12          Q.     So just to make sure that we're oriented
16:37:10     13     correctly, Exhibit 10 is the first Joint Venture
16:37:14     14     Agreement between Mr. Toberoff's company and the
16:37:17     15     Shusters dated as of November 23, 2001, and Exhibit 13
16:37:30     16     is the change or supplement to that joint venture
16:37:36     17     dated as of -- dated as of October 27, 2003, some two
16:37:42     18     years later.       Okay?
16:37:43     19          A.     Uh-huh.
16:37:44     20          Q.     And you will see in paragraph 1 of Exhibit 10
16:37:49     21     where it discusses the rights, it references the
16:37:52     22     Superboy and Smallville.        I've already showed that to
16:37:55     23     you; right?     In Exhibit 10?
16:37:57     24          A.     Yes, I saw Exhibit 10.
16:37:59     25          Q.     And now if you go to Exhibit 13 where there's


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16:38:03      1     a discussion of Superman in paragraph 1, you'll see
16:38:13      2     the word "Rights" in capital letter "R" is defined in
16:38:16      3     the first sentence of paragraph 1.       Do you see that?
16:38:19      4          A.     Yes, I see it.
16:38:20      5          Q.     And then if you read the rest of that
16:38:23      6     paragraph you'll see a reference to "all rights to
16:38:26      7     proceeds from 'SUPERMAN,' or the 'SUPERMAN' stories in
16:38:32      8     comic books, including, without limitation, Client's
16:38:36      9     copyright termination interest in 'SUPERMAN.'"             Do you
16:38:40     10     see that?
16:38:40     11          A.     Yes, I do.
16:38:43     12          Q.     And you do not see any reference in paragraph
16:38:46     13     1 to Superboy or Smallville; is that correct?
16:38:47     14                 MR. TOBEROFF:    Before you answer the
16:38:48     15     question, since he's asking you to compare these
16:38:50     16     paragraphs, I would like you to read the sentences
16:38:52     17     he's referring to carefully before you answer any
16:38:54     18     questions about it.
16:38:56     19                 THE WITNESS:    Um-hum.
16:39:12     20                 And your question was?
16:39:14     21                 MR. TOBEROFF:    And read the other one he's
16:39:15     22     asking you to compare it to as well.
16:39:17     23                 THE WITNESS:    Yeah, I did just read that.
16:39:19     24     Thank you.
             25     BY MR. PETROCELLI:


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16:39:19      1          Q.     And you would agree with me you see no
16:39:22      2     reference to Superboy or Smallville in the discussion
16:39:24      3     of the rights in paragraph 1 of Exhibit 13, the 2003
16:39:29      4     agreement; correct?
16:39:29      5          A.     Yes.
16:39:30      6          Q.     And in between these two joint venture
16:39:34      7     agreements, 2001 and 2003, that Mr. Toberoff entered
16:39:38      8     into with the Shusters is when he and you joined up
16:39:45      9     and signed your agreement in October of 2002; correct?
16:39:50     10          A.     Yes.
16:39:52     11          Q.     And when you signed this agreement with
16:39:58     12     Mr. Toberoff and Mr. Emanuel in October of 2002, you
16:40:03     13     were asserting a 100 percent interest to Superboy on
16:40:07     14     the ground that your father, Jerome Siegel, was the
16:40:12     15     sole creator of Superboy; correct?
16:40:15     16                 MR. TOBEROFF:    Vague and ambiguous.       Where in
16:40:18     17     the agreement?     Just in general?
16:40:20     18                 MR. PETROCELLI:     Just in general.
16:40:21     19                 THE WITNESS:    In general that our --
             20     BY MR. PETROCELLI:
             21          Q.     That was your point of view.
16:40:24     22          A.     You said that our belief, our point of view
16:40:27     23     was that -- yes.
16:40:28     24          Q.     And you expressed that point of view to
16:40:31     25     Mr. Emanuel and Mr. Toberoff, that your father was the


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16:40:34      1     sole creator of Superboy and you were claiming a
16:40:37      2     hundred percent termination interest to Superboy;
16:40:41      3     correct?
16:40:41      4                 MR. TOBEROFF:   Vague as to time.
              5     BY MR. PETROCELLI:
16:40:44      6          Q.     Correct?
16:40:44      7          A.     Are you saying at the time in 2002?
16:40:47      8          Q.     Yes.
16:40:48      9          A.     Yes.
16:40:48     10          Q.     And it was shortly -- a very short time after
16:40:52     11     you signed the agreement with Mr. Emanuel and
16:40:57     12     Mr. Toberoff in October, 2002, that your family issued
16:41:03     13     a notice of termination with respect to Superboy;
16:41:05     14     correct?
16:41:06     15          A.     Yes.
16:41:06     16          Q.     That was, in fact, the next month, in
16:41:09     17     November; correct?
16:41:11     18          A.     It could have been November.
16:41:12     19          Q.     And that notice of termination for Superboy
16:41:15     20     that your family filed or that was filed on behalf of
16:41:18     21     your family asserted that your father, Mr. Siegel, was
16:41:22     22     the sole creator of Superboy and you were claiming a
16:41:25     23     hundred percent termination interest, not 50 percent;
16:41:28     24     correct?
16:41:28     25                 MR. TOBEROFF:   Okay.   Wait.    I would like to


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16:41:30      1     slow this down.     I need time to object.      Okay?      So
16:41:34      2     after he asks the question, count to 5 or 10 so I have
16:41:37      3     time to object even if I don't object.         Okay?
16:41:40      4                 MR. PETROCELLI:     I don't think it's
16:41:41      5     reasonable to count to 5 to 10.
16:41:44      6                 MR. TOBEROFF:    Count to 5.
16:41:45      7                 MR. PETROCELLI:     You just need to pause.
16:41:47      8                 MR. TOBEROFF:    I'm happy with 5.
              9                 MR. PETROCELLI:     Just be reasonable.
16:41:49     10                 Can we repeat the question, please?
16:41:51     11                 MR. TOBEROFF:    It's a common instruction.
16:41:52     12     You say count to 10 knowing no one is going to count
16:41:56     13     to 10 and you end up with 2.
16:42:23     14                 (The record was read.)
16:42:24     15                 THE WITNESS:    Yes.
             16     BY MR. PETROCELLI:
16:42:25     17          Q.     And at the time that you authorized the
16:42:26     18     filing of that hundred percent Superboy termination
16:42:29     19     notice in November of 2002, were you aware that
16:42:38     20     Mr. Toberoff through his company, Pacific Pictures,
16:42:41     21     had entered into a joint venture agreement with the
16:42:46     22     Shusters in which they included among the rights of
16:42:50     23     the joint venture references to Superboy?
16:43:00     24          A.     No, we were not aware of that.
16:43:02     25                 MR. PETROCELLI:     Okay.   We'll take your break


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                                                                           Page 232
16:43:04      1      now.
16:43:04      2                 THE WITNESS:       Thank you.
16:43:05      3                 THE VIDEOGRAPHER:       Off the record.     The time
16:43:08      4      is 4:43.
17:00:12      5                 (A recess was taken.)
17:00:20      6                 THE VIDEOGRAPHER:       We're back on the record,
17:00:22      7      and this marks the beginning of tape number four in
17:00:26      8      the deposition of Laura Siegel.         The time is 5
17:00:28      9      o'clock.
             10      BY MR. PETROCELLI:
17:00:28     11          Q.     Ms. Siegel, were you aware that in -- that
17:00:34     12      after Mr. Toberoff entered into his first agreement
17:00:37     13      with the Shusters in November, 2001, that around that
17:00:43     14      same period of time, I should say, that he contacted
17:00:48     15      Kevin Marks or left a voicemail for Kevin Marks --
17:00:54     16          A.     I -- no.
17:00:54     17          Q.     -- on November 29, 2001?
17:00:57     18          A.     2001, no.
17:00:58     19          Q.     Did you learn about that contact from
17:01:02     20      Mr. Marks at that time?
17:01:07     21          A.     No.
17:01:08     22          Q.     And are you aware that in February, 2002,
17:01:14     23      February 6, to be exact, that Mr. Toberoff contacted
17:01:19     24      Kevin Marks again?
17:01:23     25          A.     No.


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17:01:23      1                 MR. TOBEROFF:       What date?
17:01:25      2                 MR. PETROCELLI:       February 6, 2002.
17:01:27      3          Q.     And are you aware -- and I'm basing these
17:01:32      4      questions off of, I'll tell you, the testimony of
17:01:35      5      Kevin Marks --
17:01:35      6          A.     Okay.
17:01:35      7          Q.     -- in the case that you filed.
17:01:37      8          A.     Um-hum.
17:01:39      9          Q.     Are you aware --
17:01:40     10                 MR. TOBEROFF:       Allegedly.
             11      BY MR. PETROCELLI:
17:01:41     12          Q.     -- that Mr. Marks said or -- are you aware
17:01:45     13      that Mr. Toberoff told Mr. Marks that he was
17:01:47     14      interested in the Superman property and the Superboy
17:01:51     15      property when he called him and spoke to him for the
17:01:53     16      first time in February of 2002?
17:01:56     17          A.     2000 -- I can't hear you.
17:02:01     18          Q.     February, 2002.       Were you aware that
17:02:01     19      Mr. Toberoff told Mr. Marks that he was interested in
17:02:03     20      the Superman property and the Superboy property?
17:02:06     21          A.     No, I was not.
17:02:07     22          Q.     Mr. Marks did not convey that to you?
17:02:09     23          A.     No, he did not.
17:02:13     24          Q.     And are you aware that Mr. Marks told
17:02:18     25      Mr. Toberoff on that occasion that the Siegels were


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                                                                               Page 234
17:02:22      1     very far along with DC Comics and at a documentation
17:02:26      2     phase?
17:02:27      3          A.      Well, I don't know that he had the
17:02:28      4     conversation.
17:02:30      5          Q.      Okay.    Were you aware that three days later
17:02:33      6     on February 9, 2002, Mr. Toberoff approached Steve
17:02:38      7     Spira, an executive at Warner Bros., at an event and
17:02:42      8     said that Warner Bros. had a Superman rights problem?
17:02:46      9          A.      No, I did not know that.
17:02:48     10          Q.      Take a look at the next exhibit in order,
17:02:50     11     which is Exhibit 60.        And this is an agreement --
17:03:08     12     excuse me.      This is a document between Mr. Emanuel and
17:03:11     13     Mr. Toberoff dated June 3.
17:03:15     14          A.      Thank you.
             15                 (Whereupon, Plaintiff's Exhibit 60
17:03:24     16                 was marked for identification.)
17:03:24     17                  THE WITNESS:    June 3.
17:03:42     18                  MR. PETROCELLI:        Excuse me.   Exhibit 60 is a
17:03:45     19     redacted agreement, redacted meaning that we don't
17:03:48     20     have the whole agreement, just parts of it, signed
17:03:52     21     between Mr. Emanuel and Mr. Toberoff on or about
17:03:57     22     February 12, 2002.
17:03:59     23          Q.      Have you ever seen this document before -- or
17:04:04     24     have you ever seen the agreement in its entirety?
17:04:11     25          A.      No.


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17:04:11      1          Q.     And were you aware that IP Worldwide was
17:04:20      2     created as a combination between Mr. Emanuel and
17:04:24      3     Mr. Toberoff's company, Pacific Pictures Corporation?
17:04:40      4          A.     No.
17:04:41      5                 MR. TOBEROFF:      I just want to object.         This
17:04:44      6     document is stamped "Confidential," and I believe it
17:04:47      7     was stamped -- I believe by the Bates number this is a
17:04:53      8     document produced by Endeavor.
17:05:00      9                 MR. PETROCELLI:        In the Siegel case.
17:05:01     10                 MR. TOBEROFF:      In the Siegel case, and I
17:05:02     11     believe it was stamped "Confidential" pursuant to and
17:05:06     12     under a protective order in that case, and I'm just
17:05:09     13     objecting on that basis and not waiving any objections
17:05:17     14     to the use of this document in this deposition, and at
17:05:22     15     a minimum it should be subject to that protective
17:05:29     16     order because I believe the protective order extends
17:05:32     17     beyond the Siegel case.
17:05:32     18                 MR. PETROCELLI:        Okay.   Well, we're willing
17:05:37     19     to treat it as such until we work this out.
17:05:43     20                 Okay.    I'm told that it was reproduced in
17:05:46     21     this case in the absence of any protective order.                  But
17:05:50     22     look, I'm not going to argue about that, so we'll
17:05:52     23     figure it out.
17:05:55     24                 Next is a document dated May 9, 2002 --
17:06:06     25                 MR. TOKORO:    Exhibit 61.


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17:06:07      1                  MR. PETROCELLI:        -- which will be Exhibit 61.
17:06:08      2     It's a letter from -- from Joanne Siegel to Richard
17:06:19      3     Parsons.
              4                 (Whereupon, Plaintiff's Exhibit 61
17:06:19      5                 was marked for identification.)
              6     BY MR. PETROCELLI:
17:06:23      7          Q.      You testified about this letter in your prior
17:06:26      8     deposition in the Siegel case.            A couple of follow-up
17:06:32      9     questions.
17:06:32     10                  Did you type this letter?
17:06:34     11          A.      Yes, I typed it.
17:06:36     12          Q.      And you typed it at your home?
17:06:37     13          A.      Yes.
17:06:38     14          Q.      Did you assist in drafting it?
17:06:42     15          A.      If I'm recalling correctly, my mom said
17:06:46     16     "Don't change one word."            She was pretty insistent, so
17:06:50     17     no, I did not make changes to it.
17:06:52     18          Q.      Did you show it to anybody before it went
17:06:54     19     out?
17:06:54     20          A.      No.
17:06:54     21          Q.      Did you discuss -- do you know if your
17:07:02     22     attorneys knew it had gone out, Mr. Marks?
17:07:06     23          A.      No.
17:07:06     24          Q.      They did not know?
17:07:07     25          A.      They did not know.


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                                                                             Page 237
17:07:24      1          Q.     Now, in this letter you say -- it states at
17:07:40      2     the very end --
17:07:43      3          A.     You mean she says?
17:07:44      4          Q.     She says, correct -- that -- part of the last
17:07:50      5     paragraph "Have you been aware that your
17:07:52      6     representatives have gone too far?           If not, you do
17:07:57      7     now."     Were you -- was your mother concerned as far as
17:08:02      8     you knew that the lawyers were taking positions that
17:08:06      9     the company wasn't aware?
17:08:09     10          A.     Yes.    I believe that's what she was
17:08:11     11     expressing here.
17:08:12     12          Q.     Was there a response received to this letter?
17:08:16     13          A.     Oh.    Perhaps, but I don't know for sure.
17:08:27     14          Q.     Okay.
17:08:28     15                 MR. TOBEROFF:      A response from Dick Parsons?
17:08:30     16                 THE WITNESS:    That's what I assumed you
17:08:32     17     meant.
17:08:32     18                 MR. PETROCELLI:        I did mean that, right.
17:08:34     19                 THE WITNESS:    Dick Parsons' response.
             20     BY MR. PETROCELLI:
17:08:35     21          Q.     And the answer is you don't know.
17:08:37     22          A.     I don't know.
17:08:37     23          Q.     And do you know whether anyone else responded
17:08:40     24     to this letter?
17:08:40     25          A.     I don't -- I don't recall.


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17:08:42      1          Q.     Okay.
17:09:04      2                 Now, did at some point you make your lawyers
17:09:08      3      aware that your mother had sent this letter?
17:09:11      4          A.     Actually, they found out, and then my mother
17:09:15      5      and I discussed it with them.
17:09:16      6          Q.     How did they find out?      From Warner Bros.?
17:09:19      7          A.     Yes.
17:09:23      8          Q.     And you wrote this letter on May 9, 2002.
17:09:27      9          A.     No, I didn't write it.      My mother did.
17:09:29     10          Q.     Excuse me.   You typed it for your mother?
17:09:31     11          A.     Yes.
17:09:31     12          Q.     And is it your testimony that every single
17:09:33     13      word was drafted by your mother and no one else?
17:09:36     14          A.     That's correct.
17:09:40     15          Q.     Including some of the legal-sounding
17:09:46     16      sentences?
17:09:47     17          A.     That's right.       She -- she was a hell of a
17:09:54     18      writer.
17:09:54     19          Q.     Did she have a writing background?
17:09:57     20          A.     She had written, yes.
17:10:01     21          Q.     What had she written?
17:10:01     22          A.     Well, she didn't -- she didn't get to sell
17:10:04     23      them, but she had written several books, and, you
17:10:08     24      know, she was constantly writing and drafting things
17:10:11     25      for my father through the years.


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17:10:13      1          Q.     What kind of books had she written?
17:10:16      2          A.     Well, she wrote a children's book.          She
17:10:18      3      wrote, you know, just things that moved her, memories
17:10:24      4      that she had from her youth.
17:10:25      5          Q.     Did she ever write anything regarding
17:10:28      6      Superman or her husband's role in Superman?
17:10:41      7          A.     No.
17:10:41      8          Q.     And again, you sent this -- this letter was
17:10:46      9      sent by your mother on May 9, 2002, but it was not
17:10:50     10      until September 21, 2002, that DC was informed that
17:10:55     11      negotiations were being stopped; correct?
17:10:58     12          A.     Yes.    I mean we -- you know, by that time we
17:11:01     13      reached our decision, and that was it.
17:11:05     14          Q.     By that time, meaning September 21, 2002?
17:11:08     15          A.     By September 21, right.
17:11:10     16          Q.     2002.
17:11:11     17          A.     2002.
17:11:12     18          Q.     Okay.    Thank you.
17:11:28     19                 At some point -- the reaction expressed in
17:11:33     20      this letter was to the -- a proposed agreement that
17:11:43     21      was sent to your lawyer by the folks at Warner Bros.
17:11:46     22      and DC Comics; is that correct?
17:11:48     23          A.     You're talking about the February --
17:11:50     24          Q.     Yes.
17:11:50     25          A.     -- 2002 one?       Yes.


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17:11:53      1           Q.    And after that, your lawyer, Mr. Marks,
17:11:56      2     undertook to prepare a redraft of that document;
17:11:59      3     correct?
17:11:59      4           A.    After a long period of time he suggested that
17:12:03      5     he might do that.
17:12:04      6           Q.    Okay.   And you saw that redraft; right?
17:12:08      7           A.    Yes, I did.
17:12:09      8                 MR. TOBEROFF:    Okay.   Try and stay away
17:12:14      9     from -- give ballpark things, but try and stay away
17:12:16     10     from the substance of your conversations with your
17:12:18     11     attorney, what he said, what you said.
17:12:21     12                 THE WITNESS:    Right.
17:12:22     13                 MR. TOBEROFF:    Don't try and stay away from
17:12:25     14     it.    Stay away from it.
             15     BY MR. PETROCELLI:
17:12:32     16           Q.    And did you ever have an occasion to see the
17:12:35     17     redraft that he prepared?
17:12:37     18           A.    That Kevin Marks prepared?
17:12:39     19           Q.    Yes.
17:12:40     20           A.    Yes.
17:12:40     21                 MR. TOBEROFF:    I just want to tell you
17:12:41     22     because I don't want to read your work product, but on
17:12:43     23     the back of that thing you're holding up there's
17:12:47     24     language.     There's writing.
17:12:52     25                 MR. PETROCELLI:     It's about Woody Harrelson


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17:12:54      1     being a big Oscar nominee.
17:12:58      2                 THE WITNESS:    How did it get in my file?
17:13:01      3     Tell Woody I said hi.
17:13:03      4     BY MR. PETROCELLI:
17:13:04      5          Q.     And you're aware that the date of that
17:13:08      6     redrafted long-form agreement was July 15, 2002?
17:13:12      7          A.     Sounds about right.
17:13:50      8          Q.     Shortly after the redraft was created, are
17:13:55      9     you aware that Mr. Toberoff called Mr. Marks to try to
17:14:03     10     set up a meeting with Mr. Toberoff and Mr. Emanuel?
17:14:09     11          A.     Set up a meeting with whom?
17:14:12     12          Q.     With Mr. Toberoff and Mr. Emanuel.
17:14:14     13          A.     No, no, no.    You're saying he called and
17:14:16     14     wanted to set up a meeting with Kevin Marks?
17:14:19     15          Q.     Or another -- Mr. Toberoff calls Mr. Marks to
17:14:21     16     try to arrange a meeting or a conference call with
17:14:26     17     Toberoff, Marks, and Emanuel.
17:14:29     18          A.     No, I was not aware of that.
17:14:31     19          Q.     Okay.   Then that -- according to Mr. Marks'
17:14:35     20     call logs, Mr. Toberoff made that contact on July 24,
17:14:41     21     2002.     Do you have any recollection of Mr. Marks
17:14:43     22     having conveyed that to you?
17:14:44     23          A.     Mr. Marks did not.
17:14:52     24          Q.     Why are you -- are you certain he didn't?
17:14:54     25          A.     I'm very certain that he didn't.


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17:14:55      1          Q.     Why is that?
17:14:57      2          A.     Because when we -- we finally received
17:15:01      3     communication from Mr. Marks that he had been
17:15:05      4     contacted by -- by Mr. Toberoff, it was later than
17:15:11      5     that.     So, you know, he didn't specify the date on
17:15:16      6     which -- on which he contacted him, but when did you
17:15:19      7     say that was?       July what?
17:15:21      8          Q.     24th.
17:15:21      9          A.     Yeah, I think it was shortly thereafter that
17:15:24     10     we found out about it, but he never referenced any
17:15:28     11     phone call in July, is what I'm trying to --
17:15:30     12          Q.     I see.
17:15:31     13          A.     He didn't convey it to us.
17:15:32     14          Q.     When you say you shortly found out about it,
17:15:35     15     meaning you shortly found out about the
17:15:42     16     Toberoff/Emanuel contact when you received the letter
17:15:43     17     from Mr. Marks.
17:15:46     18          A.     I believe so, yes.
17:15:48     19          Q.     That's the first time you found out from
17:15:52     20     Mr. Marks that Mr. Toberoff had contacted him; is that
17:15:55     21     right?
17:15:55     22          A.     That's correct.
17:15:58     23          Q.     And Mr. Marks had not told you about the
17:16:01     24     February contact.
17:16:02     25          A.     No.


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17:16:02      1          Q.      Or that Mr. Toberoff had called him in
17:16:04      2     November of '01.
17:16:25      3          A.      No.
17:16:25      4          Q.      Now, when Mr. -- according to Mr. Marks'
17:16:31      5     testimony, on August 8, 2002, there was a conference
17:16:36      6     call with Mr. Emanuel and Mr. Marks and Mr. Toberoff
17:16:41      7     in which Mr. Emanuel and Mr. Toberoff expressed their
17:16:45      8     interest in pursuing the property.           Did Mr. Marks
17:16:51      9     convey to you what had transpired in that call prior
17:16:56     10     to your receiving the letter from him about it?
17:16:59     11          A.      No, he did not.
17:17:14     12          Q.      Okay.    Take a look at Exhibit 54.
17:17:25     13                  MR. TOBEROFF:      What was the number of the
17:17:26     14     Parsons letter?
17:17:28     15                  THE WITNESS:    That's 61.
17:17:29     16                  MR. TOKORO:    61.
17:17:30     17                  MR. TOBEROFF:      Thank you.
             18                  (Whereupon, Plaintiff's Exhibit 54
17:17:32     19                 was placed before the witness.)
             20     BY MR. PETROCELLI:
17:17:33     21          Q.      Exhibit -- excuse me.      Exhibit 54 is a letter
17:17:38     22     from your mother and you to Mr. Marks and Mr. Ramer of
17:17:47     23     Gang Tyre dated September 21, 2002 --
17:17:47     24          A.      Um-hum.
17:17:51     25          Q.      -- stating that you had rejected the DC


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17:17:55      1     Comics offer sent to you on February 4, 2002, as well
17:18:01      2     as Mr. Marks' redraft which was sent to you on July
17:18:07      3     15, 2002.     Do you see that?
17:18:08      4          A.     Yes, I do.
17:18:10      5          Q.     And then you say due to irreconcilable
17:18:13      6     differences and so forth, that you're terminating
17:18:18      7     Mr. Marks' firm's services effective, I guess -- well,
17:18:25      8     immediately; right?
17:18:26      9          A.     That's right.
17:18:28     10          Q.     As of September 21, 2002; correct?
17:18:32     11          A.     Yes.
17:18:32     12          Q.     Now, you copied Michael Siegel on this as
17:18:34     13     well as his lawyer, Don Bulson.       As of this point in
17:18:42     14     time, September 21, 2002, you had heard about the
17:18:51     15     Toberoff/Emanuel discussion with Mr. Marks through his
17:18:56     16     letter to you.     You had now terminated Mr. Marks.
17:19:04     17          A.     Um-hum.
17:19:06     18          Q.     On the same date, September 21, 2002, you
17:19:10     19     advised DC that you were terminating negotiations with
17:19:14     20     them as well as with Warner Bros.; correct?
17:19:16     21          A.     Correct.
17:19:18     22          Q.     You copied Michael Siegel and Mr. Bulson on
17:19:21     23     these various letters.      Had you had conversations with
17:19:26     24     Michael as of this point in time about what you were
17:19:30     25     doing?


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17:19:30      1          A.     We were -- we were frustrated because we felt
17:19:42      2     that the Ramer firm had really done as much as they
17:19:46      3     could do, and from -- okay.          I won't say what.
17:19:50      4                 MR. TOBEROFF:      I want you to focus on his
17:19:52      5     question.
17:19:52      6                 THE WITNESS:     Okay.    I'm sorry.   What was
17:19:54      7     your question?
              8     BY MR. PETROCELLI:
17:19:55      9          Q.     My question was given that you had copied
17:19:59     10     Mr. Siegel and his lawyer, Don Bulson, in these
17:20:06     11     important notifications that you sent out on September
17:20:09     12     21, 2002, whether and to what extent you had
17:20:14     13     communicated with Mr. Siegel about these plans and
17:20:17     14     these activities.
17:20:18     15          A.     Oh.    No.   We didn't talk about them
17:20:22     16     beforehand.       We were --
17:20:23     17          Q.     Just out of the clear blue you sent him a
17:20:26     18     copy of your letters?
17:20:27     19          A.     Yes.    That's the way I remember it.
17:20:31     20          Q.     Do you recall any discussion with him or his
17:20:35     21     lawyer, Mr. Bulson?
17:20:38     22          A.     You know, we didn't really communicate very
17:20:41     23     much.
17:20:41     24          Q.     Okay.    Why did you copy him?
17:20:48     25          A.     Because his attorney would on occasion


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17:20:54      1     communicate with Kevin Marks, and we wanted to let
17:20:57      2     them know that that was no longer appropriate, that
17:20:59      3     they were no longer representing us.
17:21:03      4          Q.     When you were -- you hadn't paid Kevin Marks
17:21:08      5     any fee because their firm was charging 5 percent of
17:21:11      6     whatever settlement might occur; right?
17:21:14      7          A.     We made regular payments on costs.
17:21:16      8          Q.     Costs.
17:21:16      9          A.     Only.
17:21:17     10          Q.     Was Mr. Siegel, Michael Siegel, sharing in
17:21:20     11     those costs?
17:21:21     12          A.     We asked him to, and there was an ongoing
17:21:26     13     dispute over that.
17:21:27     14          Q.     And had you asked him to share in those costs
17:21:29     15     all the way back to the beginning, starting with the
17:21:33     16     termination notice with Mr. Levine and then going
17:21:35     17     forward through the Marks firm?
17:21:37     18          A.     We requested that.
17:21:40     19          Q.     And did you bill him for it?
17:21:42     20          A.     Yes, we billed him for it.
17:21:44     21          Q.     Who prepared the bills?
17:21:45     22          A.     My mother and I did.
17:21:47     23          Q.     Who would you send the bills to?
17:21:49     24          A.     We sent -- we sent -- well, when you say
17:21:51     25     bills --


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17:21:51      1          Q.      Or statements or requests for his share of
17:21:55      2     the costs.
17:21:56      3          A.      I believe we gave that to Kevin Marks, and
17:22:01      4     Kevin Marks submitted it on our behalf.
17:22:02      5          Q.      What did you charge him?    25 percent of the
17:22:06      6     total costs?
17:22:07      7          A.      That -- that was what we asked for.
17:22:09      8          Q.      Or actually was it more than that?        Was it a
17:22:12      9     third?      How did you do the math?
17:22:14     10          A.      No, it was 25 percent.    I mean under
17:22:17     11     copyright law it was 50 percent for my mother, 25
17:22:20     12     percent for me, 25 percent for Michael.         And so, you
17:22:23     13     know, we felt it was appropriate for him to have a
17:22:27     14     corresponding responsibility for costs.
17:22:29     15          Q.      When Mr. Ramer was doing the negotiations --
17:22:34     16     Mr. Marks or Mr. Ramer, the Gang Tyre firm, with
17:22:39     17     Warner Bros. and DC Comics, was that on behalf of the
17:22:42     18     entire hundred percent Siegel interest, including
17:22:45     19     Michael's 25 percent?
17:22:46     20          A.      Yes, it was.
17:22:48     21          Q.      Had Michael entered into an engagement letter
17:22:51     22     with the Gang Tyre firm, to your knowledge?
17:22:55     23          A.      I don't believe he did.
17:23:06     24          Q.      Did Bulson and -- did Kevin Marks ever meet
17:23:14     25     Michael Siegel, to your knowledge?


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17:23:15      1          A.     I -- not to my knowledge.
17:23:17      2          Q.     Were there ever any joint meetings with all
17:23:20      3      of you together and Kevin Marks or Bruce Ramer?
17:23:23      4          A.     Not -- not all of us together, but I know
17:23:27      5      that Don Bulson, you know, did meet up with Kevin
17:23:31      6      Marks at one point.
17:23:32      7          Q.     When you sent out the -- excuse me.           When
17:23:35      8      your mother wrote out and you typed out and you sent
17:23:39      9      to Warner Bros. and DC Comics the letter in May
17:23:44     10      expressing your upset about the February --
17:23:44     11          A.     This one?    Yeah.
17:23:47     12          Q.     -- long form agreement --
17:23:50     13          A.     Um-hum.
17:23:50     14          Q.     -- did you first clear that with Michael
17:23:50     15      Siegel or Don Bulson?
17:23:53     16          A.     No.
17:23:53     17          Q.     Did you send them a copy of it?
17:23:57     18          A.     That I don't remember.
17:24:08     19          Q.     Oh.    Why was there a dispute between you and
17:24:13     20      your mother on the one hand and Michael Siegel on the
17:24:16     21      other hand regarding this issue prior -- yes, as of
17:24:22     22      September 21, 2002?
17:24:23     23          A.     You're talking about costs.
17:24:24     24          Q.     Was that the subject of the dispute, the
17:24:26     25      costs?


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17:24:26      1          A.     Yes.
17:24:27      2          Q.     And why was there a dispute about the costs?
17:24:33      3          A.     Michael was the child of a very upsetting
17:24:39      4     divorce, and he -- you know, it hurts me to have to
17:24:44      5     say this, but, you know, he was a very kind of
17:24:48      6     confused guy and he really kind of couldn't keep
17:24:50      7     things straight.     It was very difficult to communicate
17:24:54      8     with him, and it was very upsetting to receive
17:25:04      9     communications from him that were kind of all over the
17:25:08     10     place, things that didn't really make any sense, and
17:25:14     11     he was very secretive, and he just couldn't really
17:25:20     12     grasp legal principles.         So discussions with --
17:25:24     13     directly with him really didn't work.         It really
17:25:32     14     required attorneys to explain things to him, and
17:25:34     15     that's why he had his own attorney, who was, of
17:25:38     16     course, interpreting things, you know, for Michael and
17:25:42     17     explaining things to him.         But he didn't -- he didn't
17:25:46     18     have any -- any background in understanding the
17:25:50     19     history of, you know, the Superman litigations or --
17:25:54     20     you know.
17:25:54     21          Q.     What did he do for a living?
17:25:55     22          A.     He was a plumber.
17:26:00     23          Q.     And so you didn't grow up close at all.
17:26:06     24          A.     I never met him.
17:26:07     25          Q.     Ever?


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17:26:07      1          A.     Ever.    And he wouldn't send me any
17:26:12      2     photographs of himself.
17:26:13      3          Q.     He did or did not?
17:26:14      4          A.     Did not.    I sent him photographs of myself
17:26:17      5     and my children and asked him to reciprocate, and he
17:26:23      6     refused to do that.       So the first time I ever saw what
17:26:27      7     my brother looked like was after he died and I went to
17:26:31      8     the home that he had shared with his mother, and, you
17:26:35      9     know, found things like a dog dish, you know, in the
17:26:38     10     kitchen, and I said, "Where's the dog?"        And they
17:26:41     11     said, you know, the dog -- when I say "they," a friend
17:26:45     12     told me that the dog had died years before and -- you
17:26:48     13     know, but I found photographs of him in his home.
17:26:52     14          Q.     Your children never met with him either?
17:26:54     15          A.     No.
17:26:54     16          Q.     Did your mom ever meet him?
17:26:56     17          A.     No, I don't believe so.     He was -- he was
17:27:01     18     very young when the divorce occurred.
17:27:04     19          Q.     How old was he?
17:27:06     20          A.     5 or 6, I think.
17:27:08     21          Q.     What year was it that your dad divorced his
17:27:11     22     mom?
17:27:11     23          A.     It was in the 1940s.
17:27:13     24          Q.     And when did your mother and your father
17:27:16     25     marry?


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17:27:16      1          A.     In 1948.
17:27:27      2          Q.     How did you first get in touch with Michael
17:27:31      3     Siegel about this termination issue going back to
17:27:37      4     1997?
17:27:37      5          A.     Well, my husband, who was an attorney --
17:27:41      6     excuse me -- and also, you know, kind of helped us
17:27:44      7     with things, phoned -- phoned Michael and informed him
17:27:50      8     that, you know, he had a passive interest and, you
17:27:54      9     know, that he wanted to let him know about that, and,
17:28:00     10     you know, after -- after that, Michael retained an
17:28:04     11     attorney in Cleveland.
17:28:06     12          Q.     Did you ever meet Mr. Bulson?
17:28:08     13          A.     I did after Michael died.
17:28:17     14          Q.     Are you aware that Michael wanted to have a
17:28:21     15     will made out but never got --
17:28:25     16          A.     He never did it.
17:28:27     17          Q.     Did you ever see what his wishes were?
17:28:31     18          A.     He had some kind of rambling communications
17:28:33     19     with his attorney.
17:28:35     20          Q.     To the effect that he did not want either you
17:28:38     21     or your mother to share in anything?
17:28:40     22          A.     He stated that in an e-mail, but the court
17:28:44     23     ruled otherwise.       Not for my mother, but for me.
17:29:00     24          Q.     The next exhibit is --
17:29:06     25                 Make sure we did.


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17:29:15      1                 MR. TOKORO:    It's 56.
17:29:17      2                 MR. PETROCELLI:      Are you sure?
17:29:18      3                 MR. TOKORO:    Yes.
17:29:22      4                 MR. PETROCELLI:      I thought he did multiple.
17:29:32      5          Q.     Going back to Exhibit 56 for a second, which
17:29:35      6     is your notification to DC Comics that you were
17:29:39      7     terminating negotiations dated September 21, 2002 --
17:29:43      8          A.     Is it 54?   I have 54.
17:29:46      9          Q.     Can I see that?
17:29:47     10          A.     Yes.   I think that's only the Ramer and Marks
17:29:51     11     one.
17:29:52     12          Q.     Yes, this is the termination of the Gang Tyre
17:29:55     13     firm.
17:29:55     14          A.     I don't have that yet unless it's stapled to
17:30:01     15     this.
17:30:01     16                 MR. TOKORO:    It was one of the early ones.
17:30:03     17                 MR. PETROCELLI:      I showed it to you earlier
17:30:05     18     on, all the way on the bottom.         He'll fish it out for
17:30:08     19     you.
17:30:09     20                 THE WITNESS:    Okay.
17:30:12     21                 Oh, thank you.
             22     BY MR. PETROCELLI:
17:30:13     23          Q.     So you have in front of you now Exhibit 56?
17:30:16     24          A.     Um-hum.
17:30:17     25          Q.     And you will see that you're advising DC


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17:30:22      1      about the termination of the Gang Tyre firm and that
17:30:25      2      you have instructed the Gang Tyre firm to take no
17:30:28      3      further actions on your behalf.        Do you see that?
17:30:32      4          A.      Yes, I do.
17:30:32      5          Q.      And September 21, 2002, is the first time
17:30:38      6      that you so advised DC Comics that you were
17:30:39      7      terminating the Gang Tyre firm and that they were to
17:30:42      8      take no further actions on your behalf; correct?
17:30:45      9          A.      Yes.
17:30:45     10          Q.      And that's the first time that you also
17:30:47     11      advised the Gang Tyre firm that they were to take no
17:30:50     12      further actions on your behalf; correct?
17:30:52     13          A.      Yes, that's correct.
17:31:36     14          Q.      Okay.
17:31:36     15                  Okay.   Let me mark as the --
17:31:39     16                  MR. TOKORO:    62.
17:31:40     17                  MR. PETROCELLI:      -- next exhibit in order,
17:31:46     18      Exhibit 62, a letter to DC Comics by your mother and
17:31:51     19      you dated October 28, 2002 --
             20                 (Whereupon, Plaintiff's Exhibit 62
17:32:00     21                 was marked for identification.)
17:32:00     22                  MR. PETROCELLI:      -- giving notice of the
17:32:05     23      cancellation of a tolling period under a tolling
17:32:08     24      agreement.
17:32:09     25          Q.      Do you see that?


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17:32:09      1          A.     Yes, I do.
17:32:11      2          Q.     Now, did you type this document?
17:32:13      3          A.     Yes, I did.
17:32:17      4          Q.     Who drafted this document?
17:32:19      5          A.     My mother and I did.
17:32:22      6          Q.     Did you have the assistance of a lawyer?
17:32:25      7          A.     No.
17:32:25      8          Q.     Are you sure?
17:32:27      9          A.     I'm pretty sure.       I don't recall.
17:32:29     10          Q.     Even though you had already retained
17:32:33     11     Mr. Emanuel and Mr. Toberoff?
17:32:39     12          A.     Without revealing the communication between
17:32:44     13     my former attorney and me, I will say that we were
17:32:50     14     informed by the Gang Tyre firm that we needed to pay
17:32:56     15     attention to the wording in the tolling agreement.
17:33:01     16          Q.     Why --
17:33:02     17          A.     So as a result of reading the tolling
17:33:04     18     agreement and seeing that notification was necessary
17:33:07     19     to certain people under the tolling agreement, we went
17:33:11     20     ahead, my mother and I, and drafted this.
17:33:14     21          Q.     Did you run it by a lawyer first?
17:33:17     22          A.     I -- I don't remember.
17:33:20     23          Q.     Even though you were now working with
17:33:22     24     Mr. Toberoff, you didn't --
17:33:24     25          A.     Oh --


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17:33:25      1          Q.     -- show it to him?
17:33:27      2          A.     Well, actually --
17:33:29      3          Q.     And it's in a totally different type face --
17:33:31      4          A.     Possibly --
17:33:32      5          Q.     -- than the prior document.
17:33:33      6          A.     That doesn't mean anything.       That's because,
17:33:36      7     you know, my computers were always on the fritz.
17:33:43      8          Q.     It's kind of --
17:33:44      9          A.     No.    It's -- well, we had been talking to
17:33:48     10     Mr. Toberoff since the beginning of October about
17:33:51     11     retaining him.       We did not actually sign with him
17:33:54     12     until the end of October.          So we had not signed and
17:33:58     13     fully retained him at the time when my mother and I
17:34:02     14     were drafting this, because when you showed me -- you
17:34:08     15     showed me the -- our agreement earlier, I looked at
17:34:11     16     the back and the signature page said October 28.
17:34:15     17          Q.     No.    I think -- take a look at it again,
17:34:28     18     Exhibit 45.
17:34:28     19          A.     These are all mixed up.
17:34:43     20                 Oh, 23.    I'm sorry.     I'm sorry.   The "3"
17:34:46     21     looked like an "8" to me when I looked at the Xerox
17:34:49     22     because it's not a great Xerox.
17:34:52     23          Q.     So now you're seeing more clearly that it was
17:34:57     24     as of October 23, 2002, that you had signed the IP
17:35:01     25     Worldwide agreement with Mr. Emanuel and Mr. Toberoff.


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17:35:03      1          A.     Yes.
17:35:04      2                 MR. TOBEROFF:    Objection to "as of."
17:35:06      3     Otherwise --
17:35:07      4                 THE WITNESS:    We had just finalized our
17:35:11      5     agreement.
              6     BY MR. PETROCELLI:
17:35:12      7          Q.     And now does that cause you to believe that
17:35:13      8     you had some assistance in the preparation of the
17:35:16      9     tolling agreement?
17:35:19     10          A.     Well, we weren't advised to do it by
17:35:22     11     Mr. Toberoff.       He may have looked at the draft just to
17:35:25     12     make sure that the language was correct.
17:35:28     13          Q.     Well, why wouldn't you have him do it?           Why
17:35:31     14     are you --
17:35:31     15          A.     You asked me if I remembered it.
17:35:33     16          Q.     You don't remember.
17:35:35     17          A.     Okay.    I'm trying to answer your question.
17:35:37     18          Q.     Before you answered with some degree of
17:35:39     19     certainty that you and your mother wrote this
17:35:41     20     document, which I must say seems implausible to me.
17:35:44     21     It's a -- it's a technical legal document that your
17:35:49     22     prior counsel had advised you was important for you to
17:35:52     23     pay attention to.
17:35:53     24          A.     Uh-huh.
17:35:53     25          Q.     And I'm just pressing you now on whether you


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17:35:56      1     actually remember or you're just trying to surmise
17:36:00      2     that you prepared this document.
17:36:03      3          A.     I'm trying to surmise.
17:36:08      4          Q.     Okay.    Is it fair to say --
17:36:09      5          A.     No, no.    Excuse me.    I don't think I really
17:36:13      6     answered -- you're saying do I think I prepared it?
17:36:19      7          Q.     Do you --
17:36:20      8          A.     Or do I think somebody else prepared it?
17:36:22      9          Q.     Do you know whether, even though it went out
17:36:25     10     on your letterhead --
17:36:25     11          A.     Yes.
17:36:26     12          Q.     -- do you know whether this was prepared by a
17:36:29     13     lawyer for you to send out?
17:36:31     14          A.     Oh.    It -- we did a draft -- my mother and I
17:36:34     15     did a draft, and to the best of my recollection, we
17:36:39     16     probably ran it by Mr. Toberoff.
17:36:44     17          Q.     Did you run it by Arthur or George, the other
17:36:48     18     lawyers?
17:36:48     19          A.     We might have.
17:36:55     20          Q.     When you were told by Gang Tyre to pay
17:36:58     21     attention to this, some concern was expressed to you
17:37:02     22     that deadlines might run?
17:37:05     23                 MR. TOBEROFF:      Don't talk any more of
17:37:07     24     substance than he advised you to draw your attention
17:37:10     25     to the tolling agreement.


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17:37:11      1                 THE WITNESS:    Yeah.   I mean that's really --
              2     BY MR. PETROCELLI:
17:37:14      3          Q.     Why did you send this out to DC Comics?
17:37:16      4                 MR. TOBEROFF:    Privileged.     I instruct you
17:37:19      5     not to answer.
              6     BY MR. PETROCELLI:
17:37:19      7          Q.     Privilege with whom?      Who is the lawyer that
17:37:22      8     you're asserting your privilege with?
17:37:22      9                 MR. TOBEROFF:    I'm going to --
17:37:23     10                 MR. PETROCELLI:     I'm asking her, not you.
17:37:25     11                 MR. TOBEROFF:    I'm asserting it on her
17:37:27     12     behalf.
17:37:28     13                 MR. PETROCELLI:     I know, but I'm asking her.
17:37:28     14          Q.     With whom did you have an attorney-client --
17:37:31     15     who were the attorneys with whom you received legal
17:37:34     16     advice, if any, about the -- about this tolling
17:37:38     17     agreement, Exhibit 62?
17:37:40     18          A.     Well, as I testified before, I don't remember
17:37:43     19     exactly which attorneys we shared this with, but any
17:37:49     20     attorney that is in our employ I have an
17:37:52     21     attorney-client privilege with.         So --
17:37:54     22                 MR. TOBEROFF:    And --
17:37:54     23                 MR. PETROCELLI:     I know, but I'm asking you.
17:37:56     24                 MR. TOBEROFF:    I'm asserting the
17:37:57     25     attorney-client privilege on your behalf with respect


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17:37:58      1     to Kevin Marks even though he has been terminated
17:38:01      2     since the subject of the communication is a tolling
17:38:04      3     agreement that was entered into that he negotiated and
17:38:08      4     entered into as part of his legal representation of
17:38:10      5     you.
              6     BY MR. PETROCELLI:
17:38:12      7          Q.     Did --
17:38:14      8                 MR. TOBEROFF:    Clearly privileged.
              9     BY MR. PETROCELLI:
17:38:15     10          Q.     With what lawyers specifically do you
17:38:17     11     remember discussing this tolling agreement with
17:38:20     12     prior -- this tolling notice, Exhibit 62, prior to
17:38:24     13     your sending it out?
17:38:24     14          A.     As I testified before, I don't recall.
17:38:30     15          Q.     And do you recall discussing it with any
17:38:33     16     lawyer?
17:38:33     17          A.     With my mother.
17:38:35     18          Q.     Any lawyer I said.
17:38:37     19          A.     I don't recall.
17:38:40     20          Q.     Okay.    Why did you send it out?
17:38:44     21          A.     Because in reading the tolling --
17:38:46     22                 MR. TOBEROFF:    Wait, wait, wait.     You've
17:38:52     23     testified that you received advice --
17:38:55     24                 MR. PETROCELLI:     Marc --
17:38:55     25                 MR. TOBEROFF:    Excuse me.


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17:38:56      1                  MR. PETROCELLI:      -- you're just coaching the
17:38:58      2     witness.
17:38:58      3                  MR. TOBEROFF:    I'm not coaching the witness.
17:39:00      4     Attorney-client privilege.          Instruct you not to
17:39:01      5     answer.      I'm not going to explain it.
17:39:04      6                  THE WITNESS:    Okay.
17:39:05      7                  MR. TOBEROFF:    Is that better?
17:39:08      8                  MR. PETROCELLI:      I can't control what you do.
17:39:11      9     I'm not here to critique you.
17:39:14     10                  MR. TOBEROFF:    What exhibit number is this
17:39:16     11     one?
17:39:16     12                  THE WITNESS:    That was 62.     This one you
17:39:19     13     mean; right?
17:39:21     14                  MR. TOBEROFF:    Right.
17:39:21     15                  THE WITNESS:    Yeah.
17:39:53     16                  MR. PETROCELLI:      Let's look at the next
17:39:54     17     document, which is what?
17:39:56     18                  MR. TOKORO:    63.
17:39:57     19                  MR. PETROCELLI:      Exhibit 63?
17:39:59     20                  MR. TOKORO:    63.
             21                 (Whereupon, Plaintiff's Exhibit 63
17:40:10     22                 was marked for identification.)
17:40:11     23                  THE WITNESS:    Thank you.
             24     BY MR. PETROCELLI:
17:40:14     25          Q.      This is a letter to Mr. Bulson with a copy to


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17:40:17      1     Michael Siegel by you and your mother.        Do you see
17:40:22      2     that?
17:40:22      3          A.     Yes.
17:40:23      4          Q.     Enclosing your letter?
17:40:30      5          A.     Excuse me.   This?
17:40:31      6          Q.     Which was the prior exhibit, apparently;
17:40:34      7     right?
17:40:34      8          A.     Yes, it looks that way.
17:40:37      9          Q.     About the tolling agreement; correct?
17:40:38     10          A.     It looks that way.
17:40:40     11          Q.     It states notifying DC "that under the terms
17:40:42     12     of the April 6, 2000 Tolling Agreement, and due to our
17:40:46     13     written notification to DC Comics on September 21,
17:40:51     14     2002 which totally stopped and ended negotiations with
17:40:54     15     that company, its parent company and all its
17:40:58     16     representatives, the Tolling Period has been
17:41:02     17     canceled."     Why did you send this to Michael Siegel's
17:41:05     18     lawyer?
17:41:05     19          A.     To keep him informed.
17:41:13     20          Q.     Did you get a response from Michael Siegel or
17:41:16     21     his lawyer to your letter in September when you sent
17:41:20     22     him copies of the September 21 letters?        Did you hear
17:41:24     23     from him at that time as to what's going on?
17:41:26     24          A.     I could have.
17:41:27     25          Q.     Do you remember?


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17:41:28      1          A.     I don't remember specifically.
17:41:30      2          Q.     Do you remember any communication with him
17:41:33      3     about why you're changing representatives?
17:41:39      4          A.     There probably -- there probably was, but I
17:41:43      5     can't remember specifically when it was.
17:41:47      6          Q.     Given your testimony that you never met him,
17:41:52      7     did you ever speak to him?
17:41:57      8          A.     No.
17:41:58      9          Q.     And to your knowledge, did your mother ever
17:42:00     10     speak to him?
17:42:01     11          A.     I think -- no, I don't think she even spoke
17:42:06     12     to him when he was a child.
17:42:08     13          Q.     So the only type of communication that you
17:42:11     14     actually had with Michael Siegel was in writing
17:42:18     15     directly to him or to Mr. Bulson; correct?
17:42:21     16          A.     It -- it was more often through his attorney.
17:42:26     17     It was occasionally directly with Michael.          But he was
17:42:31     18     sick for like long periods of time, so, you know, long
17:42:37     19     periods would go by and I wouldn't hear from him, and
17:42:40     20     then all of a sudden a letter would pop up.
17:42:42     21          Q.     And the only way that you would hear from him
17:42:47     22     was through a letter; right?
17:42:48     23          A.     Yes.
17:42:48     24          Q.     Did you have his phone number?
17:42:49     25          A.     I did not have his phone number.


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17:42:51      1          Q.     Did you give him your phone number?
17:42:55      2          A.     I don't remember whether I did or not.
17:42:57      3          Q.     Did you give him your e-mail address?
17:43:03      4          A.     We never communicated by e-mail, so I
17:43:05      5     probably did not.
17:43:17      6          Q.     Can you go to the next exhibit, which is the
17:43:19      7     Superboy termination notice that was sent out on your
17:43:26      8     behalf on November 8, 2002.
17:43:31      9          A.     Thank you.
17:43:39     10          Q.     Why didn't you send this out sooner?
17:43:53     11                 MR. TOBEROFF:    You can answer except I
17:43:56     12     wouldn't go into anything that implicates
17:43:59     13     communication with an attorney.
17:44:02     14                 THE WITNESS:    We had our hands full.        We had
17:44:04     15     a lot of -- a lot of things that were going on in the
17:44:08     16     case and trying to find a new attorney after we were
17:44:15     17     dissatisfied with the February offer from DC.             We
17:44:20     18     spent a long period of time just trying to decide what
17:44:23     19     to do with what was already before us, and once we
17:44:29     20     figured that out, then we turned our attention to
17:44:35     21     Superboy.
             22     BY MR. PETROCELLI:
17:44:35     23          Q.     Do you know when the earliest time was when
17:44:37     24     you could have sent out a notice of termination for
17:44:39     25     Superboy?


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17:44:39      1          A.     No, I really don't.
17:44:42      2          Q.     Do you know whether you were bumping up
17:44:44      3     against a deadline to send out the Superboy notice?
17:44:48      4          A.     I think we were getting close to a deadline,
17:44:50      5     I think more in terms of end date than beginning date.
17:44:55      6          Q.     Did you have any discussions with any member
17:45:03      7     of the Shuster family that you were going to be
17:45:06      8     sending out the Superboy notice --
17:45:09      9          A.     No.
17:45:10     10          Q.     -- claiming a hundred percent termination
17:45:12     11     interest?
17:45:12     12          A.     No, we did not.
17:45:14     13          Q.     Did you and your mother discuss whether you
17:45:16     14     should do so beforehand?
17:45:18     15          A.     Whether we should what?
17:45:19     16          Q.     Contact them beforehand and let them know.
17:45:26     17          A.     No.
17:45:27     18          Q.     Did you have any idea what their view was
17:45:33     19     about Mr. Shuster's termination interest with respect
17:45:37     20     to Superboy?
17:45:39     21          A.     We didn't talk to them about Superboy.
17:45:43     22          Q.     Well, were you not concerned that they might
17:45:48     23     protest or contest the assertion by the Siegel family
17:45:53     24     that Jerome Siegel was the sole creator and the sole
17:45:57     25     person entitled to claim a termination interest?


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17:45:59      1           A.    No.
17:46:02      2           Q.    Why not?
17:46:05      3           A.    Because we were, you know, relying on the
17:46:08      4     Westchester decision.
17:46:10      5           Q.    In 1947?
17:46:11      6           A.    Yes, correct.
17:46:12      7           Q.    But --
17:46:13      8           A.    '47, '48, whenever it was.
17:46:15      9           Q.    How did you know they were aware of it?
17:46:17     10           A.    We weren't trying to get inside their minds.
17:46:20     11     We were doing what we thought, you know, we had rights
17:46:25     12     to.
17:46:26     13           Q.    But what if -- but did you discuss with your
17:46:30     14     mother the possibility that you may now be entering
17:46:33     15     into an area in which they might contest your
17:46:43     16     position?     Did that thought ever occur to you?
17:46:45     17           A.    We felt perfectly confident that we were
17:46:47     18     within our rights.
17:46:48     19           Q.    I understand that you made a judgment that
17:46:49     20     you were within your rights, but did you give some
17:46:52     21     consideration to the idea that the family of Joe
17:46:58     22     Shuster might have a different view and might dispute
17:47:01     23     this in some way?
17:47:05     24           A.    I don't recall that being a concern.
17:47:07     25           Q.    Never even occurred to you?


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17:47:08      1          A.     I don't think so.
17:47:13      2          Q.     And you knew that their lawyer was your
17:47:17      3     lawyer; right?
17:47:17      4          A.     Correct.
17:47:17      5          Q.     Did you ask your lawyer?
17:47:20      6          A.     Do we --
17:47:21      7                 MR. TOBEROFF:    Don't disclose --
17:47:23      8                 MR. PETROCELLI:     Yes.
17:47:24      9                 MR. TOBEROFF:    Don't disclose -- I instruct
17:47:26     10     you not to answer.
17:47:27     11                 THE WITNESS:    Okay.
             12     BY MR. PETROCELLI:
17:47:28     13          Q.     Did you ask Mr. Toberoff in his --
             14                 MR. TOBEROFF:    Privilege.    Excuse me.
             15     BY MR. PETROCELLI:
17:47:31     16          Q.     Did you ask Mr. Toberoff in his capacity as a
17:47:35     17     lawyer for the Shusters what their view of the
17:47:39     18     Superboy issue was?
17:47:41     19                 MR. TOBEROFF:    Privileged.     Instruct you not
17:47:42     20     to answer.
             21     BY MR. PETROCELLI:
17:47:42     22          Q.     I'm not asking about any conversations with
17:47:46     23     you as their lawyer, but with you as the Shuster
17:47:50     24     lawyer.
17:47:51     25                 MR. TOBEROFF:    You know --


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17:47:52      1      BY MR. PETROCELLI:
17:47:52      2          Q.     Did you understand my question?
17:47:54      3                 MR. TOBEROFF:       Dan, you can't have it both
17:47:56      4      ways.    You can't ask me to keep my objections short
17:47:58      5      and accuse me of coaching and then when I keep it
17:48:00      6      short you engage me in conversations which makes me
17:48:03      7      defensive the next time I object so I explain my
17:48:05      8      objections.
17:48:05      9                 MR. PETROCELLI:       Okay.    I just want to make
17:48:06     10      sure, though, based on your objections that you
17:48:08     11      understood and more importantly that the witness
17:48:10     12      understood.    So let me -- because I don't want to
17:48:13     13      argue with you, and I regret the few instances in
17:48:18     14      which we have and apologize if I said anything in
17:48:25     15      temper.
17:48:25     16                 MR. TOBEROFF:       I accept your apology in this
17:48:27     17      limited instance.
17:48:30     18                 MR. PETROCELLI:       And I accept yours.
17:48:32     19                 MR. TOBEROFF:       I didn't apologize.
17:48:34     20                 MR. PETROCELLI:       Noted.
17:48:36     21                 THE WITNESS:    You guys.
             22      BY MR. PETROCELLI:
17:48:40     23          Q.     Did -- did you, knowing that a lawyer with
17:48:44     24      whom you were dealing, Marc Toberoff, was also a
17:48:50     25      person who represented the Shusters --


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17:48:53      1          A.     Um-hum.
17:48:54      2          Q.     -- did you ask Mr. Toberoff with his Shuster
17:48:59      3     lawyer hat on, not the Siegel lawyer hat on, to
17:49:03      4     discuss with you what the Shuster position was on
17:49:10      5     Superboy?
17:49:10      6                 MR. TOBEROFF:    Instruct you not to answer.
17:49:14      7     Privilege.
              8     BY MR. PETROCELLI:
17:49:17      9          Q.     Did you have any discussions with
17:49:23     10     Mr. Toberoff in his capacity as a lawyer for the
17:49:29     11     Shusters --
17:49:30     12                 MR. TOBEROFF:    Same.
17:49:30     13                 THE WITNESS:    You can't separate them out,
17:49:33     14     though.
17:49:33     15                 MR. TOBEROFF:    Same instruction.
17:49:34     16                 THE WITNESS:    I couldn't separate them out.
17:49:36     17                 MR. TOBEROFF:    Same instruction.
             18     BY MR. PETROCELLI:
17:49:41     19          Q.     Can you answer that question for me?
17:49:43     20          A.     I think I've been instructed not to.
17:49:49     21          Q.     Okay.   And did you have any conversations
17:49:51     22     with your mother about what the Shuster position is or
17:49:59     23     might be regarding your issuance of a notice of
17:50:03     24     termination claiming a hundred percent of the
17:50:06     25     termination interest to Superboy?


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17:50:07      1          A.     I don't believe we did.
17:50:11      2          Q.     And even though Ms. Peary had been kind
17:50:20      3     enough to refer Mr. Toberoff to your family --
17:50:23      4          A.     Um-hum.
17:50:24      5          Q.     -- it didn't occur to you that you might want
17:50:27      6     to check with the Peary family or the Peavy family on
17:50:32      7     what their view is on Superboy before you filed a
17:50:36      8     notice claiming a hundred percent of the termination
17:50:39      9     interest?
17:50:40     10          A.     I can't -- I can't testify as to what my
17:50:44     11     mother may or may not have done.
17:50:44     12          Q.     Well, what about you?
17:50:53     13          A.     I did not.
17:50:53     14          Q.     Okay.   Did you tell your mother it might be a
17:50:53     15     good thing as a courtesy to let Ms. Peavy know?
17:50:57     16          A.     I don't recall.
17:50:57     17          Q.     You didn't give your mother that advice?
17:51:00     18          A.     I don't remember giving her advice.
17:51:02     19          Q.     Did your mother -- you certainly understood
17:51:07     20     how proud Jean Peavy was of her husband's
17:51:13     21     contributions --
17:51:13     22          A.     Her brother.
17:51:14     23          Q.     -- her brother's contributions to Superman?
17:51:17     24          A.     Of course.
17:51:18     25          Q.     And the whole Superman history; correct?


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17:51:23      1          A.     Of course.
17:51:25      2          Q.     And you knew your father felt that way also;
17:51:28      3     right?
17:51:28      4          A.     Yes.
17:51:29      5          Q.     And your mother felt that way; correct?
17:51:31      6          A.     We all did.
17:51:32      7          Q.     And do you think that -- did it occur to you
17:51:35      8     that Jean Peavy might have some feelings about her
17:51:40      9     brother's getting credit for Superboy when you now
17:51:45     10     were claiming sole credit?
17:51:46     11          A.     To the best of my recollection, it wasn't --
17:51:51     12     it wasn't anything that we were concerned about or
17:51:54     13     worried about.       We thought that they shared the same
17:51:58     14     view that we had.
17:51:59     15          Q.     You had no basis to think that.      What was
17:52:02     16     your basis?
17:52:03     17          A.     I'm --
17:52:04     18          Q.     Some opinion in 1947 that you don't even know
17:52:07     19     that they were aware of?
17:52:08     20          A.     Just discussions that I had had with my
17:52:10     21     father during his lifetime.
17:52:14     22          Q.     Did you ever at any time have a discussion
17:52:17     23     with someone in the Shuster family about whether they
17:52:21     24     agreed with that position?
17:52:22     25          A.     I did not.


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17:52:22      1           Q.    Do you know if your mother did?
17:52:25      2           A.    She may have.
17:52:25      3           Q.    Do you know if she did?
17:52:27      4           A.    I do not know whether she did.
17:52:42      5           Q.    Did you inform the Peary or Peavy family
17:52:52      6     after you served the notice of termination claiming a
17:52:56      7     hundred percent termination interest for Superboy that
17:52:58      8     you had done so?
17:52:59      9           A.    Yes, I believe we did.
17:53:01     10           Q.    Who did so?
17:53:03     11           A.    I think my mother did.
17:53:06     12           Q.    How do you know she did?
17:53:08     13           A.    Well, just every so often she would talk to
17:53:11     14     Jean on the phone.      I mean they had a very friendly
17:53:14     15     relationship, and I think she brought it up.
17:53:16     16           Q.    She said, "Hey, Jean, just want you to know
17:53:19     17     we filed a notice of termination claiming a hundred
17:53:21     18     percent on Superboy"?
17:53:24     19           A.    Possibly.   I wasn't on the phone.
17:53:25     20           Q.    Are you speculating or do you know for a fact
17:53:27     21     that she told that to Ms. Peavy?
17:53:30     22           A.    I'm speculating what she said.
17:53:32     23           Q.    Okay.   Well, that's -- that's of no help to
17:53:35     24     us.
17:53:49     25                 Okay.   Let's take a look at the next exhibit.


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17:53:55      1                 At some point in time did Mr. Emanuel and
17:54:00      2      Mr. Toberoff approach you about their wanting to
17:54:07      3      pursue Michael Siegel's termination interest?
17:54:11      4          A.     Yes.
17:54:12      5          Q.     And that they were going to purchase it
17:54:16      6      themselves?
17:54:17      7          A.     That -- they -- it was Ari who was going to
17:54:21      8      purchase it.
17:54:27      9          Q.     Did Ari ask your permission?
17:54:29     10          A.     Yes, he did.
17:54:31     11          Q.     Okay.    Did you give it to him?
17:54:33     12          A.     Yes, we did.
17:54:35     13          Q.     Did you discuss the price that he would pay?
17:54:44     14          A.     No.
17:54:44     15          Q.     He said to you, "I want to buy Michael
17:54:47     16      Siegel's termination interest," and you said, "Fine"?
17:54:53     17          A.     Well, it wasn't only the word "fine."              We
17:54:56     18      talked about it a little bit more than that, but --
17:54:58     19          Q.     Tell me what you said, and what did you guys
17:55:01     20      talk about in that regard?
17:55:03     21          A.     It was just that, you know, Michael was kind
17:55:07     22      of a loose cannon.      He was, you know -- he was
17:55:11     23      difficult to deal with.           At times he perfectly
17:55:17     24      understood that, you know, we should have a united
17:55:20     25      family front, and at other times he was, you know,


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17:55:27      1     kind of off the beam, and so it became increasingly
17:55:34      2     difficult to deal with him.          So it seemed that it
17:55:39      3     might be a good idea to have somebody who was friendly
17:55:44      4     to us acquire his rights.
17:55:49      5          Q.     Did you tell Michael that you were involved
17:55:58      6     in Ari, in the decision to have Ari Emanuel acquire
17:56:03      7     his termination interests?
17:56:05      8          A.     I don't believe we discussed it.
17:56:06      9          Q.     Well, you never had a conversation with him.
17:56:09     10          A.     No.
17:56:12     11          Q.     Okay.    And did you write him a letter saying,
17:56:14     12     "Michael, I want you to understand that I'm having Ari
17:56:17     13     Emanuel approach you to buy your interest because
17:56:20     14     you're out of control and this will be in my best
17:56:23     15     interest if I have this happen"?          Did you write that
17:56:26     16     kind of a letter to him?
17:56:27     17          A.     I did not write it in the words that you
17:56:28     18     used.
17:56:29     19          Q.     Did you write any letter to him advising him
17:56:32     20     that Michael -- that you were giving -- you had
17:56:38     21     approved Ari Emanuel purchasing his termination
17:56:41     22     interest?
17:56:41     23          A.     I believe that he wrote to me and had
17:56:47     24     mentioned it to me, and I responded and said if he
17:56:50     25     wanted to do it, I would not stand in his way.


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17:56:53      1          Q.     Did he write to you saying what?
17:56:55      2          A.     He said he was in need of immediate cash.
17:57:00      3          Q.     He happened to write to you just at the same
17:57:04      4     time that -- withdrawn.
17:57:06      5                 When did he write this letter to you?
17:57:09      6          A.     It had to have been after an offer was made
17:57:14      7     to him because he was telling me about an offer.
17:57:17      8          Q.     Okay.    But when you -- you initially spoke
17:57:21      9     with Mr. Emanuel about his purchasing the interest
17:57:27     10     because you thought that would be beneficial to you
17:57:30     11     and your mother's interest; correct?
17:57:33     12          A.     And to Michael because he was looking for
17:57:35     13     money.
17:57:36     14          Q.     Well, I didn't ask you about that --
17:57:38     15          A.     Sorry.
17:57:38     16          Q.     -- because you didn't know that Michael was
17:57:40     17     looking for money at the time.           He told you
17:57:42     18     afterwards.
17:57:43     19          A.     No.    I'm sorry.      He was always saying that he
17:57:45     20     needed money.
17:57:46     21          Q.     But he didn't call you up and say, "Look, I'm
17:57:48     22     looking for money," and it was for that reason that
17:57:51     23     you and Ari first had your discussion about his
17:57:55     24     buying the Super- -- about his buying Michael's
17:57:56     25     interest.


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17:57:56      1           A.    No, he never called me.
17:57:58      2           Q.    Okay.   So you had no communication with
17:57:59      3     Michael that he wanted to sell his Superman interest
17:58:03      4     which led you to then authorize Ari to go ahead and do
17:58:06      5     it.    That's not what happened; correct?
17:58:08      6           A.    Could you ask it again?    I'm a little
17:58:13      7     confused.
17:58:13      8           Q.    You did not receive the communication from
17:58:15      9     Michael Siegel saying he needed money, he wanted to
17:58:17     10     sell his Superman interest, and for that reason you
17:58:19     11     then went to Ari and said, "Here, go buy it.            My
17:58:23     12     brother needs money."       There's no such document;
17:58:26     13     correct?
17:58:26     14           A.    It was -- is there a document.     I haven't
17:58:29     15     seen those documents in a really long time.           I can't
17:58:32     16     really answer your question.
17:58:33     17           Q.    Where are those documents?
17:58:35     18           A.    Whatever documents that --
17:58:36     19                 MR. TOBEROFF:    What documents are you
17:58:37     20     referring to?
             21     BY MR. PETROCELLI:
17:58:38     22           Q.    You said "I haven't seen those documents in a
17:58:41     23     long time."     Where are those documents?
17:58:42     24           A.    Any letters between myself and Michael.
17:58:45     25           Q.    Where are they?


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17:58:45      1          A.     I turned them over to my attorney.
17:58:47      2          Q.     You said you had letters in your apartment,
17:58:50      3     in your condominium.
17:58:52      4          A.     Well, anything that I found I turned over to
17:58:55      5     my attorney.       I said that if there's anything else, it
17:58:58      6     would be in my apartment.
17:58:59      7          Q.     When you turned those letters over to your
17:59:02      8     attorney, do you mean Marc Toberoff?
17:59:03      9          A.     Yes.
17:59:03     10          Q.     How did you turn your letters with Michael
17:59:05     11     Siegel over to Marc Toberoff?
17:59:07     12          A.     Well, in a general request for production of
17:59:11     13     documents.
17:59:12     14          Q.     How did you give them to Mr. Toberoff?
17:59:15     15                 MR. TOBEROFF:    He's talking about --
             16     BY MR. PETROCELLI:
17:59:16     17          Q.     How did you transmit them to Mr. Toberoff?
17:59:18     18                 MR. TOBEROFF:    Mail it?
17:59:20     19                 THE WITNESS:    In a box.
             20     BY MR. PETROCELLI:
17:59:20     21          Q.     Did you ever fax any to Mr. Toberoff?
17:59:23     22          A.     I don't recall any faxes.
17:59:25     23          Q.     You have a fax machine; right?
17:59:27     24          A.     Yes, I do.
17:59:31     25          Q.     Okay.    Is it fair to say that Mr. Toberoff


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17:59:34      1     has a copy of every single letter that you exchanged
17:59:40      2     with Michael Siegel --
17:59:44      3          A.     What I --
17:59:45      4          Q.     -- regarding Superman?
17:59:47      5          A.     Whatever I have found that pertains to the
17:59:50      6     case I have turned over to him.
17:59:54      7          Q.     Okay.    And when is the last time that you
17:59:59      8     gave Mr. Toberoff or any member of his firm a -- any
18:00:05      9     correspondence with Michael Siegel?
18:00:07     10          A.     Oh.
18:00:08     11          Q.     When is the last time that you located such a
18:00:10     12     document and gave it to him?
18:00:14     13          A.     Well, that's hard to answer because, you
18:00:17     14     know, I -- I don't necessarily just find something of
18:00:21     15     Michael's separately from finding other things.
18:00:24     16          Q.     So I didn't mean to suggest --
18:00:26     17          A.     No, I'm just trying -- I know I'm not
18:00:27     18     answering your question.           I'm trying to reconstruct in
18:00:30     19     my mind.
18:00:31     20          Q.     Okay.    I'm just saying when is the last time
18:00:32     21     you recall coming across a Michael Siegel letter and
18:00:36     22     giving it to Mr. Toberoff?
18:00:39     23          A.     I don't know.      It could have been a few
18:00:41     24     months ago.
18:00:41     25          Q.     What was the letter that you found?


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18:00:43      1                 MR. TOBEROFF:    Misstates.   Okay.
              2     BY MR. PETROCELLI:
18:00:46      3          Q.     What was the letter that you came across a
18:00:50      4     few months ago and gave to Mr. Toberoff?
18:00:52      5                 MR. TOBEROFF:    Misstates her testimony.
18:00:53      6                 I just want to instruct you when he's asking
18:00:55      7     you these questions, just focus on the question, and
18:00:59      8     this isn't a memory test.        If you know the answer, let
18:01:01      9     him know.     If you can recall, recall.     But you don't
18:01:05     10     have to feel constrained to put something together if
18:01:09     11     you don't remember.     Just let him know what you
18:01:12     12     remember.
18:01:12     13                 MR. PETROCELLI:     You know, to the extent your
18:01:14     14     lawyer is telling you to say you don't recall, it's
18:01:17     15     really not appropriate.
18:01:18     16                 MR. TOBEROFF:    I'm not -- I'm not saying
18:01:18     17     that.
18:01:19     18                 THE WITNESS:    No, I don't --
             19                 MR. PETROCELLI:     We've gone over this, and
18:01:21     20     it's really late in the day to be talking about this
18:01:21     21     now.    You just have to give me your very, very best
18:01:25     22     recollection even if it's a faint recollection.              I
18:01:26     23     don't want you speculating wildly.
18:01:27     24                 MR. TOBEROFF:    Excuse me.   I object to the
18:01:29     25     implication I'm telling her not to recall.          She


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18:01:30      1     started saying things that were unresponsive, and then
18:01:34      2     she said she's just trying to put it together and by
18:01:38      3     vocalizing various things, and I said look, it's not a
18:01:40      4     memory test.     Try and remember.     If you can remember,
18:01:42      5     give it to him.     If you don't, don't.      That's not
18:01:45      6     coaching her not to recall, and I take object -- you
18:01:47      7     know, that's a snotty comment, and I object to it.
18:01:52      8                 MR. PETROCELLI:     We better change the tape.
18:01:54      9                 THE VIDEOGRAPHER:     Okay.   This will mark the
18:01:55     10     end of Volume -- sorry -- Volume 1, tape number four,
18:01:58     11     in the deposition of Laura Siegel.         Going off the
18:02:04     12     record.     The time is 6:02.
18:08:07     13                 (A recess was taken.)
18:08:15     14                 THE VIDEOGRAPHER:     We are back on the record.
18:08:17     15     This marks the beginning of Volume 1, tape number
18:08:19     16     five, in the deposition of Laura Siegel.         The time is
18:08:23     17     6:08.
             18     BY MR. PETROCELLI:
18:08:24     19          Q.     I want to get back to these questions about
18:08:32     20     Mr. Emanuel purchasing the interest of Mr. Siegel.
18:08:37     21                 Now, first of all, were you aware that
18:08:40     22     Mr. Toberoff would be assisting Mr. Emanuel in
18:08:45     23     acquiring Mr. Michael Siegel's termination interest?
18:08:49     24          A.     What do you mean by assisting?
18:08:52     25          Q.     Working with him in some way.


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18:08:56      1          A.     I believe that he was communicating with
18:09:00      2     Michael Siegel or with Don Bulson.
18:09:03      3          Q.     Mr. Toberoff was?
18:09:04      4          A.     Mr. Toberoff.
18:09:05      5          Q.     On behalf of whom?
18:09:07      6          A.     On behalf of Mr. Emanuel.
18:09:08      7          Q.     Okay.    And how do you know that?
18:09:13      8          A.     It was a discussion.
18:09:16      9          Q.     Mr. Emanuel told you that, that he would be
18:09:18     10     working with Mr. Toberoff in connection with his
18:09:21     11     activities with Mr. Siegel and Mr. Bulson?
18:09:24     12          A.     Yes.
18:09:24     13          Q.     Okay.    Did you and Mr. Emanuel discuss price?
18:09:40     14          A.     No, we did not.
18:09:41     15                 MR. TOBEROFF:      Asked and answered.
             16     BY MR. PETROCELLI:
18:09:41     17          Q.     Were you made aware at any time of any of the
18:09:45     18     offers going back and forth?
18:09:49     19          A.     No.
18:09:50     20          Q.     Are you certain?
18:09:50     21          A.     Not the amount of the offers.      I was aware
18:09:53     22     that offers were going back and forth.
18:09:55     23          Q.     Were you aware generally of the nature of the
18:09:59     24     offers that were going back and forth?
18:10:01     25                 MR. TOBEROFF:      Vague and ambiguous.


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18:10:03      1                 THE WITNESS:    I don't believe that there was
18:10:05      2     a number ever mentioned.
              3     BY MR. PETROCELLI:
18:10:07      4          Q.     But you were being kept apprised of what was
18:10:11      5     happening on a general basis; is that right?
18:10:13      6          A.     Yes, correct.
18:10:19      7          Q.     Was it your view that it would be
18:10:25      8     advantageous to have the Michael Siegel interest
18:10:34      9     purchased and getting a maximum price for your
18:10:36     10     interest and your mother's interest in your dealings
18:10:38     11     with Warner Bros. or DC?
18:10:41     12          A.     I'm not sure I understand the question.
18:10:44     13          Q.     Did you believe that if Mr. Emanuel purchased
18:10:49     14     the Michael Siegel interest, that would facilitate
18:10:53     15     discussions that you and your mother would have to
18:10:56     16     transact your interest?
18:10:58     17          A.     Yes.
18:11:02     18          Q.     Did you think it was important for Michael
18:11:05     19     Siegel, your stepbrother, to know that it was Ari
18:11:11     20     Emanuel, a person with whom you were doing business,
18:11:14     21     who was seeking to purchase his interest?
18:11:18     22          A.     First of all, he was my half brother, but --
18:11:21     23          Q.     Half brother.    Forgive me.
18:11:25     24                 Did you think it was important for your half
18:11:27     25     brother, Michael Siegel, to know that the person who


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18:11:31      1     was seeking to acquire his termination interest was
18:11:37      2     Ari Emanuel, the same person with whom you were doing
18:11:40      3     business?
18:11:41      4          A.     No, I didn't think that was important.
18:11:44      5          Q.     And you did not ever communicate to your
18:11:47      6     brother that it was Ari Emanuel who was this investor;
18:11:53      7     correct?
18:11:54      8          A.     I don't recall doing that.
18:11:56      9          Q.     And you know that your brother -- excuse me.
18:12:00     10     You know that Michael Siegel was never told that Ari
18:12:03     11     Emanuel was the person who was interested in
18:12:09     12     purchasing his termination interest; correct?
18:12:11     13                 MR. TOBEROFF:    Vague as to time.
18:12:12     14                 THE WITNESS:    Well, I do not know that.
18:12:14     15     BY MR. PETROCELLI:
18:12:16     16          Q.     You know that in the correspondence and the
18:12:18     17     communications with Michael Siegel and his lawyer, Don
18:12:21     18     Bulson, the purchaser was never named; correct?
18:12:26     19          A.     I -- I think -- I think that I heard that.
18:12:31     20          Q.     What was the strategy behind not telling
18:12:35     21     Michael Siegel that it was Ari Emanuel?
18:12:41     22          A.     I don't know that there was a strategy.
18:12:43     23          Q.     You didn't want Mr. Siegel to know that it
18:12:46     24     was Ari Emanuel; correct?
18:12:47     25          A.     I didn't have any feelings about it one way


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18:12:49      1     or another.
18:12:50      2          Q.     But you never felt that you should tell him;
18:12:54      3     right?
18:13:00      4          A.     No.
18:13:00      5          Q.     And you had rejected selling your interest to
18:13:04      6     Ari Emanuel because you thought that he wasn't
18:13:09      7     offering enough money; right?
18:13:13      8          A.     No.
18:13:14      9          Q.     You said that he offered you 15 million and
18:13:18     10     that why would he ever pay full value, so it must be
18:13:21     11     worth a lot more than that.          Do you recall that?
18:13:23     12          A.     We preferred to have him negotiate for us
18:13:26     13     than make a purchase.
18:13:26     14          Q.     Did you make a counteroffer to him and say,
18:13:29     15     "You know, Ari, a guy like you would never offer 15 if
18:13:34     16     it's worth 15, so it must be worth 30 or 40 or 50 or a
18:13:38     17     hundred, so I'm going to counter at a much higher
18:13:40     18     number"?     Did you ever have that kind of discussion
18:13:42     19     with Mr. Emanuel?
18:13:43     20          A.     No.
18:13:43     21          Q.     Did you ever make any counterproposal to his
18:13:46     22     $15 million proposal?
18:13:47     23          A.     Yeah.    The counter was "Why don't you
18:13:50     24     represent us."
18:13:50     25          Q.     A counter to do a deal with him, I meant,


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18:13:53      1     other than an agency deal.
18:14:01      2          A.     No.
18:14:01      3          Q.     Why didn't you suggest to Mr. Emanuel that he
18:14:05      4     represent Michael Siegel just like he was representing
18:14:09      5     you to try to sell Michael Siegel's interest as an
18:14:12      6     agent rather than as a principal?
18:14:14      7          A.     He didn't express any interest in doing that.
18:14:16      8          Q.     Did you try to persuade him to doing so, into
18:14:23      9     doing that?
18:14:23     10          A.     We may have discussed it, but he didn't ever
18:14:25     11     show any interest in doing that.
18:14:25     12          Q.     Did you have a point of view about that?            Did
18:14:30     13     you have a preference?
18:14:31     14          A.     Not really.
18:14:46     15          Q.     Did you have any issue with the fact that the
18:14:51     16     person that you thought was your lawyer was now acting
18:14:54     17     in an adverse capacity to your stepbrother?
18:15:00     18          A.     I don't think we considered it an adverse
18:15:03     19     capacity.
18:15:03     20          Q.     You don't believe that Mr. Toberoff
18:15:06     21     representing Ari Emanuel in trying to provide the
18:15:14     22     lowest price to Michael Siegel to acquire his interest
18:15:19     23     was adverse to Michael Siegel?
18:15:23     24          A.     We had knowledge of the fact that Michael
18:15:25     25     wanted to speed up the process.        He really didn't want


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18:15:27      1     to wait things out.        He wasn't interested in
18:15:33      2     prolonging anything and wanted some money.            So it
18:15:37      3     seemed as if it was going to be to his advantage.
18:15:40      4          Q.      Why didn't you buy it?
18:15:41      5          A.      Didn't have the money.
18:15:42      6          Q.      Why didn't you try to borrow the money?
18:15:47      7          A.      Hey, I'm disabled.       I live on a disability
18:15:51      8     income.      There's no way that I could borrow any kind
18:15:53      9     of money for that.
18:15:54     10          Q.      Why didn't you ask Ari Emanuel to put up the
18:15:58     11     funds on your behalf?
18:15:59     12          A.      I just didn't think of it.
18:16:00     13          Q.      Nobody suggested that to you?
18:16:07     14          A.      No.
18:16:07     15          Q.      Did you tell -- since you never spoke to
18:16:12     16     Michael Siegel, did you communicate with Michael
18:16:16     17     Siegel that -- did you ask Michael Siegel in writing
18:16:29     18     whether he had any issue with your lawyer, Marc
18:16:34     19     Toberoff, representing this purchaser of his interest?
18:16:40     20          A.      I never asked him that.
18:16:54     21          Q.      Take a look at the next exhibit.
18:16:59     22                  MR. TOKORO:    64.
             23                 (Whereupon, Plaintiff's Exhibit 64
             24                 was marked for identification.)
18:17:08     25                  THE WITNESS:    Thank you.


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18:17:08      1     BY MR. PETROCELLI:
18:17:08      2          Q.     This is a document sent to you and your
18:17:10      3     mother on the letterhead of IP Worldwide dated
18:17:15      4     November 26, 2002, with respect to the purchase of
18:17:27      5     Michael Siegel's termination interest by Ari Emanuel.
18:17:33      6          A.     I'm reading it, so I'm sorry.     If you could
18:17:37      7     give me a few minutes.
18:17:56      8          Q.     Tell me when you're ready.
18:18:19      9          A.     Okay.   I've read it.
18:18:21     10          Q.     What were the potential conflicts of interest
18:18:27     11     that you understood related to this document?
18:18:35     12          A.     I don't recall because it's not in this
18:18:38     13     document.
18:18:38     14          Q.     What's not in this document?
18:18:40     15          A.     Potential conflicts of interest.       It's not --
18:18:44     16     it's not explained in the document, so I don't recall
18:18:49     17     something that was discussed in 2002 that's not in
18:18:52     18     front of me.
18:18:53     19          Q.     Right now as you sit here, you have no idea
18:18:56     20     what the potential conflicts of interest were?
18:18:58     21          A.     May I read that paragraph again?
18:19:00     22          Q.     Please.
18:19:32     23          A.     It doesn't refresh my memory by reading it.
18:19:35     24          Q.     Now, you see it's on the stationery or
18:19:41     25     letterhead of IP Worldwide.       Do you see that?


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18:19:43      1          A.     Yes.
18:19:43      2          Q.     Go to the beginning of the second paragraph.
18:19:46      3     It says "IPW will enter into negotiations."             Do you
18:19:52      4     see that?
18:19:52      5          A.     Yes, I do.
18:19:53      6          Q.     What did you understand IPW to be?
18:19:55      7          A.     IP Worldwide.
18:19:58      8          Q.     Tell me -- so then it was IP Worldwide that
18:20:00      9     was going to acquire the Michael Siegel interests;
18:20:04     10     correct?
18:20:06     11          A.     No.    It says it will be directly financed by
18:20:08     12     Ari Emanuel.
18:20:09     13          Q.     Financed by, but the acquisition is to occur
18:20:13     14     by IPW; correct?
18:20:15     15          A.     My understanding of that was that IP
18:20:20     16     Worldwide, meaning as a lawyer, Mr. Toberoff was going
18:20:24     17     to conduct the negotiations.
18:20:28     18          Q.     If IPW acquired the termination interest of
18:20:33     19     Michael Siegel, a company in which Mr. Toberoff had an
18:20:36     20     ownership interest, you would have had no objection to
18:20:38     21     that; correct?
18:20:39     22                 MR. TOBEROFF:      I just want to make -- when
18:20:40     23     we're speaking -- you're saying I, because there is a
             24     company called IPW.
             25                 MR. PETROCELLI:        I know, but not at this


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              1     point in time.
18:20:44      2                 MR. TOBEROFF:      You're talking about IP
18:20:45      3     Worldwide; correct?
18:20:46      4                 MR. PETROCELLI:        Yes.   I'm using "IPW"
18:20:48      5     because as the witness said, she understood it to mean
18:20:52      6     IP Worldwide as used in this letter.
18:20:53      7                 MR. TOBEROFF:      Okay.
18:20:54      8                 THE WITNESS:     And the question?
              9     BY MR. PETROCELLI:
18:20:55     10          Q.     You would have had no objection to Michael
18:20:58     11     Siegel's interests being purchased in the name of IP
18:21:01     12     Worldwide, a company in which Mr. Toberoff had an
18:21:04     13     ownership interest; correct?
18:21:05     14          A.     Correct.
18:21:13     15          Q.     And again, you can't recall any of the
18:21:16     16     conflicts over the subject of this document.
18:21:18     17          A.     No.    Sorry.   I can't.
18:21:21     18                 MR. PETROCELLI:        What exhibit number is this?
18:21:23     19                 MR. TOKORO:     64.
18:21:29     20                 MR. PETROCELLI:        Go to the next one.
18:21:30     21                 MR. TOBEROFF:      I would like you to read me --
18:21:32     22     she asked a question, and you said "correct," and you
18:21:34     23     said "correct."       Can you read me that question,
18:21:37     24     please?
18:21:51     25                 (The record was read.)


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18:21:51      1                  MR. TOBEROFF:    Okay.     Thank you.
18:21:55      2                  MR. PETROCELLI:     Next is Exhibit 65, which is
18:21:58      3     another draft of this document dated December 16,
18:22:02      4     2002, which contains more terms.
              5                 (Whereupon, Plaintiff's Exhibit 65
18:22:11      6                 was marked for identification.)
              7     BY MR. PETROCELLI:
18:22:12      8          Q.      Were you negotiating this document with
18:22:17      9     Mr. Emanuel?
18:22:18     10          A.      May I read it first?
18:22:20     11          Q.      Sure.
18:22:21     12          A.      Thank you.
18:22:45     13                  MR. TOBEROFF:    Do you have a signed -- you're
18:22:47     14     showing her documents that are unsigned.             Do you have
18:22:50     15     a signed document?
18:22:58     16                  MR. PETROCELLI:     No.    You didn't produce it.
18:23:19     17          Q.      You do recall signing a version of this
18:23:19     18     document; is that right?
18:23:19     19          A.      A version.   I can't say this was the final.
18:23:20     20                  MR. TOBEROFF:    I think there was a signed
18:23:22     21     document that was produced.
18:23:24     22                  MR. PETROCELLI:     Well, I don't have it here,
18:23:28     23     and it's certainly possible.
18:23:55     24                  THE WITNESS:    Okay.     I'm ready for your
18:23:58     25     question.


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18:23:58      1                 MR. PETROCELLI:        Oh.   So you did find one.
18:24:03      2      Let me see it.
18:24:17      3                 We're going to get to a signed version.
18:24:19      4                 THE WITNESS:       Okay.
18:24:20      5                 MR. PETROCELLI:        But it's not -- we're going
18:24:22      6      to stay with this document first.
18:24:24      7                 THE WITNESS:       All right.
18:24:32      8      BY MR. PETROCELLI:
18:24:32      9          Q.     This is Exhibit 65.          Who was negotiating the
18:24:37     10      terms of this document?
18:24:39     11          A.     My mother and I.
18:24:42     12          Q.     And who were you negotiating with?
18:24:47     13          A.     Ari.
18:24:49     14          Q.     How?    Over the phone?       In person?     Through
18:24:52     15      Mr. Toberoff?      All the above?
18:24:53     16          A.     All the above.
18:24:58     17          Q.     Was anybody other than Mr. Toberoff working
18:25:02     18      with you on the negotiations?
18:25:10     19          A.     No.
18:25:11     20          Q.     You -- you were the one insisting that if
18:25:19     21      Michael Siegel sold this interest to IPW and/or Ari
18:25:26     22      Emanuel, that they in turn, that is, IPW and/or Ari
18:25:35     23      Emanuel, would only sell the Michael Siegel interest
18:25:39     24      to a third party in connection with the sale of your
18:25:43     25      interest; correct?


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18:25:45      1          A.     Can you show me where in the document it says
18:25:47      2     that?
18:25:48      3          Q.     3(a).
18:25:58      4          A.     If this was the final version, then that's
18:26:01      5     what we agreed to.
18:26:02      6          Q.     But that's -- I'm not asking right now
18:26:05      7     whether you agreed to it, but that's something you
18:26:07      8     wanted; right?
18:26:07      9          A.     Yes.
18:26:08     10          Q.     And you wanted the complete decision making
18:26:12     11     authority with respect to the disposition of not only
18:26:15     12     your interest, but the Michael Siegel interest;
18:26:17     13     correct?
18:26:17     14          A.     That's correct.
18:26:18     15          Q.     So you were basically using Ari Emanuel and
18:26:22     16     IPW as a front to acquire this interest that you would
18:26:27     17     ultimately control without telling your stepbrother;
18:26:29     18     correct?
18:26:30     19          A.     No.
18:26:30     20          Q.     And you did not tell your stepbrother that it
18:26:32     21     was you who was going to have complete control over
18:26:35     22     his interest; correct?
18:26:36     23          A.     I didn't discuss the details with him.
18:26:39     24          Q.     Well, you didn't tell him anything, did you?
18:26:41     25          A.     I don't recall.


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18:26:41      1          Q.     You never spoke to him, you said.
18:26:44      2          A.     No, I didn't.
18:26:45      3          Q.     You never wrote to him about any of this;
18:26:47      4     right?
18:26:48      5          A.     I said I didn't remember whether I wrote to
18:26:50      6     him about this.
18:26:53      7          Q.     You remember, and you did not advise Michael
18:26:57      8     Siegel that you were negotiating against him through
18:27:00      9     Ari Emanuel; correct?
18:27:02     10                 MR. TOBEROFF:    Argumentative.
18:27:03     11                 THE WITNESS:    I don't think you can read my
18:27:05     12     mind, with all due respect.
             13     BY MR. PETROCELLI:
18:27:07     14          Q.     Well, are you saying you did make this full
18:27:09     15     disclosure to him about what your demands were of
18:27:14     16     Mr. Ari Emanuel, that you wanted to control the
18:27:17     17     disposition of the Michael Siegel interests, that it
18:27:19     18     could only be sold in connection with your interest?
18:27:22     19     Are you telling me that you told that to your half
18:27:25     20     brother in writing?
18:27:28     21          A.     I don't -- I don't remember what we discussed
18:27:31     22     in writing.
18:27:32     23          Q.     Did you have a single communication with him
18:27:34     24     in writing on this subject?
18:27:36     25          A.     I do not recall.


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18:27:43      1          Q.      In paragraph (c) here of this draft it says
18:27:47      2     that Mr. Emanuel is going to indemnify you in case
18:27:51      3     there is any litigation arising out of your -- arising
18:27:54      4     out of the purchase of the Michael Siegel interests.
18:27:56      5     Why do you want an indemnification from Mr. Emanuel?
18:28:00      6     What kind of litigation were you concerned about?
18:28:02      7          A.      We had no idea what might occur in the
18:28:16      8     future.
18:28:16      9          Q.      How were you communicating your demands and
18:28:20     10     your positions such that they were being embodied in
18:28:25     11     these drafts?        Were you doing it orally, or were you
18:28:29     12     like typing things out and sending it to Mr. Toberoff
18:28:33     13     or Mr. Emanuel?
18:28:34     14          A.      Oh, you're saying the negotiation over --
18:28:36     15          Q.      Yes.
18:28:37     16          A.      -- over this document?
18:28:38     17          Q.      Yes.
18:28:41     18          A.      I think we did it in conversation.
18:28:47     19          Q.      Okay.    Take a look at the next document.
18:28:51     20     This is Exhibit 46.
             21                  (Whereupon, Plaintiff's Exhibit 46
18:28:59     22                 was placed before the witness.)
             23     BY MR. PETROCELLI:
18:28:59     24          Q.      Now, it says that it's dated January 21,
18:29:03     25     2002.     I'm assuming that's a typo.     That must be 2003.


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18:29:07      1          A.     Yeah, because it's --
18:29:09      2          Q.     The sequence of time here.         Does that make
18:29:11      3     sense to you?
18:29:11      4          A.     It's signed on 2003.
18:29:13      5          Q.     Well, Exhibit 46 is not signed.         You're
18:29:15      6     looking at the wrong exhibit.
18:29:18      7          A.     46.
18:29:20      8                 MR. TOBEROFF:      Signed.
18:29:20      9                 THE WITNESS:    Is signed.
18:29:23     10                 MR. PETROCELLI:        Time out.   Time out.      Time
18:29:25     11     out.   Time out.
18:29:55     12          Q.     You have Exhibit 46 in front of you?
18:29:57     13          A.     Yes, I do.
18:29:57     14          Q.     And that is a signed version?
18:29:59     15          A.     Yes.
18:30:08     16          Q.     Okay.    And you will see in paragraph 2 -- in
18:30:21     17     paragraph 1 we're dealing with Mr. Siegel's interests,
18:30:26     18     Michael Siegel's interest in Superman, Superboy, and
18:30:29     19     The Spectre.       Do you see that?
18:30:30     20          A.     Yes, I do.
18:30:31     21          Q.     What's The Spectre?
18:30:32     22          A.     That's another character that my father
18:30:39     23     co-created.
18:30:39     24          Q.     And you wanted to have Mr. Emanuel acquire
18:30:42     25     Michael Siegel's interest in that character as well?


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18:30:45      1          A.     Yes.
18:30:45      2          Q.     So at the end of the day, you wanted to
18:30:50      3     obtain everything Michael Siegel might own with
18:30:53      4     respect to your father's creations; correct?
18:30:56      5                 MR. TOBEROFF:    Misstates the document and the
18:30:58      6     record.     Assumes facts.       Lacks foundation.
18:31:02      7                 MR. PETROCELLI:       Repeat the question because
18:31:04      8     I made a mistake in it.
18:31:05      9          Q.     You wanted Mr. Emanuel and negotiated and
18:31:09     10     contracted with Mr. Emanuel that he would acquire all
18:31:15     11     copyright termination interests that Michael Siegel
18:31:17     12     might hold with respect to your father's creations;
18:31:20     13     correct?
18:31:22     14          A.     These Superman, Superboy, and The Spectre
18:31:25     15     were the only properties that had at this point been
18:31:30     16     terminated.     There is always the possibility that
18:31:32     17     there are additional characters created by my father
18:31:36     18     that would be terminated in the future.
18:31:39     19          Q.     Were you --
18:31:40     20          A.     This agreement didn't apply to anything
18:31:43     21     except for the specific characters.
18:31:43     22          Q.     What were the other characters that you were
18:31:46     23     leaving available for Michael Siegel to exercise
18:31:48     24     copyright termination interests over?
18:31:50     25          A.     Anything that came -- because of the calendar


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18:31:53      1     of the way copyright terminations go, there are -- you
18:31:57      2     know, there are different dates of publication, and,
18:32:01      3     you know, the window for termination for each
18:32:04      4     character is different.
18:32:05      5           Q.    Well, were you aware of any other windows of
18:32:08      6     termination for any other characters that were coming
18:32:11      7     up?
18:32:11      8           A.    There were some, but they were way down the
18:32:14      9     road.
18:32:14     10           Q.    What were they?
18:32:15     11           A.    Oh, you would ask me that.       At this moment I
18:32:30     12     can't recall.
18:32:30     13           Q.    Well, as of January 21, 2003, you were
18:32:37     14     authorizing Ari Emanuel to purchase all existing
18:32:42     15     termination interests of Michael Siegel in your
18:32:46     16     father's creations; is that correct?
18:32:48     17           A.    That were -- that were in effect or had been
18:32:51     18     terminated at that point.
18:32:56     19           Q.    And this is the document you did sign; right?
18:33:02     20           A.    Yes.
18:33:03     21           Q.    Which sets forth the condition that the
18:33:10     22     Michael Siegel interests so acquired by Mr. Emanuel
18:33:12     23     could only be sold to a third party in conjunction
18:33:17     24     with the sale of the Siegel interests, your interests;
18:33:20     25     correct?


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18:33:20      1          A.     Correct.
18:33:21      2          Q.     And that you and your mother would retain
18:33:24      3      full and complete decision making authority with
18:33:26      4      respect to such a disposition; correct?
18:33:29      5          A.     Where is that, please?      I didn't have a
18:33:31      6      chance to read the entire document.
18:33:33      7          Q.     3(b).
18:33:39      8          A.     Correct.
18:33:40      9          Q.     3(c) is the indemnity that you're getting
18:33:43     10      from Mr. Emanuel in case there's any litigation
18:33:46     11      arising out of the purchase of the Michael Siegel
18:33:49     12      interest; correct?
18:33:49     13          A.     Correct.
18:33:49     14          Q.     And you understood that might apply if
18:33:52     15      Michael Siegel himself filed suit against you;
18:33:54     16      correct?
18:33:54     17          A.     I believe so.
18:34:03     18          Q.     In paragraph 3(d) you ask Mr. Emanuel to
18:34:08     19      reimburse you for the Michael Siegel 25 percent share
18:34:13     20      of the expenses that you had been advancing; correct?
18:34:19     21          A.     That we advanced on behalf of the entire
18:34:37     22      interest.
18:34:37     23          Q.     In the first paragraph of this document,
18:34:42     24      Exhibit 46, again it makes reference to various risks
18:34:48     25      and potential problems regarding Michael Siegel and


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                                                                            Page 298
18:34:52      1     the mitigation of possible conflicts of interest with
18:34:56      2     respect to the following proposed remedial actions.
18:35:00      3     What were the risks, the potential problems, and the
18:35:05      4     possible conflicts?
18:35:07      5          A.      I really don't recall.
18:35:08      6          Q.      You can't remember a single thing about that?
18:35:11      7          A.      Not today.
18:35:56      8          Q.      Take a look at the next document in order,
18:36:03      9     Exhibit 30.
             10                  (Whereupon, Plaintiff's Exhibit 30
             11                 was placed before the witness.)
             12     BY MR. PETROCELLI:
18:36:12     13          Q.      This is a letter from Michael Siegel to you
18:36:15     14     dated May 13; is that correct?
18:36:19     15          A.      Yes.
18:36:22     16          Q.      When is the last time you saw this document?
18:36:25     17          A.      It's been quite a while.
18:36:34     18          Q.      When you received documents -- well,
18:36:37     19     withdrawn.
18:36:38     20          A.      I'm sorry.   What was --
18:36:40     21          Q.      Withdrawn.   Let me start all over again.
18:36:42     22                  When did you first give a copy of this
18:36:45     23     document to Mr. Toberoff?
18:36:50     24          A.      Whenever there was a request for the
18:36:53     25     production of documents, whenever that was.


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18:36:56      1          Q.     In what case?
18:36:59      2          A.     Good question.         There's just so many cases.
18:37:04      3     You know, they're all kind of running together for me,
18:37:06      4     so I don't remember.
18:37:12      5          Q.     When you provided documents from time to time
18:37:15      6     to Mr. Toberoff, did you maintain copies for yourself?
18:37:20      7          A.     No.
18:37:21      8          Q.     Never?
18:37:21      9          A.     I don't -- I don't believe so.
18:37:23     10          Q.     Even letters with your stepbrother?
18:37:26     11          A.     Well, I knew that he had them, and if I
18:37:28     12     needed them, I could always get a copy from him.
18:37:42     13          Q.     This letter starts out "Thank you for your
18:37:44     14     letter of November 2 of last year."            What letter was
18:37:49     15     that?
18:37:49     16          A.     A letter I sent him on November 2.
18:37:51     17          Q.     Do you have any idea what you wrote in that
18:37:53     18     letter?
18:37:54     19          A.     No, I don't.
18:38:01     20          Q.     Now, you see -- you recall receiving this
18:38:05     21     letter?
18:38:05     22          A.     Well, the part that I remember is when he
18:38:07     23     told me that his mother passed away.
18:38:11     24          Q.     That's in the second sentence.
18:38:13     25          A.     That's right.


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18:38:13      1          Q.     And then the rest of this letter goes on to
18:38:17      2      discuss his concerns about Mr. Toberoff, and are you
18:38:21      3      suggesting that none of that was important to you?
18:38:27      4          A.     I didn't say it wasn't important to me.                I
18:38:31      5      just said that the thing that made me remember this
18:38:34      6      letter was the fact that he said that his mother
18:38:34      7      passed away.
18:38:50      8          Q.     Do you know what prompted his sending this
18:38:52      9      letter to you?
18:38:54     10          A.     I don't know.
18:38:59     11          Q.     Did you respond to it?
18:39:02     12          A.     I'm sure I did.
18:39:05     13          Q.     What did you say?
18:39:08     14          A.     I'm sorry, but I don't recall.
18:39:14     15          Q.     He said here in the -- directing your
18:39:18     16      attention to the second paragraph, okay --
18:39:21     17          A.     Um-hum.
18:39:22     18          Q.     -- it starts out "I really wish to discuss
18:39:26     19      Marc Toberoff."      And it says in the third sentence:
18:39:37     20                 "I told you when he first contacted
18:39:41     21                 me, he wanted to buy my share of the
18:39:47     22                 copyright.    Marc had a mysterious
18:39:51     23                 billionaire who wanted to invest in
18:39:52     24                 the Superman copyright, put
18:39:54     25                 15 million dollars up front plus


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18:39:57      1                 participation.       When you signed with
18:40:01      2                 Marc the billionaire invested
18:40:04      3                 elsewhere."
18:40:08      4                 Do you know where he got that information?
18:40:10      5          A.     I have no idea.
18:40:11      6          Q.     You don't think he made it up, do you?
18:40:14      7          A.     You know, Michael was a very confused guy, on
18:40:21      8     a lot of medication, and when he would write things to
18:40:25      9     me, such as asking me did I know that Marc was the
18:40:29     10     attorney for the Shusters, well, of course I did, and,
18:40:33     11     you know --
18:40:35     12          Q.     He's telling you that Marc Toberoff contacted
18:40:38     13     him and said he had a mysterious billionaire.
18:40:43     14          A.     Yeah.   Well, I don't know where that came
18:40:45     15     from.
18:40:46     16          Q.     Did you think your brother -- your
18:40:48     17     stepbrother was lying?
18:40:49     18          A.     I don't -- I don't know that he came up with
18:40:57     19     the wording himself.      You know, I mean it -- I had
18:41:01     20     never heard this referred to in any way other than in
18:41:04     21     this letter, "mysterious billionaire."          I don't know
18:41:08     22     what that means.
18:41:12     23          Q.     Put $15 million up front, plus participation,
18:41:15     24     that happened to be exactly the same number that
18:41:19     25     Mr. Emanuel had offered you; correct?


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18:41:21      1          A.     That was interesting, and that caught my eye.
18:41:27      2          Q.     Mr. Toberoff had told you that he knew
18:41:32      3     billionaire investors; correct?
18:41:33      4          A.     No, he never used that term.
18:41:34      5          Q.     Well, he used terms similar, like he knew
18:41:39      6     very wealthy investors and people in the entertainment
18:41:41      7     industry who had money and would buy properties;
18:41:43      8     correct?
18:41:44      9          A.     No.    The offer came from -- directly from Ari
18:41:46     10     Emanuel.
18:41:47     11          Q.     What offer?
18:41:49     12          A.     Well, Ari Emanuel was involved in that
18:41:53     13     proposal of the $15 million.
18:41:56     14          Q.     Was involved with Mr. Toberoff.
18:41:58     15          A.     No, was -- it was going to be Ari Emanuel
18:42:02     16     putting up the $15 million in that discussion, the
18:42:07     17     initial discussion that apparently happened with Kevin
18:42:11     18     Marks.
18:42:11     19          Q.     How do you know that it was so specific that
18:42:13     20     it was only going to be Ari Emanuel acquiring the
18:42:17     21     interest and not IPW or an entity with which
18:42:23     22     Mr. Toberoff had an interest?
18:42:24     23          A.     It wasn't mentioned to me.
18:42:25     24          Q.     It was not.
18:42:26     25          A.     No.


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18:42:26      1          Q.     Okay.
18:42:31      2          A.     Not that I recall.
18:42:33      3          Q.     Then you're basing that off of your
18:42:35      4      recollection of the letter, what you just told me?
18:42:38      5                 MR. TOBEROFF:       What letter?    What letter?
18:42:40      6                 THE WITNESS:    Yeah.
              7      BY MR. PETROCELLI:
18:42:40      8          Q.     The letter you got from Mr. Marks that
18:42:43      9      advised you about the approach by Mr. Emanuel and --
18:42:46     10          A.     I believe that --
18:42:47     11                 MR. TOBEROFF:       Wait a second.     You can
18:42:49     12      answer -- let me slow this down for a second.
18:42:52     13                 THE WITNESS:    Of course.
18:42:53     14                 MR. TOBEROFF:       You can answer not in such a
18:42:55     15      way that discloses the substance of the letter from
18:42:58     16      Kevin Marks advising you that there had been a
18:43:02     17      $15 million offer.
18:43:03     18                 THE WITNESS:    Um-hum.
             19      BY MR. PETROCELLI:
18:43:04     20          Q.     You just gave some testimony --
18:43:05     21                 MR. TOBEROFF:       And make sure when you're
18:43:06     22      answering, you keep your parties straight.
18:43:09     23                 THE WITNESS:    Yes.
             24      BY MR. PETROCELLI:
18:43:09     25          Q.     You just gave some testimony about the


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18:43:11      1     $15 million was to be from Ari Emanuel, and then I
18:43:15      2     pressed you about, well, maybe Mr. Toberoff would have
18:43:18      3     had a piece of it through IPW, and you said, well,
18:43:22      4     you're not sure, okay, words to that effect.            When you
18:43:25      5     gave that answer about the $15 million coming from
18:43:28      6     Ari, was that based on your recollection of the letter
18:43:31      7     from Kevin Marks?
18:43:34      8          A.     It -- I believe it was based not only on the
18:43:36      9     letter, but on a subsequent conversation with Kevin
18:43:41     10     Marks and also with Ari Emanuel.
18:43:44     11          Q.     Where they said that Mr. Emanuel was going to
18:43:47     12     fund the $15 million?
18:43:48     13                 MR. TOBEROFF:    You can answer only with
18:43:50     14     respect to the conversation with Ari Emanuel.
18:43:52     15                 THE WITNESS:    Yeah.   Well, you know, it may
18:43:55     16     not have solely been Ari, but, you know, he was
18:43:59     17     obviously the driving force in it.
             18     BY MR. PETROCELLI:
18:44:02     19          Q.     Yes, and again, you had no issue whatsoever
18:44:06     20     if Ari was funding an investment through IPW in which
18:44:15     21     Mr. Toberoff -- IP Worldwide in which Mr. Toberoff had
18:44:18     22     an interest; correct?
18:44:19     23          A.     At that point I wasn't aware of IP Worldwide,
18:44:24     24     if you're talking -- if you're talking about when
18:44:27     25     Kevin Marks first mentioned it.


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18:44:28      1          Q.     Later on when you had your meeting with
18:44:31      2     Mr. Emanuel and again he discussed the $15 million
18:44:35      3     offer and you said ultimately "No, I want you to be an
18:44:38      4     agent, not a business partner" --
18:44:41      5          A.     Um-hum.
18:44:41      6          Q.     -- had you done a deal for $15 million or
18:44:52      7     whatever with Mr. Emanuel, you would have had no
18:44:52      8     objection to doing it with IP Worldwide and
18:44:52      9     Mr. Toberoff participating; correct?
18:44:54     10                 MR. TOBEROFF:    Incomplete hypothetical.
18:44:55     11                 THE WITNESS:    Well, we didn't proceed with
18:44:57     12     it, so we weren't -- you know, it wasn't that we were
18:45:00     13     in favor of it.       We were not in favor of it because we
18:45:03     14     didn't do it.
             15     BY MR. PETROCELLI:
18:45:03     16          Q.     I understand, but you didn't have some hard
18:45:06     17     and fast rule that in no circumstance could Marc
18:45:10     18     Toberoff participate in the acquisition of any
18:45:12     19     interest that you would sell.
18:45:13     20                 MR. TOBEROFF:    Same objection.
             21     BY MR. PETROCELLI:
18:45:14     22          Q.     Correct?
18:45:15     23                 THE WITNESS:    What was the objection?
18:45:17     24                 MR. TOBEROFF:    It's okay.
18:45:18     25                 MR. PETROCELLI:     He doesn't even remember.


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18:45:20      1                 MR. TOBEROFF:    I remember.     Incomplete
18:45:23      2     hypothetical.
              3     BY MR. PETROCELLI:
18:45:24      4          Q.     In other words, you understand my question.
18:45:27      5     You had no hard and fast rule that if you were going
18:45:29      6     to sell your interest to IP Worldwide or Mr. Emanuel,
18:45:33      7     that Mr. Toberoff was not to participate economically;
18:45:36      8     correct?
18:45:37      9          A.     It was never discussed.
18:45:39     10                 MR. TOBEROFF:    Same objection.
             11     BY MR. PETROCELLI:
18:45:40     12          Q.     I understand it wasn't discussed, but you
18:45:42     13     didn't have the state of mind that you were going to
18:45:43     14     be adamantly opposed to it; correct?
18:45:46     15                 MR. TOBEROFF:    Incomplete hypothetical.
18:45:47     16                 THE WITNESS:    I didn't form an opinion.
             17     BY MR. PETROCELLI:
18:45:49     18          Q.     Never; right?    One way or the other; correct?
18:45:51     19          A.     Not that I can recall.
18:45:52     20          Q.     One way or the other; correct?
18:45:54     21          A.     Correct.
18:45:55     22          Q.     Okay.
18:45:55     23          A.     I think, if I'm following that.
18:46:18     24          Q.     By the way, when you wrote your stepbrother
18:46:21     25     back, did you straighten him out on things that you


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18:46:24      1     think he had wrong in his letter to you of May 13?
18:46:27      2          A.     I did my best to.
18:46:29      3          Q.     Can you explain to me as best as you can, for
18:46:32      4     example, what you said about the billionaire, the
18:46:36      5     mysterious billionaire?
18:46:37      6          A.     You know, I don't remember how I put it to
18:46:39      7     him, but I, you know, I tried to in as simple a manner
18:46:46      8     as possible explain what he had wrong in this letter.
18:46:51      9     Regarding specifically the billionaire, I really don't
18:46:54     10     recall what I said.
18:46:55     11          Q.     Did you type the letter yourself?
             12          A.     Yes, I did.
18:46:59     13          Q.     Did your mother help you prepare it?
18:47:01     14          A.     I think she had input.
18:47:02     15          Q.     Now, did you explain to him the situation
18:47:05     16     with the Shusters?
18:47:09     17          A.     Well, I cleared up some of his misconceptions
18:47:13     18     about the Shusters.
18:47:14     19          Q.     How did you clear them up?       In other words,
18:47:16     20     just generally what did you say?
18:47:19     21          A.     Once again, you're asking me to answer
18:47:22     22     something that I really can't recall.          I'm sorry.
18:47:25     23          Q.     When you said you cleared up the Shuster
18:47:27     24     issue for him, did you explain to him that you were
18:47:29     25     aware that Mr. Toberoff was working with the Shusters?


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                                                                           Page 308
18:47:33      1          A.     I'm sure I did.
18:47:36      2          Q.     Do you know when you wrote your responsive
18:47:39      3     letter back to this May 13 letter?
18:47:41      4          A.     I don't know exactly.
18:47:43      5          Q.     Did you have Mr. Toberoff assist in any way
18:47:48      6     in the response that you prepared?
18:47:51      7          A.     I believe I had him look at it.
18:47:53      8          Q.     And before you sent it to Mr. --
18:47:55      9          A.     Yes.
18:47:56     10          Q.     And why did you have him look at it?
18:47:58     11          A.     Well, you know, it was dealing with issues
18:48:04     12     that had to do with legal matters, and I didn't want
18:48:07     13     to misstate something that basically would, you know,
18:48:11     14     come back and bite me in the butt later.         So I just
18:48:15     15     wanted -- wanted to make sure that I was as a civilian
18:48:19     16     expressing myself properly.
18:48:21     17          Q.     And in order for Mr. Toberoff to assist or
18:48:27     18     review the letter that you drafted, you would have
18:48:30     19     sent him Mr. Michael Siegel's May 13 letter so he
18:48:35     20     could have both letters.
18:48:36     21          A.     This letter?
18:48:37     22          Q.     Correct.
18:48:37     23          A.     Probably.
18:48:39     24          Q.     Okay.   And take a look at the Toberoff
18:48:42     25     timeline for a second, please, which is Exhibit 58.


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18:48:45      1          A.     I already have that, don't I?
18:48:49      2          Q.     Yes.
18:48:49      3                 MR. PETROCELLI:      Can you fish that out for
18:48:51      4     her, Jason?     Thank you.
18:48:53      5                 THE WITNESS:    Thank you.
              6     BY MR. PETROCELLI:
              7          Q.     I'd like to direct your attention --
18:48:54      8                 THE WITNESS:    Do I still need this one?
18:48:56      9                 MR. PETROCELLI:      Yeah, leave it there.
18:49:10     10                 THE WITNESS:    Okay.    Thank you.
             11                 MR. TOBEROFF:    I can help explain it.
             12                 MR. KLINE:   Are you reading our notes, Marc?
             13                 THE WITNESS:    Thank you.
18:49:17     14                 MR. TOBEROFF:    No, because I haven't gotten a
18:49:17     15     package -- duplicate packages with your notes.
18:49:22     16                 MR. KLINE:   Oh, no.     Did you read this note?
             17                 MR. PETROCELLI:      Okay.   So you have them.
18:49:24     18                 MR. KLINE:   Please don't --
18:49:25     19                 MR. TOBEROFF:    Of course not.     I'm making a
18:49:28     20     joke.     Lighten up.
             21     BY MR. PETROCELLI:
18:49:29     22          Q.     So you have the Superman -- you have the Marc
18:49:32     23     Toberoff timeline, Exhibit 58, in front of you?
18:49:33     24          A.     Yes.
18:49:33     25          Q.     And you also have Exhibit 30, the Michael


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                                                                           Page 310
18:49:37      1     Siegel letter to you dated May 13, 2003?
18:49:39      2          A.     Yes, I do.
18:49:40      3          Q.     Now, go to the end of the fourth page as
18:49:46      4     Q 0004 and you'll see a reference to a July 5, 2003 --
18:50:02      5     first of all, go to the prior page of this Exhibit 58.
18:50:06      6          A.     Okay.
18:50:06      7          Q.     And you'll see that the author of this
18:50:09      8     document is identifying Michael Siegel's May 13, 2003,
18:50:15      9     letter, the one that you have in front of you as
18:50:18     10     Exhibit 30.     Do you see that?
18:50:19     11          A.     I do.
18:50:19     12          Q.     And then he is -- he or she is purporting to
18:50:23     13     state some of the contents of that letter.          Do you see
18:50:26     14     that?
18:50:26     15          A.     I see a paragraph about it.
18:50:29     16          Q.     Okay.   And now dropping down to the end of
18:50:32     17     the next page with the Bates label Q 0004, the
18:50:43     18     reference to the July 5, 2003, date, do you see that?
18:50:43     19          A.     Yes, I do.
18:50:43     20          Q.     It says "Laura Siegel reveals her ignorance
18:50:52     21     of Toberoff's dubious actions in her return letter
18:50:52     22     back to Michael."      Putting aside the characterization
18:50:54     23     of your ignorance, does July 5, 2003, sound right to
18:50:58     24     you as around the time that you responded to the May
18:51:01     25     13, 2003, letter?


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18:51:04      1          A.     It could have been.
18:51:11      2          Q.     Okay.   Is it fair to say that your letter
18:51:16      3     back to Mr. Michael Siegel did not agree with any of
18:51:24      4     his criticisms of Mr. Toberoff's actions and
18:51:29      5     Mr. Toberoff generally?
18:51:32      6          A.     Well, whoever stole this document, you know,
18:51:36      7     is doing his version of what he's reading into
18:51:40      8     whatever the letter said.
18:51:42      9          Q.     You're not following my question.
18:51:44     10          A.     Well, I haven't read the letter in a long
18:51:51     11     time.
18:51:51     12          Q.     My question to you is when you wrote back to
18:51:54     13     Michael --
18:51:54     14          A.     Yes.
18:51:56     15          Q.     -- in response to his May 13, 2003, letter,
18:51:59     16     is it fair to say that you expressed no agreement with
18:52:04     17     any of his criticisms of Mr. Toberoff?
18:52:08     18          A.     I would say that's probably safe to say.
18:52:19     19          Q.     Did you tell Michael Siegel in your response
18:52:26     20     letter back that Mr. Toberoff does not have a
18:52:31     21     production company?
18:52:32     22          A.     Yes, I believe I did.
18:52:35     23          Q.     And you will see on the next page of this
18:52:39     24     document, Exhibit 58, in the description of the entry
18:52:45     25     July 5, 2003 --


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18:52:47      1          A.     I'm sorry.   You're saying continuation on the
18:52:50      2     top of the page?
18:52:51      3          Q.     Yes.   It says "Also, in the letter back to
18:52:53      4     Michael Siegel, that MT helped Laura Siegel draft --
18:52:57      5     in response to Michael's accusations of Toberoff,
18:53:00      6     Laura clearly states that MT does not have a
18:53:06      7     production company."       And that was your belief at the
18:53:08      8     time; correct?
18:53:10      9          A.     Correct.
18:53:11     10          Q.     And it goes on to say that, in parentheses:
18:53:17     11                 "(This is false -- Marc Toberoff's
18:53:19     12                 IPW has been in existence, partly
18:53:21     13                 funded by Ari Emanuel, since at
18:53:21     14                 least 2002).    In the draft of the
18:53:26     15                 letter, MT crossed out the statement
18:53:27     16                 that he does not have a production
18:53:29     17                 company, and writes," quote, "'MT
18:53:33     18                 has not plans to produce a SUPERMAN
18:53:36     19                 movie, nor is this feasible given
18:53:38     20                 the division of ownership of the
18:53:41     21                 rights,'" end of quotes.
18:53:43     22                 Now, does that -- is that consistent with
18:53:47     23     your recollection that your statement that
18:53:51     24     Mr. Toberoff did not have a production company was
18:53:54     25     crossed out by Mr. Toberoff in the final draft and


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18:53:57      1     replaced with the quoted language that I just read?
18:53:59      2          A.     It could have been.
18:54:03      3          Q.     And when Mr. Toberoff made his changes to the
18:54:07      4     letter and returned it to you, did you review it and
18:54:11      5     sign it before you sent it out as your response letter
18:54:15      6     back to Michael?
18:54:16      7          A.     Well, he made suggestions of changes in the
18:54:22      8     wording of certain areas, and, you know, I retyped the
18:54:28      9     letter, accepted some of the things that he said and
18:54:30     10     didn't use some other suggestions that he made.
18:54:33     11          Q.     How did he convey his suggestions to you?
18:54:36     12          A.     He wrote it on -- he wrote it on this
18:54:39     13     letter -- no, not this letter.       He wrote it on that
18:54:43     14     letter that's being discussed here and faxed it back
18:54:46     15     to me.
18:54:47     16          Q.     Okay.   So you did engage in faxed
18:54:50     17     communication with Mr. Toberoff from time to time.
18:54:51     18          A.     Yes.
18:54:53     19          Q.     Okay.   Including with respect to this very
18:54:55     20     correspondence that we're discussing.
18:54:56     21          A.     I believe so.
18:54:58     22          Q.     Okay.
18:54:59     23                 Now, did you show him the final draft before
18:55:03     24     you sent it out?
18:55:05     25          A.     I believe I did.


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18:55:07      1          Q.     And which of the changes did you reject?
18:55:16      2          A.     I don't remember.    I just remember the
18:55:18      3     process, but I don't remember the contents.
18:55:37      4          Q.     Now, by the time you received this letter,
18:55:43      5     Mr. Emanuel was --
18:55:44      6          A.     I'm sorry.   You're talking about the May 13
18:55:47      7     letter?
18:55:47      8          Q.     Thank you.
18:55:48      9                 By the time you received the May 13, 2003,
18:55:50     10     letter, Exhibit 30, and then responded with your
18:55:53     11     letter that you've been describing, during that period
18:55:58     12     of time, that's when you knew that Mr. Emanuel was
18:56:07     13     secretly attempting to purchase Michael Siegel's
18:56:09     14     interest; correct?
18:56:11     15                 MR. TOBEROFF:    Misstates the record.
18:56:13     16                 THE WITNESS:    I -- you know, I wouldn't use
18:56:16     17     the word "secretly," but I believe an offer -- an
18:56:20     18     offer may have been made during that period.
             19     BY MR. PETROCELLI:
18:56:21     20          Q.     You said you wouldn't use the word
18:56:24     21     "secretly," but you knew that Mr. Michael Siegel did
18:56:26     22     not know that it was Mr. Emanuel who was the
18:56:29     23     prospective purchaser.       We've discussed that already;
18:56:31     24     correct?
18:56:31     25          A.     Yes, we did.


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18:56:32      1          Q.     And you did not tell Michael Siegel in your
18:56:39      2     response letter back that Mr. Emanuel was indeed the
18:56:46      3     very person with your full knowledge and blessing who
18:56:48      4     was attempting to acquire his interest.
18:56:51      5                 MR. TOBEROFF:    Asked and answered.
18:56:52      6                 THE WITNESS:    No, I did not mention that.
              7     BY MR. PETROCELLI:
18:56:56      8          Q.     And your letter back to Mr. Michael Siegel
18:56:59      9     does in fact mention Mr. Emanuel; correct?
18:57:01     10          A.     I'm sorry.   Does or does not?
18:57:03     11          Q.     Does.
18:57:05     12          A.     Does mention Mr. Emanuel?
18:57:07     13          Q.     Yes.
18:57:07     14          A.     I don't -- I don't recall.
18:57:16     15          Q.     Have you given any consideration to the idea
18:57:27     16     that is being stated in these documents that
18:57:30     17     Mr. Toberoff is going to end up with the lion's share
18:57:32     18     of the money with respect to any disposition of the
18:57:39     19     termination interests of the -- stemming from Superman
18:57:42     20     both from the Siegel side and the Shuster side?
18:57:44     21          A.     Well, I disagree with your characterization
18:57:49     22     of lion's share.
18:57:52     23          Q.     Well, let's --
18:57:52     24          A.     I mean he has a contingency agreement with me
18:57:56     25     and with my mom, and he had a contingency agreement


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18:57:59      1     with the Shusters.
18:58:00      2          Q.     So when you do the math, though, as was
18:58:03      3     pointed out in some of these documents, he ends up
18:58:05      4     with the biggest percentage, bigger than what you
18:58:09      5     would receive and bigger than what the Shuster side
18:58:13      6     would receive; right?
18:58:14      7          A.     He was being compensated for at this point
18:58:16      8     nearly ten years of work.
18:58:18      9          Q.     But when you made these deals, there wasn't
18:58:20     10     ten years of work; correct?
18:58:22     11          A.     No, but we had no idea how long or how much
18:58:24     12     or how expensive it was all going to be.
18:58:26     13          Q.     So you understood that at the end of the day
18:58:30     14     Mr. Toberoff might end up with 45 percent or so of the
18:58:36     15     total proceeds with you and your mother's side,
18:58:42     16     Michael Siegel's side 27 and a half percent and the
18:58:46     17     Shuster side 25 percent; correct?
18:58:48     18          A.     You know, I'm sorry, but you're throwing
18:58:51     19     around percentages, and that's not correct.
18:58:52     20          Q.     But you have fully appreciated that at the
18:58:55     21     end of the day Mr. Toberoff would have the biggest
18:59:01     22     stake in the proceeds.
18:59:03     23          A.     My only concerns -- excuse me.     Were you
18:59:06     24     finished?     I didn't want to interrupt you.
18:59:07     25          Q.     I want to make sure you understand what I'm


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18:59:10      1     asking you, that you have understood and understand to
18:59:15      2     this day that given his agreements with the Shuster
18:59:19      3     family, given his agreements with you and your mother,
18:59:23      4     given the fact that you succeeded to your half
18:59:28      5     brother's rights, that Mr. Toberoff's aggregate share
18:59:37      6     in any proceeds from the disposition of all these
18:59:40      7     Shuster and Siegel interests is greater than your
18:59:44      8     interest and greater than the Shuster interest;
18:59:46      9     correct?
18:59:46     10          A.     I was only concerned with my interest.           I did
18:59:50     11     not even know what his percentage was with the
18:59:53     12     Shusters.
18:59:53     13          Q.     But you certainly became aware of it when you
18:59:56     14     read it in the timeline document; correct?
18:59:59     15          A.     Well, I didn't get this timeline until
19:00:03     16     much -- a long time afterward, and, you know --
19:00:06     17          Q.     Well, when you saw -- take a look at the
19:00:09     18     timeline.     That's Exhibit 58 -- bear with me.          I'm
19:00:37     19     looking for --
19:00:52     20                 Here it is.
19:01:02     21                 When you were meeting with David Michaels, by
19:01:04     22     the way, did he run through these different numbers in
19:01:08     23     the way that I just did in describing to you that
19:01:10     24     Mr. Toberoff would end up with the biggest share?
19:01:14     25          A.     He ran some numbers by us, but, you know, he


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19:01:17      1     offered no proof.
19:01:20      2          Q.     Well, you knew what your agreements were, and
19:01:22      3     he was aware of them as well.
19:01:24      4          A.     He was actually mischaracterizing to us what
19:01:26      5     our agreement was.
19:01:27      6          Q.     You mean the percentages?
19:01:28      7          A.     Correct.
19:01:29      8          Q.     In what way did he mischaracterize it?
19:01:32      9          A.     He was inflating it.
19:01:33     10          Q.     It was 40 percent; right?
19:01:35     11          A.     It was 40 percent, but he was claiming
19:01:37     12     something much larger than that.
19:01:39     13          Q.     He was claiming an additional 5 or 10 percent
19:01:42     14     that you thought no longer applied?
19:01:44     15          A.     Well, that I knew no longer applied.
19:01:55     16          Q.     Okay.
19:02:00     17                 Can you turn to page 6 of Exhibit 58.
19:02:15     18          A.     Yeah.
19:02:21     19          Q.     First of all, on page 1 it states:
19:02:25     20                      "As it stands right now, the
19:02:27     21                 single person who would stand to
19:02:28     22                 gain the MOST in a settlement with
19:02:30     23                 Time Warner regarding the ongoing
19:02:33     24                 SUPERMAN legal dispute would not be
19:02:34     25                 the heirs themselves, but Marc


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19:02:36      1                 Toberoff."
19:02:37      2                 Now, when you read that, did you agree with
19:02:39      3     that statement?
19:02:40      4          A.     No.
19:02:41      5          Q.     But it is factually true that in terms of the
19:02:43      6     division of the proceeds, he would receive the largest
19:02:47      7     share; correct?
19:02:48      8          A.     What I objected to was the -- was the way
19:02:51      9     this was -- the way that this was presented.
19:02:54     10          Q.     Putting this aside, though, in terms of the
19:02:56     11     mathematical division of the shares, the Toberoff
19:03:01     12     share is the biggest share.          It's 45 or 40 -- in
19:03:05     13     excess of 45 percent; correct?
19:03:08     14          A.     Well, it's not bigger than my share now.
19:03:10     15          Q.     Why is that?
19:03:12     16          A.     Well, I inherited my mother's, I inherited
19:03:16     17     Michael's, and I have my own.
19:03:17     18          Q.     But if you take all of that, Mr. Toberoff
19:03:21     19     gets 40 percent of that; right?
19:03:22     20          A.     He gets 40 percent.       I get 60 percent.
19:03:25     21          Q.     And then he gets 40 percent of your piece,
19:03:29     22     which is half, with the Shusters owning the other
19:03:33     23     half; correct?
19:03:33     24          A.     You're not saying that he gets half of mine.
19:03:36     25     You're saying that my share of the overall Superman


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19:03:39      1     copyright is 50 percent?
19:03:41      2          Q.     Correct.   And he gets 40 percent of your 50
19:03:47      3     percent; correct?
19:03:47      4          A.     Correct.
19:03:47      5          Q.     And he gets 50 percent of the Shuster 50
19:03:49      6     percent; right?
19:03:49      7          A.     If he does.
19:03:53      8          Q.     Well, you saw that referenced in the timeline
19:03:54      9     document; right?
19:03:55     10          A.     Yeah, but there are errors in this timeline,
19:03:58     11     so I don't know if that's correct.
19:03:59     12          Q.     You don't know that it's incorrect, do you?
19:04:01     13          A.     No.
19:04:01     14          Q.     The bottom line is you are aware that there's
19:04:04     15     a possibility that he could end up as the biggest
19:04:07     16     financial recipient of proceeds among you and the
19:04:11     17     Shuster family and him; correct?
19:04:13     18          A.     Look --
19:04:14     19          Q.     Are you aware of that?
19:04:16     20          A.     It may be possible.      I'm not doing the math
19:04:28     21     today.
19:04:29     22          Q.     Have you ever calculated how much you would
19:04:33     23     have received today had you accepted the proposal that
19:04:45     24     DC had made back in 2001, 2002?
19:04:49     25          A.     At the time it was offered --


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19:04:50      1                 MR. TOBEROFF:       Again, objection.      Compound.
19:04:53      2      Which are you referring to, the February, 2002, draft
19:04:56      3      or the Kevin Marks letter in October of 2001?
19:05:04      4                 MR. PETROCELLI:       Either one.
19:05:05      5            Q.   Have you ever done the --
19:05:06      6                 MR. TOBEROFF:       Compound.
              7      BY MR. PETROCELLI:
19:05:07      8            Q.   Have you ever done the calculation of what
19:05:10      9      dollars would have been received by you and your
19:05:13     10      mother?
19:05:14     11            A.   Well, you're talking about two different
19:05:17     12      calculations.
19:05:17     13            Q.   Have you done the calculations for both of
19:05:19     14      them?
19:05:19     15            A.   You say ever.       At one time when it was
19:05:22     16      initially offered, you know, we did a projection on
19:05:27     17      it.    I haven't done it recently.
19:05:31     18            Q.   Do you have any --
19:05:32     19            A.   We just knew a lot of money had already been
19:05:35     20      owed to us, which was the basis of the accounting
19:05:41     21      claim.
19:05:41     22            Q.   How is it --
19:05:41     23            A.   That lawsuit.
19:05:42     24            Q.   How is it that you think that you can
19:05:45     25      financially benefit from now having, like you said, a


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19:05:50      1     hundred percent of 50 percent of the copyright subject
19:05:55      2     to Mr. Toberoff's share?        How is it that you can
19:05:58      3     financially benefit from the termination interests
19:06:00      4     that you believe you have recaptured and that you --
19:06:04      5     that you believe you have recaptured?
19:06:06      6                 MR. TOBEROFF:   Objection.    Vague and
19:06:08      7     ambiguous.
              8     BY MR. PETROCELLI:
19:06:09      9          Q.     You can answer.
19:06:10     10          A.     It's so broad, I don't understand.
19:06:12     11          Q.     Well, what are the ways in which you believe
19:06:13     12     that you can turn your termination interest into
19:06:16     13     money?
19:06:16     14                 MR. TOBEROFF:   I instruct you not to answer
19:06:18     15     to the extent your answer reveals communications with
19:06:27     16     your attorney, either with me or with your former
19:06:30     17     attorney, Kevin Marks.
             18     BY MR. PETROCELLI:
19:06:32     19          Q.     I don't believe you need to rely on
19:06:36     20     attorney-client discussions to answer this question.
19:06:38     21     I'm asking you, an extremely intelligent person who
19:06:41     22     has been involved with this for many years.
19:06:44     23                 MR. TOBEROFF:   Excuse me.
             24     BY MR. PETROCELLI:
19:06:45     25          Q.     In what ways have you considered that you


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19:06:47      1     might be able to turn your termination interest,
19:06:51      2     whatever it is and whenever it's final, into money?
19:06:56      3                 MR. TOBEROFF:    I instruct you not to answer
19:06:59      4     to the extent your answer reveals the contents of
19:07:08      5     attorney-client communications.       If you can answer
19:07:14      6     without divulging the substance of attorney-client
19:07:18      7     communications, then you can only answer to that
19:07:20      8     extent.
19:07:21      9                 THE WITNESS:    Yeah.
19:07:21     10                 My answer is that's the subject of
19:07:25     11     litigation.
             12     BY MR. PETROCELLI:
19:07:26     13          Q.     What's the subject of litigation?
19:07:28     14          A.     You know, what -- what my rights were and
19:07:32     15     potentially what the value of the rights are.
19:07:33     16          Q.     But you understand that -- you're talking
19:07:35     17     about the lawsuit that you filed on your termination
19:07:37     18     interest?
19:07:38     19          A.     Yes.
19:07:38     20          Q.     Okay.   Now, you understand, though, that as a
19:07:41     21     result of that lawsuit, and let's say you're
19:07:45     22     completely successful in every respect after all
19:07:48     23     appeals and so forth, the only compensation you would
19:07:51     24     receive as a result of the lawsuit is an accounting
19:07:55     25     from 1999 to 2013; correct?


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19:07:58      1          A.     Not necessarily.
19:07:59      2          Q.     What other compensation do you believe in
19:08:02      3     terms of money that would -- can be awarded to you by
19:08:07      4     way of a lawsuit?
19:08:08      5          A.     I believe it depends on the court ruling.
19:08:10      6          Q.     How so?
19:08:12      7                 MR. TOBEROFF:   I again --
              8     BY MR. PETROCELLI:
19:08:14      9          Q.     How so do you --
19:08:15     10                 MR. TOBEROFF:   If you have any understanding
19:08:16     11     of those things that are independent of the advice of
19:08:19     12     counsel, you can answer.        If you don't, I instruct you
19:08:21     13     not to answer.
             14     BY MR. PETROCELLI:
19:08:22     15          Q.     I'm not asking about your legal advice.            I'm
19:08:24     16     asking about you as a plaintiff in that --
19:08:25     17                 MR. TOBEROFF:   That's not the instruction.
             18     BY MR. PETROCELLI:
19:08:26     19          Q.     -- in that, and you can disregard whatever
19:08:28     20     Mr. Toberoff and you have discussed.         But do you have
19:08:31     21     an understanding that you have a claim for money in
19:08:36     22     that case other than the accounting claim?
19:08:42     23          A.     Well, I believe that there are numerous
19:08:46     24     appeals.     There are numerous issues that are still
19:08:48     25     going to be examined in a court of law that could


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19:08:52      1     directly affect, you know, my income going forward.
19:08:58      2          Q.     Well, is it your -- but isn't your
19:09:02      3     understanding that the only way -- the only possible
19:09:08      4     money that you can recover from your lawsuit is
19:09:13      5     whatever the court finally determines is the amount
19:09:17      6     that DC was required to account and pay to you for the
19:09:22      7     years 1999 through 2013 for the works in which the
19:09:28      8     court finds you had an interest?
19:09:30      9                 MR. TOBEROFF:    Again, my instruction is if
19:09:32     10     you can answer that question on your own and not based
19:09:35     11     on any advice or discussions with counsel, you can
19:09:38     12     answer the question.       If your answer is based on your
19:09:41     13     discussions with counsel, then I instruct you not to
19:09:46     14     answer.
19:09:48     15                 THE WITNESS:    Going beyond the lawsuit, there
19:09:52     16     are always possibilities.
             17     BY MR. PETROCELLI:
19:09:52     18          Q.     I was just focused on the lawsuit, that the
19:09:54     19     only -- that you have an understanding that the only
19:09:56     20     money that you can recover from your lawsuit is the
19:10:00     21     accounting money for the period 1999 to 2013.             Are you
19:10:05     22     aware of that?
19:10:06     23          A.     Yes.
19:10:07     24          Q.     Okay.   And in terms of getting any other
19:10:13     25     money in respect of your termination interest, you


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19:10:16      1     understand that that would require some kind of
19:10:17      2     business transaction?
19:10:18      3          A.     Yes, that's correct.
19:10:19      4          Q.     Okay.   A business transaction in which you
19:10:22      5     would partner up with someone or license someone or
19:10:26      6     sell your interest; correct?
19:10:27      7          A.     Correct.
19:10:33      8          Q.     When do you believe that you will be able to
19:10:35      9     do so?
19:10:37     10                 MR. TOBEROFF:    I'm instructing you not to
19:10:39     11     answer unless you can answer independent of any advice
19:10:43     12     of counsel, if you can answer.        If your answer
19:10:48     13     implicates advice of counsel, I instruct you not to
19:10:50     14     answer the question.
19:10:51     15                 THE WITNESS:    Yeah, I mean --
19:10:53     16                 MR. TOBEROFF:    You don't -- do you understand
19:10:55     17     the instruction?
19:10:55     18                 THE WITNESS:    I do.
19:10:56     19                 MR. TOBEROFF:    Okay.
19:10:57     20                 THE WITNESS:    I do.
19:10:57     21                 I'm not able to say anything, you know,
19:11:01     22     specific because it all involves discussions with my
19:11:06     23     attorney regarding legal matters.
19:11:08     24                 MR. PETROCELLI:     Well, that doesn't necess-
19:11:09     25     arily mean you can't answer the question.           Let me --


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19:11:12      1                 THE WITNESS:    In my mind it does.
19:11:13      2                 MR. PETROCELLI:     Let me try again.
19:11:15      3          Q.     Do you have an understanding --
19:11:17      4                 MR. TOBEROFF:    It does pursuant to my
19:11:21      5     instruction.
              6     BY MR. PETROCELLI:
19:11:21      7          Q.     Do you have an understanding that --
19:11:31      8     withdrawn.
19:11:31      9                 Do you have a plan or intent to enter into a
19:11:36     10     business transaction regarding your Superman rights?
19:11:39     11          A.     I believe I have very valuable rights and
19:11:43     12     that at some point I will be able to profit from them.
19:11:48     13          Q.     Do -- what are the ways in which you believe
19:11:50     14     you can profit from them?
19:11:52     15                 MR. TOBEROFF:    Same instruction.
19:11:55     16                 THE WITNESS:    That's something that I really
19:11:56     17     can't respond to.
             18     BY MR. PETROCELLI:
19:11:58     19          Q.     Well, you just said "I believe they're
19:12:00     20     valuable."     Why do you believe they're valuable?
19:12:02     21          A.     Because it's Superman.
19:12:04     22          Q.     Do you believe that you'll have the ability
19:12:06     23     to sell them?
19:12:08     24                 MR. TOBEROFF:    Same instruction.     Same
19:12:11     25     instruction.


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19:12:11      1                 THE WITNESS:    I can't respond to that.
              2     BY MR. PETROCELLI:
19:12:15      3          Q.     Have you ever attempted to find out, other
19:12:19      4     than through talking to Marc Toberoff, what kind of
19:12:23      5     value there is in these Superman rights for which you
19:12:26      6     have been involved for 15 years or so?
19:12:29      7                 MR. TOBEROFF:    Same instruction, and that
19:12:31      8     instruction doesn't just implicate talking to Marc
19:12:34      9     Toberoff.     It implicates things that Marc Toberoff has
19:12:37     10     done on your behalf and my work product.
19:12:40     11                 THE WITNESS:    It's all intertwined with
19:12:44     12     matters that are of a legal nature, so I can't answer
19:12:47     13     that question.
             14     BY MR. PETROCELLI:
19:12:49     15          Q.     Have you identified in your own mind or
19:12:51     16     thinking any prospective purchasers of your rights?
19:12:56     17                 MR. TOBEROFF:    Same instruction.
19:12:58     18                 THE WITNESS:    No one specific.
             19     BY MR. PETROCELLI:
19:13:00     20          Q.     Have you given some thought to how much you
19:13:06     21     would sell your rights for?
19:13:09     22                 MR. TOBEROFF:    Same instruction.
19:13:11     23                 THE WITNESS:    I don't have a clear number.
             24     BY MR. PETROCELLI:
19:13:14     25          Q.     A range.


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19:13:17      1                 MR. TOBEROFF:    Same instruction.
19:13:18      2                 THE WITNESS:    Sitting here today, no.
19:13:21      3                 MR. TOBEROFF:    Not -- and if you did, you
19:13:24      4     could only disclose that to the extent that it's not
19:13:26      5     the product of your conversations with your attorney
19:13:29      6     or the analysis done by your attorneys on your behalf.
19:13:32      7     You understand that?       You understand that?
19:13:33      8                 THE WITNESS:    Yes, I do.   That goes without
19:13:35      9     saying.
             10     BY MR. PETROCELLI:
19:13:35     11           Q.    Do you have a belief that DC Comics or Warner
19:13:43     12     Bros. is a potential purchaser of your rights?
19:13:48     13           A.    Of course.
19:13:49     14           Q.    Why do you believe that?
19:13:51     15           A.    Well, they're one of many studios, and I
19:13:55     16     believe that they would have -- it would be in their
19:13:58     17     best interest to try to, you know, make a reasonable
19:14:02     18     deal with me.     When I say reasonable, I mean, you
19:14:06     19     know, something that would be completely acceptable to
19:14:09     20     me.
19:14:10     21           Q.    Do you know what that is?
19:14:12     22           A.    Sitting here --
19:14:13     23                 MR. TOBEROFF:    Same instruction.
19:14:14     24                 THE WITNESS:    Sitting here today, I cannot
19:14:15     25     give you an answer to that.


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19:14:19      1     BY MR. PETROCELLI:
19:14:20      2          Q.     Do you believe that because the Shusters have
19:14:26      3     asserted that their termination interest becomes
19:14:30      4     effective in 2013, that that will somehow enhance the
19:14:36      5     value of your Superman rights?
19:14:39      6          A.     Yes.
19:14:40      7                 MR. TOBEROFF:    Same instruction.     You can
19:14:41      8     only answer that if you formed a belief as to that
19:14:44      9     independent of your advice of counsel.
19:14:46     10                 THE WITNESS:    Yes, I do.
             11     BY MR. PETROCELLI:
19:14:49     12          Q.     Why do you believe that?
19:14:50     13          A.     Well --
19:14:53     14                 MR. TOBEROFF:    I -- if you want -- don't
19:14:56     15     venture into this territory unless your answer to his
19:14:59     16     question is independent of any advice of counsel, and
19:15:02     17     if you can't separate the two, then I instruct you not
19:15:04     18     to answer.
19:15:06     19                 THE WITNESS:    Just very simply, I think that
19:15:11     20     a whole is always more valuable than part, than a
19:15:14     21     part.
             22     BY MR. PETROCELLI:
19:15:15     23          Q.     Do you believe that between the Shuster
19:15:19     24     interest if and when it were to become effective and
19:15:22     25     the interests that you own, that that is the entirety


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19:15:26      1     of the Superman interest?
19:15:28      2          A.     I'm sorry?
19:15:29      3          Q.     Do you believe that the Shuster interest and
19:15:31      4     the Siegel interest -- you said a whole is better than
19:15:34      5     a part or words to that effect.       Do you believe that
19:15:37      6     the Siegel termination interest and the Shuster
19:15:41      7     termination interest constitute 100 percent of the
19:15:43      8     interest in Superman?
19:15:46      9                 MR. TOBEROFF:    Vague and ambiguous as to --
19:15:50     10     vague and ambiguous.
19:15:50     11                 THE WITNESS:    It depends on the time frame
19:15:59     12     that you're talking about.
             13     BY MR. PETROCELLI:
19:15:59     14          Q.     Well, do you understand that DC Comics owns
19:16:00     15     Superman rights that you don't have the ability to
19:16:03     16     recapture?
19:16:04     17          A.     As of today.    That may change.
19:16:07     18          Q.     As of any day.
19:16:08     19          A.     That may change.
19:16:09     20          Q.     How?
19:16:10     21          A.     There are court decisions that are yet to
19:16:12     22     come.
19:16:12     23          Q.     Assuming you win every single court decision
19:16:15     24     and assuming the Shusters win every single court
19:16:18     25     decision, is it your belief that the Shusters and the


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19:16:21      1     Siegels collectively could end up with every single
19:16:25      2     right associated with Superman?
19:16:28      3                 MR. TOBEROFF:    Vague and ambiguous.       Again,
19:16:29      4     you're getting into legal territory here.
19:16:32      5                 He's asking you for legal conclusions, and if
19:16:35      6     you can form an opinion independent of your advice of
19:16:38      7     counsel, you can only answer to that limited extent.
19:16:40      8     But if you can't or your opinions are so intertwined
19:16:44      9     with the advice of counsel that you can't, then I'm
19:16:47     10     instructing you not to answer.
19:16:49     11                 MR. PETROCELLI:     Do you want to hear the
19:16:50     12     question back?
19:16:51     13                 THE WITNESS:    No, I don't need to hear the
19:16:52     14     question.
19:16:53     15                 You know, I really don't think that it's
19:16:55     16     appropriate for me to answer that.
             17     BY MR. PETROCELLI:
19:16:56     18          Q.     Why is that?
19:16:57     19          A.     Because it's too enmeshed in years of
19:17:02     20     discussions with legal counsel.
19:17:04     21          Q.     Are you aware that there are rights that DC
19:17:11     22     Comics and or Warner Bros. has that are not subject to
19:17:15     23     termination or recapture at all?        Is it your belief
19:17:20     24     that there are such Superman rights or Superboy
19:17:23     25     rights?


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19:17:23      1                 MR. TOBEROFF:    Same -- same instruction.            I'm
19:17:25      2     instructing you not to answer that question because it
19:17:27      3     calls for a legal conclusion.        So I don't have to ask
19:17:30      4     you whether it's unrelated to advise of counsel
19:17:34      5                 MR. PETROCELLI:     I didn't ask you for a legal
19:17:34      6     conclusion.     I asked for your belief and understanding
19:17:36      7     in that regard.
19:17:37      8                 MR. TOBEROFF:    I'm instructing you not to
19:17:39      9     answer.     It divulges attorney-client communications.
19:17:42     10                 MR. PETROCELLI:     You know, we're going to
19:17:43     11     stop right now.     I have a ton more of documents, as
19:17:45     12     you can see, in front of you.
19:17:47     13                 THE WITNESS:    I'm begging you not to stop.
19:17:49     14                 MR. PETROCELLI:     I understand, but we can't
19:17:51     15     go any further.     It's past quarter after 7:00, and I
19:17:53     16     have accommodated your schedule and your situation,
19:17:58     17     and I'm not being disrespectful, but there's no way
19:18:02     18     we're going to finish, and so we'll just have to fight
19:18:05     19     about it another day.
19:18:06     20                 MR. TOBEROFF:    I would like to know -- wait a
19:18:07     21     second.     I would like to know how much time we have
19:18:09     22     been on the record.
19:18:11     23                 THE VIDEOGRAPHER:     At this point you're a
19:18:15     24     minute or two shy of seven hours.
19:18:17     25                 MR. PETROCELLI:     There you go.


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                                                                           Page 334
19:18:18      1                 MR. TOBEROFF:    So you're stopping a minute or
19:18:20      2     two shy of seven hours and you're not finishing the
19:18:22      3     deposition when you --
19:18:24      4                 MR. PETROCELLI:     As you know, I made my
19:18:26      5     statement without having any knowledge of the time.
19:18:28      6                 MR. TOBEROFF:    Okay.   Well, now you have --
              7                 MR. PETROCELLI:     I don't have an internal
              8     clock.
19:18:29      9                 MR. TOBEROFF:    Now you have the knowledge of
19:18:30     10     the time, so -- and please let me finish.          I didn't
19:18:33     11     interrupt you when you were speaking.
             12                 MR. PETROCELLI:     Sure.   You can finish.
19:18:35     13                 MR. TOBEROFF:    You're not stopping as a
19:18:38     14     strategic effort a minute or two before seven hours to
19:18:41     15     continue the deposition.        And you're smiling.       It's
19:18:43     16     clear that that's what you're doing.         So --
19:18:46     17                 MR. PETROCELLI:     You are joking; right?
19:18:47     18                 MR. TOBEROFF:    Am I joking?    It's obvious --
19:18:49     19     excuse me.     I'm allowed to speak.      I'm not joking.
19:18:52     20                 MR. PETROCELLI:     You're going to embarrass
19:18:54     21     yourself.
19:18:54     22                 THE WITNESS:    You have one day of seven hours
19:18:56     23     of Ms. Siegel.     She wants to continue to complete her
19:19:00     24     deposition.     You refuse to do that even though she's
19:19:02     25     the one with M.S. and you're perfectly happy --


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19:19:06      1     perfectly capable of finishing the deposition, but
19:19:09      2     you're choosing not to and choosing not to close the
19:19:13      3     deposition.     This deposition is going to close after
19:19:15      4     today, and we will vigorously oppose you dragging her
19:19:19      5     back in here for more time because you have two
19:19:22      6     minutes left on your seven hours.
19:19:25      7                 MR. PETROCELLI:     You know, I will respond.
19:19:26      8     Okay?
19:19:28      9                 I think your comments are disgraceful
19:19:31     10     especially in reference to the witness' condition
19:19:34     11     because I have done everything, frankly, beyond the
19:19:39     12     call of duty, to accommodate her, her illness, her
19:19:43     13     schedule, finding an office with a sofa so she can lie
19:19:47     14     down, in every --
             15                 MR. TOBEROFF:   No one -- no one --
19:19:47     16                 MR. PETROCELLI:     Excuse me.   I'm not
19:19:48     17     finished.
19:19:49     18                 MR. TOBEROFF:   I wasn't referring to that.
19:19:51     19                 MR. PETROCELLI:     Excuse me -- in every one of
19:19:51     20     the requests, and I have made it perfectly clear on
19:19:52     21     the record throughout that she is entitled to take as
19:19:57     22     many and as lengthy breaks as she wants knowing that
19:20:00     23     it was going to require us to work far, far later than
19:20:05     24     a normal schedule would.        So I really find that
             25     distasteful.


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19:20:11      1                 Secondly --
19:20:11      2                 MR. TOBEROFF:    I'm referring to the couple
19:20:12      3     minutes short of the seven hours, not to be
              4     providing --
              5                 MR. PETROCELLI:     Time out.    Don't --
19:20:13      6                 MR. TOBEROFF:    -- for a room to lie down,
              7     and --
              8                 MR. PETROCELLI:     I'm not finished.
19:20:14      9                 MR. TOBEROFF:    -- I thanked you for that.
19:20:16     10                 MR. PETROCELLI:     I'm not finished with my
19:20:19     11     statement.
19:20:19     12                 Secondly, as you well know, I indicated that
19:20:22     13     we were stopping because the court reporter told me we
19:20:28     14     had three minutes and two minutes on the tape, and I
19:20:33     15     knew I wasn't going to possibly finish the deposition.
19:20:36     16     I had no idea whatsoever, of course, and you know I
19:20:39     17     didn't, that there was two minutes left to go to
19:20:42     18     complete seven hours.       And for you to accuse me of
19:20:46     19     trying to make some kind of tactic about that, I want
19:20:51     20     to be real clear about that.         I will cede the two
19:20:54     21     minutes to you.
19:20:54     22                 MR. TOBEROFF:    Okay.    If you're ceding the
19:20:58     23     two minutes to me, then the deposition is over.
19:20:58     24                 MR. PETROCELLI:     No, it is not.
19:20:58     25                 MR. TOBEROFF:    Because you have seven hours


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                                                                           Page 337
19:20:59      1     of deposition.
19:20:59      2                 MR. PETROCELLI:     I understand your position,
19:21:01      3     but, Marc, that's really quite sophomoric of you.               You
19:21:05      4     don't decide when depositions are over.        Courts decide
19:21:09      5     that.   So I understand your position that you want to
19:21:15      6     resist this deposition from being continued to a later
19:21:21      7     date, but that's what I'm doing.
19:21:23      8                 MR. TOBEROFF:   Okay.
19:21:23      9                 MR. PETROCELLI:     And you obviously will
19:21:26     10     disagree about it, and we'll go to court about it.                I
19:21:28     11     just want to be clear that I'm not going to make an
19:21:31     12     argument that I'm entitled to more time because
19:21:34     13     apparently there were one or two minutes left before
19:21:37     14     the seven hours.     It's because I have not had enough
19:21:41     15     within seven hours to complete the examination given
19:21:44     16     the importance of this witness --
19:21:46     17                 MR. TOBEROFF:   Just so --
19:21:47     18                 MR. PETROCELLI:     -- and we will argue about
19:21:48     19     it another day.
19:21:49     20                 MR. TOBEROFF:   Just to be clear, my reference
19:21:52     21     to tactics doesn't refer to the two minutes left on
19:21:56     22     the seven hours.     It refers -- because I said the same
19:21:59     23     exact thing to you when you told me you were going to
19:22:02     24     stop at 6:00.     I objected at that point.      And this
19:22:06     25     isn't state court, and I think you're confusing the


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19:22:08      1     two.   This is federal court.       In federal court you
19:22:11      2     have one day of seven hours.        You don't continue from
19:22:14      3     day to day until you're finished.
19:22:15      4                 MR. PETROCELLI:     Marc, you --
19:22:17      5                 MR. TOBEROFF:   So we will vigorously
19:22:19      6     oppose -- oppose, and Laura stated on the record that
19:22:22      7     she would like you to continue rather than have to
19:22:26      8     come back for yet another deposition.          This is now her
19:22:29      9     third deposition.
19:22:30     10                 MR. PETROCELLI:     Wait a second.     There's
19:22:31     11     nothing to continue.     Are you telling me that you're
19:22:33     12     going to make her available tonight beyond seven
19:22:36     13     hours?
19:22:36     14                 MR. TOBEROFF:   No.    I'm telling you --
19:22:37     15                 MR. PETROCELLI:     Okay.
19:22:38     16                 MR. TOBEROFF:   -- you can finish her
19:22:40     17     seven-hour deposition.
19:22:41     18                 MR. PETROCELLI:     It's done.   I told you I'm
19:22:43     19     giving up the last one or two minutes just to make the
19:22:46     20     point to you.     But to be clear, you're not willing
19:22:48     21     tonight to have the witness stay beyond seven hours of
19:22:51     22     testimony.
19:22:51     23                 MR. TOBEROFF:   I don't think you're entitled
19:22:52     24     to more than one day of seven hours.
19:22:54     25                 MR. PETROCELLI:     That's my point.      Because I


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                                                                           Page 339
19:22:55      1     believe that I am entitled to more than seven hours, I
19:22:58      2     will have to go to court and seek the court's
19:23:01      3     intervention.
19:23:01      4                 MR. TOBEROFF:   That's your -- you can do --
19:23:02      5     you can always make a motion to the court.
19:23:04      6                 MR. PETROCELLI:     Let's have a stipulation on
19:23:06      7     the record as we had before that the witness will have
19:23:10      8     within 30 days of your receipt to advise us of any
19:23:15      9     corrections to the deposition transcript, but bearing
19:23:19     10     in mind, Ms. Siegel -- Ms. Larson, of course, that if
19:23:23     11     you do make any changes of substance, it can be
19:23:26     12     commented upon as affecting your credibility.             The
19:23:31     13     court reporter's transcript can be signed under
19:23:34     14     penalty of perjury, and the court reporter is
19:23:36     15     otherwise relieved of her duties under the Code.               So
19:23:38     16     stipulated?
19:23:38     17                 MR. TOBEROFF:   So stipulated.
19:23:41     18                 THE REPORTER:   Where is the original to go,
19:23:42     19     please?
19:23:43     20                 MR. PETROCELLI:     The original should go to, I
19:23:46     21     guess --
19:23:46     22                 What did we do last time?
19:23:49     23                 MR. TOKORO:   The original to them and a copy
19:23:51     24     to us.
19:23:51     25                 THE VIDEOGRAPHER:     That will then mark the


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19:23:53      1      end of Volume 1, tape number five, in the deposition
19:23:55      2      of Laura Siegel.     Going off the record.        The time is
              3      7:24.
19:24:01      4                 (The deposition was concluded at 7:24 p.m.)
              5

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                                                                              Page 341
            1      STATE OF CALIFORNIA               )
            2                                        ) ss.
            3      COUNTY OF LOS ANGELES             )
            4

            5

            6                  I, LAURA SIEGEL LARSON, declare under the
            7      penalties of perjury under the laws of the United
            8      States that the foregoing is true and correct.
            9                  Executed this          day of                               ,
           10      2011, at                                       , California.
           11

           12

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           14

           15                                                  LAURA SIEGEL LARSON
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                                                                          Page 342
             1     STATE OF CALIFORNIA       )
             2                               )     ss.
             3     COUNTY OF LOS ANGELES     )
             4       I, Kathleen E. McCarthy, Certified Shorthand
             5     Reporter No. 4483 for the State of California, do
             6     hereby certify:
             7       That prior to being examined, the witness named in
             8     the foregoing deposition was duly sworn to testify the
             9     truth, the whole truth, and nothing but the truth;
            10       That said deposition was taken down by me in
            11     shorthand at the time and place therein named and
            12     thereafter reduced by me to typewritten form and that
            13     the same is a true, correct, and complete transcript
            14     of said proceedings.
            15                 Before completion of the deposition, review
            16     of the transcript [X] was [ ] was not requested.               If
            17     requested, any changes made by the deponent (and
            18     provided to the reporter) during the period allowed
            19     are appended hereto.
            20       I further certify that I'm not interested in the
            21     outcome of the action.
            22       Witness my hand this 3rd day of August, 2011.
            23

            24

            25                            Kathleen E. McCarthy, CSR No. 4483


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                                                                                                               (310) 246-3101
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                                                                                                         kgadams@ipwla.com


            August 27, 2012

            Via E-Mail

            Jason Tokoro
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Dear Jason:

            I write in response to your August 17, 2012 letter, regarding DC’s intent to move to compel the
            further depositions of defendants Laura Siegel Larson and Mark Peary, and to follow-up on my
            August 14, 2012 meet-and-confer with Matt Kline as to DC’s July 27, 2012 letter, my August 1,
            2012 letter, and the parties’ subsequent e-mail correspondence.

            I.         REPEAT DEPOSITIONS OF MR. PEARY AND MS. LARSON

            While unclear from your August 17 letter, defendants’ understanding is that DC will seek to
            compel the further deposition of Mark Warren Peary and Laura Siegel Larson for an additional
            day each. DC will seek to depose Mr. Peary and Ms. Larson regarding: (a) anything “new” in
            the case since their depositions in June-July 2011, including any documents produced since that
            time (e.g., the “Timeline” documents); and (b) questions which were objected to as improper at
            those depositions, as set forth below.

            As to category (a), DC chose to take the depositions knowing there were numerous outstanding
            document discovery issues and a pending writ on which DC did not seek to expedite review.
            That some of those issues have been resolved and DC now has additional documents is not a
            basis to re-depose these witnesses. Between this case and the closely related Siegel litigation,
            Ms. Larson has already been deposed three times, while Mr. Peary has been deposed twice.

            As to category (b), defendants strongly object to DC’s tactic of bringing discovery disputes up at
            a meet-and-confer, waiting to bring a motion for over a year, and then attempting to incorporate
            the prior dispute in a separate dispute/motion. DC’s specific issues as to such disputes are
            addressed below.




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Furthermore, during the August 14 meet-and-confer, you stated that you had not confirmed with
Mr. Petrocelli or your client what potential compromises would be acceptable, but indicated that
DC might agree to shorten the time of such depositions on the topics listed above if it would
avoid motion practice. However, no compromise was proposed in your letter.

II.    OBJECTIONS AT THE INITIAL DEPOSITION

As set forth below, the objections made by Mr. Toberoff at Mr. Peary’s June 29, 2011 deposition
and Ms. Larson’s July 22, 2011 deposition were proper.

       1.      Consent Agreement

Magistrate Zarefsky denied DC’s motion to compel production of the 2008 collective negotiation
agreement (the “Consent Agreement”), as did Judge Larson in Siegel. Docket Nos. 209, 163-11
at 724:9-11. Judge Wright also weighed in, denying DC’s motion for review on this subject.
Docket Nos. 248, 252. All of this occurred well before DC took either Mr. Peary’s or Ms.
Larson’s depositions, and the time to challenge Magistrate Zarefsky’s (and Judge Wright’s)
ruling has long since passed. Fed. R. Civ. P. 72; L.R. 72-2.1.

DC now improperly attempts an end-run around these decisions by deposing defendants on the
privileged contents of the consent agreement. DC’s only justifications for this are: (a) its
erroneous and rejected belief that Magistrate Zarefsky’s order was wrongly decided; (b) its
erroneous and insulting assertion that Mr. Toberoff “cannot be trusted”; and (c) its erroneous
contention that Ms. Larson and Mr. Peary waived privilege.

               A.      Judge Larson’s, Magistrate Zarefsky’s, and Judge Wright’s Rulings Were
                       Not Erroneous

These decisions were clearly correct. None of them relied on DC’s straw man of a “settlement”
or “mediation” privilege. See Docket No. 209 at 8 (“Nor will the Court re-visit Judge Larson’s
ruling that the attorney-client and related privileges protect the consent agreement.”). The
Consent Agreement, which was expressly entered into in connection with the settlement of legal
claims, contains the Heirs and their counsel’s settlement strategies and is clearly protected by the
attorney-client privilege and attorney work-product doctrine. See Clarke v. American Commerce
Nat’l Bank, 974 F.2d 127, 129 (9th Cir. 1992). The privilege encompasses documents that reveal,
involve or implicate legal advice, litigation strategy or litigation motives of a party. Id. at 129.
The Consent Agreement constitutes a communication among the Heirs and their counsel Mr.
Toberoff, and reflects Mr. Toberoff’s legal advice to his clients and legal strategies regarding
settlement of their termination interests. It is also protected by the work-product doctrine, as it
“reveal[s] an attorney’s strategy [or] evaluation of strengths and weaknesses” of the case.
Schwarzer, et al., Fed. Civ. Proc. Before Trial § 11:285 (2010), citing Hickman v. Taylor, 329
U.S. 495, 511 (1947). See F.R.C.P. 26(b)(3). Accordingly, it is absolutely privileged and was
duly listed on the Heirs’ privilege logs in this case. See United States v. Martin, 278 F.3d 988,




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999-1000 (9th Cir. 2002)

               B.      DC’s Baseless Ad Hominem Attacks Are Insufficient To Pierce Privilege

As it does in virtually all of its correspondence and briefing where it loses on the merits, DC
devotes a substantial portion of its letter to empty rhetoric, impugning opposing counsel. These
baseless attacks are dealt with at length in Laura Brill’s July 11, 2012 letter and in defendants’
briefing. Such attacks offer nothing to justify piercing the Heirs’ privilege over the consent
agreement that has been thrice upheld.

DC’s repeated refrain is that defendants’ representations as to documents somehow cannot be
trusted. Yet when Magistrate Zarefsky has reviewed defendants’ documents in camera,
defendants’ privilege assertions have been largely upheld, and, in any event, there is no
indication that defendants ever misrepresented the contents of such documents to the Court. See
Docket Nos. 239, 439, 451.

Notably, DC recently repeatedly contended that defendants had misrepresented the contents of a
November 2001 e-mail between Michael Siegel and Mr. Toberoff, by stating that it “pertains to
legal retention.” Docket No. 412 at 4:16-17. After Magistrate Judge Zarefsky reviewed the
document in camera, he confirmed that the “subject matter of the e-mail concerns legal rights
and potential representation of Michael Siegel,” and held the document privileged. Docket No.
451 at 1-2. Tellingly, now that DC has secured a copy of this e-mail, its August 17 letter makes
no mention of the document.

               C.      Ms. Larson and Mr. Peary Did Not Waive Privilege

DC contends that Ms. Larson and Mr. Peary waived privilege over the Consent Agreement by
“selectively and strategically disclosing certain facts about [it].” This argument was already
made by DC, Docket No. 160 at 26:5-6, and rejected by Magistrate Zarefsky and Judge Wright.
Docket Nos. 209 at 9-10, 248, 252.

Furthermore, the very testimony DC cites confirms that the parties agreed that allowing Ms.
Larson to answer certain questions would not constitute a waiver (Larson Tr. 42:1-10; Peary Tr.
81:10-15) and that the witness was allowed to answer only because the question did not call for
privileged material. Larson Tr. 99:15-100:5. In both depositions, counsel for defendants was
explicit that the witness could not testify as to the contents of the privileged document. Larson
Tr. 42:23-25; Peary Tr. 58:23-25.

Nor did defendants waive privilege by rebutting DC’s inaccurate assertion to the Court as to the
unlawfulness of the Consent Agreement. The comments concerning the consent agreement in
recent motions were no more “revealing” than those in defendants’ prior motions to dismiss
and/or strike – and those comments were held not to waive privilege by Magistrate Zarefsky and
Judge Wright, as defendants have a right to counter DC’s false assertions as to the Consent




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Agreement without waiving privilege. Docket Nos. 209 at 10:6-11, 248, 252; Docket Nos. 78,
100; Docket Nos. 462, 478. Furthermore, the “disclosure of a general description of the subject
matter of a privileged communication does not operate as a waiver of the privilege.” United
States v. Zuckerman, 88 F. Supp. 2d 9, 15 (E.D.N.Y. 2000).

Under DC’s skewed logic, a party could make frivolous misrepresentations about an opposing
party’s privileged documents and the opposing party would have no options but to let the
misstatements go unchallenged or waive privilege. Magistrate Zarefsky expressly rejected this
false construct: “Defendants do not waive privilege by defending themselves.” Docket No. 209
at 10:10-11.

       2.      Rights Strategy/Evaluation:

DC mischaracterizes the record in claiming that defendants’ counsel asserted privilege over
“business communications,” specifically marketing the Siegels’ rights in Superman. The
testimony DC points to makes clear that Mr. Toberoff objected only to the extent it called on Ms.
Larson to “reveal the substance of [her] communications with counsel.” Larson Tr. 46:22-25.
Legal advice remains privileged even if it regards business or naturally incorporates business
advice. See ABB Kent-Taylor v. Stallings and Co., Inc., 172 F.R.D. 53, 55 (W.D.N.Y.1996)
(“Often intertwined with legal advice as to substantive issues is counsel’s strategic assessment of
alternative choices of action available to the client.”); ePlus Inc. v. Lawson Software, Inc., 280
F.R.D. 247, 254 (E.D. Va. 2012) (privilege applies to mixture of business and legal advice).

DC’s assertion that the privilege somehow does not apply to Mr. Toberoff’s advice to Ms.
Larson about “the value of the Siegels’ putative Superman rights and how the heirs could
monetize these rights” is wrong. Even prior to the filing of the Siegel lawsuits in 2004, Mr.
Toberoff’s advice about the Siegels’ Superman rights took place against the backdrop of
anticipated litigation and settlement with DC/Warner Bros. over the rights to Superman; Mr.
Toberoff held settlement discussions with Warner Bros.’ General Counsel, John Schulman, in
2003-04; and since Siegel, any such advice is obviously bound up in litigation and settlement
discussions with DC/Warner. Ms. Larson’s “understanding” is privileged to the extent it is based
on privileged attorney-client communications as to settlement and legal strategy.

       3.      Subject Matter Waiver

The disclosure of certain stolen privileged documents to the United States Attorney’s Office to
facilitate its investigation of the theft does not constitute a subject matter waiver. See, e.g, In re
von Bulow, 828 F.2d 94, 102 (2d Cir. 1987). DC has previously made this argument with regard
to communications between David Michael and the Siegels (Docket No. 205 at 14:8-15), and
Magistrate Zarefsky has rejected that argument. Docket No. 262 at 4:9-12. DC has also
advanced similar arguments with respect to communications between the Siegels and Kevin
Marks, which both Magistrate Zarefsky and Judge Wright have rejected. Docket Nos. 362, 378,
389.




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III.   DEFENDANTS’ COMPROMISE PROPOSAL

If DC has any proposals to narrow the scope of this dispute, defendants are available to meet and
confer on September 6, 2012. As DC’s contemplated motion is directed solely at defendants
Laura Siegel Larson and Mark Warren Peary, the Kendall Brill firm, which represents neither
defendant, will not participate.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,


Keith G. Adams




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